Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 1 of 285 PageID #:587




                           EXHIBIT 3
 1   GPL.UBNT.v6.1.7\openwrt
        Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 2   of 285 PageID #:588
 2   GPL.UBNT.v6.1.7\readme.txt
 3   GPL.UBNT.v6.1.7\uboot
 4   GPL.UBNT.v6.1.7\openwrt\.config
 5   GPL.UBNT.v6.1.7\openwrt\.gitignore
 6   GPL.UBNT.v6.1.7\openwrt\.svninfo
 7   GPL.UBNT.v6.1.7\openwrt\BSDmakefile
 8   GPL.UBNT.v6.1.7\openwrt\Config.in
 9   GPL.UBNT.v6.1.7\openwrt\docs
10   GPL.UBNT.v6.1.7\openwrt\feeds.conf.default
11   GPL.UBNT.v6.1.7\openwrt\include
12   GPL.UBNT.v6.1.7\openwrt\LICENSE
13   GPL.UBNT.v6.1.7\openwrt\Makefile
14   GPL.UBNT.v6.1.7\openwrt\package
15   GPL.UBNT.v6.1.7\openwrt\README
16   GPL.UBNT.v6.1.7\openwrt\rules.mk
17   GPL.UBNT.v6.1.7\openwrt\scripts
18   GPL.UBNT.v6.1.7\openwrt\target
19   GPL.UBNT.v6.1.7\openwrt\toolchain
20   GPL.UBNT.v6.1.7\openwrt\tools
21   GPL.UBNT.v6.1.7\openwrt\docs\.gitignore
22   GPL.UBNT.v6.1.7\openwrt\docs\adding.tex
23   GPL.UBNT.v6.1.7\openwrt\docs\bugs.tex
24   GPL.UBNT.v6.1.7\openwrt\docs\build.tex
25   GPL.UBNT.v6.1.7\openwrt\docs\config.tex
26   GPL.UBNT.v6.1.7\openwrt\docs\init-scripts.tex
27   GPL.UBNT.v6.1.7\openwrt\docs\Makefile
28   GPL.UBNT.v6.1.7\openwrt\docs\network-scripts.tex
29   GPL.UBNT.v6.1.7\openwrt\docs\network.tex
30   GPL.UBNT.v6.1.7\openwrt\docs\openwrt.sty
31   GPL.UBNT.v6.1.7\openwrt\docs\openwrt.tex
32   GPL.UBNT.v6.1.7\openwrt\docs\submitting-patches.tex
33   GPL.UBNT.v6.1.7\openwrt\docs\wireless.tex
34   GPL.UBNT.v6.1.7\openwrt\include\autotools.mk
35   GPL.UBNT.v6.1.7\openwrt\include\cmake.mk
36   GPL.UBNT.v6.1.7\openwrt\include\debug.mk
37   GPL.UBNT.v6.1.7\openwrt\include\depends.mk
38   GPL.UBNT.v6.1.7\openwrt\include\download.mk
39   GPL.UBNT.v6.1.7\openwrt\include\host-build.mk
40   GPL.UBNT.v6.1.7\openwrt\include\host.mk
41   GPL.UBNT.v6.1.7\openwrt\include\image.mk
42   GPL.UBNT.v6.1.7\openwrt\include\kernel-build.mk
43   GPL.UBNT.v6.1.7\openwrt\include\kernel-defaults.mk
44   GPL.UBNT.v6.1.7\openwrt\include\kernel-version.mk
45   GPL.UBNT.v6.1.7\openwrt\include\kernel.mk
46   GPL.UBNT.v6.1.7\openwrt\include\netfilter.mk
47   GPL.UBNT.v6.1.7\openwrt\include\netfilter.mk.orig
48   GPL.UBNT.v6.1.7\openwrt\include\package-bin.mk
49   GPL.UBNT.v6.1.7\openwrt\include\package-defaults.mk
50   GPL.UBNT.v6.1.7\openwrt\include\package-dumpinfo.mk
51   GPL.UBNT.v6.1.7\openwrt\include\package-ipkg.mk
52   GPL.UBNT.v6.1.7\openwrt\include\package-version-override.mk
53   GPL.UBNT.v6.1.7\openwrt\include\package.mk
54   GPL.UBNT.v6.1.7\openwrt\include\prereq-build.mk
55   GPL.UBNT.v6.1.7\openwrt\include\prereq.mk
56   GPL.UBNT.v6.1.7\openwrt\include\quilt.mk
57   GPL.UBNT.v6.1.7\openwrt\include\scan.mk
58   GPL.UBNT.v6.1.7\openwrt\include\shell.sh
59   GPL.UBNT.v6.1.7\openwrt\include\site
60   GPL.UBNT.v6.1.7\openwrt\include\subdir.mk
61   GPL.UBNT.v6.1.7\openwrt\include\target.mk
62   GPL.UBNT.v6.1.7\openwrt\include\toplevel.mk
63   GPL.UBNT.v6.1.7\openwrt\include\unpack.mk
64   GPL.UBNT.v6.1.7\openwrt\include\verbose.mk
65   GPL.UBNT.v6.1.7\openwrt\include\site\arm-linux
66   GPL.UBNT.v6.1.7\openwrt\include\site\arm-linux-uclibc
67   GPL.UBNT.v6.1.7\openwrt\include\site\armeb-linux
68   GPL.UBNT.v6.1.7\openwrt\include\site\armeb-linux-uclibc
69   GPL.UBNT.v6.1.7\openwrt\include\site\avr32-linux
 70   GPL.UBNT.v6.1.7\openwrt\include\site\avr32-linux-uclibc
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 3   of 285 PageID #:589
 71   GPL.UBNT.v6.1.7\openwrt\include\site\cris-linux
 72   GPL.UBNT.v6.1.7\openwrt\include\site\cris-linux-uclibc
 73   GPL.UBNT.v6.1.7\openwrt\include\site\i386-linux
 74   GPL.UBNT.v6.1.7\openwrt\include\site\i386-linux-uclibc
 75   GPL.UBNT.v6.1.7\openwrt\include\site\i686-linux
 76   GPL.UBNT.v6.1.7\openwrt\include\site\i686-linux-uclibc
 77   GPL.UBNT.v6.1.7\openwrt\include\site\linux-uclibc
 78   GPL.UBNT.v6.1.7\openwrt\include\site\mips-linux
 79   GPL.UBNT.v6.1.7\openwrt\include\site\mips-linux-uclibc
 80   GPL.UBNT.v6.1.7\openwrt\include\site\mipsel-linux
 81   GPL.UBNT.v6.1.7\openwrt\include\site\mipsel-linux-uclibc
 82   GPL.UBNT.v6.1.7\openwrt\include\site\mipsel-linux2.4-uclibc
 83   GPL.UBNT.v6.1.7\openwrt\include\site\powerpc-linux
 84   GPL.UBNT.v6.1.7\openwrt\include\site\powerpc-linux-uclibc
 85   GPL.UBNT.v6.1.7\openwrt\include\site\x86_64-linux
 86   GPL.UBNT.v6.1.7\openwrt\include\site\x86_64-linux-uclibc
 87   GPL.UBNT.v6.1.7\openwrt\package\6relayd
 88   GPL.UBNT.v6.1.7\openwrt\package\acx
 89   GPL.UBNT.v6.1.7\openwrt\package\acx-mac80211
 90   GPL.UBNT.v6.1.7\openwrt\package\admswconfig
 91   GPL.UBNT.v6.1.7\openwrt\package\ar7-atm
 92   GPL.UBNT.v6.1.7\openwrt\package\arptables
 93   GPL.UBNT.v6.1.7\openwrt\package\b43
 94   GPL.UBNT.v6.1.7\openwrt\package\base-files
 95   GPL.UBNT.v6.1.7\openwrt\package\br2684ctl
 96   GPL.UBNT.v6.1.7\openwrt\package\bridge-utils
 97   GPL.UBNT.v6.1.7\openwrt\package\broadcom-57xx
 98   GPL.UBNT.v6.1.7\openwrt\package\broadcom-diag
 99   GPL.UBNT.v6.1.7\openwrt\package\broadcom-mmc
100   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl
101   GPL.UBNT.v6.1.7\openwrt\package\busybox
102   GPL.UBNT.v6.1.7\openwrt\package\button-hotplug
103   GPL.UBNT.v6.1.7\openwrt\package\comgt
104   GPL.UBNT.v6.1.7\openwrt\package\dhcp-forwarder
105   GPL.UBNT.v6.1.7\openwrt\package\dnsmasq
106   GPL.UBNT.v6.1.7\openwrt\package\dropbear
107   GPL.UBNT.v6.1.7\openwrt\package\e2fsprogs
108   GPL.UBNT.v6.1.7\openwrt\package\ebtables
109   GPL.UBNT.v6.1.7\openwrt\package\fconfig
110   GPL.UBNT.v6.1.7\openwrt\package\firewall
111   GPL.UBNT.v6.1.7\openwrt\package\fuse
112   GPL.UBNT.v6.1.7\openwrt\package\gdb
113   GPL.UBNT.v6.1.7\openwrt\package\gdbserver
114   GPL.UBNT.v6.1.7\openwrt\package\gpioctl
115   GPL.UBNT.v6.1.7\openwrt\package\gpl-mkfwimage
116   GPL.UBNT.v6.1.7\openwrt\package\grub
117   GPL.UBNT.v6.1.7\openwrt\package\hostap-driver
118   GPL.UBNT.v6.1.7\openwrt\package\hostap-utils
119   GPL.UBNT.v6.1.7\openwrt\package\hostapd
120   GPL.UBNT.v6.1.7\openwrt\package\hotplug2
121   GPL.UBNT.v6.1.7\openwrt\package\i2c-gpio-ath
122   GPL.UBNT.v6.1.7\openwrt\package\i2c-gpio-custom
123   GPL.UBNT.v6.1.7\openwrt\package\i2c-tools
124   GPL.UBNT.v6.1.7\openwrt\package\ifenslave
125   GPL.UBNT.v6.1.7\openwrt\package\igmpproxy
126   GPL.UBNT.v6.1.7\openwrt\package\iproute2
127   GPL.UBNT.v6.1.7\openwrt\package\ipset
128   GPL.UBNT.v6.1.7\openwrt\package\iptables
129   GPL.UBNT.v6.1.7\openwrt\package\iw
130   GPL.UBNT.v6.1.7\openwrt\package\ixp4xx-microcode
131   GPL.UBNT.v6.1.7\openwrt\package\kernel
132   GPL.UBNT.v6.1.7\openwrt\package\kexec-tools
133   GPL.UBNT.v6.1.7\openwrt\package\libipfix
134   GPL.UBNT.v6.1.7\openwrt\package\libnl
135   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny
136   GPL.UBNT.v6.1.7\openwrt\package\libpcap
137   GPL.UBNT.v6.1.7\openwrt\package\libreadline
138   GPL.UBNT.v6.1.7\openwrt\package\libssh2
139   GPL.UBNT.v6.1.7\openwrt\package\libtool
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 4 of 285 PageID #:590
140   GPL.UBNT.v6.1.7\openwrt\package\linux-atm
141   GPL.UBNT.v6.1.7\openwrt\package\lua
142   GPL.UBNT.v6.1.7\openwrt\package\mac-telnet
143   GPL.UBNT.v6.1.7\openwrt\package\mac80211
144   GPL.UBNT.v6.1.7\openwrt\package\madwifi
145   GPL.UBNT.v6.1.7\openwrt\package\Makefile
146   GPL.UBNT.v6.1.7\openwrt\package\mmc_over_gpio
147   GPL.UBNT.v6.1.7\openwrt\package\mtd
148   GPL.UBNT.v6.1.7\openwrt\package\ncurses
149   GPL.UBNT.v6.1.7\openwrt\package\nozomi
150   GPL.UBNT.v6.1.7\openwrt\package\nvram
151   GPL.UBNT.v6.1.7\openwrt\package\nvram-brcm47xx
152   GPL.UBNT.v6.1.7\openwrt\package\ocf-crypto-headers
153   GPL.UBNT.v6.1.7\openwrt\package\openssl
154   GPL.UBNT.v6.1.7\openwrt\package\opkg
155   GPL.UBNT.v6.1.7\openwrt\package\pcmcia-cs
156   GPL.UBNT.v6.1.7\openwrt\package\php2
157   GPL.UBNT.v6.1.7\openwrt\package\ppp
158   GPL.UBNT.v6.1.7\openwrt\package\pptp
159   GPL.UBNT.v6.1.7\openwrt\package\qos-scripts
160   GPL.UBNT.v6.1.7\openwrt\package\radvd
161   GPL.UBNT.v6.1.7\openwrt\package\robocfg
162   GPL.UBNT.v6.1.7\openwrt\package\rt2570
163   GPL.UBNT.v6.1.7\openwrt\package\siit
164   GPL.UBNT.v6.1.7\openwrt\package\spi-ks8995
165   GPL.UBNT.v6.1.7\openwrt\package\swconfig
166   GPL.UBNT.v6.1.7\openwrt\package\switch
167   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips
168   GPL.UBNT.v6.1.7\openwrt\package\ubsec_ssb
169   GPL.UBNT.v6.1.7\openwrt\package\uci
170   GPL.UBNT.v6.1.7\openwrt\package\udev
171   GPL.UBNT.v6.1.7\openwrt\package\usb-modeswitch
172   GPL.UBNT.v6.1.7\openwrt\package\usb-modeswitch-data
173   GPL.UBNT.v6.1.7\openwrt\package\util-linux-ng
174   GPL.UBNT.v6.1.7\openwrt\package\w1-gpio-custom
175   GPL.UBNT.v6.1.7\openwrt\package\wireless-tools
176   GPL.UBNT.v6.1.7\openwrt\package\wpa_supplicant
177   GPL.UBNT.v6.1.7\openwrt\package\wprobe
178   GPL.UBNT.v6.1.7\openwrt\package\wrt55agv2-spidevs
179   GPL.UBNT.v6.1.7\openwrt\package\yamonenv
180   GPL.UBNT.v6.1.7\openwrt\package\zlib
181   GPL.UBNT.v6.1.7\openwrt\package\6relayd\files
182   GPL.UBNT.v6.1.7\openwrt\package\6relayd\Makefile
183   GPL.UBNT.v6.1.7\openwrt\package\6relayd\patches
184   GPL.UBNT.v6.1.7\openwrt\package\6relayd\files\6relayd-update
185   GPL.UBNT.v6.1.7\openwrt\package\6relayd\files\6relayd.config
186   GPL.UBNT.v6.1.7\openwrt\package\6relayd\files\6relayd.hotplug
187   GPL.UBNT.v6.1.7\openwrt\package\6relayd\files\6relayd.init
188   GPL.UBNT.v6.1.7\openwrt\package\6relayd\patches\001-rm-Wno-extended-offsetof.patch
189   GPL.UBNT.v6.1.7\openwrt\package\acx\files
190   GPL.UBNT.v6.1.7\openwrt\package\acx\Makefile
191   GPL.UBNT.v6.1.7\openwrt\package\acx\patches
192   GPL.UBNT.v6.1.7\openwrt\package\acx\files\lib
193   GPL.UBNT.v6.1.7\openwrt\package\acx\files\lib\wifi
194   GPL.UBNT.v6.1.7\openwrt\package\acx\files\lib\wifi\acx.sh
195   GPL.UBNT.v6.1.7\openwrt\package\acx\patches\002-disable-usb.diff
196   GPL.UBNT.v6.1.7\openwrt\package\acx\patches\003-encrypt-broadcast-traffic.diff
197   GPL.UBNT.v6.1.7\openwrt\package\acx-mac80211\patches
198   GPL.UBNT.v6.1.7\openwrt\package\admswconfig\files
199   GPL.UBNT.v6.1.7\openwrt\package\admswconfig\Makefile
200   GPL.UBNT.v6.1.7\openwrt\package\admswconfig\patches
201   GPL.UBNT.v6.1.7\openwrt\package\admswconfig\files\admswconfig
202   GPL.UBNT.v6.1.7\openwrt\package\admswconfig\files\admswswitch.sh
203   GPL.UBNT.v6.1.7\openwrt\package\admswconfig\patches\001-matrix.patch
204   GPL.UBNT.v6.1.7\openwrt\package\ar7-atm\Makefile
205   GPL.UBNT.v6.1.7\openwrt\package\ar7-atm\patches
206   GPL.UBNT.v6.1.7\openwrt\package\ar7-atm\patches\100-compile_fix.patch
207   GPL.UBNT.v6.1.7\openwrt\package\ar7-atm\patches\110-interrupt_fix.patch
208   GPL.UBNT.v6.1.7\openwrt\package\ar7-atm\patches\120-no_dumb_inline.patch
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 5 of 285 PageID #:591
209   GPL.UBNT.v6.1.7\openwrt\package\ar7-atm\patches\130-powercutback.patch
210   GPL.UBNT.v6.1.7\openwrt\package\ar7-atm\patches\140-debug_mode.patch
211   GPL.UBNT.v6.1.7\openwrt\package\ar7-atm\patches\150-tasklet_mode.patch
212   GPL.UBNT.v6.1.7\openwrt\package\ar7-atm\patches\160-module-params.patch
213   GPL.UBNT.v6.1.7\openwrt\package\arptables\Makefile
214   GPL.UBNT.v6.1.7\openwrt\package\arptables\patches
215   GPL.UBNT.v6.1.7\openwrt\package\b43\patches
216   GPL.UBNT.v6.1.7\openwrt\package\b43\src
217   GPL.UBNT.v6.1.7\openwrt\package\base-files\files
218   GPL.UBNT.v6.1.7\openwrt\package\base-files\Makefile
219   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\bin
220   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc
221   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\lib
222   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\rom
223   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\sbin
224   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\usr
225   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\bin\firstboot
226   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\bin\ipcalc.sh
227   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\bin\login
228   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\banner
229   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\config
230   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\diag.sh
231   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\functions.sh
232   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\group
233   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\hosts
234   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\hotplug.d
235   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\hotplug2-common.rules
236   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\hotplug2-init.rules
237   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\init.d
238   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\inittab
239   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\openwrt_version
240   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\passwd
241   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\preinit
242   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\profile
243   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\protocols
244   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\rc.common
245   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\rc.d
246   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\rc.local
247   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\shells
248   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\sysctl.conf
249   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\config\fstab
250   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\config\network
251   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\config\system
252   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\hotplug.d\iface
253   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\hotplug.d\net
254   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\hotplug.d\usb
255   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\hotplug.d\iface\00-netstate
256   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\hotplug.d\iface\10-routes
257   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\hotplug.d\net\10-net
258   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\hotplug.d\usb\10-usb-storage
259   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\init.d\boot
260   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\init.d\done
261   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\init.d\fstab
262   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\init.d\led
263   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\init.d\network
264   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\init.d\rcS
265   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\init.d\sysctl
266   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\init.d\umount
267   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\init.d\usb
268   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\etc\init.d\watchdog
269   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\lib\config
270   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\lib\network
271   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\lib\upgrade
272   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\lib\config\parse_spec.awk
273   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\lib\config\specs
274   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\lib\config\template.awk
275   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\lib\config\validate.sh
276   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\lib\config\validate_config.awk
277   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\lib\config\validate_spec.awk
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 6 of 285 PageID #:592
278   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\lib\config\specs\network.spec
279   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\lib\network\config.sh
280   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\lib\upgrade\common.sh
281   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\rom\note
282   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\sbin\hotplug-call
283   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\sbin\ifdown
284   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\sbin\ifup
285   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\sbin\led.sh
286   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\sbin\mount_root
287   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\sbin\sysupgrade
288   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\sbin\usb-storage
289   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\sbin\wifi
290   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\usr\lib
291   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\usr\share
292   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\usr\lib\common.awk
293   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\usr\share\udhcpc
294   GPL.UBNT.v6.1.7\openwrt\package\base-files\files\usr\share\udhcpc\default.script
295   GPL.UBNT.v6.1.7\openwrt\package\br2684ctl\files
296   GPL.UBNT.v6.1.7\openwrt\package\br2684ctl\Makefile
297   GPL.UBNT.v6.1.7\openwrt\package\br2684ctl\patches
298   GPL.UBNT.v6.1.7\openwrt\package\br2684ctl\files\br2684ctl
299   GPL.UBNT.v6.1.7\openwrt\package\br2684ctl\patches\100-debian.patch
300   GPL.UBNT.v6.1.7\openwrt\package\br2684ctl\patches\101-routed_support.patch
301   GPL.UBNT.v6.1.7\openwrt\package\bridge-utils\Makefile
302   GPL.UBNT.v6.1.7\openwrt\package\bridge-utils\patches
303   GPL.UBNT.v6.1.7\openwrt\package\bridge-utils\patches\001-libbridge_cflags.patch
304   GPL.UBNT.v6.1.7\openwrt\package\broadcom-57xx\Makefile
305   GPL.UBNT.v6.1.7\openwrt\package\broadcom-57xx\src
306   GPL.UBNT.v6.1.7\openwrt\package\broadcom-57xx\src\5701rls.c
307   GPL.UBNT.v6.1.7\openwrt\package\broadcom-57xx\src\5701rls.h
308   GPL.UBNT.v6.1.7\openwrt\package\broadcom-57xx\src\autoneg.c
309   GPL.UBNT.v6.1.7\openwrt\package\broadcom-57xx\src\autoneg.h
310   GPL.UBNT.v6.1.7\openwrt\package\broadcom-57xx\src\b57um.c
311   GPL.UBNT.v6.1.7\openwrt\package\broadcom-57xx\src\bcmendian.h
312   GPL.UBNT.v6.1.7\openwrt\package\broadcom-57xx\src\bcmparams.h
313   GPL.UBNT.v6.1.7\openwrt\package\broadcom-57xx\src\bcmrobo.c
314   GPL.UBNT.v6.1.7\openwrt\package\broadcom-57xx\src\bcmrobo.h
315   GPL.UBNT.v6.1.7\openwrt\package\broadcom-57xx\src\bits.h
316   GPL.UBNT.v6.1.7\openwrt\package\broadcom-57xx\src\fw_lso05.h
317   GPL.UBNT.v6.1.7\openwrt\package\broadcom-57xx\src\fw_stkoffld.h
318   GPL.UBNT.v6.1.7\openwrt\package\broadcom-57xx\src\hndgige.c
319   GPL.UBNT.v6.1.7\openwrt\package\broadcom-57xx\src\hndgige.h
320   GPL.UBNT.v6.1.7\openwrt\package\broadcom-57xx\src\lm.h
321   GPL.UBNT.v6.1.7\openwrt\package\broadcom-57xx\src\Makefile
322   GPL.UBNT.v6.1.7\openwrt\package\broadcom-57xx\src\mm.h
323   GPL.UBNT.v6.1.7\openwrt\package\broadcom-57xx\src\proto
324   GPL.UBNT.v6.1.7\openwrt\package\broadcom-57xx\src\queue.h
325   GPL.UBNT.v6.1.7\openwrt\package\broadcom-57xx\src\robo_register.c
326   GPL.UBNT.v6.1.7\openwrt\package\broadcom-57xx\src\sbgige.h
327   GPL.UBNT.v6.1.7\openwrt\package\broadcom-57xx\src\tcp_seg.c
328   GPL.UBNT.v6.1.7\openwrt\package\broadcom-57xx\src\tigon3.c
329   GPL.UBNT.v6.1.7\openwrt\package\broadcom-57xx\src\tigon3.h
330   GPL.UBNT.v6.1.7\openwrt\package\broadcom-57xx\src\proto\bcmip.h
331   GPL.UBNT.v6.1.7\openwrt\package\broadcom-57xx\src\proto\bcmtcp.h
332   GPL.UBNT.v6.1.7\openwrt\package\broadcom-57xx\src\proto\ethernet.h
333   GPL.UBNT.v6.1.7\openwrt\package\broadcom-57xx\src\proto\vlan.h
334   GPL.UBNT.v6.1.7\openwrt\package\broadcom-diag\Makefile
335   GPL.UBNT.v6.1.7\openwrt\package\broadcom-diag\src
336   GPL.UBNT.v6.1.7\openwrt\package\broadcom-diag\src\diag.c
337   GPL.UBNT.v6.1.7\openwrt\package\broadcom-diag\src\diag.h
338   GPL.UBNT.v6.1.7\openwrt\package\broadcom-diag\src\gpio.h
339   GPL.UBNT.v6.1.7\openwrt\package\broadcom-diag\src\Makefile
340   GPL.UBNT.v6.1.7\openwrt\package\broadcom-mmc\Makefile
341   GPL.UBNT.v6.1.7\openwrt\package\broadcom-mmc\src
342   GPL.UBNT.v6.1.7\openwrt\package\broadcom-mmc\src\Makefile
343   GPL.UBNT.v6.1.7\openwrt\package\broadcom-mmc\src\mmc.c
344   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\files
345   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\Makefile
346   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\patches
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 7 of 285 PageID #:593
347   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src
348   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\files\etc
349   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\files\lib
350   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\files\etc\hotplug.d
351   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\files\etc\hotplug.d\net
352   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\files\etc\hotplug.d\net\20-broadcom_wds
353   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\files\lib\wifi
354   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\files\lib\wifi\broadcom.sh
355   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\patches\100-timer_fix.patch
356   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\driver
357   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\include
358   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\wlc
359   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\wlcompat
360   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\driver\bcmip.h
361   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\driver\bcmutils.c
362   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\driver\bcmutils.h
363   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\driver\hnddma.c
364   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\driver\hnddma.h
365   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\driver\linux_osl.c
366   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\driver\linux_osl.h
367   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\driver\Makefile
368   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\driver\proto
369   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\driver\sbhnddma.h
370   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\driver\proto\802.11.h
371   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\driver\proto\802.11e.h
372   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\driver\proto\802.1d.h
373   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\driver\proto\802.3.h
374   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\driver\proto\bcmarp.h
375   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\driver\proto\bcmdhcp.h
376   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\driver\proto\bcmeth.h
377   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\driver\proto\bcmevent.h
378   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\driver\proto\bcmip.h
379   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\driver\proto\bcmtcp.h
380   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\driver\proto\bcmudp.h
381   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\driver\proto\eap.h
382   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\driver\proto\eapol.h
383   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\driver\proto\ethernet.h
384   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\driver\proto\vlan.h
385   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\driver\proto\wpa.h
386   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\include\bcmdefs.h
387   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\include\bcmutils.h
388   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\include\proto
389   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\include\typedefs.h
390   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\include\wlioctl.h
391   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\include\wlutils.h
392   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\include\proto\802.11.h
393   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\include\proto\bcmeth.h
394   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\include\proto\bcmevent.h
395   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\include\proto\ethernet.h
396   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\include\proto\wpa.h
397   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\wlc\ioctl.c
398   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\wlc\Makefile
399   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\wlc\wlc.c
400   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\wlcompat\Makefile
401   GPL.UBNT.v6.1.7\openwrt\package\broadcom-wl\src\wlcompat\wlcompat.c
402   GPL.UBNT.v6.1.7\openwrt\package\busybox\config
403   GPL.UBNT.v6.1.7\openwrt\package\busybox\convert_menuconfig.pl
404   GPL.UBNT.v6.1.7\openwrt\package\busybox\files
405   GPL.UBNT.v6.1.7\openwrt\package\busybox\Makefile
406   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches
407   GPL.UBNT.v6.1.7\openwrt\package\busybox\target-config.in
408   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\archival
409   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\Config.in
410   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\console-tools
411   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\coreutils
412   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\debianutils
413   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\e2fsprogs
414   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\editors
415   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\findutils
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 8 of 285 PageID #:594
416   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\init
417   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\ipsvd
418   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\libbb
419   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\loginutils
420   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\miscutils
421   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\modutils
422   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\networking
423   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\printutils
424   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\procps
425   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\runit
426   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\selinux
427   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\shell
428   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\sysklogd
429   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\util-linux
430   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\archival\Config.in
431   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\console-tools\Config.in
432   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\coreutils\Config.in
433   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\debianutils\Config.in
434   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\e2fsprogs\Config.in
435   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\e2fsprogs\old_e2fsprogs
436   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\e2fsprogs\old_e2fsprogs\Config.in
437   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\editors\Config.in
438   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\findutils\Config.in
439   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\init\Config.in
440   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\ipsvd\Config.in
441   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\libbb\Config.in
442   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\loginutils\Config.in
443   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\miscutils\Config.in
444   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\modutils\Config.in
445   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\networking\Config.in
446   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\networking\udhcp
447   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\networking\udhcp\Config.in
448   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\printutils\Config.in
449   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\procps\Config.in
450   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\runit\Config.in
451   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\selinux\Config.in
452   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\shell\Config.in
453   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\sysklogd\Config.in
454   GPL.UBNT.v6.1.7\openwrt\package\busybox\config\util-linux\Config.in
455   GPL.UBNT.v6.1.7\openwrt\package\busybox\files\cron
456   GPL.UBNT.v6.1.7\openwrt\package\busybox\files\httpd
457   GPL.UBNT.v6.1.7\openwrt\package\busybox\files\telnet
458   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\000-autoconf.patch
459   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\001-init_avoid_loop_opening_tty.patch
460   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\001-resource_h_include.patch
461   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\002-darwin_compile_fix.patch
462   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\002-passwd_use_md5_hash_by_default_like_i
      t_used_to_be.patch
463   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\003-brctl_show_fix.patch
464   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\004-upstream-percent_decode_in_place.patc
      h
465   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\005-resource_h_include.patch
466   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\006-upstream_CVE-2011-2716_fixes.patch
467   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\007-upstream_mkfs_ext2_fixes.patch
468   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\008-backport-dd-conv-swab.patch
469   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\010-networking-fix-uninitialized-memory-w
      hen-displaying-.patch
470   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\020-networking-libiproute-fix-displaying-
      route-table-for.patch
471   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\100-trylink_bash.patch
472   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\101-gen_build_files_bash.patch
473   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\102-trylink_mktemp_fix.patch
474   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\110-no_static_libgcc.patch
475   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\110-wget_getopt_fix.patch
476   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\120-remove_uclibc_rpc_check.patch
477   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\130-mconf_missing_sigwinch.patch
478   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\140-trylink_bash.patch
479   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\141-gen_build_files_bash.patch
480   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\150-no_static_libgcc.patch
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 9 of 285 PageID #:595
481   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\200-etc_crontabs.patch
482   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\200-udhcpc_reduce_msgs.patch
483   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\201-udhcpc_changed_ifindex.patch
484   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\203-udhcpc_renew_no_deconfig.patch
485   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\204-udhcpc_src_ip_rebind.patch
486   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\210-add_netmsg_util.patch
487   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\220-add_lock_util.patch
488   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\230-ntpd_delayed_resolve.patch
489   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\240-telnetd_intr.patch
490   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\240-udhcpc_retries.patch
491   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\241-udhcpc-oversized_packets.patch
492   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\242-udhcpc_msgs.patch
493   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\243-udhcpc_changed_ifindex.patch
494   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\244-udhcpc_add_6rd_option.patch
495   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\250-ash_export-n.patch
496   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\250-date-k-flag.patch
497   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\251-ash_fix-redir-substitution.patch
498   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\260-arping_missing_includes.patch
499   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\260-vconfig_proc.patch
500   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\270-libbb_make_unicode_printable.patch
501   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\300-netmsg.patch
502   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\301-ip-link-fix-netlink-msg-size.patch
503   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\310-passwd_access.patch
504   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\340-lock_util.patch
505   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\350-httpd_redir.patch
506   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\410-httpd_cgi_headers.patch
507   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\430-uniq_memleak.patch
508   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\440-httpd_chdir.patch
509   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\450-httpd_accept_header.patch
510   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\460-truncated_ping_results.patch
511   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\470-insmod_search.patch
512   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\480-vi_search.patch
513   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\490-mount_disable_check.patch
514   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\500-ping6_crash.patch
515   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\510-awk_include.patch
516   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\524-udhcpc_renew.patch
517   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\530-unsigned_bitwise_ops.patch
518   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\555-silent-zcip.patch
519   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\610-ntpd_delayed_resolve.patch
520   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\611-upstream_ntpd_version_fix.patch
521   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\700-hexdump_segfault_fix.patch
522   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\780-garp.patch
523   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\785-pwdog.patch
524   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\790-brctl-showmacs.patch
525   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\801-id-fake-getgrouplist.patch
526   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\805-default-applet-settings.patch
527   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\810-lsmod-infinite-loop.patch
528   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\850-brctl-fdb_entry.patch
529   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\851-umount-mnt_detach.patch
530   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\901-kbdmode.patch
531   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\902-crontab_vi.patch
532   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\902-telnetd_intr.patch
533   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\903-lineedit.patch
534   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\904-ssd.patch
535   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\910-insmod-q-flag.patch
536   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\911-date-k-flag.patch
537   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\920-portability.patch
538   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\930-syslog-remote-log.patch
539   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\950-partial-checksum.patch
540   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\986-applet_links_fix.patch
541   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\987-inittab-debug-messages.patch
542   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\988-init_remember_all_spawned_processes.p
      atch
543   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\989-zcip_delay.patch
544   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\995-watchgod-memcheck.patch
545   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\998-arping_missing_includes.patch
546   GPL.UBNT.v6.1.7\openwrt\package\busybox\patches\999-musl-fixes.patch
547   GPL.UBNT.v6.1.7\openwrt\package\button-hotplug\Makefile
548   GPL.UBNT.v6.1.7\openwrt\package\button-hotplug\src
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 10 of 285 PageID #:596
549   GPL.UBNT.v6.1.7\openwrt\package\button-hotplug\src\button-hotplug.c
550   GPL.UBNT.v6.1.7\openwrt\package\button-hotplug\src\Kconfig
551   GPL.UBNT.v6.1.7\openwrt\package\button-hotplug\src\Makefile
552   GPL.UBNT.v6.1.7\openwrt\package\comgt\files
553   GPL.UBNT.v6.1.7\openwrt\package\comgt\Makefile
554   GPL.UBNT.v6.1.7\openwrt\package\comgt\patches
555   GPL.UBNT.v6.1.7\openwrt\package\comgt\files\3g.button
556   GPL.UBNT.v6.1.7\openwrt\package\comgt\files\3g.chat
557   GPL.UBNT.v6.1.7\openwrt\package\comgt\files\3g.connect
558   GPL.UBNT.v6.1.7\openwrt\package\comgt\files\3g.iface
559   GPL.UBNT.v6.1.7\openwrt\package\comgt\files\3g.sh
560   GPL.UBNT.v6.1.7\openwrt\package\comgt\files\checksim.gcom
561   GPL.UBNT.v6.1.7\openwrt\package\comgt\files\evdo.chat
562   GPL.UBNT.v6.1.7\openwrt\package\comgt\files\getcardinfo.gcom
563   GPL.UBNT.v6.1.7\openwrt\package\comgt\files\getstrength.gcom
564   GPL.UBNT.v6.1.7\openwrt\package\comgt\files\setmode.gcom
565   GPL.UBNT.v6.1.7\openwrt\package\comgt\files\setpin.gcom
566   GPL.UBNT.v6.1.7\openwrt\package\comgt\patches\001-Makefile.patch
567   GPL.UBNT.v6.1.7\openwrt\package\dhcp-forwarder\Makefile
568   GPL.UBNT.v6.1.7\openwrt\package\dnsmasq\files
569   GPL.UBNT.v6.1.7\openwrt\package\dnsmasq\Makefile
570   GPL.UBNT.v6.1.7\openwrt\package\dnsmasq\patches
571   GPL.UBNT.v6.1.7\openwrt\package\dnsmasq\files\dhcp.conf
572   GPL.UBNT.v6.1.7\openwrt\package\dnsmasq\files\dnsmasq.init
573   GPL.UBNT.v6.1.7\openwrt\package\dnsmasq\patches\500-ignore-user.patch
574   GPL.UBNT.v6.1.7\openwrt\package\dnsmasq\patches\610-dhcp-hostname-squash.patch
575   GPL.UBNT.v6.1.7\openwrt\package\dnsmasq\patches\615-dhcp-lease-time-2.64vs2.67-regression
      .patch
576   GPL.UBNT.v6.1.7\openwrt\package\dnsmasq\patches\616-dnsmasq-become-unresponsive.patch
577   GPL.UBNT.v6.1.7\openwrt\package\dnsmasq\patches\617-handle-async-notification-address-cha
      nges.patch
578   GPL.UBNT.v6.1.7\openwrt\package\dnsmasq\patches\620-CVE-2017-14491.patch
579   GPL.UBNT.v6.1.7\openwrt\package\dnsmasq\patches\630-CVE-2017-14491.patch
580   GPL.UBNT.v6.1.7\openwrt\package\dnsmasq\patches\640-CVE-2017-13704.patch
581   GPL.UBNT.v6.1.7\openwrt\package\dnsmasq\patches\650-CVE-2017-14491.patch
582   GPL.UBNT.v6.1.7\openwrt\package\dropbear\files
583   GPL.UBNT.v6.1.7\openwrt\package\dropbear\Makefile
584   GPL.UBNT.v6.1.7\openwrt\package\dropbear\patches
585   GPL.UBNT.v6.1.7\openwrt\package\dropbear\files\dropbear.config
586   GPL.UBNT.v6.1.7\openwrt\package\dropbear\files\dropbear.init
587   GPL.UBNT.v6.1.7\openwrt\package\dropbear\patches\100-pubkey_path.patch
588   GPL.UBNT.v6.1.7\openwrt\package\dropbear\patches\110-change_user.patch
589   GPL.UBNT.v6.1.7\openwrt\package\dropbear\patches\130-ssh_ignore_o_and_x_args.patch
590   GPL.UBNT.v6.1.7\openwrt\package\dropbear\patches\150-dbconvert_standalone.patch
591   GPL.UBNT.v6.1.7\openwrt\package\e2fsprogs\Makefile
592   GPL.UBNT.v6.1.7\openwrt\package\e2fsprogs\patches
593   GPL.UBNT.v6.1.7\openwrt\package\e2fsprogs\patches\001-fix_abs_shlibs_symlinks.patch
594   GPL.UBNT.v6.1.7\openwrt\package\ebtables\Makefile
595   GPL.UBNT.v6.1.7\openwrt\package\ebtables\patches
596   GPL.UBNT.v6.1.7\openwrt\package\ebtables\patches\020-zero-mask-fix.patch
597   GPL.UBNT.v6.1.7\openwrt\package\ebtables\patches\200-arpnat.patch
598   GPL.UBNT.v6.1.7\openwrt\package\fconfig\Makefile
599   GPL.UBNT.v6.1.7\openwrt\package\firewall\files
600   GPL.UBNT.v6.1.7\openwrt\package\firewall\Makefile
601   GPL.UBNT.v6.1.7\openwrt\package\firewall\files\20-firewall
602   GPL.UBNT.v6.1.7\openwrt\package\firewall\files\firewall.config
603   GPL.UBNT.v6.1.7\openwrt\package\firewall\files\firewall.init
604   GPL.UBNT.v6.1.7\openwrt\package\firewall\files\firewall.user
605   GPL.UBNT.v6.1.7\openwrt\package\firewall\files\uci_firewall.sh
606   GPL.UBNT.v6.1.7\openwrt\package\fuse\Makefile
607   GPL.UBNT.v6.1.7\openwrt\package\fuse\patches
608   GPL.UBNT.v6.1.7\openwrt\package\fuse\patches\100-cross_compile.patch
609   GPL.UBNT.v6.1.7\openwrt\package\fuse\patches\102-no_depmod.patch
610   GPL.UBNT.v6.1.7\openwrt\package\fuse\patches\112-no_break_on_mknod.patch
611   GPL.UBNT.v6.1.7\openwrt\package\fuse\patches\200-disable_compat.patch
612   GPL.UBNT.v6.1.7\openwrt\package\fuse\patches\300-workaround-uclibc-pthread-breakage.patch
613   GPL.UBNT.v6.1.7\openwrt\package\gdb\Makefile
614   GPL.UBNT.v6.1.7\openwrt\package\gpioctl\Makefile
615   GPL.UBNT.v6.1.7\openwrt\package\gpioctl\src
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 11 of 285 PageID #:597
616   GPL.UBNT.v6.1.7\openwrt\package\gpioctl\src\main.c
617   GPL.UBNT.v6.1.7\openwrt\package\gpioctl\src\Makefile
618   GPL.UBNT.v6.1.7\openwrt\package\gpl-mkfwimage\Makefile
619   GPL.UBNT.v6.1.7\openwrt\package\gpl-mkfwimage\src
620   GPL.UBNT.v6.1.7\openwrt\package\gpl-mkfwimage\src\fw.h
621   GPL.UBNT.v6.1.7\openwrt\package\gpl-mkfwimage\src\fwsplit.c
622   GPL.UBNT.v6.1.7\openwrt\package\gpl-mkfwimage\src\mkfwimage.c
623   GPL.UBNT.v6.1.7\openwrt\package\grub\Makefile
624   GPL.UBNT.v6.1.7\openwrt\package\grub\patches
625   GPL.UBNT.v6.1.7\openwrt\package\grub\patches\002-strip_note_gnu_build_id.patch
626   GPL.UBNT.v6.1.7\openwrt\package\grub\patches\010-fixes-1.patch
627   GPL.UBNT.v6.1.7\openwrt\package\hostap-driver\files
628   GPL.UBNT.v6.1.7\openwrt\package\hostap-driver\Makefile
629   GPL.UBNT.v6.1.7\openwrt\package\hostap-driver\patches
630   GPL.UBNT.v6.1.7\openwrt\package\hostap-driver\files\lib
631   GPL.UBNT.v6.1.7\openwrt\package\hostap-driver\files\lib\wifi
632   GPL.UBNT.v6.1.7\openwrt\package\hostap-driver\files\lib\wifi\hostap.sh
633   GPL.UBNT.v6.1.7\openwrt\package\hostap-driver\patches\001-fix-txpower.patch
634   GPL.UBNT.v6.1.7\openwrt\package\hostap-utils\Makefile
635   GPL.UBNT.v6.1.7\openwrt\package\hostapd\Config.in
636   GPL.UBNT.v6.1.7\openwrt\package\hostapd\files
637   GPL.UBNT.v6.1.7\openwrt\package\hostapd\Makefile
638   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches
639   GPL.UBNT.v6.1.7\openwrt\package\hostapd\files\hostapd-full.config
640   GPL.UBNT.v6.1.7\openwrt\package\hostapd\files\hostapd-mini.config
641   GPL.UBNT.v6.1.7\openwrt\package\hostapd\files\hostapd.sh
642   GPL.UBNT.v6.1.7\openwrt\package\hostapd\files\multicall.c
643   GPL.UBNT.v6.1.7\openwrt\package\hostapd\files\wpa_supplicant-full.config
644   GPL.UBNT.v6.1.7\openwrt\package\hostapd\files\wpa_supplicant-mini.config
645   GPL.UBNT.v6.1.7\openwrt\package\hostapd\files\wpa_supplicant-p2p.config
646   GPL.UBNT.v6.1.7\openwrt\package\hostapd\files\wpa_supplicant.sh
647   GPL.UBNT.v6.1.7\openwrt\package\hostapd\files\wps-hotplug.sh
648   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\030-speed_up_udhcpc_address_retrieval.pat
      ch
649   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\050-wext-no-reset-ssid.patch
650   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\100-madwifi_key_fixes.patch
651   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\110-bool_fix.patch
652   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\120-daemonize_fix.patch
653   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\200-multicall.patch
654   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\220-ignore-ca-check-if-not-exist.patch
655   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\300-noscan.patch
656   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\310-rescan_immediately.patch
657   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\320-optional_rfkill.patch
658   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\330-nl80211_fix_set_freq.patch
659   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\340-reload_freq_change.patch
660   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\350-nl80211_del_beacon_bss.patch
661   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\360-ctrl_iface_reload.patch
662   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\361-deauth-reason-codes.patch
663   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\370-ap_sta_support.patch
664   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\380-disable_ctrl_iface_mib.patch
665   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\390-mac-addr-format.patch
666   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\390-wpa_ie_cap_workaround.patch
667   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\410-bring_down_interface.patch
668   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\410-mac-auth-empty-passwd.patch
669   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\420-fix_wps_pin_crash.patch
670   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\420-timestamp_check.patch
671   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\430-wps_single_auth_enc_type.patch
672   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\440-dynamic_20_40_mhz.patch
673   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\450-limit_debug_messages.patch
674   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\460-indicate-features.patch
675   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\470-hostapd_cli_ifdef.patch
676   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\471-wpa_cli_ifdef.patch
677   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\480-max_num_sta_probe.patch
678   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\490-scan_wait.patch
679   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\500-wpa_supplicant-add-new-config-params-
      to-be-used-with.patch
680   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\501-driver_nl80211-use-new-parameters-dur
      ing-ibss-join.patch
681   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\502-wpa_s-support-htmode-param.patch
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 12 of 285 PageID #:598
682   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\503-increase-supplicant-timeout.patch
683   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\705-channel-validation.patch
684   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\800-add-wextap-drv.patch
685   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\820-no_interface_down_control.patch
686   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\840-scan-timeout.patch
687   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\850-reduce-hwresets-onassoc-roaming.patch
688   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\860-radius-acct-print.patch
689   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\870-radius-mac-auth.patch
690   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\880-remove-ssid-network-disabling.patch
691   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\890-drop_unencrypted.patch
692   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\900-blacklist.patch
693   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\910-x509v3_update.patch
694   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\915-EAPOL-key-3_4-retry.patch
695   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\917-prevent-reinstallation-of-an-already-
      in-use-group-ke.patch
696   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\920-clear-optie-on-wext-deinit.patch
697   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\930-Fix-PTK-rekeying-to-generate-a-new-AN
      once.patch
698   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\930-radius-dont-add-second-acct-session-i
      d.patch
699   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\931-radius-always-increment-session-id.pa
      tch
700   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\940-hostapd-Avoid-key-reinstallation-in-F
      T-handshake.patch
701   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\945-Extend-protection-of-GTK-IGTK-reinsta
      llation-of-WNM-.patch
702   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\946-TDLS-Reject-TPK-TK-reconfiguration.pa
      tch
703   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\947-WNM-Ignore-Key-Data-in-WNM-Sleep-Mode
      -Response-frame.patch
704   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\948-WNM-Ignore-WNM-Sleep-Mode-Response-if
      -WNM-Sleep-Mode.patch
705   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\949-WNM-Ignore-WNM-Sleep-Mode-Response-wi
      thout-pending-r.patch
706   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\950-FT-Do-not-allow-multiple-Reassociatio
      n-Response-fram.patch
707   GPL.UBNT.v6.1.7\openwrt\package\hostapd\patches\951-TDLS-Ignore-incoming-TDLS-Setup-Respo
      nse-retries.patch
708   GPL.UBNT.v6.1.7\openwrt\package\hotplug2\files
709   GPL.UBNT.v6.1.7\openwrt\package\hotplug2\Makefile
710   GPL.UBNT.v6.1.7\openwrt\package\hotplug2\patches
711   GPL.UBNT.v6.1.7\openwrt\package\hotplug2\files\hotplug2.rules
712   GPL.UBNT.v6.1.7\openwrt\package\hotplug2\patches\100-svn_update.patch
713   GPL.UBNT.v6.1.7\openwrt\package\hotplug2\patches\110-parser_fixes.patch
714   GPL.UBNT.v6.1.7\openwrt\package\hotplug2\patches\120-throttling.patch
715   GPL.UBNT.v6.1.7\openwrt\package\i2c-gpio-ath\Makefile
716   GPL.UBNT.v6.1.7\openwrt\package\i2c-gpio-ath\src
717   GPL.UBNT.v6.1.7\openwrt\package\i2c-gpio-ath\src\i2c-gpio-ath.c
718   GPL.UBNT.v6.1.7\openwrt\package\i2c-gpio-ath\src\Makefile
719   GPL.UBNT.v6.1.7\openwrt\package\i2c-gpio-custom\Makefile
720   GPL.UBNT.v6.1.7\openwrt\package\i2c-gpio-custom\src
721   GPL.UBNT.v6.1.7\openwrt\package\i2c-gpio-custom\src\i2c-gpio-custom.c
722   GPL.UBNT.v6.1.7\openwrt\package\i2c-gpio-custom\src\Kconfig
723   GPL.UBNT.v6.1.7\openwrt\package\i2c-gpio-custom\src\Makefile
724   GPL.UBNT.v6.1.7\openwrt\package\i2c-tools\Makefile
725   GPL.UBNT.v6.1.7\openwrt\package\i2c-tools\patches
726   GPL.UBNT.v6.1.7\openwrt\package\i2c-tools\patches\100-linux_include.patch
727   GPL.UBNT.v6.1.7\openwrt\package\ifenslave\Makefile
728   GPL.UBNT.v6.1.7\openwrt\package\igmpproxy\files
729   GPL.UBNT.v6.1.7\openwrt\package\igmpproxy\Makefile
730   GPL.UBNT.v6.1.7\openwrt\package\igmpproxy\patches
731   GPL.UBNT.v6.1.7\openwrt\package\igmpproxy\files\igmpproxy.conf
732   GPL.UBNT.v6.1.7\openwrt\package\igmpproxy\patches\020-allow_all_altnet.patch
733   GPL.UBNT.v6.1.7\openwrt\package\igmpproxy\patches\030-default_cfg.patch
734   GPL.UBNT.v6.1.7\openwrt\package\igmpproxy\patches\050-ip_addr_multisubnet.patch
735   GPL.UBNT.v6.1.7\openwrt\package\igmpproxy\patches\060-loglevel_LOG_ERR.patch
736   GPL.UBNT.v6.1.7\openwrt\package\igmpproxy\patches\070-timer-leak-multidownlink-complex-fi
      x.patch
737   GPL.UBNT.v6.1.7\openwrt\package\igmpproxy\patches\100-debug-timestamp.patch
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 13 of 285 PageID #:599
738   GPL.UBNT.v6.1.7\openwrt\package\iproute2\Makefile
739   GPL.UBNT.v6.1.7\openwrt\package\iproute2\patches
740   GPL.UBNT.v6.1.7\openwrt\package\iproute2\patches\000-debian_patches_3.patch
741   GPL.UBNT.v6.1.7\openwrt\package\iproute2\patches\001-iproute2-2.6.11_Config.patch
742   GPL.UBNT.v6.1.7\openwrt\package\iproute2\patches\002-iproute2-ipxfrm_no_sctp.patch
743   GPL.UBNT.v6.1.7\openwrt\package\iproute2\patches\003-iproute2-htb_overhead.patch
744   GPL.UBNT.v6.1.7\openwrt\package\iproute2\patches\004-darwin_fixes.patch
745   GPL.UBNT.v6.1.7\openwrt\package\iproute2\patches\005-flex-generated.patch
746   GPL.UBNT.v6.1.7\openwrt\package\iproute2\patches\006-iproute2-tc_esfq.patch
747   GPL.UBNT.v6.1.7\openwrt\package\iproute2\patches\007-version_includes.patch
748   GPL.UBNT.v6.1.7\openwrt\package\ipset\Makefile
749   GPL.UBNT.v6.1.7\openwrt\package\iptables\files
750   GPL.UBNT.v6.1.7\openwrt\package\iptables\Makefile
751   GPL.UBNT.v6.1.7\openwrt\package\iptables\patches
752   GPL.UBNT.v6.1.7\openwrt\package\iptables\files\l7
753   GPL.UBNT.v6.1.7\openwrt\package\iptables\files\l7\aim.pat
754   GPL.UBNT.v6.1.7\openwrt\package\iptables\files\l7\bittorrent.pat
755   GPL.UBNT.v6.1.7\openwrt\package\iptables\files\l7\edonkey.pat
756   GPL.UBNT.v6.1.7\openwrt\package\iptables\files\l7\fasttrack.pat
757   GPL.UBNT.v6.1.7\openwrt\package\iptables\files\l7\ftp.pat
758   GPL.UBNT.v6.1.7\openwrt\package\iptables\files\l7\gnutella.pat
759   GPL.UBNT.v6.1.7\openwrt\package\iptables\files\l7\http.pat
760   GPL.UBNT.v6.1.7\openwrt\package\iptables\files\l7\ident.pat
761   GPL.UBNT.v6.1.7\openwrt\package\iptables\files\l7\irc.pat
762   GPL.UBNT.v6.1.7\openwrt\package\iptables\files\l7\jabber.pat
763   GPL.UBNT.v6.1.7\openwrt\package\iptables\files\l7\msnmessenger.pat
764   GPL.UBNT.v6.1.7\openwrt\package\iptables\files\l7\ntp.pat
765   GPL.UBNT.v6.1.7\openwrt\package\iptables\files\l7\pop3.pat
766   GPL.UBNT.v6.1.7\openwrt\package\iptables\files\l7\smtp.pat
767   GPL.UBNT.v6.1.7\openwrt\package\iptables\files\l7\ssl.pat
768   GPL.UBNT.v6.1.7\openwrt\package\iptables\files\l7\vnc.pat
769   GPL.UBNT.v6.1.7\openwrt\package\iptables\patches\001-ipp2p-0.8.1rc1.patch
770   GPL.UBNT.v6.1.7\openwrt\package\iptables\patches\002-layer7_2.17.patch
771   GPL.UBNT.v6.1.7\openwrt\package\iptables\patches\005-imq.patch
772   GPL.UBNT.v6.1.7\openwrt\package\iptables\patches\008-netfilter_include_linux_type_h.patch
773   GPL.UBNT.v6.1.7\openwrt\package\iptables\patches\009-table-alignment.patch
774   GPL.UBNT.v6.1.7\openwrt\package\iptables\patches\010-multiport-linux-2.4-compat.patch
775   GPL.UBNT.v6.1.7\openwrt\package\iptables\patches\011-iprange-linux-2.4-compat.patch
776   GPL.UBNT.v6.1.7\openwrt\package\iptables\patches\020-iptables-disable-modprobe.patch
777   GPL.UBNT.v6.1.7\openwrt\package\ixp4xx-microcode\Makefile
778   GPL.UBNT.v6.1.7\openwrt\package\ixp4xx-microcode\src
779   GPL.UBNT.v6.1.7\openwrt\package\ixp4xx-microcode\src\IxNpeMicrocode.h
780   GPL.UBNT.v6.1.7\openwrt\package\ixp4xx-microcode\src\LICENSE.IPL
781   GPL.UBNT.v6.1.7\openwrt\package\kernel\Makefile
782   GPL.UBNT.v6.1.7\openwrt\package\kernel\modules
783   GPL.UBNT.v6.1.7\openwrt\package\kernel\modules\block.mk
784   GPL.UBNT.v6.1.7\openwrt\package\kernel\modules\crypto.mk
785   GPL.UBNT.v6.1.7\openwrt\package\kernel\modules\fs.mk
786   GPL.UBNT.v6.1.7\openwrt\package\kernel\modules\hwmon.mk
787   GPL.UBNT.v6.1.7\openwrt\package\kernel\modules\i2c.mk
788   GPL.UBNT.v6.1.7\openwrt\package\kernel\modules\netfilter.mk
789   GPL.UBNT.v6.1.7\openwrt\package\kernel\modules\network.mk
790   GPL.UBNT.v6.1.7\openwrt\package\kernel\modules\other.mk
791   GPL.UBNT.v6.1.7\openwrt\package\kernel\modules\sound.mk
792   GPL.UBNT.v6.1.7\openwrt\package\kernel\modules\usb.mk
793   GPL.UBNT.v6.1.7\openwrt\package\kernel\modules\video.mk
794   GPL.UBNT.v6.1.7\openwrt\package\kernel\modules\w1.mk
795   GPL.UBNT.v6.1.7\openwrt\package\kernel\modules\wireless.mk
796   GPL.UBNT.v6.1.7\openwrt\package\kexec-tools\files
797   GPL.UBNT.v6.1.7\openwrt\package\kexec-tools\kexec-config.in
798   GPL.UBNT.v6.1.7\openwrt\package\kexec-tools\Makefile
799   GPL.UBNT.v6.1.7\openwrt\package\kexec-tools\patches
800   GPL.UBNT.v6.1.7\openwrt\package\kexec-tools\files\kexec.sh
801   GPL.UBNT.v6.1.7\openwrt\package\kexec-tools\patches\0001-Use-separate-CPPFLAGS-and-LDFLAG
      S-for-purgatory.patch
802   GPL.UBNT.v6.1.7\openwrt\package\kexec-tools\patches\0002-Use-separate-LDFLAGS-for-bin-to-
      hex.patch
803   GPL.UBNT.v6.1.7\openwrt\package\kexec-tools\patches\0003-Give-installed-files-user-writab
      le-permission.patch
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 14 of 285 PageID #:600
804   GPL.UBNT.v6.1.7\openwrt\package\kexec-tools\patches\0004-mips_regdefs.patch
805   GPL.UBNT.v6.1.7\openwrt\package\libipfix\extra
806   GPL.UBNT.v6.1.7\openwrt\package\libipfix\Makefile
807   GPL.UBNT.v6.1.7\openwrt\package\libipfix\patches
808   GPL.UBNT.v6.1.7\openwrt\package\libipfix\extra\append-wprobe-ie.pl
809   GPL.UBNT.v6.1.7\openwrt\package\libipfix\extra\wprobe-ie.txt
810   GPL.UBNT.v6.1.7\openwrt\package\libipfix\patches\100-openimp_sync.patch
811   GPL.UBNT.v6.1.7\openwrt\package\libipfix\patches\110-wprobe_ie.patch
812   GPL.UBNT.v6.1.7\openwrt\package\libnl\patches
813   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\files
814   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\Makefile
815   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src
816   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\files\libnl-tiny.pc
817   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\attr.c
818   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\cache.c
819   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\cache_mngt.c
820   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\error.c
821   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\genl.c
822   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\genl_ctrl.c
823   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\genl_family.c
824   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\genl_mngt.c
825   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\handlers.c
826   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\include
827   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\Makefile
828   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\msg.c
829   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\nl.c
830   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\object.c
831   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\socket.c
832   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\include\linux
833   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\include\netlink
834   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\include\netlink-generic.h
835   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\include\netlink-local.h
836   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\include\netlink-types.h
837   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\include\linux\genetlink.h
838   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\include\linux\gen_stats.h
839   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\include\linux\if.h
840   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\include\linux\if_addr.h
841   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\include\linux\netlink.h
842   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\include\netlink\addr.h
843   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\include\netlink\attr.h
844   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\include\netlink\cache-api.h
845   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\include\netlink\cache.h
846   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\include\netlink\data.h
847   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\include\netlink\errno.h
848   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\include\netlink\genl
849   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\include\netlink\handlers.h
850   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\include\netlink\list.h
851   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\include\netlink\msg.h
852   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\include\netlink\netlink-compat.h
853   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\include\netlink\netlink-kernel.h
854   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\include\netlink\netlink.h
855   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\include\netlink\object-api.h
856   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\include\netlink\object.h
857   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\include\netlink\socket.h
858   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\include\netlink\types.h
859   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\include\netlink\utils.h
860   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\include\netlink\version.h
861   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\include\netlink\genl\ctrl.h
862   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\include\netlink\genl\family.h
863   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\include\netlink\genl\genl.h
864   GPL.UBNT.v6.1.7\openwrt\package\libnl-tiny\src\include\netlink\genl\mngt.h
865   GPL.UBNT.v6.1.7\openwrt\package\libpcap\Makefile
866   GPL.UBNT.v6.1.7\openwrt\package\libpcap\patches
867   GPL.UBNT.v6.1.7\openwrt\package\libpcap\patches\100-shared-lib.patch
868   GPL.UBNT.v6.1.7\openwrt\package\libpcap\patches\101-cross-compile-fix.patch
869   GPL.UBNT.v6.1.7\openwrt\package\libpcap\patches\102-alt-ether.patch
870   GPL.UBNT.v6.1.7\openwrt\package\libpcap\patches\103-flex_workaround.patch
871   GPL.UBNT.v6.1.7\openwrt\package\libpcap\patches\104-no_rej_files.patch
872   GPL.UBNT.v6.1.7\openwrt\package\libreadline\Makefile
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 15 of 285 PageID #:601
873   GPL.UBNT.v6.1.7\openwrt\package\libreadline\patches
874   GPL.UBNT.v6.1.7\openwrt\package\libreadline\patches\100-fix_avr32_compile
875   GPL.UBNT.v6.1.7\openwrt\package\libssh2\Makefile
876   GPL.UBNT.v6.1.7\openwrt\package\libssh2\patches
877   GPL.UBNT.v6.1.7\openwrt\package\libssh2\patches\100-do-not-compile-tests.patch
878   GPL.UBNT.v6.1.7\openwrt\package\libtool\Makefile
879   GPL.UBNT.v6.1.7\openwrt\package\libtool\patches
880   GPL.UBNT.v6.1.7\openwrt\package\libtool\patches\001-force_dlopen_deplibs.patch
881   GPL.UBNT.v6.1.7\openwrt\package\libtool\patches\100-libdir_path.patch
882   GPL.UBNT.v6.1.7\openwrt\package\libtool\patches\110-no_rpath.patch
883   GPL.UBNT.v6.1.7\openwrt\package\libtool\patches\120-libdir_search.patch
884   GPL.UBNT.v6.1.7\openwrt\package\linux-atm\files
885   GPL.UBNT.v6.1.7\openwrt\package\linux-atm\Makefile
886   GPL.UBNT.v6.1.7\openwrt\package\linux-atm\patches
887   GPL.UBNT.v6.1.7\openwrt\package\linux-atm\files\ipoa.sh
888   GPL.UBNT.v6.1.7\openwrt\package\linux-atm\patches\000-debian_16.patch
889   GPL.UBNT.v6.1.7\openwrt\package\linux-atm\patches\100-subdirs.patch
890   GPL.UBNT.v6.1.7\openwrt\package\linux-atm\patches\200-no_libfl.patch
891   GPL.UBNT.v6.1.7\openwrt\package\linux-atm\patches\300-no_autotools.patch
892   GPL.UBNT.v6.1.7\openwrt\package\linux-atm\patches\400-stdint_local_instead_of_host.patch
893   GPL.UBNT.v6.1.7\openwrt\package\linux-atm\patches\500-reenable_arpd.patch
894   GPL.UBNT.v6.1.7\openwrt\package\linux-atm\patches\600-arpd_includes.patch
895   GPL.UBNT.v6.1.7\openwrt\package\linux-atm\patches\700-libtoolize.patch
896   GPL.UBNT.v6.1.7\openwrt\package\lua\Makefile
897   GPL.UBNT.v6.1.7\openwrt\package\lua\patches
898   GPL.UBNT.v6.1.7\openwrt\package\lua\patches\010-lua-5.1.3-lnum-full-260308.patch
899   GPL.UBNT.v6.1.7\openwrt\package\lua\patches\015-lnum-ppc-compat.patch
900   GPL.UBNT.v6.1.7\openwrt\package\lua\patches\020-shared_liblua.patch
901   GPL.UBNT.v6.1.7\openwrt\package\lua\patches\030-archindependent-bytecode.patch
902   GPL.UBNT.v6.1.7\openwrt\package\lua\patches\100-no_readline.patch
903   GPL.UBNT.v6.1.7\openwrt\package\lua\patches\200-lua-path.patch
904   GPL.UBNT.v6.1.7\openwrt\package\lua\patches\300-opcode_performance.patch
905   GPL.UBNT.v6.1.7\openwrt\package\lua\patches\400-luaposix_5.1.4-embedded.patch
906   GPL.UBNT.v6.1.7\openwrt\package\lua\patches\410-bitlib_25-embedded.patch
907   GPL.UBNT.v6.1.7\openwrt\package\mac-telnet\Makefile
908   GPL.UBNT.v6.1.7\openwrt\package\mac-telnet\src
909   GPL.UBNT.v6.1.7\openwrt\package\mac-telnet\src\config.h
910   GPL.UBNT.v6.1.7\openwrt\package\mac-telnet\src\console.c
911   GPL.UBNT.v6.1.7\openwrt\package\mac-telnet\src\console.h
912   GPL.UBNT.v6.1.7\openwrt\package\mac-telnet\src\devices.c
913   GPL.UBNT.v6.1.7\openwrt\package\mac-telnet\src\devices.h
914   GPL.UBNT.v6.1.7\openwrt\package\mac-telnet\src\LICENSE
915   GPL.UBNT.v6.1.7\openwrt\package\mac-telnet\src\macping.c
916   GPL.UBNT.v6.1.7\openwrt\package\mac-telnet\src\mactelnet.c
917   GPL.UBNT.v6.1.7\openwrt\package\mac-telnet\src\mactelnet.h
918   GPL.UBNT.v6.1.7\openwrt\package\mac-telnet\src\mactelnetd.c
919   GPL.UBNT.v6.1.7\openwrt\package\mac-telnet\src\mactelnetd.users
920   GPL.UBNT.v6.1.7\openwrt\package\mac-telnet\src\Makefile
921   GPL.UBNT.v6.1.7\openwrt\package\mac-telnet\src\md5.c
922   GPL.UBNT.v6.1.7\openwrt\package\mac-telnet\src\md5.h
923   GPL.UBNT.v6.1.7\openwrt\package\mac-telnet\src\mndp.c
924   GPL.UBNT.v6.1.7\openwrt\package\mac-telnet\src\protocol.c
925   GPL.UBNT.v6.1.7\openwrt\package\mac-telnet\src\protocol.h
926   GPL.UBNT.v6.1.7\openwrt\package\mac-telnet\src\README.markdown
927   GPL.UBNT.v6.1.7\openwrt\package\mac-telnet\src\udp.c
928   GPL.UBNT.v6.1.7\openwrt\package\mac-telnet\src\udp.h
929   GPL.UBNT.v6.1.7\openwrt\package\mac-telnet\src\users.c
930   GPL.UBNT.v6.1.7\openwrt\package\mac-telnet\src\users.h
931   GPL.UBNT.v6.1.7\openwrt\package\mac80211\files
932   GPL.UBNT.v6.1.7\openwrt\package\mac80211\Makefile
933   GPL.UBNT.v6.1.7\openwrt\package\mac80211\patches
934   GPL.UBNT.v6.1.7\openwrt\package\mac80211\files\lib
935   GPL.UBNT.v6.1.7\openwrt\package\mac80211\files\lib\wifi
936   GPL.UBNT.v6.1.7\openwrt\package\mac80211\files\lib\wifi\mac80211.sh
937   GPL.UBNT.v6.1.7\openwrt\package\mac80211\patches\001-disable_drivers.patch
938   GPL.UBNT.v6.1.7\openwrt\package\mac80211\patches\004-allow-ap-vlan-modes.patch
939   GPL.UBNT.v6.1.7\openwrt\package\madwifi\Config.in
940   GPL.UBNT.v6.1.7\openwrt\package\madwifi\files
 941   GPL.UBNT.v6.1.7\openwrt\package\madwifi\Makefile
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 16 of 285 PageID #:602
 942   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches
 943   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches-upstream
 944   GPL.UBNT.v6.1.7\openwrt\package\madwifi\files\etc
 945   GPL.UBNT.v6.1.7\openwrt\package\madwifi\files\lib
 946   GPL.UBNT.v6.1.7\openwrt\package\madwifi\files\etc\hotplug.d
 947   GPL.UBNT.v6.1.7\openwrt\package\madwifi\files\etc\hotplug.d\net
 948   GPL.UBNT.v6.1.7\openwrt\package\madwifi\files\etc\hotplug.d\net\10-madwifi
 949   GPL.UBNT.v6.1.7\openwrt\package\madwifi\files\lib\wifi
 950   GPL.UBNT.v6.1.7\openwrt\package\madwifi\files\lib\wifi\madwifi.sh
 951   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\102-multicall_binary.patch
 952   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\104-autocreate_none.patch
 953   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\105-ratectl_attach.patch
 954   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\106-get_arch.patch
 955   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\111-minstrel_crash.patch
 956   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\113-no_ibss_pwrsave.patch
 957   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\122-replayfail_workaround.patch
 958   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\123-ccmp_checks.patch
 959   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\124-linux24_compat.patch
 960   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\126-rxerr_frames.patch
 961   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\200-no_debug.patch
 962   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\201-debug_fix.patch
 963   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\202-debug_variables.patch
 964   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\300-napi_polling.patch
 965   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\305-pureg_fix.patch
 966   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\309-micfail_detect.patch
 967   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\310-noise_get.patch
 968   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\311-bssid_alloc.patch
 969   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\312-erpupdate.patch
 970   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\317-bmask.patch
 971   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\323-dfs_optional.patch
 972   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\324-alignment.patch
 973   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\325-channel_spam.patch
 974   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\327-queue.patch
 975   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\330-beaconcal.patch
 976   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\331-memory_alloc.patch
 977   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\332-reset_beacons.patch
 978   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\333-apscan_mode.patch
 979   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\334-input.patch
 980   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\340-maxrate.patch
 981   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\341-minrate.patch
 982   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\342-performance.patch
 983   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\343-txqueue_races.patch
 984   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\344-minstrel_failcnt.patch
 985   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\345-minstrel_sampling.patch
 986   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\346-protmode_trig.patch
 987   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\347-tuning.patch
 988   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\348-ackcts.patch
 989   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\349-reset.patch
 990   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\350-wisoc_softled.patch
 991   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\351-scanlist.patch
 992   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\352-ani_fix.patch
 993   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\353-devid.patch
 994   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\354-ifxmips_eeprom.patch
 995   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\355-eap_auth_disassoc.patch
 996   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\356-hidden_ssid.patch
 997   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\357-bgscan_thresh.patch
 998   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\358-ignore_broken_bssid.patch
 999   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\359-disable_reassoc.patch
1000   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\360-sta_nodes.patch
1001   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\361-bmiss_handling.patch
1002   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\362-rssithr.patch
1003   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\363-fix_turbo.patch
1004   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\364-memory_alloc.patch
1005   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\365-turbo_channelsearch.patch
1006   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\366-bstuck_thresh.patch
1007   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\367-roaming.patch
1008   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\368-sta_ie_preserve.patch
1009   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\369-mlme_assoc.patch
1010   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\370-wdsvap.patch
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 17 of 285 PageID #:603
1011   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\372-queue_vif.patch
1012   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\373-sanity_check.patch
1013   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\374-nbtt_fix.patch
1014   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\375-atim_tsf_update.patch
1015   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\377-disable_vlan_code.patch
1016   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\378-adhoc_crash_fix.patch
1017   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\379-invalid_rate_fix.patch
1018   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\380-noderef_hack.patch
1019   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\381-ibss_modes.patch
1020   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\382-relax_bintval.patch
1021   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\383-ibss_hostap.patch
1022   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\384-hwdetect.patch
1023   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\385-antenna_fix.patch
1024   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\386-acl_crashfix.patch
1025   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\387-maxassoc.patch
1026   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\388-apsta_fix.patch
1027   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\389-autochannel.patch
1028   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\390-frame_type.patch
1029   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\391-vap_auth.patch
1030   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\392-remove_wds_nodetracking.patch
1031   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\393-mbss_vap_auth.patch
1032   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\394-probereq.patch
1033   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\395-ath_ff_unmap.patch
1034   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\396-napi_ff_fix.patch
1035   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\400-new_hal.patch
1036   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\401-changeset_r3602.patch
1037   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\402-changeset_r3603.patch
1038   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\403-changeset_r3605.patch
1039   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\404-linux24_fix.patch
1040   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\405-retransmit_check.patch
1041   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\406-monitor_r3711.patch
1042   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\407-new_athinfo.patch
1043   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\408-changeset_r3337.patch
1044   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\409-wext_compat.patch
1045   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\410-ar231x_2.6.28.patch
1046   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\411-autochannel_multi.patch
1047   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\412-fragmentation_fix.patch
1048   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\413-rxorn.patch
1049   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\414-txpower.patch
1050   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\415-chan_switch.patch
1051   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\416-wprobe.patch
1052   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\417-beacon_txpower.patch
1053   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\419-skb_unmap_crash.patch
1054   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\420-diversity_fix.patch
1055   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\421-channel_handling.patch
1056   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\422-confchange_reset.patch
1057   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\423-phyerr_handling.patch
1058   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\424-timing.patch
1059   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\425-rc_rexmit.patch
1060   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\426-header_len.patch
1061   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\427-ignore_eeprom_ff.patch
1062   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\430-use_netdev_priv.patch
1063   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\431-compile_fixes.patch
1064   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\432-netdev_ops.patch
1065   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\433-backport_remove_irq_none.patch
1066   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\434-name-alloc-fix.patch
1067   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\435-ibss_neighbor_fix.patch
1068   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\436-injection_checks.patch
1069   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\437-sysctl_cleanup.patch
1070   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\438-poweroffset_sysctl.patch
1071   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\439-wlanconfig_stack_usage.patch
1072   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\440-wme_cleanup.patch
1073   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\441-fix_ibss_node_handling.patch
1074   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\442-ibss_rx_filter.patch
1075   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\443-tx_drop_counter.patch
1076   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\444-beacon_update_war.patch
1077   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\445-fix_ps_sta_count.patch
1078   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\446-single_module.patch
1079   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\447-sta_reconnect.patch
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 18 of 285 PageID #:604
1080   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\448-beacon_handling_fixes.patch
1081   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\449-fix_txbuf_leak.patch
1082   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\450-calibration.patch
1083   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\451-ibss_race_fix.patch
1084   GPL.UBNT.v6.1.7\openwrt\package\madwifi\patches\452-minstrel_no_timer.patch
1085   GPL.UBNT.v6.1.7\openwrt\package\mmc_over_gpio\files
1086   GPL.UBNT.v6.1.7\openwrt\package\mmc_over_gpio\Makefile
1087   GPL.UBNT.v6.1.7\openwrt\package\mmc_over_gpio\files\mmc_over_gpio.init
1088   GPL.UBNT.v6.1.7\openwrt\package\mtd\Makefile
1089   GPL.UBNT.v6.1.7\openwrt\package\mtd\src
1090   GPL.UBNT.v6.1.7\openwrt\package\mtd\src\crc32.c
1091   GPL.UBNT.v6.1.7\openwrt\package\mtd\src\crc32.h
1092   GPL.UBNT.v6.1.7\openwrt\package\mtd\src\fis.c
1093   GPL.UBNT.v6.1.7\openwrt\package\mtd\src\fis.h
1094   GPL.UBNT.v6.1.7\openwrt\package\mtd\src\jffs2.c
1095   GPL.UBNT.v6.1.7\openwrt\package\mtd\src\jffs2.h
1096   GPL.UBNT.v6.1.7\openwrt\package\mtd\src\Makefile
1097   GPL.UBNT.v6.1.7\openwrt\package\mtd\src\mtd-api.h
1098   GPL.UBNT.v6.1.7\openwrt\package\mtd\src\mtd.c
1099   GPL.UBNT.v6.1.7\openwrt\package\mtd\src\mtd.h
1100   GPL.UBNT.v6.1.7\openwrt\package\mtd\src\trx.c
1101   GPL.UBNT.v6.1.7\openwrt\package\ncurses\Makefile
1102   GPL.UBNT.v6.1.7\openwrt\package\ncurses\patches
1103   GPL.UBNT.v6.1.7\openwrt\package\ncurses\patches\500-cross.patch
1104   GPL.UBNT.v6.1.7\openwrt\package\nozomi\files
1105   GPL.UBNT.v6.1.7\openwrt\package\nozomi\Makefile
1106   GPL.UBNT.v6.1.7\openwrt\package\nozomi\patches
1107   GPL.UBNT.v6.1.7\openwrt\package\nozomi\files\Makefile
1108   GPL.UBNT.v6.1.7\openwrt\package\nozomi\patches\001-devfs.patch
1109   GPL.UBNT.v6.1.7\openwrt\package\nozomi\patches\002-nozomi_vf_01.patch
1110   GPL.UBNT.v6.1.7\openwrt\package\nvram\files
1111   GPL.UBNT.v6.1.7\openwrt\package\nvram\Makefile
1112   GPL.UBNT.v6.1.7\openwrt\package\nvram\src
1113   GPL.UBNT.v6.1.7\openwrt\package\nvram\files\nvram.init
1114   GPL.UBNT.v6.1.7\openwrt\package\nvram\src\include
1115   GPL.UBNT.v6.1.7\openwrt\package\nvram\src\main.c
1116   GPL.UBNT.v6.1.7\openwrt\package\nvram\src\Makefile
1117   GPL.UBNT.v6.1.7\openwrt\package\nvram\src\nvram.c
1118   GPL.UBNT.v6.1.7\openwrt\package\nvram\src\include\bcmnvram.h
1119   GPL.UBNT.v6.1.7\openwrt\package\nvram\src\include\bcmutils.h
1120   GPL.UBNT.v6.1.7\openwrt\package\nvram\src\include\shutils.h
1121   GPL.UBNT.v6.1.7\openwrt\package\nvram\src\include\typedefs.h
1122   GPL.UBNT.v6.1.7\openwrt\package\nvram\src\include\wlutils.h
1123   GPL.UBNT.v6.1.7\openwrt\package\nvram-brcm47xx\files
1124   GPL.UBNT.v6.1.7\openwrt\package\nvram-brcm47xx\Makefile
1125   GPL.UBNT.v6.1.7\openwrt\package\nvram-brcm47xx\src
1126   GPL.UBNT.v6.1.7\openwrt\package\nvram-brcm47xx\files\nvram.init
1127   GPL.UBNT.v6.1.7\openwrt\package\nvram-brcm47xx\src\cli.c
1128   GPL.UBNT.v6.1.7\openwrt\package\nvram-brcm47xx\src\crc.c
1129   GPL.UBNT.v6.1.7\openwrt\package\nvram-brcm47xx\src\Makefile
1130   GPL.UBNT.v6.1.7\openwrt\package\nvram-brcm47xx\src\nvram.c
1131   GPL.UBNT.v6.1.7\openwrt\package\nvram-brcm47xx\src\nvram.h
1132   GPL.UBNT.v6.1.7\openwrt\package\nvram-brcm47xx\src\sdinitvals.h
1133   GPL.UBNT.v6.1.7\openwrt\package\ocf-crypto-headers\Makefile
1134   GPL.UBNT.v6.1.7\openwrt\package\ocf-crypto-headers\src
1135   GPL.UBNT.v6.1.7\openwrt\package\ocf-crypto-headers\src\cryptodev.h
1136   GPL.UBNT.v6.1.7\openwrt\package\openssl\Makefile
1137   GPL.UBNT.v6.1.7\openwrt\package\openssl\patches
1138   GPL.UBNT.v6.1.7\openwrt\package\openssl\patches\110-optimize-for-size.patch
1139   GPL.UBNT.v6.1.7\openwrt\package\openssl\patches\120-makedepend.patch
1140   GPL.UBNT.v6.1.7\openwrt\package\openssl\patches\130-perl-path.patch
1141   GPL.UBNT.v6.1.7\openwrt\package\openssl\patches\140-makefile-dirs.patch
1142   GPL.UBNT.v6.1.7\openwrt\package\openssl\patches\150-no_engines.patch
1143   GPL.UBNT.v6.1.7\openwrt\package\openssl\patches\160-disable_doc_tests.patch
1144   GPL.UBNT.v6.1.7\openwrt\package\openssl\patches\170-bash_path.patch
1145   GPL.UBNT.v6.1.7\openwrt\package\openssl\patches\200-ocf.patch
1146   GPL.UBNT.v6.1.7\openwrt\package\openssl\patches\205-use_local_cryptodev_h.patch
1147   GPL.UBNT.v6.1.7\openwrt\package\openssl\patches\300-etrax_support.patch
1148   GPL.UBNT.v6.1.7\openwrt\package\openssl\patches\400-cve-2008-5077.patch
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 19 of 285 PageID #:605
1149   GPL.UBNT.v6.1.7\openwrt\package\openssl\patches\401-cve-2009-0590.patch
1150   GPL.UBNT.v6.1.7\openwrt\package\openssl\patches\402-cve-2009-1377.patch
1151   GPL.UBNT.v6.1.7\openwrt\package\openssl\patches\403-cve-2009-1378.patch
1152   GPL.UBNT.v6.1.7\openwrt\package\openssl\patches\404-cve-2009-1379.patch
1153   GPL.UBNT.v6.1.7\openwrt\package\openssl\patches\405-cve-2009-1387.patch
1154   GPL.UBNT.v6.1.7\openwrt\package\opkg\files
1155   GPL.UBNT.v6.1.7\openwrt\package\opkg\Makefile
1156   GPL.UBNT.v6.1.7\openwrt\package\opkg\patches
1157   GPL.UBNT.v6.1.7\openwrt\package\opkg\files\opkg.conf
1158   GPL.UBNT.v6.1.7\openwrt\package\opkg\patches\001-use-wget
1159   GPL.UBNT.v6.1.7\openwrt\package\opkg\patches\002-remove-gpg-warning
1160   GPL.UBNT.v6.1.7\openwrt\package\opkg\patches\003-fs_overlay_support.patch
1161   GPL.UBNT.v6.1.7\openwrt\package\opkg\patches\004-host_cpu.patch
1162   GPL.UBNT.v6.1.7\openwrt\package\opkg\patches\005-fix_force_space.patch
1163   GPL.UBNT.v6.1.7\openwrt\package\pcmcia-cs\Makefile
1164   GPL.UBNT.v6.1.7\openwrt\package\pcmcia-cs\patches
1165   GPL.UBNT.v6.1.7\openwrt\package\pcmcia-cs\patches\001-config-novatel_merlin_u630.patch
1166   GPL.UBNT.v6.1.7\openwrt\package\pcmcia-cs\patches\002-serial-cardctl_path.patch
1167   GPL.UBNT.v6.1.7\openwrt\package\pcmcia-cs\patches\003-cardmgr_c.patch
1168   GPL.UBNT.v6.1.7\openwrt\package\pcmcia-cs\patches\004-pcmcia_resources.patch
1169   GPL.UBNT.v6.1.7\openwrt\package\php2\Makefile
1170   GPL.UBNT.v6.1.7\openwrt\package\ppp\files
1171   GPL.UBNT.v6.1.7\openwrt\package\ppp\Makefile
1172   GPL.UBNT.v6.1.7\openwrt\package\ppp\src
1173   GPL.UBNT.v6.1.7\openwrt\package\ppp\files\etc
1174   GPL.UBNT.v6.1.7\openwrt\package\ppp\files\ip-down
1175   GPL.UBNT.v6.1.7\openwrt\package\ppp\files\ip-up
1176   GPL.UBNT.v6.1.7\openwrt\package\ppp\files\ipv6-down
1177   GPL.UBNT.v6.1.7\openwrt\package\ppp\files\ipv6-down.d
1178   GPL.UBNT.v6.1.7\openwrt\package\ppp\files\ipv6-up
1179   GPL.UBNT.v6.1.7\openwrt\package\ppp\files\ipv6-up.d
1180   GPL.UBNT.v6.1.7\openwrt\package\ppp\files\ppp.sh
1181   GPL.UBNT.v6.1.7\openwrt\package\ppp\files\pppoa.sh
1182   GPL.UBNT.v6.1.7\openwrt\package\ppp\files\pppoe.sh
1183   GPL.UBNT.v6.1.7\openwrt\package\ppp\files\ipv6-down.d\01-defaultroute
1184   GPL.UBNT.v6.1.7\openwrt\package\ppp\files\ipv6-up.d\01-defaultroute
1185   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\Changes-2.3
1186   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\chat
1187   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\common
1188   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\configure
1189   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\contrib
1190   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\etc.ppp
1191   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\FAQ
1192   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\include
1193   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\linux
1194   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\modules
1195   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\PLUGINS
1196   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd
1197   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppdump
1198   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppstats
1199   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\README
1200   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\README.cbcp
1201   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\README.eap-srp
1202   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\README.linux
1203   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\README.MPPE
1204   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\README.MSCHAP80
1205   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\README.MSCHAP81
1206   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\README.pppoe
1207   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\README.pwfd
1208   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\README.sol2
1209   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\scripts
1210   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\SETUP
1211   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\solaris
1212   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\chat\chat.8
1213   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\chat\chat.c
1214   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\chat\Makefile.linux
1215   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\chat\Makefile.sol2
1216   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\common\zlib.c
1217   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\common\zlib.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 20 of 285 PageID #:606
1218   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\contrib\pppgetpass
1219   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\contrib\pppgetpass\Makefile.linux
1220   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\contrib\pppgetpass\pppgetpass.8
1221   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\contrib\pppgetpass\pppgetpass.gtk.c
1222   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\contrib\pppgetpass\pppgetpass.sh
1223   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\contrib\pppgetpass\pppgetpass.vt.c
1224   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\etc.ppp\chap-secrets
1225   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\etc.ppp\options
1226   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\etc.ppp\pap-secrets
1227   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\include\linux
1228   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\include\net
1229   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\include\pcap-int.h
1230   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\include\linux\if_ether.h
1231   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\include\linux\if_ppp.h
1232   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\include\linux\if_pppox.h
1233   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\include\linux\if_pppvar.h
1234   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\include\linux\ppp-comp.h
1235   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\include\linux\ppp_defs.h
1236   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\include\net\if_ppp.h
1237   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\include\net\ppp-comp.h
1238   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\include\net\pppio.h
1239   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\include\net\ppp_defs.h
1240   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\include\net\slcompress.h
1241   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\include\net\vjcompress.h
1242   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\linux\Makefile.top
1243   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\modules\bsd-comp.c
1244   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\modules\deflate.c
1245   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\modules\if_ppp.c
1246   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\modules\ppp.c
1247   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\modules\ppp_ahdlc.c
1248   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\modules\ppp_comp.c
1249   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\modules\ppp_mod.h
1250   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\modules\vjcompress.c
1251   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\auth.c
1252   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\cbcp.c
1253   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\cbcp.h
1254   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\ccp.c
1255   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\ccp.h
1256   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\chap-md5.c
1257   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\chap-md5.h
1258   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\chap-new.c
1259   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\chap-new.h
1260   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\chap_ms.c
1261   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\chap_ms.h
1262   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\demand.c
1263   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\eap.c
1264   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\eap.h
1265   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\ecp.c
1266   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\ecp.h
1267   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\eui64.c
1268   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\eui64.h
1269   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\fsm.c
1270   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\fsm.h
1271   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\ipcp.c
1272   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\ipcp.h
1273   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\ipv6cp.c
1274   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\ipv6cp.h
1275   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\ipxcp.c
1276   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\ipxcp.h
1277   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\lcp.c
1278   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\lcp.h
1279   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\magic.c
1280   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\magic.h
1281   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\main.c
1282   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\Makefile.linux
1283   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\Makefile.sol2
1284   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\md4.c
1285   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\md4.h
1286   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\md5.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 21 of 285 PageID #:607
1287   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\md5.h
1288   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\multilink.c
1289   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\options.c
1290   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\patchlevel.h
1291   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\pathnames.h
1292   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins
1293   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\ppp.pam
1294   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\pppcrypt.c
1295   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\pppcrypt.h
1296   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\pppd.8
1297   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\pppd.h
1298   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\sha1.c
1299   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\sha1.h
1300   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\spinlock.c
1301   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\spinlock.h
1302   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\srp-entry.8
1303   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\srp-entry.c
1304   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\sys-linux.c
1305   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\sys-solaris.c
1306   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\tdb.c
1307   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\tdb.h
1308   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\tty.c
1309   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\upap.c
1310   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\upap.h
1311   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\utils.c
1312   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\Makefile.linux
1313   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\Makefile.sol2
1314   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\minconn.c
1315   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\passprompt.c
1316   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\passwordfd.c
1317   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\pppoatm
1318   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\radius
1319   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\rp-pppoe
1320   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\winbind.c
1321   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\pppoatm\ans.c
1322   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\pppoatm\atm.h
1323   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\pppoatm\atmres.h
1324   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\pppoatm\atmsap.h
1325   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\pppoatm\COPYING
1326   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\pppoatm\Makefile.linux
1327   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\pppoatm\misc.c
1328   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\pppoatm\pppoatm.c
1329   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\pppoatm\text2atm.c
1330   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\pppoatm\text2qos.c
1331   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\radius\avpair.c
1332   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\radius\buildreq.c
1333   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\radius\clientid.c
1334   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\radius\config.c
1335   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\radius\COPYRIGHT
1336   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\radius\dict.c
1337   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\radius\etc
1338   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\radius\includes.h
1339   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\radius\ip_util.c
1340   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\radius\lock.c
1341   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\radius\Makefile.linux
1342   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\radius\md5.c
1343   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\radius\options.h
1344   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\radius\pathnames.h
1345   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\radius\pppd-radattr.8
1346   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\radius\pppd-radius.8
1347   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\radius\radattr.c
1348   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\radius\radius.c
1349   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\radius\radiusclient.h
1350   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\radius\radrealms.c
1351   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\radius\sendserver.c
1352   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\radius\util.c
1353   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\radius\etc\dictionary
1354   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\radius\etc\dictionary.ascend
1355   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\radius\etc\dictionary.compat
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 22 of 285 PageID #:608
1356   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\radius\etc\dictionary.merit
1357   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\radius\etc\dictionary.microsoft
1358   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\radius\etc\issue
1359   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\radius\etc\port-id-map
1360   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\radius\etc\radiusclient.conf
1361   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\radius\etc\radiusclient.conf.in
1362   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\radius\etc\realms
1363   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\radius\etc\servers
1364   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\rp-pppoe\common.c
1365   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\rp-pppoe\config.h
1366   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\rp-pppoe\debug.c
1367   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\rp-pppoe\discovery.c
1368   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\rp-pppoe\if.c
1369   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\rp-pppoe\Makefile.linux
1370   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\rp-pppoe\plugin.c
1371   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\rp-pppoe\pppoe-discovery.c
1372   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppd\plugins\rp-pppoe\pppoe.h
1373   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppdump\bsd-comp.c
1374   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppdump\deflate.c
1375   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppdump\Makefile.linux
1376   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppdump\Makefile.sol2
1377   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppdump\ppp-comp.h
1378   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppdump\pppdump.8
1379   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppdump\pppdump.c
1380   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppdump\zlib.c
1381   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppdump\zlib.h
1382   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppstats\Makefile.linux
1383   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppstats\Makefile.sol2
1384   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppstats\pppstats.8
1385   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\pppstats\pppstats.c
1386   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\scripts\autopppd
1387   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\scripts\callback
1388   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\scripts\chat-callback
1389   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\scripts\chatchat
1390   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\scripts\ip-down
1391   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\scripts\ip-down.local.add
1392   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\scripts\ip-up
1393   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\scripts\ip-up.local.add
1394   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\scripts\ipv6-down.sample
1395   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\scripts\ipv6-up.sample
1396   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\scripts\options-rsh-loc
1397   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\scripts\options-rsh-rem
1398   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\scripts\options-ssh-loc
1399   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\scripts\options-ssh-rem
1400   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\scripts\plog
1401   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\scripts\poff
1402   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\scripts\pon
1403   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\scripts\pon.1
1404   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\scripts\ppp-off
1405   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\scripts\ppp-on
1406   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\scripts\ppp-on-dialer
1407   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\scripts\ppp-on-rsh
1408   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\scripts\ppp-on-ssh
1409   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\scripts\README
1410   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\scripts\redialer
1411   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\scripts\secure-card
1412   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\scripts\chatchat\chatchat.c
1413   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\scripts\chatchat\README
1414   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\solaris\Makedefs
1415   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\solaris\Makedefs.gcc
1416   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\solaris\Makedefs.sol2
1417   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\solaris\Makefile.sol2
1418   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\solaris\Makefile.sol2-64
1419   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\solaris\Makefile.sol2-64x
1420   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\solaris\Makefile.sol2gcc
1421   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\solaris\Makefile.sol2gcc-64
1422   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\solaris\Makefile.sol2gcc-64x
1423   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\solaris\Makefile.top
1424   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\solaris\ppp.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 23 of 285 PageID #:609
1425   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\solaris\ppp.conf
1426   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\solaris\ppp_ahdlc.c
1427   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\solaris\ppp_ahdlc_mod.c
1428   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\solaris\ppp_comp.c
1429   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\solaris\ppp_comp_mod.c
1430   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\solaris\ppp_mod.c
1431   GPL.UBNT.v6.1.7\openwrt\package\ppp\src\solaris\ppp_mod.h
1432   GPL.UBNT.v6.1.7\openwrt\package\pptp\files
1433   GPL.UBNT.v6.1.7\openwrt\package\pptp\Makefile
1434   GPL.UBNT.v6.1.7\openwrt\package\pptp\files\options.pptp
1435   GPL.UBNT.v6.1.7\openwrt\package\pptp\files\pptp.sh
1436   GPL.UBNT.v6.1.7\openwrt\package\qos-scripts\files
1437   GPL.UBNT.v6.1.7\openwrt\package\qos-scripts\Makefile
1438   GPL.UBNT.v6.1.7\openwrt\package\qos-scripts\files\etc
1439   GPL.UBNT.v6.1.7\openwrt\package\qos-scripts\files\usr
1440   GPL.UBNT.v6.1.7\openwrt\package\qos-scripts\files\etc\config
1441   GPL.UBNT.v6.1.7\openwrt\package\qos-scripts\files\etc\hotplug.d
1442   GPL.UBNT.v6.1.7\openwrt\package\qos-scripts\files\etc\init.d
1443   GPL.UBNT.v6.1.7\openwrt\package\qos-scripts\files\etc\config\qos
1444   GPL.UBNT.v6.1.7\openwrt\package\qos-scripts\files\etc\hotplug.d\iface
1445   GPL.UBNT.v6.1.7\openwrt\package\qos-scripts\files\etc\hotplug.d\iface\10-qos
1446   GPL.UBNT.v6.1.7\openwrt\package\qos-scripts\files\etc\init.d\qos
1447   GPL.UBNT.v6.1.7\openwrt\package\qos-scripts\files\usr\bin
1448   GPL.UBNT.v6.1.7\openwrt\package\qos-scripts\files\usr\lib
1449   GPL.UBNT.v6.1.7\openwrt\package\qos-scripts\files\usr\bin\qos-start
1450   GPL.UBNT.v6.1.7\openwrt\package\qos-scripts\files\usr\bin\qos-stat
1451   GPL.UBNT.v6.1.7\openwrt\package\qos-scripts\files\usr\bin\qos-stop
1452   GPL.UBNT.v6.1.7\openwrt\package\qos-scripts\files\usr\lib\qos
1453   GPL.UBNT.v6.1.7\openwrt\package\qos-scripts\files\usr\lib\qos\generate.sh
1454   GPL.UBNT.v6.1.7\openwrt\package\qos-scripts\files\usr\lib\qos\tcrules.awk
1455   GPL.UBNT.v6.1.7\openwrt\package\radvd\files
1456   GPL.UBNT.v6.1.7\openwrt\package\radvd\Makefile
1457   GPL.UBNT.v6.1.7\openwrt\package\radvd\patches
1458   GPL.UBNT.v6.1.7\openwrt\package\radvd\files\radvd.config
1459   GPL.UBNT.v6.1.7\openwrt\package\radvd\files\radvd.init
1460   GPL.UBNT.v6.1.7\openwrt\package\radvd\patches\001-fix_avr32_compile
1461   GPL.UBNT.v6.1.7\openwrt\package\radvd\patches\002-no_libfl.patch
1462   GPL.UBNT.v6.1.7\openwrt\package\radvd\patches\003-linux_old_compat.patch
1463   GPL.UBNT.v6.1.7\openwrt\package\radvd\patches\005-no-daemon.patch
1464   GPL.UBNT.v6.1.7\openwrt\package\radvd\patches\010-nofail-conf-permitions.patch
1465   GPL.UBNT.v6.1.7\openwrt\package\radvd\patches\012-nofail-ipv6-forwarding.patch
1466   GPL.UBNT.v6.1.7\openwrt\package\robocfg\Makefile
1467   GPL.UBNT.v6.1.7\openwrt\package\robocfg\src
1468   GPL.UBNT.v6.1.7\openwrt\package\robocfg\src\etc53xx.h
1469   GPL.UBNT.v6.1.7\openwrt\package\robocfg\src\Makefile
1470   GPL.UBNT.v6.1.7\openwrt\package\robocfg\src\robocfg.c
1471   GPL.UBNT.v6.1.7\openwrt\package\rt2570\Makefile
1472   GPL.UBNT.v6.1.7\openwrt\package\siit\Makefile
1473   GPL.UBNT.v6.1.7\openwrt\package\siit\src
1474   GPL.UBNT.v6.1.7\openwrt\package\siit\src\Makefile
1475   GPL.UBNT.v6.1.7\openwrt\package\siit\src\siit.c
1476   GPL.UBNT.v6.1.7\openwrt\package\siit\src\siit.h
1477   GPL.UBNT.v6.1.7\openwrt\package\spi-ks8995\Makefile
1478   GPL.UBNT.v6.1.7\openwrt\package\spi-ks8995\src
1479   GPL.UBNT.v6.1.7\openwrt\package\spi-ks8995\src\Kconfig
1480   GPL.UBNT.v6.1.7\openwrt\package\spi-ks8995\src\Makefile
1481   GPL.UBNT.v6.1.7\openwrt\package\spi-ks8995\src\spi_ks8995.c
1482   GPL.UBNT.v6.1.7\openwrt\package\swconfig\files
1483   GPL.UBNT.v6.1.7\openwrt\package\swconfig\Makefile
1484   GPL.UBNT.v6.1.7\openwrt\package\swconfig\src
1485   GPL.UBNT.v6.1.7\openwrt\package\swconfig\files\switch.sh
1486   GPL.UBNT.v6.1.7\openwrt\package\swconfig\src\cli.c
1487   GPL.UBNT.v6.1.7\openwrt\package\swconfig\src\Makefile
1488   GPL.UBNT.v6.1.7\openwrt\package\swconfig\src\swlib.c
1489   GPL.UBNT.v6.1.7\openwrt\package\swconfig\src\swlib.h
1490   GPL.UBNT.v6.1.7\openwrt\package\swconfig\src\uci.c
1491   GPL.UBNT.v6.1.7\openwrt\package\switch\files
1492   GPL.UBNT.v6.1.7\openwrt\package\switch\Makefile
1493   GPL.UBNT.v6.1.7\openwrt\package\switch\src
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 24 of 285 PageID #:610
1494   GPL.UBNT.v6.1.7\openwrt\package\switch\files\switch.sh
1495   GPL.UBNT.v6.1.7\openwrt\package\switch\src\etc53xx.h
1496   GPL.UBNT.v6.1.7\openwrt\package\switch\src\gpio-bcm947xx.h
1497   GPL.UBNT.v6.1.7\openwrt\package\switch\src\gpio.h
1498   GPL.UBNT.v6.1.7\openwrt\package\switch\src\Makefile
1499   GPL.UBNT.v6.1.7\openwrt\package\switch\src\switch-adm.c
1500   GPL.UBNT.v6.1.7\openwrt\package\switch\src\switch-core.c
1501   GPL.UBNT.v6.1.7\openwrt\package\switch\src\switch-core.h
1502   GPL.UBNT.v6.1.7\openwrt\package\switch\src\switch-robo.c
1503   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files
1504   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\Makefile
1505   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\patches
1506   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\board
1507   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\common
1508   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\cpu
1509   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\drivers
1510   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\include
1511   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\lib_bootstrap
1512   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\lib_generic
1513   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\net
1514   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\tools
1515   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\board\danube
1516   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\board\danube\config.mk
1517   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\board\danube\danube.c
1518   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\board\danube\ddr_settings.h
1519   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\board\danube\ddr_settings_111.h
1520   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\board\danube\ddr_settings_166.h
1521   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\board\danube\ddr_settings_e111.h
1522   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\board\danube\ddr_settings_e166.h
1523   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\board\danube\ddr_settings_PROMOSDDR40
       0.h
1524   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\board\danube\ddr_settings_psc_166.h
1525   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\board\danube\ddr_settings_r111.h
1526   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\board\danube\ddr_settings_r166.h
1527   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\board\danube\ddr_settings_Samsung_166
       .h
1528   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\board\danube\flash.c
1529   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\board\danube\lowlevel_init.S
1530   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\board\danube\Makefile
1531   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\board\danube\pmuenable.S
1532   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\board\danube\README
1533   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\board\danube\u-boot-bootstrap.lds
1534   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\board\danube\u-boot.lds
1535   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\common\flash_danube.c
1536   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\cpu\mips
1537   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\cpu\mips\danube
1538   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\cpu\mips\danube\asc_serial.c
1539   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\cpu\mips\danube\asc_serial.h
1540   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\cpu\mips\danube\au1x00_eth.c
1541   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\cpu\mips\danube\au1x00_serial.c
1542   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\cpu\mips\danube\au1x00_usb_ohci.c
1543   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\cpu\mips\danube\au1x00_usb_ohci.h
1544   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\cpu\mips\danube\cache.S
1545   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\cpu\mips\danube\config.mk
1546   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\cpu\mips\danube\cpu.c
1547   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\cpu\mips\danube\ifx_asc.c
1548   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\cpu\mips\danube\ifx_cache.S
1549   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\cpu\mips\danube\ifx_cgu.c
1550   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\cpu\mips\danube\ifx_cgu.h
1551   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\cpu\mips\danube\ifx_clock.c
1552   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\cpu\mips\danube\ifx_cpu.c
1553   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\cpu\mips\danube\ifx_start.S
1554   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\cpu\mips\danube\incaip_clock.c
1555   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\cpu\mips\danube\incaip_wdt.S
1556   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\cpu\mips\danube\interrupts.c
1557   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\cpu\mips\danube\Makefile
1558   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\cpu\mips\danube\start.S
1559   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\cpu\mips\danube\start_bootstrap.S
1560   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\drivers\ifx_sw.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 25 of 285 PageID #:611
1561   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\include\asm-mips
1562   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\include\boot.h
1563   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\include\configs
1564   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\include\LzmaWrapper.h
1565   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\include\asm-mips\danube.h
1566   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\include\asm-mips\errno.h
1567   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\include\asm-mips\ifx_asc.h
1568   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\include\asm-mips\inca-ip2.h
1569   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\include\asm-mips\pinstrap.h
1570   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\include\asm-mips\romconfig.h
1571   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\include\configs\danube.h
1572   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\include\configs\ifx_cfg.h
1573   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\include\configs\ifx_extra_env.h
1574   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\lib_bootstrap\bootstrap_board_danube.
       c
1575   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\lib_bootstrap\console.c
1576   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\lib_bootstrap\crc32.c
1577   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\lib_bootstrap\ctype.c
1578   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\lib_bootstrap\devices.c
1579   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\lib_bootstrap\display_options.c
1580   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\lib_bootstrap\lists.c
1581   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\lib_bootstrap\LzmaDecode.c
1582   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\lib_bootstrap\LzmaDecode.h
1583   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\lib_bootstrap\LzmaTypes.h
1584   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\lib_bootstrap\LzmaWrapper.c
1585   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\lib_bootstrap\Makefile
1586   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\lib_bootstrap\string.c
1587   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\lib_bootstrap\time.c
1588   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\lib_bootstrap\vsprintf.c
1589   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\lib_generic\LzmaDecode.c
1590   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\lib_generic\LzmaDecode.h
1591   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\lib_generic\LzmaTypes.h
1592   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\lib_generic\LzmaWrapper.c
1593   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\net\ifx_eth.c
1594   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\net\net_danube.c
1595   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\net\nfs_danube.c
1596   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\net\tftp_danube.c
1597   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\tools\crc32_danube.c
1598   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\files\tools\environment_danube.c
1599   GPL.UBNT.v6.1.7\openwrt\package\uboot-ifxmips\patches\100-ifx.patch
1600   GPL.UBNT.v6.1.7\openwrt\package\ubsec_ssb\Makefile
1601   GPL.UBNT.v6.1.7\openwrt\package\ubsec_ssb\src
1602   GPL.UBNT.v6.1.7\openwrt\package\ubsec_ssb\src\bsdqueue.h
1603   GPL.UBNT.v6.1.7\openwrt\package\ubsec_ssb\src\cryptodev.h
1604   GPL.UBNT.v6.1.7\openwrt\package\ubsec_ssb\src\hmachack.h
1605   GPL.UBNT.v6.1.7\openwrt\package\ubsec_ssb\src\Makefile
1606   GPL.UBNT.v6.1.7\openwrt\package\ubsec_ssb\src\md5.c
1607   GPL.UBNT.v6.1.7\openwrt\package\ubsec_ssb\src\md5.h
1608   GPL.UBNT.v6.1.7\openwrt\package\ubsec_ssb\src\ocf-compat.h
1609   GPL.UBNT.v6.1.7\openwrt\package\ubsec_ssb\src\openbsd
1610   GPL.UBNT.v6.1.7\openwrt\package\ubsec_ssb\src\sha1.c
1611   GPL.UBNT.v6.1.7\openwrt\package\ubsec_ssb\src\sha1.h
1612   GPL.UBNT.v6.1.7\openwrt\package\ubsec_ssb\src\ubsecreg.h
1613   GPL.UBNT.v6.1.7\openwrt\package\ubsec_ssb\src\ubsecvar.h
1614   GPL.UBNT.v6.1.7\openwrt\package\ubsec_ssb\src\ubsec_ssb.c
1615   GPL.UBNT.v6.1.7\openwrt\package\ubsec_ssb\src\uio.h
1616   GPL.UBNT.v6.1.7\openwrt\package\ubsec_ssb\src\openbsd\ubsec.c
1617   GPL.UBNT.v6.1.7\openwrt\package\ubsec_ssb\src\openbsd\ubsecreg.h
1618   GPL.UBNT.v6.1.7\openwrt\package\ubsec_ssb\src\openbsd\ubsecvar.h
1619   GPL.UBNT.v6.1.7\openwrt\package\uci\files
1620   GPL.UBNT.v6.1.7\openwrt\package\uci\Makefile
1621   GPL.UBNT.v6.1.7\openwrt\package\uci\files\lib
1622   GPL.UBNT.v6.1.7\openwrt\package\uci\files\lib\config
1623   GPL.UBNT.v6.1.7\openwrt\package\uci\files\lib\config\uci.sh
1624   GPL.UBNT.v6.1.7\openwrt\package\udev\files
1625   GPL.UBNT.v6.1.7\openwrt\package\udev\Makefile
1626   GPL.UBNT.v6.1.7\openwrt\package\udev\patches
1627   GPL.UBNT.v6.1.7\openwrt\package\udev\udevextras-config.in
1628   GPL.UBNT.v6.1.7\openwrt\package\udev\files\20-input-grouping.rules
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 26 of 285 PageID #:612
1629   GPL.UBNT.v6.1.7\openwrt\package\udev\patches\001-no_debug.patch
1630   GPL.UBNT.v6.1.7\openwrt\package\udev\patches\002-udevtrigger_no_config.patch
1631   GPL.UBNT.v6.1.7\openwrt\package\udev\patches\003-portability.patch
1632   GPL.UBNT.v6.1.7\openwrt\package\udev\patches\901-cve-2009-1185.patch
1633   GPL.UBNT.v6.1.7\openwrt\package\usb-modeswitch\files
1634   GPL.UBNT.v6.1.7\openwrt\package\usb-modeswitch\Makefile
1635   GPL.UBNT.v6.1.7\openwrt\package\usb-modeswitch\files\modeswitch.hotplug
1636   GPL.UBNT.v6.1.7\openwrt\package\usb-modeswitch-data\Makefile
1637   GPL.UBNT.v6.1.7\openwrt\package\util-linux-ng\Makefile
1638   GPL.UBNT.v6.1.7\openwrt\package\util-linux-ng\patches
1639   GPL.UBNT.v6.1.7\openwrt\package\util-linux-ng\patches\001-cris_avr32_label.patch
1640   GPL.UBNT.v6.1.7\openwrt\package\w1-gpio-custom\Makefile
1641   GPL.UBNT.v6.1.7\openwrt\package\w1-gpio-custom\src
1642   GPL.UBNT.v6.1.7\openwrt\package\w1-gpio-custom\src\Kconfig
1643   GPL.UBNT.v6.1.7\openwrt\package\w1-gpio-custom\src\Makefile
1644   GPL.UBNT.v6.1.7\openwrt\package\w1-gpio-custom\src\w1-gpio-custom.c
1645   GPL.UBNT.v6.1.7\openwrt\package\wireless-tools\Makefile
1646   GPL.UBNT.v6.1.7\openwrt\package\wireless-tools\patches
1647   GPL.UBNT.v6.1.7\openwrt\package\wireless-tools\patches\001-debian.patch
1648   GPL.UBNT.v6.1.7\openwrt\package\wireless-tools\patches\010-wireless-max-frequencies.patch
1649   GPL.UBNT.v6.1.7\openwrt\package\wireless-tools\patches\020-always-respect-e2big.patch
1650   GPL.UBNT.v6.1.7\openwrt\package\wireless-tools\patches\030-iwevent-in-iwmulticall.patch
1651   GPL.UBNT.v6.1.7\openwrt\package\wireless-tools\patches\050-oui-check-logic.patch
1652   GPL.UBNT.v6.1.7\openwrt\package\wireless-tools\patches\060-scan-progress.patch
1653   GPL.UBNT.v6.1.7\openwrt\package\wireless-tools\patches\070-unaligned-pointer-fix.patch
1654   GPL.UBNT.v6.1.7\openwrt\package\wireless-tools\patches\40-iwevent-syslog.patch
1655   GPL.UBNT.v6.1.7\openwrt\package\wireless-tools\patches\41-hide-scan-complete.patch
1656   GPL.UBNT.v6.1.7\openwrt\package\wireless-tools\patches\50-giwscan-timeout.patch
1657   GPL.UBNT.v6.1.7\openwrt\package\wpa_supplicant\config
1658   GPL.UBNT.v6.1.7\openwrt\package\wpa_supplicant\Config.in
1659   GPL.UBNT.v6.1.7\openwrt\package\wpa_supplicant\files
1660   GPL.UBNT.v6.1.7\openwrt\package\wpa_supplicant\Makefile
1661   GPL.UBNT.v6.1.7\openwrt\package\wpa_supplicant\patches
1662   GPL.UBNT.v6.1.7\openwrt\package\wpa_supplicant\files\wpa_supplicant.sh
1663   GPL.UBNT.v6.1.7\openwrt\package\wpa_supplicant\patches\100-timestamp_check.patch
1664   GPL.UBNT.v6.1.7\openwrt\package\wpa_supplicant\patches\110-roaming.patch
1665   GPL.UBNT.v6.1.7\openwrt\package\wpa_supplicant\patches\120-ssid_scan.patch
1666   GPL.UBNT.v6.1.7\openwrt\package\wpa_supplicant\patches\130-scanning.patch
1667   GPL.UBNT.v6.1.7\openwrt\package\wpa_supplicant\patches\140-quality.patch
1668   GPL.UBNT.v6.1.7\openwrt\package\wprobe\files
1669   GPL.UBNT.v6.1.7\openwrt\package\wprobe\Makefile
1670   GPL.UBNT.v6.1.7\openwrt\package\wprobe\src
1671   GPL.UBNT.v6.1.7\openwrt\package\wprobe\files\wprobe.config
1672   GPL.UBNT.v6.1.7\openwrt\package\wprobe\files\wprobe.init
1673   GPL.UBNT.v6.1.7\openwrt\package\wprobe\src\exporter
1674   GPL.UBNT.v6.1.7\openwrt\package\wprobe\src\filter
1675   GPL.UBNT.v6.1.7\openwrt\package\wprobe\src\kernel
1676   GPL.UBNT.v6.1.7\openwrt\package\wprobe\src\Makefile.inc
1677   GPL.UBNT.v6.1.7\openwrt\package\wprobe\src\user
1678   GPL.UBNT.v6.1.7\openwrt\package\wprobe\src\exporter\Makefile
1679   GPL.UBNT.v6.1.7\openwrt\package\wprobe\src\exporter\wprobe-export.c
1680   GPL.UBNT.v6.1.7\openwrt\package\wprobe\src\exporter\wprobe-export.h
1681   GPL.UBNT.v6.1.7\openwrt\package\wprobe\src\filter\gen_filter.pl
1682   GPL.UBNT.v6.1.7\openwrt\package\wprobe\src\filter\pfc.c
1683   GPL.UBNT.v6.1.7\openwrt\package\wprobe\src\filter\README.txt
1684   GPL.UBNT.v6.1.7\openwrt\package\wprobe\src\kernel\linux
1685   GPL.UBNT.v6.1.7\openwrt\package\wprobe\src\kernel\Makefile
1686   GPL.UBNT.v6.1.7\openwrt\package\wprobe\src\kernel\wprobe-core.c
1687   GPL.UBNT.v6.1.7\openwrt\package\wprobe\src\kernel\wprobe-dummy.c
1688   GPL.UBNT.v6.1.7\openwrt\package\wprobe\src\kernel\linux\math64.h
1689   GPL.UBNT.v6.1.7\openwrt\package\wprobe\src\kernel\linux\wprobe.h
1690   GPL.UBNT.v6.1.7\openwrt\package\wprobe\src\user\list.h
1691   GPL.UBNT.v6.1.7\openwrt\package\wprobe\src\user\Makefile
1692   GPL.UBNT.v6.1.7\openwrt\package\wprobe\src\user\wprobe-lib.c
1693   GPL.UBNT.v6.1.7\openwrt\package\wprobe\src\user\wprobe-util.c
1694   GPL.UBNT.v6.1.7\openwrt\package\wprobe\src\user\wprobe.h
1695   GPL.UBNT.v6.1.7\openwrt\package\wrt55agv2-spidevs\Makefile
1696   GPL.UBNT.v6.1.7\openwrt\package\wrt55agv2-spidevs\src
1697   GPL.UBNT.v6.1.7\openwrt\package\wrt55agv2-spidevs\src\Kconfig
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 27 of 285 PageID #:613
1698   GPL.UBNT.v6.1.7\openwrt\package\wrt55agv2-spidevs\src\Makefile
1699   GPL.UBNT.v6.1.7\openwrt\package\wrt55agv2-spidevs\src\wrt55agv2_spidevs.c
1700   GPL.UBNT.v6.1.7\openwrt\package\yamonenv\Makefile
1701   GPL.UBNT.v6.1.7\openwrt\package\yamonenv\patches
1702   GPL.UBNT.v6.1.7\openwrt\package\yamonenv\patches\001-yamonenv_mtd_partition.patch
1703   GPL.UBNT.v6.1.7\openwrt\package\zlib\Makefile
1704   GPL.UBNT.v6.1.7\openwrt\package\zlib\patches
1705   GPL.UBNT.v6.1.7\openwrt\package\zlib\patches\100-cross_compile.patch
1706   GPL.UBNT.v6.1.7\openwrt\scripts\abs2rel.pl
1707   GPL.UBNT.v6.1.7\openwrt\scripts\adam2flash-502T.pl
1708   GPL.UBNT.v6.1.7\openwrt\scripts\adam2flash-fritzbox.pl
1709   GPL.UBNT.v6.1.7\openwrt\scripts\adam2flash.pl
1710   GPL.UBNT.v6.1.7\openwrt\scripts\arm-magic.sh
1711   GPL.UBNT.v6.1.7\openwrt\scripts\combined-image.sh
1712   GPL.UBNT.v6.1.7\openwrt\scripts\config
1713   GPL.UBNT.v6.1.7\openwrt\scripts\config.guess
1714   GPL.UBNT.v6.1.7\openwrt\scripts\config.sub
1715   GPL.UBNT.v6.1.7\openwrt\scripts\download.pl
1716   GPL.UBNT.v6.1.7\openwrt\scripts\env
1717   GPL.UBNT.v6.1.7\openwrt\scripts\feeds
1718   GPL.UBNT.v6.1.7\openwrt\scripts\flash.sh
1719   GPL.UBNT.v6.1.7\openwrt\scripts\getver.sh
1720   GPL.UBNT.v6.1.7\openwrt\scripts\ipkg
1721   GPL.UBNT.v6.1.7\openwrt\scripts\ipkg-make-index.sh
1722   GPL.UBNT.v6.1.7\openwrt\scripts\kconfig.pl
1723   GPL.UBNT.v6.1.7\openwrt\scripts\localmirrors
1724   GPL.UBNT.v6.1.7\openwrt\scripts\make-ipkg-dir.sh
1725   GPL.UBNT.v6.1.7\openwrt\scripts\md5sum
1726   GPL.UBNT.v6.1.7\openwrt\scripts\metadata.pl
1727   GPL.UBNT.v6.1.7\openwrt\scripts\metadata.pm
1728   GPL.UBNT.v6.1.7\openwrt\scripts\patch-kernel.sh
1729   GPL.UBNT.v6.1.7\openwrt\scripts\quiltrc
1730   GPL.UBNT.v6.1.7\openwrt\scripts\rstrip.sh
1731   GPL.UBNT.v6.1.7\openwrt\scripts\slugimage.pl
1732   GPL.UBNT.v6.1.7\openwrt\scripts\timestamp.pl
1733   GPL.UBNT.v6.1.7\openwrt\scripts\config\.gitignore
1734   GPL.UBNT.v6.1.7\openwrt\scripts\config\conf.c
1735   GPL.UBNT.v6.1.7\openwrt\scripts\config\confdata.c
1736   GPL.UBNT.v6.1.7\openwrt\scripts\config\expr.c
1737   GPL.UBNT.v6.1.7\openwrt\scripts\config\expr.h
1738   GPL.UBNT.v6.1.7\openwrt\scripts\config\kconfig_load.c
1739   GPL.UBNT.v6.1.7\openwrt\scripts\config\lex.backup
1740   GPL.UBNT.v6.1.7\openwrt\scripts\config\lex.zconf.c_shipped
1741   GPL.UBNT.v6.1.7\openwrt\scripts\config\lkc.h
1742   GPL.UBNT.v6.1.7\openwrt\scripts\config\lkc_proto.h
1743   GPL.UBNT.v6.1.7\openwrt\scripts\config\lxdialog
1744   GPL.UBNT.v6.1.7\openwrt\scripts\config\Makefile
1745   GPL.UBNT.v6.1.7\openwrt\scripts\config\mconf.c
1746   GPL.UBNT.v6.1.7\openwrt\scripts\config\menu.c
1747   GPL.UBNT.v6.1.7\openwrt\scripts\config\README
1748   GPL.UBNT.v6.1.7\openwrt\scripts\config\symbol.c
1749   GPL.UBNT.v6.1.7\openwrt\scripts\config\util.c
1750   GPL.UBNT.v6.1.7\openwrt\scripts\config\zconf.gperf
1751   GPL.UBNT.v6.1.7\openwrt\scripts\config\zconf.hash.c_shipped
1752   GPL.UBNT.v6.1.7\openwrt\scripts\config\zconf.l
1753   GPL.UBNT.v6.1.7\openwrt\scripts\config\zconf.tab.c_shipped
1754   GPL.UBNT.v6.1.7\openwrt\scripts\config\zconf.y
1755   GPL.UBNT.v6.1.7\openwrt\scripts\config\lxdialog\check-lxdialog.sh
1756   GPL.UBNT.v6.1.7\openwrt\scripts\config\lxdialog\checklist.c
1757   GPL.UBNT.v6.1.7\openwrt\scripts\config\lxdialog\colors.h
1758   GPL.UBNT.v6.1.7\openwrt\scripts\config\lxdialog\dialog.h
1759   GPL.UBNT.v6.1.7\openwrt\scripts\config\lxdialog\inputbox.c
1760   GPL.UBNT.v6.1.7\openwrt\scripts\config\lxdialog\lxdialog.c
1761   GPL.UBNT.v6.1.7\openwrt\scripts\config\lxdialog\Makefile
1762   GPL.UBNT.v6.1.7\openwrt\scripts\config\lxdialog\menubox.c
1763   GPL.UBNT.v6.1.7\openwrt\scripts\config\lxdialog\msgbox.c
1764   GPL.UBNT.v6.1.7\openwrt\scripts\config\lxdialog\textbox.c
1765   GPL.UBNT.v6.1.7\openwrt\scripts\config\lxdialog\util.c
1766   GPL.UBNT.v6.1.7\openwrt\scripts\config\lxdialog\yesno.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 28 of 285 PageID #:614
1767   GPL.UBNT.v6.1.7\openwrt\target\Config.in
1768   GPL.UBNT.v6.1.7\openwrt\target\imagebuilder
1769   GPL.UBNT.v6.1.7\openwrt\target\linux
1770   GPL.UBNT.v6.1.7\openwrt\target\Makefile
1771   GPL.UBNT.v6.1.7\openwrt\target\sdk
1772   GPL.UBNT.v6.1.7\openwrt\target\imagebuilder\Config.in
1773   GPL.UBNT.v6.1.7\openwrt\target\imagebuilder\files
1774   GPL.UBNT.v6.1.7\openwrt\target\imagebuilder\Makefile
1775   GPL.UBNT.v6.1.7\openwrt\target\imagebuilder\files\Makefile
1776   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120
1777   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7
1778   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx
1779   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x
1780   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros
1781   GPL.UBNT.v6.1.7\openwrt\target\linux\au1000
1782   GPL.UBNT.v6.1.7\openwrt\target\linux\avr32
1783   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4
1784   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx
1785   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4
1786   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6
1787   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips
1788   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx
1789   GPL.UBNT.v6.1.7\openwrt\target\linux\magicbox
1790   GPL.UBNT.v6.1.7\openwrt\target\linux\Makefile
1791   GPL.UBNT.v6.1.7\openwrt\target\linux\ppc40x
1792   GPL.UBNT.v6.1.7\openwrt\target\linux\ppc44x
1793   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532
1794   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc
1795   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt
1796   GPL.UBNT.v6.1.7\openwrt\target\linux\uml
1797   GPL.UBNT.v6.1.7\openwrt\target\linux\x86
1798   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\base-files
1799   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files
1800   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\image
1801   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\Makefile
1802   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\patches
1803   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\router_be
1804   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\router_le
1805   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\base-files\etc
1806   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\base-files\lib
1807   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\base-files\etc\diag.sh
1808   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\base-files\etc\preinit.arch
1809   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\base-files\lib\adm5120.sh
1810   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\base-files\lib\upgrade
1811   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\base-files\lib\upgrade\platform.sh
1812   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch
1813   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\drivers
1814   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\include
1815   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips
1816   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120
1817   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\pci
1818   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\cellvision
1819   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\common
1820   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\compex
1821   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\edimax
1822   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\infineon
1823   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\Kconfig
1824   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\mikrotik
1825   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\motorola
1826   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\prom
1827   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\zyxel
1828   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\cellvision\cas-771.c
1829   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\cellvision\cellvisio
       n.c
1830   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\cellvision\cellvisio
       n.h
1831   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\cellvision\Makefile
1832   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\cellvision\nfs-101.c
1833   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\common\adm5120.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 29 of 285 PageID #:615
1834   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\common\board.c
1835   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\common\clock.c
1836   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\common\gpio.c
1837   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\common\irq.c
1838   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\common\Makefile
1839   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\common\memory.c
1840   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\common\platform.c
1841   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\common\prom.c
1842   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\common\setup.c
1843   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\compex\compex.c
1844   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\compex\compex.h
1845   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\compex\Makefile
1846   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\compex\np27g.c
1847   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\compex\np28g.c
1848   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\compex\wp54.c
1849   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\edimax\br-6104k.c
1850   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\edimax\br-6104kp.c
1851   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\edimax\br-61x4wg.c
1852   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\edimax\br-61xx.c
1853   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\edimax\br-61xx.h
1854   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\edimax\Makefile
1855   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\infineon\easy5120-rt
       .c
1856   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\infineon\easy5120-wv
       oip.c
1857   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\infineon\easy5120p-a
       ta.c
1858   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\infineon\easy83000.c
1859   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\infineon\infineon.c
1860   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\infineon\infineon.h
1861   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\infineon\Makefile
1862   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\mikrotik\Makefile
1863   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\mikrotik\rb-11x.c
1864   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\mikrotik\rb-133.c
1865   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\mikrotik\rb-133c.c
1866   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\mikrotik\rb-150.c
1867   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\mikrotik\rb-153.c
1868   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\mikrotik\rb-192.c
1869   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\mikrotik\rb-1xx.c
1870   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\mikrotik\rb-1xx.h
1871   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\motorola\Makefile
1872   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\motorola\pmugw.c
1873   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\prom\admboot.c
1874   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\prom\bootbase.c
1875   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\prom\cfe.c
1876   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\prom\generic.c
1877   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\prom\Makefile
1878   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\prom\myloader.c
1879   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\prom\prom_read.h
1880   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\prom\routerboot.c
1881   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\zyxel\Makefile
1882   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\zyxel\p-334wt.c
1883   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\zyxel\p-335.c
1884   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\zyxel\p-33x.c
1885   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\adm5120\zyxel\p-33x.h
1886   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\arch\mips\pci\pci-adm5120.c
1887   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\drivers\ata
1888   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\drivers\leds
1889   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\drivers\mtd
1890   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\drivers\net
1891   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\drivers\usb
1892   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\drivers\watchdog
1893   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\drivers\ata\pata_rb153_cf.c
1894   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\drivers\leds\ledtrig-adm5120-switch.c
1895   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\drivers\mtd\maps
1896   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\drivers\mtd\myloader.c
1897   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\drivers\mtd\trxsplit.c
1898   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\drivers\mtd\maps\adm5120-flash.c
1899   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\drivers\net\adm5120sw.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 30 of 285 PageID #:616
1900   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\drivers\net\adm5120sw.h
1901   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\drivers\usb\host
1902   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\drivers\usb\host\adm5120-dbg.c
1903   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\drivers\usb\host\adm5120-drv.c
1904   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\drivers\usb\host\adm5120-hcd.c
1905   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\drivers\usb\host\adm5120-hub.c
1906   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\drivers\usb\host\adm5120-mem.c
1907   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\drivers\usb\host\adm5120-pm.c
1908   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\drivers\usb\host\adm5120-q.c
1909   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\drivers\usb\host\adm5120.h
1910   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\drivers\watchdog\adm5120_wdt.c
1911   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\include\asm-mips
1912   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\include\asm-mips\mach-adm5120
1913   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\include\asm-mips\mach-adm5120\adm5120_
       board.h
1914   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\include\asm-mips\mach-adm5120\adm5120_
       defs.h
1915   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\include\asm-mips\mach-adm5120\adm5120_
       info.h
1916   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\include\asm-mips\mach-adm5120\adm5120_
       intc.h
1917   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\include\asm-mips\mach-adm5120\adm5120_
       mpmc.h
1918   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\include\asm-mips\mach-adm5120\adm5120_
       nand.h
1919   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\include\asm-mips\mach-adm5120\adm5120_
       platform.h
1920   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\include\asm-mips\mach-adm5120\adm5120_
       switch.h
1921   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\include\asm-mips\mach-adm5120\adm5120_
       uart.h
1922   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\include\asm-mips\mach-adm5120\asm
1923   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\include\asm-mips\mach-adm5120\cpu-feat
       ure-overrides.h
1924   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\include\asm-mips\mach-adm5120\gpio.h
1925   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\include\asm-mips\mach-adm5120\irq.h
1926   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\include\asm-mips\mach-adm5120\prom
1927   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\include\asm-mips\mach-adm5120\war.h
1928   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\include\asm-mips\mach-adm5120\asm\size
       s.h
1929   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\include\asm-mips\mach-adm5120\prom\adm
       boot.h
1930   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\include\asm-mips\mach-adm5120\prom\cfe
       .h
1931   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\include\asm-mips\mach-adm5120\prom\gen
       eric.h
1932   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\include\asm-mips\mach-adm5120\prom\myl
       oader.h
1933   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\include\asm-mips\mach-adm5120\prom\rou
       terboot.h
1934   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\files\include\asm-mips\mach-adm5120\prom\zyn
       os.h
1935   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\image\lzma-loader
1936   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\image\Makefile
1937   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\image\router_be.mk
1938   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\image\router_le.mk
1939   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\image\lzma-loader\Makefile
1940   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\image\lzma-loader\src
1941   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\image\lzma-loader\src\board.c
1942   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\image\lzma-loader\src\config.h
1943   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\image\lzma-loader\src\decompress.c
1944   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\image\lzma-loader\src\head.S
1945   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\image\lzma-loader\src\loader.lds
1946   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\image\lzma-loader\src\lzma-data.lds
1947   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\image\lzma-loader\src\LzmaDecode.c
1948   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\image\lzma-loader\src\LzmaDecode.h
1949   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\image\lzma-loader\src\LzmaTypes.h
1950   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\image\lzma-loader\src\Makefile
1951   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\image\lzma-loader\src\printf.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 31 of 285 PageID #:617
1952   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\image\lzma-loader\src\printf.h
1953   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\image\lzma-loader\src\README
1954   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\patches\001-adm5120.patch
1955   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\patches\002-adm5120_flash.patch
1956   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\patches\003-adm5120_switch.patch
1957   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\patches\005-adm5120_usb.patch
1958   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\patches\007-adm5120_pci.patch
1959   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\patches\009-adm5120_leds_switch_trigger.patc
       h
1960   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\patches\100-mtd_myloder_partition_parser.pat
       ch
1961   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\patches\101-cfi_fixup_macronix_bootloc.patch
1962   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\patches\102-jedec_pmc_39lvxxx_chips.patch
1963   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\patches\103-mtd_trxsplit.patch
1964   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\patches\120-rb153_cf_driver.patch
1965   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\patches\140-cmdline_hack.patch
1966   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\patches\200-amba_pl010_hacks.patch
1967   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\patches\201-amba_bus_hacks.patch
1968   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\patches\202-pci_disable_common_quirks.patch
1969   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\patches\203-gpio_leds_brightness.patch
1970   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\patches\310-adm5120_wdt.patch
1971   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\router_be\config-default
1972   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\router_be\profiles
1973   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\router_be\target.mk
1974   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\router_be\profiles\010-Generic.mk
1975   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\router_be\profiles\200-ZyXEL.mk
1976   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\router_le\base-files
1977   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\router_le\config-default
1978   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\router_le\profiles
1979   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\router_le\target.mk
1980   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\router_le\base-files\sbin
1981   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\router_le\base-files\sbin\wget2nand
1982   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\router_le\profiles\010-Generic.mk
1983   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\router_le\profiles\Cellvision.mk
1984   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\router_le\profiles\Compex.mk
1985   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\router_le\profiles\Edimax.mk
1986   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\router_le\profiles\Infineon.mk
1987   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\router_le\profiles\Motorola.mk
1988   GPL.UBNT.v6.1.7\openwrt\target\linux\adm5120\router_le\profiles\RB1xx.mk
1989   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\base-files
1990   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\base-files.mk
1991   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\config-default
1992   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\files
1993   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\image
1994   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\Makefile
1995   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\patches
1996   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\profiles
1997   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\src
1998   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\base-files\etc
1999   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\base-files\etc\config
2000   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\base-files\etc\diag.sh
2001   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\base-files\etc\init.d
2002   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\base-files\etc\config\network
2003   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\base-files\etc\init.d\adam2
2004   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\files\arch
2005   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\files\drivers
2006   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\files\include
2007   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\files\arch\mips
2008   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\files\arch\mips\ar7
2009   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\files\arch\mips\ar7\clock.c
2010   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\files\arch\mips\ar7\gpio.c
2011   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\files\arch\mips\ar7\irq.c
2012   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\files\arch\mips\ar7\Makefile
2013   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\files\arch\mips\ar7\memory.c
2014   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\files\arch\mips\ar7\platform.c
2015   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\files\arch\mips\ar7\prom.c
2016   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\files\arch\mips\ar7\setup.c
2017   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\files\arch\mips\ar7\time.c
2018   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\files\drivers\char
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 32 of 285 PageID #:618
2019   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\files\drivers\mtd
2020   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\files\drivers\vlynq
2021   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\files\drivers\char\ar7_gpio.c
2022   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\files\drivers\char\watchdog
2023   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\files\drivers\char\watchdog\ar7_wdt.c
2024   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\files\drivers\mtd\ar7part.c
2025   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\files\drivers\vlynq\Kconfig
2026   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\files\drivers\vlynq\Makefile
2027   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\files\drivers\vlynq\vlynq.c
2028   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\files\include\asm-mips
2029   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\files\include\linux
2030   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\files\include\asm-mips\ar7
2031   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\files\include\asm-mips\ar7\ar7.h
2032   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\files\include\asm-mips\ar7\gpio.h
2033   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\files\include\asm-mips\ar7\irq.h
2034   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\files\include\asm-mips\ar7\prom.h
2035   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\files\include\asm-mips\ar7\spaces.h
2036   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\files\include\asm-mips\ar7\war.h
2037   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\files\include\linux\vlynq.h
2038   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\image\Makefile
2039   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\patches\100-board_support.patch
2040   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\patches\110-flash.patch
2041   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\patches\120-gpio_chrdev.patch
2042   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\patches\130-vlynq.patch
2043   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\patches\150-cpmac_not_broken.patch
2044   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\patches\200-mtd_fixes.patch
2045   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\patches\500-serial_kludge.patch
2046   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\patches\900-cpmac_multiqueue.patch
2047   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\patches\900-temporary_cpmac_hack.diff
2048   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\profiles\100-Annex-A.mk
2049   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\profiles\110-Annex-B.mk
2050   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\profiles\200-Texas.mk
2051   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\profiles\210-None.mk
2052   GPL.UBNT.v6.1.7\openwrt\target\linux\ar7\src\adam2patcher.c
2053   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\base-files
2054   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\config-default
2055   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files
2056   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\image
2057   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\Makefile
2058   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\patches
2059   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\base-files\sbin
2060   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\base-files\sbin\wget2nand
2061   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\arch
2062   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\drivers
2063   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\include
2064   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\arch\mips
2065   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\arch\mips\ar71xx
2066   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\arch\mips\fw
2067   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\arch\mips\pci
2068   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\arch\mips\ar71xx\ar71xx.c
2069   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\arch\mips\ar71xx\gpio.c
2070   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\arch\mips\ar71xx\irq.c
2071   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\arch\mips\ar71xx\Kconfig
2072   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\arch\mips\ar71xx\mach-generic.c
2073   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\arch\mips\ar71xx\mach-rb-4xx.c
2074   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\arch\mips\ar71xx\mach-wp543.c
2075   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\arch\mips\ar71xx\Makefile
2076   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\arch\mips\ar71xx\platform.c
2077   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\arch\mips\ar71xx\prom.c
2078   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\arch\mips\ar71xx\setup.c
2079   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\arch\mips\fw\myloader
2080   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\arch\mips\fw\myloader\Makefile
2081   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\arch\mips\fw\myloader\myloader.c
2082   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\arch\mips\pci\pci-ar71xx.c
2083   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\drivers\mtd
2084   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\drivers\net
2085   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\drivers\spi
2086   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\drivers\usb
2087   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\drivers\watchdog
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 33 of 285 PageID #:619
2088   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\drivers\mtd\nand
2089   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\drivers\mtd\nand\rb4xx_nand.c
2090   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\drivers\net\ag71xx
2091   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\drivers\net\phy
2092   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\drivers\net\ag71xx\ag71xx.h
2093   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\drivers\net\ag71xx\ag71xx_ethtool.c
2094   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\drivers\net\ag71xx\ag71xx_main.c
2095   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\drivers\net\ag71xx\ag71xx_mdio.c
2096   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\drivers\net\ag71xx\ag71xx_phy.c
2097   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\drivers\net\ag71xx\Kconfig
2098   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\drivers\net\ag71xx\Makefile
2099   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\drivers\net\phy\micrel.c
2100   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\drivers\spi\ar71xx_spi.c
2101   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\drivers\usb\host
2102   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\drivers\usb\host\ehci-ar71xx.c
2103   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\drivers\usb\host\ohci-ar71xx.c
2104   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\drivers\watchdog\ar71xx_wdt.c
2105   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\include\asm-mips
2106   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\include\linux
2107   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\include\asm-mips\fw
2108   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\include\asm-mips\mach-ar71xx
2109   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\include\asm-mips\fw\myloader
2110   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\include\asm-mips\fw\myloader\myloader.h
2111   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\include\asm-mips\mach-ar71xx\ar71xx.h
2112   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\include\asm-mips\mach-ar71xx\cpu-featur
       e-overrides.h
2113   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\include\asm-mips\mach-ar71xx\gpio.h
2114   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\include\asm-mips\mach-ar71xx\irq.h
2115   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\include\asm-mips\mach-ar71xx\mangle-por
       t.h
2116   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\include\asm-mips\mach-ar71xx\pci.h
2117   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\include\asm-mips\mach-ar71xx\platform.h
2118   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\include\asm-mips\mach-ar71xx\war.h
2119   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\files\include\linux\myloader.h
2120   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\image\Makefile
2121   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\patches\001-ar71xx_core.patch
2122   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\patches\002-ar71xx_pci.patch
2123   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\patches\003-ar71xx_usb_host.patch
2124   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\patches\004-ar71xx_spi_controller.patch
2125   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\patches\005-ar71xx_mac_driver.patch
2126   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\patches\006-ar71xx_wdt_driver.patch
2127   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\patches\100-mtd_pm25lv_flash_support.patch
2128   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\patches\101-ksz8041_phy_driver.patch
2129   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\patches\140-redboot_partition_scan.patch
2130   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\patches\200-rb4xx_nand_driver.patch
2131   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\patches\300-mips_fw_myloader.patch
2132   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\patches\900-mips_multi_machine_support.patch
2133   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\patches\901-get_c0_compare_irq_function.patch
2134   GPL.UBNT.v6.1.7\openwrt\target\linux\ar71xx\patches\902-mips_clocksource_init_war.patch
2135   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\config-2.6.32
2136   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files
2137   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\image
2138   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\Makefile
2139   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches
2140   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\profiles
2141   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\arch
2142   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\drivers
2143   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\include
2144   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\net
2145   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\arch\mips
2146   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\arch\mips\atheros
2147   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\arch\mips\include
2148   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\arch\mips\pci
2149   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\arch\mips\atheros\934x.c
2150   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\arch\mips\atheros\clksw.c
2151   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\arch\mips\atheros\gpio.c
2152   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\arch\mips\atheros\irq.c
2153   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\arch\mips\atheros\Kconfig
2154   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\arch\mips\atheros\Makefile
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 34 of 285 PageID #:620
2155   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\arch\mips\atheros\misc.c
2156   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\arch\mips\atheros\otp.c
2157   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\arch\mips\atheros\platform.c
2158   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\arch\mips\atheros\prom.c
2159   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\arch\mips\atheros\setup.c
2160   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\arch\mips\atheros\wdt.c
2161   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\arch\mips\include\asm
2162   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\arch\mips\include\asm\mach-atheros
2163   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\arch\mips\include\asm\mach-atheros\934x
       .h
2164   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\arch\mips\include\asm\mach-atheros\athe
       ros.h
2165   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\arch\mips\include\asm\mach-atheros\cpu-
       feature-overrides.h
2166   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\arch\mips\include\asm\mach-atheros\i2si
       o.h
2167   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\arch\mips\include\asm\mach-atheros\kmal
       loc.h
2168   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\arch\mips\include\asm\mach-atheros\mang
       le-port.h
2169   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\arch\mips\include\asm\mach-atheros\war.
       h
2170   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\arch\mips\pci\fixup-ath.c
2171   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\arch\mips\pci\ops-ath.c
2172   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\arch\mips\pci\pci-ath.c
2173   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\drivers\mtd
2174   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\drivers\pci
2175   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\drivers\serial
2176   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\drivers\mtd\devices
2177   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\drivers\mtd\devices\ath_flash.c
2178   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\drivers\mtd\devices\ath_flash.h
2179   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\drivers\pci\ath_pci_tgt.c
2180   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\drivers\serial\ath_hs-uart.c
2181   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\include\linux
2182   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\include\linux\config.h
2183   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\include\linux\mapping_config.h
2184   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\net\ipv4
2185   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\net\ipv6
2186   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\net\sched
2187   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\net\ipv4\mapping.c
2188   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\net\ipv4\proto_trans.c
2189   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\net\ipv4\proto_trans.h
2190   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\net\ipv6\mapping.c
2191   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\net\ipv6\proto_trans.c
2192   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\net\ipv6\proto_trans.h
2193   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\files\net\sched\wrr.c
2194   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\image\files
2195   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\image\initramfs-base-files.txt
2196   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\image\Makefile
2197   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches\000-atheros-prom.patch
2198   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches\001-ubnt-core.patch
2199   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches\002-ubnt-kconfig-defaults.patch
2200   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches\009-ath-watchdog-atheros.patch
2201   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches\010-ath-mtd-flash-spi-atheros.patch
2202   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches\011-ath-nand-atheros.patch
2203   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches\015-ath-pci-endpoint-atheros.patch
2204   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches\020-ath-usb-host-atheros.patch
2205   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches\021-ar934x-pcie-reinit.patch
2206   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches\057-priv-skb-mem-atheros.patch
2207   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches\058-wlan-4kb-skb-opt-atheros.patch
2208   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches\103-have_mlock-atheros.patch
2209   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches\120-oprofile-wasp-atheros.patch
2210   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches\150-siwessid-compat-fix.patch
2211   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches\203-htb-atheros.patch
2212   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches\204-pci-irq-pins-atheros.patch
2213   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches\206-mips-irq-base-0-atheros.patch
2214   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches\207-br-bypass-netfilter-forward-hook-
       atheros.patch
2215   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches\209-uart-bug-nomsr-atheros.patch
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 35 of 285 PageID #:621
2216   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches\211-no-sysfs-link-for-usb-netdev-athe
       ros.patch
2217   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches\221-ipmr-cache-resolve-queue-len-10.p
       atch
2218   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches\255-net-sched-wrr-atheros.patch
2219   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches\257-nf-xt-match-webstr-atheros.patch
2220   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches\260-imq-support-atheros.patch
2221   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches\262-ip-nf-target-nattype-atheros.patc
       h
2222   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches\267-gpio-driver.patch
2223   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches\272-compile-atheros-wdt.patch
2224   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches\300-ebtables-arpnat.patch
2225   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches\303-bridge-hard-header-len.patch
2226   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches\310-ppp-mppe-packets-out-of-order-fix
       .patch
2227   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches\311-ppp-info.patch
2228   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches\510-remove-dbgprint-on-requeue-pkt.pa
       tch
2229   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches\511-mips-c0r9-cycle-counter.patch
2230   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches\517-sip-direct-media-only-off.patch
2231   GPL.UBNT.v6.1.7\openwrt\target\linux\ar934x\patches\605-build_skb.patch
2232   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\base-files
2233   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\config-default
2234   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files
2235   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\image
2236   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\Makefile
2237   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\patches
2238   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\base-files\etc
2239   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\base-files\lib
2240   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\base-files\etc\config
2241   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\base-files\etc\hotplug.d
2242   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\base-files\etc\preinit.arch
2243   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\base-files\etc\uci-defaults
2244   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\base-files\etc\config\system
2245   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\base-files\etc\hotplug.d\button
2246   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\base-files\etc\hotplug.d\button\00-button
2247   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\base-files\etc\uci-defaults\network
2248   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\base-files\lib\upgrade
2249   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\base-files\lib\upgrade\platform.sh
2250   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\arch
2251   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\drivers
2252   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\include
2253   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\arch\mips
2254   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\arch\mips\atheros
2255   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\arch\mips\atheros\ar5312
2256   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\arch\mips\atheros\ar5315
2257   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\arch\mips\atheros\board.c
2258   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\arch\mips\atheros\Kconfig
2259   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\arch\mips\atheros\Makefile
2260   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\arch\mips\atheros\prom.c
2261   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\arch\mips\atheros\reset.c
2262   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\arch\mips\atheros\ar5312\board.c
2263   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\arch\mips\atheros\ar5312\irq.c
2264   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\arch\mips\atheros\ar5312\Makefile
2265   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\arch\mips\atheros\ar5315\board.c
2266   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\arch\mips\atheros\ar5315\irq.c
2267   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\arch\mips\atheros\ar5315\Makefile
2268   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\arch\mips\atheros\ar5315\pci.c
2269   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\drivers\mtd
2270   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\drivers\net
2271   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\drivers\watchdog
2272   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\drivers\mtd\devices
2273   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\drivers\mtd\devices\spiflash.c
2274   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\drivers\mtd\devices\spiflash.h
2275   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\drivers\net\ar2313
2276   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\drivers\net\ar2313\ar2313.c
2277   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\drivers\net\ar2313\ar2313.h
2278   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\drivers\net\ar2313\dma.h
2279   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\drivers\net\ar2313\Makefile
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 36 of 285 PageID #:622
2280   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\drivers\watchdog\ar2315-wtd.c
2281   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\include\asm-mips
2282   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\include\asm-mips\mach-atheros
2283   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\include\asm-mips\mach-atheros\ar5312
2284   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\include\asm-mips\mach-atheros\ar5315
2285   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\include\asm-mips\mach-atheros\ar531x.h
2286   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\include\asm-mips\mach-atheros\ar531x_p
       latform.h
2287   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\include\asm-mips\mach-atheros\cpu-feat
       ure-overrides.h
2288   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\include\asm-mips\mach-atheros\dma-cohe
       rence.h
2289   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\include\asm-mips\mach-atheros\gpio.h
2290   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\include\asm-mips\mach-atheros\reset.h
2291   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\include\asm-mips\mach-atheros\war.h
2292   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\include\asm-mips\mach-atheros\ar5312\a
       r5312.h
2293   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\files\include\asm-mips\mach-atheros\ar5315\a
       r5315.h
2294   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\image\Makefile
2295   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\patches\100-board.patch
2296   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\patches\110-spiflash.patch
2297   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\patches\120-watchdog.patch
2298   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\patches\130-ar2313_ethernet.patch
2299   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\patches\135-ar2313_2.6.26.patch
2300   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\patches\140-redboot_partition_scan.patch
2301   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\patches\150-bridge-printk.patch
2302   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\patches\200-ar2313_enable_mvswitch.patch
2303   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\patches\900-cevt_r4k_irq_disable_hazard.patc
       h
2304   GPL.UBNT.v6.1.7\openwrt\target\linux\atheros\patches\901-get_c0_compare_irq_function.patc
       h
2305   GPL.UBNT.v6.1.7\openwrt\target\linux\au1000\base-files
2306   GPL.UBNT.v6.1.7\openwrt\target\linux\au1000\config-default
2307   GPL.UBNT.v6.1.7\openwrt\target\linux\au1000\files
2308   GPL.UBNT.v6.1.7\openwrt\target\linux\au1000\image
2309   GPL.UBNT.v6.1.7\openwrt\target\linux\au1000\Makefile
2310   GPL.UBNT.v6.1.7\openwrt\target\linux\au1000\patches
2311   GPL.UBNT.v6.1.7\openwrt\target\linux\au1000\profiles
2312   GPL.UBNT.v6.1.7\openwrt\target\linux\au1000\base-files\etc
2313   GPL.UBNT.v6.1.7\openwrt\target\linux\au1000\base-files\etc\diag.sh
2314   GPL.UBNT.v6.1.7\openwrt\target\linux\au1000\files\arch
2315   GPL.UBNT.v6.1.7\openwrt\target\linux\au1000\files\arch\mips
2316   GPL.UBNT.v6.1.7\openwrt\target\linux\au1000\files\arch\mips\au1000
2317   GPL.UBNT.v6.1.7\openwrt\target\linux\au1000\files\arch\mips\au1000\mtx-1
2318   GPL.UBNT.v6.1.7\openwrt\target\linux\au1000\files\arch\mips\au1000\mtx-1\platform.c
2319   GPL.UBNT.v6.1.7\openwrt\target\linux\au1000\image\Makefile
2320   GPL.UBNT.v6.1.7\openwrt\target\linux\au1000\patches\001-au1000_gpio_kconfig.patch
2321   GPL.UBNT.v6.1.7\openwrt\target\linux\au1000\patches\002-sys_btn_gpio.patch
2322   GPL.UBNT.v6.1.7\openwrt\target\linux\au1000\patches\005-au1000_eth_link_beat.patch
2323   GPL.UBNT.v6.1.7\openwrt\target\linux\au1000\patches\012-mtx1_cmdline.patch
2324   GPL.UBNT.v6.1.7\openwrt\target\linux\au1000\patches\013-openwrt_rootfs.patch
2325   GPL.UBNT.v6.1.7\openwrt\target\linux\au1000\patches\014-au1000_eth_ioctl.patch
2326   GPL.UBNT.v6.1.7\openwrt\target\linux\au1000\patches\015-pci-resource.patch
2327   GPL.UBNT.v6.1.7\openwrt\target\linux\au1000\patches\016-net-irq.patch
2328   GPL.UBNT.v6.1.7\openwrt\target\linux\au1000\patches\017-gpio-dir.patch
2329   GPL.UBNT.v6.1.7\openwrt\target\linux\au1000\profiles\Atheros.mk
2330   GPL.UBNT.v6.1.7\openwrt\target\linux\au1000\profiles\Broadcom.mk
2331   GPL.UBNT.v6.1.7\openwrt\target\linux\au1000\profiles\Intel.mk
2332   GPL.UBNT.v6.1.7\openwrt\target\linux\au1000\profiles\InternetBox.mk
2333   GPL.UBNT.v6.1.7\openwrt\target\linux\au1000\profiles\MeshCube.mk
2334   GPL.UBNT.v6.1.7\openwrt\target\linux\avr32\config-default
2335   GPL.UBNT.v6.1.7\openwrt\target\linux\avr32\image
2336   GPL.UBNT.v6.1.7\openwrt\target\linux\avr32\Makefile
2337   GPL.UBNT.v6.1.7\openwrt\target\linux\avr32\patches
2338   GPL.UBNT.v6.1.7\openwrt\target\linux\avr32\image\Config.in
2339   GPL.UBNT.v6.1.7\openwrt\target\linux\avr32\image\Makefile
2340   GPL.UBNT.v6.1.7\openwrt\target\linux\avr32\image\u-boot
2341   GPL.UBNT.v6.1.7\openwrt\target\linux\avr32\image\u-boot\Makefile
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 37 of 285 PageID #:623
2342   GPL.UBNT.v6.1.7\openwrt\target\linux\avr32\image\u-boot\patches
2343   GPL.UBNT.v6.1.7\openwrt\target\linux\avr32\image\u-boot\patches\001-add_lzma_decompressio
       n_support.patch
2344   GPL.UBNT.v6.1.7\openwrt\target\linux\avr32\image\u-boot\patches\100-ngw100_enable_lzma_su
       pport.patch
2345   GPL.UBNT.v6.1.7\openwrt\target\linux\avr32\patches\100-git_sync.patch
2346   GPL.UBNT.v6.1.7\openwrt\target\linux\avr32\patches\110-openwrt_flashmap.patch
2347   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\base-files
2348   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\base-files.mk
2349   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\config-default
2350   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files
2351   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\image
2352   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\Makefile
2353   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\modules.mk
2354   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\patches
2355   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\profiles
2356   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\base-files\etc
2357   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\base-files\lib
2358   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\base-files\sbin
2359   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\base-files\etc\diag.sh
2360   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\base-files\etc\init.d
2361   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\base-files\etc\preinit.arch
2362   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\base-files\etc\init.d\netconfig
2363   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\base-files\lib\upgrade
2364   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\base-files\lib\upgrade\platform.sh
2365   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\base-files\sbin\hotplug.failsafe
2366   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch
2367   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\drivers
2368   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips
2369   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx
2370   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\bcmsrom.c
2371   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\cfe_env.c
2372   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\export.c
2373   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\generic
2374   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\gpio.c
2375   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\hndchipc.c
2376   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\hndpmu.c
2377   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\include
2378   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\Makefile
2379   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\nvram.c
2380   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\nvram_linux.c
2381   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\pcibios.c
2382   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\prom.c
2383   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\sbmips.c
2384   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\sbpci.c
2385   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\sbutils.c
2386   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\setup.c
2387   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\time.c
2388   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\utils.c
2389   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\utils.h
2390   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\generic\int-handle
       r.S
2391   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\generic\irq.c
2392   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\generic\Makefile
2393   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\include\bcm4710.h
2394   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\include\bcmdefs.h
2395   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\include\bcmdevs.h
2396   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\include\bcmdevs1.h
2397   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\include\bcmendian.
       h
2398   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\include\bcmnvram.h
2399   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\include\bcmsrom.h
2400   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\include\hndchipc.h
2401   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\include\hndcpu.h
2402   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\include\hndmips.h
2403   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\include\hndpci.h
2404   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\include\hndpmu.h
2405   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\include\linuxver.h
2406   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\include\linux_gpio
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 38 of 285 PageID #:624
       .h
2407   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\include\mipsinc.h
2408   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\include\osl.h
2409   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\include\pcicfg.h
2410   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\include\sbchipc.h
2411   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\include\sbconfig.h
2412   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\include\sbextif.h
2413   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\include\sbhndmips.
       h
2414   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\include\sbmemc.h
2415   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\include\sbpci.h
2416   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\include\sbpcie.h
2417   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\include\sbpcmcia.h
2418   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\include\sbsdram.h
2419   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\include\sbsocram.h
2420   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\include\sbsprom.h
2421   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\include\sbutils.h
2422   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\include\sflash.h
2423   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\include\trxhdr.h
2424   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\arch\mips\bcm947xx\include\typedefs.h
2425   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\drivers\mtd
2426   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\drivers\parport
2427   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\drivers\mtd\devices
2428   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\drivers\mtd\maps
2429   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\drivers\mtd\devices\sflash.c
2430   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\drivers\mtd\maps\bcm947xx-flash.c
2431   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\files\drivers\parport\parport_splink.c
2432   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\image\lzma-loader
2433   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\image\Makefile
2434   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\image\lzma-loader\Makefile
2435   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\image\lzma-loader\src
2436   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\image\lzma-loader\src\decompress.c
2437   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\image\lzma-loader\src\decompress.lds.in
2438   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\image\lzma-loader\src\head.S
2439   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\image\lzma-loader\src\loader.lds.in
2440   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\image\lzma-loader\src\LzmaDecode.c
2441   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\image\lzma-loader\src\LzmaDecode.h
2442   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\image\lzma-loader\src\Makefile
2443   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\image\lzma-loader\src\README
2444   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\patches\001-bcm47xx.patch
2445   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\patches\003-bcm47xx_cache_fixes.patch
2446   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\patches\004-flash.patch
2447   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\patches\005-bluetooth_sco_buffer_align.patc
       h
2448   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\patches\006-ide_workaround.patch
2449   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\patches\008-b44_bcm47xx_support.patch
2450   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\patches\009-wrt54g3g_pcmcia.patch
2451   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\patches\010-bcm47xx-cam_absent.patch
2452   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\patches\011-wl_qdisc_war.patch
2453   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\patches\012-aec62xx.patch
2454   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\patches\013-wl_hdd_pdc202xx.patch
2455   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\patches\014-sierra_support.patch
2456   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\patches\015-sierra_kconfig.patch
2457   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\patches\100-wl_config.patch
2458   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\patches\110-b44_alignment.patch
2459   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\profiles\100-Broadcom.mk
2460   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\profiles\110-BroadcomMimo.mk
2461   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\profiles\130-None.mk
2462   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\profiles\USBGeneric.mk
2463   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\profiles\WL500G.mk
2464   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\profiles\WL500GD.mk
2465   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\profiles\WL500GP.mk
2466   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\profiles\WL700GE.mk
2467   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\profiles\WLHDD.mk
2468   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm-2.4\profiles\WRT54G3G.mk
2469   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\base-files.mk
2470   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\config-default
2471   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\files
2472   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\Makefile
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 39 of 285 PageID #:625
2473   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\patches
2474   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\profiles
2475   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\files\arch
2476   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\files\drivers
2477   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\files\include
2478   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\files\arch\mips
2479   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\files\arch\mips\bcm47xx
2480   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\files\arch\mips\bcm947xx
2481   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\files\arch\mips\bcm47xx\cfe_env.c
2482   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\files\arch\mips\bcm47xx\include
2483   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\files\arch\mips\bcm47xx\nvram.c
2484   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\files\arch\mips\bcm47xx\include\nvram.h
2485   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\files\arch\mips\bcm947xx\include
2486   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\files\drivers\mtd
2487   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\files\drivers\mtd\maps
2488   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\files\drivers\mtd\maps\bcm47xx-flash.c
2489   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\files\include\asm-mips
2490   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\files\include\asm-mips\mach-bcm47xx
2491   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\files\include\asm-mips\mach-bcm947xx
2492   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\files\include\asm-mips\mach-bcm47xx\kernel-
       entry-init.h
2493   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\patches\100-board_support.patch
2494   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\patches\110-flash_map.patch
2495   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\patches\130-remove_scache.patch
2496   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\patches\150-cpu_fixes.patch
2497   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\patches\160-kmap_coherent.patch
2498   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\patches\210-b44_phy_fix.patch
2499   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\patches\211-b44_bcm4713_phy.patch
2500   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\patches\212-b44_alignment_fix.patch
2501   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\patches\220-bcm5354.patch
2502   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\patches\250-ohci-ssb-usb2.patch
2503   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\patches\260-ohci-set-dma-mask.patch
2504   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\patches\300-fork_cacheflush.patch
2505   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\patches\310-no_highpage.patch
2506   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\patches\400-arch-bcm47xx.patch
2507   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\patches\500-lzma_initramfs.patch
2508   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\patches\601-mips-remove-pci-collision-check
       .patch
2509   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\patches\620-ssb-modinit-fix.patch
2510   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\patches\630-ssb-fix-irq-init.patch
2511   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\patches\680-ssb-support-8bit-writes.patch
2512   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\patches\690-mips-allow-pciregister-after-bo
       ot.patch
2513   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\patches\700-ssb-gigabit-ethernet-driver.pat
       ch
2514   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\patches\710-add-gpio-is-valid.patch
2515   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\patches\800-fix_cfe_detection.patch
2516   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\patches\900-disable_early_printk.patch
2517   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\profiles\100-Broadcom-b43.mk
2518   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\profiles\105-Atheros.mk
2519   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\profiles\106-Atheros-ath5k.mk
2520   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\profiles\110-None.mk
2521   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\profiles\WGT634U.mk
2522   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\profiles\WL500GPv1-ATH.mk
2523   GPL.UBNT.v6.1.7\openwrt\target\linux\brcm47xx\profiles\WRTSL54GS.mk
2524   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\config-default
2525   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches
2526   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\000-linux_mips.patch
2527   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\001-squashfs.patch
2528   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\002-squashfs_lzma.patch
2529   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\003-jffs2_compression.patch
2530   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\004-exec_pagesize.patch
2531   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\005-mtd_flashtypes.patch
2532   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\008-intel_flashchip_fix.patch
2533   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\009-mtd_uaccess.patch
2534   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\010-disable_old_squashfs_compati
       bility.patch
2535   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\050-build_flags.patch
2536   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\051-parallel_build.patch
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 40 of 285 PageID #:626
2537   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\051-remove_pcmcia_modinst_compat
       .patch
2538   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\100-wireless-extension.patch
2539   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\106-mppe_mppc.patch
2540   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\107-cifs.patch
2541   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\108-optional_aout_support.patch
2542   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\109-ipsec_nat_traversal.patch
2543   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\110-netdev_random_core.patch
2544   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\112-bridging_performance.patch
2545   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\113-even_more_gcc4_stuff.patch
2546   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\114-sched_use_tsc.patch
2547   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\115-branch_emul_fix.patch
2548   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\116-bridge_ioctls.patch
2549   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\200-i4l.patch
2550   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\201-hfc_usb_backport.patch
2551   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\202-pl2303_backport.patch
2552   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\203-hfsplus_fix.patch
2553   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\206-gcc_3.4_fixes.patch
2554   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\208-usb2_fix.patch
2555   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\209-build_fixes.patch
2556   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\210-fix-irq-serial.patch
2557   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\212-htb_time_fix.patch
2558   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\213-htb_disable_hysteresis.patch
2559   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\222-sound.patch
2560   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\224-atm_hotplug.patch
2561   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\225-string_lib_useful_exports.pa
       tch
2562   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\226-atm_br2684.patch
2563   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\227-jffs2_eofdetect.patch
2564   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\228-more_usb_fixes.patch
2565   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\229-usb_storage_16_byte_cdb.patc
       h
2566   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\230-tun_get_user_backport.patch
2567   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\231-mini_fo.patch
2568   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\601-netfilter_ipp2p_0.8.1rc1.pat
       ch
2569   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\602-netfilter_layer7_2.17_with_p
       ktmatch.patch
2570   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\604-netfilter_maxconn.patch
2571   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\605-netfilter_TTL.patch
2572   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\606-netfilter_NETMAP.patch
2573   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\607-netfilter_connmark.patch
2574   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\608-netfilter_ipset.patch
2575   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\609-netfilter_string.patch
2576   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\610-netfilter_connbytes.patch
2577   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\611-netfilter_condition.patch
2578   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\612-netfilter_quota.patch
2579   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\613-netfilter_nat_h323.patch
2580   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\614-netfilter_nat_rtsp.patch
2581   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\615-netfilter_nat_mms.patch
2582   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\616-netfilter_imq.patch
2583   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\618-netfilter_multiport_backport
       .patch
2584   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\619-netfilter_classify.patch
2585   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\620-netfilter_iprange.patch
2586   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\621-netfilter_random.patch
2587   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\621-tc_esfq.patch
2588   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\622-netfilter_ipset_porthash.pat
       ch
2589   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\623-netfilter_ip6t_reject.patch
2590   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\626-netfilter_conntrack_fix.patc
       h
2591   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\700-multiple_default_gateways.pa
       tch
2592   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\801-usb_serial_endpoint_size.pat
       ch
2593   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\802-usb_serial_3g_cards.patch
2594   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\900-cve-2008-2136.patch
2595   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.4\patches\901-cve-2009-2692.patch
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 41 of 285 PageID #:627
2596   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\base-files
2597   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\config-2.6.23
2598   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\config-2.6.24
2599   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\config-2.6.25
2600   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\config-2.6.26
2601   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\config-2.6.32
2602   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23
2603   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24
2604   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25
2605   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26
2606   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32
2607   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\image
2608   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15
2609   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23
2610   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24
2611   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25
2612   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26
2613   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32
2614   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\base-files\init
2615   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\drivers
2616   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\fs
2617   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\include
2618   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\drivers\char
2619   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\drivers\input
2620   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\drivers\leds
2621   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\drivers\net
2622   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\drivers\spi
2623   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\drivers\ssb
2624   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\drivers\char\gpio_dev.c
2625   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\drivers\input\misc
2626   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\drivers\input\misc\gpio_but
       tons.c
2627   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\drivers\leds\leds-alix.c
2628   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\drivers\leds\ledtrig-defaul
       t-on.c
2629   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\drivers\leds\ledtrig-morse.
       c
2630   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\drivers\leds\ledtrig-netdev
       .c
2631   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\drivers\net\phy
2632   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\drivers\net\phy\adm6996.c
2633   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\drivers\net\phy\adm6996.h
2634   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\drivers\net\phy\mvswitch.c
2635   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\drivers\net\phy\mvswitch.h
2636   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\drivers\spi\spi_gpio.c
2637   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\drivers\ssb\b43_pci_bridge.
       c
2638   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\drivers\ssb\driver_chipcomm
       on.c
2639   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\drivers\ssb\driver_extif.c
2640   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\drivers\ssb\driver_mipscore
       .c
2641   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\drivers\ssb\driver_pcicore.
       c
2642   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\drivers\ssb\Kconfig
2643   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\drivers\ssb\main.c
2644   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\drivers\ssb\Makefile
2645   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\drivers\ssb\pci.c
2646   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\drivers\ssb\pcihost_wrapper
       .c
2647   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\drivers\ssb\pcmcia.c
2648   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\drivers\ssb\scan.c
2649   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\drivers\ssb\ssb_private.h
2650   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\fs\yaffs2
2651   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\fs\yaffs2\devextras.h
2652   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\fs\yaffs2\Kconfig
2653   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\fs\yaffs2\Makefile
2654   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\fs\yaffs2\moduleconfig.h
2655   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\fs\yaffs2\yaffsinterface.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 42 of 285 PageID #:628
2656   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\fs\yaffs2\yaffs_checkptrw.c
2657   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\fs\yaffs2\yaffs_checkptrw.h
2658   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\fs\yaffs2\yaffs_ecc.c
2659   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\fs\yaffs2\yaffs_ecc.h
2660   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\fs\yaffs2\yaffs_fs.c
2661   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\fs\yaffs2\yaffs_guts.c
2662   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\fs\yaffs2\yaffs_guts.h
2663   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\fs\yaffs2\yaffs_mtdif.c
2664   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\fs\yaffs2\yaffs_mtdif.h
2665   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\fs\yaffs2\yaffs_mtdif1-comp
       at.c
2666   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\fs\yaffs2\yaffs_mtdif1.c
2667   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\fs\yaffs2\yaffs_mtdif1.h
2668   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\fs\yaffs2\yaffs_mtdif2.c
2669   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\fs\yaffs2\yaffs_mtdif2.h
2670   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\fs\yaffs2\yaffs_nand.c
2671   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\fs\yaffs2\yaffs_nand.h
2672   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\fs\yaffs2\yaffs_nandemul2k.
       h
2673   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\fs\yaffs2\yaffs_packedtags1
       .c
2674   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\fs\yaffs2\yaffs_packedtags1
       .h
2675   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\fs\yaffs2\yaffs_packedtags2
       .c
2676   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\fs\yaffs2\yaffs_packedtags2
       .h
2677   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\fs\yaffs2\yaffs_qsort.c
2678   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\fs\yaffs2\yaffs_qsort.h
2679   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\fs\yaffs2\yaffs_tagscompat.
       c
2680   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\fs\yaffs2\yaffs_tagscompat.
       h
2681   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\fs\yaffs2\yaffs_tagsvalidit
       y.c
2682   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\fs\yaffs2\yaffs_tagsvalidit
       y.h
2683   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\fs\yaffs2\yportenv.h
2684   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\include\linux
2685   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\include\linux\gpio_buttons.
       h
2686   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\include\linux\gpio_dev.h
2687   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\include\linux\spi
2688   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\include\linux\ssb
2689   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\include\linux\spi\spi_gpio.
       h
2690   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\include\linux\ssb\ssb.h
2691   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\include\linux\ssb\ssb_drive
       r_chipcommon.h
2692   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\include\linux\ssb\ssb_drive
       r_extif.h
2693   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\include\linux\ssb\ssb_drive
       r_mips.h
2694   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\include\linux\ssb\ssb_drive
       r_pci.h
2695   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.23\include\linux\ssb\ssb_regs.
       h
2696   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\drivers
2697   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\fs
2698   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\include
2699   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\drivers\char
2700   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\drivers\input
2701   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\drivers\leds
2702   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\drivers\net
2703   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\drivers\spi
2704   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\drivers\ssb
2705   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\drivers\char\gpio_dev.c
2706   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\drivers\input\misc
2707   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\drivers\input\misc\gpio_but
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 43 of 285 PageID #:629
       tons.c
2708   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\drivers\leds\leds-alix.c
2709   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\drivers\leds\ledtrig-defaul
       t-on.c
2710   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\drivers\leds\ledtrig-morse.
       c
2711   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\drivers\leds\ledtrig-netdev
       .c
2712   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\drivers\net\phy
2713   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\drivers\net\phy\adm6996.c
2714   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\drivers\net\phy\adm6996.h
2715   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\drivers\net\phy\mvswitch.c
2716   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\drivers\net\phy\mvswitch.h
2717   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\drivers\spi\spi_gpio.c
2718   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\drivers\ssb\b43_pci_bridge.
       c
2719   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\drivers\ssb\driver_chipcomm
       on.c
2720   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\drivers\ssb\driver_extif.c
2721   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\drivers\ssb\driver_mipscore
       .c
2722   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\drivers\ssb\driver_pcicore.
       c
2723   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\drivers\ssb\Kconfig
2724   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\drivers\ssb\main.c
2725   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\drivers\ssb\Makefile
2726   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\drivers\ssb\pci.c
2727   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\drivers\ssb\pcihost_wrapper
       .c
2728   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\drivers\ssb\pcmcia.c
2729   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\drivers\ssb\scan.c
2730   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\drivers\ssb\ssb_private.h
2731   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\fs\yaffs2
2732   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\fs\yaffs2\devextras.h
2733   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\fs\yaffs2\Kconfig
2734   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\fs\yaffs2\Makefile
2735   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\fs\yaffs2\moduleconfig.h
2736   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\fs\yaffs2\yaffsinterface.h
2737   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\fs\yaffs2\yaffs_checkptrw.c
2738   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\fs\yaffs2\yaffs_checkptrw.h
2739   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\fs\yaffs2\yaffs_ecc.c
2740   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\fs\yaffs2\yaffs_ecc.h
2741   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\fs\yaffs2\yaffs_fs.c
2742   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\fs\yaffs2\yaffs_guts.c
2743   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\fs\yaffs2\yaffs_guts.h
2744   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\fs\yaffs2\yaffs_mtdif.c
2745   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\fs\yaffs2\yaffs_mtdif.h
2746   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\fs\yaffs2\yaffs_mtdif1-comp
       at.c
2747   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\fs\yaffs2\yaffs_mtdif1.c
2748   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\fs\yaffs2\yaffs_mtdif1.h
2749   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\fs\yaffs2\yaffs_mtdif2.c
2750   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\fs\yaffs2\yaffs_mtdif2.h
2751   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\fs\yaffs2\yaffs_nand.c
2752   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\fs\yaffs2\yaffs_nand.h
2753   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\fs\yaffs2\yaffs_nandemul2k.
       h
2754   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\fs\yaffs2\yaffs_packedtags1
       .c
2755   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\fs\yaffs2\yaffs_packedtags1
       .h
2756   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\fs\yaffs2\yaffs_packedtags2
       .c
2757   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\fs\yaffs2\yaffs_packedtags2
       .h
2758   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\fs\yaffs2\yaffs_qsort.c
2759   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\fs\yaffs2\yaffs_qsort.h
2760   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\fs\yaffs2\yaffs_tagscompat.
       c Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 44 of 285 PageID #:630
2761   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\fs\yaffs2\yaffs_tagscompat.
       h
2762   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\fs\yaffs2\yaffs_tagsvalidit
       y.c
2763   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\fs\yaffs2\yaffs_tagsvalidit
       y.h
2764   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\fs\yaffs2\yportenv.h
2765   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\include\linux
2766   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\include\linux\gpio_buttons.
       h
2767   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\include\linux\gpio_dev.h
2768   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\include\linux\spi
2769   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\include\linux\ssb
2770   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\include\linux\spi\spi_gpio.
       h
2771   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\include\linux\ssb\ssb.h
2772   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\include\linux\ssb\ssb_drive
       r_chipcommon.h
2773   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\include\linux\ssb\ssb_drive
       r_extif.h
2774   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\include\linux\ssb\ssb_drive
       r_mips.h
2775   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\include\linux\ssb\ssb_drive
       r_pci.h
2776   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.24\include\linux\ssb\ssb_regs.
       h
2777   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\drivers
2778   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\fs
2779   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\include
2780   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\drivers\char
2781   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\drivers\input
2782   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\drivers\leds
2783   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\drivers\net
2784   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\drivers\char\gpio_dev.c
2785   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\drivers\input\misc
2786   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\drivers\input\misc\gpio_but
       tons.c
2787   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\drivers\leds\leds-alix.c
2788   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\drivers\leds\ledtrig-defaul
       t-on.c
2789   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\drivers\leds\ledtrig-morse.
       c
2790   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\drivers\leds\ledtrig-netdev
       .c
2791   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\drivers\net\phy
2792   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\drivers\net\phy\adm6996.c
2793   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\drivers\net\phy\adm6996.h
2794   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\drivers\net\phy\mvswitch.c
2795   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\drivers\net\phy\mvswitch.h
2796   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\fs\yaffs2
2797   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\fs\yaffs2\devextras.h
2798   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\fs\yaffs2\Kconfig
2799   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\fs\yaffs2\Makefile
2800   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\fs\yaffs2\moduleconfig.h
2801   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\fs\yaffs2\yaffsinterface.h
2802   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\fs\yaffs2\yaffs_checkptrw.c
2803   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\fs\yaffs2\yaffs_checkptrw.h
2804   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\fs\yaffs2\yaffs_ecc.c
2805   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\fs\yaffs2\yaffs_ecc.h
2806   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\fs\yaffs2\yaffs_fs.c
2807   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\fs\yaffs2\yaffs_guts.c
2808   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\fs\yaffs2\yaffs_guts.h
2809   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\fs\yaffs2\yaffs_mtdif.c
2810   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\fs\yaffs2\yaffs_mtdif.h
2811   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\fs\yaffs2\yaffs_mtdif1-comp
       at.c
2812   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\fs\yaffs2\yaffs_mtdif1.c
2813   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\fs\yaffs2\yaffs_mtdif1.h
2814   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\fs\yaffs2\yaffs_mtdif2.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 45 of 285 PageID #:631
2815   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\fs\yaffs2\yaffs_mtdif2.h
2816   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\fs\yaffs2\yaffs_nand.c
2817   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\fs\yaffs2\yaffs_nand.h
2818   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\fs\yaffs2\yaffs_nandemul2k.
       h
2819   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\fs\yaffs2\yaffs_packedtags1
       .c
2820   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\fs\yaffs2\yaffs_packedtags1
       .h
2821   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\fs\yaffs2\yaffs_packedtags2
       .c
2822   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\fs\yaffs2\yaffs_packedtags2
       .h
2823   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\fs\yaffs2\yaffs_qsort.c
2824   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\fs\yaffs2\yaffs_qsort.h
2825   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\fs\yaffs2\yaffs_tagscompat.
       c
2826   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\fs\yaffs2\yaffs_tagscompat.
       h
2827   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\fs\yaffs2\yaffs_tagsvalidit
       y.c
2828   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\fs\yaffs2\yaffs_tagsvalidit
       y.h
2829   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\fs\yaffs2\yportenv.h
2830   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\include\linux
2831   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\include\linux\gpio_buttons.
       h
2832   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.25\include\linux\gpio_dev.h
2833   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\drivers
2834   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\fs
2835   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\include
2836   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\drivers\char
2837   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\drivers\input
2838   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\drivers\leds
2839   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\drivers\net
2840   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\drivers\char\gpio_dev.c
2841   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\drivers\input\misc
2842   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\drivers\input\misc\gpio_but
       tons.c
2843   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\drivers\leds\leds-alix.c
2844   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\drivers\leds\ledtrig-morse.
       c
2845   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\drivers\leds\ledtrig-netdev
       .c
2846   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\drivers\net\phy
2847   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\drivers\net\phy\adm6996.c
2848   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\drivers\net\phy\adm6996.h
2849   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\drivers\net\phy\ip175c.c
2850   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\drivers\net\phy\mvswitch.c
2851   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\drivers\net\phy\mvswitch.h
2852   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\drivers\net\phy\swconfig.c
2853   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\fs\yaffs2
2854   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\fs\yaffs2\devextras.h
2855   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\fs\yaffs2\Kconfig
2856   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\fs\yaffs2\Makefile
2857   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\fs\yaffs2\moduleconfig.h
2858   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\fs\yaffs2\yaffsinterface.h
2859   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\fs\yaffs2\yaffs_checkptrw.c
2860   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\fs\yaffs2\yaffs_checkptrw.h
2861   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\fs\yaffs2\yaffs_ecc.c
2862   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\fs\yaffs2\yaffs_ecc.h
2863   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\fs\yaffs2\yaffs_fs.c
2864   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\fs\yaffs2\yaffs_guts.c
2865   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\fs\yaffs2\yaffs_guts.h
2866   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\fs\yaffs2\yaffs_mtdif.c
2867   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\fs\yaffs2\yaffs_mtdif.h
2868   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\fs\yaffs2\yaffs_mtdif1-comp
       at.c
2869   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\fs\yaffs2\yaffs_mtdif1.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 46 of 285 PageID #:632
2870   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\fs\yaffs2\yaffs_mtdif1.h
2871   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\fs\yaffs2\yaffs_mtdif2.c
2872   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\fs\yaffs2\yaffs_mtdif2.h
2873   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\fs\yaffs2\yaffs_nand.c
2874   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\fs\yaffs2\yaffs_nand.h
2875   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\fs\yaffs2\yaffs_nandemul2k.
       h
2876   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\fs\yaffs2\yaffs_packedtags1
       .c
2877   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\fs\yaffs2\yaffs_packedtags1
       .h
2878   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\fs\yaffs2\yaffs_packedtags2
       .c
2879   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\fs\yaffs2\yaffs_packedtags2
       .h
2880   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\fs\yaffs2\yaffs_qsort.c
2881   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\fs\yaffs2\yaffs_qsort.h
2882   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\fs\yaffs2\yaffs_tagscompat.
       c
2883   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\fs\yaffs2\yaffs_tagscompat.
       h
2884   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\fs\yaffs2\yaffs_tagsvalidit
       y.c
2885   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\fs\yaffs2\yaffs_tagsvalidit
       y.h
2886   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\fs\yaffs2\yportenv.h
2887   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\include\linux
2888   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\include\linux\gpio_buttons.
       h
2889   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\include\linux\gpio_dev.h
2890   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.26\include\linux\switch.h
2891   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\arch
2892   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\Documentation
2893   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\drivers
2894   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\fs
2895   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\include
2896   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\arch\mips
2897   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\arch\mips\fw
2898   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\arch\mips\fw\myloader
2899   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\arch\mips\fw\myloader\Makef
       ile
2900   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\arch\mips\fw\myloader\myloa
       der.c
2901   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\Documentation\pwm.txt
2902   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\drivers\char
2903   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\drivers\input
2904   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\drivers\leds
2905   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\drivers\mtd
2906   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\drivers\net
2907   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\drivers\pwm
2908   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\drivers\char\gpio_dev.c
2909   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\drivers\input\misc
2910   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\drivers\input\misc\gpio_but
       tons.c
2911   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\drivers\leds\ledtrig-morse.
       c
2912   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\drivers\leds\ledtrig-netdev
       .c
2913   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\drivers\leds\ledtrig-usbdev
       .c
2914   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\drivers\mtd\myloader.c
2915   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\drivers\net\phy
2916   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\drivers\net\phy\adm6996.c
2917   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\drivers\net\phy\adm6996.h
2918   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\drivers\net\phy\ar8216.c
2919   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\drivers\net\phy\ar8216.h
2920   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\drivers\net\phy\ip17xx.c
2921   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\drivers\net\phy\mvswitch.c
2922   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\drivers\net\phy\mvswitch.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 47 of 285 PageID #:633
2923   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\drivers\net\phy\psb6970.c
2924   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\drivers\net\phy\rtl8306.c
2925   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\drivers\net\phy\rtl8366rb.c
2926   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\drivers\net\phy\rtl8366s.c
2927   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\drivers\net\phy\rtl8366_smi
       .c
2928   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\drivers\net\phy\rtl8366_smi
       .h
2929   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\drivers\net\phy\swconfig.c
2930   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\drivers\pwm\atmel-pwm.c
2931   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\drivers\pwm\gpio-pwm.c
2932   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\drivers\pwm\Kconfig
2933   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\drivers\pwm\Makefile
2934   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\drivers\pwm\pwm.c
2935   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\fs\yaffs2
2936   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\fs\yaffs2\devextras.h
2937   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\fs\yaffs2\Kconfig
2938   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\fs\yaffs2\Makefile
2939   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\fs\yaffs2\moduleconfig.h
2940   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\fs\yaffs2\yaffsinterface.h
2941   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\fs\yaffs2\yaffs_checkptrw.c
2942   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\fs\yaffs2\yaffs_checkptrw.h
2943   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\fs\yaffs2\yaffs_ecc.c
2944   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\fs\yaffs2\yaffs_ecc.h
2945   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\fs\yaffs2\yaffs_fs.c
2946   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\fs\yaffs2\yaffs_guts.c
2947   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\fs\yaffs2\yaffs_guts.h
2948   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\fs\yaffs2\yaffs_mtdif.c
2949   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\fs\yaffs2\yaffs_mtdif.h
2950   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\fs\yaffs2\yaffs_mtdif1-comp
       at.c
2951   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\fs\yaffs2\yaffs_mtdif1.c
2952   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\fs\yaffs2\yaffs_mtdif1.h
2953   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\fs\yaffs2\yaffs_mtdif2.c
2954   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\fs\yaffs2\yaffs_mtdif2.h
2955   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\fs\yaffs2\yaffs_nand.c
2956   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\fs\yaffs2\yaffs_nand.h
2957   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\fs\yaffs2\yaffs_nandemul2k.
       h
2958   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\fs\yaffs2\yaffs_packedtags1
       .c
2959   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\fs\yaffs2\yaffs_packedtags1
       .h
2960   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\fs\yaffs2\yaffs_packedtags2
       .c
2961   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\fs\yaffs2\yaffs_packedtags2
       .h
2962   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\fs\yaffs2\yaffs_qsort.c
2963   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\fs\yaffs2\yaffs_qsort.h
2964   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\fs\yaffs2\yaffs_tagscompat.
       c
2965   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\fs\yaffs2\yaffs_tagscompat.
       h
2966   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\fs\yaffs2\yaffs_tagsvalidit
       y.c
2967   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\fs\yaffs2\yaffs_tagsvalidit
       y.h
2968   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\fs\yaffs2\yportenv.h
2969   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\include\linux
2970   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\include\linux\ath5k_platfor
       m.h
2971   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\include\linux\compiler-gcc5
       .h
2972   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\include\linux\glamo-engine.
       h
2973   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\include\linux\glamofb.h
2974   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\include\linux\gpio_buttons.
       h
2975   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\include\linux\gpio_dev.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 48 of 285 PageID #:634
2976   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\include\linux\myloader.h
2977   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\include\linux\pwm
2978   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\include\linux\rtl8366rb.h
2979   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\include\linux\rtl8366s.h
2980   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\include\linux\switch.h
2981   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\files-2.6.32\include\linux\pwm\pwm.h
2982   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\image\initramfs-base-files.txt
2983   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\image\lzma-loader
2984   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\image\Makefile
2985   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\image\lzma-loader\Makefile
2986   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\image\lzma-loader\src
2987   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\image\lzma-loader\src\decompress.c
2988   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\image\lzma-loader\src\lzma-copy.lds.in
2989   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\image\lzma-loader\src\lzma.lds.in
2990   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\image\lzma-loader\src\LzmaDecode.c
2991   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\image\lzma-loader\src\LzmaDecode.h
2992   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\image\lzma-loader\src\Makefile
2993   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\image\lzma-loader\src\print.c
2994   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\image\lzma-loader\src\print.h
2995   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\image\lzma-loader\src\printf.c
2996   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\image\lzma-loader\src\printf.h
2997   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\image\lzma-loader\src\start.S
2998   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\image\lzma-loader\src\uart16550.c
2999   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\image\lzma-loader\src\uart16550.h
3000   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\000-remove_old_lzma.patch
3001   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\001-squashfs.patch
3002   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\002-lzma_decompress.patch
3003   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\003-squashfs_lzma.patch
3004   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\004-extra_optimization.pa
       tch
3005   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\006-gcc4_inline_fix.patch
3006   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\010-disable_old_squashfs_
       compatibility.patch
3007   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\011-mips_boot.patch
3008   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\012-mips_cpu_tlb.patch
3009   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\013-mips_gdb_stub.patch
3010   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\020-make-3.82.patch
3011   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\100-jiffies-overflow.patc
       h
3012   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\110-ipv6_fix.patch
3013   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\111-netlink_fix.patch
3014   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\112-ipv4_fix.patch
3015   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\113-bridge_no_macs_limit.
       patch
3016   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\114-bridge_fix.patch
3017   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\115-net_core_fix.patch
3018   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\116-mtd_fix.patch
3019   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\117-usb_fix.patch
3020   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\118-fs_fix.patch
3021   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\119-include_asm_mips_fix.
       patch
3022   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\120-mm_fix.patch
3023   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\190-ebtables-arpnat.patch
3024   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\200-export-phy.patch
3025   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\300-wireless-max-frequenc
       ies.patch
3026   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\600-phy_extension.patch
3027   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\650-bridge-no-fd-for-EAPO
       L.patch
3028   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\660-bridge-hard-header-le
       n.patch
3029   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\665-bridge-set-hw-addr.pa
       tch
3030   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\670-ppp-mppe-packets-out-
       of-order-fix.patch
3031   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\671-ppp-info.patch
3032   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\700-netfilters-sip.patch
3033   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\705-netfilters-rtsp.patch
3034   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\710-sparse-warnings-backp
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 49 of 285 PageID #:635
       ort.patch
3035   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\715-netfilters-gre.patch
3036   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\750-remove-dbgprint-on-re
       queue-pkt.patch
3037   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\760-skb-cb-size-48.patch
3038   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\761-skb-reserved-signed-a
       rgv.patch
3039   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\762-fix-mqueue-double-dec
       rease.patch
3040   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\800-usb-3g-devices.patch
3041   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\991-cve-2009-0028.patch
3042   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.15\999-no-auto-sit0.patch
3043   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\001-squashfs.patch
3044   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\002-lzma_decompress.patch
3045   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\003-squashfs_lzma.patch
3046   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\004-extra_optimization.pa
       tch
3047   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\006-gcc4_inline_fix.patch
3048   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\007-samsung_flash.patch
3049   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\009-revert_intel_flash_br
       eakage.patch
3050   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\010-disable_old_squashfs_
       compatibility.patch
3051   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\011-mips_boot.patch
3052   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\012-mips_cpu_tlb.patch
3053   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\013-mips_gdb_stub.patch
3054   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\060-block2mtd_init.patch
3055   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\065-rootfs_split.patch
3056   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\070-redboot_space.patch
3057   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\080-mtd_plat_nand_chip_fi
       xup.patch
3058   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\100-netfilter_layer7_2.17
       .patch
3059   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\101-netfilter_layer7_pktm
       atch.patch
3060   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\110-ipp2p_0.8.1rc1.patch
3061   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\120-openswan-2.4.0.kernel
       -2.6-natt.patch
3062   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\130-netfilter_ipset.patch
3063   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\140-netfilter_time.patch
3064   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\150-netfilter_imq.patch
3065   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\160-netfilter_route.patch
3066   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\170-netfilter_chaostables
       _0.8.patch
3067   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\171-netfilter_tarpit.patc
       h
3068   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\180-netfilter_depends.pat
       ch
3069   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\190-netfilter_rtsp.patch
3070   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\200-sched_esfq.patch
3071   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\201-multiple_default_gate
       ways.patch
3072   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\202-mips-freestanding.pat
       ch
3073   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\204-jffs2_eofdetect.patch
3074   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\207-powerpc_asm_segment_h
       .patch
3075   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\208-rtl8110sb_fix.patch
3076   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\209-mini_fo.patch
3077   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\210-mac80211_include_wire
       less_dev.patch
3078   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\213-kobject_uevent.patch
3079   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\220-sound_kconfig.patch
3080   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\230-pps_support.patch
3081   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\300-add-mmc-spi-driver.pa
       tch
3082   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\301-mmc_sdhci_fixes.patch
3083   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\400-ledtrig_morse.patch
3084   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\401-led_alix.patch
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 50 of 285 PageID #:636
3085   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\402-ledtrig_default_on.pa
       tch
3086   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\403-ledtrig_netdev.patch
3087   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\410-gpio_buttons.patch
3088   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\510-yaffs_support.patch
3089   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\600-phy_extension.patch
3090   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\610-phy_detect.patch
3091   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\620-phy_adm6996.patch
3092   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\630-phy_packets.patch
3093   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\640-mvswitch.patch
3094   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\700-unable_to_open_consol
       e.patch
3095   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\801-usb_serial_endpoint_s
       ize.patch
3096   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\900-headers_type_and_time
       .patch
3097   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\902-darwin_scripts_includ
       e.patch
3098   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\903-stddef_include.patch
3099   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\904-ls_time_locale.patch
3100   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\905-i386_build.patch
3101   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\910-arm_binutils_build_id
       _fix.patch
3102   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\920-ppc_big_endian_io_mem
       ory_accessors.patch
3103   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\922-w1_gpio_driver_backpo
       rt.patch
3104   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\991-cve-2009-0028.patch
3105   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\992-cve-2009-0065.patch
3106   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\993-cve-2009-0676.patch
3107   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\994-cve-2009-1439.patch
3108   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\995-cve-2009-1389.patch
3109   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.23\996-cve-2009-2692.patch
3110   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\001-squashfs.patch
3111   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\002-lzma_decompress.patch
3112   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\003-squashfs_lzma.patch
3113   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\004-extra_optimization.pa
       tch
3114   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\005-squashfs_fix.patch
3115   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\006-gcc4_inline_fix.patch
3116   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\007-samsung_flash.patch
3117   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\009-revert_intel_flash_br
       eakage.patch
3118   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\010-disable_old_squashfs_
       compatibility.patch
3119   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\011-mips_boot.patch
3120   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\012-mips_cpu_tlb.patch
3121   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\013-mips_gdb_stub.patch
3122   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\060-block2mtd_init.patch
3123   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\065-rootfs_split.patch
3124   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\070-redboot_space.patch
3125   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\080-mtd_plat_nand_chip_fi
       xup.patch
3126   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\100-netfilter_layer7_2.17
       .patch
3127   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\101-netfilter_layer7_pktm
       atch.patch
3128   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\110-ipp2p_0.8.1rc1.patch
3129   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\130-netfilter_ipset.patch
3130   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\150-netfilter_imq.patch
3131   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\170-netfilter_chaostables
       _0.8.patch
3132   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\171-netfilter_tarpit.patc
       h
3133   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\180-netfilter_depends.pat
       ch
3134   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\190-netfilter_rtsp.patch
3135   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\200-sched_esfq.patch
3136   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\202-mips-freestanding.pat
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 51 of 285 PageID #:637
       ch
3137   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\204-jffs2_eofdetect.patch
3138   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\207-powerpc_asm_segment_h
       .patch
3139   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\208-rtl8110sb_fix.patch
3140   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\209-mini_fo.patch
3141   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\213-kobject_uevent.patch
3142   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\220-sound_kconfig.patch
3143   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\400-ledtrig_morse.patch
3144   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\401-led_alix.patch
3145   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\402-ledtrig_default_on.pa
       tch
3146   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\403-ds1672_detect.patch
3147   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\410-gpio_buttons.patch
3148   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\420-gpiodev.patch
3149   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\510-yaffs_support.patch
3150   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\600-phy_extension.patch
3151   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\601-br2684-routed-support
       .patch
3152   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\700-powerpc_git.patch
3153   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\801-usb_serial_endpoint_s
       ize.patch
3154   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\840-unable_to_open_consol
       e.patch
3155   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\850-jffs2_erase_progress_
       indicator.patch
3156   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\900-headers_type_and_time
       .patch
3157   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\902-darwin_scripts_includ
       e.patch
3158   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\903-hostap_txpower.patch
3159   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\903-stddef_include.patch
3160   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\904-ls_time_locale.patch
3161   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\905-i386_build.patch
3162   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\921-gpio_spi_driver.patch
3163   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\922-w1_gpio_driver_backpo
       rt.patch
3164   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\930-ppc_big_endian_io_mem
       ory_accessors.patch
3165   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\940-arm_mach_types.patch
3166   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\950-mtd_cfi_intel_p33_com
       patbility.patch
3167   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\991-cve-2009-0028.patch
3168   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\992-cve-2009-0065.patch
3169   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\993-cve-2009-0676.patch
3170   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\994-cve-2009-1439.patch
3171   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\995-cve-2009-1389.patch
3172   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.24\996-cve-2009-2692.patch
3173   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\001-squashfs.patch
3174   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\002-lzma_decompress.patch
3175   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\003-squashfs_lzma.patch
3176   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\004-extra_optimization.pa
       tch
3177   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\005-squashfs_fix.patch
3178   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\006-gcc4_inline_fix.patch
3179   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\007-samsung_flash.patch
3180   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\009-revert_intel_flash_br
       eakage.patch
3181   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\010-disable_old_squashfs_
       compatibility.patch
3182   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\011-mips_boot.patch
3183   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\060-block2mtd_init.patch
3184   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\065-rootfs_split.patch
3185   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\070-redboot_space.patch
3186   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\080-mtd_plat_nand_chip_fi
       xup.patch
3187   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\100-netfilter_layer7_2.17
       .patch
3188   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\101-netfilter_layer7_pktm
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 52 of 285 PageID #:638
       atch.patch
3189   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\110-ipp2p_0.8.1rc1.patch
3190   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\120-netfilter-headers-typ
       es.patch
3191   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\130-netfilter_ipset.patch
3192   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\150-netfilter_imq.patch
3193   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\170-netfilter_chaostables
       _0.8.patch
3194   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\171-netfilter_tarpit.patc
       h
3195   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\180-netfilter_depends.pat
       ch
3196   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\190-netfilter_rtsp.patch
3197   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\200-sched_esfq.patch
3198   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\202-mips-freestanding.pat
       ch
3199   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\204-jffs2_eofdetect.patch
3200   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\207-powerpc_asm_segment_h
       .patch
3201   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\208-rtl8110sb_fix.patch
3202   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\209-mini_fo.patch
3203   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\210-mini_fo_2.6.25_fixes.
       patch
3204   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\211-mini_fo_2.6.25_dentry
       _open_war.patch
3205   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\213-kobject_uevent.patch
3206   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\220-sound_kconfig.patch
3207   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\400-ledtrig_morse.patch
3208   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\401-led_alix.patch
3209   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\402-ledtrig_default_on.pa
       tch
3210   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\403-ds1672_detect.patch
3211   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\410-gpio_buttons.patch
3212   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\420-gpiodev.patch
3213   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\510-yaffs_support.patch
3214   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\512-yaffs_2.6.25_fix.patc
       h
3215   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\600-phy_extension.patch
3216   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\610-phy_detect.patch
3217   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\620-phy_adm6996.patch
3218   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\630-phy_packets.patch
3219   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\640-mvswitch.patch
3220   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\700-powerpc_git.patch
3221   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\801-usb_serial_endpoint_s
       ize.patch
3222   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\840-unable_to_open_consol
       e.patch
3223   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\850-jffs2_erase_progress_
       indicator.patch
3224   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\900-headers_type_and_time
       .patch
3225   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\902-darwin_scripts_includ
       e.patch
3226   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\903-hostap_txpower.patch
3227   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\903-stddef_include.patch
3228   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\904-ls_time_locale.patch
3229   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\905-i386_build.patch
3230   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\906-msdosfs_header.patch
3231   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\910-m25p80_redboot_partit
       ions.patch
3232   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\921-gpio_spi_driver.patch
3233   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\922-gpiommc.patch
3234   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\923-gpiommc-configfs-lock
       ing.patch
3235   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\930-ppc_big_endian_io_mem
       ory_accessors.patch
3236   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\940-arm_mach_types.patch
3237   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\950-ocf-linux-26-20080704
       .patch
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 53 of 285 PageID #:639
3238   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\951-ocf-scatterlist-inc.p
       atch
3239   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\960-backport_gpiolib_bett
       er_rmmod_infrastructure.patch
3240   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\961-backport_gpio_define_
       gpio_valid.patch
3241   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\962-backport_gpiolib_dyna
       mic_gpio_number_allocation.patch
3242   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\963-backport_gpio_chip_re
       serve.patch
3243   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\964-backport_gpiolib_fix_
       off_by_one_errors.patch
3244   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\981-backport_usb_serial_s
       ierrawireless_ids.patch
3245   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\991-cve-2009-0028.patch
3246   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\992-cve-2009-0065.patch
3247   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\993-cve-2009-0676.patch
3248   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\994-cve-2009-1439.patch
3249   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\995-cve-2009-1389.patch
3250   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.25\996-cve-2009-2692.patch
3251   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\001-squashfs.patch
3252   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\002-lzma_decompress.patch
3253   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\003-squashfs_lzma.patch
3254   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\004-extra_optimization.pa
       tch
3255   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\005-squashfs_fix.patch
3256   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\006-gcc4_inline_fix.patch
3257   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\007-samsung_flash.patch
3258   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\009-revert_intel_flash_br
       eakage.patch
3259   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\010-disable_old_squashfs_
       compatibility.patch
3260   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\011-mips_boot.patch
3261   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\060-block2mtd_init.patch
3262   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\065-rootfs_split.patch
3263   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\070-redboot_space.patch
3264   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\071-redboot_boardconfig.p
       atch
3265   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\080-mtd_plat_nand_chip_fi
       xup.patch
3266   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\100-netfilter_layer7_2.17
       .patch
3267   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\101-netfilter_layer7_pktm
       atch.patch
3268   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\110-ipp2p_0.8.1rc1.patch
3269   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\130-netfilter_ipset.patch
3270   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\150-netfilter_imq.patch
3271   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\170-netfilter_chaostables
       _0.8.patch
3272   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\171-netfilter_tarpit.patc
       h
3273   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\180-netfilter_depends.pat
       ch
3274   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\190-netfilter_rtsp.patch
3275   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\200-sched_esfq.patch
3276   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\202-mips-freestanding.pat
       ch
3277   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\204-jffs2_eofdetect.patch
3278   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\207-powerpc_asm_segment_h
       .patch
3279   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\208-rtl8110sb_fix.patch
3280   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\209-mini_fo.patch
3281   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\210-mini_fo_2.6.25_fixes.
       patch
3282   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\211-mini_fo_2.6.25_dentry
       _open_war.patch
3283   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\212-mini_fo_2.6.26_fixes.
       patch
3284   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\213-kobject_uevent.patch
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 54 of 285 PageID #:640
3285   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\220-sound_kconfig.patch
3286   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\222-partial_eraseblock_wr
       ite.patch
3287   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\400-ledtrig_morse.patch
3288   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\401-led_alix.patch
3289   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\402-ledtrig_netdev.patch
3290   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\403-ds1672_detect.patch
3291   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\410-gpio_buttons.patch
3292   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\420-gpiodev.patch
3293   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\510-yaffs_support.patch
3294   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\512-yaffs_2.6.25_fix.patc
       h
3295   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\513-yaffs_2.6.26_fix.patc
       h
3296   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\600-phy_extension.patch
3297   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\610-phy_detect.patch
3298   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\620-phy_adm6996.patch
3299   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\630-phy_packets.patch
3300   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\640-mvswitch.patch
3301   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\650-swconfig.patch
3302   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\660-ip175c_support.patch
3303   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\801-usb_serial_endpoint_s
       ize.patch
3304   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\840-unable_to_open_consol
       e.patch
3305   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\900-headers_type_and_time
       .patch
3306   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\902-darwin_scripts_includ
       e.patch
3307   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\903-hostap_txpower.patch
3308   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\903-stddef_include.patch
3309   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\905-i386_build.patch
3310   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\910-cryptodev_backport.pa
       tch
3311   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\915-hso-backport.patch
3312   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\921-gpio_spi_driver.patch
3313   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\922-gpiommc.patch
3314   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\923-gpiommc-configfs-lock
       ing.patch
3315   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\924-gpiommc_2.6.26_fix.pa
       tch
3316   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\930-ppc_big_endian_io_mem
       ory_accessors.patch
3317   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\940-arm_mach_types.patch
3318   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\950-revert_xt_sctp_simpli
       fy.patch
3319   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\951-revert_gcc4_4_fixes.p
       atch
3320   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\970-ocf_20080704.patch
3321   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\971-ocf_compile_fix.patch
3322   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\980-backport_gpio_sysfs_s
       upport.patch
3323   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\981-backport_usb_serial_s
       ierrawireless_ids.patch
3324   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\991-cve-2009-0028.patch
3325   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\992-cve-2009-0065.patch
3326   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\993-cve-2009-0676.patch
3327   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\994-cve-2009-1439.patch
3328   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\995-cve-2009-1389.patch
3329   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.26\996-cve-2009-2692.patch
3330   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\001-squashfs_move_zlib_de
       comp.patch
3331   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\002-squashfs_factor_out_r
       emaining_zlib.patch
3332   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\003-squashfs_add_decompre
       ssor_framework.patch
3333   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\004-squashfs_add_decompre
       ssor_lzma_lzo.patch
3334   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\005-squashfs_extra_parame
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 55 of 285 PageID #:641
       ter.patch
3335   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\006-squashfs_add_lzma.pat
       ch
3336   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\007-squashfs_make_lzma_av
       ailable.patch
3337   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\008-jffs2_make_lzma_avail
       able.patch
3338   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\009-jffs-fix-min-max-conf
       usion.patch
3339   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\010-perl-warning-fix.patc
       h
3340   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\011-mips_boot.patch
3341   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\012-extra_optimization.pa
       tch
3342   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\013-gcc4_inline_fix.patch
3343   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\014-cfi_fix_amd_extended_
       table_check.patch
3344   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\016-debug-print-signal-on
       -init-kill.patch
3345   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\017-backtrace-syslog-frie
       ndly-symbols.patch
3346   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\018-dump-stack-on-panic.p
       atch
3347   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\019-no-stack-dump-on-netd
       ev-watchdog.patch
3348   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\020-mips_multi_machine_su
       pport.patch
3349   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\021-mips_image_cmdline_ha
       ck.patch
3350   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\022-mips_use_generic_thre
       ad_info_allocator.patch
3351   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\023-mips-fix-kexec.patch
3352   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\025-mips_disable_fpu.patc
       h
3353   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\027-mips_module_reloc.pat
       ch
3354   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\028-module_exports.patch
3355   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\029-arm_module_unresolved
       _weak_sym.patch
3356   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\030-pci_disable_common_qu
       irks.patch
3357   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\031-ppc_gcc_build_fix.pat
       ch
3358   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\034-mips-stack-size-16k.p
       atch
3359   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\035-fix_CVE-2017-14106.pa
       tch
3360   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\035-mips-irq-stack.patch
3361   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\040-arm-update-mach-types
       .patch
3362   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\040-use_ext4_for_ext23.pa
       tch
3363   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\041-ext4_do_not_override_
       ext23.patch
3364   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\042-ext4_add_ext23_module
       _aliases.patch
3365   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\050-lzo_compressed_kernel
       s.patch
3366   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\051-lzo_compressed_kernel
       _for_arm.patch
3367   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\052-lzo_compressed_kernel
       _for_x86.patch
3368   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\053-lzo_compression_for_i
       nitramfs.patch
3369   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\055-lzma_arm_kernel.patch
3370   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\057-arm_fix_uncompress_co
       de.patch
3371   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\060-block2mtd_init.patch
3372   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\065-rootfs_split.patch
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 56 of 285 PageID #:642
3373   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\066-block2mtd_probe.patch
3374   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\070-redboot_space.patch
3375   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\071-redboot_boardconfig.p
       atch
3376   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\080-mtd_plat_nand_chip_fi
       xup.patch
3377   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\081-mtd_myloader_partitio
       n_parser.patch
3378   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\082-mtd_info_move_forward
       _decl.patch
3379   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\083-mtd_fix_nand_correct_
       data_return_code.patch
3380   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\084-mtd_m25p80_add_pm25lv
       _flash_support.patch
3381   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\085-mtd_m25p80_add_en25px
       x_support.patch
3382   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\086-mtd_m25p80_add_xxxs33
       b_support.patch
3383   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\087-mtd-m25p80-add-w25q32
       -chip-support.patch
3384   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\088-winbond_cmdset.patch
3385   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\089-mtd-samsung-flash.pat
       ch
3386   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\090-mtd-m25p80-add-en25f3
       2-chip-support.patch
3387   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\100-netfilter_layer7_2.21
       .patch
3388   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\101-netfilter_layer7_pktm
       atch.patch
3389   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\110-netfilter_match_speed
       up.patch
3390   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\120-netfilter_recent_reap
       .patch
3391   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\130c-netfilter_expect-sho
       w_helper.patch
3392   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\131c-netfilter_sip-fix_ct
       _parse_req.patch
3393   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\132c-netfilter_sip-off_by
       _one.patch
3394   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\133c-netfilter_sip-pass_d
       ata_offset.patch
3395   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\134c-netfilter_sip-add_T3
       8.patch
3396   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\135c-netfilter_sip-add_TC
       P_support.patch
3397   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\136c-netfilter_sip-add_TC
       P_support.patch
3398   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\138c-netfilter_support_ma
       ngling_TCP.patch
3399   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\180-netfilter_depends.pat
       ch
3400   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\190-netfilter_rtsp.patch
3401   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\195-netfilter_ipp2p.patch
3402   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\200-sched_esfq.patch
3403   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\201-jhash3.patch
3404   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\202-mips_mem_functions_pe
       rformance.patch
3405   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\203-slab_maxsize.patch
3406   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\204-jffs2_eofdetect.patch
3407   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\205-skb_padding.patch
3408   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\207-powerpc_asm_segment_h
       .patch
3409   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\208-mips_oprofile_fix.pat
       ch
3410   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\209-mini_fo.patch
3411   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\210-mini_fo_2.6.25_fixes.
       patch
3412   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\211-mini_fo_2.6.25_dentry
       _open_war.patch
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 57 of 285 PageID #:643
3413   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\212-mini_fo_2.6.26_fixes.
       patch
3414   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\213-mini_fo_2.6.27_fixes.
       patch
3415   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\214-mini_fo_2.6.29.patch
3416   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\215-mini_fo_2.6.30.patch
3417   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\216-mini_fo_locking.patch
3418   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\217-mini_fo_dentry_check.
       patch
3419   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\219-kobject_uevent.patch
3420   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\220-sound_kconfig.patch
3421   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\222-partial_eraseblock_wr
       ite.patch
3422   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\223-kobject-add-broadcast
       _uevent.patch
3423   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\240-packet_socket_type.pa
       tch
3424   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\250-pppoe_header_pad.patc
       h
3425   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\251-atm_header_changes.pa
       tch
3426   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\260-crypto_optional_tests
       .patch
3427   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\270-bridge_no_eap_forward
       .patch
3428   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\271-bridge_always_accept_
       eap.patch
3429   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\275-bridge-allow-forwardi
       ng-some-link-local-frames.patch
3430   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\280-sched_act_connmark.pa
       tch
3431   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\300-ipv6_accept_ra_when_f
       orwarding.patch
3432   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\301-ipv6_send_rs_when_for
       warding.patch
3433   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\302-wireless-max-frequenc
       ies.patch
3434   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\310-usb-add-usb_find_devi
       ce_by_name.patch
3435   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\400-ledtrig_morse.patch
3436   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\402-ledtrig_netdev.patch
3437   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\403-ledtrig-usbdev.patch
3438   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\410-gpio_buttons.patch
3439   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\411-add-KEY_WPS_BUTTON-de
       finition.patch
3440   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\420-gpiodev.patch
3441   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\510-yaffs_support.patch
3442   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\511-yaffs-cvs-2009-04-24.
       patch
3443   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\600-phy_extension.patch
3444   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\600-unlzma-corrupt-checks
       .patch
3445   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\601-phy-add-aneg-done-fun
       ction.patch
3446   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\620-phy_adm6996.patch
3447   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\630-phy_packets.patch
3448   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\650-swconfig.patch
3449   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\660-phy_mvswitch.patch
3450   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\670-phy_ip175c.patch
3451   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\680-phy_ar8216.patch
3452   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\690-phy_rtl8306.patch
3453   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\691-phy_rtl8366.patch
3454   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\700-rtc7301.patch
3455   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\750-glamo-headers.patch
3456   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\800-seq_file-single_open_
       size.patch
3457   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\822-usb_serial_option_add
       _more_devices.patch
3458   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\840-unable_to_open_consol
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 58 of 285 PageID #:644
       e.patch
3459   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\901-mips-usermode-pagefau
       lt-adefault-print.path
3460   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\901-trace-priv-signal.pat
       h
3461   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\902-darwin_scripts_includ
       e.patch
3462   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\903-hostap_txpower.patch
3463   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\903-stddef_include.patch
3464   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\910-backport-spi-bus-lock
       ing-api.patch
3465   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\911-backport-mmc_spi-use-
       spi-bus-locking-api.patch
3466   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\920-01-hotpluggable-spi-g
       pio.patch
3467   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\920-04-spi-gpio-implement
       -spi-delay.patch
3468   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\921-gpio_spi_driver.patch
3469   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\922-gpiommc.patch
3470   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\923-gpiommc-configfs-lock
       ing.patch
3471   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\925-modify-i2c-gpio-initc
       all-level.patch
3472   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\930-kmsg_dump_backport.pa
       tch
3473   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\931-crashlog.patch
3474   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\940-wireless_mesh_header.
       patch
3475   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\951-revert_gcc4_4_fixes.p
       atch
3476   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\975-hifn795x-byteswap.pat
       ch
3477   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\975-ssb_update.patch
3478   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\977-textsearch_kconfig_ha
       cks.patch
3479   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\978-lib80211_kconfig_hack
       s.patch
3480   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\979-crypto_add_kconfig_pr
       ompts.patch
3481   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\980-vm_exports.patch
3482   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\991-ppc4xx_optimization.p
       atch
3483   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\998-openwrt_lzma_options.
       patch
3484   GPL.UBNT.v6.1.7\openwrt\target\linux\generic-2.6\patches-2.6.32\999-use_preinit_as_init.p
       atch
3485   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\base-files
3486   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\config-default
3487   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files
3488   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\image
3489   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\Makefile
3490   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\patches
3491   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\profiles
3492   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\base-files\etc
3493   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\base-files\etc\config
3494   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\base-files\etc\hotplug.d
3495   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\base-files\etc\inittab
3496   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\base-files\etc\hotplug.d\button
3497   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\base-files\etc\hotplug.d\button\00-reset
3498   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\arch
3499   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\drivers
3500   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\include
3501   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\arch\mips
3502   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\arch\mips\ifxmips
3503   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\arch\mips\pci
3504   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\arch\mips\ifxmips\board.c
3505   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\arch\mips\ifxmips\clock.c
3506   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\arch\mips\ifxmips\dma-core.c
3507   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\arch\mips\ifxmips\gpio.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 59 of 285 PageID #:645
3508   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\arch\mips\ifxmips\interrupt.c
3509   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\arch\mips\ifxmips\Kconfig
3510   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\arch\mips\ifxmips\Makefile
3511   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\arch\mips\ifxmips\pmu.c
3512   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\arch\mips\ifxmips\prom.c
3513   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\arch\mips\ifxmips\reset.c
3514   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\arch\mips\ifxmips\setup.c
3515   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\arch\mips\ifxmips\timer.c
3516   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\arch\mips\pci\ops-ifxmips.c
3517   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\arch\mips\pci\pci-ifxmips.c
3518   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\drivers\char
3519   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\drivers\leds
3520   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\drivers\mtd
3521   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\drivers\net
3522   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\drivers\serial
3523   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\drivers\watchdog
3524   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\drivers\char\ifxmips_eeprom.c
3525   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\drivers\char\ifxmips_mei_core.c
3526   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\drivers\char\ifxmips_ssc.c
3527   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\drivers\leds\leds-ifxmips.c
3528   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\drivers\mtd\maps
3529   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\drivers\mtd\maps\ifxmips.c
3530   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\drivers\net\ifxmips_mii0.c
3531   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\drivers\serial\ifxmips_asc.c
3532   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\drivers\watchdog\ifxmips_wdt.c
3533   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\include\asm-mips
3534   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\include\asm-mips\ifxmips
3535   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\include\asm-mips\mach-ifxmips
3536   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\include\asm-mips\ifxmips\ifxmips.h
3537   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\include\asm-mips\ifxmips\ifxmips_cgu.h
3538   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\include\asm-mips\ifxmips\ifxmips_dma.h
3539   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\include\asm-mips\ifxmips\ifxmips_ebu.h
3540   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\include\asm-mips\ifxmips\ifxmips_gpio.
       h
3541   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\include\asm-mips\ifxmips\ifxmips_gptu.
       h
3542   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\include\asm-mips\ifxmips\ifxmips_irq.h
3543   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\include\asm-mips\ifxmips\ifxmips_led.h
3544   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\include\asm-mips\ifxmips\ifxmips_mei.h
3545   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\include\asm-mips\ifxmips\ifxmips_mei_a
       pp.h
3546   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\include\asm-mips\ifxmips\ifxmips_mei_a
       pp_ioctl.h
3547   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\include\asm-mips\ifxmips\ifxmips_mei_b
       sp.h
3548   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\include\asm-mips\ifxmips\ifxmips_mei_i
       octl.h
3549   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\include\asm-mips\ifxmips\ifxmips_mei_l
       inux.h
3550   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\include\asm-mips\ifxmips\ifxmips_pmu.h
3551   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\include\asm-mips\ifxmips\ifxmips_prom.
       h
3552   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\include\asm-mips\ifxmips\ifx_periphera
       l_definitions.h
3553   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\include\asm-mips\ifxmips\ifx_ssc.h
3554   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\include\asm-mips\ifxmips\ifx_ssc_defin
       es.h
3555   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\include\asm-mips\mach-ifxmips\gpio.h
3556   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\include\asm-mips\mach-ifxmips\irq.h
3557   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\files\include\asm-mips\mach-ifxmips\war.h
3558   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\image\Makefile
3559   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\patches\100-board.patch
3560   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\patches\110-drivers.patch
3561   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\patches\160-cfi-swap.patch
3562   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\patches\170-dma_hack.patch
3563   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\profiles\100-Atheros.mk
3564   GPL.UBNT.v6.1.7\openwrt\target\linux\ifxmips\profiles\200-Ralink.mk
3565   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\base-files
3566   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\config-default
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 60 of 285 PageID #:646
3567   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\generic
3568   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\harddisk
3569   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\image
3570   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\Makefile
3571   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches
3572   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\base-files\etc
3573   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\base-files\etc\preinit.arch
3574   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\generic\profiles
3575   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\generic\target.mk
3576   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\generic\profiles\100-Default.mk
3577   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\generic\profiles\105-Atheros-ath5k.mk
3578   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\generic\profiles\200-NSLU2.mk
3579   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\generic\profiles\300-NAS100d.mk
3580   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\generic\profiles\400-DSMG600RevA.mk
3581   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\harddisk\config-default
3582   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\harddisk\profiles
3583   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\harddisk\target.mk
3584   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\harddisk\profiles\100-FSG3.mk
3585   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\image\apex
3586   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\image\Makefile
3587   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\image\apex\Makefile
3588   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\image\apex\patches
3589   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\image\apex\patches\100-openwrt_nslu2_armeb_co
       nfig.patch
3590   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\image\apex\patches\120-openwrt_nslu2_16mb_arm
       eb_config.patch
3591   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\image\apex\patches\140-openwrt_fsg3_armeb_con
       fig.patch
3592   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\030-ixp4xx_fsg_board_support.patch
3593   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\090-increase_entropy_pools.patch
3594   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\100-wg302v2_gateway7001_mac_plat_info
       .patch
3595   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\105-wg302v1_support.patch
3596   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\110-pronghorn_series_support.patch
3597   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\111-pronghorn_swap_uarts.patch
3598   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\115-sidewinder_support.patch
3599   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\116-sidewinder_fis_location.patch
3600   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\120-compex_support.patch
3601   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\130-wrt300nv2_support.patch
3602   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\131-wrt300nv2_mac_plat_info.patch
3603   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\150-lanready_ap1000_support.patch
3604   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\151-lanready_ap1000_mac_plat_info.pat
       ch
3605   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\162-wg302v1_mem_fixup.patch
3606   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\170-ixdpg425_mac_plat_info.patch
3607   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\180-tw5334_support.patch
3608   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\190-cambria_support.patch
3609   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\191-cambria_optional_uart.patch
3610   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\192-cambria_gpio_device.patch
3611   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\201-npe_driver_print_license_location
       .patch
3612   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\202-npe_driver_switch_support.patch
3613   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\203-npe_driver_phy_reset_autoneg.patc
       h
3614   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\204-npe_driver_ixp43x_support.patch
3615   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\210-npe_hss.patch
3616   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\294-eeprom_new_notifier.patch
3617   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\295-latch_led_driver.patch
3618   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\296-avila_mac_plat_info.patch
3619   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\300-avila_fetch_mac.patch
3620   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\301-avila_led.patch
3621   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\302-avila_gpio_device.patch
3622   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\303-avila_gw23x7_phy_quirk.patch
3623   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\310-gtwx5717_spi_bus.patch
3624   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\311-gtwx5717_mac_plat_info.patch
3625   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\312-ixp4xx_pata_optimization.patch
3626   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\400-dmabounce.patch
3627   GPL.UBNT.v6.1.7\openwrt\target\linux\ixp4xx\patches\401-avila_pci_dev.patch
3628   GPL.UBNT.v6.1.7\openwrt\target\linux\magicbox\config-default
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 61 of 285 PageID #:647
3629   GPL.UBNT.v6.1.7\openwrt\target\linux\magicbox\files
3630   GPL.UBNT.v6.1.7\openwrt\target\linux\magicbox\image
3631   GPL.UBNT.v6.1.7\openwrt\target\linux\magicbox\Makefile
3632   GPL.UBNT.v6.1.7\openwrt\target\linux\magicbox\patches
3633   GPL.UBNT.v6.1.7\openwrt\target\linux\magicbox\files\arch
3634   GPL.UBNT.v6.1.7\openwrt\target\linux\magicbox\files\drivers
3635   GPL.UBNT.v6.1.7\openwrt\target\linux\magicbox\files\arch\ppc
3636   GPL.UBNT.v6.1.7\openwrt\target\linux\magicbox\files\arch\ppc\platforms
3637   GPL.UBNT.v6.1.7\openwrt\target\linux\magicbox\files\arch\ppc\platforms\4xx
3638   GPL.UBNT.v6.1.7\openwrt\target\linux\magicbox\files\arch\ppc\platforms\4xx\magicbox.c
3639   GPL.UBNT.v6.1.7\openwrt\target\linux\magicbox\files\arch\ppc\platforms\4xx\magicbox.h
3640   GPL.UBNT.v6.1.7\openwrt\target\linux\magicbox\files\drivers\ide
3641   GPL.UBNT.v6.1.7\openwrt\target\linux\magicbox\files\drivers\ide\ppc
3642   GPL.UBNT.v6.1.7\openwrt\target\linux\magicbox\files\drivers\ide\ppc\magicbox_ide.c
3643   GPL.UBNT.v6.1.7\openwrt\target\linux\magicbox\image\Makefile
3644   GPL.UBNT.v6.1.7\openwrt\target\linux\magicbox\patches\001-magicbox_support.patch
3645   GPL.UBNT.v6.1.7\openwrt\target\linux\magicbox\patches\100-cf_slot.patch
3646   GPL.UBNT.v6.1.7\openwrt\target\linux\ppc40x\config-default
3647   GPL.UBNT.v6.1.7\openwrt\target\linux\ppc40x\image
3648   GPL.UBNT.v6.1.7\openwrt\target\linux\ppc40x\Makefile
3649   GPL.UBNT.v6.1.7\openwrt\target\linux\ppc40x\patches
3650   GPL.UBNT.v6.1.7\openwrt\target\linux\ppc40x\image\Makefile
3651   GPL.UBNT.v6.1.7\openwrt\target\linux\ppc40x\patches\001-kilauea_openwrt_flashmap.patch
3652   GPL.UBNT.v6.1.7\openwrt\target\linux\ppc40x\patches\002-disable_emac_loopback_mode.patch
3653   GPL.UBNT.v6.1.7\openwrt\target\linux\ppc44x\base-files
3654   GPL.UBNT.v6.1.7\openwrt\target\linux\ppc44x\config-default
3655   GPL.UBNT.v6.1.7\openwrt\target\linux\ppc44x\image
3656   GPL.UBNT.v6.1.7\openwrt\target\linux\ppc44x\Makefile
3657   GPL.UBNT.v6.1.7\openwrt\target\linux\ppc44x\patches
3658   GPL.UBNT.v6.1.7\openwrt\target\linux\ppc44x\base-files\etc
3659   GPL.UBNT.v6.1.7\openwrt\target\linux\ppc44x\base-files\etc\inittab
3660   GPL.UBNT.v6.1.7\openwrt\target\linux\ppc44x\image\Makefile
3661   GPL.UBNT.v6.1.7\openwrt\target\linux\ppc44x\patches\001-taishan_openwrt_flashmap.patch
3662   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\base-files
3663   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\base-files.mk
3664   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\config-2.6.23
3665   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files
3666   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23
3667   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\image
3668   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\Makefile
3669   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\patches
3670   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\patches-2.6.23
3671   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\src
3672   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\base-files\etc
3673   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\base-files\sbin
3674   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\base-files\etc\config
3675   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\base-files\etc\diag.sh
3676   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\base-files\sbin\cf2nand
3677   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\base-files\sbin\wget2nand
3678   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files\arch
3679   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files\drivers
3680   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files\include
3681   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files\arch\mips
3682   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files\arch\mips\pci
3683   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files\arch\mips\rb500
3684   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files\drivers\block
3685   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files\drivers\leds
3686   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files\drivers\net
3687   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files\drivers\watchdog
3688   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files\drivers\block\rb500
3689   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files\include\asm-mips
3690   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files\include\asm-mips\rc32434
3691   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\arch
3692   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\drivers
3693   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\include
3694   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\arch\mips
3695   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\arch\mips\pci
3696   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\arch\mips\rb500
3697   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\arch\mips\pci\fixup-rb500.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 62 of 285 PageID #:648
3698   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\arch\mips\pci\ops-rc32434.c
3699   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\arch\mips\pci\pci-rc32434.c
3700   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\arch\mips\rb500\devices.c
3701   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\arch\mips\rb500\gpio.c
3702   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\arch\mips\rb500\irq.c
3703   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\arch\mips\rb500\Makefile
3704   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\arch\mips\rb500\prom.c
3705   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\arch\mips\rb500\serial.c
3706   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\arch\mips\rb500\setup.c
3707   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\arch\mips\rb500\time.c
3708   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\drivers\block
3709   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\drivers\char
3710   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\drivers\leds
3711   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\drivers\net
3712   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\drivers\block\rb500
3713   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\drivers\block\rb500\ata.c
3714   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\drivers\block\rb500\ata.h
3715   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\drivers\block\rb500\bdev.c
3716   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\drivers\block\rb500\Makefile
3717   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\drivers\char\watchdog
3718   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\drivers\char\watchdog\rc32434_wdt
       .c
3719   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\drivers\leds\leds-rb500.c
3720   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\drivers\net\korina.c
3721   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\drivers\net\rc32434_eth.h
3722   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\include\asm-mips
3723   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\include\asm-mips\rc32434
3724   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\include\asm-mips\rc32434\ddr.h
3725   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\include\asm-mips\rc32434\dma.h
3726   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\include\asm-mips\rc32434\dma_v.h
3727   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\include\asm-mips\rc32434\eth.h
3728   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\include\asm-mips\rc32434\eth_v.h
3729   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\include\asm-mips\rc32434\gpio.h
3730   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\include\asm-mips\rc32434\integ.h
3731   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\include\asm-mips\rc32434\irq.h
3732   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\include\asm-mips\rc32434\pci.h
3733   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\include\asm-mips\rc32434\rb.h
3734   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\include\asm-mips\rc32434\rc32434.
       h
3735   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\files-2.6.23\include\asm-mips\rc32434\war.h
3736   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\image\gen_image.sh
3737   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\image\Makefile
3738   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\patches-2.6.23\100-rb5xx_support.patch
3739   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\patches-2.6.23\110-korina_ethernet.patch
3740   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\patches-2.6.23\120-cf.patch
3741   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\patches-2.6.23\140-cmdline_hack.patch
3742   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\patches-2.6.23\200-bridge_resource_hack.patch
3743   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\patches-2.6.23\220-serial_fix.patch
3744   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\patches-2.6.23\240-via_rhine_performance.patch
3745   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\patches-2.6.23\510-rb500_led.patch
3746   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\patches-2.6.23\520-rc32434_wdt.patch
3747   GPL.UBNT.v6.1.7\openwrt\target\linux\rb532\src\patch-cmdline.c
3748   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\base-files
3749   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\config
3750   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\config-default
3751   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files
3752   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\image
3753   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\Makefile
3754   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\patches
3755   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\profiles
3756   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\base-files\etc
3757   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\base-files\etc\config
3758   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\base-files\etc\diag.sh
3759   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\base-files\etc\inittab
3760   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\base-files\etc\config\network
3761   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\config\profile-dir450
3762   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\arch
3763   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\drivers
3764   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\include
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 63 of 285 PageID #:649
3765   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\arch\i386
3766   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\arch\x86
3767   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\arch\i386\kernel
3768   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\arch\i386\mach-rdc
3769   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\arch\i386\kernel\cpu
3770   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\arch\i386\kernel\cpu\rdc.c
3771   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\arch\i386\mach-rdc\gpio.c
3772   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\arch\i386\mach-rdc\Makefile
3773   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\arch\i386\mach-rdc\platform.c
3774   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\arch\i386\mach-rdc\setup.c
3775   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\arch\i386\mach-rdc\wdt.c
3776   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\arch\x86\boot
3777   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\arch\x86\kernel
3778   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\arch\x86\mach-rdc
3779   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\arch\x86\boot\compressed
3780   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\arch\x86\boot\compressed\LzmaDecode.c
3781   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\arch\x86\boot\compressed\LzmaDecode.h
3782   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\arch\x86\boot\compressed\lzma_misc.c
3783   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\arch\x86\kernel\cpu
3784   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\arch\x86\kernel\cpu\rdc.c
3785   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\arch\x86\mach-rdc\gpio.c
3786   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\arch\x86\mach-rdc\Makefile
3787   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\arch\x86\mach-rdc\platform.c
3788   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\arch\x86\mach-rdc\setup.c
3789   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\arch\x86\mach-rdc\wdt.c
3790   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\drivers\mtd
3791   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\drivers\net
3792   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\drivers\mtd\maps
3793   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\drivers\mtd\maps\imghdr.h
3794   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\drivers\mtd\maps\rdc3210.c
3795   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\drivers\net\r6040.c
3796   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\include\asm-i386
3797   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\include\asm-x86
3798   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\include\asm-i386\gpio.h
3799   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\include\asm-i386\mach-generic
3800   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\include\asm-i386\mach-rdc
3801   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\include\asm-i386\mach-generic\gpio.h
3802   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\include\asm-i386\mach-rdc\gpio.h
3803   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\include\asm-i386\mach-rdc\rdc321x_defs.h
3804   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\include\asm-x86\gpio.h
3805   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\include\asm-x86\mach-generic
3806   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\include\asm-x86\mach-rdc
3807   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\include\asm-x86\mach-generic\gpio.h
3808   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\include\asm-x86\mach-rdc\gpio.h
3809   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\files\include\asm-x86\mach-rdc\rdc321x_defs.h
3810   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\image\Makefile
3811   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\patches\001-rdc3210_flash_map.patch
3812   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\patches\001-x86_generic_gpio.patch
3813   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\patches\002-r6040_ethernet.patch
3814   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\patches\003-rootfstype.patch
3815   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\patches\004-rdc_fixes.patch
3816   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\patches\005-cmdline_setup.patch
3817   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\patches\006-pci_ids.patch
3818   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\patches\600-x86_lzma.patch
3819   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\profiles\AR525W.mk
3820   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\profiles\DIR-450.mk
3821   GPL.UBNT.v6.1.7\openwrt\target\linux\rdc\profiles\WL-153.mk
3822   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\config-2.6.32
3823   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files
3824   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\image
3825   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\Makefile
3826   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches
3827   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\profiles
3828   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\arch
3829   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\drivers
3830   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\include
3831   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\net
3832   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\arch\mips
3833   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\arch\mips\ar7240
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 64 of 285 PageID #:650
3834   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\arch\mips\include
3835   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\arch\mips\pci
3836   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\arch\mips\ar7240\ar7240.c
3837   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\arch\mips\ar7240\gpio.c
3838   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\arch\mips\ar7240\irq.c
3839   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\arch\mips\ar7240\Makefile
3840   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\arch\mips\ar7240\platform.c
3841   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\arch\mips\ar7240\prom.c
3842   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\arch\mips\ar7240\setup.c
3843   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\arch\mips\ar7240\wdt.c
3844   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\arch\mips\include\asm
3845   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\arch\mips\include\asm\mach-ar7240
3846   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\arch\mips\include\asm\mach-ar7240\ar7240.
       h
3847   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\arch\mips\include\asm\mach-ar7240\cpu-fea
       ture-overrides.h
3848   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\arch\mips\include\asm\mach-ar7240\i2sio.h
3849   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\arch\mips\include\asm\mach-ar7240\kmalloc
       .h
3850   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\arch\mips\include\asm\mach-ar7240\mangle-
       port.h
3851   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\arch\mips\include\asm\mach-ar7240\war.h
3852   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\arch\mips\pci\fixup-ar7240.c
3853   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\arch\mips\pci\ops-ar7240.c
3854   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\arch\mips\pci\pci-ar7240.c
3855   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\drivers\mtd
3856   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\drivers\usb
3857   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\drivers\mtd\devices
3858   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\drivers\mtd\nand
3859   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\drivers\mtd\devices\ar7240_flash.c
3860   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\drivers\mtd\devices\ar7240_flash.h
3861   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\drivers\mtd\nand\ar7240_nand_ecc.c
3862   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\drivers\usb\gadget
3863   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\drivers\usb\host
3864   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\drivers\usb\gadget\ar9130_defs.h
3865   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\drivers\usb\gadget\ar9130_otg.c
3866   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\drivers\usb\gadget\ar9130_otg.h
3867   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\drivers\usb\gadget\ar9130_udc.c
3868   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\drivers\usb\gadget\ar9130_udc.h
3869   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\drivers\usb\host\ehci-ar9130.c
3870   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\drivers\usb\host\ohci-ar7240.c
3871   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\include\linux
3872   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\include\linux\config.h
3873   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\include\linux\mapping_config.h
3874   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\net\ipv4
3875   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\net\ipv6
3876   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\net\sched
3877   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\net\ipv4\mapping.c
3878   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\net\ipv4\proto_trans.c
3879   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\net\ipv4\proto_trans.h
3880   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\net\ipv6\mapping.c
3881   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\net\ipv6\proto_trans.c
3882   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\net\ipv6\proto_trans.h
3883   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\files\net\sched\wrr.c
3884   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\image\files
3885   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\image\initramfs-base-files.txt
3886   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\image\Makefile
3887   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\001-ubnt-core.patch
3888   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\002-ubnt-kconfig-defaults.patch
3889   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\009-ath-watchdog-atheros.patch
3890   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\010-ath-mtd-flash-spi-atheros.patch
3891   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\011-ath-nand-atheros.patch
3892   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\015-ath-pci-endpoint-atheros.patch
3893   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\020-ath-usb-host-atheros.patch
3894   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\021-ar724x-pcie-reinit.patch
3895   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\021-ath-usb-gadget-atheros.patch
3896   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\055-2x8-and-priv-skb-mem-common-atheros
       .patch
3897   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\057-priv-skb-mem-atheros.patch
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 65 of 285 PageID #:651
3898   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\058-wlan-4kb-skb-opt-atheros.patch
3899   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\091-ath-usb-audio-atheros.patch
3900   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\103-have_mlock-atheros.patch
3901   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\150-siwessid-compat-fix.patch
3902   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\203-htb-atheros.patch
3903   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\204-pci-irq-pins-atheros.patch
3904   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\206-mips-irq-base-0-atheros.patch
3905   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\207-br-bypass-netfilter-forward-hook-at
       heros.patch
3906   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\209-uart-bug-nomsr-atheros.patch
3907   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\211-no-sysfs-link-for-usb-netdev-athero
       s.patch
3908   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\221-ipmr-cache-resolve-queue-len-10.pat
       ch
3909   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\255-net-sched-wrr-atheros.patch
3910   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\257-nf-xt-match-webstr-atheros.patch
3911   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\260-imq-support-atheros.patch
3912   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\262-ip-nf-target-nattype-atheros.patch
3913   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\266-gpio-function.patch
3914   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\267-gpio-driver.patch
3915   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\269-disable-gpio-toggle-on-flash-erase.
       patch
3916   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\270-ar7240-flash-no-size.patch
3917   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\300-ebtables-arpnat.patch
3918   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\303-bridge-hard-header-len.patch
3919   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\310-ppp-mppe-packets-out-of-order-fix.p
       atch
3920   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\311-ppp-info.patch
3921   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\500-bootup-printk.patch
3922   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\510-remove-dbgprint-on-requeue-pkt.patc
       h
3923   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\511-mips-c0r9-cycle-counter.patch
3924   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\512-ar724x-spi-reset-first-and-no-preem
       ption.patch
3925   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\517-sip-direct-media-only-off.patch
3926   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\605-build_skb.patch
3927   GPL.UBNT.v6.1.7\openwrt\target\linux\ubnt\patches\700-hw_watch_point.patch
3928   GPL.UBNT.v6.1.7\openwrt\target\linux\uml\config
3929   GPL.UBNT.v6.1.7\openwrt\target\linux\uml\image
3930   GPL.UBNT.v6.1.7\openwrt\target\linux\uml\Makefile
3931   GPL.UBNT.v6.1.7\openwrt\target\linux\uml\patches
3932   GPL.UBNT.v6.1.7\openwrt\target\linux\uml\README
3933   GPL.UBNT.v6.1.7\openwrt\target\linux\uml\config\i386
3934   GPL.UBNT.v6.1.7\openwrt\target\linux\uml\config\x86_64
3935   GPL.UBNT.v6.1.7\openwrt\target\linux\uml\image\Makefile
3936   GPL.UBNT.v6.1.7\openwrt\target\linux\uml\patches\001-gcc4_unit_at_a_time_i386_fix.patch
3937   GPL.UBNT.v6.1.7\openwrt\target\linux\uml\patches\002-gcc4_unfortify_source.patch
3938   GPL.UBNT.v6.1.7\openwrt\target\linux\x86\base-files
3939   GPL.UBNT.v6.1.7\openwrt\target\linux\x86\config-default
3940   GPL.UBNT.v6.1.7\openwrt\target\linux\x86\generic
3941   GPL.UBNT.v6.1.7\openwrt\target\linux\x86\image
3942   GPL.UBNT.v6.1.7\openwrt\target\linux\x86\Makefile
3943   GPL.UBNT.v6.1.7\openwrt\target\linux\x86\patches
3944   GPL.UBNT.v6.1.7\openwrt\target\linux\x86\base-files\etc
3945   GPL.UBNT.v6.1.7\openwrt\target\linux\x86\base-files\lib
3946   GPL.UBNT.v6.1.7\openwrt\target\linux\x86\base-files\etc\preinit.arch
3947   GPL.UBNT.v6.1.7\openwrt\target\linux\x86\base-files\lib\upgrade
3948   GPL.UBNT.v6.1.7\openwrt\target\linux\x86\base-files\lib\upgrade\platform.sh
3949   GPL.UBNT.v6.1.7\openwrt\target\linux\x86\generic\profiles
3950   GPL.UBNT.v6.1.7\openwrt\target\linux\x86\generic\target.mk
3951   GPL.UBNT.v6.1.7\openwrt\target\linux\x86\generic\profiles\000-Generic.mk
3952   GPL.UBNT.v6.1.7\openwrt\target\linux\x86\generic\profiles\Alix.mk
3953   GPL.UBNT.v6.1.7\openwrt\target\linux\x86\generic\profiles\Pcengines.mk
3954   GPL.UBNT.v6.1.7\openwrt\target\linux\x86\generic\profiles\Soekris.mk
3955   GPL.UBNT.v6.1.7\openwrt\target\linux\x86\image\Config.in
3956   GPL.UBNT.v6.1.7\openwrt\target\linux\x86\image\gen_image.sh
3957   GPL.UBNT.v6.1.7\openwrt\target\linux\x86\image\Makefile
3958   GPL.UBNT.v6.1.7\openwrt\target\linux\x86\image\menu.lst
3959   GPL.UBNT.v6.1.7\openwrt\target\sdk\Config.in
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 66 of 285 PageID #:652
3960   GPL.UBNT.v6.1.7\openwrt\target\sdk\files
3961   GPL.UBNT.v6.1.7\openwrt\target\sdk\Makefile
3962   GPL.UBNT.v6.1.7\openwrt\target\sdk\files\Makefile
3963   GPL.UBNT.v6.1.7\openwrt\target\sdk\files\package
3964   GPL.UBNT.v6.1.7\openwrt\target\sdk\files\README.SDK
3965   GPL.UBNT.v6.1.7\openwrt\target\sdk\files\package\depend.mk
3966   GPL.UBNT.v6.1.7\openwrt\target\sdk\files\package\rules.mk
3967   GPL.UBNT.v6.1.7\openwrt\toolchain\binutils
3968   GPL.UBNT.v6.1.7\openwrt\toolchain\Config.in
3969   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc
3970   GPL.UBNT.v6.1.7\openwrt\toolchain\gdb
3971   GPL.UBNT.v6.1.7\openwrt\toolchain\info.mk
3972   GPL.UBNT.v6.1.7\openwrt\toolchain\kernel-headers
3973   GPL.UBNT.v6.1.7\openwrt\toolchain\Makefile
3974   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc
3975   GPL.UBNT.v6.1.7\openwrt\toolchain\binutils\Config.in
3976   GPL.UBNT.v6.1.7\openwrt\toolchain\binutils\Makefile
3977   GPL.UBNT.v6.1.7\openwrt\toolchain\binutils\patches
3978   GPL.UBNT.v6.1.7\openwrt\toolchain\binutils\patches\2.16.1
3979   GPL.UBNT.v6.1.7\openwrt\toolchain\binutils\patches\2.17
3980   GPL.UBNT.v6.1.7\openwrt\toolchain\binutils\patches\2.18
3981   GPL.UBNT.v6.1.7\openwrt\toolchain\binutils\patches\2.16.1\0002_binutils-texinfo-5.0-gas-d
       oc.patch
3982   GPL.UBNT.v6.1.7\openwrt\toolchain\binutils\patches\2.16.1\0003-binutils-texinfo-5.0.patch
3983   GPL.UBNT.v6.1.7\openwrt\toolchain\binutils\patches\2.17\0002_binutils-texinfo-5.0-gas-doc
       .patch
3984   GPL.UBNT.v6.1.7\openwrt\toolchain\binutils\patches\2.17\0003-binutils-texinfo-5.0.patch
3985   GPL.UBNT.v6.1.7\openwrt\toolchain\binutils\patches\2.17\001-fix_avr32_compile
3986   GPL.UBNT.v6.1.7\openwrt\toolchain\binutils\patches\2.17\100-uclibc-conf.patch
3987   GPL.UBNT.v6.1.7\openwrt\toolchain\binutils\patches\2.17\110-arm-eabi-conf.patch
3988   GPL.UBNT.v6.1.7\openwrt\toolchain\binutils\patches\2.17\300-001_ld_makefile_patch.patch
3989   GPL.UBNT.v6.1.7\openwrt\toolchain\binutils\patches\2.17\300-006_better_file_error.patch
3990   GPL.UBNT.v6.1.7\openwrt\toolchain\binutils\patches\2.17\300-012_check_ldrunpath_length.pa
       tch
3991   GPL.UBNT.v6.1.7\openwrt\toolchain\binutils\patches\2.17\400-mips-ELF_MAXPAGESIZE-4k.patch
3992   GPL.UBNT.v6.1.7\openwrt\toolchain\binutils\patches\2.17\500-avr32.patch
3993   GPL.UBNT.v6.1.7\openwrt\toolchain\binutils\patches\2.17\501-avr32-fix-pool-alignment.patc
       h
3994   GPL.UBNT.v6.1.7\openwrt\toolchain\binutils\patches\2.17\601-cris-errormsg.patch
3995   GPL.UBNT.v6.1.7\openwrt\toolchain\binutils\patches\2.17\610-cris_target.patch
3996   GPL.UBNT.v6.1.7\openwrt\toolchain\binutils\patches\2.17\702-binutils-skip-comments.patch
3997   GPL.UBNT.v6.1.7\openwrt\toolchain\binutils\patches\2.18\0002_binutils-texinfo-5.0-gas-doc
       .patch
3998   GPL.UBNT.v6.1.7\openwrt\toolchain\binutils\patches\2.18\0003-binutils-texinfo-5.0.patch
3999   GPL.UBNT.v6.1.7\openwrt\toolchain\binutils\patches\2.18\100-uclibc-conf.patch
4000   GPL.UBNT.v6.1.7\openwrt\toolchain\binutils\patches\2.18\110-arm-eabi-conf.patch
4001   GPL.UBNT.v6.1.7\openwrt\toolchain\binutils\patches\2.18\300-001_ld_makefile_patch.patch
4002   GPL.UBNT.v6.1.7\openwrt\toolchain\binutils\patches\2.18\300-006_better_file_error.patch
4003   GPL.UBNT.v6.1.7\openwrt\toolchain\binutils\patches\2.18\300-012_check_ldrunpath_length.pa
       tch
4004   GPL.UBNT.v6.1.7\openwrt\toolchain\binutils\patches\2.18\500-avr32.patch
4005   GPL.UBNT.v6.1.7\openwrt\toolchain\binutils\patches\2.18\601-cris-errormsg.patch
4006   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\Config.in
4007   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\Config.version
4008   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\files
4009   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\Makefile
4010   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches
4011   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\files\alternate-arch-cc.in
4012   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\3.4.6
4013   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.1.2
4014   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.2.4
4015   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\3.4.6\100-uclibc-conf.patch
4016   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\3.4.6\200-uclibc-locale.patch
4017   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\3.4.6\300-libstdc++-pic.patch
4018   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\3.4.6\601-gcc34-arm-ldm.patch
4019   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\3.4.6\602-sdk-libstdc++-includes.patch
4020   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\3.4.6\700-pr15068-fix.patch
4021   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\3.4.6\800-arm-bigendian.patch
4022   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\3.4.6\810-arm-bigendian-uclibc.patch
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 67 of 285 PageID #:653
4023   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\3.4.6\910-mbsd_multi.patch
4024   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\3.4.6\arm-softfloat.patch.conditional
4025   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.1.2\100-uclibc-conf.patch
4026   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.1.2\110-arm-eabi.patch
4027   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.1.2\200-uclibc-locale.patch
4028   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.1.2\300-libstdc++-pic.patch
4029   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.1.2\301-missing-execinfo_h.patch
4030   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.1.2\302-c99-snprintf.patch
4031   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.1.2\303-c99-complex-ugly-hack.patch
4032   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.1.2\304-index_macro.patch
4033   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.1.2\500-avr32.patch
4034   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.1.2\740-sh-pr24836.patch
4035   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.1.2\800-arm-bigendian.patch
4036   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.1.2\850-unbreak-armv4t.patch
4037   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.1.2\900-c++_fixes.patch
4038   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.1.2\910-mbsd_multi.patch
4039   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.1.2\910-soft-float.patch
4040   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.2.4\100-uclibc-conf.patch
4041   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.2.4\103-uclibc-conf-noupstream.patch
4042   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.2.4\200-uclibc-locale.patch
4043   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.2.4\203-uclibc-locale-no__x.patch
4044   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.2.4\204-uclibc-locale-wchar_fix.patch
4045   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.2.4\205-uclibc-locale-update.patch
4046   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.2.4\300-libstdc++-pic.patch
4047   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.2.4\301-missing-execinfo_h.patch
4048   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.2.4\302-c99-snprintf.patch
4049   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.2.4\303-c99-complex-ugly-hack.patch
4050   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.2.4\304-index_macro.patch
4051   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.2.4\305-libmudflap-susv3-legacy.patch
4052   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.2.4\306-libstdc++-namespace.patch
4053   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.2.4\307-locale_facets.patch
4054   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.2.4\402-libbackend_dep_gcov-iov.h.patch
4055   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.2.4\800-arm-bigendian.patch
4056   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.2.4\900-avr32_support.patch
4057   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.2.4\901-fix_avr32_breakage.patch
4058   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.2.4\904-flatten-switch-stmt-00.patch
4059   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.2.4\910-mbsd_multi.patch
4060   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.2.4\910-soft-float.patch
4061   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.2.4\920-soft-float.patch
4062   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.2.4\930-eabi_fixes.patch
4063   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.2.4\951-bug_37014.patch
4064   GPL.UBNT.v6.1.7\openwrt\toolchain\gcc\patches\4.2.4\952-bug_34762.patch
4065   GPL.UBNT.v6.1.7\openwrt\toolchain\gdb\Makefile
4066   GPL.UBNT.v6.1.7\openwrt\toolchain\gdb\patches
4067   GPL.UBNT.v6.1.7\openwrt\toolchain\gdb\patches\100-uclibc-conf.patch
4068   GPL.UBNT.v6.1.7\openwrt\toolchain\gdb\patches\200-uclibc-readline-conf.patch
4069   GPL.UBNT.v6.1.7\openwrt\toolchain\gdb\patches\400-mips-coredump.patch
4070   GPL.UBNT.v6.1.7\openwrt\toolchain\gdb\patches\500-thread-timeout.patch
4071   GPL.UBNT.v6.1.7\openwrt\toolchain\gdb\patches\600-debian_10.selected-frame.patch
4072   GPL.UBNT.v6.1.7\openwrt\toolchain\gdb\patches\620-debian_static-thread-db.patch
4073   GPL.UBNT.v6.1.7\openwrt\toolchain\gdb\patches\630-debian_24.tracepoint-segv.patch
4074   GPL.UBNT.v6.1.7\openwrt\toolchain\gdb\patches\640-debian_dwarf2-frame-signal-unwinder.pat
       ch
4075   GPL.UBNT.v6.1.7\openwrt\toolchain\gdb\patches\650-debian_vsyscall-gdb-support.patch
4076   GPL.UBNT.v6.1.7\openwrt\toolchain\gdb\patches\660-debian_dwarf-cfa-restore.patch
4077   GPL.UBNT.v6.1.7\openwrt\toolchain\gdb\patches\680-debian_sim-destdir.patch
4078   GPL.UBNT.v6.1.7\openwrt\toolchain\gdb\patches\690-debian_member-field-symtab.patch
4079   GPL.UBNT.v6.1.7\openwrt\toolchain\gdb\patches\700-debian_cp-pass-by-reference.patch
4080   GPL.UBNT.v6.1.7\openwrt\toolchain\gdb\patches\710-debian_thread-db-multiple-libraries.pat
       ch
4081   GPL.UBNT.v6.1.7\openwrt\toolchain\gdb\patches\720-debian_static-threads-test.patch
4082   GPL.UBNT.v6.1.7\openwrt\toolchain\gdb\patches\730-debian_gdb-fix-tracefork-check.patch
4083   GPL.UBNT.v6.1.7\openwrt\toolchain\gdb\patches\740-debian_make-cv-type-crash.patch
4084   GPL.UBNT.v6.1.7\openwrt\toolchain\gdb\patches\750-debian_sparc-singlestep.patch
4085   GPL.UBNT.v6.1.7\openwrt\toolchain\gdb\patches\760-debian_vsyscall-bfd-close-result.patch
4086   GPL.UBNT.v6.1.7\openwrt\toolchain\gdb\patches\770-debian_vfork-done-spelling.patch
4087   GPL.UBNT.v6.1.7\openwrt\toolchain\gdb\patches\780-debian_gdbserver-rdynamic.patch
4088   GPL.UBNT.v6.1.7\openwrt\toolchain\gdb\patches\790-debian_dwarf2-cfi-warning.patch
4089   GPL.UBNT.v6.1.7\openwrt\toolchain\gdb\patches\800-debian_linux-use-underscore-exit.patch
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 68 of 285 PageID #:654
4090   GPL.UBNT.v6.1.7\openwrt\toolchain\gdb\patches\810-debian_bfd-no-kylix-crash.patch
4091   GPL.UBNT.v6.1.7\openwrt\toolchain\gdb\patches\820-debian_disable-linux-fork-messages.patc
       h
4092   GPL.UBNT.v6.1.7\openwrt\toolchain\gdb\patches\900-fix-arm-build.patch
4093   GPL.UBNT.v6.1.7\openwrt\toolchain\kernel-headers\Makefile
4094   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config
4095   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config-0.9.32
4096   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\Config.in
4097   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\Config.version
4098   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\Makefile
4099   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches
4100   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches-0.9.32
4101   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config\0.9.28.2
4102   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config\arm
4103   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config\arm.storm
4104   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config\armeb
4105   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config\avr32
4106   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config\cris
4107   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config\i386
4108   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config\i686
4109   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config\mips
4110   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config\mipsel
4111   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config\powerpc
4112   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config\x86_64
4113   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config\0.9.28.2\arm
4114   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config\0.9.28.2\armeb
4115   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config\0.9.28.2\avr32
4116   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config\0.9.28.2\cris
4117   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config\0.9.28.2\i386
4118   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config\0.9.28.2\mips
4119   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config\0.9.28.2\mipsel
4120   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config\0.9.28.2\powerpc
4121   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config\0.9.28.2\x86_64
4122   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config-0.9.32\arm
4123   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config-0.9.32\armeb
4124   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config-0.9.32\avr32
4125   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config-0.9.32\common
4126   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config-0.9.32\cris
4127   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config-0.9.32\debug
4128   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config-0.9.32\i386
4129   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config-0.9.32\i686
4130   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config-0.9.32\m68k
4131   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config-0.9.32\mips
4132   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config-0.9.32\mips64
4133   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config-0.9.32\mips64el
4134   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config-0.9.32\mipsel
4135   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config-0.9.32\mipsel.brcm-2.4
4136   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config-0.9.32\mipsel.cobalt
4137   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config-0.9.32\powerpc
4138   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config-0.9.32\powerpc.mpc85xx
4139   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config-0.9.32\sparc
4140   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config-0.9.32\sparc.leon
4141   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config-0.9.32\ubicom32
4142   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\config-0.9.32\x86_64
4143   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\0.9.28.2
4144   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\001-fix_mmap.patch
4145   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\002-conditional_sched_affinity.patch
4146   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\004-fix_gethostent_r_failure_retval.patc
       h
4147   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\005-fix_internal_function_definition.pat
       ch
4148   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\006-rm_whitespace.patch
4149   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\007-avr32.patch
4150   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\008-avr32_fix_sa_onstack.patch
4151   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\009-fix_getaddrinfo_infinite_loop.patch
4152   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\010-config-gcc-5x-compile.patch
4153   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\100-termios.patch
4154   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\110-compat_macros.patch
4155   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\120-adjtimex.patch
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 69 of 285 PageID #:655
4156   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\130-compile_fixes.patch
4157   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\130-sockets_throw.patch
4158   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\140-fix-endless-recursion-in-pthread.pat
       ch
4159   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\141-fix-daemon-to-support-pthread.patch
4160   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\150-fix-ldso-text-realloc-segfault.patch
4161   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\170-enable-getifaddrs.patch
4162   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\180-epoll_create1.patch
4163   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\181-sock_cloexec.patch
4164   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\182-timerfd.patch
4165   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\183-dn_comp.patch
4166   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\991-CVE-2016-2224-2225.patch
4167   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\0.9.28.2\100-revert_broken_stuff.patch
4168   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\0.9.28.2\120-more_standard_math.patch
4169   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\0.9.28.2\150-portability.patch
4170   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\0.9.28.2\160-move_stack_end.patch
4171   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\0.9.28.2\190-uml_x86_64_hack.patch
4172   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\0.9.28.2\200-cris-syscall6.patch
4173   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\0.9.28.2\230-cris-pagesize.patch
4174   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\0.9.28.2\240-cris-crt0.patch
4175   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\0.9.28.2\250-cris-errno.patch
4176   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\0.9.28.2\300-let-optimized-stringops-ove
       rride-default-ones.patch
4177   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\0.9.28.2\301-fix-getrusage-argument-type
       .patch
4178   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\0.9.28.2\302-fix-__libc_fcntl64-varargs-
       prototype.patch
4179   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\0.9.28.2\303-fix-broken-__libc_open-decl
       aration.patch
4180   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\0.9.28.2\400-avr32-arch-2.patch
4181   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\0.9.28.2\401-avr32-linkrelax-option.patc
       h
4182   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\0.9.28.2\402-avr32-string-ops.patch
4183   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\0.9.28.2\403-no-create_module-on-avr32.p
       atch
4184   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\0.9.28.2\407-ldso-avr32-2.patch
4185   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\0.9.28.2\409-ldso-avr32-startup-hack.pat
       ch
4186   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\0.9.28.2\410-ldd-avr32-support.patch
4187   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\0.9.28.2\411-libpthread-avr32.patch
4188   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches\0.9.28.2\412-sync-fcntl-h-with-linux-ker
       nel.patch
4189   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches-0.9.32\100-do_not_select_extra-warnings.
       patch
4190   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches-0.9.32\110-compat_macros.patch
4191   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches-0.9.32\120-adjtimex.patch
4192   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches-0.9.32\130-ldso-fix-__dl_parse_dynamic_i
       nfo-segfault.patch
4193   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches-0.9.32\140-avr32_atomic_fix.patch
4194   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches-0.9.32\170-math_finite.patch
4195   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches-0.9.32\180-pthread_cleanup_fix.patch
4196   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches-0.9.32\190-nptl_use_arch_default_stack_l
       imit.patch
4197   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches-0.9.32\410-llvm_workaround.patch
4198   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches-0.9.32\450-powerpc_copysignl.patch
4199   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches-0.9.32\460-powerpc_libm_fixes.patch
4200   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches-0.9.32\600-ubicom32-uClibc.patch
4201   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches-0.9.32\601-ubicom32_uClibc_fixes.patch
4202   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches-0.9.32\900-reorder_use_bx.patch
4203   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches-0.9.32\910-thumb_blind_options.patch
4204   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches-0.9.32\920-remove_sub-arch_variants.patc
       h
4205   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches-0.9.32\930-transform_eabi_oabi_choice.pa
       tch
4206   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches-0.9.32\940-include_arm-asm.h.patch
4207   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches-0.9.32\950-detect_bx_availibility.patch
4208   GPL.UBNT.v6.1.7\openwrt\toolchain\uClibc\patches-0.9.32\960-remove_eabi_oabi_selection.pa
       tch
4209   GPL.UBNT.v6.1.7\openwrt\tools\autoconf
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 70 of 285 PageID #:656
4210   GPL.UBNT.v6.1.7\openwrt\tools\automake
4211   GPL.UBNT.v6.1.7\openwrt\tools\bison
4212   GPL.UBNT.v6.1.7\openwrt\tools\ccache
4213   GPL.UBNT.v6.1.7\openwrt\tools\dtc
4214   GPL.UBNT.v6.1.7\openwrt\tools\firmware-utils
4215   GPL.UBNT.v6.1.7\openwrt\tools\genext2fs
4216   GPL.UBNT.v6.1.7\openwrt\tools\include
4217   GPL.UBNT.v6.1.7\openwrt\tools\ipkg-utils
4218   GPL.UBNT.v6.1.7\openwrt\tools\lua
4219   GPL.UBNT.v6.1.7\openwrt\tools\lzma
4220   GPL.UBNT.v6.1.7\openwrt\tools\lzma-new
4221   GPL.UBNT.v6.1.7\openwrt\tools\Makefile
4222   GPL.UBNT.v6.1.7\openwrt\tools\mkimage
4223   GPL.UBNT.v6.1.7\openwrt\tools\mtd-utils
4224   GPL.UBNT.v6.1.7\openwrt\tools\patch-cmdline
4225   GPL.UBNT.v6.1.7\openwrt\tools\pkg-config
4226   GPL.UBNT.v6.1.7\openwrt\tools\quilt
4227   GPL.UBNT.v6.1.7\openwrt\tools\sed
4228   GPL.UBNT.v6.1.7\openwrt\tools\squashfs
4229   GPL.UBNT.v6.1.7\openwrt\tools\squashfs4
4230   GPL.UBNT.v6.1.7\openwrt\tools\sstrip
4231   GPL.UBNT.v6.1.7\openwrt\tools\autoconf\Makefile
4232   GPL.UBNT.v6.1.7\openwrt\tools\autoconf\patches
4233   GPL.UBNT.v6.1.7\openwrt\tools\autoconf\patches\001-no_emacs_lib.patch
4234   GPL.UBNT.v6.1.7\openwrt\tools\automake\files
4235   GPL.UBNT.v6.1.7\openwrt\tools\automake\Makefile
4236   GPL.UBNT.v6.1.7\openwrt\tools\automake\files\aclocal
4237   GPL.UBNT.v6.1.7\openwrt\tools\bison\Makefile
4238   GPL.UBNT.v6.1.7\openwrt\tools\ccache\Makefile
4239   GPL.UBNT.v6.1.7\openwrt\tools\dtc\Makefile
4240   GPL.UBNT.v6.1.7\openwrt\tools\firmware-utils\Makefile
4241   GPL.UBNT.v6.1.7\openwrt\tools\firmware-utils\src
4242   GPL.UBNT.v6.1.7\openwrt\tools\firmware-utils\src\addpattern.c
4243   GPL.UBNT.v6.1.7\openwrt\tools\firmware-utils\src\add_header.c
4244   GPL.UBNT.v6.1.7\openwrt\tools\firmware-utils\src\airlink.c
4245   GPL.UBNT.v6.1.7\openwrt\tools\firmware-utils\src\csysimg.h
4246   GPL.UBNT.v6.1.7\openwrt\tools\firmware-utils\src\dgfirmware.c
4247   GPL.UBNT.v6.1.7\openwrt\tools\firmware-utils\src\fw.h
4248   GPL.UBNT.v6.1.7\openwrt\tools\firmware-utils\src\imagetag.c
4249   GPL.UBNT.v6.1.7\openwrt\tools\firmware-utils\src\lzma2eva.c
4250   GPL.UBNT.v6.1.7\openwrt\tools\firmware-utils\src\mkcasfw.c
4251   GPL.UBNT.v6.1.7\openwrt\tools\firmware-utils\src\mkcsysimg.c
4252   GPL.UBNT.v6.1.7\openwrt\tools\firmware-utils\src\mkfwimage.c
4253   GPL.UBNT.v6.1.7\openwrt\tools\firmware-utils\src\mkmylofw.c
4254   GPL.UBNT.v6.1.7\openwrt\tools\firmware-utils\src\mkzynfw.c
4255   GPL.UBNT.v6.1.7\openwrt\tools\firmware-utils\src\motorola-bin.c
4256   GPL.UBNT.v6.1.7\openwrt\tools\firmware-utils\src\myloader.h
4257   GPL.UBNT.v6.1.7\openwrt\tools\firmware-utils\src\ptgen.c
4258   GPL.UBNT.v6.1.7\openwrt\tools\firmware-utils\src\srec2bin.c
4259   GPL.UBNT.v6.1.7\openwrt\tools\firmware-utils\src\trx.c
4260   GPL.UBNT.v6.1.7\openwrt\tools\firmware-utils\src\trx2usr.c
4261   GPL.UBNT.v6.1.7\openwrt\tools\firmware-utils\src\zynos.h
4262   GPL.UBNT.v6.1.7\openwrt\tools\genext2fs\Makefile
4263   GPL.UBNT.v6.1.7\openwrt\tools\genext2fs\patches
4264   GPL.UBNT.v6.1.7\openwrt\tools\genext2fs\patches\01-remove_getline.patch
4265   GPL.UBNT.v6.1.7\openwrt\tools\include\byteswap.h
4266   GPL.UBNT.v6.1.7\openwrt\tools\include\endian.h
4267   GPL.UBNT.v6.1.7\openwrt\tools\include\getline.h
4268   GPL.UBNT.v6.1.7\openwrt\tools\ipkg-utils\Makefile
4269   GPL.UBNT.v6.1.7\openwrt\tools\ipkg-utils\patches
4270   GPL.UBNT.v6.1.7\openwrt\tools\ipkg-utils\patches\100-build_clean.patch
4271   GPL.UBNT.v6.1.7\openwrt\tools\ipkg-utils\patches\110-buildpackage.patch
4272   GPL.UBNT.v6.1.7\openwrt\tools\ipkg-utils\patches\111-buildpackage_conffiles.patch
4273   GPL.UBNT.v6.1.7\openwrt\tools\ipkg-utils\patches\120-build_tar.patch
4274   GPL.UBNT.v6.1.7\openwrt\tools\ipkg-utils\patches\130-tar_wildcards.patch
4275   GPL.UBNT.v6.1.7\openwrt\tools\ipkg-utils\patches\140-portability.patch
4276   GPL.UBNT.v6.1.7\openwrt\tools\ipkg-utils\patches\150-uppercase_letters.patch
4277   GPL.UBNT.v6.1.7\openwrt\tools\ipkg-utils\patches\160-find.patch
4278   GPL.UBNT.v6.1.7\openwrt\tools\lua\Makefile
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 71 of 285 PageID #:657
4279   GPL.UBNT.v6.1.7\openwrt\tools\lua\patches
4280   GPL.UBNT.v6.1.7\openwrt\tools\lua\patches\010-lua-5.1.3-lnum-full-260308.patch
4281   GPL.UBNT.v6.1.7\openwrt\tools\lua\patches\015-lnum-ppc-compat.patch
4282   GPL.UBNT.v6.1.7\openwrt\tools\lua\patches\020-shared_liblua.patch
4283   GPL.UBNT.v6.1.7\openwrt\tools\lua\patches\030-archindependent-bytecode.patch
4284   GPL.UBNT.v6.1.7\openwrt\tools\lua\patches\100-no_readline.patch
4285   GPL.UBNT.v6.1.7\openwrt\tools\lua\patches\200-lua-path.patch
4286   GPL.UBNT.v6.1.7\openwrt\tools\lua\patches\300-opcode_performance.patch
4287   GPL.UBNT.v6.1.7\openwrt\tools\lzma\Makefile
4288   GPL.UBNT.v6.1.7\openwrt\tools\lzma\patches
4289   GPL.UBNT.v6.1.7\openwrt\tools\lzma\patches\100-lzma_zlib.patch
4290   GPL.UBNT.v6.1.7\openwrt\tools\lzma\patches\110-ranlib.patch
4291   GPL.UBNT.v6.1.7\openwrt\tools\lzma-new\Makefile
4292   GPL.UBNT.v6.1.7\openwrt\tools\lzma-new\patches
4293   GPL.UBNT.v6.1.7\openwrt\tools\lzma-new\patches\001-large_files.patch
4294   GPL.UBNT.v6.1.7\openwrt\tools\lzma-new\patches\002-lzmp.patch
4295   GPL.UBNT.v6.1.7\openwrt\tools\lzma-new\patches\003-compile_fixes.patch
4296   GPL.UBNT.v6.1.7\openwrt\tools\lzma-new\patches\100-static_library.patch
4297   GPL.UBNT.v6.1.7\openwrt\tools\mkimage\Makefile
4298   GPL.UBNT.v6.1.7\openwrt\tools\mkimage\src
4299   GPL.UBNT.v6.1.7\openwrt\tools\mkimage\src\crc32.c
4300   GPL.UBNT.v6.1.7\openwrt\tools\mkimage\src\image.h
4301   GPL.UBNT.v6.1.7\openwrt\tools\mkimage\src\mkimage.c
4302   GPL.UBNT.v6.1.7\openwrt\tools\mtd-utils\Makefile
4303   GPL.UBNT.v6.1.7\openwrt\tools\mtd-utils\patches
4304   GPL.UBNT.v6.1.7\openwrt\tools\mtd-utils\patches\100-gcc4_fix.patch
4305   GPL.UBNT.v6.1.7\openwrt\tools\mtd-utils\patches\110-portability_fix.patch
4306   GPL.UBNT.v6.1.7\openwrt\tools\patch-cmdline\Makefile
4307   GPL.UBNT.v6.1.7\openwrt\tools\patch-cmdline\src
4308   GPL.UBNT.v6.1.7\openwrt\tools\patch-cmdline\src\patch-cmdline.c
4309   GPL.UBNT.v6.1.7\openwrt\tools\pkg-config\files
4310   GPL.UBNT.v6.1.7\openwrt\tools\pkg-config\Makefile
4311   GPL.UBNT.v6.1.7\openwrt\tools\pkg-config\files\pkg-config
4312   GPL.UBNT.v6.1.7\openwrt\tools\quilt\Makefile
4313   GPL.UBNT.v6.1.7\openwrt\tools\quilt\patches
4314   GPL.UBNT.v6.1.7\openwrt\tools\quilt\patches\001-fix_compile.patch
4315   GPL.UBNT.v6.1.7\openwrt\tools\quilt\patches\100-patch_2.6.1_version.patch
4316   GPL.UBNT.v6.1.7\openwrt\tools\sed\Makefile
4317   GPL.UBNT.v6.1.7\openwrt\tools\squashfs\Makefile
4318   GPL.UBNT.v6.1.7\openwrt\tools\squashfs\patches
4319   GPL.UBNT.v6.1.7\openwrt\tools\squashfs\patches\100-lzma.patch
4320   GPL.UBNT.v6.1.7\openwrt\tools\squashfs4\Makefile
4321   GPL.UBNT.v6.1.7\openwrt\tools\squashfs4\patches
4322   GPL.UBNT.v6.1.7\openwrt\tools\squashfs4\patches\100-portability.patch
4323   GPL.UBNT.v6.1.7\openwrt\tools\squashfs4\patches\110-lzma.patch
4324   GPL.UBNT.v6.1.7\openwrt\tools\squashfs4\patches\120-cygwin_fixes.patch
4325   GPL.UBNT.v6.1.7\openwrt\tools\squashfs4\patches\130-dynamic_lzma_params.patch
4326   GPL.UBNT.v6.1.7\openwrt\tools\squashfs4\patches\140-mode_check.patch
4327   GPL.UBNT.v6.1.7\openwrt\tools\squashfs4\patches\150-freebsd_fixes.patch
4328   GPL.UBNT.v6.1.7\openwrt\tools\sstrip\include
4329   GPL.UBNT.v6.1.7\openwrt\tools\sstrip\Makefile
4330   GPL.UBNT.v6.1.7\openwrt\tools\sstrip\src
4331   GPL.UBNT.v6.1.7\openwrt\tools\sstrip\include\elf.h
4332   GPL.UBNT.v6.1.7\openwrt\tools\sstrip\src\sstrip.c
4333   GPL.UBNT.v6.1.7\uboot\uboot-ti
4334   GPL.UBNT.v6.1.7\uboot\uboot-xm
4335   GPL.UBNT.v6.1.7\uboot\uboot-xw
4336   GPL.UBNT.v6.1.7\uboot\uboot-ti\arm_config.mk
4337   GPL.UBNT.v6.1.7\uboot\uboot-ti\blackfin_config.mk
4338   GPL.UBNT.v6.1.7\uboot\uboot-ti\board
4339   GPL.UBNT.v6.1.7\uboot\uboot-ti\boot
4340   GPL.UBNT.v6.1.7\uboot\uboot-ti\CHANGELOG
4341   GPL.UBNT.v6.1.7\uboot\uboot-ti\common
4342   GPL.UBNT.v6.1.7\uboot\uboot-ti\config.mk
4343   GPL.UBNT.v6.1.7\uboot\uboot-ti\COPYING
4344   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu
4345   GPL.UBNT.v6.1.7\uboot\uboot-ti\CREDITS
4346   GPL.UBNT.v6.1.7\uboot\uboot-ti\disk
4347   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18   Page 72 of 285 PageID #:658
4348   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers
4349   GPL.UBNT.v6.1.7\uboot\uboot-ti\dtt
4350   GPL.UBNT.v6.1.7\uboot\uboot-ti\examples
4351   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs
4352   GPL.UBNT.v6.1.7\uboot\uboot-ti\i386_config.mk
4353   GPL.UBNT.v6.1.7\uboot\uboot-ti\include
4354   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_arm
4355   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_blackfin
4356   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_bootstrap
4357   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_generic
4358   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_i386
4359   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_m68k
4360   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_microblaze
4361   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_mips
4362   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_nios
4363   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_nios2
4364   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_ppc
4365   GPL.UBNT.v6.1.7\uboot\uboot-ti\m68k_config.mk
4366   GPL.UBNT.v6.1.7\uboot\uboot-ti\MAINTAINERS
4367   GPL.UBNT.v6.1.7\uboot\uboot-ti\MAKEALL
4368   GPL.UBNT.v6.1.7\uboot\uboot-ti\Makefile
4369   GPL.UBNT.v6.1.7\uboot\uboot-ti\microblaze_config.mk
4370   GPL.UBNT.v6.1.7\uboot\uboot-ti\mips_config.mk
4371   GPL.UBNT.v6.1.7\uboot\uboot-ti\mkconfig
4372   GPL.UBNT.v6.1.7\uboot\uboot-ti\net
4373   GPL.UBNT.v6.1.7\uboot\uboot-ti\nios2_config.mk
4374   GPL.UBNT.v6.1.7\uboot\uboot-ti\nios_config.mk
4375   GPL.UBNT.v6.1.7\uboot\uboot-ti\post
4376   GPL.UBNT.v6.1.7\uboot\uboot-ti\ppc_config.mk
4377   GPL.UBNT.v6.1.7\uboot\uboot-ti\README
4378   GPL.UBNT.v6.1.7\uboot\uboot-ti\rtc
4379   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools
4380   GPL.UBNT.v6.1.7\uboot\uboot-ti\U_BOOT_DIFF_README
4381   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\a3000
4382   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\adder
4383   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\adsvix
4384   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\alaska
4385   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\altera
4386   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc
4387   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amirix
4388   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100
4389   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240
4390   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\armadillo
4391   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\assabet
4392   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\at91rm9200dk
4393   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\atc
4394   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\AtmarkTechno
4395   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\barco
4396   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\bmw
4397   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\c2mon
4398   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\canmb
4399   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cds
4400   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cerf250
4401   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cm4008
4402   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cm41xx
4403   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cmc_pu2
4404   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cmi
4405   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cobra5272
4406   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cogent
4407   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cpc45
4408   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cpu86
4409   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cpu87
4410   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cradle
4411   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cray
4412   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\csb226
4413   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\csb272
4414   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\csb472
4415   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\csb637
4416   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cu824
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18   Page 73 of 285 PageID #:659
4417   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\dave
4418   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\dbau1x00
4419   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\delta
4420   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\dnp1110
4421   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eltec
4422   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\emk
4423   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ep7312
4424   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ep8248
4425   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ep8260
4426   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ep88x
4427   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eric
4428   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd
4429   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esteem192e
4430   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\etin
4431   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\etx094
4432   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb4510
4433   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb64260
4434   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eXalion
4435   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\exbitgen
4436   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ezkit533
4437   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\fads
4438   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\flagadm
4439   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\funkwerk
4440   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\g2000
4441   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gcplus
4442   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gen860t
4443   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\genietv
4444   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gth
4445   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gw8260
4446   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hermes
4447   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hidden_dragon
4448   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hmi1001
4449   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hymod
4450   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\icecube
4451   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\icu862
4452   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ids8247
4453   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\impa7
4454   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\incaip
4455   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\inka4x0
4456   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\innokom
4457   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\integratorap
4458   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\integratorcp
4459   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ip860
4460   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\iphase4539
4461   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ispan
4462   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ivm
4463   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ixdp425
4464   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\jse
4465   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\kb9202
4466   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\kup
4467   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lantec
4468   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lart
4469   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\LEOX
4470   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\logodl
4471   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lpd7a40x
4472   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lubbock
4473   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lwmon
4474   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\m5272c3
4475   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\m5282evb
4476   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI
4477   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell
4478   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mbx8xx
4479   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mcc200
4480   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ml2
4481   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\modnet50
4482   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mousse
4483   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mp2usb
4484   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8260ads
4485   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8266ads
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18   Page 74 of 285 PageID #:660
4486   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8349ads
4487   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8349emds
4488   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8540ads
4489   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8540eval
4490   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8560ads
4491   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl
4492   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\musenki
4493   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mvblue
4494   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mvs1
4495   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mx1ads
4496   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mx1fs2
4497   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\nc650
4498   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netphone
4499   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netstar
4500   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netta
4501   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netta2
4502   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netvia
4503   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ns9750dev
4504   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\nx823
4505   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\o2dnt
4506   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\omap1510inn
4507   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\omap1610inn
4508   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\omap2420h4
4509   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\omap5912osk
4510   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\omap730p2
4511   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\oxc
4512   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pb1x00
4513   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pcippc2
4514   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pleb2
4515   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pm520
4516   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pm826
4517   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pm828
4518   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pm854
4519   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pm856
4520   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pn62
4521   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ppmc8260
4522   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\prodrive
4523   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\psyent
4524   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\purple
4525   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pxa255_idp
4526   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\quantum
4527   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\r360mpi
4528   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\rattler
4529   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\rbc823
4530   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\rmu
4531   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\RPXClassic
4532   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\RPXlite
4533   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\RPXlite_dw
4534   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\rpxsuper
4535   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\RRvision
4536   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\rsdproto
4537   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sacsng
4538   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandburst
4539   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandpoint
4540   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sbc405
4541   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sbc8240
4542   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sbc8260
4543   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sbc8560
4544   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sc520_cdp
4545   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sc520_spunk
4546   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\scb9328
4547   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\shannon
4548   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens
4549   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sixnet
4550   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sl8245
4551   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\smdk2400
4552   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\smdk2410
4553   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\snmc
4554   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sorcery
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 75 of   285 PageID #:661
4555   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\spd8xx
4556   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ssv
4557   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\stamp
4558   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\stxgp3
4559   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\stxxtc
4560   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\svm_sc8xx
4561   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sx1
4562   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tb0229
4563   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\total5200
4564   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tqm5200
4565   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tqm8260
4566   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tqm834x
4567   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tqm85xx
4568   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tqm8xx
4569   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\trab
4570   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\uc100
4571   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\utx8245
4572   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\v37
4573   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\versatile
4574   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\voiceblue
4575   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\w7o
4576   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\wepep250
4577   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\westel
4578   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xaeniax
4579   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx
4580   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xm250
4581   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xpedite1k
4582   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xsengine
4583   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\zpc1900
4584   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\zylonite
4585   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\a3000\a3000.c
4586   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\a3000\config.mk
4587   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\a3000\flash.c
4588   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\a3000\Makefile
4589   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\a3000\README
4590   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\a3000\u-boot.lds
4591   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\adder\adder.c
4592   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\adder\config.mk
4593   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\adder\Makefile
4594   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\adder\u-boot.lds
4595   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\adsvix\adsvix.c
4596   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\adsvix\config.mk
4597   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\adsvix\lowlevel_init.S
4598   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\adsvix\Makefile
4599   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\adsvix\pcmcia.c
4600   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\adsvix\pxavoltage.S
4601   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\adsvix\u-boot.lds
4602   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\alaska\alaska.c
4603   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\alaska\config.mk
4604   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\alaska\flash.c
4605   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\alaska\Makefile
4606   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\alaska\u-boot.lds
4607   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\altera\common
4608   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\altera\dk1c20
4609   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\altera\dk1s10
4610   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\altera\common\flash.c
4611   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\altera\common\sevenseg.c
4612   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\altera\common\sevenseg.h
4613   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\altera\dk1c20\config.mk
4614   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\altera\dk1c20\dk1c20.c
4615   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\altera\dk1c20\flash.c
4616   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\altera\dk1c20\Makefile
4617   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\altera\dk1c20\misc.c
4618   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\altera\dk1c20\u-boot.lds
4619   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\altera\dk1c20\vectors.S
4620   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\altera\dk1s10\config.mk
4621   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\altera\dk1s10\dk1s10.c
4622   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\altera\dk1s10\flash.c
4623   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\altera\dk1s10\Makefile
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 76 of 285 PageID   #:662
4624   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\altera\dk1s10\misc.c
4625   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\altera\dk1s10\u-boot.lds
4626   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\altera\dk1s10\vectors.S
4627   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\bamboo
4628   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\bubinga
4629   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\common
4630   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\ebony
4631   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\luan
4632   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\ocotea
4633   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\walnut
4634   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\yellowstone
4635   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\yosemite
4636   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\bamboo\bamboo.c
4637   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\bamboo\bamboo.h
4638   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\bamboo\config.mk
4639   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\bamboo\flash.c
4640   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\bamboo\init.S
4641   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\bamboo\Makefile
4642   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\bamboo\u-boot.lds
4643   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\bubinga\bubinga.c
4644   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\bubinga\config.mk
4645   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\bubinga\flash.c
4646   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\bubinga\Makefile
4647   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\bubinga\u-boot.lds
4648   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\common\flash.c
4649   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\ebony\config.mk
4650   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\ebony\ebony.c
4651   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\ebony\flash.c
4652   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\ebony\init.S
4653   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\ebony\Makefile
4654   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\ebony\u-boot.lds
4655   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\luan\config.mk
4656   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\luan\epld.h
4657   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\luan\flash.c
4658   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\luan\init.S
4659   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\luan\luan.c
4660   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\luan\Makefile
4661   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\luan\u-boot.lds
4662   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\ocotea\config.mk
4663   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\ocotea\flash.c
4664   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\ocotea\init.S
4665   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\ocotea\Makefile
4666   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\ocotea\ocotea.c
4667   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\ocotea\ocotea.h
4668   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\ocotea\u-boot.lds
4669   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\walnut\config.mk
4670   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\walnut\flash.c
4671   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\walnut\Makefile
4672   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\walnut\u-boot.lds
4673   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\walnut\walnut.c
4674   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\yellowstone\config.mk
4675   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\yellowstone\init.S
4676   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\yellowstone\Makefile
4677   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\yellowstone\u-boot.lds
4678   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\yellowstone\yellowstone.c
4679   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\yosemite\config.mk
4680   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\yosemite\init.S
4681   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\yosemite\Makefile
4682   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\yosemite\u-boot.lds
4683   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amcc\yosemite\yosemite.c
4684   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amirix\ap1000
4685   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amirix\ap1000\ap1000.c
4686   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amirix\ap1000\ap1000.h
4687   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amirix\ap1000\config.mk
4688   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amirix\ap1000\flash.c
4689   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amirix\ap1000\init.S
4690   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amirix\ap1000\Makefile
4691   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amirix\ap1000\pci.c
4692   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amirix\ap1000\powerspan.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 77 of 285 PageID #:663
4693   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amirix\ap1000\powerspan.h
4694   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amirix\ap1000\serial.c
4695   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\amirix\ap1000\u-boot.lds
4696   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\ap81
4697   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\ap83
4698   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\ap94
4699   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\ap96
4700   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\common
4701   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\pb42
4702   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\pb44
4703   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\pb47
4704   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\tb225
4705   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\tb243
4706   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\ap81\ap81.c
4707   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\ap81\config.mk
4708   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\ap81\flash.c
4709   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\ap81\Makefile
4710   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\ap81\u-boot.lds
4711   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\ap83\ap83.c
4712   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\ap83\config.mk
4713   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\ap83\flash.c
4714   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\ap83\Makefile
4715   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\ap83\u-boot.lds
4716   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\ap94\ap94.c
4717   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\ap94\ap94_pci.c
4718   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\ap94\athrs26_phy.c
4719   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\ap94\athrs26_phy.h
4720   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\ap94\config.mk
4721   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\ap94\lowlevel_init.S
4722   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\ap94\Makefile
4723   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\ap94\u-boot.lds
4724   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\ap96\ap96.c
4725   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\ap96\config.mk
4726   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\ap96\Makefile
4727   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\ap96\u-boot.lds
4728   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\common\ar7100_flash.c
4729   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\common\ar7100_flash.h
4730   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\common\ar9100_pflash.c
4731   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\common\athrf1_phy.c
4732   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\common\athrs16_phy.c
4733   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\common\athrs16_phy.h
4734   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\common\athrs26_phy.c
4735   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\common\athrs26_phy.h
4736   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\common\athr_phy.h
4737   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\common\g5e_Plus1_2_29a_unmanaged_Atheros_v3.c
4738   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\common\g5_Plus1_2_29a_unmanaged_Atheros_v5.c
4739   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\common\g5_Plus1_2_29b_unmanaged_Atheros_v5.c
4740   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\common\g5_Plus1_2_31_unmanaged_Atheros_v3.c
4741   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\common\g5_Plus1_2_31_unmanaged_Atheros_v4.c
4742   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\common\generic_i2c.c
4743   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\common\generic_i2c.h
4744   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\common\generic_spi.c
4745   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\common\generic_spi.h
4746   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\common\ipPhy.c
4747   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\common\ipPhy.h
4748   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\common\lowlevel_init.S
4749   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\common\lowlevel_init_ar9100.S
4750   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\common\phy.h
4751   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\common\vsc73xx.c
4752   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\common\vsc73xx.h
4753   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\common\vsc8601_phy.c
4754   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\common\vsc8601_phy.h
4755   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\common\vsc_phy.c
4756   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\pb42\config.mk
4757   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\pb42\flash.c
4758   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\pb42\Makefile
4759   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\pb42\pb42.c
4760   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\pb42\u-boot.lds
4761   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\pb44\config.mk
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 78 of 285 PageID   #:664
4762   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\pb44\lowlevel_init.S
4763   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\pb44\Makefile
4764   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\pb44\pb44.c
4765   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\pb44\pb44_pci.c
4766   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\pb44\u-boot-bootstrap.lds
4767   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\pb44\u-boot.lds
4768   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\pb47\config.mk
4769   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\pb47\lowlevel_init.S
4770   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\pb47\Makefile
4771   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\pb47\pb47.c
4772   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\pb47\pb47_pci.c
4773   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\pb47\u-boot.lds
4774   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\tb225\config.mk
4775   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\tb225\flash.c
4776   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\tb225\Makefile
4777   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\tb225\tb225.c
4778   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\tb225\u-boot.lds
4779   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\tb243\config.mk
4780   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\tb243\Makefile
4781   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\tb243\tb243.c
4782   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7100\tb243\u-boot.lds
4783   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap101
4784   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap101-2.6.31
4785   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap101-small
4786   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap111
4787   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap111-2.6.31
4788   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap121
4789   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap123
4790   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap91
4791   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap91-2MB
4792   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap91-2x8
4793   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap91-router
4794   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap93
4795   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap93-hgw
4796   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap98
4797   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99
4798   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99-2.6.31
4799   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99-hgw
4800   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99-ivi
4801   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99-small
4802   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99-test
4803   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ar7240_emu
4804   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\common
4805   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\cus136
4806   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\db12x
4807   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\mi93
4808   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb90
4809   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb92
4810   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb93
4811   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb9x
4812   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb9x-2.6.31
4813   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb9x-2x8
4814   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\tb327
4815   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ubnt-wasp
4816   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\wasp_emu
4817   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\wrt54g
4818   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap101\ap101.c
4819   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap101\config.mk
4820   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap101\flash.c
4821   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap101\Makefile
4822   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap101\u-boot.lds
4823   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap101-2.6.31\ap101-2.6.31.c
4824   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap101-2.6.31\config.mk
4825   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap101-2.6.31\flash.c
4826   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap101-2.6.31\Makefile
4827   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap101-2.6.31\u-boot.lds
4828   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap101-small\ap101-small.c
4829   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap101-small\config.mk
4830   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap101-small\flash.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 79 of 285 PageID #:665
4831   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap101-small\Makefile
4832   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap101-small\u-boot.lds
4833   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap111\ap111.c
4834   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap111\config.mk
4835   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap111\flash.c
4836   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap111\Makefile
4837   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap111\u-boot.lds
4838   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap111-2.6.31\ap111-2.6.31.c
4839   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap111-2.6.31\config.mk
4840   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap111-2.6.31\flash.c
4841   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap111-2.6.31\Makefile
4842   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap111-2.6.31\u-boot.lds
4843   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap121\ap121.c
4844   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap121\config.mk
4845   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap121\flash.c
4846   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap121\hornet_pll_init.S
4847   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap121\Makefile
4848   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap121\u-boot-bootstrap.lds
4849   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap121\u-boot.lds
4850   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap123\ap123.c
4851   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap123\config.mk
4852   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap123\flash.c
4853   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap123\Makefile
4854   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap123\u-boot-bootstrap.lds
4855   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap123\u-boot.lds
4856   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap91\ap91.c
4857   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap91\ar9285gpio.c
4858   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap91\config.mk
4859   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap91\flash.c
4860   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap91\Makefile
4861   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap91\u-boot-bootstrap.lds
4862   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap91\u-boot.lds
4863   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap91-2MB\ap91-2MB.c
4864   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap91-2MB\ar9285gpio.c
4865   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap91-2MB\config.mk
4866   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap91-2MB\flash.c
4867   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap91-2MB\Makefile
4868   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap91-2MB\u-boot-bootstrap.lds
4869   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap91-2MB\u-boot.lds
4870   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap91-2x8\ap91-2x8.c
4871   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap91-2x8\config.mk
4872   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap91-2x8\flash.c
4873   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap91-2x8\Makefile
4874   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap91-2x8\u-boot-bootstrap.lds
4875   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap91-2x8\u-boot.lds
4876   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap91-router\ap91-router.c
4877   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap91-router\config.mk
4878   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap91-router\flash.c
4879   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap91-router\Makefile
4880   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap91-router\u-boot-bootstrap.lds
4881   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap91-router\u-boot.lds
4882   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap93\ap93.c
4883   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap93\config.mk
4884   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap93\flash.c
4885   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap93\Makefile
4886   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap93\u-boot.lds
4887   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap93-hgw\ap93-hgw.c
4888   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap93-hgw\config.mk
4889   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap93-hgw\flash.c
4890   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap93-hgw\Makefile
4891   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap93-hgw\u-boot.lds
4892   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap98\ap98.c
4893   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap98\config.mk
4894   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap98\flash.c
4895   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap98\Makefile
4896   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap98\u-boot-bootstrap.lds
4897   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap98\u-boot.lds
4898   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99\ap99.c
4899   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99\config.mk
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 80 of 285 PageID #:666
4900   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99\flash.c
4901   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99\Makefile
4902   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99\u-boot-bootstrap.lds
4903   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99\u-boot.lds
4904   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99-2.6.31\ap99-2.6.31.c
4905   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99-2.6.31\config.mk
4906   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99-2.6.31\flash.c
4907   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99-2.6.31\Makefile
4908   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99-2.6.31\u-boot-bootstrap.lds
4909   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99-2.6.31\u-boot.lds
4910   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99-hgw\ap99-hgw.c
4911   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99-hgw\config.mk
4912   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99-hgw\flash.c
4913   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99-hgw\Makefile
4914   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99-hgw\u-boot-bootstrap.lds
4915   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99-hgw\u-boot.lds
4916   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99-ivi\ap99-ivi.c
4917   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99-ivi\config.mk
4918   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99-ivi\flash.c
4919   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99-ivi\Makefile
4920   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99-ivi\u-boot-bootstrap.lds
4921   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99-ivi\u-boot.lds
4922   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99-small\ap99-small.c
4923   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99-small\config.mk
4924   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99-small\flash.c
4925   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99-small\Makefile
4926   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99-small\u-boot.lds
4927   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ap99-test\ap99-test.c
4928   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ar7240_emu\ar7240_emu.c
4929   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ar7240_emu\config.mk
4930   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ar7240_emu\flash.c
4931   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ar7240_emu\Makefile
4932   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ar7240_emu\u-boot.lds
4933   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\common\ar7240_flash.c
4934   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\common\ar7240_flash.h
4935   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\common\ar7240_pci.c
4936   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\common\ar7240_s26_phy.c
4937   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\common\ar7240_s26_phy.h
4938   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\common\athr8035_phy.c
4939   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\common\athr8035_phy.h
4940   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\common\athrs16_phy.c
4941   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\common\athrs16_phy.h
4942   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\common\athrs17_phy.c
4943   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\common\athrs17_phy.h
4944   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\common\athrsf1_phy.c
4945   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\common\athrsf1_phy.h
4946   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\common\athrsf2_phy.c
4947   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\common\athrs_vir_phy.c
4948   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\common\athr_s27_phy.c
4949   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\common\athr_s27_phy.h
4950   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\common\ath_nand.c
4951   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\common\lowlevel_init.S
4952   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\common\lowlevel_init_934x-1.1.S
4953   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\common\lowlevel_init_934x.S
4954   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\common\phy.h
4955   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\cus136\config.mk
4956   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\cus136\cus136.c
4957   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\cus136\flash.c
4958   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\cus136\Makefile
4959   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\cus136\u-boot.lds
4960   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\db12x\config.mk
4961   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\db12x\db12x.c
4962   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\db12x\flash.c
4963   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\db12x\Makefile
4964   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\db12x\u-boot-bootstrap.lds
4965   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\db12x\u-boot.lds
4966   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\mi93\config.mk
4967   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\mi93\flash.c
4968   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\mi93\Makefile
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 81 of 285 PageID #:667
4969   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\mi93\mi93.c
4970   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\mi93\u-boot.lds
4971   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb90\config.mk
4972   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb90\flash.c
4973   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb90\Makefile
4974   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb90\pb90.c
4975   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb90\u-boot.lds
4976   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb92\config.mk
4977   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb92\flash.c
4978   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb92\Makefile
4979   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb92\pb92.c
4980   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb92\u-boot-bootstrap.lds
4981   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb92\u-boot.lds
4982   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb93\config.mk
4983   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb93\flash.c
4984   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb93\Makefile
4985   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb93\pb93.c
4986   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb93\u-boot.lds
4987   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb9x\config.mk
4988   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb9x\flash.c
4989   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb9x\Makefile
4990   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb9x\pb9x.c
4991   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb9x\u-boot-bootstrap.lds
4992   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb9x\u-boot.lds
4993   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb9x-2.6.31\config.mk
4994   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb9x-2.6.31\flash.c
4995   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb9x-2.6.31\Makefile
4996   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb9x-2.6.31\pb9x-2.6.31.c
4997   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb9x-2.6.31\u-boot-bootstrap.lds
4998   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb9x-2.6.31\u-boot.lds
4999   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb9x-2x8\config.mk
5000   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb9x-2x8\flash.c
5001   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb9x-2x8\Makefile
5002   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb9x-2x8\pb9x-2x8.c
5003   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb9x-2x8\u-boot-bootstrap.lds
5004   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\pb9x-2x8\u-boot.lds
5005   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\tb327\config.mk
5006   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\tb327\flash.c
5007   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\tb327\Makefile
5008   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\tb327\tb327.c
5009   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\tb327\u-boot.lds
5010   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ubnt-wasp\board.c
5011   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ubnt-wasp\board.h
5012   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ubnt-wasp\config.mk
5013   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ubnt-wasp\flash.c
5014   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ubnt-wasp\Makefile
5015   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ubnt-wasp\u-boot-bootstrap.lds
5016   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ubnt-wasp\u-boot.lds
5017   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\ubnt-wasp\ubnt-wasp.c
5018   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\wasp_emu\config.mk
5019   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\wasp_emu\flash.c
5020   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\wasp_emu\Makefile
5021   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\wasp_emu\u-boot.lds
5022   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\wasp_emu\wasp_emu.c
5023   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\wrt54g\config.mk
5024   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\wrt54g\flash.c
5025   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\wrt54g\Makefile
5026   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\wrt54g\u-boot.lds
5027   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ar7240\wrt54g\wrt54g.c
5028   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\armadillo\armadillo.c
5029   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\armadillo\config.mk
5030   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\armadillo\flash.c
5031   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\armadillo\lowlevel_init.S
5032   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\armadillo\Makefile
5033   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\armadillo\u-boot.lds
5034   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\assabet\assabet.c
5035   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\assabet\config.mk
5036   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\assabet\Makefile
5037   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\assabet\setup.S
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 82 of 285 PageID   #:668
5038   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\assabet\u-boot.lds
5039   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\at91rm9200dk\at45.c
5040   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\at91rm9200dk\at91rm9200dk.c
5041   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\at91rm9200dk\config.mk
5042   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\at91rm9200dk\flash.c
5043   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\at91rm9200dk\Makefile
5044   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\at91rm9200dk\u-boot.lds
5045   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\atc\atc.c
5046   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\atc\config.mk
5047   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\atc\flash.c
5048   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\atc\Makefile
5049   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\atc\u-boot.lds
5050   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\AtmarkTechno\suzaku
5051   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\AtmarkTechno\suzaku\config.mk
5052   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\AtmarkTechno\suzaku\flash.c
5053   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\AtmarkTechno\suzaku\Makefile
5054   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\AtmarkTechno\suzaku\suzaku.c
5055   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\AtmarkTechno\suzaku\u-boot.lds
5056   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\barco\barco.c
5057   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\barco\barco_svc.h
5058   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\barco\config.mk
5059   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\barco\early_init.S
5060   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\barco\flash.c
5061   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\barco\Makefile
5062   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\barco\README
5063   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\barco\speed.h
5064   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\barco\u-boot.lds
5065   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\bmw\bmw.c
5066   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\bmw\bmw.h
5067   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\bmw\config.mk
5068   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\bmw\early_init.S
5069   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\bmw\flash.c
5070   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\bmw\m48t59y.c
5071   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\bmw\m48t59y.h
5072   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\bmw\Makefile
5073   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\bmw\ns16550.c
5074   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\bmw\ns16550.h
5075   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\bmw\README
5076   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\bmw\serial.c
5077   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\bmw\u-boot.lds
5078   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\c2mon\c2mon.c
5079   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\c2mon\config.mk
5080   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\c2mon\flash.c
5081   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\c2mon\Makefile
5082   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\c2mon\u-boot.lds
5083   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\c2mon\u-boot.lds.debug
5084   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\canmb\canmb.c
5085   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\canmb\config.mk
5086   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\canmb\Makefile
5087   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\canmb\mt48lc16m32s2-75.h
5088   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\canmb\u-boot.lds
5089   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cds\common
5090   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cds\mpc8541cds
5091   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cds\mpc8548cds
5092   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cds\mpc8555cds
5093   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cds\common\cadmus.c
5094   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cds\common\cadmus.h
5095   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cds\common\eeprom.c
5096   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cds\common\eeprom.h
5097   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cds\mpc8541cds\config.mk
5098   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cds\mpc8541cds\init.S
5099   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cds\mpc8541cds\Makefile
5100   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cds\mpc8541cds\mpc8541cds.c
5101   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cds\mpc8541cds\u-boot.lds
5102   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cds\mpc8548cds\config.mk
5103   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cds\mpc8548cds\init.S
5104   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cds\mpc8548cds\Makefile
5105   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cds\mpc8548cds\mpc8548cds.c
5106   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cds\mpc8548cds\u-boot.lds
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 83 of 285 PageID   #:669
5107   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cds\mpc8555cds\config.mk
5108   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cds\mpc8555cds\init.S
5109   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cds\mpc8555cds\Makefile
5110   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cds\mpc8555cds\mpc8555cds.c
5111   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cds\mpc8555cds\u-boot.lds
5112   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cerf250\cerf250.c
5113   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cerf250\config.mk
5114   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cerf250\flash.c
5115   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cerf250\lowlevel_init.S
5116   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cerf250\Makefile
5117   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cerf250\u-boot.lds
5118   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cm4008\cm4008.c
5119   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cm4008\config.mk
5120   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cm4008\flash.c
5121   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cm4008\Makefile
5122   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cm4008\u-boot.lds
5123   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cm41xx\cm41xx.c
5124   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cm41xx\config.mk
5125   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cm41xx\flash.c
5126   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cm41xx\Makefile
5127   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cm41xx\u-boot.lds
5128   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cmc_pu2\at45.c
5129   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cmc_pu2\cmc_pu2.c
5130   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cmc_pu2\config.mk
5131   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cmc_pu2\flash.c
5132   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cmc_pu2\load_sernum_ethaddr.c
5133   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cmc_pu2\Makefile
5134   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cmc_pu2\u-boot.lds
5135   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cmi\cmi.c
5136   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cmi\config.mk
5137   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cmi\flash.c
5138   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cmi\Makefile
5139   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cmi\u-boot.lds
5140   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cobra5272\bdm
5141   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cobra5272\cobra5272.c
5142   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cobra5272\config.mk
5143   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cobra5272\flash.c
5144   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cobra5272\Makefile
5145   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cobra5272\u-boot.lds
5146   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cobra5272\bdm\cobra5272_uboot.gdb
5147   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cobra5272\bdm\gdbinit.reset
5148   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cobra5272\bdm\load-cobra_uboot
5149   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cobra5272\bdm\reset
5150   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cogent\config.mk
5151   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cogent\dipsw.c
5152   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cogent\dipsw.h
5153   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cogent\flash.c
5154   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cogent\flash.h
5155   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cogent\kbm.c
5156   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cogent\kbm.h
5157   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cogent\lcd.c
5158   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cogent\lcd.h
5159   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cogent\Makefile
5160   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cogent\mb.c
5161   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cogent\mb.h
5162   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cogent\par.c
5163   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cogent\par.h
5164   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cogent\pci.c
5165   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cogent\pci.h
5166   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cogent\README
5167   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cogent\README.cma286
5168   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cogent\rtc.c
5169   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cogent\rtc.h
5170   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cogent\serial.c
5171   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cogent\serial.h
5172   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cogent\u-boot.lds
5173   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cogent\u-boot.lds.debug
5174   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cpc45\config.mk
5175   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cpc45\cpc45.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 84 of   285 PageID #:670
5176   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cpc45\flash.c
5177   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cpc45\Makefile
5178   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cpc45\pd67290.c
5179   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cpc45\plx9030.c
5180   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cpc45\u-boot.lds
5181   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cpu86\config.mk
5182   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cpu86\cpu86.c
5183   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cpu86\cpu86.h
5184   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cpu86\flash.c
5185   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cpu86\Makefile
5186   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cpu86\u-boot.lds
5187   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cpu87\config.mk
5188   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cpu87\cpu87.c
5189   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cpu87\cpu87.h
5190   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cpu87\flash.c
5191   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cpu87\Makefile
5192   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cpu87\u-boot.lds
5193   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cradle\config.mk
5194   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cradle\cradle.c
5195   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cradle\flash.c
5196   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cradle\lowlevel_init.S
5197   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cradle\Makefile
5198   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cradle\u-boot.lds
5199   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cray\L1
5200   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cray\L1\bootscript.hush
5201   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cray\L1\config.mk
5202   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cray\L1\flash.c
5203   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cray\L1\init.S
5204   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cray\L1\L1.c
5205   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cray\L1\L1.h
5206   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cray\L1\Makefile
5207   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cray\L1\patchme
5208   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cray\L1\u-boot.lds
5209   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cray\L1\u-boot.lds.debug
5210   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cray\L1\x2c.awk
5211   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\csb226\config.mk
5212   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\csb226\csb226.c
5213   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\csb226\flash.c
5214   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\csb226\lowlevel_init.S
5215   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\csb226\Makefile
5216   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\csb226\u-boot.lds
5217   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\csb272\config.mk
5218   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\csb272\csb272.c
5219   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\csb272\init.S
5220   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\csb272\Makefile
5221   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\csb272\u-boot.lds
5222   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\csb472\config.mk
5223   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\csb472\csb472.c
5224   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\csb472\init.S
5225   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\csb472\Makefile
5226   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\csb472\u-boot.lds
5227   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\csb637\config.mk
5228   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\csb637\csb637.c
5229   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\csb637\Makefile
5230   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\csb637\u-boot.lds
5231   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cu824\config.mk
5232   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cu824\cu824.c
5233   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cu824\flash.c
5234   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cu824\Makefile
5235   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cu824\README
5236   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\cu824\u-boot.lds
5237   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\dave\B2
5238   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\dave\common
5239   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\dave\PPChameleonEVB
5240   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\dave\B2\B2.c
5241   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\dave\B2\config.mk
5242   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\dave\B2\flash.c
5243   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\dave\B2\lowlevel_init.S
5244   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\dave\B2\Makefile
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 85 of 285 PageID   #:671
5245   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\dave\B2\u-boot.lds
5246   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\dave\common\flash.c
5247   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\dave\common\fpga.c
5248   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\dave\common\pci.c
5249   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\dave\PPChameleonEVB\config.mk
5250   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\dave\PPChameleonEVB\flash.c
5251   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\dave\PPChameleonEVB\fpgadata.c
5252   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\dave\PPChameleonEVB\Makefile
5253   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\dave\PPChameleonEVB\nand.c
5254   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\dave\PPChameleonEVB\PPChameleonEVB.c
5255   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\dave\PPChameleonEVB\u-boot.lds
5256   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\dbau1x00\config.mk
5257   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\dbau1x00\dbau1x00.c
5258   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\dbau1x00\flash.c
5259   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\dbau1x00\lowlevel_init.S
5260   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\dbau1x00\Makefile
5261   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\dbau1x00\README
5262   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\dbau1x00\u-boot.lds
5263   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\delta\config.mk
5264   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\delta\delta.c
5265   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\delta\lowlevel_init.S
5266   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\delta\Makefile
5267   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\delta\nand.c
5268   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\delta\u-boot.lds
5269   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\dnp1110\config.mk
5270   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\dnp1110\dnp1110.c
5271   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\dnp1110\flash.c
5272   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\dnp1110\lowlevel_init.S
5273   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\dnp1110\Makefile
5274   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\dnp1110\u-boot.lds
5275   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eltec\bab7xx
5276   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eltec\elppc
5277   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eltec\mhpc
5278   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eltec\bab7xx\asm_init.S
5279   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eltec\bab7xx\bab7xx.c
5280   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eltec\bab7xx\config.mk
5281   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eltec\bab7xx\dc_srom.c
5282   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eltec\bab7xx\el_srom.c
5283   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eltec\bab7xx\flash.c
5284   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eltec\bab7xx\l2cache.c
5285   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eltec\bab7xx\Makefile
5286   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eltec\bab7xx\misc.c
5287   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eltec\bab7xx\pci.c
5288   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eltec\bab7xx\srom.h
5289   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eltec\bab7xx\u-boot.lds
5290   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eltec\elppc\asm_init.S
5291   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eltec\elppc\config.mk
5292   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eltec\elppc\eepro100_srom.c
5293   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eltec\elppc\elppc.c
5294   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eltec\elppc\flash.c
5295   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eltec\elppc\Makefile
5296   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eltec\elppc\misc.c
5297   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eltec\elppc\mpc107_i2c.c
5298   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eltec\elppc\pci.c
5299   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eltec\elppc\srom.h
5300   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eltec\elppc\u-boot.lds
5301   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eltec\mhpc\config.mk
5302   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eltec\mhpc\flash.c
5303   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eltec\mhpc\Makefile
5304   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eltec\mhpc\mhpc.c
5305   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eltec\mhpc\u-boot.lds
5306   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eltec\mhpc\u-boot.lds.debug
5307   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\emk\common
5308   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\emk\top5200
5309   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\emk\top860
5310   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\emk\common\am79c874.c
5311   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\emk\common\flash.c
5312   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\emk\common\vpd.c
5313   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\emk\top5200\config.mk
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 86 of 285   PageID #:672
5314   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\emk\top5200\Makefile
5315   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\emk\top5200\top5200.c
5316   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\emk\top5200\u-boot.lds
5317   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\emk\top860\config.mk
5318   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\emk\top860\Makefile
5319   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\emk\top860\top860.c
5320   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\emk\top860\u-boot.lds
5321   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\emk\top860\u-boot.lds.debug
5322   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ep7312\config.mk
5323   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ep7312\ep7312.c
5324   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ep7312\flash.c
5325   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ep7312\lowlevel_init.S
5326   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ep7312\Makefile
5327   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ep7312\u-boot.lds
5328   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ep8248\config.mk
5329   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ep8248\ep8248.c
5330   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ep8248\Makefile
5331   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ep8248\u-boot.lds
5332   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ep8260\config.mk
5333   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ep8260\ep8260.c
5334   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ep8260\ep8260.h
5335   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ep8260\flash.c
5336   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ep8260\Makefile
5337   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ep8260\mii_phy.c
5338   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ep8260\u-boot.lds
5339   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ep88x\config.mk
5340   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ep88x\ep88x.c
5341   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ep88x\Makefile
5342   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ep88x\u-boot.lds
5343   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eric\config.mk
5344   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eric\eric.c
5345   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eric\eric.h
5346   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eric\flash.c
5347   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eric\init.S
5348   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eric\Makefile
5349   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eric\u-boot.lds
5350   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\adciop
5351   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\apc405
5352   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\ar405
5353   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\ash405
5354   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\canbt
5355   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cms700
5356   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\common
5357   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci2dp
5358   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci405
5359   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci440
5360   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci5200
5361   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci750
5362   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpciiser4
5363   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\dasa_sim
5364   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\dp405
5365   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\du405
5366   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\hh405
5367   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\hub405
5368   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\ocrtc
5369   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\pci405
5370   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\pf5200
5371   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\plu405
5372   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\pmc405
5373   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\tasreg
5374   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\voh405
5375   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\vom405
5376   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\wuh405
5377   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\adciop\adciop.c
5378   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\adciop\adciop.h
5379   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\adciop\config.mk
5380   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\adciop\flash.c
5381   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\adciop\Makefile
5382   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\adciop\u-boot.lds
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 87 of 285 PageID   #:673
5383   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\apc405\apc405.c
5384   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\apc405\config.mk
5385   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\apc405\fpgadata.c
5386   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\apc405\logo_640_480_24bpp.c
5387   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\apc405\Makefile
5388   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\apc405\strataflash.c
5389   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\apc405\u-boot.lds
5390   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\ar405\ar405.c
5391   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\ar405\ar405.h
5392   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\ar405\config.mk
5393   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\ar405\flash.c
5394   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\ar405\fpgadata.c
5395   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\ar405\fpgadata_xl30.c
5396   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\ar405\Makefile
5397   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\ar405\u-boot.lds
5398   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\ash405\ash405.c
5399   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\ash405\config.mk
5400   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\ash405\flash.c
5401   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\ash405\fpgadata.c
5402   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\ash405\Makefile
5403   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\ash405\u-boot.lds
5404   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\canbt\canbt.c
5405   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\canbt\canbt.h
5406   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\canbt\config.mk
5407   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\canbt\flash.c
5408   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\canbt\fpgadata.c
5409   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\canbt\Makefile
5410   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\canbt\u-boot.lds
5411   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cms700\cms700.c
5412   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cms700\config.mk
5413   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cms700\flash.c
5414   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cms700\fpgadata.c
5415   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cms700\Makefile
5416   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cms700\u-boot.lds
5417   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\common\auto_update.c
5418   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\common\auto_update.h
5419   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\common\cmd_loadpci.c
5420   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\common\flash.c
5421   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\common\fpga.c
5422   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\common\lcd.c
5423   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\common\lcd.h
5424   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\common\misc.c
5425   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\common\pci.c
5426   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\common\s1d13704_320_240_4bpp.h
5427   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\common\s1d13705_320_240_8bpp.h
5428   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\common\s1d13806_1024_768_8bpp.h
5429   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\common\s1d13806_320_240_4bpp.h
5430   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\common\s1d13806_640_480_16bpp.h
5431   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\common\s1d13806_640_480_8bpp.h
5432   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\common\xilinx_jtag
5433   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\common\xilinx_jtag\lenval.c
5434   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\common\xilinx_jtag\lenval.h
5435   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\common\xilinx_jtag\micro.c
5436   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\common\xilinx_jtag\micro.h
5437   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\common\xilinx_jtag\ports.c
5438   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\common\xilinx_jtag\ports.h
5439   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci2dp\config.mk
5440   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci2dp\cpci2dp.c
5441   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci2dp\flash.c
5442   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci2dp\Makefile
5443   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci2dp\u-boot.lds
5444   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci405\config.mk
5445   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci405\cpci405.c
5446   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci405\flash.c
5447   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci405\fpgadata_cpci405.c
5448   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci405\fpgadata_cpci4052.c
5449   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci405\fpgadata_cpci405ab.c
5450   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci405\Makefile
5451   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci405\u-boot.lds
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 88 of 285 PageID   #:674
5452   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci440\config.mk
5453   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci440\cpci440.c
5454   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci440\init.S
5455   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci440\Makefile
5456   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci440\strataflash.c
5457   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci440\u-boot.lds
5458   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci5200\config.mk
5459   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci5200\cpci5200.c
5460   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci5200\Makefile
5461   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci5200\mt46v16m16-75.h
5462   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci5200\strataflash.c
5463   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci5200\u-boot.lds
5464   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci750\64360.h
5465   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci750\config.mk
5466   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci750\cpci750.c
5467   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci750\eth.h
5468   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci750\i2c.c
5469   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci750\i2c.h
5470   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci750\ide.c
5471   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci750\local.h
5472   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci750\Makefile
5473   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci750\misc.S
5474   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci750\mpsc.c
5475   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci750\mpsc.h
5476   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci750\mv_eth.c
5477   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci750\mv_eth.h
5478   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci750\mv_regs.h
5479   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci750\pci.c
5480   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci750\sdram_init.c
5481   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci750\serial.c
5482   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci750\serial.h
5483   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpci750\u-boot.lds
5484   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpciiser4\config.mk
5485   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpciiser4\cpciiser4.c
5486   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpciiser4\cpciiser4.h
5487   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpciiser4\flash.c
5488   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpciiser4\fpgadata.c
5489   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpciiser4\Makefile
5490   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\cpciiser4\u-boot.lds
5491   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\dasa_sim\cmd_dasa_sim.c
5492   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\dasa_sim\config.mk
5493   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\dasa_sim\dasa_sim.c
5494   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\dasa_sim\dasa_sim.h
5495   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\dasa_sim\eeprom.c
5496   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\dasa_sim\flash.c
5497   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\dasa_sim\fpgadata.c
5498   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\dasa_sim\Makefile
5499   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\dasa_sim\u-boot.lds
5500   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\dp405\config.mk
5501   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\dp405\dp405.c
5502   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\dp405\flash.c
5503   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\dp405\fpgadata.c
5504   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\dp405\Makefile
5505   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\dp405\u-boot.lds
5506   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\du405\config.mk
5507   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\du405\du405.c
5508   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\du405\du405.h
5509   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\du405\flash.c
5510   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\du405\fpgadata.c
5511   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\du405\Makefile
5512   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\du405\u-boot.lds
5513   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\hh405\config.mk
5514   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\hh405\flash.c
5515   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\hh405\fpgadata.c
5516   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\hh405\hh405.c
5517   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\hh405\logo_1024_768_8bpp.c
5518   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\hh405\logo_320_240_4bpp.c
5519   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\hh405\logo_320_240_8bpp.c
5520   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\hh405\logo_640_480_24bpp.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 89 of 285 PageID   #:675
5521   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\hh405\Makefile
5522   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\hh405\u-boot.lds
5523   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\hub405\config.mk
5524   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\hub405\flash.c
5525   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\hub405\hub405.c
5526   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\hub405\Makefile
5527   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\hub405\u-boot.lds
5528   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\ocrtc\cmd_ocrtc.c
5529   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\ocrtc\config.mk
5530   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\ocrtc\flash.c
5531   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\ocrtc\Makefile
5532   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\ocrtc\ocrtc.c
5533   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\ocrtc\ocrtc.h
5534   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\ocrtc\u-boot.lds
5535   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\pci405\cmd_pci405.c
5536   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\pci405\config.mk
5537   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\pci405\flash.c
5538   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\pci405\fpgadata.c
5539   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\pci405\Makefile
5540   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\pci405\pci405.c
5541   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\pci405\pci405.h
5542   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\pci405\u-boot.lds
5543   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\pci405\writeibm.S
5544   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\pf5200\config.mk
5545   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\pf5200\flash.c
5546   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\pf5200\Makefile
5547   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\pf5200\mt46v16m16-75.h
5548   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\pf5200\pf5200.c
5549   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\pf5200\u-boot.lds
5550   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\plu405\config.mk
5551   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\plu405\flash.c
5552   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\plu405\fpgadata.c
5553   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\plu405\Makefile
5554   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\plu405\plu405.c
5555   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\plu405\u-boot.lds
5556   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\pmc405\config.mk
5557   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\pmc405\fpgadata.c
5558   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\pmc405\Makefile
5559   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\pmc405\pmc405.c
5560   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\pmc405\u-boot.lds
5561   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\tasreg\config.mk
5562   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\tasreg\flash.c
5563   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\tasreg\fpgadata.c
5564   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\tasreg\Makefile
5565   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\tasreg\tasreg.c
5566   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\tasreg\u-boot.lds
5567   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\voh405\config.mk
5568   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\voh405\flash.c
5569   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\voh405\fpgadata.c
5570   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\voh405\logo_320_240_4bpp.c
5571   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\voh405\logo_640_480_24bpp.c
5572   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\voh405\Makefile
5573   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\voh405\u-boot.lds
5574   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\voh405\voh405.c
5575   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\vom405\config.mk
5576   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\vom405\flash.c
5577   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\vom405\fpgadata.c
5578   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\vom405\Makefile
5579   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\vom405\u-boot.lds
5580   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\vom405\vom405.c
5581   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\wuh405\config.mk
5582   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\wuh405\flash.c
5583   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\wuh405\fpgadata.c
5584   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\wuh405\Makefile
5585   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\wuh405\u-boot.lds
5586   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esd\wuh405\wuh405.c
5587   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esteem192e\config.mk
5588   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esteem192e\esteem192e.c
5589   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esteem192e\flash.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 90 of   285 PageID #:676
5590   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esteem192e\Makefile
5591   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\esteem192e\u-boot.lds
5592   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\etin\debris
5593   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\etin\debris\config.mk
5594   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\etin\debris\debris.c
5595   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\etin\debris\flash.c
5596   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\etin\debris\Makefile
5597   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\etin\debris\phantom.c
5598   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\etin\debris\speed.h
5599   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\etin\debris\u-boot.lds
5600   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\etx094\config.mk
5601   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\etx094\etx094.c
5602   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\etx094\flash.c
5603   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\etx094\Makefile
5604   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\etx094\u-boot.lds
5605   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\etx094\u-boot.lds.debug
5606   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb4510\config.mk
5607   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb4510\evb4510.c
5608   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb4510\flash.c
5609   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb4510\lowlevel_init.S
5610   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb4510\Makefile
5611   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb4510\u-boot.lds
5612   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb64260\64260.h
5613   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb64260\bootseq.txt
5614   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb64260\config.mk
5615   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb64260\ecctest.c
5616   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb64260\eth.c
5617   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb64260\eth.h
5618   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb64260\eth_addrtbl.c
5619   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb64260\eth_addrtbl.h
5620   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb64260\evb64260.c
5621   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb64260\flash.c
5622   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb64260\i2c.c
5623   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb64260\i2c.h
5624   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb64260\intel_flash.c
5625   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb64260\intel_flash.h
5626   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb64260\local.h
5627   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb64260\Makefile
5628   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb64260\memory.c
5629   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb64260\misc.S
5630   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb64260\mpsc.c
5631   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb64260\mpsc.h
5632   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb64260\pci.c
5633   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb64260\sdram_init.c
5634   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb64260\serial.c
5635   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb64260\serial.h
5636   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb64260\u-boot.lds
5637   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb64260\zuma_pbb.c
5638   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb64260\zuma_pbb.h
5639   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb64260\zuma_pbb_mbox.c
5640   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\evb64260\zuma_pbb_mbox.h
5641   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eXalion\config.mk
5642   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eXalion\eXalion.c
5643   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eXalion\eXalion.h
5644   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eXalion\Makefile
5645   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eXalion\piix_pci.h
5646   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\eXalion\u-boot.lds
5647   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\exbitgen\config.mk
5648   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\exbitgen\exbitgen.c
5649   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\exbitgen\exbitgen.h
5650   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\exbitgen\flash.c
5651   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\exbitgen\init.S
5652   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\exbitgen\Makefile
5653   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\exbitgen\u-boot.lds
5654   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ezkit533\config.mk
5655   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ezkit533\ezkit533.c
5656   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ezkit533\flash-defines.h
5657   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ezkit533\flash.c
5658   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ezkit533\Makefile
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 91 of 285   PageID #:677
5659   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ezkit533\psd4256.h
5660   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ezkit533\u-boot.lds
5661   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\fads\config.mk
5662   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\fads\fads.c
5663   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\fads\fads.h
5664   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\fads\flash.c
5665   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\fads\lamp.c
5666   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\fads\Makefile
5667   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\fads\u-boot.lds
5668   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\fads\u-boot.lds.debug
5669   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\flagadm\config.mk
5670   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\flagadm\flagadm.c
5671   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\flagadm\flash.c
5672   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\flagadm\Makefile
5673   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\flagadm\u-boot.lds
5674   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\flagadm\u-boot.lds.debug
5675   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\funkwerk\vovpn-gw
5676   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\funkwerk\vovpn-gw\config.mk
5677   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\funkwerk\vovpn-gw\flash.c
5678   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\funkwerk\vovpn-gw\m88e6060.c
5679   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\funkwerk\vovpn-gw\m88e6060.h
5680   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\funkwerk\vovpn-gw\Makefile
5681   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\funkwerk\vovpn-gw\u-boot.lds
5682   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\funkwerk\vovpn-gw\vovpn-gw.c
5683   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\g2000\config.mk
5684   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\g2000\g2000.c
5685   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\g2000\Makefile
5686   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\g2000\strataflash.c
5687   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\g2000\u-boot.lds
5688   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gcplus\config.mk
5689   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gcplus\flash.c
5690   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gcplus\gcplus.c
5691   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gcplus\lowlevel_init.S
5692   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gcplus\Makefile
5693   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gcplus\u-boot.lds
5694   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gen860t\beeper.c
5695   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gen860t\beeper.h
5696   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gen860t\config.mk
5697   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gen860t\flash.c
5698   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gen860t\fpga.c
5699   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gen860t\fpga.h
5700   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gen860t\gen860t.c
5701   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gen860t\ioport.c
5702   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gen860t\ioport.h
5703   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gen860t\Makefile
5704   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gen860t\README
5705   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gen860t\u-boot-flashenv.lds
5706   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gen860t\u-boot.lds
5707   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\genietv\config.mk
5708   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\genietv\flash.c
5709   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\genietv\genietv.c
5710   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\genietv\genietv.h
5711   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\genietv\Makefile
5712   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\genietv\u-boot.lds
5713   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\genietv\u-boot.lds.debug
5714   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gth\config.mk
5715   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gth\ee_access.c
5716   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gth\ee_access.h
5717   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gth\ee_dev.h
5718   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gth\flash.c
5719   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gth\gth.c
5720   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gth\Makefile
5721   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gth\README
5722   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gth\u-boot.lds
5723   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gw8260\config.mk
5724   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gw8260\flash.c
5725   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gw8260\gw8260.c
5726   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gw8260\Makefile
5727   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\gw8260\u-boot.lds
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 92 of 285 PageID   #:678
5728   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hermes\config.mk
5729   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hermes\flash.c
5730   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hermes\hermes.c
5731   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hermes\Makefile
5732   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hermes\u-boot.lds
5733   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hermes\u-boot.lds.debug
5734   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hidden_dragon\config.mk
5735   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hidden_dragon\early_init.S
5736   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hidden_dragon\flash.c
5737   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hidden_dragon\hidden_dragon.c
5738   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hidden_dragon\Makefile
5739   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hidden_dragon\README
5740   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hidden_dragon\speed.h
5741   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hidden_dragon\u-boot.lds
5742   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hmi1001\config.mk
5743   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hmi1001\hmi1001.c
5744   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hmi1001\Makefile
5745   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hmi1001\u-boot.lds
5746   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hymod\bsp.c
5747   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hymod\config.mk
5748   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hymod\eeprom.c
5749   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hymod\env.c
5750   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hymod\fetch.c
5751   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hymod\flash.c
5752   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hymod\flash.h
5753   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hymod\global_env
5754   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hymod\hymod.c
5755   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hymod\hymod.h
5756   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hymod\input.c
5757   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hymod\Makefile
5758   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hymod\u-boot.lds
5759   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\hymod\u-boot.lds.debug
5760   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\icecube\config.mk
5761   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\icecube\flash.c
5762   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\icecube\icecube.c
5763   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\icecube\Makefile
5764   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\icecube\mt46v16m16-75.h
5765   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\icecube\mt46v32m16.h
5766   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\icecube\mt48lc16m16a2-75.h
5767   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\icecube\u-boot.lds
5768   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\icu862\config.mk
5769   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\icu862\flash.c
5770   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\icu862\icu862.c
5771   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\icu862\Makefile
5772   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\icu862\u-boot.lds
5773   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\icu862\u-boot.lds.debug
5774   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ids8247\config.mk
5775   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ids8247\flash.c
5776   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ids8247\ids8247.c
5777   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ids8247\Makefile
5778   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ids8247\u-boot.lds
5779   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\impa7\config.mk
5780   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\impa7\flash.c
5781   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\impa7\impa7.c
5782   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\impa7\lowlevel_init.S
5783   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\impa7\Makefile
5784   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\impa7\u-boot.lds
5785   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\incaip\config.mk
5786   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\incaip\flash.c
5787   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\incaip\incaip.c
5788   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\incaip\lowlevel_init.S
5789   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\incaip\Makefile
5790   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\incaip\u-boot.lds
5791   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\inka4x0\config.mk
5792   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\inka4x0\flash.c
5793   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\inka4x0\inka4x0.c
5794   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\inka4x0\Makefile
5795   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\inka4x0\mt46v16m16-75.h
5796   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\inka4x0\mt48lc16m16a2-75.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 93 of 285 PageID   #:679
5797   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\inka4x0\u-boot.lds
5798   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\innokom\config.mk
5799   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\innokom\flash.c
5800   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\innokom\innokom.c
5801   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\innokom\lowlevel_init.S
5802   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\innokom\Makefile
5803   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\innokom\u-boot.lds
5804   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\integratorap\config.mk
5805   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\integratorap\flash.c
5806   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\integratorap\integratorap.c
5807   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\integratorap\lowlevel_init.S
5808   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\integratorap\Makefile
5809   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\integratorap\memsetup.S
5810   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\integratorap\split_by_variant.sh
5811   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\integratorap\u-boot.lds.template
5812   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\integratorcp\config.mk
5813   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\integratorcp\flash.c
5814   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\integratorcp\integratorcp.c
5815   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\integratorcp\lowlevel_init.S
5816   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\integratorcp\Makefile
5817   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\integratorcp\memsetup.S
5818   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\integratorcp\split_by_variant.sh
5819   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\integratorcp\u-boot.lds.template
5820   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ip860\config.mk
5821   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ip860\flash.c
5822   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ip860\ip860.c
5823   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ip860\Makefile
5824   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ip860\u-boot.lds
5825   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ip860\u-boot.lds.debug
5826   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\iphase4539\config.mk
5827   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\iphase4539\flash.c
5828   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\iphase4539\iphase4539.c
5829   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\iphase4539\Makefile
5830   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\iphase4539\u-boot.lds
5831   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ispan\config.mk
5832   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ispan\ispan.c
5833   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ispan\Makefile
5834   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ispan\u-boot.lds
5835   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ivm\config.mk
5836   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ivm\flash.c
5837   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ivm\ivm.c
5838   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ivm\Makefile
5839   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ivm\u-boot.lds
5840   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ivm\u-boot.lds.debug
5841   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ixdp425\config.mk
5842   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ixdp425\flash.c
5843   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ixdp425\ixdp425.c
5844   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ixdp425\Makefile
5845   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ixdp425\u-boot.lds
5846   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\jse\config.mk
5847   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\jse\flash.c
5848   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\jse\host_bridge.c
5849   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\jse\init.S
5850   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\jse\jse.c
5851   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\jse\jse_priv.h
5852   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\jse\Makefile
5853   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\jse\README.txt
5854   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\jse\sdram.c
5855   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\jse\u-boot.lds
5856   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\kb9202\config.mk
5857   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\kb9202\kb9202.c
5858   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\kb9202\Makefile
5859   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\kb9202\u-boot.lds
5860   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\kup\common
5861   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\kup\kup4k
5862   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\kup\kup4x
5863   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\kup\Makefile
5864   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\kup\common\flash.c
5865   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\kup\common\kup.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 94 of 285 PageID   #:680
5866   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\kup\common\kup.h
5867   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\kup\common\load_sernum_ethaddr.c
5868   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\kup\kup4k\config.mk
5869   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\kup\kup4k\kup4k.c
5870   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\kup\kup4k\Makefile
5871   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\kup\kup4k\s1d13706.h
5872   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\kup\kup4k\u-boot.lds
5873   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\kup\kup4k\u-boot.lds.debug
5874   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\kup\kup4x\config.mk
5875   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\kup\kup4x\kup4x.c
5876   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\kup\kup4x\Makefile
5877   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\kup\kup4x\u-boot.lds
5878   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\kup\kup4x\u-boot.lds.debug
5879   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lantec\config.mk
5880   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lantec\flash.c
5881   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lantec\lantec.c
5882   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lantec\Makefile
5883   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lantec\u-boot.lds
5884   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lantec\u-boot.lds.debug
5885   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lart\config.mk
5886   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lart\flash.c
5887   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lart\flashasm.S
5888   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lart\lart.c
5889   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lart\lowlevel_init.S
5890   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lart\Makefile
5891   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lart\u-boot.lds
5892   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\LEOX\elpt860
5893   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\LEOX\elpt860\config.mk
5894   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\LEOX\elpt860\elpt860.c
5895   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\LEOX\elpt860\flash.c
5896   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\LEOX\elpt860\Makefile
5897   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\LEOX\elpt860\README.LEOX
5898   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\LEOX\elpt860\u-boot.lds
5899   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\LEOX\elpt860\u-boot.lds.debug
5900   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\logodl\config.mk
5901   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\logodl\flash.c
5902   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\logodl\logodl.c
5903   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\logodl\lowlevel_init.S
5904   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\logodl\Makefile
5905   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\logodl\u-boot.lds
5906   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lpd7a40x\config.mk
5907   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lpd7a40x\flash.c
5908   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lpd7a40x\lowlevel_init.S
5909   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lpd7a40x\lpd7a40x.c
5910   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lpd7a40x\Makefile
5911   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lpd7a40x\u-boot.lds
5912   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lubbock\config.mk
5913   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lubbock\flash.c
5914   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lubbock\lowlevel_init.S
5915   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lubbock\lubbock.c
5916   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lubbock\Makefile
5917   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lubbock\u-boot.lds
5918   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lwmon\config.mk
5919   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lwmon\flash.c
5920   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lwmon\lwmon.c
5921   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lwmon\Makefile
5922   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lwmon\README.keybd
5923   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lwmon\u-boot.lds
5924   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\lwmon\u-boot.lds.debug
5925   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\m5272c3\config.mk
5926   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\m5272c3\flash.c
5927   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\m5272c3\m5272c3.c
5928   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\m5272c3\Makefile
5929   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\m5272c3\u-boot.lds
5930   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\m5282evb\config.mk
5931   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\m5282evb\flash.c
5932   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\m5282evb\m5282evb.c
5933   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\m5282evb\Makefile
5934   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\m5282evb\u-boot.lds
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 95 of 285 PageID #:681
5935   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\AmigaOneG3SE
5936   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator
5937   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\menu
5938   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\AmigaOneG3SE\AmigaOneG3SE.c
5939   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\AmigaOneG3SE\articiaS.c
5940   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\AmigaOneG3SE\articiaS.h
5941   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\AmigaOneG3SE\articiaS_pci.c
5942   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\AmigaOneG3SE\board_asm_init.S
5943   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\AmigaOneG3SE\cmd_boota.c
5944   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\AmigaOneG3SE\config.mk
5945   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\AmigaOneG3SE\enet.c
5946   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\AmigaOneG3SE\flash.c
5947   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\AmigaOneG3SE\flash_new.c
5948   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\AmigaOneG3SE\i8259.c
5949   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\AmigaOneG3SE\i8259.h
5950   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\AmigaOneG3SE\interrupts.c
5951   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\AmigaOneG3SE\macros.h
5952   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\AmigaOneG3SE\Makefile
5953   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\AmigaOneG3SE\memio.h
5954   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\AmigaOneG3SE\memio.S
5955   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\AmigaOneG3SE\memory_dump
5956   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\AmigaOneG3SE\nvram.c
5957   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\AmigaOneG3SE\ps2kbd.c
5958   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\AmigaOneG3SE\ps2kbd.h
5959   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\AmigaOneG3SE\serial.c
5960   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\AmigaOneG3SE\short_types.h
5961   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\AmigaOneG3SE\smbus.c
5962   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\AmigaOneG3SE\smbus.h
5963   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\AmigaOneG3SE\start.txt
5964   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\AmigaOneG3SE\todo.txt
5965   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\AmigaOneG3SE\u-boot.lds
5966   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\AmigaOneG3SE\usb_uhci.c
5967   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\AmigaOneG3SE\usb_uhci.h
5968   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\AmigaOneG3SE\via686.c
5969   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\AmigaOneG3SE\via686.h
5970   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\AmigaOneG3SE\video.c
5971   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\bios.c
5972   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\glue.c
5973   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\glue.h
5974   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech
5975   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\x86interface.c
5976   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin
5977   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin-linux
5978   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\include
5979   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\lib
5980   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs
5981   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src
5982   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\bc31-d16.bat
5983   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\bc45-c32.bat
5984   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\bc45-d16.bat
5985   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\bc45-d32.bat
5986   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\bc45-snp.bat
5987   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\bc45-tnt.bat
5988   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\bc45-vxd.bat
5989   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\bc45-w16.bat
5990   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\bc45-w32.bat
5991   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\bc50-c32.bat
5992   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\bc50-d16.bat
5993   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\bc50-d32.bat
5994   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\bc50-smx.bat
5995   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\bc50-snp.bat
5996   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\bc50-tnt.bat
5997   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\bc50-vxd.bat
5998   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\bc50-w16.bat
5999   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\bc50-w32.bat
6000   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\bc50-x11.bat
6001   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\bcb5-c32.bat
6002   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\bcb5-d16.bat
6003   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\bcb5-d32.bat
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 96 of 285 PageID #:682
6004   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\bcb5-smx.bat
6005   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\bcb5-snp.bat
6006   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\bcb5-tnt.bat
6007   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\bcb5-vxd.bat
6008   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\bcb5-w16.bat
6009   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\bcb5-w32.bat
6010   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\bcb5-x11.bat
6011   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\build
6012   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\build.bat
6013   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\build_db.bat
6014   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\build_it.bat
6015   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\cddrv.bat
6016   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\cdit
6017   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\cdit.bat
6018   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\djgpp.env
6019   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\djgpp_db.env
6020   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\findint3.bat
6021   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\gcc-beos.sh
6022   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\gcc-freebsd.sh
6023   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\gcc-linux.sh
6024   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\gcc2-c32.bat
6025   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\gcc2-dos.bat
6026   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\gcc2-linux.bat
6027   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\gcc2-w32.bat
6028   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\makelib.bat
6029   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\meltobjs.sh
6030   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\ntddk.bat
6031   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\qnx4.sh
6032   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\qnxnto.sh
6033   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\set-vars-beos.sh
6034   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\set-vars-freebsd.sh
6035   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\set-vars-linux.sh
6036   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\set-vars-qnx.sh
6037   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\set-vars.bat
6038   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\vc40-c32.bat
6039   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\vc40-d16.bat
6040   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\vc40-drv9x.bat
6041   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\vc40-drvnt.bat
6042   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\vc40-snp.bat
6043   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\vc40-tnt.bat
6044   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\vc40-w16.bat
6045   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\vc40-w32.bat
6046   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\vc40-x11.bat
6047   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\vc50-c32.bat
6048   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\vc50-d16.bat
6049   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\vc50-drv9x.bat
6050   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\vc50-drvnt.bat
6051   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\vc50-rtt.bat
6052   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\vc50-snp.bat
6053   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\vc50-tnt.bat
6054   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\vc50-w16.bat
6055   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\vc50-w32.bat
6056   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\vc50-x11.bat
6057   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\vc60-c32.bat
6058   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\vc60-d16.bat
6059   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\vc60-drv9x.bat
6060   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\vc60-drvnt.bat
6061   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\vc60-drvw2k.bat
6062   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\vc60-snp.bat
6063   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\vc60-tnt.bat
6064   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\vc60-w16.bat
6065   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\vc60-w32.bat
6066   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\vc60-x11.bat
6067   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\w2kddk.bat
6068   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\wc10-c32.bat
6069   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\wc10-d16.bat
6070   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\wc10-d32.bat
6071   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\wc10-o16.bat
6072   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\wc10-o32.bat
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 97 of 285 PageID #:683
6073   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\wc10-p32.bat
6074   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\wc10-qnx.bat
6075   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\wc10-snp.bat
6076   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\wc10-tnt.bat
6077   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\wc10-w16.bat
6078   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\wc10-w32.bat
6079   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\wc10-x11.bat
6080   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\wc10ac32.bat
6081   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\wc10ad16.bat
6082   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\wc10ad32.bat
6083   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\wc10ao16.bat
6084   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\wc10ao32.bat
6085   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\wc10ap32.bat
6086   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\wc10asnp.bat
6087   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\wc10atnt.bat
6088   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\wc10aw16.bat
6089   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\wc10aw32.bat
6090   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\wc11-c32.bat
6091   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\wc11-d16.bat
6092   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\wc11-d32.bat
6093   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\wc11-o16.bat
6094   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\wc11-o32.bat
6095   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\wc11-p32.bat
6096   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\wc11-qnx.bat
6097   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\wc11-snp.bat
6098   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\wc11-tnt.bat
6099   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\wc11-w16.bat
6100   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\wc11-w32.bat
6101   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\wc11-x11.bat
6102   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin\win32sdk.bat
6103   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin-linux\glibc
6104   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin-linux\libc
6105   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin-linux\glibc\dmake
6106   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin-linux\glibc\k_cp
6107   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin-linux\glibc\k_echo
6108   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin-linux\glibc\k_rm
6109   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin-linux\glibc\makedep
6110   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin-linux\glibc\nasm
6111   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin-linux\glibc\ndisasm
6112   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin-linux\glibc\trans
6113   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin-linux\libc\dmake
6114   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin-linux\libc\nasm
6115   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin-linux\libc\ndisasm
6116   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\bin-linux\libc\trans
6117   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\include\biosemu.h
6118   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\include\event.h
6119   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\include\mtrr.h
6120   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\include\pcilib.h
6121   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\include\pmapi.h
6122   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\include\pmimp.h
6123   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\include\pmint.h
6124   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\include\pm_help.h
6125   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\include\pm_wctl.h
6126   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\include\scitech.h
6127   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\include\scitech.mac
6128   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\include\x86emu
6129   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\include\x86emu.h
6130   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\include\x86emu\fpu_regs.h
6131   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\include\x86emu\regs.h
6132   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\include\x86emu\types.h
6133   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\lib\debug
6134   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\lib\release
6135   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\lib\debug\linux
6136   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\lib\debug\linux\gcc
6137   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\lib\debug\linux\gcc\glibc
6138   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\lib\debug\linux\gcc\libc
6139   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\lib\debug\linux\gcc\glibc\
       readme.txt
6140   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\lib\debug\linux\gcc\libc\r
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 98 of 285 PageID #:684
       eadme.txt
6141   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\lib\release\linux
6142   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\lib\release\linux\gcc
6143   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\lib\release\linux\gcc\glib
       c
6144   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\lib\release\linux\gcc\libc
6145   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\lib\release\linux\gcc\glib
       c\readme.txt
6146   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\lib\release\linux\gcc\libc
       \readme.txt
6147   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\bc16.mk
6148   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\bc3.mk
6149   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\bc32.mk
6150   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\bcos2.mk
6151   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\cl16.mk
6152   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\cl386.mk
6153   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\common.mk
6154   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\emx.mk
6155   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\gcc_beos.mk
6156   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\gcc_dos.mk
6157   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\gcc_freebsd.mk
6158   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\gcc_linux.mk
6159   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\gcc_win32.mk
6160   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\hc32.mk
6161   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\makedefs.prj
6162   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\qnx4.mk
6163   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\qnxnto.mk
6164   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\rules
6165   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\sc16.mk
6166   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\sc32.mk
6167   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\startup.mk
6168   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\va32.mk
6169   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\va365.mk
6170   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\vc16.mk
6171   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\vc32.mk
6172   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\wc16.mk
6173   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\wc32.mk
6174   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\rules\bc16.mk
6175   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\rules\bc3.mk
6176   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\rules\bc32.mk
6177   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\rules\bcos2.mk
6178   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\rules\cl16.mk
6179   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\rules\cl386.mk
6180   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\rules\dj32.mk
6181   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\rules\emx.mk
6182   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\rules\gcc_beos.mk
6183   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\rules\gcc_freebsd
       .mk
6184   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\rules\gcc_linux.m
       k
6185   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\rules\gcc_win32.m
       k
6186   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\rules\hc32.mk
6187   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\rules\qnx4.mk
6188   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\rules\qnxnto.mk
6189   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\rules\sc16.mk
6190   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\rules\sc32.mk
6191   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\rules\va32.mk
6192   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\rules\va365.mk
6193   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\rules\vc16.mk
6194   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\rules\vc32.mk
6195   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\rules\wc16.mk
6196   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\makedefs\rules\wc32.mk
6197   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\biosemu
6198   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\common
6199   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm
6200   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\v86bios
6201   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\x86emu
6202   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\biosemu\besys.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 99 of 285 PageID #:685
6203   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\biosemu\bios.c
6204   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\biosemu\biosemu.c
6205   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\biosemu\biosemui.h
6206   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\biosemu\makefile
6207   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\biosemu\makefile.cross
6208   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\biosemu\warmboot.c
6209   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\common\aabeos.c
6210   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\common\aados.c
6211   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\common\aalib.c
6212   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\common\aalinux.c
6213   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\common\aaos2.c
6214   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\common\aaqnx.c
6215   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\common\aartt.c
6216   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\common\aasmx.c
6217   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\common\aavxd.c
6218   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\common\aawin32.c
6219   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\common\agplib.c
6220   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\common\center.c
6221   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\common\cmdline.c
6222   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\common\gabeos.c
6223   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\common\gados.c
6224   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\common\galib.c
6225   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\common\galinux.c
6226   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\common\gantdrv.c
6227   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\common\gaos2.c
6228   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\common\gaqnx.c
6229   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\common\gartt.c
6230   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\common\gasmx.c
6231   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\common\gavxd.c
6232   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\common\gawin32.c
6233   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\common\gtfcalc.c
6234   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\common\libcimp.c
6235   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\common\makefile
6236   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\common\peloader.c
6237   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\common\vesavbe.c
6238   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\common\_aa_imp.asm
6239   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\common\_gatimer.asm
6240   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\common\_ga_imp.asm
6241   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\common\_pm_imp.asm
6242   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\beos
6243   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\codepage
6244   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\common
6245   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\common.c
6246   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\cpuinfo.c
6247   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\debug.c
6248   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\dos
6249   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\event.c
6250   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\linux
6251   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\makefile
6252   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\ntdrv
6253   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\os2
6254   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\os2pm
6255   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\oshdr.h
6256   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\photon
6257   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\pm.vpw
6258   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\pmcommon.vpj
6259   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\pmdos.vpj
6260   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\pmlinux.vpj
6261   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\pmntdrv.vpj
6262   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\pmqnx.vpj
6263   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\pmvxd.vpj
6264   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\pmwin32.vpj
6265   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\qnx
6266   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\rttarget
6267   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\smx
6268   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\stub
6269   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\tests
6270   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\vdd
6271   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\vxd
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 100 of 285 PageID #:686
6272   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\win32
6273   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\x11
6274   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\ztimer.c
6275   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\z_samples.vpj
6276   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\beos\cpuinfo.c
6277   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\beos\event.c
6278   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\beos\oshdr.h
6279   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\beos\pm.c
6280   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\beos\vflat.c
6281   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\beos\ztimer.c
6282   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\codepage\us_eng.c
6283   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\common\agp.c
6284   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\common\keyboard.c
6285   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\common\malloc.c
6286   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\common\mtrr.c
6287   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\common\pcilib.c
6288   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\common\unixio.c
6289   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\common\vgastate.c
6290   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\common\_cpuinfo.asm
6291   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\common\_dma.asm
6292   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\common\_int64.asm
6293   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\common\_joy.asm
6294   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\common\_mtrr.asm
6295   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\common\_pcihelp.asm
6296   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\dos\cpuinfo.c
6297   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\dos\event.c
6298   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\dos\oshdr.h
6299   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\dos\pm.c
6300   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\dos\pmdos.c
6301   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\dos\vflat.c
6302   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\dos\ztimer.c
6303   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\dos\_event.asm
6304   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\dos\_lztimer.asm
6305   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\dos\_pm.asm
6306   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\dos\_pmdos.asm
6307   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\dos\_vflat.asm
6308   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\linux\cpuinfo.c
6309   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\linux\event.c
6310   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\linux\event.svga
6311   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\linux\oshdr.h
6312   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\linux\pm.c
6313   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\linux\vflat.c
6314   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\linux\ztimer.c
6315   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\ntdrv\cpuinfo.c
6316   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\ntdrv\int86.c
6317   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\ntdrv\irq.c
6318   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\ntdrv\mem.c
6319   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\ntdrv\oshdr.h
6320   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\ntdrv\pm.c
6321   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\ntdrv\stdio.c
6322   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\ntdrv\stdlib.c
6323   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\ntdrv\vflat.c
6324   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\ntdrv\ztimer.c
6325   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\ntdrv\_irq.asm
6326   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\ntdrv\_pm.asm
6327   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\os2\cpuinfo.c
6328   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\os2\dossctl.obj
6329   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\os2\event.c
6330   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\os2\mon.h
6331   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\os2\oshdr.h
6332   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\os2\pm.c
6333   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\os2\vflat.c
6334   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\os2\ztimer.c
6335   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\os2\_pmos2.asm
6336   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\os2pm\event.c
6337   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\os2pm\oshdr.h
6338   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\photon\event.c
6339   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\photon\oshdr.h
6340   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\qnx\cpuinfo.c
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 101 of 285 PageID #:687
6341   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\qnx\event.c
6342   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\qnx\mtrrqnx.c
6343   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\qnx\oshdr.h
6344   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\qnx\pm.c
6345   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\qnx\vflat.c
6346   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\qnx\ztimer.c
6347   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\qnx\_mtrrqnx.asm
6348   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\rttarget\cpuinfo.c
6349   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\rttarget\event.c
6350   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\rttarget\oshdr.h
6351   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\rttarget\pm.c
6352   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\rttarget\vflat.c
6353   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\rttarget\ztimer.c
6354   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\smx\cpuinfo.c
6355   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\smx\event.c
6356   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\smx\oshdr.h
6357   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\smx\pm.c
6358   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\smx\pmsmx.c
6359   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\smx\vflat.c
6360   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\smx\ztimer.c
6361   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\smx\_event.asm
6362   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\smx\_lztimer.asm
6363   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\smx\_pm.asm
6364   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\smx\_pmsmx.asm
6365   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\smx\_vflat.asm
6366   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\stub\cpuinfo.c
6367   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\stub\event.c
6368   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\stub\oshdr.h
6369   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\stub\pm.c
6370   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\stub\vflat.c
6371   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\stub\ztimer.c
6372   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\tests\altbrk.c
6373   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\tests\altcrit.c
6374   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\tests\biosptr.c
6375   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\tests\block.c
6376   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\tests\brk.c
6377   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\tests\callreal.c
6378   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\tests\checks.c
6379   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\tests\cpu.c
6380   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\tests\critical.c
6381   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\tests\getch.c
6382   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\tests\isvesa.c
6383   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\tests\key.c
6384   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\tests\key15.c
6385   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\tests\memtest.c
6386   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\tests\mouse.c
6387   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\tests\restore.c
6388   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\tests\rtc.c
6389   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\tests\save.c
6390   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\tests\showpci.c
6391   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\tests\tick.c
6392   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\tests\timerc.c
6393   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\tests\timercpp.cpp
6394   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\tests\uswc.c
6395   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\tests\vftest.c
6396   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\tests\video.c
6397   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\vdd\cpuinfo.c
6398   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\vdd\fileio.c
6399   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\vdd\oshdr.h
6400   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\vdd\pm.c
6401   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\vdd\vflat.c
6402   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\vdd\ztimer.c
6403   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\vxd\cpuinfo.c
6404   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\vxd\fileio.c
6405   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\vxd\oshdr.h
6406   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\vxd\pm.c
6407   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\vxd\vflat.c
6408   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\vxd\ztimer.c
6409   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\vxd\_pm.asm
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 102 of 285 PageID #:688
6410   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\win32\cpuinfo.c
6411   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\win32\ddraw.c
6412   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\win32\event.c
6413   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\win32\ntservc.c
6414   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\win32\oshdr.h
6415   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\win32\pm.c
6416   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\win32\vflat.c
6417   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\win32\ztimer.c
6418   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\win32\_pmwin32.asm
6419   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\x11\event.c
6420   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\pm\x11\oshdr.h
6421   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\v86bios\AsmMacros.h
6422   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\v86bios\awk.scr
6423   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\v86bios\cbios.c
6424   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\v86bios\command.c
6425   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\v86bios\console.c
6426   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\v86bios\debug.h
6427   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\v86bios\happy_cards
6428   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\v86bios\hexdump
6429   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\v86bios\int.c
6430   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\v86bios\io.c
6431   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\v86bios\lex.l
6432   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\v86bios\main.c
6433   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\v86bios\makefile.linux
6434   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\v86bios\mem.c
6435   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\v86bios\parser.y
6436   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\v86bios\pci.c
6437   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\v86bios\pci.h
6438   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\v86bios\README
6439   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\v86bios\v86.c
6440   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\v86bios\v86bios.c
6441   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\v86bios\v86bios.h
6442   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\v86bios\working_cards
6443   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\v86bios\x86emu.c
6444   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\x86emu\debug.c
6445   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\x86emu\decode.c
6446   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\x86emu\fpu.c
6447   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\x86emu\LICENSE
6448   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\x86emu\makefile
6449   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\x86emu\makefile.cross
6450   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\x86emu\makefile.linux
6451   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\x86emu\makefile.uboot
6452   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\x86emu\ops.c
6453   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\x86emu\ops2.c
6454   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\x86emu\prim_ops.c
6455   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\x86emu\sys.c
6456   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\x86emu\validate.c
6457   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\x86emu\x86emu
6458   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\x86emu\x86emu\debug.h
6459   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\x86emu\x86emu\decode.h
6460   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\x86emu\x86emu\fpu.h
6461   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\x86emu\x86emu\ops.h
6462   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\x86emu\x86emu\prim_asm
       .h
6463   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\x86emu\x86emu\prim_ops
       .h
6464   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\bios_emulator\scitech\src\x86emu\x86emu\x86emui.
       h
6465   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\menu\cmd_menu.c
6466   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\menu\menu.c
6467   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\MAI\menu\menu.h
6468   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\common
6469   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\db64360
6470   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\db64460
6471   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\include
6472   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\common\bootseq.txt
6473   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\common\ecctest.c
6474   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\common\flash.c
6475   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\common\i2c.c
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 103 of 285   PageID #:689
6476   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\common\i2c.h
6477   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\common\intel_flash.c
6478   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\common\intel_flash.h
6479   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\common\memory.c
6480   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\common\misc.S
6481   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\common\ns16550.c
6482   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\common\ns16550.h
6483   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\common\ppc_error_no.h
6484   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\common\serial.c
6485   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\common\serial.h
6486   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\db64360\64360.h
6487   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\db64360\config.mk
6488   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\db64360\db64360.c
6489   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\db64360\eth.h
6490   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\db64360\Makefile
6491   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\db64360\mpsc.c
6492   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\db64360\mpsc.h
6493   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\db64360\mv_eth.c
6494   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\db64360\mv_eth.h
6495   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\db64360\mv_regs.h
6496   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\db64360\pci.c
6497   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\db64360\sdram_init.c
6498   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\db64360\u-boot.lds
6499   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\db64460\64460.h
6500   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\db64460\config.mk
6501   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\db64460\db64460.c
6502   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\db64460\eth.h
6503   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\db64460\Makefile
6504   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\db64460\mpsc.c
6505   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\db64460\mpsc.h
6506   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\db64460\mv_eth.c
6507   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\db64460\mv_eth.h
6508   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\db64460\mv_regs.h
6509   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\db64460\pci.c
6510   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\db64460\sdram_init.c
6511   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\db64460\u-boot.lds
6512   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\include\core.h
6513   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\include\memory.h
6514   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\include\mv_gen_reg.h
6515   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\Marvell\include\pci.h
6516   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mbx8xx\config.mk
6517   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mbx8xx\csr.h
6518   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mbx8xx\dimm.h
6519   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mbx8xx\flash.c
6520   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mbx8xx\Makefile
6521   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mbx8xx\mbx8xx.c
6522   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mbx8xx\u-boot.lds
6523   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mbx8xx\u-boot.lds.debug
6524   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mbx8xx\vpd.c
6525   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mbx8xx\vpd.h
6526   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mcc200\config.mk
6527   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mcc200\Makefile
6528   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mcc200\mcc200.c
6529   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mcc200\mt46v16m16-75.h
6530   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mcc200\mt48lc16m16a2-75.h
6531   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mcc200\mt48lc8m32b2-6-7.h
6532   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mcc200\u-boot.lds
6533   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ml2\config.mk
6534   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ml2\flash.c
6535   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ml2\init.S
6536   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ml2\Makefile
6537   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ml2\ml2.c
6538   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ml2\serial.c
6539   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ml2\u-boot.lds
6540   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ml2\u-boot.lds.debug
6541   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\modnet50\config.mk
6542   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\modnet50\flash.c
6543   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\modnet50\lowlevel_init.S
6544   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\modnet50\Makefile
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 104 of   285 PageID #:690
6545   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\modnet50\modnet50.c
6546   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\modnet50\u-boot.lds
6547   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mousse\config.mk
6548   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mousse\flash.c
6549   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mousse\flash.h
6550   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mousse\m48t59y.c
6551   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mousse\m48t59y.h
6552   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mousse\Makefile
6553   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mousse\mousse.c
6554   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mousse\mousse.h
6555   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mousse\pci.c
6556   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mousse\README
6557   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mousse\u-boot.lds
6558   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mousse\u-boot.lds.ram
6559   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mousse\u-boot.lds.rom
6560   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mp2usb\config.mk
6561   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mp2usb\flash.c
6562   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mp2usb\Makefile
6563   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mp2usb\mp2usb.c
6564   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mp2usb\u-boot.lds
6565   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8260ads\config.mk
6566   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8260ads\flash.c
6567   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8260ads\Makefile
6568   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8260ads\mpc8260ads.c
6569   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8260ads\u-boot.lds
6570   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8266ads\config.mk
6571   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8266ads\flash.c
6572   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8266ads\Makefile
6573   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8266ads\mpc8266ads.c
6574   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8266ads\u-boot.lds
6575   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8349ads\config.mk
6576   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8349ads\Makefile
6577   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8349ads\mpc8349ads.c
6578   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8349ads\pci.c
6579   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8349ads\u-boot.lds
6580   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8349emds\config.mk
6581   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8349emds\Makefile
6582   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8349emds\mpc8349emds.c
6583   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8349emds\u-boot.lds
6584   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8540ads\config.mk
6585   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8540ads\init.S
6586   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8540ads\Makefile
6587   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8540ads\mpc8540ads.c
6588   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8540ads\u-boot.lds
6589   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8540eval\config.mk
6590   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8540eval\flash.c
6591   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8540eval\init.S
6592   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8540eval\Makefile
6593   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8540eval\mpc8540eval.c
6594   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8540eval\u-boot.lds
6595   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8560ads\config.mk
6596   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8560ads\init.S
6597   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8560ads\Makefile
6598   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8560ads\mpc8560ads.c
6599   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpc8560ads\u-boot.lds
6600   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\common
6601   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\mip405
6602   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\pati
6603   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\pip405
6604   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\vcma9
6605   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\common\common_util.c
6606   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\common\common_util.h
6607   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\common\flash.c
6608   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\common\isa.c
6609   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\common\isa.h
6610   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\common\kbd.c
6611   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\common\kbd.h
6612   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\common\memtst.c
6613   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\common\pci.c
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 105 of 285   PageID #:691
6614   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\common\pci_parts.h
6615   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\common\piix4_pci.h
6616   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\common\usb_uhci.c
6617   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\common\usb_uhci.h
6618   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\mip405\cmd_mip405.c
6619   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\mip405\config.mk
6620   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\mip405\init.S
6621   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\mip405\Makefile
6622   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\mip405\mip405.c
6623   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\mip405\mip405.h
6624   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\mip405\u-boot.lds
6625   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\pati\cmd_pati.c
6626   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\pati\config.mk
6627   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\pati\Makefile
6628   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\pati\pati.c
6629   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\pati\pati.h
6630   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\pati\pci_eeprom.h
6631   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\pati\plx9056.h
6632   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\pati\u-boot.lds
6633   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\pip405\cmd_pip405.c
6634   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\pip405\config.mk
6635   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\pip405\init.S
6636   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\pip405\Makefile
6637   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\pip405\pip405.c
6638   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\pip405\pip405.h
6639   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\pip405\u-boot.lds
6640   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\pip405\u-boot.lds.debug
6641   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\vcma9\cmd_vcma9.c
6642   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\vcma9\config.mk
6643   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\vcma9\flash.c
6644   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\vcma9\lowlevel_init.S
6645   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\vcma9\Makefile
6646   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\vcma9\u-boot.lds
6647   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\vcma9\vcma9.c
6648   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mpl\vcma9\vcma9.h
6649   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\musenki\config.mk
6650   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\musenki\flash.c
6651   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\musenki\Makefile
6652   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\musenki\musenki.c
6653   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\musenki\README
6654   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\musenki\u-boot.lds
6655   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mvblue\config.mk
6656   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mvblue\flash.c
6657   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mvblue\Makefile
6658   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mvblue\mvblue.c
6659   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mvblue\u-boot.lds
6660   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mvs1\config.mk
6661   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mvs1\flash.c
6662   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mvs1\Makefile
6663   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mvs1\mvs1.c
6664   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mvs1\README
6665   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mvs1\u-boot.lds
6666   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mvs1\u-boot.lds.debug
6667   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mx1ads\config.mk
6668   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mx1ads\lowlevel_init.S
6669   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mx1ads\Makefile
6670   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mx1ads\mx1ads.c
6671   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mx1ads\syncflash.c
6672   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mx1ads\u-boot.lds
6673   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mx1fs2\config.mk
6674   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mx1fs2\flash.c
6675   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mx1fs2\intel.h
6676   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mx1fs2\lowlevel_init.S
6677   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mx1fs2\Makefile
6678   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mx1fs2\mx1fs2.c
6679   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\mx1fs2\u-boot.lds
6680   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\nc650\config.mk
6681   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\nc650\flash.c
6682   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\nc650\Makefile
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 106 of 285 PageID   #:692
6683   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\nc650\nc650.c
6684   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\nc650\u-boot.lds
6685   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\nc650\u-boot.lds.debug
6686   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netphone\config.mk
6687   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netphone\flash.c
6688   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netphone\Makefile
6689   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netphone\netphone.c
6690   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netphone\phone_console.c
6691   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netphone\u-boot.lds
6692   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netphone\u-boot.lds.debug
6693   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netstar\config.mk
6694   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netstar\crcek.h
6695   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netstar\crcek.S
6696   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netstar\crcit
6697   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netstar\crcit.c
6698   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netstar\eeprom.c
6699   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netstar\eeprom.lds
6700   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netstar\eeprom_start.S
6701   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netstar\flash.c
6702   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netstar\Makefile
6703   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netstar\nand.c
6704   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netstar\netstar.c
6705   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netstar\setup.S
6706   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netstar\u-boot.lds
6707   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netta\codec.c
6708   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netta\config.mk
6709   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netta\dsp.c
6710   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netta\flash.c
6711   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netta\Makefile
6712   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netta\netta.c
6713   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netta\u-boot.lds
6714   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netta\u-boot.lds.debug
6715   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netta2\config.mk
6716   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netta2\flash.c
6717   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netta2\Makefile
6718   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netta2\netta2.c
6719   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netta2\u-boot.lds
6720   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netta2\u-boot.lds.debug
6721   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netvia\config.mk
6722   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netvia\flash.c
6723   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netvia\Makefile
6724   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netvia\netvia.c
6725   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netvia\u-boot.lds
6726   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\netvia\u-boot.lds.debug
6727   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ns9750dev\config.mk
6728   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ns9750dev\flash.c
6729   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ns9750dev\led.c
6730   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ns9750dev\lowlevel_init.S
6731   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ns9750dev\Makefile
6732   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ns9750dev\ns9750dev.c
6733   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ns9750dev\u-boot.lds
6734   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\nx823\config.mk
6735   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\nx823\flash.c
6736   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\nx823\Makefile
6737   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\nx823\nx823.c
6738   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\nx823\u-boot.lds
6739   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\nx823\u-boot.lds.debug
6740   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\o2dnt\config.mk
6741   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\o2dnt\flash.c
6742   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\o2dnt\Makefile
6743   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\o2dnt\o2dnt.c
6744   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\o2dnt\u-boot.lds
6745   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\omap1510inn\config.mk
6746   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\omap1510inn\lowlevel_init.S
6747   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\omap1510inn\Makefile
6748   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\omap1510inn\omap1510innovator.c
6749   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\omap1510inn\u-boot.lds
6750   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\omap1610inn\config.mk
6751   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\omap1610inn\flash.c
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 107 of 285 PageID   #:693
6752   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\omap1610inn\lowlevel_init.S
6753   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\omap1610inn\Makefile
6754   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\omap1610inn\omap1610innovator.c
6755   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\omap1610inn\u-boot.lds
6756   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\omap2420h4\config.mk
6757   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\omap2420h4\flash.c
6758   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\omap2420h4\lowlevel_init.S
6759   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\omap2420h4\Makefile
6760   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\omap2420h4\mem.c
6761   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\omap2420h4\omap2420h4.c
6762   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\omap2420h4\sys_info.c
6763   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\omap2420h4\u-boot.lds
6764   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\omap5912osk\config.mk
6765   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\omap5912osk\lowlevel_init.S
6766   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\omap5912osk\Makefile
6767   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\omap5912osk\omap5912osk.c
6768   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\omap5912osk\u-boot.lds
6769   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\omap730p2\config.mk
6770   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\omap730p2\flash.c
6771   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\omap730p2\lowlevel_init.S
6772   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\omap730p2\Makefile
6773   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\omap730p2\omap730p2.c
6774   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\omap730p2\u-boot.lds
6775   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\oxc\config.mk
6776   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\oxc\flash.c
6777   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\oxc\Makefile
6778   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\oxc\oxc.c
6779   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\oxc\u-boot.lds
6780   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pb1x00\config.mk
6781   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pb1x00\flash.c
6782   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pb1x00\Makefile
6783   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pb1x00\memsetup.S
6784   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pb1x00\pb1x00.c
6785   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pb1x00\README
6786   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pb1x00\u-boot.lds
6787   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pcippc2\config.mk
6788   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pcippc2\cpc710.h
6789   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pcippc2\cpc710_init_ram.c
6790   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pcippc2\cpc710_pci.c
6791   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pcippc2\cpc710_pci.h
6792   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pcippc2\flash.c
6793   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pcippc2\fpga_serial.c
6794   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pcippc2\fpga_serial.h
6795   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pcippc2\hardware.h
6796   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pcippc2\i2c.c
6797   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pcippc2\i2c.h
6798   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pcippc2\Makefile
6799   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pcippc2\ns16550.h
6800   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pcippc2\pcippc2.c
6801   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pcippc2\pcippc2.h
6802   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pcippc2\pcippc2_fpga.c
6803   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pcippc2\pcippc2_fpga.h
6804   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pcippc2\sconsole.c
6805   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pcippc2\sconsole.h
6806   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pcippc2\u-boot.lds
6807   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pleb2\config.mk
6808   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pleb2\flash.c
6809   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pleb2\lowlevel_init.S
6810   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pleb2\Makefile
6811   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pleb2\pleb2.c
6812   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pleb2\u-boot.lds
6813   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pm520\config.mk
6814   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pm520\flash.c
6815   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pm520\Makefile
6816   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pm520\mt46v16m16-75.h
6817   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pm520\mt48lc16m16a2-75.h
6818   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pm520\pm520.c
6819   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pm520\u-boot.lds
6820   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pm826\config.mk
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 108 of 285   PageID #:694
6821   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pm826\flash.c
6822   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pm826\Makefile
6823   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pm826\pm826.c
6824   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pm826\u-boot.lds
6825   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pm828\config.mk
6826   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pm828\flash.c
6827   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pm828\Makefile
6828   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pm828\pm828.c
6829   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pm828\u-boot.lds
6830   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pm854\config.mk
6831   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pm854\init.S
6832   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pm854\Makefile
6833   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pm854\pm854.c
6834   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pm854\u-boot.lds
6835   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pm856\config.mk
6836   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pm856\init.S
6837   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pm856\Makefile
6838   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pm856\pm856.c
6839   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pm856\u-boot.lds
6840   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pn62\cmd_pn62.c
6841   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pn62\config.mk
6842   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pn62\Makefile
6843   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pn62\misc.c
6844   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pn62\pn62.c
6845   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pn62\pn62.h
6846   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pn62\u-boot.lds
6847   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ppmc8260\config.mk
6848   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ppmc8260\Makefile
6849   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ppmc8260\ppmc8260.c
6850   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ppmc8260\strataflash.c
6851   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ppmc8260\u-boot.lds
6852   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\prodrive\p3p440
6853   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\prodrive\p3p440\config.mk
6854   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\prodrive\p3p440\init.S
6855   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\prodrive\p3p440\Makefile
6856   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\prodrive\p3p440\p3p440.c
6857   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\prodrive\p3p440\p3p440.h
6858   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\prodrive\p3p440\u-boot.lds
6859   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\psyent\common
6860   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\psyent\pci5441
6861   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\psyent\pk1c20
6862   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\psyent\common\AMDLV065D.c
6863   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\psyent\pci5441\config.mk
6864   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\psyent\pci5441\Makefile
6865   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\psyent\pci5441\pci5441.c
6866   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\psyent\pci5441\u-boot.lds
6867   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\psyent\pk1c20\config.mk
6868   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\psyent\pk1c20\led.c
6869   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\psyent\pk1c20\Makefile
6870   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\psyent\pk1c20\pk1c20.c
6871   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\psyent\pk1c20\u-boot.lds
6872   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\purple\config.mk
6873   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\purple\flash.c
6874   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\purple\lowlevel_init.S
6875   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\purple\Makefile
6876   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\purple\purple.c
6877   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\purple\sconsole.c
6878   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\purple\sconsole.h
6879   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\purple\u-boot.lds
6880   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pxa255_idp\config.mk
6881   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pxa255_idp\idp_notes.txt
6882   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pxa255_idp\Makefile
6883   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pxa255_idp\memsetup.S
6884   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pxa255_idp\pxa_idp.c
6885   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pxa255_idp\pxa_reg_calcs.out
6886   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pxa255_idp\pxa_reg_calcs.py
6887   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pxa255_idp\README
6888   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\pxa255_idp\u-boot.lds
6889   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\quantum\config.mk
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 109 of 285   PageID #:695
6890   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\quantum\fpga.c
6891   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\quantum\fpga.h
6892   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\quantum\Makefile
6893   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\quantum\quantum.c
6894   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\quantum\u-boot.lds
6895   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\quantum\u-boot.lds.debug
6896   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\r360mpi\config.mk
6897   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\r360mpi\flash.c
6898   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\r360mpi\Makefile
6899   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\r360mpi\r360mpi.c
6900   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\r360mpi\u-boot.lds
6901   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\rattler\config.mk
6902   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\rattler\Makefile
6903   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\rattler\rattler.c
6904   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\rattler\u-boot.lds
6905   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\rbc823\config.mk
6906   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\rbc823\flash.c
6907   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\rbc823\kbd.c
6908   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\rbc823\Makefile
6909   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\rbc823\rbc823.c
6910   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\rbc823\u-boot.lds
6911   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\rmu\config.mk
6912   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\rmu\flash.c
6913   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\rmu\Makefile
6914   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\rmu\rmu.c
6915   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\rmu\u-boot.lds
6916   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\rmu\u-boot.lds.debug
6917   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\RPXClassic\config.mk
6918   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\RPXClassic\eccx.c
6919   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\RPXClassic\flash.c
6920   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\RPXClassic\Makefile
6921   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\RPXClassic\RPXClassic.c
6922   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\RPXClassic\u-boot.lds
6923   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\RPXClassic\u-boot.lds.debug
6924   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\RPXlite\config.mk
6925   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\RPXlite\flash.c
6926   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\RPXlite\Makefile
6927   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\RPXlite\RPXlite.c
6928   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\RPXlite\u-boot.lds
6929   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\RPXlite\u-boot.lds.debug
6930   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\RPXlite_dw\config.mk
6931   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\RPXlite_dw\flash.c
6932   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\RPXlite_dw\Makefile
6933   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\RPXlite_dw\README
6934   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\RPXlite_dw\RPXlite_dw.c
6935   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\RPXlite_dw\u-boot.lds
6936   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\RPXlite_dw\u-boot.lds.debug
6937   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\rpxsuper\config.mk
6938   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\rpxsuper\flash.c
6939   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\rpxsuper\Makefile
6940   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\rpxsuper\mii_phy.c
6941   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\rpxsuper\readme
6942   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\rpxsuper\rpxsuper.c
6943   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\rpxsuper\rpxsuper.h
6944   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\rpxsuper\u-boot.lds
6945   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\RRvision\config.mk
6946   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\RRvision\flash.c
6947   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\RRvision\Makefile
6948   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\RRvision\RRvision.c
6949   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\RRvision\u-boot.lds
6950   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\RRvision\video_ad7179.h
6951   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\rsdproto\config.mk
6952   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\rsdproto\flash.c
6953   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\rsdproto\flash_asm.S
6954   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\rsdproto\Makefile
6955   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\rsdproto\rsdproto.c
6956   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\rsdproto\u-boot.lds
6957   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sacsng\clkinit.c
6958   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sacsng\clkinit.h
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 110 of 285 PageID #:696
6959   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sacsng\config.mk
6960   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sacsng\flash.c
6961   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sacsng\ioconfig.h
6962   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sacsng\Makefile
6963   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sacsng\sacsng.c
6964   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sacsng\u-boot.lds
6965   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandburst\common
6966   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandburst\karef
6967   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandburst\metrobox
6968   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandburst\common\flash.c
6969   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandburst\common\ppc440gx_i2c.c
6970   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandburst\common\ppc440gx_i2c.h
6971   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandburst\common\sb_common.c
6972   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandburst\common\sb_common.h
6973   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandburst\karef\config.mk
6974   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandburst\karef\hal_ka_of_auto.h
6975   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandburst\karef\hal_ka_sc_auto.h
6976   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandburst\karef\init.S
6977   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandburst\karef\karef.c
6978   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandburst\karef\karef.h
6979   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandburst\karef\karef_version.h
6980   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandburst\karef\Makefile
6981   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandburst\karef\u-boot.lds
6982   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandburst\karef\u-boot.lds.debug
6983   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandburst\metrobox\config.mk
6984   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandburst\metrobox\hal_xc_auto.h
6985   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandburst\metrobox\init.S
6986   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandburst\metrobox\Makefile
6987   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandburst\metrobox\metrobox.c
6988   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandburst\metrobox\metrobox.h
6989   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandburst\metrobox\metrobox_version.h
6990   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandburst\metrobox\u-boot.lds
6991   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandburst\metrobox\u-boot.lds.debug
6992   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandpoint\config.mk
6993   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandpoint\dinkdl
6994   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandpoint\early_init.S
6995   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandpoint\flash.c
6996   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandpoint\Makefile
6997   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandpoint\README
6998   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandpoint\sandpoint.c
6999   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandpoint\speed.h
7000   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sandpoint\u-boot.lds
7001   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sbc405\config.mk
7002   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sbc405\Makefile
7003   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sbc405\sbc405.c
7004   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sbc405\strataflash.c
7005   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sbc405\u-boot.lds
7006   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sbc8240\config.mk
7007   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sbc8240\flash.c
7008   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sbc8240\Makefile
7009   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sbc8240\README
7010   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sbc8240\sbc8240.c
7011   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sbc8240\u-boot.lds
7012   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sbc8260\config.mk
7013   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sbc8260\flash.c
7014   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sbc8260\Makefile
7015   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sbc8260\sbc8260.c
7016   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sbc8260\u-boot.lds
7017   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sbc8560\config.mk
7018   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sbc8560\init.S
7019   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sbc8560\Makefile
7020   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sbc8560\sbc8560.c
7021   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sbc8560\u-boot.lds
7022   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sc520_cdp\config.mk
7023   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sc520_cdp\flash.c
7024   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sc520_cdp\flash_old.c
7025   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sc520_cdp\Makefile
7026   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sc520_cdp\sc520_cdp.c
7027   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sc520_cdp\sc520_cdp_asm.S
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 111 of 285 PageID   #:697
7028   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sc520_cdp\sc520_cdp_asm16.S
7029   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sc520_cdp\u-boot.lds
7030   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sc520_spunk\config.mk
7031   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sc520_spunk\flash.c
7032   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sc520_spunk\Makefile
7033   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sc520_spunk\sc520_spunk.c
7034   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sc520_spunk\sc520_spunk_asm.S
7035   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sc520_spunk\sc520_spunk_asm16.S
7036   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sc520_spunk\u-boot.lds
7037   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\scb9328\config.mk
7038   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\scb9328\flash.c
7039   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\scb9328\intel.h
7040   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\scb9328\lowlevel_init.S
7041   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\scb9328\Makefile
7042   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\scb9328\scb9328.c
7043   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\scb9328\u-boot.lds
7044   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\shannon\config.mk
7045   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\shannon\flash.c
7046   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\shannon\inferno.header
7047   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\shannon\lowlevel_init.S
7048   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\shannon\Makefile
7049   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\shannon\shannon.c
7050   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\shannon\u-boot.lds
7051   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens\CCM
7052   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens\common
7053   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens\IAD210
7054   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens\pcu_e
7055   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens\SCM
7056   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens\CCM\ccm.c
7057   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens\CCM\config.mk
7058   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens\CCM\flash.c
7059   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens\CCM\fpga_ccm.c
7060   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens\CCM\Makefile
7061   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens\CCM\u-boot.lds
7062   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens\CCM\u-boot.lds.debug
7063   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens\common\fpga.c
7064   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens\common\fpga.h
7065   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens\common\README
7066   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens\IAD210\atm.c
7067   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens\IAD210\atm.h
7068   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens\IAD210\config.mk
7069   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens\IAD210\flash.c
7070   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens\IAD210\IAD210.c
7071   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens\IAD210\Makefile
7072   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens\IAD210\u-boot.lds
7073   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens\pcu_e\config.mk
7074   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens\pcu_e\flash.c
7075   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens\pcu_e\Makefile
7076   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens\pcu_e\pcu_e.c
7077   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens\pcu_e\u-boot.lds
7078   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens\pcu_e\u-boot.lds.debug
7079   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens\SCM\config.mk
7080   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens\SCM\flash.c
7081   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens\SCM\fpga_scm.c
7082   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens\SCM\Makefile
7083   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens\SCM\scm.c
7084   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens\SCM\scm.h
7085   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\siemens\SCM\u-boot.lds
7086   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sixnet\config.mk
7087   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sixnet\flash.c
7088   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sixnet\fpgadata.c
7089   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sixnet\Makefile
7090   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sixnet\sixnet.c
7091   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sixnet\sixnet.h
7092   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sixnet\u-boot.lds
7093   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sl8245\config.mk
7094   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sl8245\flash.c
7095   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sl8245\Makefile
7096   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sl8245\sl8245.c
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 112 of   285 PageID #:698
7097   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sl8245\u-boot.lds
7098   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\smdk2400\config.mk
7099   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\smdk2400\flash.c
7100   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\smdk2400\lowlevel_init.S
7101   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\smdk2400\Makefile
7102   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\smdk2400\smdk2400.c
7103   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\smdk2400\u-boot.lds
7104   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\smdk2410\config.mk
7105   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\smdk2410\flash.c
7106   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\smdk2410\lowlevel_init.S
7107   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\smdk2410\Makefile
7108   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\smdk2410\smdk2410.c
7109   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\smdk2410\u-boot.lds
7110   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\snmc\qs850
7111   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\snmc\qs860t
7112   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\snmc\qs850\config.mk
7113   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\snmc\qs850\flash.c
7114   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\snmc\qs850\Makefile
7115   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\snmc\qs850\qs850.c
7116   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\snmc\qs850\u-boot.lds
7117   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\snmc\qs860t\config.mk
7118   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\snmc\qs860t\flash.c
7119   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\snmc\qs860t\Makefile
7120   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\snmc\qs860t\qs860t.c
7121   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\snmc\qs860t\u-boot.lds
7122   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sorcery\config.mk
7123   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sorcery\Makefile
7124   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sorcery\sorcery.c
7125   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sorcery\u-boot.lds
7126   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\spd8xx\config.mk
7127   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\spd8xx\flash.c
7128   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\spd8xx\Makefile
7129   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\spd8xx\spd8xx.c
7130   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\spd8xx\u-boot.lds
7131   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\spd8xx\u-boot.lds.debug
7132   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ssv\adnpesc1
7133   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ssv\common
7134   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ssv\adnpesc1\adnpesc1.c
7135   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ssv\adnpesc1\config.mk
7136   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ssv\adnpesc1\flash.c
7137   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ssv\adnpesc1\Makefile
7138   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ssv\adnpesc1\misc.c
7139   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ssv\adnpesc1\u-boot.lds
7140   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ssv\adnpesc1\vectors.S
7141   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ssv\common\cmd_sled.c
7142   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ssv\common\flash.c
7143   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ssv\common\post.c
7144   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\ssv\common\wd_pio.c
7145   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\stamp\config.mk
7146   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\stamp\Makefile
7147   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\stamp\stamp.c
7148   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\stamp\stamp.h
7149   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\stamp\u-boot.lds
7150   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\stxgp3\config.mk
7151   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\stxgp3\flash.c
7152   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\stxgp3\init.S
7153   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\stxgp3\Makefile
7154   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\stxgp3\stxgp3.c
7155   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\stxgp3\u-boot.lds
7156   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\stxxtc\config.mk
7157   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\stxxtc\Makefile
7158   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\stxxtc\oftree.dts
7159   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\stxxtc\stxxtc.c
7160   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\stxxtc\u-boot.lds
7161   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\stxxtc\u-boot.lds.debug
7162   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\svm_sc8xx\config.mk
7163   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\svm_sc8xx\flash.c
7164   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\svm_sc8xx\Makefile
7165   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\svm_sc8xx\svm_sc8xx.c
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 113 of 285   PageID #:699
7166   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\svm_sc8xx\u-boot.lds
7167   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\svm_sc8xx\u-boot.lds.debug
7168   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sx1\config.mk
7169   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sx1\lowlevel_init.S
7170   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sx1\Makefile
7171   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sx1\sx1.c
7172   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\sx1\u-boot.lds
7173   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tb0229\config.mk
7174   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tb0229\flash.c
7175   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tb0229\lowlevel_init.S
7176   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tb0229\Makefile
7177   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tb0229\tb0229.c
7178   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tb0229\u-boot.lds
7179   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tb0229\vr4131-pci.c
7180   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\total5200\config.mk
7181   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\total5200\Makefile
7182   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\total5200\mt48lc16m16a2-75.h
7183   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\total5200\mt48lc32m16a2-75.h
7184   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\total5200\sdram.c
7185   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\total5200\sdram.h
7186   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\total5200\total5200.c
7187   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\total5200\u-boot.lds
7188   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tqm5200\cmd_stk52xx.c
7189   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tqm5200\config.mk
7190   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tqm5200\flash.c
7191   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tqm5200\Makefile
7192   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tqm5200\mt48lc16m16a2-75.h
7193   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tqm5200\tqm5200.c
7194   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tqm5200\u-boot.lds
7195   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tqm8260\config.mk
7196   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tqm8260\flash.c
7197   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tqm8260\Makefile
7198   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tqm8260\tqm8260.c
7199   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tqm8260\u-boot.lds
7200   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tqm834x\config.mk
7201   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tqm834x\Makefile
7202   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tqm834x\pci.c
7203   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tqm834x\tqm834x.c
7204   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tqm834x\u-boot.lds
7205   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tqm85xx\config.mk
7206   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tqm85xx\init.S
7207   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tqm85xx\Makefile
7208   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tqm85xx\sdram.c
7209   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tqm85xx\tqm85xx.c
7210   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tqm85xx\u-boot.lds
7211   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tqm8xx\config.mk
7212   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tqm8xx\flash.c
7213   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tqm8xx\load_sernum_ethaddr.c
7214   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tqm8xx\Makefile
7215   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tqm8xx\tqm8xx.c
7216   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tqm8xx\u-boot.lds
7217   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\tqm8xx\u-boot.lds.debug
7218   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\trab\auto_update.c
7219   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\trab\cmd_trab.c
7220   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\trab\config.mk
7221   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\trab\flash.c
7222   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\trab\lowlevel_init.S
7223   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\trab\Makefile
7224   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\trab\memory.c
7225   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\trab\Pt1000_temp_data.h
7226   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\trab\README.kbd
7227   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\trab\rs485.c
7228   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\trab\rs485.h
7229   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\trab\trab.c
7230   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\trab\trab_fkt.c
7231   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\trab\tsc2000.c
7232   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\trab\tsc2000.h
7233   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\trab\u-boot.lds
7234   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\trab\vfd.c
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 114 of 285 PageID   #:700
7235   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\uc100\config.mk
7236   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\uc100\Makefile
7237   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\uc100\u-boot.lds
7238   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\uc100\u-boot.lds.debug
7239   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\uc100\uc100.c
7240   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\utx8245\config.mk
7241   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\utx8245\flash.c
7242   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\utx8245\Makefile
7243   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\utx8245\u-boot.lds
7244   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\utx8245\utx8245.c
7245   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\v37\config.mk
7246   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\v37\flash.c
7247   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\v37\Makefile
7248   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\v37\u-boot.lds
7249   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\v37\v37.c
7250   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\versatile\config.mk
7251   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\versatile\flash.c
7252   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\versatile\lowlevel_init.S
7253   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\versatile\Makefile
7254   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\versatile\split_by_variant.sh
7255   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\versatile\u-boot.lds
7256   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\versatile\versatile.c
7257   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\voiceblue\config.mk
7258   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\voiceblue\eeprom.c
7259   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\voiceblue\eeprom.lds
7260   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\voiceblue\eeprom_start.S
7261   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\voiceblue\Makefile
7262   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\voiceblue\setup.S
7263   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\voiceblue\u-boot.lds
7264   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\voiceblue\voiceblue.c
7265   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\w7o\cmd_vpd.c
7266   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\w7o\config.mk
7267   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\w7o\errors.h
7268   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\w7o\flash.c
7269   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\w7o\fpga.c
7270   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\w7o\fsboot.c
7271   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\w7o\init.S
7272   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\w7o\Makefile
7273   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\w7o\post1.S
7274   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\w7o\post2.c
7275   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\w7o\u-boot.lds
7276   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\w7o\u-boot.lds.debug
7277   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\w7o\vpd.c
7278   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\w7o\vpd.h
7279   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\w7o\w7o.c
7280   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\w7o\w7o.h
7281   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\w7o\watchdog.c
7282   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\wepep250\config.mk
7283   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\wepep250\flash.c
7284   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\wepep250\intel.h
7285   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\wepep250\lowlevel_init.S
7286   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\wepep250\Makefile
7287   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\wepep250\u-boot.lds
7288   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\wepep250\wepep250.c
7289   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\westel\amx860
7290   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\westel\amx860\amx860.c
7291   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\westel\amx860\config.mk
7292   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\westel\amx860\flash.c
7293   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\westel\amx860\Makefile
7294   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\westel\amx860\u-boot.lds
7295   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\westel\amx860\u-boot.lds.debug
7296   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xaeniax\config.mk
7297   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xaeniax\flash.c
7298   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xaeniax\lowlevel_init.S
7299   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xaeniax\Makefile
7300   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xaeniax\u-boot.lds
7301   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xaeniax\xaeniax.c
7302   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\common
7303   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\ml300
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 115 of 285 PageID #:701
7304   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\xilinx_enet
7305   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\xilinx_iic
7306   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\common\xbasic_types.c
7307   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\common\xbasic_types.h
7308   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\common\xbuf_descriptor.h
7309   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\common\xdma_channel.c
7310   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\common\xdma_channel.h
7311   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\common\xdma_channel_i.h
7312   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\common\xdma_channel_sg.c
7313   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\common\xio.h
7314   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\common\xipif_v1_23_b.c
7315   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\common\xipif_v1_23_b.h
7316   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\common\xpacket_fifo_v1_00_b.c
7317   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\common\xpacket_fifo_v1_00_b.h
7318   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\common\xstatus.h
7319   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\common\xversion.c
7320   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\common\xversion.h
7321   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\ml300\config.mk
7322   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\ml300\init.S
7323   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\ml300\Makefile
7324   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\ml300\ml300.c
7325   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\ml300\serial.c
7326   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\ml300\sw_services
7327   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\ml300\u-boot.lds
7328   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\ml300\u-boot.lds.debug
7329   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\ml300\xparameters.h
7330   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\ml300\sw_services\uboot_v1_00_a
7331   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\ml300\sw_services\uboot_v1_00_a\data
7332   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\ml300\sw_services\uboot_v1_00_a\data\Ltypes
7333   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\ml300\sw_services\uboot_v1_00_a\data\uboot_v2
       _1_0.mld
7334   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\ml300\sw_services\uboot_v1_00_a\data\uboot_v2
       _1_0.tcl
7335   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\xilinx_enet\emac_adapter.c
7336   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\xilinx_enet\xemac.c
7337   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\xilinx_enet\xemac.h
7338   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\xilinx_enet\xemac_g.c
7339   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\xilinx_enet\xemac_i.h
7340   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\xilinx_enet\xemac_intr.c
7341   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\xilinx_enet\xemac_intr_dma.c
7342   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\xilinx_enet\xemac_l.h
7343   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\xilinx_enet\xemac_options.c
7344   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\xilinx_enet\xemac_polled.c
7345   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\xilinx_iic\iic_adapter.c
7346   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\xilinx_iic\xiic_l.c
7347   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xilinx\xilinx_iic\xiic_l.h
7348   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xm250\config.mk
7349   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xm250\flash.c
7350   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xm250\lowlevel_init.S
7351   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xm250\Makefile
7352   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xm250\u-boot.lds
7353   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xm250\xm250.c
7354   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xpedite1k\config.mk
7355   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xpedite1k\flash.c
7356   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xpedite1k\init.S
7357   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xpedite1k\Makefile
7358   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xpedite1k\u-boot.lds
7359   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xpedite1k\u-boot.lds.debug
7360   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xpedite1k\xpedite1k.c
7361   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xsengine\config.mk
7362   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xsengine\flash.c
7363   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xsengine\lowlevel_init.S
7364   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xsengine\Makefile
7365   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xsengine\u-boot.lds
7366   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\xsengine\xsengine.c
7367   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\zpc1900\config.mk
7368   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\zpc1900\Makefile
7369   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\zpc1900\u-boot.lds
7370   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\zpc1900\zpc1900.c
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 116 of 285 PageID #:702
7371   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\zylonite\config.mk
7372   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\zylonite\flash.c
7373   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\zylonite\lowlevel_init.S
7374   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\zylonite\Makefile
7375   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\zylonite\u-boot.lds
7376   GPL.UBNT.v6.1.7\uboot\uboot-ti\board\zylonite\zylonite.c
7377   GPL.UBNT.v6.1.7\uboot\uboot-ti\boot\u-boot
7378   GPL.UBNT.v6.1.7\uboot\uboot-ti\boot\u-boot\board
7379   GPL.UBNT.v6.1.7\uboot\uboot-ti\boot\u-boot\board\ar7240
7380   GPL.UBNT.v6.1.7\uboot\uboot-ti\boot\u-boot\board\ar7240\common
7381   GPL.UBNT.v6.1.7\uboot\uboot-ti\boot\u-boot\board\ar7240\common\athrs_vir_phy.c
7382   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\ACEX1K.c
7383   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\altera.c
7384   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\bedbug.c
7385   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\circbuf.c
7386   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_ace.c
7387   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_autoscript.c
7388   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_bdinfo.c
7389   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_bdr.c
7390   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_bedbug.c
7391   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_bmp.c
7392   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_boot.c
7393   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_bootm.c
7394   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_cache.c
7395   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_console.c
7396   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_date.c
7397   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_dcr.c
7398   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_ddr.c
7399   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_diag.c
7400   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_display.c
7401   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_doc.c
7402   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_dtt.c
7403   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_eeprom.c
7404   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_elf.c
7405   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_ethreg.c
7406   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_ext2.c
7407   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_fat.c
7408   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_fdc.c
7409   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_fdos.c
7410   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_flash.c
7411   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_fpga.c
7412   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_i2c.c
7413   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_ide.c
7414   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_immap.c
7415   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_itest.c
7416   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_jffs2.c
7417   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_load.c
7418   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_log.c
7419   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_mem.c
7420   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_mii.c
7421   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_misc.c
7422   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_mmc.c
7423   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_nand.c
7424   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_net.c
7425   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_nvedit.c
7426   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_pci.c
7427   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_pcmcia.c
7428   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_pll.c
7429   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_portio.c
7430   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_reginfo.c
7431   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_reiser.c
7432   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_scsi.c
7433   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_spi.c
7434   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_universe.c
7435   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_usb.c
7436   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_vfd.c
7437   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\cmd_ximg.c
7438   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\command.c
7439   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\console.c
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page   117 of 285 PageID #:703
7440   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\crc16.c
7441   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\devices.c
7442   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\dlmalloc.c
7443   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\dlmalloc.src
7444   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\docecc.c
7445   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\environment.c
7446   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\env_common.c
7447   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\env_dataflash.c
7448   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\env_eeprom.c
7449   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\env_flash.c
7450   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\env_nand.c
7451   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\env_nowhere.c
7452   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\env_nvram.c
7453   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\exports.c
7454   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\flash.c
7455   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\fpga.c
7456   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\ft_build.c
7457   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\hush.c
7458   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\kgdb.c
7459   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\lcd.c
7460   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\lists.c
7461   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\lynxkdi.c
7462   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\main.c
7463   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\Makefile
7464   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\memsize.c
7465   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\miiphybb.c
7466   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\miiphyutil.c
7467   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\serial.c
7468   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\soft_i2c.c
7469   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\soft_spi.c
7470   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\spartan2.c
7471   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\spartan3.c
7472   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\s_record.c
7473   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\ubnt_api_calls.c
7474   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\usb.c
7475   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\usb_kbd.c
7476   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\usb_storage.c
7477   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\virtex2.c
7478   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\xilinx.c
7479   GPL.UBNT.v6.1.7\uboot\uboot-ti\common\xyzModem.c
7480   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\74xx_7xx
7481   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm1136
7482   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm720t
7483   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t
7484   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm925t
7485   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm926ejs
7486   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm946es
7487   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm_intcm
7488   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\bf533
7489   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\i386
7490   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ixp
7491   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\lh7a40x
7492   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mcf52x2
7493   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\microblaze
7494   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips
7495   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc5xx
7496   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc5xxx
7497   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8220
7498   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x
7499   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8260
7500   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc83xx
7501   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc85xx
7502   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8xx
7503   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\nios
7504   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\nios2
7505   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ppc4xx
7506   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\pxa
7507   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\s3c44b0
7508   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\sa1100
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 118 of 285 PageID   #:704
7509   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\74xx_7xx\cache.S
7510   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\74xx_7xx\config.mk
7511   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\74xx_7xx\cpu.c
7512   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\74xx_7xx\cpu_init.c
7513   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\74xx_7xx\interrupts.c
7514   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\74xx_7xx\io.S
7515   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\74xx_7xx\kgdb.S
7516   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\74xx_7xx\Makefile
7517   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\74xx_7xx\speed.c
7518   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\74xx_7xx\start.S
7519   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\74xx_7xx\traps.c
7520   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm1136\config.mk
7521   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm1136\cpu.c
7522   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm1136\interrupts.c
7523   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm1136\Makefile
7524   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm1136\start.S
7525   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm720t\config.mk
7526   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm720t\cpu.c
7527   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm720t\interrupts.c
7528   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm720t\Makefile
7529   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm720t\serial.c
7530   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm720t\serial_netarm.c
7531   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm720t\start.S
7532   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\at91rm9200
7533   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\config.mk
7534   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\cpu.c
7535   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\imx
7536   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\interrupts.c
7537   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\ks8695
7538   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\Makefile
7539   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\s3c24x0
7540   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\start.S
7541   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\at91rm9200\bcm5221.c
7542   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\at91rm9200\dm9161.c
7543   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\at91rm9200\ether.c
7544   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\at91rm9200\i2c.c
7545   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\at91rm9200\interrupts.c
7546   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\at91rm9200\lowlevel_init.S
7547   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\at91rm9200\lxt972.c
7548   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\at91rm9200\Makefile
7549   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\at91rm9200\serial.c
7550   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\at91rm9200\usb_ohci.c
7551   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\at91rm9200\usb_ohci.h
7552   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\imx\generic.c
7553   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\imx\interrupts.c
7554   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\imx\Makefile
7555   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\imx\serial.c
7556   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\imx\speed.c
7557   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\ks8695\interrupts.c
7558   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\ks8695\lowlevel_init.S
7559   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\ks8695\Makefile
7560   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\ks8695\serial.c
7561   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\s3c24x0\i2c.c
7562   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\s3c24x0\interrupts.c
7563   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\s3c24x0\Makefile
7564   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\s3c24x0\serial.c
7565   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\s3c24x0\speed.c
7566   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\s3c24x0\usb_ohci.c
7567   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm920t\s3c24x0\usb_ohci.h
7568   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm925t\config.mk
7569   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm925t\cpu.c
7570   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm925t\interrupts.c
7571   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm925t\Makefile
7572   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm925t\omap925.c
7573   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm925t\start.S
7574   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm926ejs\config.mk
7575   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm926ejs\cpu.c
7576   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm926ejs\interrupts.c
7577   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm926ejs\Makefile
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 119 of 285   PageID #:705
7578   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm926ejs\omap
7579   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm926ejs\start.S
7580   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm926ejs\versatile
7581   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm926ejs\omap\Makefile
7582   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm926ejs\omap\reset.S
7583   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm926ejs\omap\timer.c
7584   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm926ejs\versatile\Makefile
7585   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm926ejs\versatile\reset.S
7586   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm926ejs\versatile\timer.c
7587   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm946es\config.mk
7588   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm946es\cpu.c
7589   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm946es\interrupts.c
7590   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm946es\Makefile
7591   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm946es\start.S
7592   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm_intcm\config.mk
7593   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm_intcm\cpu.c
7594   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm_intcm\interrupts.c
7595   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm_intcm\Makefile
7596   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\arm_intcm\start.S
7597   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\bf533\bf533_serial.h
7598   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\bf533\cache.S
7599   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\bf533\config.mk
7600   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\bf533\cplbhdlr.S
7601   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\bf533\cplbmgr.S
7602   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\bf533\cpu.c
7603   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\bf533\cpu.h
7604   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\bf533\flush.S
7605   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\bf533\interrupt.S
7606   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\bf533\interrupts.c
7607   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\bf533\ints.c
7608   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\bf533\Makefile
7609   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\bf533\serial.c
7610   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\bf533\start.S
7611   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\bf533\start1.S
7612   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\bf533\traps.c
7613   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\i386\config.mk
7614   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\i386\cpu.c
7615   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\i386\interrupts.c
7616   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\i386\Makefile
7617   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\i386\reset.S
7618   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\i386\sc520.c
7619   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\i386\sc520_asm.S
7620   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\i386\serial.c
7621   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\i386\start.S
7622   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\i386\start16.S
7623   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\i386\timer.c
7624   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ixp\config.mk
7625   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ixp\cpu.c
7626   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ixp\interrupts.c
7627   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ixp\Makefile
7628   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ixp\pci.c
7629   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ixp\serial.c
7630   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ixp\start.S
7631   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ixp\timer.c
7632   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\lh7a40x\config.mk
7633   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\lh7a40x\cpu.c
7634   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\lh7a40x\interrupts.c
7635   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\lh7a40x\Makefile
7636   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\lh7a40x\serial.c
7637   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\lh7a40x\speed.c
7638   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\lh7a40x\start.S
7639   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mcf52x2\config.mk
7640   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mcf52x2\cpu.c
7641   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mcf52x2\cpu_init.c
7642   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mcf52x2\fec.c
7643   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mcf52x2\interrupts.c
7644   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mcf52x2\Makefile
7645   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mcf52x2\serial.c
7646   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mcf52x2\speed.c
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 120 of 285 PageID #:706
7647   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mcf52x2\start.S
7648   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\microblaze\cpu.c
7649   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\microblaze\interrupts.c
7650   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\microblaze\Makefile
7651   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\microblaze\start.S
7652   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\ar7100
7653   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\ar7240
7654   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\asc_serial.c
7655   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\asc_serial.h
7656   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\au1x00_eth.c
7657   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\au1x00_serial.c
7658   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\au1x00_usb_ohci.c
7659   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\au1x00_usb_ohci.h
7660   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\cache.S
7661   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\config.mk
7662   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\cpu.c
7663   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\incaip_clock.c
7664   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\incaip_wdt.S
7665   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\interrupts.c
7666   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\Makefile
7667   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\Makefile.orig
7668   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\start.S
7669   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\start_bootstrap.S
7670   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\ar7100\ag7100.c
7671   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\ar7100\ag7100.h
7672   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\ar7100\ag7100_phy.h
7673   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\ar7100\ar7100_serial.c
7674   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\ar7100\Makefile
7675   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\ar7100\meminit.c
7676   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\ar7240\ag7240.c
7677   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\ar7240\ag7240.h
7678   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\ar7240\ag7240_phy.h
7679   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\ar7240\ag934x.c
7680   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\ar7240\ag934x.h
7681   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\ar7240\ag934x_phy.h
7682   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\ar7240\ar7240_serial.c
7683   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\ar7240\hornet.h
7684   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\ar7240\hornet_ag7240.c
7685   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\ar7240\hornet_ddr_init.S
7686   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\ar7240\hornet_serial.c
7687   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\ar7240\Makefile
7688   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mips\ar7240\meminit.c
7689   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc5xx\config.mk
7690   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc5xx\cpu.c
7691   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc5xx\cpu_init.c
7692   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc5xx\interrupts.c
7693   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc5xx\Makefile
7694   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc5xx\serial.c
7695   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc5xx\speed.c
7696   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc5xx\spi.c
7697   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc5xx\start.S
7698   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc5xx\traps.c
7699   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc5xxx\config.mk
7700   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc5xxx\cpu.c
7701   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc5xxx\cpu_init.c
7702   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc5xxx\fec.c
7703   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc5xxx\fec.h
7704   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc5xxx\firmware_sc_task.impl.S
7705   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc5xxx\firmware_sc_task_bestcomm.impl.S
7706   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc5xxx\i2c.c
7707   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc5xxx\ide.c
7708   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc5xxx\interrupts.c
7709   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc5xxx\io.S
7710   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc5xxx\loadtask.c
7711   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc5xxx\Makefile
7712   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc5xxx\pci_mpc5200.c
7713   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc5xxx\sdma.h
7714   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc5xxx\serial.c
7715   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc5xxx\speed.c
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 121 of 285 PageID   #:707
7716   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc5xxx\start.S
7717   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc5xxx\traps.c
7718   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc5xxx\usb_ohci.c
7719   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc5xxx\usb_ohci.h
7720   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8220\config.mk
7721   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8220\cpu.c
7722   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8220\cpu_init.c
7723   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8220\dma.h
7724   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8220\dramSetup.c
7725   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8220\dramSetup.h
7726   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8220\fec.c
7727   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8220\fec.h
7728   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8220\fec_dma_tasks.S
7729   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8220\i2c.c
7730   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8220\i2cCore.c
7731   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8220\i2cCore.h
7732   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8220\interrupts.c
7733   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8220\io.S
7734   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8220\loadtask.c
7735   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8220\Makefile
7736   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8220\pci.c
7737   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8220\speed.c
7738   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8220\start.S
7739   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8220\traps.c
7740   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8220\uart.c
7741   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\config.mk
7742   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\cpu.c
7743   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\cpu_init.c
7744   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\drivers
7745   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\interrupts.c
7746   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\Makefile
7747   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\pci.c
7748   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\speed.c
7749   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\start.S
7750   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\traps.c
7751   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\drivers\dma
7752   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\drivers\dma_export.h
7753   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\drivers\epic
7754   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\drivers\epic.h
7755   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\drivers\errors.h
7756   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\drivers\i2c
7757   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\drivers\i2c_export.h
7758   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\drivers\i2o
7759   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\drivers\i2o.h
7760   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\drivers\dma\dma.h
7761   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\drivers\dma\dma1.c
7762   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\drivers\dma\dma2.S
7763   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\drivers\dma\dma_export.h
7764   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\drivers\dma\Makefile
7765   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\drivers\dma\Makefile_pc
7766   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\drivers\dma\README
7767   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\drivers\epic\epic.h
7768   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\drivers\epic\epic1.c
7769   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\drivers\epic\epic2.S
7770   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\drivers\epic\epicutil.S
7771   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\drivers\epic\README
7772   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\drivers\i2c\i2c.c
7773   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\drivers\i2o\i2o.h
7774   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\drivers\i2o\i2o1.c
7775   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\drivers\i2o\i2o2.S
7776   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\drivers\i2o\Makefile
7777   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc824x\drivers\i2o\Makefile_pc
7778   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8260\bedbug_603e.c
7779   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8260\commproc.c
7780   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8260\config.mk
7781   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8260\cpu.c
7782   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8260\cpu_init.c
7783   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8260\ether_fcc.c
7784   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8260\ether_scc.c
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page   122 of 285 PageID #:708
7785   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8260\i2c.c
7786   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8260\interrupts.c
7787   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8260\kgdb.S
7788   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8260\Makefile
7789   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8260\pci.c
7790   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8260\serial_scc.c
7791   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8260\serial_smc.c
7792   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8260\speed.c
7793   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8260\speed.h
7794   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8260\spi.c
7795   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8260\start.S
7796   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8260\traps.c
7797   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc83xx\config.mk
7798   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc83xx\cpu.c
7799   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc83xx\cpu_init.c
7800   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc83xx\i2c.c
7801   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc83xx\interrupts.c
7802   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc83xx\Makefile
7803   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc83xx\resetvec.S
7804   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc83xx\spd_sdram.c
7805   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc83xx\speed.c
7806   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc83xx\start.S
7807   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc83xx\traps.c
7808   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc85xx\commproc.c
7809   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc85xx\config.mk
7810   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc85xx\cpu.c
7811   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc85xx\cpu_init.c
7812   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc85xx\ether_fcc.c
7813   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc85xx\i2c.c
7814   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc85xx\interrupts.c
7815   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc85xx\Makefile
7816   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc85xx\pci.c
7817   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc85xx\resetvec.S
7818   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc85xx\serial_scc.c
7819   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc85xx\spd_sdram.c
7820   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc85xx\speed.c
7821   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc85xx\start.S
7822   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc85xx\traps.c
7823   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8xx\bedbug_860.c
7824   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8xx\commproc.c
7825   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8xx\config.mk
7826   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8xx\cpu.c
7827   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8xx\cpu_init.c
7828   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8xx\fec.c
7829   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8xx\fec.h
7830   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8xx\i2c.c
7831   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8xx\interrupts.c
7832   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8xx\kgdb.S
7833   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8xx\lcd.c
7834   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8xx\Makefile
7835   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8xx\plprcr_write.S
7836   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8xx\scc.c
7837   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8xx\serial.c
7838   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8xx\speed.c
7839   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8xx\spi.c
7840   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8xx\start.S
7841   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8xx\traps.c
7842   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8xx\upatch.c
7843   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8xx\video.c
7844   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\mpc8xx\wlkbd.c
7845   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\nios\asmi.c
7846   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\nios\config.mk
7847   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\nios\cpu.c
7848   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\nios\interrupts.c
7849   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\nios\Makefile
7850   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\nios\serial.c
7851   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\nios\spi.c
7852   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\nios\start.S
7853   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\nios\traps.S
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page   123 of 285 PageID #:709
7854   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\nios2\config.mk
7855   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\nios2\cpu.c
7856   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\nios2\epcs.c
7857   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\nios2\exceptions.S
7858   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\nios2\interrupts.c
7859   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\nios2\Makefile
7860   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\nios2\serial.c
7861   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\nios2\start.S
7862   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\nios2\sysid.c
7863   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\nios2\traps.c
7864   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ppc4xx\405gp_pci.c
7865   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ppc4xx\4xx_enet.c
7866   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ppc4xx\bedbug_405.c
7867   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ppc4xx\commproc.c
7868   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ppc4xx\config.mk
7869   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ppc4xx\cpu.c
7870   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ppc4xx\cpu_init.c
7871   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ppc4xx\dcr.S
7872   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ppc4xx\i2c.c
7873   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ppc4xx\interrupts.c
7874   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ppc4xx\kgdb.S
7875   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ppc4xx\Makefile
7876   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ppc4xx\miiphy.c
7877   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ppc4xx\resetvec.S
7878   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ppc4xx\sdram.c
7879   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ppc4xx\sdram.h
7880   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ppc4xx\serial.c
7881   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ppc4xx\spd_sdram.c
7882   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ppc4xx\speed.c
7883   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ppc4xx\start.S
7884   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ppc4xx\traps.c
7885   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ppc4xx\usbdev.c
7886   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ppc4xx\usbdev.h
7887   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ppc4xx\usb_ohci.c
7888   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ppc4xx\usb_ohci.h
7889   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\ppc4xx\vecnum.h
7890   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\pxa\config.mk
7891   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\pxa\cpu.c
7892   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\pxa\i2c.c
7893   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\pxa\interrupts.c
7894   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\pxa\Makefile
7895   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\pxa\mmc.c
7896   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\pxa\pxafb.c
7897   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\pxa\serial.c
7898   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\pxa\start.S
7899   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\s3c44b0\config.mk
7900   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\s3c44b0\cpu.c
7901   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\s3c44b0\interrupts.c
7902   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\s3c44b0\Makefile
7903   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\s3c44b0\serial.c
7904   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\s3c44b0\start.S
7905   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\sa1100\config.mk
7906   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\sa1100\cpu.c
7907   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\sa1100\interrupts.c
7908   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\sa1100\Makefile
7909   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\sa1100\serial.c
7910   GPL.UBNT.v6.1.7\uboot\uboot-ti\cpu\sa1100\start.S
7911   GPL.UBNT.v6.1.7\uboot\uboot-ti\disk\Makefile
7912   GPL.UBNT.v6.1.7\uboot\uboot-ti\disk\part.c
7913   GPL.UBNT.v6.1.7\uboot\uboot-ti\disk\part_amiga.c
7914   GPL.UBNT.v6.1.7\uboot\uboot-ti\disk\part_amiga.h
7915   GPL.UBNT.v6.1.7\uboot\uboot-ti\disk\part_dos.c
7916   GPL.UBNT.v6.1.7\uboot\uboot-ti\disk\part_dos.h
7917   GPL.UBNT.v6.1.7\uboot\uboot-ti\disk\part_iso.c
7918   GPL.UBNT.v6.1.7\uboot\uboot-ti\disk\part_iso.h
7919   GPL.UBNT.v6.1.7\uboot\uboot-ti\disk\part_mac.c
7920   GPL.UBNT.v6.1.7\uboot\uboot-ti\disk\part_mac.h
7921   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\I2C_Edge_Conditions
7922   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README-i386
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 124 of 285   PageID #:710
7923   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README-integrator
7924   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.adnpesc1
7925   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.adnpesc1_base32
7926   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.alaska8220
7927   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.AMCC-eval-boards-cleanup
7928   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.amigaone
7929   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.ARM-memory-map
7930   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.ARM-SoC
7931   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.autoboot
7932   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.bedbug
7933   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.cmi
7934   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.COBRA5272
7935   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.commands
7936   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.commands.itest
7937   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.console
7938   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.db64360
7939   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.db64460
7940   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.dk1c20
7941   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.dk1c20_std32
7942   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.dk1s10
7943   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.dk1s10_mldk20
7944   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.dk1s10_std32
7945   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.dk1s40_std32
7946   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.dk20k200_std32
7947   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.ebony
7948   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.EVB-64260-750CX
7949   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.evb64260
7950   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.fads
7951   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.IceCube
7952   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.idma2intr
7953   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.INCA-IP
7954   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.IPHASE4539
7955   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.JFFS2
7956   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.JFFS2_NAND
7957   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.lynxkdi
7958   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.m68k
7959   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.MBX
7960   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.ml300
7961   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.Modem
7962   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.modnet50
7963   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.mpc5xx
7964   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.mpc74xx
7965   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.mpc8349emds.ddrecc
7966   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.mpc83xxads
7967   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.mpc85xxads
7968   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.mpc85xxcds
7969   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.MPC866
7970   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.nand
7971   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.ne2000
7972   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.NetConsole
7973   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.nios
7974   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.nios_CFG_NIOS_CPU
7975   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.nios_DK
7976   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.ns9750dev
7977   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.ocotea
7978   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.ocotea-PIBS-to-U-Boot
7979   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.OFT
7980   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.omap730p2
7981   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.OXC
7982   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.PIP405
7983   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.PlanetCore
7984   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.POST
7985   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.ppc440
7986   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.Purple
7987   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.PXA_CF
7988   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.RPXClassic
7989   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.RPXlite
7990   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.Sandpoint8240
7991   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.sbc8560
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page   125 of 285 PageID #:711
7992   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.sched
7993   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.serial_multi
7994   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.silent
7995   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.SNTP
7996   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.standalone
7997   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.stxxtc
7998   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.TQM8260
7999   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.usb
8000   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.video
8001   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.VLAN
8002   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\README.xpedite1k
8003   GPL.UBNT.v6.1.7\uboot\uboot-ti\doc\TODO-i386
8004   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\3c589.c
8005   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\3c589.h
8006   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\5701rls.c
8007   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\5701rls.h
8008   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\8390.h
8009   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\ali512x.c
8010   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\bcm570x.c
8011   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\bcm570x_autoneg.c
8012   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\bcm570x_autoneg.h
8013   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\bcm570x_bits.h
8014   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\bcm570x_debug.h
8015   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\bcm570x_lm.h
8016   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\bcm570x_mm.h
8017   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\bcm570x_queue.h
8018   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\cfb_console.c
8019   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\cfi_flash.c
8020   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\cs8900.c
8021   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\cs8900.h
8022   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\ct69000.c
8023   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\dataflash.c
8024   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\dc2114x.c
8025   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\dm9000x.c
8026   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\dm9000x.h
8027   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\ds1722.c
8028   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\e1000.c
8029   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\e1000.h
8030   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\eepro100.c
8031   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\i8042.c
8032   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\i82365.c
8033   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\inca-ip_sw.c
8034   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\keyboard.c
8035   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\ks8695eth.c
8036   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\lan91c96.c
8037   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\lan91c96.h
8038   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\Makefile
8039   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\mw_eeprom.c
8040   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\nand
8041   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\nand_legacy
8042   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\natsemi.c
8043   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\ne2000.c
8044   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\ne2000.h
8045   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\netarm_eth.c
8046   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\netarm_eth.h
8047   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\netconsole.c
8048   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\nicext.h
8049   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\ns16550.c
8050   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\ns7520_eth.c
8051   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\ns8382x.c
8052   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\ns87308.c
8053   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\ns9750_eth.c
8054   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\ns9750_serial.c
8055   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\omap1510_i2c.c
8056   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\omap24xx_i2c.c
8057   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\pci.c
8058   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\pci_auto.c
8059   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\pci_indirect.c
8060   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\pcnet.c
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 126 of 285   PageID #:712
8061   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\pc_keyb.c
8062   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\plb2800_eth.c
8063   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\ps2mult.c
8064   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\ps2ser.c
8065   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\rtl8019.c
8066   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\rtl8019.h
8067   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\rtl8139.c
8068   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\rtl8169.c
8069   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\s3c4510b_eth.c
8070   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\s3c4510b_eth.h
8071   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\s3c4510b_uart.c
8072   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\s3c4510b_uart.h
8073   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sed13806.c
8074   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sed156x.c
8075   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\serial.c
8076   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\serial_max3100.c
8077   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\serial_pl010.c
8078   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\serial_pl011.c
8079   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\serial_pl011.h
8080   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\serial_xuartlite.c
8081   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin
8082   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sl811.h
8083   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sl811_usb.c
8084   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sm501.c
8085   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\smc91111.c
8086   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\smc91111.h
8087   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\smiLynxEM.c
8088   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\status_led.c
8089   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sym53c8xx.c
8090   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\tigon3.c
8091   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\tigon3.h
8092   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\ti_pci1410a.c
8093   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\tsec.c
8094   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\tsec.h
8095   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\usbdcore.c
8096   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\usbdcore_ep0.c
8097   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\usbdcore_omap1510.c
8098   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\usbtty.c
8099   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\usbtty.h
8100   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\videomodes.c
8101   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\videomodes.h
8102   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\w83c553f.c
8103   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\nand\diskonchip.c
8104   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\nand\Makefile
8105   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\nand\nand.c
8106   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\nand\nand_base.c
8107   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\nand\nand_bbt.c
8108   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\nand\nand_ecc.c
8109   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\nand\nand_ids.c
8110   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\nand_legacy\Makefile
8111   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\nand_legacy\nand_legacy.c
8112   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\h
8113   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\Makefile
8114   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\skaddr.c
8115   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\skcsum.c
8116   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\skge.c
8117   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\skgehwt.c
8118   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\skgeinit.c
8119   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\skgemib.c
8120   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\skgepnmi.c
8121   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\skgesirq.c
8122   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\ski2c.c
8123   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\sklm80.c
8124   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\skproc.c
8125   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\skqueue.c
8126   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\skrlmt.c
8127   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\sktimer.c
8128   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\skvpd.c
8129   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\skxmac2.c
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 127 of   285 PageID #:713
8130   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\u-boot_compat.h
8131   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\uboot_drv.c
8132   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\uboot_skb.c
8133   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\h\lm80.h
8134   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\h\skaddr.h
8135   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\h\skcsum.h
8136   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\h\skdebug.h
8137   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\h\skdrv1st.h
8138   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\h\skdrv2nd.h
8139   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\h\skerror.h
8140   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\h\skgedrv.h
8141   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\h\skgehw.h
8142   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\h\skgehwt.h
8143   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\h\skgei2c.h
8144   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\h\skgeinit.h
8145   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\h\skgepnm2.h
8146   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\h\skgepnmi.h
8147   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\h\skgesirq.h
8148   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\h\ski2c.h
8149   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\h\skqueue.h
8150   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\h\skrlmt.h
8151   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\h\sktimer.h
8152   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\h\sktypes.h
8153   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\h\skversion.h
8154   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\h\skvpd.h
8155   GPL.UBNT.v6.1.7\uboot\uboot-ti\drivers\sk98lin\h\xmac_ii.h
8156   GPL.UBNT.v6.1.7\uboot\uboot-ti\dtt\adm1021.c
8157   GPL.UBNT.v6.1.7\uboot\uboot-ti\dtt\ds1621.c
8158   GPL.UBNT.v6.1.7\uboot\uboot-ti\dtt\lm75.c
8159   GPL.UBNT.v6.1.7\uboot\uboot-ti\dtt\Makefile
8160   GPL.UBNT.v6.1.7\uboot\uboot-ti\examples\82559_eeprom.c
8161   GPL.UBNT.v6.1.7\uboot\uboot-ti\examples\eepro100_eeprom.c
8162   GPL.UBNT.v6.1.7\uboot\uboot-ti\examples\hello_world.c
8163   GPL.UBNT.v6.1.7\uboot\uboot-ti\examples\hello_world.s
8164   GPL.UBNT.v6.1.7\uboot\uboot-ti\examples\Makefile
8165   GPL.UBNT.v6.1.7\uboot\uboot-ti\examples\mem_to_mem_idma2intr.c
8166   GPL.UBNT.v6.1.7\uboot\uboot-ti\examples\mips.lds
8167   GPL.UBNT.v6.1.7\uboot\uboot-ti\examples\nios.lds
8168   GPL.UBNT.v6.1.7\uboot\uboot-ti\examples\nios2.lds
8169   GPL.UBNT.v6.1.7\uboot\uboot-ti\examples\ppc_longjmp.S
8170   GPL.UBNT.v6.1.7\uboot\uboot-ti\examples\ppc_setjmp.S
8171   GPL.UBNT.v6.1.7\uboot\uboot-ti\examples\README.smc91111_eeprom
8172   GPL.UBNT.v6.1.7\uboot\uboot-ti\examples\sched.c
8173   GPL.UBNT.v6.1.7\uboot\uboot-ti\examples\smc91111_eeprom.c
8174   GPL.UBNT.v6.1.7\uboot\uboot-ti\examples\stubs.c
8175   GPL.UBNT.v6.1.7\uboot\uboot-ti\examples\test_burst.c
8176   GPL.UBNT.v6.1.7\uboot\uboot-ti\examples\test_burst.h
8177   GPL.UBNT.v6.1.7\uboot\uboot-ti\examples\test_burst_lib.S
8178   GPL.UBNT.v6.1.7\uboot\uboot-ti\examples\timer.c
8179   GPL.UBNT.v6.1.7\uboot\uboot-ti\examples\x86-testapp.c
8180   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\cramfs
8181   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\ext2
8182   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\fat
8183   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\fdos
8184   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\jffs2
8185   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\Makefile
8186   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\reiserfs
8187   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\cramfs\cramfs.c
8188   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\cramfs\Makefile
8189   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\cramfs\uncompress.c
8190   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\ext2\dev.c
8191   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\ext2\ext2fs.c
8192   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\ext2\Makefile
8193   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\fat\fat.c
8194   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\fat\file.c
8195   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\fat\Makefile
8196   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\fdos\dev.c
8197   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\fdos\dos.h
8198   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\fdos\fat.c
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 128 of   285 PageID #:714
8199   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\fdos\fdos.c
8200   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\fdos\fdos.h
8201   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\fdos\fs.c
8202   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\fdos\Makefile
8203   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\fdos\subdir.c
8204   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\fdos\vfat.c
8205   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\jffs2\compr_lzari.c
8206   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\jffs2\compr_lzo.c
8207   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\jffs2\compr_rtime.c
8208   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\jffs2\compr_rubin.c
8209   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\jffs2\compr_zlib.c
8210   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\jffs2\jffs2_1pass.c
8211   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\jffs2\jffs2_nand_1pass.c
8212   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\jffs2\jffs2_nand_private.h
8213   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\jffs2\jffs2_private.h
8214   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\jffs2\Makefile
8215   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\jffs2\mini_inflate.c
8216   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\reiserfs\dev.c
8217   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\reiserfs\Makefile
8218   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\reiserfs\mode_string.c
8219   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\reiserfs\reiserfs.c
8220   GPL.UBNT.v6.1.7\uboot\uboot-ti\fs\reiserfs\reiserfs_private.h
8221   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\405gp_i2c.h
8222   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\405gp_pci.h
8223   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\405_dimm.h
8224   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\405_mal.h
8225   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\440_i2c.h
8226   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\74xx_7xx.h
8227   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\ACEX1K.h
8228   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\altera.h
8229   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\ar7100_soc.h
8230   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\ar7240_soc.h
8231   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\ar934x_soc.h
8232   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\arm920t.h
8233   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\arm925t.h
8234   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\arm926ejs.h
8235   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\arm946es.h
8236   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\armcoremodule.h
8237   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm
8238   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin
8239   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-i386
8240   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-m68k
8241   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-microblaze
8242   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-mips
8243   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-nios
8244   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-nios2
8245   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc
8246   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\at91rm9200_i2c.h
8247   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\at91rm9200_net.h
8248   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\ata.h
8249   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\athversion.h
8250   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\bcm5221.h
8251   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\bedbug
8252   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\bmp_layout.h
8253   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\bzlib.h
8254   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\circbuf.h
8255   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\clps7111.h
8256   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\cmd_confdefs.h
8257   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\command.h
8258   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\common.h
8259   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\commproc.h
8260   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs
8261   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\console.h
8262   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\cramfs
8263   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\crc.h
8264   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\da9030.h
8265   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\dataflash.h
8266   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\devices.h
8267   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\dm9161.h
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page   129 of 285 PageID #:715
8268   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\dtt.h
8269   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\e500.h
8270   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\elf.h
8271   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\environment.h
8272   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\exports.h
8273   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\ext2fs.h
8274   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\fat.h
8275   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\fdc.h
8276   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\flash.h
8277   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\fpga.h
8278   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\ft_build.h
8279   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\galileo
8280   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\hornet_soc.h
8281   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\hush.h
8282   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\i2c.h
8283   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\i8042.h
8284   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\ide.h
8285   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\image.h
8286   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\ioports.h
8287   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\jffs2
8288   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\keyboard.h
8289   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\kgdb.h
8290   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\lcd.h
8291   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\lcdvideo.h
8292   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\lh7a400.h
8293   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\lh7a404.h
8294   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\lh7a40x.h
8295   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\linux
8296   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\linux_logo.h
8297   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\lists.h
8298   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\logbuff.h
8299   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\lpd7a400_cpld.h
8300   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\lxt971a.h
8301   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\lynxkdi.h
8302   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\LzmaWrapper.h
8303   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\malloc.h
8304   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\miiphy.h
8305   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\mii_phy.h
8306   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\mk48t59.h
8307   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\mmc.h
8308   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\mpc106.h
8309   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\mpc5xx.h
8310   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\mpc5xxx.h
8311   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\mpc8220.h
8312   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\mpc824x.h
8313   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\mpc8260.h
8314   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\mpc8260_irq.h
8315   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\mpc83xx.h
8316   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\mpc85xx.h
8317   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\mpc8xx.h
8318   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\mpc8xx_irq.h
8319   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\nand.h
8320   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\net.h
8321   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\nios-io.h
8322   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\nios.h
8323   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\nios2-epcs.h
8324   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\nios2-io.h
8325   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\nios2.h
8326   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\ns16550.h
8327   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\ns7520_eth.h
8328   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\ns87308.h
8329   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\ns9750_bbus.h
8330   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\ns9750_eth.h
8331   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\ns9750_mem.h
8332   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\ns9750_ser.h
8333   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\ns9750_sys.h
8334   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\part.h
8335   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\pci.h
8336   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\pci_ids.h
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 130 of   285 PageID #:716
8337   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\pcmcia
8338   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\pcmcia.h
8339   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\pc_keyb.h
8340   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\post.h
8341   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\ppc405.h
8342   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\ppc440.h
8343   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\ppc4xx.h
8344   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\ppc4xx_enet.h
8345   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\ppc_asm.tmpl
8346   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\ppc_defs.h
8347   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\ps2mult.h
8348   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\reiserfs.h
8349   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\rtc.h
8350   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\s3c2400.h
8351   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\s3c2410.h
8352   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\s3c24x0.h
8353   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\SA-1100.h
8354   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\sa1100.h
8355   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\scsi.h
8356   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\sed13806.h
8357   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\sed156x.h
8358   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\serial.h
8359   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\sm501.h
8360   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\smiLynxEM.h
8361   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\spartan2.h
8362   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\spartan3.h
8363   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\spd.h
8364   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\spd_sdram.h
8365   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\spi.h
8366   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\status_led.h
8367   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\sym53c8xx.h
8368   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\systemace.h
8369   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\s_record.h
8370   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\ubnt_api_calls.h
8371   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\universe.h
8372   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\usb.h
8373   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\usbdcore.h
8374   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\usbdcore_ep0.h
8375   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\usbdcore_omap1510.h
8376   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\usbdescriptors.h
8377   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\usb_defs.h
8378   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\version.h
8379   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\vfd_logo.h
8380   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\video.h
8381   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\video_ad7176.h
8382   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\video_ad7177.h
8383   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\video_ad7179.h
8384   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\video_easylogo.h
8385   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\video_fb.h
8386   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\video_font.h
8387   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\video_logo.h
8388   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\virtex2.h
8389   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\w83c553f.h
8390   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\watchdog.h
8391   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\xilinx.h
8392   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\xyzModem.h
8393   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\zlib.h
8394   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\_exports.h
8395   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-arm1136
8396   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-arm720t
8397   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-arm925t
8398   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-arm926ejs
8399   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-at91rm9200
8400   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-imx
8401   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-ixp
8402   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-ks8695
8403   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-pxa
8404   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-s3c24x0
8405   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-s3c44b0
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 131 of 285 PageID #:717
8406   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-sa1100
8407   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\atomic.h
8408   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\bitops.h
8409   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\byteorder.h
8410   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\errno.h
8411   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\global_data.h
8412   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\hardware.h
8413   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\io.h
8414   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\mach-types.h
8415   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\memory.h
8416   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\posix_types.h
8417   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\proc-armv
8418   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\processor.h
8419   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\ptrace.h
8420   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\setup.h
8421   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\sizes.h
8422   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\string.h
8423   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\types.h
8424   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\u-boot-arm.h
8425   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\u-boot.h
8426   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-arm1136\bits.h
8427   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-arm1136\clocks.h
8428   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-arm1136\i2c.h
8429   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-arm1136\mem.h
8430   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-arm1136\mux.h
8431   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-arm1136\omap2420.h
8432   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-arm1136\sizes.h
8433   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-arm1136\sys_info.h
8434   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-arm1136\sys_proto.h
8435   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-arm720t\hardware.h
8436   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-arm720t\netarm_dma_module.h
8437   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-arm720t\netarm_eni_module.h
8438   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-arm720t\netarm_eth_module.h
8439   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-arm720t\netarm_gen_module.h
8440   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-arm720t\netarm_mem_module.h
8441   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-arm720t\netarm_registers.h
8442   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-arm720t\netarm_ser_module.h
8443   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-arm720t\s3c4510b.h
8444   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-arm925t\sizes.h
8445   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-arm926ejs\sizes.h
8446   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-at91rm9200\AT91RM9200.h
8447   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-at91rm9200\hardware.h
8448   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-imx\imx-regs.h
8449   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-ixp\ixp425.h
8450   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-ixp\ixp425pci.h
8451   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-ks8695\platform.h
8452   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-pxa\bitfield.h
8453   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-pxa\hardware.h
8454   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-pxa\mmc.h
8455   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-pxa\pxa-regs.h
8456   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-s3c24x0\memory.h
8457   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-s3c44b0\hardware.h
8458   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\arch-sa1100\bitfield.h
8459   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\proc-armv\domain.h
8460   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\proc-armv\processor.h
8461   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\proc-armv\ptrace.h
8462   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-arm\proc-armv\system.h
8463   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\bitops.h
8464   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\blackfin.h
8465   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\blackfin_defs.h
8466   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\byteorder.h
8467   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\cplb.h
8468   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\cplbtab.h
8469   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\cpu
8470   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\current.h
8471   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\delay.h
8472   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\entry.h
8473   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\errno.h
8474   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\global_data.h
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 132 of 285 PageID   #:718
8475   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\hw_irq.h
8476   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\io-kernel.h
8477   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\io.h
8478   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\irq.h
8479   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\linkage.h
8480   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\machdep.h
8481   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\mem_init.h
8482   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\page.h
8483   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\page_offset.h
8484   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\posix_types.h
8485   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\processor.h
8486   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\ptrace.h
8487   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\segment.h
8488   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\setup.h
8489   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\shared_resources.h
8490   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\string.h
8491   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\system.h
8492   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\traps.h
8493   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\types.h
8494   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\u-boot.h
8495   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\uaccess.h
8496   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\virtconvert.h
8497   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\cpu\bf533_irq.h
8498   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\cpu\bf533_rtc.h
8499   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\cpu\bf533_serial.h
8500   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\cpu\cdefBF531.h
8501   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\cpu\cdefBF532.h
8502   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\cpu\cdefBF533.h
8503   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\cpu\cdefBF53x.h
8504   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\cpu\cdef_LPBlackfin.h
8505   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\cpu\defBF531.h
8506   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\cpu\defBF532.h
8507   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\cpu\defBF533.h
8508   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\cpu\defBF533_extn.h
8509   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-blackfin\cpu\def_LPBlackfin.h
8510   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-i386\bitops.h
8511   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-i386\byteorder.h
8512   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-i386\global_data.h
8513   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-i386\i8254.h
8514   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-i386\i8259.h
8515   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-i386\ibmpc.h
8516   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-i386\ic
8517   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-i386\io.h
8518   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-i386\pci.h
8519   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-i386\posix_types.h
8520   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-i386\processor.h
8521   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-i386\ptrace.h
8522   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-i386\realmode.h
8523   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-i386\string.h
8524   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-i386\types.h
8525   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-i386\u-boot-i386.h
8526   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-i386\u-boot.h
8527   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-i386\zimage.h
8528   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-i386\ic\ali512x.h
8529   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-i386\ic\sc520.h
8530   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-m68k\bitops.h
8531   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-m68k\byteorder.h
8532   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-m68k\fec.h
8533   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-m68k\global_data.h
8534   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-m68k\immap_5249.h
8535   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-m68k\immap_5272.h
8536   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-m68k\immap_5282.h
8537   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-m68k\io.h
8538   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-m68k\m5249.h
8539   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-m68k\m5272.h
8540   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-m68k\m5282.h
8541   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-m68k\mcftimer.h
8542   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-m68k\mcfuart.h
8543   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-m68k\posix_types.h
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 133 of 285 PageID #:719
8544   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-m68k\processor.h
8545   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-m68k\ptrace.h
8546   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-m68k\string.h
8547   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-m68k\types.h
8548   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-m68k\u-boot.h
8549   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-microblaze\arch-microblaze
8550   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-microblaze\bitops.h
8551   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-microblaze\byteorder.h
8552   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-microblaze\global_data.h
8553   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-microblaze\io.h
8554   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-microblaze\platform.h
8555   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-microblaze\posix_types.h
8556   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-microblaze\processor.h
8557   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-microblaze\ptrace.h
8558   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-microblaze\serial_xuartlite.h
8559   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-microblaze\string.h
8560   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-microblaze\suzaku.h
8561   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-microblaze\system.h
8562   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-microblaze\types.h
8563   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-microblaze\u-boot.h
8564   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-microblaze\arch-microblaze\xbasic_types.h
8565   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-microblaze\arch-microblaze\xio.h
8566   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-microblaze\arch-microblaze\xuartlite_l.h
8567   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-mips\addrspace.h
8568   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-mips\au1x00.h
8569   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-mips\bitops.h
8570   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-mips\byteorder.h
8571   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-mips\cachectl.h
8572   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-mips\cacheops.h
8573   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-mips\global_data.h
8574   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-mips\inca-ip.h
8575   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-mips\io.h
8576   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-mips\isadep.h
8577   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-mips\mipsregs.h
8578   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-mips\posix_types.h
8579   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-mips\processor.h
8580   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-mips\ptrace.h
8581   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-mips\reg.h
8582   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-mips\regdef.h
8583   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-mips\sgidefs.h
8584   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-mips\string.h
8585   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-mips\system.h
8586   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-mips\types.h
8587   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-mips\u-boot.h
8588   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-nios\bitops.h
8589   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-nios\byteorder.h
8590   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-nios\cache.h
8591   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-nios\global_data.h
8592   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-nios\io.h
8593   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-nios\posix_types.h
8594   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-nios\processor.h
8595   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-nios\psr.h
8596   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-nios\ptrace.h
8597   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-nios\status_led.h
8598   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-nios\string.h
8599   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-nios\system.h
8600   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-nios\types.h
8601   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-nios\u-boot.h
8602   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-nios2\bitops.h
8603   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-nios2\byteorder.h
8604   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-nios2\cache.h
8605   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-nios2\global_data.h
8606   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-nios2\io.h
8607   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-nios2\opcodes.h
8608   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-nios2\posix_types.h
8609   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-nios2\processor.h
8610   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-nios2\psr.h
8611   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-nios2\ptrace.h
8612   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-nios2\status_led.h
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 134 of 285   PageID #:720
8613   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-nios2\string.h
8614   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-nios2\system.h
8615   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-nios2\types.h
8616   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-nios2\u-boot.h
8617   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\5xx_immap.h
8618   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\8xx_immap.h
8619   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\atomic.h
8620   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\bitops.h
8621   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\byteorder.h
8622   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\cache.h
8623   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\cpm_8260.h
8624   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\cpm_85xx.h
8625   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\e300.h
8626   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\errno.h
8627   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\global_data.h
8628   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\i2c.h
8629   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\immap_8220.h
8630   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\immap_8260.h
8631   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\immap_83xx.h
8632   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\immap_85xx.h
8633   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\io.h
8634   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\iopin_8260.h
8635   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\iopin_85xx.h
8636   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\iopin_8xx.h
8637   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\m8260_pci.h
8638   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\mc146818rtc.h
8639   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\mmu.h
8640   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\mpc8349_pci.h
8641   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\pci_io.h
8642   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\pnp.h
8643   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\posix_types.h
8644   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\processor.h
8645   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\ptrace.h
8646   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\residual.h
8647   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\sigcontext.h
8648   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\signal.h
8649   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\status_led.h
8650   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\string.h
8651   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\types.h
8652   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\asm-ppc\u-boot.h
8653   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\bedbug\bedbug.h
8654   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\bedbug\ppc.h
8655   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\bedbug\regs.h
8656   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\bedbug\tables.h
8657   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\bedbug\type.h
8658   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\A3000.h
8659   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ADCIOP.h
8660   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\Adder.h
8661   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ADNPESC1.h
8662   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ADNPESC1_base_32.h
8663   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ADS860.h
8664   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\adsvix.h
8665   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\aev.h
8666   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\Alaska8220.h
8667   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\AmigaOneG3SE.h
8668   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\AMX860.h
8669   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\AP1000.h
8670   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ap101-2.6.31.h
8671   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ap101-small.h
8672   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ap101.h
8673   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ap111-2.6.31.h
8674   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ap111.h
8675   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ap121.h
8676   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ap123.h
8677   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ap81.h
8678   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ap83.h
8679   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ap91-2MB.h
8680   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ap91-2x8.h
8681   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ap91-router.h
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 135 of 285   PageID #:721
8682   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ap91.h
8683   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ap93-hgw.h
8684   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ap93.h
8685   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ap94.h
8686   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ap94min.h
8687   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ap96.h
8688   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ap98.h
8689   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ap99-2.6.31.h
8690   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ap99-hgw.h
8691   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ap99-ivi.h
8692   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ap99-small.h
8693   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ap99.h
8694   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\APC405.h
8695   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\AR405.h
8696   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ar7100.h
8697   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ar7240.h
8698   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ar7240_emu.h
8699   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\armadillo.h
8700   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ASH405.h
8701   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\assabet.h
8702   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\at91rm9200dk.h
8703   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\atc.h
8704   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\B2.h
8705   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\BAB7xx.h
8706   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\bamboo.h
8707   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\barco.h
8708   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\BMW.h
8709   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\bubinga.h
8710   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\c2mon.h
8711   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\CANBT.h
8712   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\canmb.h
8713   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\CATcenter.h
8714   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\CCM.h
8715   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\cerf250.h
8716   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\cm4008.h
8717   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\cm41xx.h
8718   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\cmc_pu2.h
8719   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\cmi_mpc5xx.h
8720   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\CMS700.h
8721   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\cobra5272.h
8722   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\cogent_common.h
8723   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\cogent_mpc8260.h
8724   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\cogent_mpc8xx.h
8725   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\CPC45.h
8726   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\CPCI2DP.h
8727   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\CPCI405.h
8728   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\CPCI4052.h
8729   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\CPCI405AB.h
8730   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\CPCI405DT.h
8731   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\CPCI440.h
8732   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\cpci5200.h
8733   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\CPCI750.h
8734   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\CPCIISER4.h
8735   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\CPU86.h
8736   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\CPU87.h
8737   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\cradle.h
8738   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\CRAYL1.h
8739   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\csb226.h
8740   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\csb272.h
8741   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\csb472.h
8742   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\csb637.h
8743   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\CU824.h
8744   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\cus136.h
8745   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\cus97.h
8746   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\DASA_SIM.h
8747   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\db12x.h
8748   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\DB64360.h
8749   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\DB64460.h
8750   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\dbau1x00.h
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 136 of 285 PageID   #:722
8751   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\debris.h
8752   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\delta.h
8753   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\DK1C20.h
8754   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\DK1C20_safe_32.h
8755   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\DK1C20_standard_32.h
8756   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\DK1S10.h
8757   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\DK1S10_mtx_ldk_20.h
8758   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\DK1S10_safe_32.h
8759   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\DK1S10_standard_32.h
8760   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\dnp1110.h
8761   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\DP405.h
8762   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\DU405.h
8763   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ebony.h
8764   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ELPPC.h
8765   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ELPT860.h
8766   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ep7312.h
8767   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ep8248.h
8768   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ep8260.h
8769   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\EP88x.h
8770   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ERIC.h
8771   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ESTEEM192E.h
8772   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ETX094.h
8773   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\evb4510.h
8774   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\EVB64260.h
8775   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\eXalion.h
8776   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\EXBITGEN.h
8777   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ezkit533.h
8778   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\FADS823.h
8779   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\FADS850SAR.h
8780   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\FADS860T.h
8781   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\FLAGADM.h
8782   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\FPS850L.h
8783   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\FPS860L.h
8784   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\G2000.h
8785   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\gcplus.h
8786   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\GEN860T.h
8787   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\GENIETV.h
8788   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\GTH.h
8789   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\gw8260.h
8790   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\h2_p2_dbg_board.h
8791   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\hermes.h
8792   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\HH405.h
8793   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\HIDDEN_DRAGON.h
8794   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\HMI10.h
8795   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\hmi1001.h
8796   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\hornet_emu.h
8797   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\HUB405.h
8798   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\hymod.h
8799   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\IAD210.h
8800   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\IceCube.h
8801   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ICU862.h
8802   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\IDS8247.h
8803   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\impa7.h
8804   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\incaip.h
8805   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\inka4x0.h
8806   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\innokom.h
8807   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\integratorap.h
8808   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\integratorcp.h
8809   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\IP860.h
8810   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\IPHASE4539.h
8811   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ISPAN.h
8812   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\IVML24.h
8813   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\IVMS8.h
8814   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ixdp425.h
8815   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\JSE.h
8816   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\KAREF.h
8817   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\kb9202.h
8818   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\KUP4K.h
8819   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\KUP4X.h
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 137   of 285 PageID #:723
8820   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\LANTEC.h
8821   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\lart.h
8822   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\logodl.h
8823   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\lpd7a400-10.h
8824   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\lpd7a400.h
8825   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\lpd7a404-10.h
8826   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\lpd7a404.h
8827   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\luan.h
8828   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\lubbock.h
8829   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\lwmon.h
8830   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\M5272C3.h
8831   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\M5282EVB.h
8832   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\MBX.h
8833   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\MBX860T.h
8834   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\mcc200.h
8835   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\METROBOX.h
8836   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\MHPC.h
8837   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\mi93.h
8838   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\MIP405.h
8839   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ML2.h
8840   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ml300.h
8841   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\modnet50.h
8842   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\MOUSSE.h
8843   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\mp2usb.h
8844   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\MPC8260ADS.h
8845   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\MPC8266ADS.h
8846   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\MPC8349ADS.h
8847   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\MPC8349EMDS.h
8848   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\MPC8540ADS.h
8849   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\MPC8540EVAL.h
8850   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\MPC8541CDS.h
8851   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\MPC8548CDS.h
8852   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\MPC8555CDS.h
8853   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\MPC8560ADS.h
8854   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\MPC86xADS.h
8855   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\MPC885ADS.h
8856   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\MUSENKI.h
8857   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\MVBLUE.h
8858   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\MVS1.h
8859   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\mx1ads.h
8860   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\mx1fs2.h
8861   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\NC650.h
8862   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\NETPHONE.h
8863   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\netstar.h
8864   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\NETTA.h
8865   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\NETTA2.h
8866   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\NETVIA.h
8867   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ns9750dev.h
8868   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\NSCU.h
8869   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\NX823.h
8870   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\o2dnt.h
8871   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ocotea.h
8872   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\OCRTC.h
8873   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\omap1510.h
8874   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\omap1510inn.h
8875   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\omap1610h2.h
8876   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\omap1610inn.h
8877   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\omap2420h4.h
8878   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\omap5912osk.h
8879   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\omap730.h
8880   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\omap730p2.h
8881   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ORSG.h
8882   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\OXC.h
8883   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\P3G4.h
8884   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\p3p440.h
8885   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\PATI.h
8886   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\pb1x00.h
8887   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\pb42.h
8888   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\pb44.h
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 138 of 285   PageID #:724
8889   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\pb45.h
8890   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\pb47.h
8891   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\pb90.h
8892   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\pb92.h
8893   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\pb93.h
8894   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\pb9x-2.6.31.h
8895   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\pb9x-2x8.h
8896   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\pb9x.h
8897   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\PCI405.h
8898   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\PCI5441.h
8899   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\PCIPPC2.h
8900   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\PCIPPC6.h
8901   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\pcu_e.h
8902   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\pf5200.h
8903   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\PIP405.h
8904   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\PK1C20.h
8905   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\pleb2.h
8906   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\PLU405.h
8907   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\PM520.h
8908   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\PM826.h
8909   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\PM828.h
8910   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\PM854.h
8911   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\PM856.h
8912   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\PMC405.h
8913   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\PN62.h
8914   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\PPChameleonEVB.h
8915   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ppmc8260.h
8916   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\purple.h
8917   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\pxa255_idp.h
8918   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\QS823.h
8919   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\QS850.h
8920   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\QS860T.h
8921   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\quantum.h
8922   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\R360MPI.h
8923   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\Rattler.h
8924   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\RBC823.h
8925   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\rmu.h
8926   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\RPXClassic.h
8927   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\RPXlite.h
8928   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\RPXlite_DW.h
8929   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\RPXsuper.h
8930   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\RRvision.h
8931   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\rsdproto.h
8932   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\sacsng.h
8933   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\Sandpoint8240.h
8934   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\Sandpoint8245.h
8935   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\sbc405.h
8936   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\sbc8240.h
8937   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\sbc8260.h
8938   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\SBC8540.h
8939   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\sbc8560.h
8940   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\sc520_cdp.h
8941   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\sc520_spunk.h
8942   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\sc520_spunk_rel.h
8943   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\scb9328.h
8944   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\SCM.h
8945   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\shannon.h
8946   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\SL8245.h
8947   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\SM850.h
8948   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\smdk2400.h
8949   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\smdk2410.h
8950   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\smmaco4.h
8951   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\sorcery.h
8952   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\SPD823TS.h
8953   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\spieval.h
8954   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\stamp.h
8955   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\stxgp3.h
8956   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\stxxtc.h
8957   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\suzaku.h
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 139   of 285 PageID #:725
8958   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\svm_sc8xx.h
8959   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\SX1.h
8960   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\SXNI855T.h
8961   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\TASREG.h
8962   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\tb0229.h
8963   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\tb225.h
8964   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\tb243.h
8965   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\tb327.h
8966   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\TOP5200.h
8967   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\TOP860.h
8968   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\Total5200.h
8969   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\TQM5200.h
8970   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\TQM823L.h
8971   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\TQM823M.h
8972   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\TQM8260.h
8973   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\TQM834x.h
8974   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\TQM850L.h
8975   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\TQM850M.h
8976   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\TQM855L.h
8977   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\TQM855M.h
8978   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\TQM85xx.h
8979   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\TQM860L.h
8980   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\TQM860M.h
8981   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\TQM862L.h
8982   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\TQM862M.h
8983   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\TQM866M.h
8984   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\trab.h
8985   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ubnt-wasp.h
8986   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\uc100.h
8987   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\utx8245.h
8988   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\v37.h
8989   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\VCMA9.h
8990   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\versatile.h
8991   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\VOH405.h
8992   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\voiceblue.h
8993   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\VOM405.h
8994   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\VoVPN-GW.h
8995   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\W7OLMC.h
8996   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\W7OLMG.h
8997   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\walnut.h
8998   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\wasp_emu.h
8999   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\wepep250.h
9000   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\wrt54g.h
9001   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\WUH405.h
9002   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\xaeniax.h
9003   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\xm250.h
9004   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\XPEDITE1K.h
9005   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\xsengine.h
9006   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\yellowstone.h
9007   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\yosemite.h
9008   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\Yukon8220.h
9009   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ZPC1900.h
9010   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\ZUMA.h
9011   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\configs\zylonite.h
9012   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\cramfs\cramfs_fs.h
9013   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\cramfs\cramfs_fs_sb.h
9014   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\galileo\core.h
9015   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\galileo\gt64260R.h
9016   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\galileo\memory.h
9017   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\galileo\pci.h
9018   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\jffs2\compr_rubin.h
9019   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\jffs2\jffs2.h
9020   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\jffs2\jffs2_1pass.h
9021   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\jffs2\load_kernel.h
9022   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\jffs2\mini_inflate.h
9023   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\linux\bitops.h
9024   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\linux\byteorder
9025   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\linux\config.h
9026   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\linux\ctype.h
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 140 of 285 PageID   #:726
9027   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\linux\list.h
9028   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\linux\mc146818rtc.h
9029   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\linux\mtd
9030   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\linux\posix_types.h
9031   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\linux\stat.h
9032   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\linux\stddef.h
9033   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\linux\string.h
9034   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\linux\time.h
9035   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\linux\types.h
9036   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\linux\byteorder\big_endian.h
9037   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\linux\byteorder\generic.h
9038   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\linux\byteorder\little_endian.h
9039   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\linux\byteorder\swab.h
9040   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\linux\mtd\compat.h
9041   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\linux\mtd\doc2000.h
9042   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\linux\mtd\mtd-abi.h
9043   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\linux\mtd\mtd.h
9044   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\linux\mtd\nand.h
9045   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\linux\mtd\nand_ecc.h
9046   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\linux\mtd\nand_ids.h
9047   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\linux\mtd\nand_legacy.h
9048   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\linux\mtd\nftl.h
9049   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\pcmcia\cirrus.h
9050   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\pcmcia\i82365.h
9051   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\pcmcia\ss.h
9052   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\pcmcia\ti113x.h
9053   GPL.UBNT.v6.1.7\uboot\uboot-ti\include\pcmcia\yenta.h
9054   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_arm\armlinux.c
9055   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_arm\board.c
9056   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_arm\cache.c
9057   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_arm\div0.c
9058   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_arm\Makefile
9059   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_arm\_udivsi3.S
9060   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_arm\_umodsi3.S
9061   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_blackfin\bf533_linux.c
9062   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_blackfin\bf533_string.c
9063   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_blackfin\blackfin_board.h
9064   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_blackfin\board.c
9065   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_blackfin\cache.c
9066   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_blackfin\Makefile
9067   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_blackfin\muldi3.c
9068   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_bootstrap\bootstrap_board.c
9069   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_bootstrap\console.c
9070   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_bootstrap\crc32.c
9071   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_bootstrap\ctype.c
9072   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_bootstrap\devices.c
9073   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_bootstrap\display_options.c
9074   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_bootstrap\lists.c
9075   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_bootstrap\LzmaDecode.c
9076   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_bootstrap\LzmaDecode.h
9077   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_bootstrap\LzmaTypes.h
9078   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_bootstrap\LzmaWrapper.c
9079   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_bootstrap\Makefile
9080   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_bootstrap\string.c
9081   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_bootstrap\time.c
9082   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_bootstrap\vsprintf.c
9083   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_generic\bzlib.c
9084   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_generic\bzlib_crctable.c
9085   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_generic\bzlib_decompress.c
9086   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_generic\bzlib_huffman.c
9087   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_generic\bzlib_private.h
9088   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_generic\bzlib_randtable.c
9089   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_generic\crc32.c
9090   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_generic\ctype.c
9091   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_generic\display_options.c
9092   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_generic\ldiv.c
9093   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_generic\LzmaDecode.c
9094   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_generic\LzmaDecode.h
9095   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_generic\LzmaTypes.h
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 141 of 285   PageID #:727
9096   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_generic\LzmaWrapper.c
9097   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_generic\Makefile
9098   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_generic\string.c
9099   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_generic\vsprintf.c
9100   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_generic\zlib.c
9101   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_i386\bios.h
9102   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_i386\bios.S
9103   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_i386\bios_pci.S
9104   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_i386\bios_setup.c
9105   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_i386\board.c
9106   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_i386\i386_linux.c
9107   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_i386\Makefile
9108   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_i386\pci.c
9109   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_i386\pci_type1.c
9110   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_i386\realmode.c
9111   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_i386\realmode_switch.S
9112   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_i386\video.c
9113   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_i386\video_bios.c
9114   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_i386\zimage.c
9115   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_m68k\board.c
9116   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_m68k\cache.c
9117   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_m68k\m68k_linux.c
9118   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_m68k\Makefile
9119   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_m68k\time.c
9120   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_m68k\traps.c
9121   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_microblaze\board.c
9122   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_microblaze\cache.c
9123   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_microblaze\Makefile
9124   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_microblaze\microblaze_linux.c
9125   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_microblaze\time.c
9126   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_mips\board.c
9127   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_mips\Makefile
9128   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_mips\mips_linux.c
9129   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_mips\time.c
9130   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_nios\board.c
9131   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_nios\cache.c
9132   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_nios\divmod.c
9133   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_nios\Makefile
9134   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_nios\math.h
9135   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_nios\mult.c
9136   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_nios\nios_linux.c
9137   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_nios\time.c
9138   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_nios2\board.c
9139   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_nios2\cache.S
9140   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_nios2\divmod.c
9141   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_nios2\Makefile
9142   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_nios2\math.h
9143   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_nios2\mult.c
9144   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_nios2\nios_linux.c
9145   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_nios2\time.c
9146   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_ppc\bat_rw.c
9147   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_ppc\board.c
9148   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_ppc\cache.c
9149   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_ppc\extable.c
9150   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_ppc\interrupts.c
9151   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_ppc\kgdb.c
9152   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_ppc\Makefile
9153   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_ppc\ppcstring.S
9154   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_ppc\ticks.S
9155   GPL.UBNT.v6.1.7\uboot\uboot-ti\lib_ppc\time.c
9156   GPL.UBNT.v6.1.7\uboot\uboot-ti\net\bootp.c
9157   GPL.UBNT.v6.1.7\uboot\uboot-ti\net\bootp.h
9158   GPL.UBNT.v6.1.7\uboot\uboot-ti\net\eth.c
9159   GPL.UBNT.v6.1.7\uboot\uboot-ti\net\Makefile
9160   GPL.UBNT.v6.1.7\uboot\uboot-ti\net\net.c
9161   GPL.UBNT.v6.1.7\uboot\uboot-ti\net\nfs.c
9162   GPL.UBNT.v6.1.7\uboot\uboot-ti\net\nfs.h
9163   GPL.UBNT.v6.1.7\uboot\uboot-ti\net\rarp.c
9164   GPL.UBNT.v6.1.7\uboot\uboot-ti\net\rarp.h
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18   Page 142 of 285 PageID #:728
9165   GPL.UBNT.v6.1.7\uboot\uboot-ti\net\sntp.c
9166   GPL.UBNT.v6.1.7\uboot\uboot-ti\net\sntp.h
9167   GPL.UBNT.v6.1.7\uboot\uboot-ti\net\tftp.c
9168   GPL.UBNT.v6.1.7\uboot\uboot-ti\net\tftp.h
9169   GPL.UBNT.v6.1.7\uboot\uboot-ti\net\tftp_server.c
9170   GPL.UBNT.v6.1.7\uboot\uboot-ti\net\tftp_server.h
9171   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\cache.c
9172   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\cache_8xx.S
9173   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\codec.c
9174   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\cpu
9175   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\cpu.c
9176   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\dsp.c
9177   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\ether.c
9178   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\i2c.c
9179   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\Makefile
9180   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\memory.c
9181   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\post.c
9182   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\rtc.c
9183   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\rules.mk
9184   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\spr.c
9185   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\sysmon.c
9186   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\tests.c
9187   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\uart.c
9188   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\usb.c
9189   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\watchdog.c
9190   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\cpu\andi.c
9191   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\cpu\asm.S
9192   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\cpu\b.c
9193   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\cpu\cmp.c
9194   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\cpu\cmpi.c
9195   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\cpu\complex.c
9196   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\cpu\cpu_asm.h
9197   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\cpu\cr.c
9198   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\cpu\load.c
9199   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\cpu\Makefile
9200   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\cpu\multi.c
9201   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\cpu\rlwimi.c
9202   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\cpu\rlwinm.c
9203   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\cpu\rlwnm.c
9204   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\cpu\srawi.c
9205   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\cpu\store.c
9206   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\cpu\string.c
9207   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\cpu\three.c
9208   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\cpu\threei.c
9209   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\cpu\threex.c
9210   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\cpu\two.c
9211   GPL.UBNT.v6.1.7\uboot\uboot-ti\post\cpu\twox.c
9212   GPL.UBNT.v6.1.7\uboot\uboot-ti\rtc\bf533_rtc.c
9213   GPL.UBNT.v6.1.7\uboot\uboot-ti\rtc\date.c
9214   GPL.UBNT.v6.1.7\uboot\uboot-ti\rtc\ds12887.c
9215   GPL.UBNT.v6.1.7\uboot\uboot-ti\rtc\ds1302.c
9216   GPL.UBNT.v6.1.7\uboot\uboot-ti\rtc\ds1306.c
9217   GPL.UBNT.v6.1.7\uboot\uboot-ti\rtc\ds1307.c
9218   GPL.UBNT.v6.1.7\uboot\uboot-ti\rtc\ds1337.c
9219   GPL.UBNT.v6.1.7\uboot\uboot-ti\rtc\ds1374.c
9220   GPL.UBNT.v6.1.7\uboot\uboot-ti\rtc\ds1556.c
9221   GPL.UBNT.v6.1.7\uboot\uboot-ti\rtc\ds164x.c
9222   GPL.UBNT.v6.1.7\uboot\uboot-ti\rtc\ds174x.c
9223   GPL.UBNT.v6.1.7\uboot\uboot-ti\rtc\m41t11.c
9224   GPL.UBNT.v6.1.7\uboot\uboot-ti\rtc\m48t35ax.c
9225   GPL.UBNT.v6.1.7\uboot\uboot-ti\rtc\Makefile
9226   GPL.UBNT.v6.1.7\uboot\uboot-ti\rtc\max6900.c
9227   GPL.UBNT.v6.1.7\uboot\uboot-ti\rtc\mc146818.c
9228   GPL.UBNT.v6.1.7\uboot\uboot-ti\rtc\mk48t59.c
9229   GPL.UBNT.v6.1.7\uboot\uboot-ti\rtc\mpc5xxx.c
9230   GPL.UBNT.v6.1.7\uboot\uboot-ti\rtc\mpc8xx.c
9231   GPL.UBNT.v6.1.7\uboot\uboot-ti\rtc\pcf8563.c
9232   GPL.UBNT.v6.1.7\uboot\uboot-ti\rtc\rs5c372.c
9233   GPL.UBNT.v6.1.7\uboot\uboot-ti\rtc\s3c24x0_rtc.c
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 143   of 285 PageID #:729
9234   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\bddb
9235   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\bmp_logo.c
9236   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\easylogo
9237   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\env
9238   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\envcrc.c
9239   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\gdb
9240   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\gen_eth_addr.c
9241   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\img2brec.sh
9242   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\img2srec.c
9243   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\inca-swap-bytes.c
9244   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\keygen.c
9245   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\logos
9246   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\Makefile
9247   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\Makefile.win32
9248   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\mkimage.c
9249   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\mpc86x_clk.c
9250   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\ncb.c
9251   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\scripts
9252   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\setlocalversion
9253   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\updater
9254   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\bddb\badsubmit.php
9255   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\bddb\bddb.css
9256   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\bddb\brlog.php
9257   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\bddb\browse.php
9258   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\bddb\config.php
9259   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\bddb\create_tables.sql
9260   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\bddb\defs.php
9261   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\bddb\dodelete.php
9262   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\bddb\dodellog.php
9263   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\bddb\doedit.php
9264   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\bddb\doedlog.php
9265   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\bddb\donew.php
9266   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\bddb\donewlog.php
9267   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\bddb\edit.php
9268   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\bddb\edlog.php
9269   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\bddb\execute.php
9270   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\bddb\index.php
9271   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\bddb\new.php
9272   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\bddb\newlog.php
9273   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\bddb\README
9274   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\easylogo\easylogo.c
9275   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\easylogo\linux_logo.tga
9276   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\easylogo\Makefile
9277   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\easylogo\runme.sh
9278   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\env\fw_env.c
9279   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\env\fw_env.config
9280   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\env\fw_env.h
9281   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\env\fw_env_main.c
9282   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\env\Makefile
9283   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\env\README
9284   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\gdb\error.c
9285   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\gdb\error.h
9286   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\gdb\gdbcont.c
9287   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\gdb\gdbsend.c
9288   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\gdb\Makefile
9289   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\gdb\remote.c
9290   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\gdb\remote.h
9291   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\gdb\serial.c
9292   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\gdb\serial.h
9293   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\logos\denx.bmp
9294   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\scripts\dot.kermrc
9295   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\scripts\flash_param
9296   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\scripts\README
9297   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\scripts\send_cmd
9298   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\scripts\send_image
9299   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\updater\cmd_flash.c
9300   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\updater\ctype.c
9301   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\updater\dummy.c
9302   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\updater\flash.c
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page   144 of 285 PageID #:730
9303   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\updater\flash_hw.c
9304   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\updater\junk
9305   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\updater\Makefile
9306   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\updater\ppcstring.S
9307   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\updater\string.c
9308   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\updater\update.c
9309   GPL.UBNT.v6.1.7\uboot\uboot-ti\tools\updater\utils.c
9310   GPL.UBNT.v6.1.7\uboot\uboot-xm\arm_config.mk
9311   GPL.UBNT.v6.1.7\uboot\uboot-xm\blackfin_config.mk
9312   GPL.UBNT.v6.1.7\uboot\uboot-xm\board
9313   GPL.UBNT.v6.1.7\uboot\uboot-xm\CHANGELOG
9314   GPL.UBNT.v6.1.7\uboot\uboot-xm\common
9315   GPL.UBNT.v6.1.7\uboot\uboot-xm\config.mk
9316   GPL.UBNT.v6.1.7\uboot\uboot-xm\COPYING
9317   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu
9318   GPL.UBNT.v6.1.7\uboot\uboot-xm\CREDITS
9319   GPL.UBNT.v6.1.7\uboot\uboot-xm\disk
9320   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc
9321   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers
9322   GPL.UBNT.v6.1.7\uboot\uboot-xm\dtt
9323   GPL.UBNT.v6.1.7\uboot\uboot-xm\examples
9324   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs
9325   GPL.UBNT.v6.1.7\uboot\uboot-xm\i386_config.mk
9326   GPL.UBNT.v6.1.7\uboot\uboot-xm\include
9327   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_arm
9328   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_blackfin
9329   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_generic
9330   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_i386
9331   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_m68k
9332   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_microblaze
9333   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_mips
9334   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_nios
9335   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_nios2
9336   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_ppc
9337   GPL.UBNT.v6.1.7\uboot\uboot-xm\m68k_config.mk
9338   GPL.UBNT.v6.1.7\uboot\uboot-xm\MAINTAINERS
9339   GPL.UBNT.v6.1.7\uboot\uboot-xm\MAKEALL
9340   GPL.UBNT.v6.1.7\uboot\uboot-xm\Makefile
9341   GPL.UBNT.v6.1.7\uboot\uboot-xm\microblaze_config.mk
9342   GPL.UBNT.v6.1.7\uboot\uboot-xm\mips_config.mk
9343   GPL.UBNT.v6.1.7\uboot\uboot-xm\mkconfig
9344   GPL.UBNT.v6.1.7\uboot\uboot-xm\net
9345   GPL.UBNT.v6.1.7\uboot\uboot-xm\nios2_config.mk
9346   GPL.UBNT.v6.1.7\uboot\uboot-xm\nios_config.mk
9347   GPL.UBNT.v6.1.7\uboot\uboot-xm\post
9348   GPL.UBNT.v6.1.7\uboot\uboot-xm\ppc_config.mk
9349   GPL.UBNT.v6.1.7\uboot\uboot-xm\propagate.sh
9350   GPL.UBNT.v6.1.7\uboot\uboot-xm\README
9351   GPL.UBNT.v6.1.7\uboot\uboot-xm\rtc
9352   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools
9353   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\a3000
9354   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\adder
9355   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\adsvix
9356   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\alaska
9357   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\altera
9358   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc
9359   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amirix
9360   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100
9361   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240
9362   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\armadillo
9363   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\assabet
9364   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\at91rm9200dk
9365   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\atc
9366   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\AtmarkTechno
9367   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\barco
9368   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\bmw
9369   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\c2mon
9370   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\canmb
9371   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cds
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18   Page 145 of 285 PageID #:731
9372   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cerf250
9373   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cm4008
9374   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cm41xx
9375   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cmc_pu2
9376   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cmi
9377   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cobra5272
9378   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cogent
9379   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cpc45
9380   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cpu86
9381   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cpu87
9382   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cradle
9383   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cray
9384   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\csb226
9385   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\csb272
9386   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\csb472
9387   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\csb637
9388   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cu824
9389   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\dave
9390   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\dbau1x00
9391   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\delta
9392   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\dnp1110
9393   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eltec
9394   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\emk
9395   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ep7312
9396   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ep8248
9397   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ep8260
9398   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ep88x
9399   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eric
9400   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd
9401   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esteem192e
9402   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\etin
9403   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\etx094
9404   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb4510
9405   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb64260
9406   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eXalion
9407   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\exbitgen
9408   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ezkit533
9409   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\fads
9410   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\flagadm
9411   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\funkwerk
9412   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\g2000
9413   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gcplus
9414   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gen860t
9415   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\genietv
9416   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gth
9417   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gw8260
9418   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hermes
9419   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hidden_dragon
9420   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hmi1001
9421   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hymod
9422   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\icecube
9423   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\icu862
9424   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ids8247
9425   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\impa7
9426   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\incaip
9427   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\inka4x0
9428   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\innokom
9429   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\integratorap
9430   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\integratorcp
9431   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ip860
9432   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\iphase4539
9433   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ispan
9434   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ivm
9435   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ixdp425
9436   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\jse
9437   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\kb9202
9438   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\kup
9439   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lantec
9440   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lart
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18   Page 146 of 285 PageID #:732
9441   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\LEOX
9442   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\logodl
9443   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lpd7a40x
9444   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lubbock
9445   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lwmon
9446   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\m5272c3
9447   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\m5282evb
9448   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI
9449   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell
9450   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mbx8xx
9451   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mcc200
9452   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ml2
9453   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\modnet50
9454   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mousse
9455   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mp2usb
9456   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8260ads
9457   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8266ads
9458   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8349ads
9459   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8349emds
9460   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8540ads
9461   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8540eval
9462   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8560ads
9463   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl
9464   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\musenki
9465   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mvblue
9466   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mvs1
9467   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mx1ads
9468   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mx1fs2
9469   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\nc650
9470   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netphone
9471   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netstar
9472   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netta
9473   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netta2
9474   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netvia
9475   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ns9750dev
9476   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\nx823
9477   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\o2dnt
9478   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\omap1510inn
9479   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\omap1610inn
9480   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\omap2420h4
9481   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\omap5912osk
9482   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\omap730p2
9483   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\oxc
9484   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pb1x00
9485   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pcippc2
9486   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pleb2
9487   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pm520
9488   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pm826
9489   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pm828
9490   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pm854
9491   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pm856
9492   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pn62
9493   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ppmc8260
9494   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\prodrive
9495   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\psyent
9496   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\purple
9497   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pxa255_idp
9498   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\quantum
9499   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\r360mpi
9500   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\rattler
9501   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\rbc823
9502   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\rmu
9503   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\RPXClassic
9504   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\RPXlite
9505   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\RPXlite_dw
9506   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\rpxsuper
9507   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\RRvision
9508   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\rsdproto
9509   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sacsng
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 147   of 285 PageID #:733
9510   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandburst
9511   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandpoint
9512   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sbc405
9513   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sbc8240
9514   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sbc8260
9515   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sbc8560
9516   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sc520_cdp
9517   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sc520_spunk
9518   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\scb9328
9519   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\shannon
9520   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens
9521   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sixnet
9522   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sl8245
9523   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\smdk2400
9524   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\smdk2410
9525   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\snmc
9526   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sorcery
9527   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\spd8xx
9528   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ssv
9529   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\stamp
9530   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\stxgp3
9531   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\stxxtc
9532   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\svm_sc8xx
9533   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sx1
9534   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tb0229
9535   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\total5200
9536   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tqm5200
9537   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tqm8260
9538   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tqm834x
9539   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tqm85xx
9540   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tqm8xx
9541   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\trab
9542   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\uc100
9543   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\utx8245
9544   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\v37
9545   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\versatile
9546   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\voiceblue
9547   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\w7o
9548   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\wepep250
9549   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\westel
9550   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xaeniax
9551   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx
9552   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xm250
9553   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xpedite1k
9554   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xsengine
9555   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\zpc1900
9556   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\zylonite
9557   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\a3000\a3000.c
9558   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\a3000\config.mk
9559   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\a3000\flash.c
9560   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\a3000\Makefile
9561   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\a3000\README
9562   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\a3000\u-boot.lds
9563   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\adder\adder.c
9564   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\adder\config.mk
9565   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\adder\Makefile
9566   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\adder\u-boot.lds
9567   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\adsvix\adsvix.c
9568   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\adsvix\config.mk
9569   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\adsvix\lowlevel_init.S
9570   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\adsvix\Makefile
9571   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\adsvix\pcmcia.c
9572   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\adsvix\pxavoltage.S
9573   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\adsvix\u-boot.lds
9574   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\alaska\alaska.c
9575   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\alaska\config.mk
9576   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\alaska\flash.c
9577   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\alaska\Makefile
9578   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\alaska\u-boot.lds
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 148 of 285   PageID #:734
9579   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\altera\common
9580   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\altera\dk1c20
9581   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\altera\dk1s10
9582   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\altera\common\flash.c
9583   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\altera\common\sevenseg.c
9584   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\altera\common\sevenseg.h
9585   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\altera\dk1c20\config.mk
9586   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\altera\dk1c20\dk1c20.c
9587   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\altera\dk1c20\flash.c
9588   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\altera\dk1c20\Makefile
9589   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\altera\dk1c20\misc.c
9590   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\altera\dk1c20\u-boot.lds
9591   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\altera\dk1c20\vectors.S
9592   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\altera\dk1s10\config.mk
9593   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\altera\dk1s10\dk1s10.c
9594   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\altera\dk1s10\flash.c
9595   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\altera\dk1s10\Makefile
9596   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\altera\dk1s10\misc.c
9597   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\altera\dk1s10\u-boot.lds
9598   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\altera\dk1s10\vectors.S
9599   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\bamboo
9600   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\bubinga
9601   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\common
9602   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\ebony
9603   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\luan
9604   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\ocotea
9605   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\walnut
9606   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\yellowstone
9607   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\yosemite
9608   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\bamboo\bamboo.c
9609   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\bamboo\bamboo.h
9610   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\bamboo\config.mk
9611   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\bamboo\flash.c
9612   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\bamboo\init.S
9613   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\bamboo\Makefile
9614   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\bamboo\u-boot.lds
9615   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\bubinga\bubinga.c
9616   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\bubinga\config.mk
9617   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\bubinga\flash.c
9618   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\bubinga\Makefile
9619   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\bubinga\u-boot.lds
9620   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\common\flash.c
9621   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\ebony\config.mk
9622   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\ebony\ebony.c
9623   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\ebony\flash.c
9624   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\ebony\init.S
9625   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\ebony\Makefile
9626   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\ebony\u-boot.lds
9627   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\luan\config.mk
9628   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\luan\epld.h
9629   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\luan\flash.c
9630   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\luan\init.S
9631   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\luan\luan.c
9632   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\luan\Makefile
9633   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\luan\u-boot.lds
9634   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\ocotea\config.mk
9635   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\ocotea\flash.c
9636   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\ocotea\init.S
9637   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\ocotea\Makefile
9638   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\ocotea\ocotea.c
9639   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\ocotea\ocotea.h
9640   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\ocotea\u-boot.lds
9641   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\walnut\config.mk
9642   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\walnut\flash.c
9643   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\walnut\Makefile
9644   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\walnut\u-boot.lds
9645   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\walnut\walnut.c
9646   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\yellowstone\config.mk
9647   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\yellowstone\init.S
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 149 of 285 PageID #:735
9648   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\yellowstone\Makefile
9649   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\yellowstone\u-boot.lds
9650   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\yellowstone\yellowstone.c
9651   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\yosemite\config.mk
9652   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\yosemite\init.S
9653   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\yosemite\Makefile
9654   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\yosemite\u-boot.lds
9655   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amcc\yosemite\yosemite.c
9656   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amirix\ap1000
9657   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amirix\ap1000\ap1000.c
9658   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amirix\ap1000\ap1000.h
9659   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amirix\ap1000\config.mk
9660   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amirix\ap1000\flash.c
9661   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amirix\ap1000\init.S
9662   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amirix\ap1000\Makefile
9663   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amirix\ap1000\pci.c
9664   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amirix\ap1000\powerspan.c
9665   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amirix\ap1000\powerspan.h
9666   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amirix\ap1000\serial.c
9667   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\amirix\ap1000\u-boot.lds
9668   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\ap81
9669   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\ap83
9670   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\ap94
9671   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\ap96
9672   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\common
9673   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\pb42
9674   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\pb45
9675   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\tb225
9676   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\tb243
9677   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\ap81\ap81.c
9678   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\ap81\config.mk
9679   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\ap81\flash.c
9680   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\ap81\Makefile
9681   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\ap81\u-boot.lds
9682   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\ap83\ap83.c
9683   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\ap83\config.mk
9684   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\ap83\flash.c
9685   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\ap83\Makefile
9686   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\ap83\u-boot.lds
9687   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\ap94\ap94.c
9688   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\ap94\ap94_pci.c
9689   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\ap94\athrs26_phy.c
9690   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\ap94\athrs26_phy.h
9691   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\ap94\config.mk
9692   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\ap94\lowlevel_init.S
9693   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\ap94\Makefile
9694   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\ap94\u-boot.lds
9695   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\ap96\ap96.c
9696   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\ap96\config.mk
9697   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\ap96\Makefile
9698   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\ap96\u-boot.lds
9699   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\common\ar7100_flash.c
9700   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\common\ar7100_flash.h
9701   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\common\ar9100_pflash.c
9702   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\common\athrs16_phy.c
9703   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\common\athrs16_phy.h
9704   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\common\athrs26_phy.c
9705   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\common\athrs26_phy.h
9706   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\common\g5e_Plus1_2_29a_unmanaged_Atheros_v3.c
9707   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\common\g5_Plus1_2_29a_unmanaged_Atheros_v5.c
9708   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\common\g5_Plus1_2_29b_unmanaged_Atheros_v5.c
9709   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\common\g5_Plus1_2_31_unmanaged_Atheros_v3.c
9710   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\common\g5_Plus1_2_31_unmanaged_Atheros_v4.c
9711   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\common\generic_i2c.c
9712   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\common\generic_i2c.h
9713   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\common\generic_spi.c
9714   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\common\generic_spi.h
9715   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\common\ipPhy.c
9716   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\common\ipPhy.h
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 150 of 285 PageID   #:736
9717   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\common\lowlevel_init.S
9718   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\common\lowlevel_init_ar9100.S
9719   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\common\phy.h
9720   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\common\vsc73xx.c
9721   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\common\vsc73xx.h
9722   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\common\vsc8601_phy.c
9723   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\common\vsc8601_phy.h
9724   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\common\vsc_phy.c
9725   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\pb42\config.mk
9726   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\pb42\flash.c
9727   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\pb42\Makefile
9728   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\pb42\pb42.c
9729   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\pb42\u-boot.lds
9730   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\pb45\config.mk
9731   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\pb45\Makefile
9732   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\pb45\pb45.c
9733   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\pb45\pb45_pci.c
9734   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\pb45\u-boot.lds
9735   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\tb225\config.mk
9736   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\tb225\flash.c
9737   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\tb225\Makefile
9738   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\tb225\tb225.c
9739   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\tb225\u-boot.lds
9740   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\tb243\config.mk
9741   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\tb243\Makefile
9742   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\tb243\tb243.c
9743   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7100\tb243\u-boot.lds
9744   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\ap91
9745   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\ap93
9746   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\ap99
9747   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\ar7240_emu
9748   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\common
9749   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\tb317
9750   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\tb327
9751   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\ubnt-xm
9752   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\wrt54g
9753   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\ap91\ap91.c
9754   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\ap91\config.mk
9755   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\ap91\flash.c
9756   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\ap91\Makefile
9757   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\ap91\u-boot.lds
9758   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\ap93\ap93.c
9759   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\ap93\config.mk
9760   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\ap93\flash.c
9761   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\ap93\Makefile
9762   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\ap93\u-boot.lds
9763   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\ap99\ap99.c
9764   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\ap99\config.mk
9765   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\ap99\flash.c
9766   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\ap99\Makefile
9767   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\ap99\u-boot.lds
9768   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\ar7240_emu\ar7240_emu.c
9769   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\ar7240_emu\config.mk
9770   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\ar7240_emu\flash.c
9771   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\ar7240_emu\Makefile
9772   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\ar7240_emu\u-boot.lds
9773   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\common\ar7240_flash.c
9774   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\common\ar7240_flash.h
9775   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\common\ar7240_pci.c
9776   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\common\ar7240_s26_phy.c
9777   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\common\ar7240_s26_phy.h
9778   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\common\athr8021_phy.c
9779   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\common\athr8021_phy.h
9780   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\common\athr8035_phy.c
9781   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\common\athr8035_phy.h
9782   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\common\athrs16_phy.c
9783   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\common\athrs16_phy.h
9784   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\common\lowlevel_init.S
9785   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\common\phy.h
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 151 of 285 PageID   #:737
9786   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\tb317\config.mk
9787   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\tb317\flash.c
9788   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\tb317\Makefile
9789   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\tb317\tb317.c
9790   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\tb317\u-boot.lds
9791   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\tb327\config.mk
9792   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\tb327\flash.c
9793   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\tb327\Makefile
9794   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\tb327\tb327.c
9795   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\tb327\u-boot.lds
9796   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\ubnt-xm\config.mk
9797   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\ubnt-xm\flash.c
9798   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\ubnt-xm\Makefile
9799   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\ubnt-xm\u-boot.lds
9800   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\ubnt-xm\ubnt-xm.c
9801   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\wrt54g\config.mk
9802   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\wrt54g\flash.c
9803   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\wrt54g\Makefile
9804   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\wrt54g\u-boot.lds
9805   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ar7240\wrt54g\wrt54g.c
9806   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\armadillo\armadillo.c
9807   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\armadillo\config.mk
9808   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\armadillo\flash.c
9809   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\armadillo\lowlevel_init.S
9810   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\armadillo\Makefile
9811   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\armadillo\u-boot.lds
9812   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\assabet\assabet.c
9813   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\assabet\config.mk
9814   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\assabet\Makefile
9815   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\assabet\setup.S
9816   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\assabet\u-boot.lds
9817   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\at91rm9200dk\at45.c
9818   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\at91rm9200dk\at91rm9200dk.c
9819   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\at91rm9200dk\config.mk
9820   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\at91rm9200dk\flash.c
9821   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\at91rm9200dk\Makefile
9822   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\at91rm9200dk\u-boot.lds
9823   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\atc\atc.c
9824   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\atc\config.mk
9825   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\atc\flash.c
9826   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\atc\Makefile
9827   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\atc\u-boot.lds
9828   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\AtmarkTechno\suzaku
9829   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\AtmarkTechno\suzaku\config.mk
9830   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\AtmarkTechno\suzaku\flash.c
9831   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\AtmarkTechno\suzaku\Makefile
9832   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\AtmarkTechno\suzaku\suzaku.c
9833   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\AtmarkTechno\suzaku\u-boot.lds
9834   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\barco\barco.c
9835   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\barco\barco_svc.h
9836   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\barco\config.mk
9837   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\barco\early_init.S
9838   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\barco\flash.c
9839   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\barco\Makefile
9840   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\barco\README
9841   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\barco\speed.h
9842   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\barco\u-boot.lds
9843   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\bmw\bmw.c
9844   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\bmw\bmw.h
9845   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\bmw\config.mk
9846   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\bmw\early_init.S
9847   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\bmw\flash.c
9848   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\bmw\m48t59y.c
9849   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\bmw\m48t59y.h
9850   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\bmw\Makefile
9851   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\bmw\ns16550.c
9852   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\bmw\ns16550.h
9853   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\bmw\README
9854   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\bmw\serial.c
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 152 of 285   PageID #:738
9855   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\bmw\u-boot.lds
9856   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\c2mon\c2mon.c
9857   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\c2mon\config.mk
9858   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\c2mon\flash.c
9859   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\c2mon\Makefile
9860   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\c2mon\u-boot.lds
9861   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\c2mon\u-boot.lds.debug
9862   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\canmb\canmb.c
9863   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\canmb\config.mk
9864   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\canmb\Makefile
9865   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\canmb\mt48lc16m32s2-75.h
9866   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\canmb\u-boot.lds
9867   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cds\common
9868   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cds\mpc8541cds
9869   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cds\mpc8548cds
9870   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cds\mpc8555cds
9871   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cds\common\cadmus.c
9872   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cds\common\cadmus.h
9873   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cds\common\eeprom.c
9874   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cds\common\eeprom.h
9875   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cds\mpc8541cds\config.mk
9876   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cds\mpc8541cds\init.S
9877   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cds\mpc8541cds\Makefile
9878   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cds\mpc8541cds\mpc8541cds.c
9879   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cds\mpc8541cds\u-boot.lds
9880   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cds\mpc8548cds\config.mk
9881   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cds\mpc8548cds\init.S
9882   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cds\mpc8548cds\Makefile
9883   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cds\mpc8548cds\mpc8548cds.c
9884   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cds\mpc8548cds\u-boot.lds
9885   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cds\mpc8555cds\config.mk
9886   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cds\mpc8555cds\init.S
9887   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cds\mpc8555cds\Makefile
9888   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cds\mpc8555cds\mpc8555cds.c
9889   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cds\mpc8555cds\u-boot.lds
9890   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cerf250\cerf250.c
9891   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cerf250\config.mk
9892   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cerf250\flash.c
9893   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cerf250\lowlevel_init.S
9894   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cerf250\Makefile
9895   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cerf250\u-boot.lds
9896   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cm4008\cm4008.c
9897   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cm4008\config.mk
9898   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cm4008\flash.c
9899   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cm4008\Makefile
9900   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cm4008\u-boot.lds
9901   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cm41xx\cm41xx.c
9902   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cm41xx\config.mk
9903   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cm41xx\flash.c
9904   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cm41xx\Makefile
9905   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cm41xx\u-boot.lds
9906   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cmc_pu2\at45.c
9907   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cmc_pu2\cmc_pu2.c
9908   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cmc_pu2\config.mk
9909   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cmc_pu2\flash.c
9910   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cmc_pu2\load_sernum_ethaddr.c
9911   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cmc_pu2\Makefile
9912   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cmc_pu2\u-boot.lds
9913   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cmi\cmi.c
9914   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cmi\config.mk
9915   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cmi\flash.c
9916   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cmi\Makefile
9917   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cmi\u-boot.lds
9918   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cobra5272\bdm
9919   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cobra5272\cobra5272.c
9920   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cobra5272\config.mk
9921   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cobra5272\flash.c
9922   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cobra5272\Makefile
9923   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cobra5272\u-boot.lds
         Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 153 of 285 PageID   #:739
9924   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cobra5272\bdm\cobra5272_uboot.gdb
9925   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cobra5272\bdm\gdbinit.reset
9926   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cobra5272\bdm\load-cobra_uboot
9927   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cobra5272\bdm\reset
9928   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cogent\config.mk
9929   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cogent\dipsw.c
9930   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cogent\dipsw.h
9931   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cogent\flash.c
9932   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cogent\flash.h
9933   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cogent\kbm.c
9934   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cogent\kbm.h
9935   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cogent\lcd.c
9936   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cogent\lcd.h
9937   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cogent\Makefile
9938   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cogent\mb.c
9939   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cogent\mb.h
9940   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cogent\par.c
9941   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cogent\par.h
9942   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cogent\pci.c
9943   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cogent\pci.h
9944   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cogent\README
9945   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cogent\README.cma286
9946   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cogent\rtc.c
9947   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cogent\rtc.h
9948   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cogent\serial.c
9949   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cogent\serial.h
9950   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cogent\u-boot.lds
9951   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cogent\u-boot.lds.debug
9952   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cpc45\config.mk
9953   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cpc45\cpc45.c
9954   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cpc45\flash.c
9955   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cpc45\Makefile
9956   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cpc45\pd67290.c
9957   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cpc45\plx9030.c
9958   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cpc45\u-boot.lds
9959   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cpu86\config.mk
9960   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cpu86\cpu86.c
9961   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cpu86\cpu86.h
9962   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cpu86\flash.c
9963   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cpu86\Makefile
9964   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cpu86\u-boot.lds
9965   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cpu87\config.mk
9966   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cpu87\cpu87.c
9967   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cpu87\cpu87.h
9968   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cpu87\flash.c
9969   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cpu87\Makefile
9970   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cpu87\u-boot.lds
9971   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cradle\config.mk
9972   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cradle\cradle.c
9973   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cradle\flash.c
9974   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cradle\lowlevel_init.S
9975   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cradle\Makefile
9976   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cradle\u-boot.lds
9977   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cray\L1
9978   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cray\L1\bootscript.hush
9979   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cray\L1\config.mk
9980   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cray\L1\flash.c
9981   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cray\L1\init.S
9982   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cray\L1\L1.c
9983   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cray\L1\L1.h
9984   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cray\L1\Makefile
9985   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cray\L1\patchme
9986   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cray\L1\u-boot.lds
9987   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cray\L1\u-boot.lds.debug
9988   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cray\L1\x2c.awk
9989   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\csb226\config.mk
9990   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\csb226\csb226.c
9991   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\csb226\flash.c
 9992   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\csb226\lowlevel_init.S
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 154 of 285 PageID   #:740
 9993   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\csb226\Makefile
 9994   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\csb226\u-boot.lds
 9995   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\csb272\config.mk
 9996   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\csb272\csb272.c
 9997   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\csb272\init.S
 9998   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\csb272\Makefile
 9999   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\csb272\u-boot.lds
10000   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\csb472\config.mk
10001   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\csb472\csb472.c
10002   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\csb472\init.S
10003   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\csb472\Makefile
10004   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\csb472\u-boot.lds
10005   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\csb637\config.mk
10006   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\csb637\csb637.c
10007   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\csb637\Makefile
10008   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\csb637\u-boot.lds
10009   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cu824\config.mk
10010   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cu824\cu824.c
10011   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cu824\flash.c
10012   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cu824\Makefile
10013   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cu824\README
10014   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\cu824\u-boot.lds
10015   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\dave\B2
10016   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\dave\common
10017   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\dave\PPChameleonEVB
10018   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\dave\B2\B2.c
10019   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\dave\B2\config.mk
10020   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\dave\B2\flash.c
10021   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\dave\B2\lowlevel_init.S
10022   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\dave\B2\Makefile
10023   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\dave\B2\u-boot.lds
10024   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\dave\common\flash.c
10025   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\dave\common\fpga.c
10026   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\dave\common\pci.c
10027   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\dave\PPChameleonEVB\config.mk
10028   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\dave\PPChameleonEVB\flash.c
10029   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\dave\PPChameleonEVB\fpgadata.c
10030   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\dave\PPChameleonEVB\Makefile
10031   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\dave\PPChameleonEVB\nand.c
10032   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\dave\PPChameleonEVB\PPChameleonEVB.c
10033   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\dave\PPChameleonEVB\u-boot.lds
10034   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\dbau1x00\config.mk
10035   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\dbau1x00\dbau1x00.c
10036   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\dbau1x00\flash.c
10037   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\dbau1x00\lowlevel_init.S
10038   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\dbau1x00\Makefile
10039   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\dbau1x00\README
10040   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\dbau1x00\u-boot.lds
10041   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\delta\config.mk
10042   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\delta\delta.c
10043   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\delta\lowlevel_init.S
10044   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\delta\Makefile
10045   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\delta\nand.c
10046   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\delta\u-boot.lds
10047   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\dnp1110\config.mk
10048   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\dnp1110\dnp1110.c
10049   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\dnp1110\flash.c
10050   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\dnp1110\lowlevel_init.S
10051   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\dnp1110\Makefile
10052   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\dnp1110\u-boot.lds
10053   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eltec\bab7xx
10054   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eltec\elppc
10055   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eltec\mhpc
10056   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eltec\bab7xx\asm_init.S
10057   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eltec\bab7xx\bab7xx.c
10058   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eltec\bab7xx\config.mk
10059   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eltec\bab7xx\dc_srom.c
10060   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eltec\bab7xx\el_srom.c
10061   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eltec\bab7xx\flash.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 155 of 285   PageID #:741
10062   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eltec\bab7xx\l2cache.c
10063   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eltec\bab7xx\Makefile
10064   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eltec\bab7xx\misc.c
10065   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eltec\bab7xx\pci.c
10066   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eltec\bab7xx\srom.h
10067   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eltec\bab7xx\u-boot.lds
10068   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eltec\elppc\asm_init.S
10069   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eltec\elppc\config.mk
10070   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eltec\elppc\eepro100_srom.c
10071   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eltec\elppc\elppc.c
10072   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eltec\elppc\flash.c
10073   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eltec\elppc\Makefile
10074   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eltec\elppc\misc.c
10075   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eltec\elppc\mpc107_i2c.c
10076   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eltec\elppc\pci.c
10077   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eltec\elppc\srom.h
10078   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eltec\elppc\u-boot.lds
10079   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eltec\mhpc\config.mk
10080   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eltec\mhpc\flash.c
10081   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eltec\mhpc\Makefile
10082   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eltec\mhpc\mhpc.c
10083   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eltec\mhpc\u-boot.lds
10084   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eltec\mhpc\u-boot.lds.debug
10085   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\emk\common
10086   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\emk\top5200
10087   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\emk\top860
10088   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\emk\common\am79c874.c
10089   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\emk\common\flash.c
10090   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\emk\common\vpd.c
10091   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\emk\top5200\config.mk
10092   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\emk\top5200\Makefile
10093   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\emk\top5200\top5200.c
10094   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\emk\top5200\u-boot.lds
10095   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\emk\top860\config.mk
10096   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\emk\top860\Makefile
10097   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\emk\top860\top860.c
10098   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\emk\top860\u-boot.lds
10099   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\emk\top860\u-boot.lds.debug
10100   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ep7312\config.mk
10101   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ep7312\ep7312.c
10102   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ep7312\flash.c
10103   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ep7312\lowlevel_init.S
10104   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ep7312\Makefile
10105   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ep7312\u-boot.lds
10106   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ep8248\config.mk
10107   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ep8248\ep8248.c
10108   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ep8248\Makefile
10109   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ep8248\u-boot.lds
10110   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ep8260\config.mk
10111   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ep8260\ep8260.c
10112   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ep8260\ep8260.h
10113   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ep8260\flash.c
10114   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ep8260\Makefile
10115   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ep8260\mii_phy.c
10116   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ep8260\u-boot.lds
10117   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ep88x\config.mk
10118   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ep88x\ep88x.c
10119   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ep88x\Makefile
10120   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ep88x\u-boot.lds
10121   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eric\config.mk
10122   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eric\eric.c
10123   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eric\eric.h
10124   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eric\flash.c
10125   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eric\init.S
10126   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eric\Makefile
10127   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eric\u-boot.lds
10128   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\adciop
10129   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\apc405
10130   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\ar405
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 156 of 285 PageID   #:742
10131   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\ash405
10132   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\canbt
10133   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cms700
10134   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\common
10135   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci2dp
10136   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci405
10137   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci440
10138   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci5200
10139   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci750
10140   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpciiser4
10141   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\dasa_sim
10142   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\dp405
10143   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\du405
10144   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\hh405
10145   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\hub405
10146   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\ocrtc
10147   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\pci405
10148   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\pf5200
10149   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\plu405
10150   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\pmc405
10151   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\tasreg
10152   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\voh405
10153   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\vom405
10154   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\wuh405
10155   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\adciop\adciop.c
10156   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\adciop\adciop.h
10157   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\adciop\config.mk
10158   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\adciop\flash.c
10159   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\adciop\Makefile
10160   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\adciop\u-boot.lds
10161   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\apc405\apc405.c
10162   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\apc405\config.mk
10163   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\apc405\fpgadata.c
10164   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\apc405\logo_640_480_24bpp.c
10165   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\apc405\Makefile
10166   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\apc405\strataflash.c
10167   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\apc405\u-boot.lds
10168   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\ar405\ar405.c
10169   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\ar405\ar405.h
10170   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\ar405\config.mk
10171   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\ar405\flash.c
10172   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\ar405\fpgadata.c
10173   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\ar405\fpgadata_xl30.c
10174   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\ar405\Makefile
10175   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\ar405\u-boot.lds
10176   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\ash405\ash405.c
10177   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\ash405\config.mk
10178   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\ash405\flash.c
10179   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\ash405\fpgadata.c
10180   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\ash405\Makefile
10181   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\ash405\u-boot.lds
10182   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\canbt\canbt.c
10183   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\canbt\canbt.h
10184   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\canbt\config.mk
10185   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\canbt\flash.c
10186   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\canbt\fpgadata.c
10187   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\canbt\Makefile
10188   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\canbt\u-boot.lds
10189   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cms700\cms700.c
10190   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cms700\config.mk
10191   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cms700\flash.c
10192   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cms700\fpgadata.c
10193   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cms700\Makefile
10194   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cms700\u-boot.lds
10195   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\common\auto_update.c
10196   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\common\auto_update.h
10197   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\common\cmd_loadpci.c
10198   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\common\flash.c
10199   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\common\fpga.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 157 of 285 PageID   #:743
10200   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\common\lcd.c
10201   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\common\lcd.h
10202   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\common\misc.c
10203   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\common\pci.c
10204   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\common\s1d13704_320_240_4bpp.h
10205   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\common\s1d13705_320_240_8bpp.h
10206   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\common\s1d13806_1024_768_8bpp.h
10207   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\common\s1d13806_320_240_4bpp.h
10208   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\common\s1d13806_640_480_16bpp.h
10209   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\common\s1d13806_640_480_8bpp.h
10210   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\common\xilinx_jtag
10211   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\common\xilinx_jtag\lenval.c
10212   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\common\xilinx_jtag\lenval.h
10213   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\common\xilinx_jtag\micro.c
10214   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\common\xilinx_jtag\micro.h
10215   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\common\xilinx_jtag\ports.c
10216   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\common\xilinx_jtag\ports.h
10217   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci2dp\config.mk
10218   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci2dp\cpci2dp.c
10219   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci2dp\flash.c
10220   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci2dp\Makefile
10221   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci2dp\u-boot.lds
10222   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci405\config.mk
10223   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci405\cpci405.c
10224   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci405\flash.c
10225   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci405\fpgadata_cpci405.c
10226   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci405\fpgadata_cpci4052.c
10227   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci405\fpgadata_cpci405ab.c
10228   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci405\Makefile
10229   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci405\u-boot.lds
10230   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci440\config.mk
10231   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci440\cpci440.c
10232   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci440\init.S
10233   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci440\Makefile
10234   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci440\strataflash.c
10235   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci440\u-boot.lds
10236   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci5200\config.mk
10237   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci5200\cpci5200.c
10238   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci5200\Makefile
10239   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci5200\mt46v16m16-75.h
10240   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci5200\strataflash.c
10241   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci5200\u-boot.lds
10242   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci750\64360.h
10243   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci750\config.mk
10244   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci750\cpci750.c
10245   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci750\eth.h
10246   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci750\i2c.c
10247   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci750\i2c.h
10248   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci750\ide.c
10249   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci750\local.h
10250   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci750\Makefile
10251   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci750\misc.S
10252   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci750\mpsc.c
10253   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci750\mpsc.h
10254   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci750\mv_eth.c
10255   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci750\mv_eth.h
10256   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci750\mv_regs.h
10257   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci750\pci.c
10258   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci750\sdram_init.c
10259   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci750\serial.c
10260   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci750\serial.h
10261   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpci750\u-boot.lds
10262   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpciiser4\config.mk
10263   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpciiser4\cpciiser4.c
10264   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpciiser4\cpciiser4.h
10265   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpciiser4\flash.c
10266   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpciiser4\fpgadata.c
10267   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpciiser4\Makefile
10268   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\cpciiser4\u-boot.lds
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 158 of 285 PageID   #:744
10269   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\dasa_sim\cmd_dasa_sim.c
10270   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\dasa_sim\config.mk
10271   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\dasa_sim\dasa_sim.c
10272   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\dasa_sim\dasa_sim.h
10273   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\dasa_sim\eeprom.c
10274   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\dasa_sim\flash.c
10275   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\dasa_sim\fpgadata.c
10276   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\dasa_sim\Makefile
10277   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\dasa_sim\u-boot.lds
10278   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\dp405\config.mk
10279   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\dp405\dp405.c
10280   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\dp405\flash.c
10281   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\dp405\fpgadata.c
10282   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\dp405\Makefile
10283   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\dp405\u-boot.lds
10284   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\du405\config.mk
10285   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\du405\du405.c
10286   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\du405\du405.h
10287   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\du405\flash.c
10288   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\du405\fpgadata.c
10289   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\du405\Makefile
10290   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\du405\u-boot.lds
10291   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\hh405\config.mk
10292   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\hh405\flash.c
10293   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\hh405\fpgadata.c
10294   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\hh405\hh405.c
10295   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\hh405\logo_1024_768_8bpp.c
10296   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\hh405\logo_320_240_4bpp.c
10297   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\hh405\logo_320_240_8bpp.c
10298   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\hh405\logo_640_480_24bpp.c
10299   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\hh405\Makefile
10300   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\hh405\u-boot.lds
10301   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\hub405\config.mk
10302   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\hub405\flash.c
10303   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\hub405\hub405.c
10304   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\hub405\Makefile
10305   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\hub405\u-boot.lds
10306   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\ocrtc\cmd_ocrtc.c
10307   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\ocrtc\config.mk
10308   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\ocrtc\flash.c
10309   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\ocrtc\Makefile
10310   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\ocrtc\ocrtc.c
10311   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\ocrtc\ocrtc.h
10312   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\ocrtc\u-boot.lds
10313   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\pci405\cmd_pci405.c
10314   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\pci405\config.mk
10315   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\pci405\flash.c
10316   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\pci405\fpgadata.c
10317   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\pci405\Makefile
10318   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\pci405\pci405.c
10319   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\pci405\pci405.h
10320   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\pci405\u-boot.lds
10321   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\pci405\writeibm.S
10322   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\pf5200\config.mk
10323   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\pf5200\flash.c
10324   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\pf5200\Makefile
10325   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\pf5200\mt46v16m16-75.h
10326   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\pf5200\pf5200.c
10327   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\pf5200\u-boot.lds
10328   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\plu405\config.mk
10329   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\plu405\flash.c
10330   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\plu405\fpgadata.c
10331   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\plu405\Makefile
10332   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\plu405\plu405.c
10333   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\plu405\u-boot.lds
10334   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\pmc405\config.mk
10335   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\pmc405\fpgadata.c
10336   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\pmc405\Makefile
10337   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\pmc405\pmc405.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 159 of 285 PageID   #:745
10338   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\pmc405\u-boot.lds
10339   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\tasreg\config.mk
10340   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\tasreg\flash.c
10341   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\tasreg\fpgadata.c
10342   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\tasreg\Makefile
10343   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\tasreg\tasreg.c
10344   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\tasreg\u-boot.lds
10345   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\voh405\config.mk
10346   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\voh405\flash.c
10347   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\voh405\fpgadata.c
10348   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\voh405\logo_320_240_4bpp.c
10349   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\voh405\logo_640_480_24bpp.c
10350   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\voh405\Makefile
10351   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\voh405\u-boot.lds
10352   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\voh405\voh405.c
10353   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\vom405\config.mk
10354   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\vom405\flash.c
10355   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\vom405\fpgadata.c
10356   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\vom405\Makefile
10357   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\vom405\u-boot.lds
10358   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\vom405\vom405.c
10359   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\wuh405\config.mk
10360   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\wuh405\flash.c
10361   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\wuh405\fpgadata.c
10362   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\wuh405\Makefile
10363   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\wuh405\u-boot.lds
10364   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esd\wuh405\wuh405.c
10365   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esteem192e\config.mk
10366   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esteem192e\esteem192e.c
10367   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esteem192e\flash.c
10368   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esteem192e\Makefile
10369   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\esteem192e\u-boot.lds
10370   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\etin\debris
10371   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\etin\debris\config.mk
10372   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\etin\debris\debris.c
10373   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\etin\debris\flash.c
10374   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\etin\debris\Makefile
10375   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\etin\debris\phantom.c
10376   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\etin\debris\speed.h
10377   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\etin\debris\u-boot.lds
10378   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\etx094\config.mk
10379   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\etx094\etx094.c
10380   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\etx094\flash.c
10381   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\etx094\Makefile
10382   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\etx094\u-boot.lds
10383   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\etx094\u-boot.lds.debug
10384   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb4510\config.mk
10385   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb4510\evb4510.c
10386   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb4510\flash.c
10387   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb4510\lowlevel_init.S
10388   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb4510\Makefile
10389   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb4510\u-boot.lds
10390   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb64260\64260.h
10391   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb64260\bootseq.txt
10392   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb64260\config.mk
10393   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb64260\ecctest.c
10394   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb64260\eth.c
10395   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb64260\eth.h
10396   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb64260\eth_addrtbl.c
10397   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb64260\eth_addrtbl.h
10398   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb64260\evb64260.c
10399   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb64260\flash.c
10400   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb64260\i2c.c
10401   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb64260\i2c.h
10402   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb64260\intel_flash.c
10403   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb64260\intel_flash.h
10404   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb64260\local.h
10405   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb64260\Makefile
10406   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb64260\memory.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 160 of 285   PageID #:746
10407   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb64260\misc.S
10408   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb64260\mpsc.c
10409   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb64260\mpsc.h
10410   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb64260\pci.c
10411   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb64260\sdram_init.c
10412   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb64260\serial.c
10413   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb64260\serial.h
10414   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb64260\u-boot.lds
10415   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb64260\zuma_pbb.c
10416   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb64260\zuma_pbb.h
10417   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb64260\zuma_pbb_mbox.c
10418   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\evb64260\zuma_pbb_mbox.h
10419   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eXalion\config.mk
10420   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eXalion\eXalion.c
10421   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eXalion\eXalion.h
10422   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eXalion\Makefile
10423   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eXalion\piix_pci.h
10424   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\eXalion\u-boot.lds
10425   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\exbitgen\config.mk
10426   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\exbitgen\exbitgen.c
10427   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\exbitgen\exbitgen.h
10428   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\exbitgen\flash.c
10429   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\exbitgen\init.S
10430   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\exbitgen\Makefile
10431   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\exbitgen\u-boot.lds
10432   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ezkit533\config.mk
10433   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ezkit533\ezkit533.c
10434   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ezkit533\flash-defines.h
10435   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ezkit533\flash.c
10436   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ezkit533\Makefile
10437   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ezkit533\psd4256.h
10438   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ezkit533\u-boot.lds
10439   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\fads\config.mk
10440   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\fads\fads.c
10441   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\fads\fads.h
10442   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\fads\flash.c
10443   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\fads\lamp.c
10444   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\fads\Makefile
10445   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\fads\u-boot.lds
10446   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\fads\u-boot.lds.debug
10447   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\flagadm\config.mk
10448   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\flagadm\flagadm.c
10449   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\flagadm\flash.c
10450   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\flagadm\Makefile
10451   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\flagadm\u-boot.lds
10452   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\flagadm\u-boot.lds.debug
10453   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\funkwerk\vovpn-gw
10454   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\funkwerk\vovpn-gw\config.mk
10455   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\funkwerk\vovpn-gw\flash.c
10456   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\funkwerk\vovpn-gw\m88e6060.c
10457   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\funkwerk\vovpn-gw\m88e6060.h
10458   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\funkwerk\vovpn-gw\Makefile
10459   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\funkwerk\vovpn-gw\u-boot.lds
10460   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\funkwerk\vovpn-gw\vovpn-gw.c
10461   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\g2000\config.mk
10462   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\g2000\g2000.c
10463   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\g2000\Makefile
10464   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\g2000\strataflash.c
10465   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\g2000\u-boot.lds
10466   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gcplus\config.mk
10467   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gcplus\flash.c
10468   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gcplus\gcplus.c
10469   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gcplus\lowlevel_init.S
10470   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gcplus\Makefile
10471   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gcplus\u-boot.lds
10472   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gen860t\beeper.c
10473   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gen860t\beeper.h
10474   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gen860t\config.mk
10475   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gen860t\flash.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 161 of 285   PageID #:747
10476   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gen860t\fpga.c
10477   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gen860t\fpga.h
10478   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gen860t\gen860t.c
10479   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gen860t\ioport.c
10480   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gen860t\ioport.h
10481   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gen860t\Makefile
10482   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gen860t\README
10483   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gen860t\u-boot-flashenv.lds
10484   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gen860t\u-boot.lds
10485   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\genietv\config.mk
10486   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\genietv\flash.c
10487   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\genietv\genietv.c
10488   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\genietv\genietv.h
10489   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\genietv\Makefile
10490   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\genietv\u-boot.lds
10491   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\genietv\u-boot.lds.debug
10492   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gth\config.mk
10493   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gth\ee_access.c
10494   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gth\ee_access.h
10495   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gth\ee_dev.h
10496   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gth\flash.c
10497   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gth\gth.c
10498   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gth\Makefile
10499   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gth\README
10500   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gth\u-boot.lds
10501   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gw8260\config.mk
10502   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gw8260\flash.c
10503   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gw8260\gw8260.c
10504   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gw8260\Makefile
10505   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\gw8260\u-boot.lds
10506   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hermes\config.mk
10507   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hermes\flash.c
10508   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hermes\hermes.c
10509   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hermes\Makefile
10510   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hermes\u-boot.lds
10511   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hermes\u-boot.lds.debug
10512   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hidden_dragon\config.mk
10513   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hidden_dragon\early_init.S
10514   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hidden_dragon\flash.c
10515   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hidden_dragon\hidden_dragon.c
10516   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hidden_dragon\Makefile
10517   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hidden_dragon\README
10518   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hidden_dragon\speed.h
10519   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hidden_dragon\u-boot.lds
10520   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hmi1001\config.mk
10521   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hmi1001\hmi1001.c
10522   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hmi1001\Makefile
10523   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hmi1001\u-boot.lds
10524   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hymod\bsp.c
10525   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hymod\config.mk
10526   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hymod\eeprom.c
10527   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hymod\env.c
10528   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hymod\fetch.c
10529   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hymod\flash.c
10530   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hymod\flash.h
10531   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hymod\global_env
10532   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hymod\hymod.c
10533   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hymod\hymod.h
10534   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hymod\input.c
10535   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hymod\Makefile
10536   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hymod\u-boot.lds
10537   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\hymod\u-boot.lds.debug
10538   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\icecube\config.mk
10539   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\icecube\flash.c
10540   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\icecube\icecube.c
10541   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\icecube\Makefile
10542   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\icecube\mt46v16m16-75.h
10543   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\icecube\mt46v32m16.h
10544   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\icecube\mt48lc16m16a2-75.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 162 of 285 PageID   #:748
10545   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\icecube\u-boot.lds
10546   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\icu862\config.mk
10547   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\icu862\flash.c
10548   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\icu862\icu862.c
10549   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\icu862\Makefile
10550   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\icu862\u-boot.lds
10551   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\icu862\u-boot.lds.debug
10552   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ids8247\config.mk
10553   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ids8247\flash.c
10554   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ids8247\ids8247.c
10555   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ids8247\Makefile
10556   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ids8247\u-boot.lds
10557   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\impa7\config.mk
10558   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\impa7\flash.c
10559   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\impa7\impa7.c
10560   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\impa7\lowlevel_init.S
10561   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\impa7\Makefile
10562   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\impa7\u-boot.lds
10563   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\incaip\config.mk
10564   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\incaip\flash.c
10565   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\incaip\incaip.c
10566   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\incaip\lowlevel_init.S
10567   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\incaip\Makefile
10568   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\incaip\u-boot.lds
10569   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\inka4x0\config.mk
10570   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\inka4x0\flash.c
10571   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\inka4x0\inka4x0.c
10572   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\inka4x0\Makefile
10573   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\inka4x0\mt46v16m16-75.h
10574   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\inka4x0\mt48lc16m16a2-75.h
10575   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\inka4x0\u-boot.lds
10576   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\innokom\config.mk
10577   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\innokom\flash.c
10578   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\innokom\innokom.c
10579   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\innokom\lowlevel_init.S
10580   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\innokom\Makefile
10581   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\innokom\u-boot.lds
10582   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\integratorap\config.mk
10583   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\integratorap\flash.c
10584   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\integratorap\integratorap.c
10585   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\integratorap\lowlevel_init.S
10586   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\integratorap\Makefile
10587   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\integratorap\memsetup.S
10588   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\integratorap\split_by_variant.sh
10589   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\integratorap\u-boot.lds.template
10590   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\integratorcp\config.mk
10591   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\integratorcp\flash.c
10592   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\integratorcp\integratorcp.c
10593   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\integratorcp\lowlevel_init.S
10594   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\integratorcp\Makefile
10595   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\integratorcp\memsetup.S
10596   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\integratorcp\split_by_variant.sh
10597   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\integratorcp\u-boot.lds.template
10598   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ip860\config.mk
10599   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ip860\flash.c
10600   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ip860\ip860.c
10601   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ip860\Makefile
10602   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ip860\u-boot.lds
10603   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ip860\u-boot.lds.debug
10604   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\iphase4539\config.mk
10605   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\iphase4539\flash.c
10606   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\iphase4539\iphase4539.c
10607   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\iphase4539\Makefile
10608   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\iphase4539\u-boot.lds
10609   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ispan\config.mk
10610   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ispan\ispan.c
10611   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ispan\Makefile
10612   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ispan\u-boot.lds
10613   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ivm\config.mk
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 163 of 285 PageID   #:749
10614   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ivm\flash.c
10615   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ivm\ivm.c
10616   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ivm\Makefile
10617   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ivm\u-boot.lds
10618   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ivm\u-boot.lds.debug
10619   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ixdp425\config.mk
10620   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ixdp425\flash.c
10621   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ixdp425\ixdp425.c
10622   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ixdp425\Makefile
10623   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ixdp425\u-boot.lds
10624   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\jse\config.mk
10625   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\jse\flash.c
10626   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\jse\host_bridge.c
10627   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\jse\init.S
10628   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\jse\jse.c
10629   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\jse\jse_priv.h
10630   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\jse\Makefile
10631   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\jse\README.txt
10632   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\jse\sdram.c
10633   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\jse\u-boot.lds
10634   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\kb9202\config.mk
10635   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\kb9202\kb9202.c
10636   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\kb9202\Makefile
10637   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\kb9202\u-boot.lds
10638   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\kup\common
10639   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\kup\kup4k
10640   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\kup\kup4x
10641   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\kup\Makefile
10642   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\kup\common\flash.c
10643   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\kup\common\kup.c
10644   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\kup\common\kup.h
10645   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\kup\common\load_sernum_ethaddr.c
10646   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\kup\kup4k\config.mk
10647   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\kup\kup4k\kup4k.c
10648   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\kup\kup4k\Makefile
10649   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\kup\kup4k\s1d13706.h
10650   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\kup\kup4k\u-boot.lds
10651   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\kup\kup4k\u-boot.lds.debug
10652   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\kup\kup4x\config.mk
10653   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\kup\kup4x\kup4x.c
10654   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\kup\kup4x\Makefile
10655   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\kup\kup4x\u-boot.lds
10656   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\kup\kup4x\u-boot.lds.debug
10657   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lantec\config.mk
10658   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lantec\flash.c
10659   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lantec\lantec.c
10660   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lantec\Makefile
10661   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lantec\u-boot.lds
10662   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lantec\u-boot.lds.debug
10663   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lart\config.mk
10664   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lart\flash.c
10665   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lart\flashasm.S
10666   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lart\lart.c
10667   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lart\lowlevel_init.S
10668   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lart\Makefile
10669   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lart\u-boot.lds
10670   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\LEOX\elpt860
10671   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\LEOX\elpt860\config.mk
10672   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\LEOX\elpt860\elpt860.c
10673   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\LEOX\elpt860\flash.c
10674   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\LEOX\elpt860\Makefile
10675   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\LEOX\elpt860\README.LEOX
10676   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\LEOX\elpt860\u-boot.lds
10677   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\LEOX\elpt860\u-boot.lds.debug
10678   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\logodl\config.mk
10679   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\logodl\flash.c
10680   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\logodl\logodl.c
10681   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\logodl\lowlevel_init.S
10682   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\logodl\Makefile
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 164 of 285 PageID   #:750
10683   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\logodl\u-boot.lds
10684   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lpd7a40x\config.mk
10685   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lpd7a40x\flash.c
10686   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lpd7a40x\lowlevel_init.S
10687   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lpd7a40x\lpd7a40x.c
10688   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lpd7a40x\Makefile
10689   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lpd7a40x\u-boot.lds
10690   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lubbock\config.mk
10691   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lubbock\flash.c
10692   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lubbock\lowlevel_init.S
10693   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lubbock\lubbock.c
10694   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lubbock\Makefile
10695   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lubbock\u-boot.lds
10696   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lwmon\config.mk
10697   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lwmon\flash.c
10698   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lwmon\lwmon.c
10699   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lwmon\Makefile
10700   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lwmon\README.keybd
10701   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lwmon\u-boot.lds
10702   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\lwmon\u-boot.lds.debug
10703   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\m5272c3\config.mk
10704   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\m5272c3\flash.c
10705   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\m5272c3\m5272c3.c
10706   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\m5272c3\Makefile
10707   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\m5272c3\u-boot.lds
10708   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\m5282evb\config.mk
10709   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\m5282evb\flash.c
10710   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\m5282evb\m5282evb.c
10711   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\m5282evb\Makefile
10712   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\m5282evb\u-boot.lds
10713   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\AmigaOneG3SE
10714   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator
10715   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\menu
10716   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\AmigaOneG3SE\AmigaOneG3SE.c
10717   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\AmigaOneG3SE\articiaS.c
10718   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\AmigaOneG3SE\articiaS.h
10719   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\AmigaOneG3SE\articiaS_pci.c
10720   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\AmigaOneG3SE\board_asm_init.S
10721   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\AmigaOneG3SE\cmd_boota.c
10722   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\AmigaOneG3SE\config.mk
10723   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\AmigaOneG3SE\enet.c
10724   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\AmigaOneG3SE\flash.c
10725   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\AmigaOneG3SE\flash_new.c
10726   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\AmigaOneG3SE\i8259.c
10727   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\AmigaOneG3SE\i8259.h
10728   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\AmigaOneG3SE\interrupts.c
10729   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\AmigaOneG3SE\macros.h
10730   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\AmigaOneG3SE\Makefile
10731   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\AmigaOneG3SE\memio.h
10732   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\AmigaOneG3SE\memio.S
10733   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\AmigaOneG3SE\memory_dump
10734   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\AmigaOneG3SE\nvram.c
10735   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\AmigaOneG3SE\ps2kbd.c
10736   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\AmigaOneG3SE\ps2kbd.h
10737   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\AmigaOneG3SE\serial.c
10738   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\AmigaOneG3SE\short_types.h
10739   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\AmigaOneG3SE\smbus.c
10740   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\AmigaOneG3SE\smbus.h
10741   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\AmigaOneG3SE\start.txt
10742   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\AmigaOneG3SE\todo.txt
10743   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\AmigaOneG3SE\u-boot.lds
10744   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\AmigaOneG3SE\usb_uhci.c
10745   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\AmigaOneG3SE\usb_uhci.h
10746   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\AmigaOneG3SE\via686.c
10747   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\AmigaOneG3SE\via686.h
10748   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\AmigaOneG3SE\video.c
10749   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\bios.c
10750   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\glue.c
10751   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\glue.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 165 of 285 PageID #:751
10752   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech
10753   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\x86interface.c
10754   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin
10755   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin-linux
10756   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\include
10757   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\lib
10758   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs
10759   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src
10760   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\bc31-d16.bat
10761   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\bc45-c32.bat
10762   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\bc45-d16.bat
10763   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\bc45-d32.bat
10764   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\bc45-snp.bat
10765   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\bc45-tnt.bat
10766   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\bc45-vxd.bat
10767   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\bc45-w16.bat
10768   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\bc45-w32.bat
10769   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\bc50-c32.bat
10770   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\bc50-d16.bat
10771   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\bc50-d32.bat
10772   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\bc50-smx.bat
10773   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\bc50-snp.bat
10774   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\bc50-tnt.bat
10775   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\bc50-vxd.bat
10776   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\bc50-w16.bat
10777   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\bc50-w32.bat
10778   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\bc50-x11.bat
10779   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\bcb5-c32.bat
10780   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\bcb5-d16.bat
10781   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\bcb5-d32.bat
10782   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\bcb5-smx.bat
10783   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\bcb5-snp.bat
10784   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\bcb5-tnt.bat
10785   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\bcb5-vxd.bat
10786   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\bcb5-w16.bat
10787   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\bcb5-w32.bat
10788   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\bcb5-x11.bat
10789   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\build
10790   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\build.bat
10791   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\build_db.bat
10792   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\build_it.bat
10793   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\cddrv.bat
10794   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\cdit
10795   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\cdit.bat
10796   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\djgpp.env
10797   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\djgpp_db.env
10798   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\findint3.bat
10799   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\gcc-beos.sh
10800   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\gcc-freebsd.sh
10801   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\gcc-linux.sh
10802   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\gcc2-c32.bat
10803   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\gcc2-dos.bat
10804   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\gcc2-linux.bat
10805   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\gcc2-w32.bat
10806   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\makelib.bat
10807   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\meltobjs.sh
10808   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\ntddk.bat
10809   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\qnx4.sh
10810   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\qnxnto.sh
10811   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\set-vars-beos.sh
10812   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\set-vars-freebsd.sh
10813   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\set-vars-linux.sh
10814   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\set-vars-qnx.sh
10815   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\set-vars.bat
10816   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\vc40-c32.bat
10817   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\vc40-d16.bat
10818   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\vc40-drv9x.bat
10819   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\vc40-drvnt.bat
10820   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\vc40-snp.bat
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 166 of 285 PageID #:752
10821   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\vc40-tnt.bat
10822   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\vc40-w16.bat
10823   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\vc40-w32.bat
10824   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\vc40-x11.bat
10825   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\vc50-c32.bat
10826   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\vc50-d16.bat
10827   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\vc50-drv9x.bat
10828   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\vc50-drvnt.bat
10829   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\vc50-rtt.bat
10830   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\vc50-snp.bat
10831   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\vc50-tnt.bat
10832   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\vc50-w16.bat
10833   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\vc50-w32.bat
10834   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\vc50-x11.bat
10835   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\vc60-c32.bat
10836   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\vc60-d16.bat
10837   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\vc60-drv9x.bat
10838   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\vc60-drvnt.bat
10839   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\vc60-drvw2k.bat
10840   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\vc60-snp.bat
10841   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\vc60-tnt.bat
10842   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\vc60-w16.bat
10843   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\vc60-w32.bat
10844   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\vc60-x11.bat
10845   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\w2kddk.bat
10846   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\wc10-c32.bat
10847   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\wc10-d16.bat
10848   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\wc10-d32.bat
10849   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\wc10-o16.bat
10850   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\wc10-o32.bat
10851   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\wc10-p32.bat
10852   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\wc10-qnx.bat
10853   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\wc10-snp.bat
10854   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\wc10-tnt.bat
10855   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\wc10-w16.bat
10856   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\wc10-w32.bat
10857   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\wc10-x11.bat
10858   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\wc10ac32.bat
10859   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\wc10ad16.bat
10860   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\wc10ad32.bat
10861   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\wc10ao16.bat
10862   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\wc10ao32.bat
10863   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\wc10ap32.bat
10864   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\wc10asnp.bat
10865   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\wc10atnt.bat
10866   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\wc10aw16.bat
10867   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\wc10aw32.bat
10868   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\wc11-c32.bat
10869   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\wc11-d16.bat
10870   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\wc11-d32.bat
10871   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\wc11-o16.bat
10872   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\wc11-o32.bat
10873   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\wc11-p32.bat
10874   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\wc11-qnx.bat
10875   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\wc11-snp.bat
10876   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\wc11-tnt.bat
10877   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\wc11-w16.bat
10878   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\wc11-w32.bat
10879   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\wc11-x11.bat
10880   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin\win32sdk.bat
10881   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin-linux\glibc
10882   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin-linux\libc
10883   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin-linux\glibc\dmake
10884   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin-linux\glibc\k_cp
10885   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin-linux\glibc\k_echo
10886   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin-linux\glibc\k_rm
10887   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin-linux\glibc\makedep
10888   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin-linux\glibc\nasm
10889   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin-linux\glibc\ndisasm
           Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 167 of 285 PageID #:753
10890   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin-linux\glibc\trans
10891   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin-linux\libc\dmake
10892   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin-linux\libc\nasm
10893   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin-linux\libc\ndisasm
10894   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\bin-linux\libc\trans
10895   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\include\biosemu.h
10896   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\include\event.h
10897   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\include\mtrr.h
10898   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\include\pcilib.h
10899   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\include\pmapi.h
10900   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\include\pmimp.h
10901   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\include\pmint.h
10902   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\include\pm_help.h
10903   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\include\pm_wctl.h
10904   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\include\scitech.h
10905   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\include\scitech.mac
10906   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\include\x86emu
10907   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\include\x86emu.h
10908   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\include\x86emu\fpu_regs.h
10909   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\include\x86emu\regs.h
10910   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\include\x86emu\types.h
10911   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\lib\debug
10912   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\lib\release
10913   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\lib\debug\linux
10914   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\lib\debug\linux\gcc
10915   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\lib\debug\linux\gcc\glibc
10916   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\lib\debug\linux\gcc\glibc.
        so
10917   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\lib\debug\linux\gcc\libc
10918   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\lib\debug\linux\gcc\libc.s
        o
10919   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\lib\debug\linux\gcc\glibc\
        readme.txt
10920   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\lib\debug\linux\gcc\glibc.
        so\readme.txt
10921   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\lib\debug\linux\gcc\libc\r
        eadme.txt
10922   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\lib\debug\linux\gcc\libc.s
        o\readme.txt
10923   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\lib\release\linux
10924   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\lib\release\linux\gcc
10925   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\lib\release\linux\gcc\glib
        c
10926   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\lib\release\linux\gcc\glib
        c.so
10927   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\lib\release\linux\gcc\libc
10928   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\lib\release\linux\gcc\libc
        .so
10929   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\lib\release\linux\gcc\glib
        c\readme.txt
10930   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\lib\release\linux\gcc\glib
        c.so\readme.txt
10931   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\lib\release\linux\gcc\libc
        \readme.txt
10932   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\lib\release\linux\gcc\libc
        .so\readme.txt
10933   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\bc16.mk
10934   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\bc3.mk
10935   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\bc32.mk
10936   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\bcos2.mk
10937   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\cl16.mk
10938   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\cl386.mk
10939   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\common.mk
10940   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\emx.mk
10941   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\gcc_beos.mk
10942   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\gcc_dos.mk
10943   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\gcc_freebsd.mk
10944   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\gcc_linux.mk
10945   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\gcc_win32.mk
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 168 of 285 PageID #:754
10946   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\hc32.mk
10947   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\makedefs.prj
10948   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\qnx4.mk
10949   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\qnxnto.mk
10950   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\rules
10951   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\sc16.mk
10952   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\sc32.mk
10953   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\startup.mk
10954   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\va32.mk
10955   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\va365.mk
10956   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\vc16.mk
10957   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\vc32.mk
10958   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\wc16.mk
10959   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\wc32.mk
10960   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\rules\bc16.mk
10961   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\rules\bc3.mk
10962   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\rules\bc32.mk
10963   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\rules\bcos2.mk
10964   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\rules\cl16.mk
10965   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\rules\cl386.mk
10966   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\rules\dj32.mk
10967   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\rules\emx.mk
10968   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\rules\gcc_beos.mk
10969   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\rules\gcc_freebsd
        .mk
10970   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\rules\gcc_linux.m
        k
10971   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\rules\gcc_win32.m
        k
10972   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\rules\hc32.mk
10973   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\rules\qnx4.mk
10974   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\rules\qnxnto.mk
10975   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\rules\sc16.mk
10976   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\rules\sc32.mk
10977   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\rules\va32.mk
10978   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\rules\va365.mk
10979   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\rules\vc16.mk
10980   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\rules\vc32.mk
10981   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\rules\wc16.mk
10982   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\makedefs\rules\wc32.mk
10983   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\biosemu
10984   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\common
10985   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm
10986   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\v86bios
10987   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\x86emu
10988   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\biosemu\besys.c
10989   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\biosemu\bios.c
10990   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\biosemu\biosemu.c
10991   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\biosemu\biosemui.h
10992   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\biosemu\makefile
10993   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\biosemu\makefile.cross
10994   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\biosemu\warmboot.c
10995   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\common\aabeos.c
10996   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\common\aados.c
10997   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\common\aalib.c
10998   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\common\aalinux.c
10999   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\common\aaos2.c
11000   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\common\aaqnx.c
11001   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\common\aartt.c
11002   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\common\aasmx.c
11003   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\common\aavxd.c
11004   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\common\aawin32.c
11005   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\common\agplib.c
11006   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\common\center.c
11007   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\common\cmdline.c
11008   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\common\gabeos.c
11009   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\common\gados.c
11010   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\common\galib.c
11011   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\common\galinux.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 169 of 285 PageID #:755
11012   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\common\gantdrv.c
11013   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\common\gaos2.c
11014   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\common\gaqnx.c
11015   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\common\gartt.c
11016   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\common\gasmx.c
11017   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\common\gavxd.c
11018   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\common\gawin32.c
11019   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\common\gtfcalc.c
11020   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\common\libcimp.c
11021   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\common\makefile
11022   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\common\peloader.c
11023   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\common\vesavbe.c
11024   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\common\_aa_imp.asm
11025   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\common\_gatimer.asm
11026   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\common\_ga_imp.asm
11027   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\common\_pm_imp.asm
11028   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\beos
11029   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\codepage
11030   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\common
11031   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\common.c
11032   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\cpuinfo.c
11033   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\debug.c
11034   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\dos
11035   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\event.c
11036   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\linux
11037   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\makefile
11038   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\ntdrv
11039   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\os2
11040   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\os2pm
11041   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\oshdr.h
11042   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\photon
11043   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\pm.vpw
11044   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\pmcommon.vpj
11045   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\pmdos.vpj
11046   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\pmlinux.vpj
11047   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\pmntdrv.vpj
11048   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\pmqnx.vpj
11049   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\pmvxd.vpj
11050   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\pmwin32.vpj
11051   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\qnx
11052   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\rttarget
11053   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\smx
11054   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\stub
11055   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\tests
11056   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\vdd
11057   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\vxd
11058   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\win32
11059   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\x11
11060   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\ztimer.c
11061   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\z_samples.vpj
11062   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\beos\cpuinfo.c
11063   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\beos\event.c
11064   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\beos\oshdr.h
11065   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\beos\pm.c
11066   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\beos\vflat.c
11067   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\beos\ztimer.c
11068   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\codepage\us_eng.c
11069   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\common\agp.c
11070   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\common\keyboard.c
11071   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\common\malloc.c
11072   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\common\mtrr.c
11073   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\common\pcilib.c
11074   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\common\unixio.c
11075   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\common\vgastate.c
11076   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\common\_cpuinfo.asm
11077   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\common\_dma.asm
11078   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\common\_int64.asm
11079   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\common\_joy.asm
11080   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\common\_mtrr.asm
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 170 of 285 PageID #:756
11081   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\common\_pcihelp.asm
11082   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\dos\cpuinfo.c
11083   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\dos\event.c
11084   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\dos\oshdr.h
11085   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\dos\pm.c
11086   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\dos\pmdos.c
11087   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\dos\vflat.c
11088   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\dos\ztimer.c
11089   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\dos\_event.asm
11090   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\dos\_lztimer.asm
11091   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\dos\_pm.asm
11092   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\dos\_pmdos.asm
11093   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\dos\_vflat.asm
11094   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\linux\cpuinfo.c
11095   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\linux\event.c
11096   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\linux\event.svga
11097   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\linux\oshdr.h
11098   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\linux\pm.c
11099   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\linux\vflat.c
11100   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\linux\ztimer.c
11101   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\ntdrv\cpuinfo.c
11102   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\ntdrv\int86.c
11103   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\ntdrv\irq.c
11104   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\ntdrv\mem.c
11105   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\ntdrv\oshdr.h
11106   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\ntdrv\pm.c
11107   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\ntdrv\stdio.c
11108   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\ntdrv\stdlib.c
11109   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\ntdrv\vflat.c
11110   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\ntdrv\ztimer.c
11111   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\ntdrv\_irq.asm
11112   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\ntdrv\_pm.asm
11113   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\os2\cpuinfo.c
11114   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\os2\dossctl.obj
11115   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\os2\event.c
11116   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\os2\mon.h
11117   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\os2\oshdr.h
11118   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\os2\pm.c
11119   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\os2\vflat.c
11120   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\os2\ztimer.c
11121   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\os2\_pmos2.asm
11122   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\os2pm\event.c
11123   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\os2pm\oshdr.h
11124   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\photon\event.c
11125   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\photon\oshdr.h
11126   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\qnx\cpuinfo.c
11127   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\qnx\event.c
11128   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\qnx\mtrrqnx.c
11129   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\qnx\oshdr.h
11130   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\qnx\pm.c
11131   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\qnx\vflat.c
11132   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\qnx\ztimer.c
11133   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\qnx\_mtrrqnx.asm
11134   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\rttarget\cpuinfo.c
11135   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\rttarget\event.c
11136   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\rttarget\oshdr.h
11137   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\rttarget\pm.c
11138   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\rttarget\vflat.c
11139   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\rttarget\ztimer.c
11140   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\smx\cpuinfo.c
11141   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\smx\event.c
11142   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\smx\oshdr.h
11143   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\smx\pm.c
11144   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\smx\pmsmx.c
11145   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\smx\vflat.c
11146   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\smx\ztimer.c
11147   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\smx\_event.asm
11148   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\smx\_lztimer.asm
11149   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\smx\_pm.asm
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 171 of 285 PageID #:757
11150   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\smx\_pmsmx.asm
11151   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\smx\_vflat.asm
11152   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\stub\cpuinfo.c
11153   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\stub\event.c
11154   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\stub\oshdr.h
11155   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\stub\pm.c
11156   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\stub\vflat.c
11157   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\stub\ztimer.c
11158   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\tests\altbrk.c
11159   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\tests\altcrit.c
11160   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\tests\biosptr.c
11161   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\tests\block.c
11162   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\tests\brk.c
11163   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\tests\callreal.c
11164   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\tests\checks.c
11165   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\tests\cpu.c
11166   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\tests\critical.c
11167   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\tests\getch.c
11168   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\tests\isvesa.c
11169   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\tests\key.c
11170   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\tests\key15.c
11171   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\tests\memtest.c
11172   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\tests\mouse.c
11173   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\tests\restore.c
11174   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\tests\rtc.c
11175   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\tests\save.c
11176   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\tests\showpci.c
11177   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\tests\tick.c
11178   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\tests\timerc.c
11179   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\tests\timercpp.cpp
11180   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\tests\uswc.c
11181   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\tests\vftest.c
11182   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\tests\video.c
11183   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\vdd\cpuinfo.c
11184   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\vdd\fileio.c
11185   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\vdd\oshdr.h
11186   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\vdd\pm.c
11187   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\vdd\vflat.c
11188   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\vdd\ztimer.c
11189   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\vxd\cpuinfo.c
11190   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\vxd\fileio.c
11191   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\vxd\oshdr.h
11192   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\vxd\pm.c
11193   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\vxd\vflat.c
11194   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\vxd\ztimer.c
11195   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\vxd\_pm.asm
11196   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\win32\cpuinfo.c
11197   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\win32\ddraw.c
11198   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\win32\event.c
11199   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\win32\ntservc.c
11200   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\win32\oshdr.h
11201   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\win32\pm.c
11202   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\win32\vflat.c
11203   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\win32\ztimer.c
11204   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\win32\_pmwin32.asm
11205   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\x11\event.c
11206   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\pm\x11\oshdr.h
11207   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\v86bios\AsmMacros.h
11208   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\v86bios\awk.scr
11209   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\v86bios\cbios.c
11210   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\v86bios\command.c
11211   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\v86bios\console.c
11212   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\v86bios\debug.h
11213   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\v86bios\happy_cards
11214   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\v86bios\hexdump
11215   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\v86bios\int.c
11216   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\v86bios\io.c
11217   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\v86bios\lex.l
11218   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\v86bios\main.c
           Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 172 of 285 PageID #:758
11219   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\v86bios\makefile.linux
11220   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\v86bios\mem.c
11221   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\v86bios\parser.y
11222   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\v86bios\pci.c
11223   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\v86bios\pci.h
11224   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\v86bios\README
11225   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\v86bios\v86.c
11226   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\v86bios\v86bios.c
11227   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\v86bios\v86bios.h
11228   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\v86bios\working_cards
11229   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\v86bios\x86emu.c
11230   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\x86emu\debug.c
11231   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\x86emu\decode.c
11232   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\x86emu\fpu.c
11233   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\x86emu\LICENSE
11234   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\x86emu\makefile
11235   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\x86emu\makefile.cross
11236   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\x86emu\makefile.linux
11237   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\x86emu\makefile.uboot
11238   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\x86emu\ops.c
11239   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\x86emu\ops2.c
11240   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\x86emu\prim_ops.c
11241   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\x86emu\sys.c
11242   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\x86emu\validate.c
11243   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\x86emu\x86emu
11244   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\x86emu\x86emu\debug.h
11245   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\x86emu\x86emu\decode.h
11246   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\x86emu\x86emu\fpu.h
11247   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\x86emu\x86emu\ops.h
11248   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\x86emu\x86emu\prim_asm
        .h
11249   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\x86emu\x86emu\prim_ops
        .h
11250   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\bios_emulator\scitech\src\x86emu\x86emu\x86emui.
        h
11251   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\menu\cmd_menu.c
11252   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\menu\menu.c
11253   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\MAI\menu\menu.h
11254   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\common
11255   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\db64360
11256   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\db64460
11257   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\include
11258   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\common\bootseq.txt
11259   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\common\ecctest.c
11260   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\common\flash.c
11261   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\common\i2c.c
11262   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\common\i2c.h
11263   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\common\intel_flash.c
11264   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\common\intel_flash.h
11265   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\common\memory.c
11266   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\common\misc.S
11267   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\common\ns16550.c
11268   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\common\ns16550.h
11269   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\common\ppc_error_no.h
11270   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\common\serial.c
11271   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\common\serial.h
11272   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\db64360\64360.h
11273   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\db64360\config.mk
11274   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\db64360\db64360.c
11275   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\db64360\eth.h
11276   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\db64360\Makefile
11277   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\db64360\mpsc.c
11278   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\db64360\mpsc.h
11279   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\db64360\mv_eth.c
11280   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\db64360\mv_eth.h
11281   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\db64360\mv_regs.h
11282   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\db64360\pci.c
11283   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\db64360\sdram_init.c
11284   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\db64360\u-boot.lds
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 173 of 285   PageID #:759
11285   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\db64460\64460.h
11286   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\db64460\config.mk
11287   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\db64460\db64460.c
11288   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\db64460\eth.h
11289   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\db64460\Makefile
11290   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\db64460\mpsc.c
11291   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\db64460\mpsc.h
11292   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\db64460\mv_eth.c
11293   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\db64460\mv_eth.h
11294   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\db64460\mv_regs.h
11295   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\db64460\pci.c
11296   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\db64460\sdram_init.c
11297   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\db64460\u-boot.lds
11298   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\include\core.h
11299   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\include\memory.h
11300   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\include\mv_gen_reg.h
11301   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\Marvell\include\pci.h
11302   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mbx8xx\config.mk
11303   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mbx8xx\csr.h
11304   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mbx8xx\dimm.h
11305   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mbx8xx\flash.c
11306   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mbx8xx\Makefile
11307   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mbx8xx\mbx8xx.c
11308   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mbx8xx\u-boot.lds
11309   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mbx8xx\u-boot.lds.debug
11310   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mbx8xx\vpd.c
11311   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mbx8xx\vpd.h
11312   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mcc200\config.mk
11313   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mcc200\Makefile
11314   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mcc200\mcc200.c
11315   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mcc200\mt46v16m16-75.h
11316   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mcc200\mt48lc16m16a2-75.h
11317   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mcc200\mt48lc8m32b2-6-7.h
11318   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mcc200\u-boot.lds
11319   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ml2\config.mk
11320   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ml2\flash.c
11321   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ml2\init.S
11322   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ml2\Makefile
11323   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ml2\ml2.c
11324   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ml2\serial.c
11325   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ml2\u-boot.lds
11326   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ml2\u-boot.lds.debug
11327   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\modnet50\config.mk
11328   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\modnet50\flash.c
11329   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\modnet50\lowlevel_init.S
11330   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\modnet50\Makefile
11331   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\modnet50\modnet50.c
11332   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\modnet50\u-boot.lds
11333   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mousse\config.mk
11334   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mousse\flash.c
11335   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mousse\flash.h
11336   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mousse\m48t59y.c
11337   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mousse\m48t59y.h
11338   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mousse\Makefile
11339   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mousse\mousse.c
11340   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mousse\mousse.h
11341   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mousse\pci.c
11342   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mousse\README
11343   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mousse\u-boot.lds
11344   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mousse\u-boot.lds.ram
11345   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mousse\u-boot.lds.rom
11346   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mp2usb\config.mk
11347   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mp2usb\flash.c
11348   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mp2usb\Makefile
11349   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mp2usb\mp2usb.c
11350   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mp2usb\u-boot.lds
11351   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8260ads\config.mk
11352   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8260ads\flash.c
11353   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8260ads\Makefile
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 174 of   285 PageID #:760
11354   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8260ads\mpc8260ads.c
11355   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8260ads\u-boot.lds
11356   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8266ads\config.mk
11357   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8266ads\flash.c
11358   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8266ads\Makefile
11359   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8266ads\mpc8266ads.c
11360   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8266ads\u-boot.lds
11361   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8349ads\config.mk
11362   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8349ads\Makefile
11363   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8349ads\mpc8349ads.c
11364   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8349ads\pci.c
11365   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8349ads\u-boot.lds
11366   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8349emds\config.mk
11367   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8349emds\Makefile
11368   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8349emds\mpc8349emds.c
11369   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8349emds\u-boot.lds
11370   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8540ads\config.mk
11371   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8540ads\init.S
11372   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8540ads\Makefile
11373   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8540ads\mpc8540ads.c
11374   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8540ads\u-boot.lds
11375   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8540eval\config.mk
11376   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8540eval\flash.c
11377   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8540eval\init.S
11378   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8540eval\Makefile
11379   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8540eval\mpc8540eval.c
11380   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8540eval\u-boot.lds
11381   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8560ads\config.mk
11382   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8560ads\init.S
11383   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8560ads\Makefile
11384   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8560ads\mpc8560ads.c
11385   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpc8560ads\u-boot.lds
11386   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\common
11387   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\mip405
11388   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\pati
11389   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\pip405
11390   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\vcma9
11391   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\common\common_util.c
11392   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\common\common_util.h
11393   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\common\flash.c
11394   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\common\isa.c
11395   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\common\isa.h
11396   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\common\kbd.c
11397   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\common\kbd.h
11398   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\common\memtst.c
11399   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\common\pci.c
11400   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\common\pci_parts.h
11401   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\common\piix4_pci.h
11402   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\common\usb_uhci.c
11403   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\common\usb_uhci.h
11404   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\mip405\cmd_mip405.c
11405   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\mip405\config.mk
11406   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\mip405\init.S
11407   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\mip405\Makefile
11408   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\mip405\mip405.c
11409   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\mip405\mip405.h
11410   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\mip405\u-boot.lds
11411   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\pati\cmd_pati.c
11412   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\pati\config.mk
11413   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\pati\Makefile
11414   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\pati\pati.c
11415   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\pati\pati.h
11416   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\pati\pci_eeprom.h
11417   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\pati\plx9056.h
11418   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\pati\u-boot.lds
11419   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\pip405\cmd_pip405.c
11420   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\pip405\config.mk
11421   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\pip405\init.S
11422   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\pip405\Makefile
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 175 of 285   PageID #:761
11423   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\pip405\pip405.c
11424   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\pip405\pip405.h
11425   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\pip405\u-boot.lds
11426   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\pip405\u-boot.lds.debug
11427   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\vcma9\cmd_vcma9.c
11428   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\vcma9\config.mk
11429   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\vcma9\flash.c
11430   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\vcma9\lowlevel_init.S
11431   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\vcma9\Makefile
11432   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\vcma9\u-boot.lds
11433   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\vcma9\vcma9.c
11434   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mpl\vcma9\vcma9.h
11435   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\musenki\config.mk
11436   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\musenki\flash.c
11437   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\musenki\Makefile
11438   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\musenki\musenki.c
11439   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\musenki\README
11440   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\musenki\u-boot.lds
11441   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mvblue\config.mk
11442   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mvblue\flash.c
11443   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mvblue\Makefile
11444   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mvblue\mvblue.c
11445   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mvblue\u-boot.lds
11446   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mvs1\config.mk
11447   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mvs1\flash.c
11448   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mvs1\Makefile
11449   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mvs1\mvs1.c
11450   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mvs1\README
11451   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mvs1\u-boot.lds
11452   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mvs1\u-boot.lds.debug
11453   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mx1ads\config.mk
11454   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mx1ads\lowlevel_init.S
11455   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mx1ads\Makefile
11456   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mx1ads\mx1ads.c
11457   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mx1ads\syncflash.c
11458   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mx1ads\u-boot.lds
11459   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mx1fs2\config.mk
11460   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mx1fs2\flash.c
11461   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mx1fs2\intel.h
11462   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mx1fs2\lowlevel_init.S
11463   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mx1fs2\Makefile
11464   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mx1fs2\mx1fs2.c
11465   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\mx1fs2\u-boot.lds
11466   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\nc650\config.mk
11467   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\nc650\flash.c
11468   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\nc650\Makefile
11469   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\nc650\nc650.c
11470   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\nc650\u-boot.lds
11471   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\nc650\u-boot.lds.debug
11472   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netphone\config.mk
11473   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netphone\flash.c
11474   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netphone\Makefile
11475   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netphone\netphone.c
11476   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netphone\phone_console.c
11477   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netphone\u-boot.lds
11478   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netphone\u-boot.lds.debug
11479   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netstar\config.mk
11480   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netstar\crcek.h
11481   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netstar\crcek.S
11482   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netstar\crcit
11483   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netstar\crcit.c
11484   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netstar\eeprom.c
11485   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netstar\eeprom.lds
11486   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netstar\eeprom_start.S
11487   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netstar\flash.c
11488   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netstar\Makefile
11489   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netstar\nand.c
11490   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netstar\netstar.c
11491   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netstar\setup.S
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 176 of 285 PageID   #:762
11492   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netstar\u-boot.lds
11493   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netta\codec.c
11494   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netta\config.mk
11495   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netta\dsp.c
11496   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netta\flash.c
11497   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netta\Makefile
11498   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netta\netta.c
11499   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netta\u-boot.lds
11500   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netta\u-boot.lds.debug
11501   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netta2\config.mk
11502   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netta2\flash.c
11503   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netta2\Makefile
11504   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netta2\netta2.c
11505   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netta2\u-boot.lds
11506   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netta2\u-boot.lds.debug
11507   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netvia\config.mk
11508   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netvia\flash.c
11509   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netvia\Makefile
11510   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netvia\netvia.c
11511   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netvia\u-boot.lds
11512   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\netvia\u-boot.lds.debug
11513   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ns9750dev\config.mk
11514   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ns9750dev\flash.c
11515   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ns9750dev\led.c
11516   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ns9750dev\lowlevel_init.S
11517   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ns9750dev\Makefile
11518   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ns9750dev\ns9750dev.c
11519   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ns9750dev\u-boot.lds
11520   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\nx823\config.mk
11521   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\nx823\flash.c
11522   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\nx823\Makefile
11523   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\nx823\nx823.c
11524   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\nx823\u-boot.lds
11525   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\nx823\u-boot.lds.debug
11526   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\o2dnt\config.mk
11527   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\o2dnt\flash.c
11528   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\o2dnt\Makefile
11529   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\o2dnt\o2dnt.c
11530   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\o2dnt\u-boot.lds
11531   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\omap1510inn\config.mk
11532   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\omap1510inn\lowlevel_init.S
11533   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\omap1510inn\Makefile
11534   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\omap1510inn\omap1510innovator.c
11535   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\omap1510inn\u-boot.lds
11536   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\omap1610inn\config.mk
11537   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\omap1610inn\flash.c
11538   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\omap1610inn\lowlevel_init.S
11539   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\omap1610inn\Makefile
11540   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\omap1610inn\omap1610innovator.c
11541   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\omap1610inn\u-boot.lds
11542   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\omap2420h4\config.mk
11543   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\omap2420h4\flash.c
11544   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\omap2420h4\lowlevel_init.S
11545   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\omap2420h4\Makefile
11546   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\omap2420h4\mem.c
11547   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\omap2420h4\omap2420h4.c
11548   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\omap2420h4\sys_info.c
11549   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\omap2420h4\u-boot.lds
11550   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\omap5912osk\config.mk
11551   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\omap5912osk\lowlevel_init.S
11552   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\omap5912osk\Makefile
11553   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\omap5912osk\omap5912osk.c
11554   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\omap5912osk\u-boot.lds
11555   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\omap730p2\config.mk
11556   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\omap730p2\flash.c
11557   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\omap730p2\lowlevel_init.S
11558   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\omap730p2\Makefile
11559   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\omap730p2\omap730p2.c
11560   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\omap730p2\u-boot.lds
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 177 of   285 PageID #:763
11561   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\oxc\config.mk
11562   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\oxc\flash.c
11563   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\oxc\Makefile
11564   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\oxc\oxc.c
11565   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\oxc\u-boot.lds
11566   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pb1x00\config.mk
11567   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pb1x00\flash.c
11568   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pb1x00\Makefile
11569   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pb1x00\memsetup.S
11570   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pb1x00\pb1x00.c
11571   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pb1x00\README
11572   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pb1x00\u-boot.lds
11573   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pcippc2\config.mk
11574   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pcippc2\cpc710.h
11575   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pcippc2\cpc710_init_ram.c
11576   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pcippc2\cpc710_pci.c
11577   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pcippc2\cpc710_pci.h
11578   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pcippc2\flash.c
11579   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pcippc2\fpga_serial.c
11580   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pcippc2\fpga_serial.h
11581   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pcippc2\hardware.h
11582   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pcippc2\i2c.c
11583   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pcippc2\i2c.h
11584   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pcippc2\Makefile
11585   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pcippc2\ns16550.h
11586   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pcippc2\pcippc2.c
11587   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pcippc2\pcippc2.h
11588   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pcippc2\pcippc2_fpga.c
11589   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pcippc2\pcippc2_fpga.h
11590   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pcippc2\sconsole.c
11591   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pcippc2\sconsole.h
11592   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pcippc2\u-boot.lds
11593   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pleb2\config.mk
11594   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pleb2\flash.c
11595   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pleb2\lowlevel_init.S
11596   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pleb2\Makefile
11597   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pleb2\pleb2.c
11598   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pleb2\u-boot.lds
11599   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pm520\config.mk
11600   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pm520\flash.c
11601   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pm520\Makefile
11602   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pm520\mt46v16m16-75.h
11603   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pm520\mt48lc16m16a2-75.h
11604   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pm520\pm520.c
11605   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pm520\u-boot.lds
11606   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pm826\config.mk
11607   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pm826\flash.c
11608   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pm826\Makefile
11609   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pm826\pm826.c
11610   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pm826\u-boot.lds
11611   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pm828\config.mk
11612   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pm828\flash.c
11613   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pm828\Makefile
11614   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pm828\pm828.c
11615   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pm828\u-boot.lds
11616   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pm854\config.mk
11617   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pm854\init.S
11618   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pm854\Makefile
11619   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pm854\pm854.c
11620   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pm854\u-boot.lds
11621   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pm856\config.mk
11622   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pm856\init.S
11623   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pm856\Makefile
11624   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pm856\pm856.c
11625   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pm856\u-boot.lds
11626   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pn62\cmd_pn62.c
11627   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pn62\config.mk
11628   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pn62\Makefile
11629   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pn62\misc.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 178 of 285   PageID #:764
11630   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pn62\pn62.c
11631   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pn62\pn62.h
11632   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pn62\u-boot.lds
11633   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ppmc8260\config.mk
11634   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ppmc8260\Makefile
11635   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ppmc8260\ppmc8260.c
11636   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ppmc8260\strataflash.c
11637   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ppmc8260\u-boot.lds
11638   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\prodrive\p3p440
11639   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\prodrive\p3p440\config.mk
11640   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\prodrive\p3p440\init.S
11641   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\prodrive\p3p440\Makefile
11642   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\prodrive\p3p440\p3p440.c
11643   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\prodrive\p3p440\p3p440.h
11644   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\prodrive\p3p440\u-boot.lds
11645   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\psyent\common
11646   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\psyent\pci5441
11647   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\psyent\pk1c20
11648   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\psyent\common\AMDLV065D.c
11649   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\psyent\pci5441\config.mk
11650   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\psyent\pci5441\Makefile
11651   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\psyent\pci5441\pci5441.c
11652   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\psyent\pci5441\u-boot.lds
11653   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\psyent\pk1c20\config.mk
11654   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\psyent\pk1c20\led.c
11655   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\psyent\pk1c20\Makefile
11656   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\psyent\pk1c20\pk1c20.c
11657   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\psyent\pk1c20\u-boot.lds
11658   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\purple\config.mk
11659   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\purple\flash.c
11660   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\purple\lowlevel_init.S
11661   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\purple\Makefile
11662   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\purple\purple.c
11663   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\purple\sconsole.c
11664   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\purple\sconsole.h
11665   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\purple\u-boot.lds
11666   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pxa255_idp\config.mk
11667   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pxa255_idp\idp_notes.txt
11668   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pxa255_idp\Makefile
11669   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pxa255_idp\memsetup.S
11670   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pxa255_idp\pxa_idp.c
11671   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pxa255_idp\pxa_reg_calcs.out
11672   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pxa255_idp\pxa_reg_calcs.py
11673   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pxa255_idp\README
11674   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\pxa255_idp\u-boot.lds
11675   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\quantum\config.mk
11676   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\quantum\fpga.c
11677   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\quantum\fpga.h
11678   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\quantum\Makefile
11679   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\quantum\quantum.c
11680   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\quantum\u-boot.lds
11681   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\quantum\u-boot.lds.debug
11682   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\r360mpi\config.mk
11683   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\r360mpi\flash.c
11684   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\r360mpi\Makefile
11685   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\r360mpi\r360mpi.c
11686   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\r360mpi\u-boot.lds
11687   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\rattler\config.mk
11688   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\rattler\Makefile
11689   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\rattler\rattler.c
11690   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\rattler\u-boot.lds
11691   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\rbc823\config.mk
11692   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\rbc823\flash.c
11693   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\rbc823\kbd.c
11694   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\rbc823\Makefile
11695   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\rbc823\rbc823.c
11696   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\rbc823\u-boot.lds
11697   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\rmu\config.mk
11698   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\rmu\flash.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 179 of 285 PageID   #:765
11699   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\rmu\Makefile
11700   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\rmu\rmu.c
11701   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\rmu\u-boot.lds
11702   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\rmu\u-boot.lds.debug
11703   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\RPXClassic\config.mk
11704   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\RPXClassic\eccx.c
11705   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\RPXClassic\flash.c
11706   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\RPXClassic\Makefile
11707   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\RPXClassic\RPXClassic.c
11708   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\RPXClassic\u-boot.lds
11709   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\RPXClassic\u-boot.lds.debug
11710   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\RPXlite\config.mk
11711   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\RPXlite\flash.c
11712   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\RPXlite\Makefile
11713   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\RPXlite\RPXlite.c
11714   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\RPXlite\u-boot.lds
11715   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\RPXlite\u-boot.lds.debug
11716   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\RPXlite_dw\config.mk
11717   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\RPXlite_dw\flash.c
11718   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\RPXlite_dw\Makefile
11719   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\RPXlite_dw\README
11720   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\RPXlite_dw\RPXlite_dw.c
11721   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\RPXlite_dw\u-boot.lds
11722   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\RPXlite_dw\u-boot.lds.debug
11723   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\rpxsuper\config.mk
11724   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\rpxsuper\flash.c
11725   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\rpxsuper\Makefile
11726   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\rpxsuper\mii_phy.c
11727   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\rpxsuper\readme
11728   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\rpxsuper\rpxsuper.c
11729   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\rpxsuper\rpxsuper.h
11730   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\rpxsuper\u-boot.lds
11731   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\RRvision\config.mk
11732   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\RRvision\flash.c
11733   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\RRvision\Makefile
11734   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\RRvision\RRvision.c
11735   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\RRvision\u-boot.lds
11736   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\RRvision\video_ad7179.h
11737   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\rsdproto\config.mk
11738   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\rsdproto\flash.c
11739   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\rsdproto\flash_asm.S
11740   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\rsdproto\Makefile
11741   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\rsdproto\rsdproto.c
11742   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\rsdproto\u-boot.lds
11743   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sacsng\clkinit.c
11744   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sacsng\clkinit.h
11745   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sacsng\config.mk
11746   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sacsng\flash.c
11747   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sacsng\ioconfig.h
11748   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sacsng\Makefile
11749   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sacsng\sacsng.c
11750   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sacsng\u-boot.lds
11751   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandburst\common
11752   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandburst\karef
11753   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandburst\metrobox
11754   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandburst\common\flash.c
11755   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandburst\common\ppc440gx_i2c.c
11756   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandburst\common\ppc440gx_i2c.h
11757   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandburst\common\sb_common.c
11758   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandburst\common\sb_common.h
11759   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandburst\karef\config.mk
11760   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandburst\karef\hal_ka_of_auto.h
11761   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandburst\karef\hal_ka_sc_auto.h
11762   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandburst\karef\init.S
11763   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandburst\karef\karef.c
11764   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandburst\karef\karef.h
11765   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandburst\karef\karef_version.h
11766   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandburst\karef\Makefile
11767   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandburst\karef\u-boot.lds
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 180 of 285 PageID #:766
11768   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandburst\karef\u-boot.lds.debug
11769   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandburst\metrobox\config.mk
11770   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandburst\metrobox\hal_xc_auto.h
11771   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandburst\metrobox\init.S
11772   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandburst\metrobox\Makefile
11773   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandburst\metrobox\metrobox.c
11774   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandburst\metrobox\metrobox.h
11775   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandburst\metrobox\metrobox_version.h
11776   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandburst\metrobox\u-boot.lds
11777   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandburst\metrobox\u-boot.lds.debug
11778   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandpoint\config.mk
11779   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandpoint\dinkdl
11780   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandpoint\early_init.S
11781   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandpoint\flash.c
11782   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandpoint\Makefile
11783   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandpoint\README
11784   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandpoint\sandpoint.c
11785   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandpoint\speed.h
11786   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sandpoint\u-boot.lds
11787   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sbc405\config.mk
11788   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sbc405\Makefile
11789   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sbc405\sbc405.c
11790   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sbc405\strataflash.c
11791   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sbc405\u-boot.lds
11792   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sbc8240\config.mk
11793   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sbc8240\flash.c
11794   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sbc8240\Makefile
11795   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sbc8240\README
11796   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sbc8240\sbc8240.c
11797   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sbc8240\u-boot.lds
11798   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sbc8260\config.mk
11799   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sbc8260\flash.c
11800   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sbc8260\Makefile
11801   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sbc8260\sbc8260.c
11802   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sbc8260\u-boot.lds
11803   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sbc8560\config.mk
11804   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sbc8560\init.S
11805   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sbc8560\Makefile
11806   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sbc8560\sbc8560.c
11807   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sbc8560\u-boot.lds
11808   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sc520_cdp\config.mk
11809   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sc520_cdp\flash.c
11810   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sc520_cdp\flash_old.c
11811   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sc520_cdp\Makefile
11812   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sc520_cdp\sc520_cdp.c
11813   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sc520_cdp\sc520_cdp_asm.S
11814   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sc520_cdp\sc520_cdp_asm16.S
11815   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sc520_cdp\u-boot.lds
11816   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sc520_spunk\config.mk
11817   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sc520_spunk\flash.c
11818   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sc520_spunk\Makefile
11819   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sc520_spunk\sc520_spunk.c
11820   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sc520_spunk\sc520_spunk_asm.S
11821   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sc520_spunk\sc520_spunk_asm16.S
11822   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sc520_spunk\u-boot.lds
11823   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\scb9328\config.mk
11824   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\scb9328\flash.c
11825   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\scb9328\intel.h
11826   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\scb9328\lowlevel_init.S
11827   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\scb9328\Makefile
11828   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\scb9328\scb9328.c
11829   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\scb9328\u-boot.lds
11830   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\shannon\config.mk
11831   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\shannon\flash.c
11832   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\shannon\inferno.header
11833   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\shannon\lowlevel_init.S
11834   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\shannon\Makefile
11835   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\shannon\shannon.c
11836   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\shannon\u-boot.lds
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 181 of 285 PageID   #:767
11837   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens\CCM
11838   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens\common
11839   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens\IAD210
11840   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens\pcu_e
11841   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens\SCM
11842   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens\CCM\ccm.c
11843   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens\CCM\config.mk
11844   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens\CCM\flash.c
11845   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens\CCM\fpga_ccm.c
11846   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens\CCM\Makefile
11847   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens\CCM\u-boot.lds
11848   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens\CCM\u-boot.lds.debug
11849   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens\common\fpga.c
11850   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens\common\fpga.h
11851   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens\common\README
11852   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens\IAD210\atm.c
11853   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens\IAD210\atm.h
11854   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens\IAD210\config.mk
11855   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens\IAD210\flash.c
11856   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens\IAD210\IAD210.c
11857   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens\IAD210\Makefile
11858   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens\IAD210\u-boot.lds
11859   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens\pcu_e\config.mk
11860   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens\pcu_e\flash.c
11861   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens\pcu_e\Makefile
11862   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens\pcu_e\pcu_e.c
11863   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens\pcu_e\u-boot.lds
11864   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens\pcu_e\u-boot.lds.debug
11865   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens\SCM\config.mk
11866   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens\SCM\flash.c
11867   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens\SCM\fpga_scm.c
11868   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens\SCM\Makefile
11869   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens\SCM\scm.c
11870   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens\SCM\scm.h
11871   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\siemens\SCM\u-boot.lds
11872   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sixnet\config.mk
11873   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sixnet\flash.c
11874   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sixnet\fpgadata.c
11875   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sixnet\Makefile
11876   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sixnet\sixnet.c
11877   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sixnet\sixnet.h
11878   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sixnet\u-boot.lds
11879   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sl8245\config.mk
11880   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sl8245\flash.c
11881   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sl8245\Makefile
11882   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sl8245\sl8245.c
11883   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sl8245\u-boot.lds
11884   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\smdk2400\config.mk
11885   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\smdk2400\flash.c
11886   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\smdk2400\lowlevel_init.S
11887   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\smdk2400\Makefile
11888   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\smdk2400\smdk2400.c
11889   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\smdk2400\u-boot.lds
11890   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\smdk2410\config.mk
11891   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\smdk2410\flash.c
11892   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\smdk2410\lowlevel_init.S
11893   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\smdk2410\Makefile
11894   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\smdk2410\smdk2410.c
11895   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\smdk2410\u-boot.lds
11896   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\snmc\qs850
11897   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\snmc\qs860t
11898   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\snmc\qs850\config.mk
11899   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\snmc\qs850\flash.c
11900   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\snmc\qs850\Makefile
11901   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\snmc\qs850\qs850.c
11902   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\snmc\qs850\u-boot.lds
11903   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\snmc\qs860t\config.mk
11904   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\snmc\qs860t\flash.c
11905   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\snmc\qs860t\Makefile
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 182 of 285   PageID #:768
11906   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\snmc\qs860t\qs860t.c
11907   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\snmc\qs860t\u-boot.lds
11908   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sorcery\config.mk
11909   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sorcery\Makefile
11910   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sorcery\sorcery.c
11911   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sorcery\u-boot.lds
11912   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\spd8xx\config.mk
11913   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\spd8xx\flash.c
11914   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\spd8xx\Makefile
11915   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\spd8xx\spd8xx.c
11916   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\spd8xx\u-boot.lds
11917   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\spd8xx\u-boot.lds.debug
11918   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ssv\adnpesc1
11919   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ssv\common
11920   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ssv\adnpesc1\adnpesc1.c
11921   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ssv\adnpesc1\config.mk
11922   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ssv\adnpesc1\flash.c
11923   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ssv\adnpesc1\Makefile
11924   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ssv\adnpesc1\misc.c
11925   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ssv\adnpesc1\u-boot.lds
11926   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ssv\adnpesc1\vectors.S
11927   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ssv\common\cmd_sled.c
11928   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ssv\common\flash.c
11929   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ssv\common\post.c
11930   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\ssv\common\wd_pio.c
11931   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\stamp\config.mk
11932   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\stamp\Makefile
11933   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\stamp\stamp.c
11934   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\stamp\stamp.h
11935   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\stamp\u-boot.lds
11936   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\stxgp3\config.mk
11937   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\stxgp3\flash.c
11938   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\stxgp3\init.S
11939   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\stxgp3\Makefile
11940   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\stxgp3\stxgp3.c
11941   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\stxgp3\u-boot.lds
11942   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\stxxtc\config.mk
11943   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\stxxtc\Makefile
11944   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\stxxtc\oftree.dts
11945   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\stxxtc\stxxtc.c
11946   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\stxxtc\u-boot.lds
11947   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\stxxtc\u-boot.lds.debug
11948   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\svm_sc8xx\config.mk
11949   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\svm_sc8xx\flash.c
11950   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\svm_sc8xx\Makefile
11951   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\svm_sc8xx\svm_sc8xx.c
11952   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\svm_sc8xx\u-boot.lds
11953   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\svm_sc8xx\u-boot.lds.debug
11954   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sx1\config.mk
11955   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sx1\lowlevel_init.S
11956   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sx1\Makefile
11957   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sx1\sx1.c
11958   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\sx1\u-boot.lds
11959   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tb0229\config.mk
11960   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tb0229\flash.c
11961   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tb0229\lowlevel_init.S
11962   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tb0229\Makefile
11963   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tb0229\tb0229.c
11964   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tb0229\u-boot.lds
11965   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tb0229\vr4131-pci.c
11966   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\total5200\config.mk
11967   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\total5200\Makefile
11968   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\total5200\mt48lc16m16a2-75.h
11969   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\total5200\mt48lc32m16a2-75.h
11970   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\total5200\sdram.c
11971   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\total5200\sdram.h
11972   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\total5200\total5200.c
11973   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\total5200\u-boot.lds
11974   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tqm5200\cmd_stk52xx.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 183 of 285   PageID #:769
11975   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tqm5200\config.mk
11976   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tqm5200\flash.c
11977   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tqm5200\Makefile
11978   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tqm5200\mt48lc16m16a2-75.h
11979   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tqm5200\tqm5200.c
11980   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tqm5200\u-boot.lds
11981   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tqm8260\config.mk
11982   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tqm8260\flash.c
11983   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tqm8260\Makefile
11984   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tqm8260\tqm8260.c
11985   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tqm8260\u-boot.lds
11986   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tqm834x\config.mk
11987   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tqm834x\Makefile
11988   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tqm834x\pci.c
11989   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tqm834x\tqm834x.c
11990   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tqm834x\u-boot.lds
11991   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tqm85xx\config.mk
11992   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tqm85xx\init.S
11993   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tqm85xx\Makefile
11994   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tqm85xx\sdram.c
11995   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tqm85xx\tqm85xx.c
11996   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tqm85xx\u-boot.lds
11997   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tqm8xx\config.mk
11998   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tqm8xx\flash.c
11999   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tqm8xx\load_sernum_ethaddr.c
12000   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tqm8xx\Makefile
12001   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tqm8xx\tqm8xx.c
12002   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tqm8xx\u-boot.lds
12003   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\tqm8xx\u-boot.lds.debug
12004   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\trab\auto_update.c
12005   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\trab\cmd_trab.c
12006   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\trab\config.mk
12007   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\trab\flash.c
12008   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\trab\lowlevel_init.S
12009   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\trab\Makefile
12010   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\trab\memory.c
12011   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\trab\Pt1000_temp_data.h
12012   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\trab\README.kbd
12013   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\trab\rs485.c
12014   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\trab\rs485.h
12015   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\trab\trab.c
12016   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\trab\trab_fkt.c
12017   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\trab\tsc2000.c
12018   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\trab\tsc2000.h
12019   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\trab\u-boot.lds
12020   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\trab\vfd.c
12021   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\uc100\config.mk
12022   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\uc100\Makefile
12023   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\uc100\u-boot.lds
12024   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\uc100\u-boot.lds.debug
12025   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\uc100\uc100.c
12026   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\utx8245\config.mk
12027   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\utx8245\flash.c
12028   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\utx8245\Makefile
12029   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\utx8245\u-boot.lds
12030   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\utx8245\utx8245.c
12031   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\v37\config.mk
12032   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\v37\flash.c
12033   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\v37\Makefile
12034   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\v37\u-boot.lds
12035   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\v37\v37.c
12036   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\versatile\config.mk
12037   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\versatile\flash.c
12038   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\versatile\lowlevel_init.S
12039   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\versatile\Makefile
12040   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\versatile\split_by_variant.sh
12041   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\versatile\u-boot.lds
12042   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\versatile\versatile.c
12043   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\voiceblue\config.mk
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 184 of 285 PageID   #:770
12044   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\voiceblue\eeprom.c
12045   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\voiceblue\eeprom.lds
12046   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\voiceblue\eeprom_start.S
12047   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\voiceblue\Makefile
12048   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\voiceblue\setup.S
12049   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\voiceblue\u-boot.lds
12050   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\voiceblue\voiceblue.c
12051   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\w7o\cmd_vpd.c
12052   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\w7o\config.mk
12053   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\w7o\errors.h
12054   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\w7o\flash.c
12055   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\w7o\fpga.c
12056   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\w7o\fsboot.c
12057   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\w7o\init.S
12058   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\w7o\Makefile
12059   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\w7o\post1.S
12060   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\w7o\post2.c
12061   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\w7o\u-boot.lds
12062   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\w7o\u-boot.lds.debug
12063   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\w7o\vpd.c
12064   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\w7o\vpd.h
12065   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\w7o\w7o.c
12066   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\w7o\w7o.h
12067   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\w7o\watchdog.c
12068   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\wepep250\config.mk
12069   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\wepep250\flash.c
12070   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\wepep250\intel.h
12071   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\wepep250\lowlevel_init.S
12072   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\wepep250\Makefile
12073   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\wepep250\u-boot.lds
12074   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\wepep250\wepep250.c
12075   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\westel\amx860
12076   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\westel\amx860\amx860.c
12077   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\westel\amx860\config.mk
12078   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\westel\amx860\flash.c
12079   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\westel\amx860\Makefile
12080   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\westel\amx860\u-boot.lds
12081   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\westel\amx860\u-boot.lds.debug
12082   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xaeniax\config.mk
12083   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xaeniax\flash.c
12084   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xaeniax\lowlevel_init.S
12085   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xaeniax\Makefile
12086   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xaeniax\u-boot.lds
12087   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xaeniax\xaeniax.c
12088   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\common
12089   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\ml300
12090   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\xilinx_enet
12091   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\xilinx_iic
12092   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\common\xbasic_types.c
12093   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\common\xbasic_types.h
12094   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\common\xbuf_descriptor.h
12095   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\common\xdma_channel.c
12096   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\common\xdma_channel.h
12097   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\common\xdma_channel_i.h
12098   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\common\xdma_channel_sg.c
12099   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\common\xio.h
12100   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\common\xipif_v1_23_b.c
12101   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\common\xipif_v1_23_b.h
12102   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\common\xpacket_fifo_v1_00_b.c
12103   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\common\xpacket_fifo_v1_00_b.h
12104   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\common\xstatus.h
12105   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\common\xversion.c
12106   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\common\xversion.h
12107   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\ml300\config.mk
12108   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\ml300\init.S
12109   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\ml300\Makefile
12110   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\ml300\ml300.c
12111   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\ml300\serial.c
12112   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\ml300\sw_services
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 185 of 285 PageID #:771
12113   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\ml300\u-boot.lds
12114   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\ml300\u-boot.lds.debug
12115   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\ml300\xparameters.h
12116   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\ml300\sw_services\uboot_v1_00_a
12117   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\ml300\sw_services\uboot_v1_00_a\data
12118   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\ml300\sw_services\uboot_v1_00_a\data\Ltypes
12119   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\ml300\sw_services\uboot_v1_00_a\data\uboot_v2
        _1_0.mld
12120   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\ml300\sw_services\uboot_v1_00_a\data\uboot_v2
        _1_0.tcl
12121   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\xilinx_enet\emac_adapter.c
12122   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\xilinx_enet\xemac.c
12123   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\xilinx_enet\xemac.h
12124   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\xilinx_enet\xemac_g.c
12125   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\xilinx_enet\xemac_i.h
12126   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\xilinx_enet\xemac_intr.c
12127   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\xilinx_enet\xemac_intr_dma.c
12128   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\xilinx_enet\xemac_l.h
12129   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\xilinx_enet\xemac_options.c
12130   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\xilinx_enet\xemac_polled.c
12131   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\xilinx_iic\iic_adapter.c
12132   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\xilinx_iic\xiic_l.c
12133   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xilinx\xilinx_iic\xiic_l.h
12134   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xm250\config.mk
12135   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xm250\flash.c
12136   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xm250\lowlevel_init.S
12137   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xm250\Makefile
12138   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xm250\u-boot.lds
12139   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xm250\xm250.c
12140   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xpedite1k\config.mk
12141   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xpedite1k\flash.c
12142   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xpedite1k\init.S
12143   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xpedite1k\Makefile
12144   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xpedite1k\u-boot.lds
12145   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xpedite1k\u-boot.lds.debug
12146   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xpedite1k\xpedite1k.c
12147   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xsengine\config.mk
12148   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xsengine\flash.c
12149   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xsengine\lowlevel_init.S
12150   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xsengine\Makefile
12151   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xsengine\u-boot.lds
12152   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\xsengine\xsengine.c
12153   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\zpc1900\config.mk
12154   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\zpc1900\Makefile
12155   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\zpc1900\u-boot.lds
12156   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\zpc1900\zpc1900.c
12157   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\zylonite\config.mk
12158   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\zylonite\flash.c
12159   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\zylonite\lowlevel_init.S
12160   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\zylonite\Makefile
12161   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\zylonite\u-boot.lds
12162   GPL.UBNT.v6.1.7\uboot\uboot-xm\board\zylonite\zylonite.c
12163   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\ACEX1K.c
12164   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\altera.c
12165   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\bedbug.c
12166   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\circbuf.c
12167   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_ace.c
12168   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_autoscript.c
12169   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_bdinfo.c
12170   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_bedbug.c
12171   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_bmp.c
12172   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_boot.c
12173   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_bootm.c
12174   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_cache.c
12175   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_console.c
12176   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_date.c
12177   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_dcr.c
12178   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_ddr.c
12179   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_diag.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page   186 of 285 PageID #:772
12180   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_display.c
12181   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_doc.c
12182   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_dtt.c
12183   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_eeprom.c
12184   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_elf.c
12185   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_ethreg.c
12186   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_ext2.c
12187   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_fat.c
12188   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_fdc.c
12189   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_fdos.c
12190   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_flash.c
12191   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_fls.c
12192   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_fpga.c
12193   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_i2c.c
12194   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_ide.c
12195   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_immap.c
12196   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_itest.c
12197   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_jffs2.c
12198   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_load.c
12199   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_log.c
12200   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_mem.c
12201   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_mii.c
12202   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_misc.c
12203   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_mmc.c
12204   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_nand.c
12205   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_net.c
12206   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_nvedit.c
12207   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_pci.c
12208   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_pcmcia.c
12209   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_pll.c
12210   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_portio.c
12211   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_reginfo.c
12212   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_reiser.c
12213   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_scsi.c
12214   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_spi.c
12215   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_universe.c
12216   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_usb.c
12217   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_vfd.c
12218   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\cmd_ximg.c
12219   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\command.c
12220   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\console.c
12221   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\crc16.c
12222   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\devices.c
12223   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\dlmalloc.c
12224   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\dlmalloc.src
12225   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\docecc.c
12226   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\environment.c
12227   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\env_common.c
12228   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\env_dataflash.c
12229   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\env_eeprom.c
12230   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\env_flash.c
12231   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\env_nand.c
12232   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\env_nowhere.c
12233   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\env_nvram.c
12234   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\exports.c
12235   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\flash.c
12236   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\fpga.c
12237   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\ft_build.c
12238   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\hush.c
12239   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\kgdb.c
12240   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\lcd.c
12241   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\lists.c
12242   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\lynxkdi.c
12243   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\main.c
12244   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\Makefile
12245   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\memsize.c
12246   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\miiphybb.c
12247   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\miiphyutil.c
12248   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\serial.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 187   of 285 PageID #:773
12249   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\soft_i2c.c
12250   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\soft_spi.c
12251   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\spartan2.c
12252   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\spartan3.c
12253   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\s_record.c
12254   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\ubnt_api_calls.c
12255   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\usb.c
12256   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\usb_kbd.c
12257   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\usb_storage.c
12258   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\virtex2.c
12259   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\xilinx.c
12260   GPL.UBNT.v6.1.7\uboot\uboot-xm\common\xyzModem.c
12261   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\74xx_7xx
12262   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm1136
12263   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm720t
12264   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t
12265   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm925t
12266   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm926ejs
12267   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm946es
12268   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm_intcm
12269   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\bf533
12270   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\i386
12271   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ixp
12272   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\lh7a40x
12273   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mcf52x2
12274   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\microblaze
12275   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mips
12276   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc5xx
12277   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc5xxx
12278   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8220
12279   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x
12280   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8260
12281   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc83xx
12282   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc85xx
12283   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8xx
12284   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\nios
12285   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\nios2
12286   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ppc4xx
12287   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\pxa
12288   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\s3c44b0
12289   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\sa1100
12290   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\74xx_7xx\cache.S
12291   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\74xx_7xx\config.mk
12292   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\74xx_7xx\cpu.c
12293   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\74xx_7xx\cpu_init.c
12294   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\74xx_7xx\interrupts.c
12295   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\74xx_7xx\io.S
12296   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\74xx_7xx\kgdb.S
12297   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\74xx_7xx\Makefile
12298   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\74xx_7xx\speed.c
12299   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\74xx_7xx\start.S
12300   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\74xx_7xx\traps.c
12301   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm1136\config.mk
12302   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm1136\cpu.c
12303   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm1136\interrupts.c
12304   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm1136\Makefile
12305   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm1136\start.S
12306   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm720t\config.mk
12307   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm720t\cpu.c
12308   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm720t\interrupts.c
12309   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm720t\Makefile
12310   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm720t\serial.c
12311   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm720t\serial_netarm.c
12312   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm720t\start.S
12313   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\at91rm9200
12314   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\config.mk
12315   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\cpu.c
12316   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\imx
12317   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\interrupts.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 188 of 285 PageID   #:774
12318   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\ks8695
12319   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\Makefile
12320   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\s3c24x0
12321   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\start.S
12322   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\at91rm9200\bcm5221.c
12323   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\at91rm9200\dm9161.c
12324   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\at91rm9200\ether.c
12325   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\at91rm9200\i2c.c
12326   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\at91rm9200\interrupts.c
12327   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\at91rm9200\lowlevel_init.S
12328   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\at91rm9200\lxt972.c
12329   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\at91rm9200\Makefile
12330   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\at91rm9200\serial.c
12331   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\at91rm9200\usb_ohci.c
12332   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\at91rm9200\usb_ohci.h
12333   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\imx\generic.c
12334   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\imx\interrupts.c
12335   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\imx\Makefile
12336   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\imx\serial.c
12337   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\imx\speed.c
12338   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\ks8695\interrupts.c
12339   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\ks8695\lowlevel_init.S
12340   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\ks8695\Makefile
12341   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\ks8695\serial.c
12342   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\s3c24x0\i2c.c
12343   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\s3c24x0\interrupts.c
12344   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\s3c24x0\Makefile
12345   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\s3c24x0\serial.c
12346   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\s3c24x0\speed.c
12347   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\s3c24x0\usb_ohci.c
12348   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm920t\s3c24x0\usb_ohci.h
12349   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm925t\config.mk
12350   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm925t\cpu.c
12351   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm925t\interrupts.c
12352   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm925t\Makefile
12353   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm925t\omap925.c
12354   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm925t\start.S
12355   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm926ejs\config.mk
12356   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm926ejs\cpu.c
12357   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm926ejs\interrupts.c
12358   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm926ejs\Makefile
12359   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm926ejs\omap
12360   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm926ejs\start.S
12361   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm926ejs\versatile
12362   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm926ejs\omap\Makefile
12363   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm926ejs\omap\reset.S
12364   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm926ejs\omap\timer.c
12365   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm926ejs\versatile\Makefile
12366   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm926ejs\versatile\reset.S
12367   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm926ejs\versatile\timer.c
12368   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm946es\config.mk
12369   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm946es\cpu.c
12370   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm946es\interrupts.c
12371   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm946es\Makefile
12372   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm946es\start.S
12373   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm_intcm\config.mk
12374   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm_intcm\cpu.c
12375   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm_intcm\interrupts.c
12376   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm_intcm\Makefile
12377   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\arm_intcm\start.S
12378   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\bf533\bf533_serial.h
12379   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\bf533\cache.S
12380   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\bf533\config.mk
12381   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\bf533\cplbhdlr.S
12382   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\bf533\cplbmgr.S
12383   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\bf533\cpu.c
12384   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\bf533\cpu.h
12385   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\bf533\flush.S
12386   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\bf533\interrupt.S
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 189 of   285 PageID #:775
12387   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\bf533\interrupts.c
12388   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\bf533\ints.c
12389   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\bf533\Makefile
12390   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\bf533\serial.c
12391   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\bf533\start.S
12392   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\bf533\start1.S
12393   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\bf533\traps.c
12394   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\i386\config.mk
12395   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\i386\cpu.c
12396   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\i386\interrupts.c
12397   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\i386\Makefile
12398   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\i386\reset.S
12399   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\i386\sc520.c
12400   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\i386\sc520_asm.S
12401   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\i386\serial.c
12402   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\i386\start.S
12403   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\i386\start16.S
12404   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\i386\timer.c
12405   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ixp\config.mk
12406   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ixp\cpu.c
12407   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ixp\interrupts.c
12408   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ixp\Makefile
12409   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ixp\pci.c
12410   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ixp\serial.c
12411   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ixp\start.S
12412   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ixp\timer.c
12413   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\lh7a40x\config.mk
12414   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\lh7a40x\cpu.c
12415   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\lh7a40x\interrupts.c
12416   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\lh7a40x\Makefile
12417   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\lh7a40x\serial.c
12418   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\lh7a40x\speed.c
12419   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\lh7a40x\start.S
12420   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mcf52x2\config.mk
12421   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mcf52x2\cpu.c
12422   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mcf52x2\cpu_init.c
12423   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mcf52x2\fec.c
12424   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mcf52x2\interrupts.c
12425   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mcf52x2\Makefile
12426   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mcf52x2\serial.c
12427   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mcf52x2\speed.c
12428   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mcf52x2\start.S
12429   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\microblaze\cpu.c
12430   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\microblaze\interrupts.c
12431   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\microblaze\Makefile
12432   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\microblaze\start.S
12433   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mips\ar7100
12434   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mips\ar7240
12435   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mips\asc_serial.c
12436   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mips\asc_serial.h
12437   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mips\au1x00_eth.c
12438   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mips\au1x00_serial.c
12439   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mips\au1x00_usb_ohci.c
12440   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mips\au1x00_usb_ohci.h
12441   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mips\cache.S
12442   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mips\config.mk
12443   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mips\cpu.c
12444   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mips\incaip_clock.c
12445   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mips\incaip_wdt.S
12446   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mips\interrupts.c
12447   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mips\Makefile
12448   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mips\Makefile.orig
12449   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mips\start.S
12450   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mips\ar7100\ag7100.c
12451   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mips\ar7100\ag7100.h
12452   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mips\ar7100\ag7100_phy.h
12453   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mips\ar7100\ar7100_serial.c
12454   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mips\ar7100\Makefile
12455   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mips\ar7100\meminit.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 190 of 285 PageID #:776
12456   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mips\ar7240\ag7240.c
12457   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mips\ar7240\ag7240.h
12458   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mips\ar7240\ag7240_phy.h
12459   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mips\ar7240\ag934x.h
12460   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mips\ar7240\ar7240_serial.c
12461   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mips\ar7240\Makefile
12462   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mips\ar7240\meminit.c
12463   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc5xx\config.mk
12464   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc5xx\cpu.c
12465   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc5xx\cpu_init.c
12466   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc5xx\interrupts.c
12467   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc5xx\Makefile
12468   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc5xx\serial.c
12469   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc5xx\speed.c
12470   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc5xx\spi.c
12471   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc5xx\start.S
12472   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc5xx\traps.c
12473   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc5xxx\config.mk
12474   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc5xxx\cpu.c
12475   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc5xxx\cpu_init.c
12476   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc5xxx\fec.c
12477   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc5xxx\fec.h
12478   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc5xxx\firmware_sc_task.impl.S
12479   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc5xxx\firmware_sc_task_bestcomm.impl.S
12480   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc5xxx\i2c.c
12481   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc5xxx\ide.c
12482   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc5xxx\interrupts.c
12483   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc5xxx\io.S
12484   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc5xxx\loadtask.c
12485   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc5xxx\Makefile
12486   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc5xxx\pci_mpc5200.c
12487   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc5xxx\sdma.h
12488   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc5xxx\serial.c
12489   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc5xxx\speed.c
12490   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc5xxx\start.S
12491   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc5xxx\traps.c
12492   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc5xxx\usb_ohci.c
12493   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc5xxx\usb_ohci.h
12494   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8220\config.mk
12495   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8220\cpu.c
12496   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8220\cpu_init.c
12497   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8220\dma.h
12498   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8220\dramSetup.c
12499   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8220\dramSetup.h
12500   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8220\fec.c
12501   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8220\fec.h
12502   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8220\fec_dma_tasks.S
12503   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8220\i2c.c
12504   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8220\i2cCore.c
12505   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8220\i2cCore.h
12506   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8220\interrupts.c
12507   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8220\io.S
12508   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8220\loadtask.c
12509   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8220\Makefile
12510   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8220\pci.c
12511   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8220\speed.c
12512   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8220\start.S
12513   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8220\traps.c
12514   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8220\uart.c
12515   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\config.mk
12516   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\cpu.c
12517   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\cpu_init.c
12518   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\drivers
12519   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\interrupts.c
12520   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\Makefile
12521   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\pci.c
12522   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\speed.c
12523   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\start.S
12524   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\traps.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 191 of 285 PageID   #:777
12525   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\drivers\dma
12526   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\drivers\dma_export.h
12527   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\drivers\epic
12528   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\drivers\epic.h
12529   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\drivers\errors.h
12530   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\drivers\i2c
12531   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\drivers\i2c_export.h
12532   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\drivers\i2o
12533   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\drivers\i2o.h
12534   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\drivers\dma\dma.h
12535   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\drivers\dma\dma1.c
12536   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\drivers\dma\dma2.S
12537   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\drivers\dma\dma_export.h
12538   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\drivers\dma\Makefile
12539   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\drivers\dma\Makefile_pc
12540   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\drivers\dma\README
12541   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\drivers\epic\epic.h
12542   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\drivers\epic\epic1.c
12543   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\drivers\epic\epic2.S
12544   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\drivers\epic\epicutil.S
12545   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\drivers\epic\README
12546   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\drivers\i2c\i2c.c
12547   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\drivers\i2o\i2o.h
12548   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\drivers\i2o\i2o1.c
12549   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\drivers\i2o\i2o2.S
12550   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\drivers\i2o\Makefile
12551   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc824x\drivers\i2o\Makefile_pc
12552   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8260\bedbug_603e.c
12553   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8260\commproc.c
12554   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8260\config.mk
12555   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8260\cpu.c
12556   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8260\cpu_init.c
12557   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8260\ether_fcc.c
12558   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8260\ether_scc.c
12559   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8260\i2c.c
12560   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8260\interrupts.c
12561   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8260\kgdb.S
12562   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8260\Makefile
12563   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8260\pci.c
12564   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8260\serial_scc.c
12565   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8260\serial_smc.c
12566   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8260\speed.c
12567   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8260\speed.h
12568   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8260\spi.c
12569   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8260\start.S
12570   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8260\traps.c
12571   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc83xx\config.mk
12572   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc83xx\cpu.c
12573   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc83xx\cpu_init.c
12574   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc83xx\i2c.c
12575   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc83xx\interrupts.c
12576   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc83xx\Makefile
12577   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc83xx\resetvec.S
12578   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc83xx\spd_sdram.c
12579   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc83xx\speed.c
12580   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc83xx\start.S
12581   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc83xx\traps.c
12582   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc85xx\commproc.c
12583   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc85xx\config.mk
12584   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc85xx\cpu.c
12585   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc85xx\cpu_init.c
12586   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc85xx\ether_fcc.c
12587   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc85xx\i2c.c
12588   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc85xx\interrupts.c
12589   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc85xx\Makefile
12590   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc85xx\pci.c
12591   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc85xx\resetvec.S
12592   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc85xx\serial_scc.c
12593   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc85xx\spd_sdram.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page   192 of 285 PageID #:778
12594   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc85xx\speed.c
12595   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc85xx\start.S
12596   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc85xx\traps.c
12597   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8xx\bedbug_860.c
12598   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8xx\commproc.c
12599   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8xx\config.mk
12600   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8xx\cpu.c
12601   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8xx\cpu_init.c
12602   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8xx\fec.c
12603   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8xx\fec.h
12604   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8xx\i2c.c
12605   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8xx\interrupts.c
12606   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8xx\kgdb.S
12607   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8xx\lcd.c
12608   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8xx\Makefile
12609   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8xx\plprcr_write.S
12610   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8xx\scc.c
12611   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8xx\serial.c
12612   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8xx\speed.c
12613   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8xx\spi.c
12614   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8xx\start.S
12615   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8xx\traps.c
12616   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8xx\upatch.c
12617   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8xx\video.c
12618   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\mpc8xx\wlkbd.c
12619   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\nios\asmi.c
12620   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\nios\config.mk
12621   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\nios\cpu.c
12622   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\nios\interrupts.c
12623   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\nios\Makefile
12624   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\nios\serial.c
12625   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\nios\spi.c
12626   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\nios\start.S
12627   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\nios\traps.S
12628   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\nios2\config.mk
12629   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\nios2\cpu.c
12630   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\nios2\epcs.c
12631   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\nios2\exceptions.S
12632   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\nios2\interrupts.c
12633   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\nios2\Makefile
12634   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\nios2\serial.c
12635   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\nios2\start.S
12636   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\nios2\sysid.c
12637   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\nios2\traps.c
12638   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ppc4xx\405gp_pci.c
12639   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ppc4xx\4xx_enet.c
12640   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ppc4xx\bedbug_405.c
12641   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ppc4xx\commproc.c
12642   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ppc4xx\config.mk
12643   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ppc4xx\cpu.c
12644   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ppc4xx\cpu_init.c
12645   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ppc4xx\dcr.S
12646   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ppc4xx\i2c.c
12647   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ppc4xx\interrupts.c
12648   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ppc4xx\kgdb.S
12649   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ppc4xx\Makefile
12650   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ppc4xx\miiphy.c
12651   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ppc4xx\resetvec.S
12652   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ppc4xx\sdram.c
12653   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ppc4xx\sdram.h
12654   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ppc4xx\serial.c
12655   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ppc4xx\spd_sdram.c
12656   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ppc4xx\speed.c
12657   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ppc4xx\start.S
12658   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ppc4xx\traps.c
12659   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ppc4xx\usbdev.c
12660   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ppc4xx\usbdev.h
12661   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ppc4xx\usb_ohci.c
12662   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ppc4xx\usb_ohci.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 193 of 285   PageID #:779
12663   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\ppc4xx\vecnum.h
12664   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\pxa\config.mk
12665   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\pxa\cpu.c
12666   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\pxa\i2c.c
12667   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\pxa\interrupts.c
12668   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\pxa\Makefile
12669   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\pxa\mmc.c
12670   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\pxa\pxafb.c
12671   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\pxa\serial.c
12672   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\pxa\start.S
12673   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\s3c44b0\config.mk
12674   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\s3c44b0\cpu.c
12675   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\s3c44b0\interrupts.c
12676   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\s3c44b0\Makefile
12677   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\s3c44b0\serial.c
12678   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\s3c44b0\start.S
12679   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\sa1100\config.mk
12680   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\sa1100\cpu.c
12681   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\sa1100\interrupts.c
12682   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\sa1100\Makefile
12683   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\sa1100\serial.c
12684   GPL.UBNT.v6.1.7\uboot\uboot-xm\cpu\sa1100\start.S
12685   GPL.UBNT.v6.1.7\uboot\uboot-xm\disk\Makefile
12686   GPL.UBNT.v6.1.7\uboot\uboot-xm\disk\part.c
12687   GPL.UBNT.v6.1.7\uboot\uboot-xm\disk\part_amiga.c
12688   GPL.UBNT.v6.1.7\uboot\uboot-xm\disk\part_amiga.h
12689   GPL.UBNT.v6.1.7\uboot\uboot-xm\disk\part_dos.c
12690   GPL.UBNT.v6.1.7\uboot\uboot-xm\disk\part_dos.h
12691   GPL.UBNT.v6.1.7\uboot\uboot-xm\disk\part_iso.c
12692   GPL.UBNT.v6.1.7\uboot\uboot-xm\disk\part_iso.h
12693   GPL.UBNT.v6.1.7\uboot\uboot-xm\disk\part_mac.c
12694   GPL.UBNT.v6.1.7\uboot\uboot-xm\disk\part_mac.h
12695   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\I2C_Edge_Conditions
12696   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README-i386
12697   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README-integrator
12698   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.adnpesc1
12699   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.adnpesc1_base32
12700   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.alaska8220
12701   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.AMCC-eval-boards-cleanup
12702   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.amigaone
12703   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.ARM-memory-map
12704   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.ARM-SoC
12705   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.autoboot
12706   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.bedbug
12707   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.cmi
12708   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.COBRA5272
12709   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.commands
12710   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.commands.itest
12711   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.console
12712   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.db64360
12713   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.db64460
12714   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.dk1c20
12715   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.dk1c20_std32
12716   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.dk1s10
12717   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.dk1s10_mldk20
12718   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.dk1s10_std32
12719   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.dk1s40_std32
12720   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.dk20k200_std32
12721   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.ebony
12722   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.EVB-64260-750CX
12723   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.evb64260
12724   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.fads
12725   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.IceCube
12726   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.idma2intr
12727   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.INCA-IP
12728   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.IPHASE4539
12729   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.JFFS2
12730   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.JFFS2_NAND
12731   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.lynxkdi
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 194 of 285   PageID #:780
12732   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.m68k
12733   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.MBX
12734   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.ml300
12735   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.Modem
12736   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.modnet50
12737   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.mpc5xx
12738   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.mpc74xx
12739   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.mpc8349emds.ddrecc
12740   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.mpc83xxads
12741   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.mpc85xxads
12742   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.mpc85xxcds
12743   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.MPC866
12744   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.nand
12745   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.ne2000
12746   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.NetConsole
12747   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.nios
12748   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.nios_CFG_NIOS_CPU
12749   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.nios_DK
12750   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.ns9750dev
12751   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.ocotea
12752   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.ocotea-PIBS-to-U-Boot
12753   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.OFT
12754   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.omap730p2
12755   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.OXC
12756   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.PIP405
12757   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.PlanetCore
12758   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.POST
12759   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.ppc440
12760   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.Purple
12761   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.PXA_CF
12762   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.RPXClassic
12763   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.RPXlite
12764   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.Sandpoint8240
12765   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.sbc8560
12766   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.sched
12767   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.serial_multi
12768   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.silent
12769   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.SNTP
12770   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.standalone
12771   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.stxxtc
12772   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.TQM8260
12773   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.usb
12774   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.video
12775   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.VLAN
12776   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\README.xpedite1k
12777   GPL.UBNT.v6.1.7\uboot\uboot-xm\doc\TODO-i386
12778   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\3c589.c
12779   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\3c589.h
12780   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\5701rls.c
12781   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\5701rls.h
12782   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\8390.h
12783   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\ali512x.c
12784   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\bcm570x.c
12785   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\bcm570x_autoneg.c
12786   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\bcm570x_autoneg.h
12787   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\bcm570x_bits.h
12788   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\bcm570x_debug.h
12789   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\bcm570x_lm.h
12790   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\bcm570x_mm.h
12791   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\bcm570x_queue.h
12792   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\cfb_console.c
12793   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\cfi_flash.c
12794   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\cs8900.c
12795   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\cs8900.h
12796   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\ct69000.c
12797   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\dataflash.c
12798   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\dc2114x.c
12799   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\dm9000x.c
12800   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\dm9000x.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 195   of 285 PageID #:781
12801   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\ds1722.c
12802   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\e1000.c
12803   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\e1000.h
12804   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\eepro100.c
12805   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\i8042.c
12806   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\i82365.c
12807   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\inca-ip_sw.c
12808   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\keyboard.c
12809   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\ks8695eth.c
12810   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\lan91c96.c
12811   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\lan91c96.h
12812   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\Makefile
12813   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\mw_eeprom.c
12814   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\nand
12815   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\nand_legacy
12816   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\natsemi.c
12817   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\ne2000.c
12818   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\ne2000.h
12819   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\netarm_eth.c
12820   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\netarm_eth.h
12821   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\netconsole.c
12822   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\nicext.h
12823   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\ns16550.c
12824   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\ns7520_eth.c
12825   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\ns8382x.c
12826   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\ns87308.c
12827   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\ns9750_eth.c
12828   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\ns9750_serial.c
12829   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\omap1510_i2c.c
12830   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\omap24xx_i2c.c
12831   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\pci.c
12832   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\pci_auto.c
12833   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\pci_indirect.c
12834   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\pcnet.c
12835   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\pc_keyb.c
12836   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\plb2800_eth.c
12837   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\ps2mult.c
12838   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\ps2ser.c
12839   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\rtl8019.c
12840   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\rtl8019.h
12841   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\rtl8139.c
12842   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\rtl8169.c
12843   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\s3c4510b_eth.c
12844   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\s3c4510b_eth.h
12845   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\s3c4510b_uart.c
12846   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\s3c4510b_uart.h
12847   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sed13806.c
12848   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sed156x.c
12849   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\serial.c
12850   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\serial_max3100.c
12851   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\serial_pl010.c
12852   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\serial_pl011.c
12853   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\serial_pl011.h
12854   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\serial_xuartlite.c
12855   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin
12856   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sl811.h
12857   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sl811_usb.c
12858   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sm501.c
12859   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\smc91111.c
12860   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\smc91111.h
12861   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\smiLynxEM.c
12862   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\status_led.c
12863   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sym53c8xx.c
12864   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\tigon3.c
12865   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\tigon3.h
12866   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\ti_pci1410a.c
12867   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\tsec.c
12868   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\tsec.h
12869   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\usbdcore.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 196 of 285   PageID #:782
12870   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\usbdcore_ep0.c
12871   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\usbdcore_omap1510.c
12872   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\usbtty.c
12873   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\usbtty.h
12874   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\videomodes.c
12875   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\videomodes.h
12876   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\w83c553f.c
12877   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\nand\diskonchip.c
12878   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\nand\Makefile
12879   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\nand\nand.c
12880   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\nand\nand_base.c
12881   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\nand\nand_bbt.c
12882   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\nand\nand_ecc.c
12883   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\nand\nand_ids.c
12884   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\nand_legacy\Makefile
12885   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\nand_legacy\nand_legacy.c
12886   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\h
12887   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\Makefile
12888   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\skaddr.c
12889   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\skcsum.c
12890   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\skge.c
12891   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\skgehwt.c
12892   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\skgeinit.c
12893   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\skgemib.c
12894   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\skgepnmi.c
12895   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\skgesirq.c
12896   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\ski2c.c
12897   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\sklm80.c
12898   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\skproc.c
12899   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\skqueue.c
12900   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\skrlmt.c
12901   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\sktimer.c
12902   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\skvpd.c
12903   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\skxmac2.c
12904   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\u-boot_compat.h
12905   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\uboot_drv.c
12906   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\uboot_skb.c
12907   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\h\lm80.h
12908   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\h\skaddr.h
12909   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\h\skcsum.h
12910   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\h\skdebug.h
12911   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\h\skdrv1st.h
12912   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\h\skdrv2nd.h
12913   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\h\skerror.h
12914   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\h\skgedrv.h
12915   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\h\skgehw.h
12916   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\h\skgehwt.h
12917   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\h\skgei2c.h
12918   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\h\skgeinit.h
12919   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\h\skgepnm2.h
12920   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\h\skgepnmi.h
12921   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\h\skgesirq.h
12922   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\h\ski2c.h
12923   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\h\skqueue.h
12924   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\h\skrlmt.h
12925   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\h\sktimer.h
12926   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\h\sktypes.h
12927   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\h\skversion.h
12928   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\h\skvpd.h
12929   GPL.UBNT.v6.1.7\uboot\uboot-xm\drivers\sk98lin\h\xmac_ii.h
12930   GPL.UBNT.v6.1.7\uboot\uboot-xm\dtt\adm1021.c
12931   GPL.UBNT.v6.1.7\uboot\uboot-xm\dtt\ds1621.c
12932   GPL.UBNT.v6.1.7\uboot\uboot-xm\dtt\lm75.c
12933   GPL.UBNT.v6.1.7\uboot\uboot-xm\dtt\Makefile
12934   GPL.UBNT.v6.1.7\uboot\uboot-xm\examples\82559_eeprom.c
12935   GPL.UBNT.v6.1.7\uboot\uboot-xm\examples\eepro100_eeprom.c
12936   GPL.UBNT.v6.1.7\uboot\uboot-xm\examples\hello_world.c
12937   GPL.UBNT.v6.1.7\uboot\uboot-xm\examples\hello_world.s
12938   GPL.UBNT.v6.1.7\uboot\uboot-xm\examples\Makefile
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 197 of   285 PageID #:783
12939   GPL.UBNT.v6.1.7\uboot\uboot-xm\examples\mem_to_mem_idma2intr.c
12940   GPL.UBNT.v6.1.7\uboot\uboot-xm\examples\mips.lds
12941   GPL.UBNT.v6.1.7\uboot\uboot-xm\examples\nios.lds
12942   GPL.UBNT.v6.1.7\uboot\uboot-xm\examples\nios2.lds
12943   GPL.UBNT.v6.1.7\uboot\uboot-xm\examples\ppc_longjmp.S
12944   GPL.UBNT.v6.1.7\uboot\uboot-xm\examples\ppc_setjmp.S
12945   GPL.UBNT.v6.1.7\uboot\uboot-xm\examples\README.smc91111_eeprom
12946   GPL.UBNT.v6.1.7\uboot\uboot-xm\examples\sched.c
12947   GPL.UBNT.v6.1.7\uboot\uboot-xm\examples\smc91111_eeprom.c
12948   GPL.UBNT.v6.1.7\uboot\uboot-xm\examples\stubs.c
12949   GPL.UBNT.v6.1.7\uboot\uboot-xm\examples\test_burst.c
12950   GPL.UBNT.v6.1.7\uboot\uboot-xm\examples\test_burst.h
12951   GPL.UBNT.v6.1.7\uboot\uboot-xm\examples\test_burst_lib.S
12952   GPL.UBNT.v6.1.7\uboot\uboot-xm\examples\timer.c
12953   GPL.UBNT.v6.1.7\uboot\uboot-xm\examples\x86-testapp.c
12954   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\cramfs
12955   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\ext2
12956   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\fat
12957   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\fdos
12958   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\jffs2
12959   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\Makefile
12960   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\reiserfs
12961   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\cramfs\cramfs.c
12962   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\cramfs\Makefile
12963   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\cramfs\uncompress.c
12964   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\ext2\dev.c
12965   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\ext2\ext2fs.c
12966   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\ext2\Makefile
12967   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\fat\fat.c
12968   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\fat\file.c
12969   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\fat\Makefile
12970   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\fdos\dev.c
12971   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\fdos\dos.h
12972   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\fdos\fat.c
12973   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\fdos\fdos.c
12974   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\fdos\fdos.h
12975   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\fdos\fs.c
12976   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\fdos\Makefile
12977   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\fdos\subdir.c
12978   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\fdos\vfat.c
12979   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\jffs2\compr_lzari.c
12980   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\jffs2\compr_lzo.c
12981   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\jffs2\compr_rtime.c
12982   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\jffs2\compr_rubin.c
12983   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\jffs2\compr_zlib.c
12984   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\jffs2\jffs2_1pass.c
12985   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\jffs2\jffs2_nand_1pass.c
12986   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\jffs2\jffs2_nand_private.h
12987   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\jffs2\jffs2_private.h
12988   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\jffs2\Makefile
12989   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\jffs2\mini_inflate.c
12990   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\reiserfs\dev.c
12991   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\reiserfs\Makefile
12992   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\reiserfs\mode_string.c
12993   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\reiserfs\reiserfs.c
12994   GPL.UBNT.v6.1.7\uboot\uboot-xm\fs\reiserfs\reiserfs_private.h
12995   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\405gp_i2c.h
12996   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\405gp_pci.h
12997   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\405_dimm.h
12998   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\405_mal.h
12999   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\440_i2c.h
13000   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\74xx_7xx.h
13001   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\ACEX1K.h
13002   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\altera.h
13003   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\ar7100_soc.h
13004   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\ar7240_soc.h
13005   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\ar934x_soc.h
13006   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\arm920t.h
13007   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\arm925t.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page   198 of 285 PageID #:784
13008   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\arm926ejs.h
13009   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\arm946es.h
13010   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\armcoremodule.h
13011   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm
13012   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin
13013   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-i386
13014   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-m68k
13015   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-microblaze
13016   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-mips
13017   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-nios
13018   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-nios2
13019   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc
13020   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\at91rm9200_i2c.h
13021   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\at91rm9200_net.h
13022   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\ata.h
13023   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\athversion.h
13024   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\bcm5221.h
13025   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\bedbug
13026   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\bmp_layout.h
13027   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\bmp_logo.h
13028   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\bzlib.h
13029   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\circbuf.h
13030   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\clps7111.h
13031   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\cmd_confdefs.h
13032   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\command.h
13033   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\common.h
13034   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\commproc.h
13035   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs
13036   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\console.h
13037   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\cramfs
13038   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\crc.h
13039   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\da9030.h
13040   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\dataflash.h
13041   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\devices.h
13042   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\dm9161.h
13043   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\dtt.h
13044   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\e500.h
13045   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\elf.h
13046   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\environment.h
13047   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\exports.h
13048   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\ext2fs.h
13049   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\fat.h
13050   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\fdc.h
13051   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\flash.h
13052   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\fpga.h
13053   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\ft_build.h
13054   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\galileo
13055   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\hush.h
13056   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\i2c.h
13057   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\i8042.h
13058   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\ide.h
13059   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\image.h
13060   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\ioports.h
13061   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\jffs2
13062   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\keyboard.h
13063   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\kgdb.h
13064   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\lcd.h
13065   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\lcdvideo.h
13066   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\lh7a400.h
13067   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\lh7a404.h
13068   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\lh7a40x.h
13069   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\linux
13070   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\linux_logo.h
13071   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\lists.h
13072   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\logbuff.h
13073   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\lpd7a400_cpld.h
13074   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\lxt971a.h
13075   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\lynxkdi.h
13076   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\LzmaWrapper.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page   199 of 285 PageID #:785
13077   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\malloc.h
13078   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\miiphy.h
13079   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\mii_phy.h
13080   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\mk48t59.h
13081   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\mmc.h
13082   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\mpc106.h
13083   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\mpc5xx.h
13084   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\mpc5xxx.h
13085   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\mpc8220.h
13086   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\mpc824x.h
13087   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\mpc8260.h
13088   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\mpc8260_irq.h
13089   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\mpc83xx.h
13090   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\mpc85xx.h
13091   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\mpc8xx.h
13092   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\mpc8xx_irq.h
13093   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\nand.h
13094   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\net.h
13095   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\nios-io.h
13096   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\nios.h
13097   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\nios2-epcs.h
13098   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\nios2-io.h
13099   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\nios2.h
13100   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\ns16550.h
13101   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\ns7520_eth.h
13102   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\ns87308.h
13103   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\ns9750_bbus.h
13104   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\ns9750_eth.h
13105   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\ns9750_mem.h
13106   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\ns9750_ser.h
13107   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\ns9750_sys.h
13108   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\part.h
13109   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\pci.h
13110   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\pci_ids.h
13111   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\pcmcia
13112   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\pcmcia.h
13113   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\pc_keyb.h
13114   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\post.h
13115   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\ppc405.h
13116   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\ppc440.h
13117   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\ppc4xx.h
13118   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\ppc4xx_enet.h
13119   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\ppc_asm.tmpl
13120   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\ppc_defs.h
13121   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\ps2mult.h
13122   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\reiserfs.h
13123   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\rtc.h
13124   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\s3c2400.h
13125   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\s3c2410.h
13126   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\s3c24x0.h
13127   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\SA-1100.h
13128   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\sa1100.h
13129   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\scsi.h
13130   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\sed13806.h
13131   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\sed156x.h
13132   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\serial.h
13133   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\sm501.h
13134   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\smiLynxEM.h
13135   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\spartan2.h
13136   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\spartan3.h
13137   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\spd.h
13138   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\spd_sdram.h
13139   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\spi.h
13140   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\status_led.h
13141   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\sym53c8xx.h
13142   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\systemace.h
13143   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\s_record.h
13144   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\ubnt_api_calls.h
13145   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\universe.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 200 of 285 PageID #:786
13146   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\usb.h
13147   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\usbdcore.h
13148   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\usbdcore_ep0.h
13149   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\usbdcore_omap1510.h
13150   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\usbdescriptors.h
13151   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\usb_defs.h
13152   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\version.h
13153   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\vfd_logo.h
13154   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\video.h
13155   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\video_ad7176.h
13156   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\video_ad7177.h
13157   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\video_ad7179.h
13158   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\video_easylogo.h
13159   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\video_fb.h
13160   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\video_font.h
13161   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\video_logo.h
13162   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\virtex2.h
13163   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\w83c553f.h
13164   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\watchdog.h
13165   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\xilinx.h
13166   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\xyzModem.h
13167   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\zlib.h
13168   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\_exports.h
13169   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-arm1136
13170   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-arm720t
13171   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-arm925t
13172   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-arm926ejs
13173   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-at91rm9200
13174   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-imx
13175   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-ixp
13176   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-ks8695
13177   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-pxa
13178   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-s3c24x0
13179   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-s3c44b0
13180   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-sa1100
13181   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\atomic.h
13182   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\bitops.h
13183   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\byteorder.h
13184   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\errno.h
13185   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\global_data.h
13186   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\hardware.h
13187   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\io.h
13188   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\mach-types.h
13189   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\memory.h
13190   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\posix_types.h
13191   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\proc-armv
13192   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\processor.h
13193   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\ptrace.h
13194   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\setup.h
13195   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\sizes.h
13196   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\string.h
13197   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\types.h
13198   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\u-boot-arm.h
13199   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\u-boot.h
13200   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-arm1136\bits.h
13201   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-arm1136\clocks.h
13202   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-arm1136\i2c.h
13203   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-arm1136\mem.h
13204   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-arm1136\mux.h
13205   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-arm1136\omap2420.h
13206   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-arm1136\sizes.h
13207   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-arm1136\sys_info.h
13208   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-arm1136\sys_proto.h
13209   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-arm720t\hardware.h
13210   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-arm720t\netarm_dma_module.h
13211   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-arm720t\netarm_eni_module.h
13212   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-arm720t\netarm_eth_module.h
13213   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-arm720t\netarm_gen_module.h
13214   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-arm720t\netarm_mem_module.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 201 of 285 PageID #:787
13215   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-arm720t\netarm_registers.h
13216   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-arm720t\netarm_ser_module.h
13217   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-arm720t\s3c4510b.h
13218   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-arm925t\sizes.h
13219   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-arm926ejs\sizes.h
13220   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-at91rm9200\AT91RM9200.h
13221   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-at91rm9200\hardware.h
13222   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-imx\imx-regs.h
13223   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-ixp\ixp425.h
13224   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-ixp\ixp425pci.h
13225   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-ks8695\platform.h
13226   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-pxa\bitfield.h
13227   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-pxa\hardware.h
13228   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-pxa\mmc.h
13229   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-pxa\pxa-regs.h
13230   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-s3c24x0\memory.h
13231   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-s3c44b0\hardware.h
13232   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\arch-sa1100\bitfield.h
13233   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\proc-armv\domain.h
13234   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\proc-armv\processor.h
13235   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\proc-armv\ptrace.h
13236   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-arm\proc-armv\system.h
13237   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\bitops.h
13238   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\blackfin.h
13239   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\blackfin_defs.h
13240   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\byteorder.h
13241   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\cplb.h
13242   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\cplbtab.h
13243   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\cpu
13244   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\current.h
13245   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\delay.h
13246   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\entry.h
13247   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\errno.h
13248   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\global_data.h
13249   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\hw_irq.h
13250   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\io-kernel.h
13251   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\io.h
13252   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\irq.h
13253   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\linkage.h
13254   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\machdep.h
13255   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\mem_init.h
13256   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\page.h
13257   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\page_offset.h
13258   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\posix_types.h
13259   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\processor.h
13260   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\ptrace.h
13261   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\segment.h
13262   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\setup.h
13263   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\shared_resources.h
13264   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\string.h
13265   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\system.h
13266   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\traps.h
13267   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\types.h
13268   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\u-boot.h
13269   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\uaccess.h
13270   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\virtconvert.h
13271   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\cpu\bf533_irq.h
13272   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\cpu\bf533_rtc.h
13273   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\cpu\bf533_serial.h
13274   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\cpu\cdefBF531.h
13275   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\cpu\cdefBF532.h
13276   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\cpu\cdefBF533.h
13277   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\cpu\cdefBF53x.h
13278   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\cpu\cdef_LPBlackfin.h
13279   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\cpu\defBF531.h
13280   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\cpu\defBF532.h
13281   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\cpu\defBF533.h
13282   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\cpu\defBF533_extn.h
13283   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-blackfin\cpu\def_LPBlackfin.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 202 of 285 PageID #:788
13284   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-i386\bitops.h
13285   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-i386\byteorder.h
13286   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-i386\global_data.h
13287   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-i386\i8254.h
13288   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-i386\i8259.h
13289   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-i386\ibmpc.h
13290   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-i386\ic
13291   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-i386\io.h
13292   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-i386\pci.h
13293   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-i386\posix_types.h
13294   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-i386\processor.h
13295   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-i386\ptrace.h
13296   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-i386\realmode.h
13297   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-i386\string.h
13298   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-i386\types.h
13299   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-i386\u-boot-i386.h
13300   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-i386\u-boot.h
13301   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-i386\zimage.h
13302   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-i386\ic\ali512x.h
13303   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-i386\ic\sc520.h
13304   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-m68k\bitops.h
13305   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-m68k\byteorder.h
13306   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-m68k\fec.h
13307   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-m68k\global_data.h
13308   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-m68k\immap_5249.h
13309   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-m68k\immap_5272.h
13310   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-m68k\immap_5282.h
13311   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-m68k\io.h
13312   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-m68k\m5249.h
13313   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-m68k\m5272.h
13314   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-m68k\m5282.h
13315   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-m68k\mcftimer.h
13316   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-m68k\mcfuart.h
13317   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-m68k\posix_types.h
13318   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-m68k\processor.h
13319   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-m68k\ptrace.h
13320   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-m68k\string.h
13321   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-m68k\types.h
13322   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-m68k\u-boot.h
13323   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-microblaze\arch-microblaze
13324   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-microblaze\bitops.h
13325   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-microblaze\byteorder.h
13326   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-microblaze\global_data.h
13327   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-microblaze\io.h
13328   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-microblaze\platform.h
13329   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-microblaze\posix_types.h
13330   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-microblaze\processor.h
13331   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-microblaze\ptrace.h
13332   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-microblaze\serial_xuartlite.h
13333   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-microblaze\string.h
13334   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-microblaze\suzaku.h
13335   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-microblaze\system.h
13336   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-microblaze\types.h
13337   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-microblaze\u-boot.h
13338   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-microblaze\arch-microblaze\xbasic_types.h
13339   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-microblaze\arch-microblaze\xio.h
13340   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-microblaze\arch-microblaze\xuartlite_l.h
13341   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-mips\addrspace.h
13342   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-mips\au1x00.h
13343   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-mips\bitops.h
13344   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-mips\byteorder.h
13345   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-mips\cachectl.h
13346   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-mips\cacheops.h
13347   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-mips\global_data.h
13348   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-mips\inca-ip.h
13349   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-mips\io.h
13350   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-mips\isadep.h
13351   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-mips\mipsregs.h
13352   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-mips\posix_types.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 203 of   285 PageID #:789
13353   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-mips\processor.h
13354   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-mips\ptrace.h
13355   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-mips\reg.h
13356   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-mips\regdef.h
13357   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-mips\sgidefs.h
13358   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-mips\string.h
13359   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-mips\system.h
13360   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-mips\types.h
13361   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-mips\u-boot.h
13362   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-nios\bitops.h
13363   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-nios\byteorder.h
13364   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-nios\cache.h
13365   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-nios\global_data.h
13366   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-nios\io.h
13367   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-nios\posix_types.h
13368   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-nios\processor.h
13369   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-nios\psr.h
13370   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-nios\ptrace.h
13371   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-nios\status_led.h
13372   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-nios\string.h
13373   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-nios\system.h
13374   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-nios\types.h
13375   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-nios\u-boot.h
13376   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-nios2\bitops.h
13377   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-nios2\byteorder.h
13378   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-nios2\cache.h
13379   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-nios2\global_data.h
13380   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-nios2\io.h
13381   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-nios2\opcodes.h
13382   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-nios2\posix_types.h
13383   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-nios2\processor.h
13384   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-nios2\psr.h
13385   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-nios2\ptrace.h
13386   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-nios2\status_led.h
13387   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-nios2\string.h
13388   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-nios2\system.h
13389   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-nios2\types.h
13390   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-nios2\u-boot.h
13391   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\5xx_immap.h
13392   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\8xx_immap.h
13393   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\atomic.h
13394   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\bitops.h
13395   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\byteorder.h
13396   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\cache.h
13397   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\cpm_8260.h
13398   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\cpm_85xx.h
13399   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\e300.h
13400   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\errno.h
13401   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\global_data.h
13402   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\i2c.h
13403   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\immap_8220.h
13404   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\immap_8260.h
13405   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\immap_83xx.h
13406   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\immap_85xx.h
13407   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\io.h
13408   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\iopin_8260.h
13409   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\iopin_85xx.h
13410   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\iopin_8xx.h
13411   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\m8260_pci.h
13412   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\mc146818rtc.h
13413   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\mmu.h
13414   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\mpc8349_pci.h
13415   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\pci_io.h
13416   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\pnp.h
13417   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\posix_types.h
13418   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\processor.h
13419   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\ptrace.h
13420   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\residual.h
13421   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\sigcontext.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 204 of 285   PageID #:790
13422   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\signal.h
13423   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\status_led.h
13424   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\string.h
13425   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\types.h
13426   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\asm-ppc\u-boot.h
13427   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\bedbug\bedbug.h
13428   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\bedbug\ppc.h
13429   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\bedbug\regs.h
13430   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\bedbug\tables.h
13431   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\bedbug\type.h
13432   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\A3000.h
13433   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ADCIOP.h
13434   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\Adder.h
13435   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ADNPESC1.h
13436   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ADNPESC1_base_32.h
13437   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ADS860.h
13438   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\adsvix.h
13439   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\aev.h
13440   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\Alaska8220.h
13441   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\AmigaOneG3SE.h
13442   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\AMX860.h
13443   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\AP1000.h
13444   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ap81.h
13445   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ap83.h
13446   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ap91.h
13447   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ap93.h
13448   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ap94.h
13449   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ap94min.h
13450   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ap96.h
13451   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ap99.h
13452   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\APC405.h
13453   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\AR405.h
13454   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ar7100.h
13455   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ar7240.h
13456   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ar7240_emu.h
13457   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\armadillo.h
13458   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ASH405.h
13459   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\assabet.h
13460   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\at91rm9200dk.h
13461   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\atc.h
13462   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\B2.h
13463   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\BAB7xx.h
13464   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\bamboo.h
13465   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\barco.h
13466   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\BMW.h
13467   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\bubinga.h
13468   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\c2mon.h
13469   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\CANBT.h
13470   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\canmb.h
13471   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\CATcenter.h
13472   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\CCM.h
13473   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\cerf250.h
13474   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\cm4008.h
13475   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\cm41xx.h
13476   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\cmc_pu2.h
13477   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\cmi_mpc5xx.h
13478   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\CMS700.h
13479   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\cobra5272.h
13480   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\cogent_common.h
13481   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\cogent_mpc8260.h
13482   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\cogent_mpc8xx.h
13483   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\CPC45.h
13484   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\CPCI2DP.h
13485   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\CPCI405.h
13486   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\CPCI4052.h
13487   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\CPCI405AB.h
13488   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\CPCI405DT.h
13489   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\CPCI440.h
13490   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\cpci5200.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 205 of 285 PageID   #:791
13491   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\CPCI750.h
13492   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\CPCIISER4.h
13493   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\CPU86.h
13494   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\CPU87.h
13495   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\cradle.h
13496   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\CRAYL1.h
13497   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\csb226.h
13498   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\csb272.h
13499   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\csb472.h
13500   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\csb637.h
13501   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\CU824.h
13502   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\cus97.h
13503   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\DASA_SIM.h
13504   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\DB64360.h
13505   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\DB64460.h
13506   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\dbau1x00.h
13507   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\debris.h
13508   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\delta.h
13509   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\DK1C20.h
13510   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\DK1C20_safe_32.h
13511   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\DK1C20_standard_32.h
13512   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\DK1S10.h
13513   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\DK1S10_mtx_ldk_20.h
13514   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\DK1S10_safe_32.h
13515   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\DK1S10_standard_32.h
13516   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\dnp1110.h
13517   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\DP405.h
13518   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\DU405.h
13519   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ebony.h
13520   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ELPPC.h
13521   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ELPT860.h
13522   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ep7312.h
13523   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ep8248.h
13524   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ep8260.h
13525   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\EP88x.h
13526   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ERIC.h
13527   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ESTEEM192E.h
13528   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ETX094.h
13529   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\evb4510.h
13530   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\EVB64260.h
13531   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\eXalion.h
13532   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\EXBITGEN.h
13533   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ezkit533.h
13534   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\FADS823.h
13535   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\FADS850SAR.h
13536   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\FADS860T.h
13537   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\FLAGADM.h
13538   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\FPS850L.h
13539   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\FPS860L.h
13540   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\G2000.h
13541   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\gcplus.h
13542   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\GEN860T.h
13543   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\GENIETV.h
13544   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\GTH.h
13545   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\gw8260.h
13546   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\h2_p2_dbg_board.h
13547   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\hermes.h
13548   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\HH405.h
13549   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\HIDDEN_DRAGON.h
13550   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\HMI10.h
13551   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\hmi1001.h
13552   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\HUB405.h
13553   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\hymod.h
13554   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\IAD210.h
13555   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\IceCube.h
13556   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ICU862.h
13557   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\IDS8247.h
13558   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\impa7.h
13559   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\incaip.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 206 of   285 PageID #:792
13560   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\inka4x0.h
13561   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\innokom.h
13562   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\integratorap.h
13563   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\integratorcp.h
13564   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\IP860.h
13565   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\IPHASE4539.h
13566   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ISPAN.h
13567   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\IVML24.h
13568   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\IVMS8.h
13569   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ixdp425.h
13570   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\JSE.h
13571   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\KAREF.h
13572   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\kb9202.h
13573   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\KUP4K.h
13574   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\KUP4X.h
13575   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\LANTEC.h
13576   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\lart.h
13577   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\logodl.h
13578   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\lpd7a400-10.h
13579   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\lpd7a400.h
13580   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\lpd7a404-10.h
13581   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\lpd7a404.h
13582   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\luan.h
13583   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\lubbock.h
13584   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\lwmon.h
13585   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\M5272C3.h
13586   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\M5282EVB.h
13587   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\MBX.h
13588   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\MBX860T.h
13589   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\mcc200.h
13590   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\METROBOX.h
13591   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\MHPC.h
13592   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\MIP405.h
13593   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ML2.h
13594   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ml300.h
13595   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\modnet50.h
13596   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\MOUSSE.h
13597   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\mp2usb.h
13598   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\MPC8260ADS.h
13599   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\MPC8266ADS.h
13600   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\MPC8349ADS.h
13601   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\MPC8349EMDS.h
13602   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\MPC8540ADS.h
13603   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\MPC8540EVAL.h
13604   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\MPC8541CDS.h
13605   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\MPC8548CDS.h
13606   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\MPC8555CDS.h
13607   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\MPC8560ADS.h
13608   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\MPC86xADS.h
13609   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\MPC885ADS.h
13610   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\MUSENKI.h
13611   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\MVBLUE.h
13612   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\MVS1.h
13613   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\mx1ads.h
13614   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\mx1fs2.h
13615   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\NC650.h
13616   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\NETPHONE.h
13617   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\netstar.h
13618   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\NETTA.h
13619   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\NETTA2.h
13620   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\NETVIA.h
13621   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ns9750dev.h
13622   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\NSCU.h
13623   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\NX823.h
13624   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\o2dnt.h
13625   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ocotea.h
13626   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\OCRTC.h
13627   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\omap1510.h
13628   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\omap1510inn.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 207 of 285   PageID #:793
13629   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\omap1610h2.h
13630   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\omap1610inn.h
13631   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\omap2420h4.h
13632   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\omap5912osk.h
13633   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\omap730.h
13634   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\omap730p2.h
13635   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ORSG.h
13636   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\OXC.h
13637   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\P3G4.h
13638   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\p3p440.h
13639   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\PATI.h
13640   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\pb1x00.h
13641   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\pb42.h
13642   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\pb45.h
13643   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\PCI405.h
13644   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\PCI5441.h
13645   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\PCIPPC2.h
13646   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\PCIPPC6.h
13647   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\pcu_e.h
13648   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\pf5200.h
13649   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\PIP405.h
13650   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\PK1C20.h
13651   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\pleb2.h
13652   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\PLU405.h
13653   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\PM520.h
13654   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\PM826.h
13655   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\PM828.h
13656   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\PM854.h
13657   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\PM856.h
13658   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\PMC405.h
13659   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\PN62.h
13660   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\PPChameleonEVB.h
13661   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ppmc8260.h
13662   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\purple.h
13663   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\pxa255_idp.h
13664   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\QS823.h
13665   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\QS850.h
13666   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\QS860T.h
13667   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\quantum.h
13668   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\R360MPI.h
13669   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\Rattler.h
13670   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\RBC823.h
13671   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\rmu.h
13672   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\RPXClassic.h
13673   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\RPXlite.h
13674   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\RPXlite_DW.h
13675   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\RPXsuper.h
13676   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\RRvision.h
13677   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\rsdproto.h
13678   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\sacsng.h
13679   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\Sandpoint8240.h
13680   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\Sandpoint8245.h
13681   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\sbc405.h
13682   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\sbc8240.h
13683   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\sbc8260.h
13684   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\SBC8540.h
13685   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\sbc8560.h
13686   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\sc520_cdp.h
13687   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\sc520_spunk.h
13688   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\sc520_spunk_rel.h
13689   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\scb9328.h
13690   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\SCM.h
13691   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\shannon.h
13692   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\SL8245.h
13693   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\SM850.h
13694   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\smdk2400.h
13695   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\smdk2410.h
13696   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\smmaco4.h
13697   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\sorcery.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 208   of 285 PageID #:794
13698   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\SPD823TS.h
13699   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\spieval.h
13700   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\stamp.h
13701   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\stxgp3.h
13702   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\stxxtc.h
13703   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\suzaku.h
13704   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\svm_sc8xx.h
13705   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\SX1.h
13706   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\SXNI855T.h
13707   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\TASREG.h
13708   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\tb0229.h
13709   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\tb225.h
13710   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\tb243.h
13711   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\tb317.h
13712   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\tb327.h
13713   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\TOP5200.h
13714   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\TOP860.h
13715   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\Total5200.h
13716   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\TQM5200.h
13717   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\TQM823L.h
13718   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\TQM823M.h
13719   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\TQM8260.h
13720   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\TQM834x.h
13721   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\TQM850L.h
13722   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\TQM850M.h
13723   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\TQM855L.h
13724   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\TQM855M.h
13725   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\TQM85xx.h
13726   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\TQM860L.h
13727   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\TQM860M.h
13728   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\TQM862L.h
13729   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\TQM862M.h
13730   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\TQM866M.h
13731   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\trab.h
13732   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ubnt-xm.h
13733   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\uc100.h
13734   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\utx8245.h
13735   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\v37.h
13736   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\VCMA9.h
13737   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\versatile.h
13738   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\VOH405.h
13739   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\voiceblue.h
13740   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\VOM405.h
13741   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\VoVPN-GW.h
13742   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\W7OLMC.h
13743   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\W7OLMG.h
13744   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\walnut.h
13745   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\wepep250.h
13746   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\wrt54g.h
13747   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\WUH405.h
13748   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\xaeniax.h
13749   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\xm250.h
13750   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\XPEDITE1K.h
13751   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\xsengine.h
13752   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\yellowstone.h
13753   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\yosemite.h
13754   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\Yukon8220.h
13755   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ZPC1900.h
13756   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\ZUMA.h
13757   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\configs\zylonite.h
13758   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\cramfs\cramfs_fs.h
13759   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\cramfs\cramfs_fs_sb.h
13760   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\galileo\core.h
13761   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\galileo\gt64260R.h
13762   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\galileo\memory.h
13763   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\galileo\pci.h
13764   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\jffs2\compr_rubin.h
13765   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\jffs2\jffs2.h
13766   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\jffs2\jffs2_1pass.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 209 of 285 PageID   #:795
13767   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\jffs2\load_kernel.h
13768   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\jffs2\mini_inflate.h
13769   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\linux\bitops.h
13770   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\linux\byteorder
13771   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\linux\config.h
13772   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\linux\ctype.h
13773   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\linux\list.h
13774   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\linux\mc146818rtc.h
13775   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\linux\mtd
13776   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\linux\posix_types.h
13777   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\linux\stat.h
13778   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\linux\stddef.h
13779   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\linux\string.h
13780   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\linux\time.h
13781   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\linux\types.h
13782   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\linux\byteorder\big_endian.h
13783   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\linux\byteorder\generic.h
13784   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\linux\byteorder\little_endian.h
13785   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\linux\byteorder\swab.h
13786   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\linux\mtd\compat.h
13787   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\linux\mtd\doc2000.h
13788   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\linux\mtd\mtd-abi.h
13789   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\linux\mtd\mtd.h
13790   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\linux\mtd\nand.h
13791   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\linux\mtd\nand_ecc.h
13792   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\linux\mtd\nand_ids.h
13793   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\linux\mtd\nand_legacy.h
13794   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\linux\mtd\nftl.h
13795   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\pcmcia\cirrus.h
13796   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\pcmcia\i82365.h
13797   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\pcmcia\ss.h
13798   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\pcmcia\ti113x.h
13799   GPL.UBNT.v6.1.7\uboot\uboot-xm\include\pcmcia\yenta.h
13800   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_arm\armlinux.c
13801   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_arm\board.c
13802   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_arm\cache.c
13803   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_arm\div0.c
13804   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_arm\Makefile
13805   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_arm\_udivsi3.S
13806   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_arm\_umodsi3.S
13807   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_blackfin\bf533_linux.c
13808   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_blackfin\bf533_string.c
13809   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_blackfin\blackfin_board.h
13810   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_blackfin\board.c
13811   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_blackfin\cache.c
13812   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_blackfin\Makefile
13813   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_blackfin\muldi3.c
13814   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_generic\bzlib.c
13815   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_generic\bzlib_crctable.c
13816   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_generic\bzlib_decompress.c
13817   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_generic\bzlib_huffman.c
13818   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_generic\bzlib_private.h
13819   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_generic\bzlib_randtable.c
13820   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_generic\crc32.c
13821   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_generic\ctype.c
13822   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_generic\display_options.c
13823   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_generic\ldiv.c
13824   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_generic\LzmaDecode.c
13825   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_generic\LzmaDecode.h
13826   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_generic\LzmaTypes.h
13827   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_generic\LzmaWrapper.c
13828   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_generic\Makefile
13829   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_generic\string.c
13830   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_generic\vsprintf.c
13831   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_generic\zlib.c
13832   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_i386\bios.h
13833   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_i386\bios.S
13834   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_i386\bios_pci.S
13835   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_i386\bios_setup.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 210 of 285   PageID #:796
13836   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_i386\board.c
13837   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_i386\i386_linux.c
13838   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_i386\Makefile
13839   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_i386\pci.c
13840   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_i386\pci_type1.c
13841   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_i386\realmode.c
13842   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_i386\realmode_switch.S
13843   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_i386\video.c
13844   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_i386\video_bios.c
13845   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_i386\zimage.c
13846   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_m68k\board.c
13847   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_m68k\cache.c
13848   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_m68k\m68k_linux.c
13849   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_m68k\Makefile
13850   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_m68k\time.c
13851   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_m68k\traps.c
13852   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_microblaze\board.c
13853   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_microblaze\cache.c
13854   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_microblaze\Makefile
13855   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_microblaze\microblaze_linux.c
13856   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_microblaze\time.c
13857   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_mips\board.c
13858   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_mips\Makefile
13859   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_mips\mips_linux.c
13860   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_mips\time.c
13861   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_nios\board.c
13862   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_nios\cache.c
13863   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_nios\divmod.c
13864   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_nios\Makefile
13865   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_nios\math.h
13866   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_nios\mult.c
13867   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_nios\nios_linux.c
13868   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_nios\time.c
13869   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_nios2\board.c
13870   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_nios2\cache.S
13871   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_nios2\divmod.c
13872   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_nios2\Makefile
13873   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_nios2\math.h
13874   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_nios2\mult.c
13875   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_nios2\nios_linux.c
13876   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_nios2\time.c
13877   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_ppc\bat_rw.c
13878   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_ppc\board.c
13879   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_ppc\cache.c
13880   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_ppc\extable.c
13881   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_ppc\interrupts.c
13882   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_ppc\kgdb.c
13883   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_ppc\Makefile
13884   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_ppc\ppcstring.S
13885   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_ppc\ticks.S
13886   GPL.UBNT.v6.1.7\uboot\uboot-xm\lib_ppc\time.c
13887   GPL.UBNT.v6.1.7\uboot\uboot-xm\net\bootp.c
13888   GPL.UBNT.v6.1.7\uboot\uboot-xm\net\bootp.h
13889   GPL.UBNT.v6.1.7\uboot\uboot-xm\net\eth.c
13890   GPL.UBNT.v6.1.7\uboot\uboot-xm\net\Makefile
13891   GPL.UBNT.v6.1.7\uboot\uboot-xm\net\net.c
13892   GPL.UBNT.v6.1.7\uboot\uboot-xm\net\nfs.c
13893   GPL.UBNT.v6.1.7\uboot\uboot-xm\net\nfs.h
13894   GPL.UBNT.v6.1.7\uboot\uboot-xm\net\rarp.c
13895   GPL.UBNT.v6.1.7\uboot\uboot-xm\net\rarp.h
13896   GPL.UBNT.v6.1.7\uboot\uboot-xm\net\sntp.c
13897   GPL.UBNT.v6.1.7\uboot\uboot-xm\net\sntp.h
13898   GPL.UBNT.v6.1.7\uboot\uboot-xm\net\tftp.c
13899   GPL.UBNT.v6.1.7\uboot\uboot-xm\net\tftp.h
13900   GPL.UBNT.v6.1.7\uboot\uboot-xm\net\tftp_server.c
13901   GPL.UBNT.v6.1.7\uboot\uboot-xm\net\tftp_server.h
13902   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\cache.c
13903   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\cache_8xx.S
13904   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\codec.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18   Page 211 of 285 PageID #:797
13905   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\cpu
13906   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\cpu.c
13907   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\dsp.c
13908   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\ether.c
13909   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\i2c.c
13910   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\Makefile
13911   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\memory.c
13912   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\post.c
13913   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\rtc.c
13914   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\rules.mk
13915   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\spr.c
13916   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\sysmon.c
13917   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\tests.c
13918   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\uart.c
13919   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\usb.c
13920   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\watchdog.c
13921   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\cpu\andi.c
13922   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\cpu\asm.S
13923   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\cpu\b.c
13924   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\cpu\cmp.c
13925   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\cpu\cmpi.c
13926   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\cpu\complex.c
13927   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\cpu\cpu_asm.h
13928   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\cpu\cr.c
13929   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\cpu\load.c
13930   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\cpu\Makefile
13931   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\cpu\multi.c
13932   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\cpu\rlwimi.c
13933   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\cpu\rlwinm.c
13934   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\cpu\rlwnm.c
13935   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\cpu\srawi.c
13936   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\cpu\store.c
13937   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\cpu\string.c
13938   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\cpu\three.c
13939   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\cpu\threei.c
13940   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\cpu\threex.c
13941   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\cpu\two.c
13942   GPL.UBNT.v6.1.7\uboot\uboot-xm\post\cpu\twox.c
13943   GPL.UBNT.v6.1.7\uboot\uboot-xm\rtc\bf533_rtc.c
13944   GPL.UBNT.v6.1.7\uboot\uboot-xm\rtc\date.c
13945   GPL.UBNT.v6.1.7\uboot\uboot-xm\rtc\ds12887.c
13946   GPL.UBNT.v6.1.7\uboot\uboot-xm\rtc\ds1302.c
13947   GPL.UBNT.v6.1.7\uboot\uboot-xm\rtc\ds1306.c
13948   GPL.UBNT.v6.1.7\uboot\uboot-xm\rtc\ds1307.c
13949   GPL.UBNT.v6.1.7\uboot\uboot-xm\rtc\ds1337.c
13950   GPL.UBNT.v6.1.7\uboot\uboot-xm\rtc\ds1374.c
13951   GPL.UBNT.v6.1.7\uboot\uboot-xm\rtc\ds1556.c
13952   GPL.UBNT.v6.1.7\uboot\uboot-xm\rtc\ds164x.c
13953   GPL.UBNT.v6.1.7\uboot\uboot-xm\rtc\ds174x.c
13954   GPL.UBNT.v6.1.7\uboot\uboot-xm\rtc\m41t11.c
13955   GPL.UBNT.v6.1.7\uboot\uboot-xm\rtc\m48t35ax.c
13956   GPL.UBNT.v6.1.7\uboot\uboot-xm\rtc\Makefile
13957   GPL.UBNT.v6.1.7\uboot\uboot-xm\rtc\max6900.c
13958   GPL.UBNT.v6.1.7\uboot\uboot-xm\rtc\mc146818.c
13959   GPL.UBNT.v6.1.7\uboot\uboot-xm\rtc\mk48t59.c
13960   GPL.UBNT.v6.1.7\uboot\uboot-xm\rtc\mpc5xxx.c
13961   GPL.UBNT.v6.1.7\uboot\uboot-xm\rtc\mpc8xx.c
13962   GPL.UBNT.v6.1.7\uboot\uboot-xm\rtc\pcf8563.c
13963   GPL.UBNT.v6.1.7\uboot\uboot-xm\rtc\rs5c372.c
13964   GPL.UBNT.v6.1.7\uboot\uboot-xm\rtc\s3c24x0_rtc.c
13965   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\bddb
13966   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\bmp_logo.c
13967   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\crc32.c
13968   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\easylogo
13969   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\env
13970   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\envcrc.c
13971   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\environment.c
13972   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\gdb
13973   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\gen_eth_addr.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 212   of 285 PageID #:798
13974   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\img2brec.sh
13975   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\img2srec.c
13976   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\inca-swap-bytes.c
13977   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\keygen.c
13978   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\logos
13979   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\Makefile
13980   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\Makefile.win32
13981   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\mkimage.c
13982   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\mpc86x_clk.c
13983   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\ncb.c
13984   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\scripts
13985   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\setlocalversion
13986   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\updater
13987   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\bddb\badsubmit.php
13988   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\bddb\bddb.css
13989   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\bddb\brlog.php
13990   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\bddb\browse.php
13991   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\bddb\config.php
13992   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\bddb\create_tables.sql
13993   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\bddb\defs.php
13994   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\bddb\dodelete.php
13995   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\bddb\dodellog.php
13996   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\bddb\doedit.php
13997   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\bddb\doedlog.php
13998   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\bddb\donew.php
13999   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\bddb\donewlog.php
14000   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\bddb\edit.php
14001   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\bddb\edlog.php
14002   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\bddb\execute.php
14003   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\bddb\index.php
14004   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\bddb\new.php
14005   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\bddb\newlog.php
14006   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\bddb\README
14007   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\easylogo\easylogo.c
14008   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\easylogo\linux_logo.tga
14009   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\easylogo\Makefile
14010   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\easylogo\runme.sh
14011   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\env\fw_env.c
14012   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\env\fw_env.config
14013   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\env\fw_env.h
14014   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\env\fw_env_main.c
14015   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\env\Makefile
14016   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\env\README
14017   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\gdb\error.c
14018   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\gdb\error.h
14019   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\gdb\gdbcont.c
14020   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\gdb\gdbsend.c
14021   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\gdb\Makefile
14022   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\gdb\remote.c
14023   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\gdb\remote.h
14024   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\gdb\serial.c
14025   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\gdb\serial.h
14026   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\logos\denx.bmp
14027   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\scripts\dot.kermrc
14028   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\scripts\flash_param
14029   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\scripts\README
14030   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\scripts\send_cmd
14031   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\scripts\send_image
14032   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\updater\cmd_flash.c
14033   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\updater\ctype.c
14034   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\updater\dummy.c
14035   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\updater\flash.c
14036   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\updater\flash_hw.c
14037   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\updater\junk
14038   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\updater\Makefile
14039   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\updater\ppcstring.S
14040   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\updater\string.c
14041   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\updater\update.c
14042   GPL.UBNT.v6.1.7\uboot\uboot-xm\tools\updater\utils.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page   213 of 285 PageID #:799
14043   GPL.UBNT.v6.1.7\uboot\uboot-xw\.gitignore
14044   GPL.UBNT.v6.1.7\uboot\uboot-xw\.project
14045   GPL.UBNT.v6.1.7\uboot\uboot-xw\arm_config.mk
14046   GPL.UBNT.v6.1.7\uboot\uboot-xw\blackfin_config.mk
14047   GPL.UBNT.v6.1.7\uboot\uboot-xw\board
14048   GPL.UBNT.v6.1.7\uboot\uboot-xw\boot
14049   GPL.UBNT.v6.1.7\uboot\uboot-xw\build_requires
14050   GPL.UBNT.v6.1.7\uboot\uboot-xw\CHANGELOG
14051   GPL.UBNT.v6.1.7\uboot\uboot-xw\common
14052   GPL.UBNT.v6.1.7\uboot\uboot-xw\config.mk
14053   GPL.UBNT.v6.1.7\uboot\uboot-xw\COPYING
14054   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu
14055   GPL.UBNT.v6.1.7\uboot\uboot-xw\CREDITS
14056   GPL.UBNT.v6.1.7\uboot\uboot-xw\disk
14057   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc
14058   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers
14059   GPL.UBNT.v6.1.7\uboot\uboot-xw\dtt
14060   GPL.UBNT.v6.1.7\uboot\uboot-xw\examples
14061   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs
14062   GPL.UBNT.v6.1.7\uboot\uboot-xw\i386_config.mk
14063   GPL.UBNT.v6.1.7\uboot\uboot-xw\include
14064   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_arm
14065   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_blackfin
14066   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_bootstrap
14067   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_generic
14068   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_i386
14069   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_m68k
14070   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_microblaze
14071   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_mips
14072   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_nios
14073   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_nios2
14074   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_ppc
14075   GPL.UBNT.v6.1.7\uboot\uboot-xw\m68k_config.mk
14076   GPL.UBNT.v6.1.7\uboot\uboot-xw\MAINTAINERS
14077   GPL.UBNT.v6.1.7\uboot\uboot-xw\MAKEALL
14078   GPL.UBNT.v6.1.7\uboot\uboot-xw\Makefile
14079   GPL.UBNT.v6.1.7\uboot\uboot-xw\microblaze_config.mk
14080   GPL.UBNT.v6.1.7\uboot\uboot-xw\mips_config.mk
14081   GPL.UBNT.v6.1.7\uboot\uboot-xw\mkconfig
14082   GPL.UBNT.v6.1.7\uboot\uboot-xw\net
14083   GPL.UBNT.v6.1.7\uboot\uboot-xw\nios2_config.mk
14084   GPL.UBNT.v6.1.7\uboot\uboot-xw\nios_config.mk
14085   GPL.UBNT.v6.1.7\uboot\uboot-xw\post
14086   GPL.UBNT.v6.1.7\uboot\uboot-xw\ppc_config.mk
14087   GPL.UBNT.v6.1.7\uboot\uboot-xw\README
14088   GPL.UBNT.v6.1.7\uboot\uboot-xw\rtc
14089   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools
14090   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\a3000
14091   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\adder
14092   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\adsvix
14093   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\alaska
14094   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\altera
14095   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc
14096   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amirix
14097   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100
14098   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240
14099   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\armadillo
14100   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\assabet
14101   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\at91rm9200dk
14102   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\atc
14103   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\AtmarkTechno
14104   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\barco
14105   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\bmw
14106   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\c2mon
14107   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\canmb
14108   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cds
14109   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cerf250
14110   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cm4008
14111   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cm41xx
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18   Page 214 of 285 PageID #:800
14112   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cmc_pu2
14113   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cmi
14114   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cobra5272
14115   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cogent
14116   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cpc45
14117   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cpu86
14118   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cpu87
14119   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cradle
14120   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cray
14121   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\csb226
14122   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\csb272
14123   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\csb472
14124   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\csb637
14125   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cu824
14126   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\dave
14127   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\dbau1x00
14128   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\delta
14129   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\dnp1110
14130   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eltec
14131   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\emk
14132   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ep7312
14133   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ep8248
14134   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ep8260
14135   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ep88x
14136   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eric
14137   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd
14138   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esteem192e
14139   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\etin
14140   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\etx094
14141   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb4510
14142   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb64260
14143   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eXalion
14144   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\exbitgen
14145   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ezkit533
14146   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\fads
14147   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\flagadm
14148   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\funkwerk
14149   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\g2000
14150   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gcplus
14151   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gen860t
14152   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\genietv
14153   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gth
14154   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gw8260
14155   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hermes
14156   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hidden_dragon
14157   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hmi1001
14158   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hymod
14159   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\icecube
14160   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\icu862
14161   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ids8247
14162   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\impa7
14163   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\incaip
14164   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\inka4x0
14165   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\innokom
14166   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\integratorap
14167   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\integratorcp
14168   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ip860
14169   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\iphase4539
14170   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ispan
14171   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ivm
14172   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ixdp425
14173   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\jse
14174   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\kb9202
14175   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\kup
14176   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lantec
14177   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lart
14178   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\LEOX
14179   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\logodl
14180   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lpd7a40x
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18   Page 215 of 285 PageID #:801
14181   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lubbock
14182   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lwmon
14183   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\m5272c3
14184   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\m5282evb
14185   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI
14186   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell
14187   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mbx8xx
14188   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mcc200
14189   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ml2
14190   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\modnet50
14191   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mousse
14192   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mp2usb
14193   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8260ads
14194   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8266ads
14195   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8349ads
14196   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8349emds
14197   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8540ads
14198   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8540eval
14199   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8560ads
14200   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl
14201   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\musenki
14202   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mvblue
14203   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mvs1
14204   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mx1ads
14205   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mx1fs2
14206   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\nc650
14207   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netphone
14208   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netstar
14209   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netta
14210   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netta2
14211   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netvia
14212   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ns9750dev
14213   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\nx823
14214   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\o2dnt
14215   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\omap1510inn
14216   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\omap1610inn
14217   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\omap2420h4
14218   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\omap5912osk
14219   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\omap730p2
14220   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\oxc
14221   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pb1x00
14222   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pcippc2
14223   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pleb2
14224   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pm520
14225   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pm826
14226   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pm828
14227   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pm854
14228   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pm856
14229   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pn62
14230   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ppmc8260
14231   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\prodrive
14232   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\psyent
14233   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\purple
14234   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pxa255_idp
14235   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\quantum
14236   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\r360mpi
14237   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\rattler
14238   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\rbc823
14239   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\rmu
14240   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\RPXClassic
14241   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\RPXlite
14242   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\RPXlite_dw
14243   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\rpxsuper
14244   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\RRvision
14245   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\rsdproto
14246   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sacsng
14247   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandburst
14248   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandpoint
14249   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sbc405
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 216   of 285 PageID #:802
14250   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sbc8240
14251   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sbc8260
14252   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sbc8560
14253   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sc520_cdp
14254   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sc520_spunk
14255   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\scb9328
14256   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\shannon
14257   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens
14258   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sixnet
14259   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sl8245
14260   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\smdk2400
14261   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\smdk2410
14262   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\snmc
14263   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sorcery
14264   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\spd8xx
14265   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ssv
14266   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\stamp
14267   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\stxgp3
14268   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\stxxtc
14269   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\svm_sc8xx
14270   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sx1
14271   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tb0229
14272   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\total5200
14273   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tqm5200
14274   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tqm8260
14275   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tqm834x
14276   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tqm85xx
14277   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tqm8xx
14278   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\trab
14279   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\uc100
14280   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\utx8245
14281   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\v37
14282   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\versatile
14283   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\voiceblue
14284   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\w7o
14285   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\wepep250
14286   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\westel
14287   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xaeniax
14288   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx
14289   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xm250
14290   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xpedite1k
14291   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xsengine
14292   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\zpc1900
14293   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\zylonite
14294   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\a3000\a3000.c
14295   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\a3000\config.mk
14296   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\a3000\flash.c
14297   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\a3000\Makefile
14298   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\a3000\README
14299   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\a3000\u-boot.lds
14300   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\adder\adder.c
14301   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\adder\config.mk
14302   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\adder\Makefile
14303   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\adder\u-boot.lds
14304   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\adsvix\adsvix.c
14305   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\adsvix\config.mk
14306   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\adsvix\lowlevel_init.S
14307   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\adsvix\Makefile
14308   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\adsvix\pcmcia.c
14309   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\adsvix\pxavoltage.S
14310   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\adsvix\u-boot.lds
14311   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\alaska\alaska.c
14312   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\alaska\config.mk
14313   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\alaska\flash.c
14314   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\alaska\Makefile
14315   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\alaska\u-boot.lds
14316   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\altera\common
14317   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\altera\dk1c20
14318   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\altera\dk1s10
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 217 of 285   PageID #:803
14319   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\altera\common\flash.c
14320   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\altera\common\sevenseg.c
14321   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\altera\common\sevenseg.h
14322   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\altera\dk1c20\config.mk
14323   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\altera\dk1c20\dk1c20.c
14324   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\altera\dk1c20\flash.c
14325   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\altera\dk1c20\Makefile
14326   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\altera\dk1c20\misc.c
14327   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\altera\dk1c20\u-boot.lds
14328   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\altera\dk1c20\vectors.S
14329   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\altera\dk1s10\config.mk
14330   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\altera\dk1s10\dk1s10.c
14331   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\altera\dk1s10\flash.c
14332   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\altera\dk1s10\Makefile
14333   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\altera\dk1s10\misc.c
14334   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\altera\dk1s10\u-boot.lds
14335   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\altera\dk1s10\vectors.S
14336   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\bamboo
14337   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\bubinga
14338   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\common
14339   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\ebony
14340   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\luan
14341   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\ocotea
14342   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\walnut
14343   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\yellowstone
14344   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\yosemite
14345   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\bamboo\bamboo.c
14346   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\bamboo\bamboo.h
14347   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\bamboo\config.mk
14348   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\bamboo\flash.c
14349   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\bamboo\init.S
14350   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\bamboo\Makefile
14351   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\bamboo\u-boot.lds
14352   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\bubinga\bubinga.c
14353   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\bubinga\config.mk
14354   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\bubinga\flash.c
14355   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\bubinga\Makefile
14356   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\bubinga\u-boot.lds
14357   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\common\flash.c
14358   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\ebony\config.mk
14359   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\ebony\ebony.c
14360   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\ebony\flash.c
14361   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\ebony\init.S
14362   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\ebony\Makefile
14363   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\ebony\u-boot.lds
14364   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\luan\config.mk
14365   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\luan\epld.h
14366   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\luan\flash.c
14367   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\luan\init.S
14368   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\luan\luan.c
14369   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\luan\Makefile
14370   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\luan\u-boot.lds
14371   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\ocotea\config.mk
14372   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\ocotea\flash.c
14373   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\ocotea\init.S
14374   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\ocotea\Makefile
14375   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\ocotea\ocotea.c
14376   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\ocotea\ocotea.h
14377   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\ocotea\u-boot.lds
14378   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\walnut\config.mk
14379   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\walnut\flash.c
14380   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\walnut\Makefile
14381   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\walnut\u-boot.lds
14382   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\walnut\walnut.c
14383   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\yellowstone\config.mk
14384   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\yellowstone\init.S
14385   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\yellowstone\Makefile
14386   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\yellowstone\u-boot.lds
14387   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\yellowstone\yellowstone.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 218 of 285 PageID #:804
14388   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\yosemite\config.mk
14389   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\yosemite\init.S
14390   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\yosemite\Makefile
14391   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\yosemite\u-boot.lds
14392   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amcc\yosemite\yosemite.c
14393   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amirix\ap1000
14394   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amirix\ap1000\ap1000.c
14395   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amirix\ap1000\ap1000.h
14396   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amirix\ap1000\config.mk
14397   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amirix\ap1000\flash.c
14398   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amirix\ap1000\init.S
14399   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amirix\ap1000\Makefile
14400   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amirix\ap1000\pci.c
14401   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amirix\ap1000\powerspan.c
14402   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amirix\ap1000\powerspan.h
14403   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amirix\ap1000\serial.c
14404   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\amirix\ap1000\u-boot.lds
14405   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\ap81
14406   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\ap83
14407   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\ap94
14408   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\ap96
14409   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\common
14410   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\pb42
14411   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\pb44
14412   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\pb47
14413   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\tb225
14414   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\tb243
14415   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\ap81\ap81.c
14416   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\ap81\config.mk
14417   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\ap81\flash.c
14418   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\ap81\Makefile
14419   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\ap81\u-boot.lds
14420   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\ap83\ap83.c
14421   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\ap83\config.mk
14422   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\ap83\flash.c
14423   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\ap83\Makefile
14424   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\ap83\u-boot.lds
14425   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\ap94\ap94.c
14426   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\ap94\ap94_pci.c
14427   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\ap94\athrs26_phy.c
14428   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\ap94\athrs26_phy.h
14429   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\ap94\config.mk
14430   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\ap94\lowlevel_init.S
14431   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\ap94\Makefile
14432   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\ap94\u-boot.lds
14433   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\ap96\ap96.c
14434   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\ap96\config.mk
14435   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\ap96\Makefile
14436   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\ap96\u-boot.lds
14437   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\common\ar7100_flash.c
14438   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\common\ar7100_flash.h
14439   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\common\ar9100_pflash.c
14440   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\common\athrf1_phy.c
14441   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\common\athrs16_phy.c
14442   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\common\athrs16_phy.h
14443   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\common\athrs26_phy.c
14444   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\common\athrs26_phy.h
14445   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\common\athr_phy.h
14446   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\common\g5e_Plus1_2_29a_unmanaged_Atheros_v3.c
14447   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\common\g5_Plus1_2_29a_unmanaged_Atheros_v5.c
14448   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\common\g5_Plus1_2_29b_unmanaged_Atheros_v5.c
14449   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\common\g5_Plus1_2_31_unmanaged_Atheros_v3.c
14450   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\common\g5_Plus1_2_31_unmanaged_Atheros_v4.c
14451   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\common\generic_i2c.c
14452   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\common\generic_i2c.h
14453   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\common\generic_spi.c
14454   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\common\generic_spi.h
14455   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\common\ipPhy.c
14456   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\common\ipPhy.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 219 of 285 PageID   #:805
14457   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\common\lowlevel_init.S
14458   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\common\lowlevel_init_ar9100.S
14459   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\common\phy.h
14460   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\common\vsc73xx.c
14461   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\common\vsc73xx.h
14462   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\common\vsc8601_phy.c
14463   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\common\vsc8601_phy.h
14464   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\common\vsc_phy.c
14465   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\pb42\config.mk
14466   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\pb42\flash.c
14467   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\pb42\Makefile
14468   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\pb42\pb42.c
14469   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\pb42\u-boot.lds
14470   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\pb44\config.mk
14471   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\pb44\lowlevel_init.S
14472   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\pb44\Makefile
14473   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\pb44\pb44.c
14474   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\pb44\pb44_pci.c
14475   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\pb44\u-boot-bootstrap.lds
14476   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\pb44\u-boot.lds
14477   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\pb47\config.mk
14478   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\pb47\lowlevel_init.S
14479   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\pb47\Makefile
14480   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\pb47\pb47.c
14481   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\pb47\pb47_pci.c
14482   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\pb47\u-boot.lds
14483   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\tb225\config.mk
14484   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\tb225\flash.c
14485   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\tb225\Makefile
14486   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\tb225\tb225.c
14487   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\tb225\u-boot.lds
14488   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\tb243\config.mk
14489   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\tb243\Makefile
14490   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\tb243\tb243.c
14491   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7100\tb243\u-boot.lds
14492   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap101
14493   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap101-2.6.31
14494   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap101-small
14495   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap111
14496   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap111-2.6.31
14497   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap121
14498   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap123
14499   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap91
14500   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap91-2MB
14501   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap91-2x8
14502   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap91-router
14503   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap93
14504   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap93-hgw
14505   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap98
14506   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99
14507   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99-2.6.31
14508   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99-hgw
14509   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99-ivi
14510   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99-small
14511   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99-test
14512   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ar7240_emu
14513   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\common
14514   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\cus136
14515   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\db12x
14516   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\mi93
14517   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\nanobridge-ar9342-ar8035
14518   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb90
14519   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb92
14520   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb93
14521   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb9x
14522   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb9x-2.6.31
14523   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb9x-2x8
14524   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\tb327
14525   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\wasp_emu
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 220 of 285 PageID #:806
14526   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\wrt54g
14527   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap101\ap101.c
14528   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap101\config.mk
14529   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap101\flash.c
14530   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap101\Makefile
14531   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap101\u-boot.lds
14532   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap101-2.6.31\ap101-2.6.31.c
14533   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap101-2.6.31\config.mk
14534   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap101-2.6.31\flash.c
14535   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap101-2.6.31\Makefile
14536   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap101-2.6.31\u-boot.lds
14537   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap101-small\ap101-small.c
14538   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap101-small\config.mk
14539   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap101-small\flash.c
14540   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap101-small\Makefile
14541   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap101-small\u-boot.lds
14542   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap111\ap111.c
14543   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap111\config.mk
14544   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap111\flash.c
14545   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap111\Makefile
14546   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap111\u-boot.lds
14547   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap111-2.6.31\ap111-2.6.31.c
14548   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap111-2.6.31\config.mk
14549   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap111-2.6.31\flash.c
14550   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap111-2.6.31\Makefile
14551   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap111-2.6.31\u-boot.lds
14552   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap121\ap121.c
14553   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap121\config.mk
14554   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap121\flash.c
14555   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap121\hornet_pll_init.S
14556   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap121\Makefile
14557   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap121\u-boot-bootstrap.lds
14558   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap121\u-boot.lds
14559   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap123\ap123.c
14560   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap123\config.mk
14561   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap123\flash.c
14562   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap123\Makefile
14563   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap123\u-boot-bootstrap.lds
14564   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap123\u-boot.lds
14565   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap91\ap91.c
14566   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap91\ar9285gpio.c
14567   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap91\config.mk
14568   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap91\flash.c
14569   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap91\Makefile
14570   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap91\u-boot-bootstrap.lds
14571   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap91\u-boot.lds
14572   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap91-2MB\ap91-2MB.c
14573   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap91-2MB\ar9285gpio.c
14574   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap91-2MB\config.mk
14575   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap91-2MB\flash.c
14576   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap91-2MB\Makefile
14577   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap91-2MB\u-boot-bootstrap.lds
14578   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap91-2MB\u-boot.lds
14579   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap91-2x8\ap91-2x8.c
14580   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap91-2x8\config.mk
14581   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap91-2x8\flash.c
14582   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap91-2x8\Makefile
14583   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap91-2x8\u-boot-bootstrap.lds
14584   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap91-2x8\u-boot.lds
14585   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap91-router\ap91-router.c
14586   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap91-router\config.mk
14587   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap91-router\flash.c
14588   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap91-router\Makefile
14589   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap91-router\u-boot-bootstrap.lds
14590   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap91-router\u-boot.lds
14591   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap93\ap93.c
14592   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap93\config.mk
14593   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap93\flash.c
14594   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap93\Makefile
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 221 of 285 PageID #:807
14595   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap93\u-boot.lds
14596   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap93-hgw\ap93-hgw.c
14597   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap93-hgw\config.mk
14598   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap93-hgw\flash.c
14599   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap93-hgw\Makefile
14600   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap93-hgw\u-boot.lds
14601   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap98\ap98.c
14602   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap98\config.mk
14603   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap98\flash.c
14604   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap98\Makefile
14605   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap98\u-boot-bootstrap.lds
14606   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap98\u-boot.lds
14607   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99\ap99.c
14608   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99\config.mk
14609   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99\flash.c
14610   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99\Makefile
14611   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99\u-boot-bootstrap.lds
14612   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99\u-boot.lds
14613   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99-2.6.31\ap99-2.6.31.c
14614   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99-2.6.31\config.mk
14615   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99-2.6.31\flash.c
14616   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99-2.6.31\Makefile
14617   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99-2.6.31\u-boot-bootstrap.lds
14618   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99-2.6.31\u-boot.lds
14619   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99-hgw\ap99-hgw.c
14620   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99-hgw\config.mk
14621   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99-hgw\flash.c
14622   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99-hgw\Makefile
14623   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99-hgw\u-boot-bootstrap.lds
14624   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99-hgw\u-boot.lds
14625   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99-ivi\ap99-ivi.c
14626   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99-ivi\config.mk
14627   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99-ivi\flash.c
14628   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99-ivi\Makefile
14629   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99-ivi\u-boot-bootstrap.lds
14630   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99-ivi\u-boot.lds
14631   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99-small\ap99-small.c
14632   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99-small\config.mk
14633   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99-small\flash.c
14634   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99-small\Makefile
14635   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99-small\u-boot.lds
14636   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ap99-test\ap99-test.c
14637   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ar7240_emu\ar7240_emu.c
14638   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ar7240_emu\config.mk
14639   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ar7240_emu\flash.c
14640   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ar7240_emu\Makefile
14641   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\ar7240_emu\u-boot.lds
14642   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\common\ar7240_flash.c
14643   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\common\ar7240_flash.h
14644   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\common\ar7240_pci.c
14645   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\common\ar7240_s26_phy.c
14646   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\common\ar7240_s26_phy.h
14647   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\common\athr8032_phy.c
14648   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\common\athr8032_phy.h
14649   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\common\athr8035_phy.c
14650   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\common\athr8035_phy.h
14651   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\common\athr8236_phy.c
14652   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\common\athr8236_phy.h
14653   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\common\athrs16_phy.c
14654   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\common\athrs16_phy.h
14655   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\common\athrs17_phy.c
14656   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\common\athrs17_phy.h
14657   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\common\athrsf1_phy.c
14658   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\common\athrsf1_phy.h
14659   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\common\athrsf2_phy.c
14660   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\common\athrs_vir_phy.c
14661   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\common\athr_s27_phy.c
14662   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\common\athr_s27_phy.h
14663   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\common\ath_nand.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 222 of 285 PageID #:808
14664   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\common\lowlevel_init.S
14665   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\common\lowlevel_init_934x-1.1.S
14666   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\common\lowlevel_init_934x.S
14667   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\common\phy.h
14668   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\common\ubnt-board.c
14669   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\common\ubnt-board.h
14670   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\cus136\config.mk
14671   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\cus136\cus136.c
14672   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\cus136\flash.c
14673   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\cus136\Makefile
14674   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\cus136\u-boot.lds
14675   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\db12x\config.mk
14676   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\db12x\db12x.c
14677   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\db12x\flash.c
14678   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\db12x\Makefile
14679   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\db12x\u-boot-bootstrap.lds
14680   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\db12x\u-boot.lds
14681   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\mi93\config.mk
14682   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\mi93\flash.c
14683   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\mi93\Makefile
14684   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\mi93\mi93.c
14685   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\mi93\u-boot.lds
14686   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\nanobridge-ar9342-ar8035\config.mk
14687   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\nanobridge-ar9342-ar8035\flash.c
14688   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\nanobridge-ar9342-ar8035\Makefile
14689   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\nanobridge-ar9342-ar8035\nanobridge-ar9342-ar
        8035.c
14690   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\nanobridge-ar9342-ar8035\u-boot-bootstrap.lds
14691   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\nanobridge-ar9342-ar8035\u-boot.lds
14692   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb90\config.mk
14693   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb90\flash.c
14694   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb90\Makefile
14695   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb90\pb90.c
14696   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb90\u-boot.lds
14697   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb92\config.mk
14698   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb92\flash.c
14699   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb92\Makefile
14700   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb92\pb92.c
14701   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb92\u-boot-bootstrap.lds
14702   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb92\u-boot.lds
14703   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb93\config.mk
14704   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb93\flash.c
14705   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb93\Makefile
14706   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb93\pb93.c
14707   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb93\u-boot.lds
14708   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb9x\config.mk
14709   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb9x\flash.c
14710   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb9x\Makefile
14711   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb9x\pb9x.c
14712   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb9x\u-boot-bootstrap.lds
14713   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb9x\u-boot.lds
14714   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb9x-2.6.31\config.mk
14715   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb9x-2.6.31\flash.c
14716   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb9x-2.6.31\Makefile
14717   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb9x-2.6.31\pb9x-2.6.31.c
14718   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb9x-2.6.31\u-boot-bootstrap.lds
14719   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb9x-2.6.31\u-boot.lds
14720   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb9x-2x8\config.mk
14721   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb9x-2x8\flash.c
14722   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb9x-2x8\Makefile
14723   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb9x-2x8\pb9x-2x8.c
14724   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb9x-2x8\u-boot-bootstrap.lds
14725   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\pb9x-2x8\u-boot.lds
14726   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\tb327\config.mk
14727   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\tb327\flash.c
14728   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\tb327\Makefile
14729   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\tb327\tb327.c
14730   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\tb327\u-boot.lds
14731   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\wasp_emu\config.mk
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 223 of 285 PageID   #:809
14732   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\wasp_emu\flash.c
14733   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\wasp_emu\Makefile
14734   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\wasp_emu\u-boot.lds
14735   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\wasp_emu\wasp_emu.c
14736   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\wrt54g\config.mk
14737   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\wrt54g\flash.c
14738   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\wrt54g\Makefile
14739   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\wrt54g\u-boot.lds
14740   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ar7240\wrt54g\wrt54g.c
14741   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\armadillo\armadillo.c
14742   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\armadillo\config.mk
14743   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\armadillo\flash.c
14744   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\armadillo\lowlevel_init.S
14745   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\armadillo\Makefile
14746   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\armadillo\u-boot.lds
14747   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\assabet\assabet.c
14748   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\assabet\config.mk
14749   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\assabet\Makefile
14750   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\assabet\setup.S
14751   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\assabet\u-boot.lds
14752   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\at91rm9200dk\at45.c
14753   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\at91rm9200dk\at91rm9200dk.c
14754   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\at91rm9200dk\config.mk
14755   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\at91rm9200dk\flash.c
14756   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\at91rm9200dk\Makefile
14757   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\at91rm9200dk\u-boot.lds
14758   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\atc\atc.c
14759   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\atc\config.mk
14760   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\atc\flash.c
14761   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\atc\Makefile
14762   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\atc\u-boot.lds
14763   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\AtmarkTechno\suzaku
14764   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\AtmarkTechno\suzaku\config.mk
14765   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\AtmarkTechno\suzaku\flash.c
14766   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\AtmarkTechno\suzaku\Makefile
14767   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\AtmarkTechno\suzaku\suzaku.c
14768   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\AtmarkTechno\suzaku\u-boot.lds
14769   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\barco\barco.c
14770   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\barco\barco_svc.h
14771   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\barco\config.mk
14772   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\barco\early_init.S
14773   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\barco\flash.c
14774   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\barco\Makefile
14775   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\barco\README
14776   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\barco\speed.h
14777   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\barco\u-boot.lds
14778   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\bmw\bmw.c
14779   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\bmw\bmw.h
14780   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\bmw\config.mk
14781   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\bmw\early_init.S
14782   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\bmw\flash.c
14783   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\bmw\m48t59y.c
14784   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\bmw\m48t59y.h
14785   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\bmw\Makefile
14786   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\bmw\ns16550.c
14787   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\bmw\ns16550.h
14788   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\bmw\README
14789   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\bmw\serial.c
14790   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\bmw\u-boot.lds
14791   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\c2mon\c2mon.c
14792   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\c2mon\config.mk
14793   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\c2mon\flash.c
14794   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\c2mon\Makefile
14795   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\c2mon\u-boot.lds
14796   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\c2mon\u-boot.lds.debug
14797   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\canmb\canmb.c
14798   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\canmb\config.mk
14799   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\canmb\Makefile
14800   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\canmb\mt48lc16m32s2-75.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 224 of 285 PageID   #:810
14801   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\canmb\u-boot.lds
14802   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cds\common
14803   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cds\mpc8541cds
14804   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cds\mpc8548cds
14805   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cds\mpc8555cds
14806   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cds\common\cadmus.c
14807   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cds\common\cadmus.h
14808   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cds\common\eeprom.c
14809   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cds\common\eeprom.h
14810   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cds\mpc8541cds\config.mk
14811   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cds\mpc8541cds\init.S
14812   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cds\mpc8541cds\Makefile
14813   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cds\mpc8541cds\mpc8541cds.c
14814   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cds\mpc8541cds\u-boot.lds
14815   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cds\mpc8548cds\config.mk
14816   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cds\mpc8548cds\init.S
14817   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cds\mpc8548cds\Makefile
14818   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cds\mpc8548cds\mpc8548cds.c
14819   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cds\mpc8548cds\u-boot.lds
14820   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cds\mpc8555cds\config.mk
14821   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cds\mpc8555cds\init.S
14822   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cds\mpc8555cds\Makefile
14823   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cds\mpc8555cds\mpc8555cds.c
14824   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cds\mpc8555cds\u-boot.lds
14825   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cerf250\cerf250.c
14826   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cerf250\config.mk
14827   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cerf250\flash.c
14828   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cerf250\lowlevel_init.S
14829   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cerf250\Makefile
14830   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cerf250\u-boot.lds
14831   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cm4008\cm4008.c
14832   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cm4008\config.mk
14833   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cm4008\flash.c
14834   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cm4008\Makefile
14835   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cm4008\u-boot.lds
14836   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cm41xx\cm41xx.c
14837   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cm41xx\config.mk
14838   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cm41xx\flash.c
14839   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cm41xx\Makefile
14840   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cm41xx\u-boot.lds
14841   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cmc_pu2\at45.c
14842   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cmc_pu2\cmc_pu2.c
14843   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cmc_pu2\config.mk
14844   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cmc_pu2\flash.c
14845   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cmc_pu2\load_sernum_ethaddr.c
14846   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cmc_pu2\Makefile
14847   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cmc_pu2\u-boot.lds
14848   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cmi\cmi.c
14849   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cmi\config.mk
14850   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cmi\flash.c
14851   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cmi\Makefile
14852   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cmi\u-boot.lds
14853   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cobra5272\bdm
14854   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cobra5272\cobra5272.c
14855   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cobra5272\config.mk
14856   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cobra5272\flash.c
14857   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cobra5272\Makefile
14858   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cobra5272\u-boot.lds
14859   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cobra5272\bdm\cobra5272_uboot.gdb
14860   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cobra5272\bdm\gdbinit.reset
14861   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cobra5272\bdm\load-cobra_uboot
14862   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cobra5272\bdm\reset
14863   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cogent\config.mk
14864   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cogent\dipsw.c
14865   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cogent\dipsw.h
14866   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cogent\flash.c
14867   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cogent\flash.h
14868   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cogent\kbm.c
14869   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cogent\kbm.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 225 of   285 PageID #:811
14870   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cogent\lcd.c
14871   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cogent\lcd.h
14872   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cogent\Makefile
14873   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cogent\mb.c
14874   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cogent\mb.h
14875   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cogent\par.c
14876   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cogent\par.h
14877   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cogent\pci.c
14878   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cogent\pci.h
14879   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cogent\README
14880   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cogent\README.cma286
14881   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cogent\rtc.c
14882   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cogent\rtc.h
14883   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cogent\serial.c
14884   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cogent\serial.h
14885   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cogent\u-boot.lds
14886   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cogent\u-boot.lds.debug
14887   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cpc45\config.mk
14888   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cpc45\cpc45.c
14889   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cpc45\flash.c
14890   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cpc45\Makefile
14891   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cpc45\pd67290.c
14892   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cpc45\plx9030.c
14893   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cpc45\u-boot.lds
14894   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cpu86\config.mk
14895   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cpu86\cpu86.c
14896   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cpu86\cpu86.h
14897   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cpu86\flash.c
14898   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cpu86\Makefile
14899   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cpu86\u-boot.lds
14900   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cpu87\config.mk
14901   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cpu87\cpu87.c
14902   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cpu87\cpu87.h
14903   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cpu87\flash.c
14904   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cpu87\Makefile
14905   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cpu87\u-boot.lds
14906   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cradle\config.mk
14907   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cradle\cradle.c
14908   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cradle\flash.c
14909   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cradle\lowlevel_init.S
14910   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cradle\Makefile
14911   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cradle\u-boot.lds
14912   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cray\L1
14913   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cray\L1\bootscript.hush
14914   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cray\L1\config.mk
14915   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cray\L1\flash.c
14916   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cray\L1\init.S
14917   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cray\L1\L1.c
14918   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cray\L1\L1.h
14919   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cray\L1\Makefile
14920   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cray\L1\patchme
14921   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cray\L1\u-boot.lds
14922   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cray\L1\u-boot.lds.debug
14923   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cray\L1\x2c.awk
14924   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\csb226\config.mk
14925   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\csb226\csb226.c
14926   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\csb226\flash.c
14927   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\csb226\lowlevel_init.S
14928   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\csb226\Makefile
14929   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\csb226\u-boot.lds
14930   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\csb272\config.mk
14931   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\csb272\csb272.c
14932   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\csb272\init.S
14933   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\csb272\Makefile
14934   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\csb272\u-boot.lds
14935   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\csb472\config.mk
14936   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\csb472\csb472.c
14937   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\csb472\init.S
14938   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\csb472\Makefile
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 226 of 285 PageID   #:812
14939   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\csb472\u-boot.lds
14940   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\csb637\config.mk
14941   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\csb637\csb637.c
14942   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\csb637\Makefile
14943   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\csb637\u-boot.lds
14944   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cu824\config.mk
14945   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cu824\cu824.c
14946   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cu824\flash.c
14947   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cu824\Makefile
14948   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cu824\README
14949   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\cu824\u-boot.lds
14950   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\dave\B2
14951   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\dave\common
14952   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\dave\PPChameleonEVB
14953   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\dave\B2\B2.c
14954   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\dave\B2\config.mk
14955   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\dave\B2\flash.c
14956   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\dave\B2\lowlevel_init.S
14957   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\dave\B2\Makefile
14958   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\dave\B2\u-boot.lds
14959   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\dave\common\flash.c
14960   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\dave\common\fpga.c
14961   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\dave\common\pci.c
14962   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\dave\PPChameleonEVB\config.mk
14963   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\dave\PPChameleonEVB\flash.c
14964   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\dave\PPChameleonEVB\fpgadata.c
14965   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\dave\PPChameleonEVB\Makefile
14966   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\dave\PPChameleonEVB\nand.c
14967   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\dave\PPChameleonEVB\PPChameleonEVB.c
14968   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\dave\PPChameleonEVB\u-boot.lds
14969   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\dbau1x00\config.mk
14970   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\dbau1x00\dbau1x00.c
14971   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\dbau1x00\flash.c
14972   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\dbau1x00\lowlevel_init.S
14973   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\dbau1x00\Makefile
14974   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\dbau1x00\README
14975   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\dbau1x00\u-boot.lds
14976   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\delta\config.mk
14977   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\delta\delta.c
14978   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\delta\lowlevel_init.S
14979   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\delta\Makefile
14980   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\delta\nand.c
14981   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\delta\u-boot.lds
14982   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\dnp1110\config.mk
14983   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\dnp1110\dnp1110.c
14984   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\dnp1110\flash.c
14985   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\dnp1110\lowlevel_init.S
14986   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\dnp1110\Makefile
14987   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\dnp1110\u-boot.lds
14988   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eltec\bab7xx
14989   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eltec\elppc
14990   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eltec\mhpc
14991   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eltec\bab7xx\asm_init.S
14992   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eltec\bab7xx\bab7xx.c
14993   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eltec\bab7xx\config.mk
14994   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eltec\bab7xx\dc_srom.c
14995   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eltec\bab7xx\el_srom.c
14996   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eltec\bab7xx\flash.c
14997   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eltec\bab7xx\l2cache.c
14998   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eltec\bab7xx\Makefile
14999   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eltec\bab7xx\misc.c
15000   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eltec\bab7xx\pci.c
15001   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eltec\bab7xx\srom.h
15002   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eltec\bab7xx\u-boot.lds
15003   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eltec\elppc\asm_init.S
15004   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eltec\elppc\config.mk
15005   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eltec\elppc\eepro100_srom.c
15006   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eltec\elppc\elppc.c
15007   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eltec\elppc\flash.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 227 of 285   PageID #:813
15008   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eltec\elppc\Makefile
15009   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eltec\elppc\misc.c
15010   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eltec\elppc\mpc107_i2c.c
15011   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eltec\elppc\pci.c
15012   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eltec\elppc\srom.h
15013   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eltec\elppc\u-boot.lds
15014   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eltec\mhpc\config.mk
15015   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eltec\mhpc\flash.c
15016   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eltec\mhpc\Makefile
15017   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eltec\mhpc\mhpc.c
15018   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eltec\mhpc\u-boot.lds
15019   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eltec\mhpc\u-boot.lds.debug
15020   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\emk\common
15021   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\emk\top5200
15022   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\emk\top860
15023   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\emk\common\am79c874.c
15024   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\emk\common\flash.c
15025   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\emk\common\vpd.c
15026   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\emk\top5200\config.mk
15027   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\emk\top5200\Makefile
15028   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\emk\top5200\top5200.c
15029   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\emk\top5200\u-boot.lds
15030   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\emk\top860\config.mk
15031   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\emk\top860\Makefile
15032   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\emk\top860\top860.c
15033   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\emk\top860\u-boot.lds
15034   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\emk\top860\u-boot.lds.debug
15035   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ep7312\config.mk
15036   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ep7312\ep7312.c
15037   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ep7312\flash.c
15038   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ep7312\lowlevel_init.S
15039   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ep7312\Makefile
15040   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ep7312\u-boot.lds
15041   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ep8248\config.mk
15042   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ep8248\ep8248.c
15043   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ep8248\Makefile
15044   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ep8248\u-boot.lds
15045   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ep8260\config.mk
15046   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ep8260\ep8260.c
15047   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ep8260\ep8260.h
15048   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ep8260\flash.c
15049   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ep8260\Makefile
15050   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ep8260\mii_phy.c
15051   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ep8260\u-boot.lds
15052   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ep88x\config.mk
15053   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ep88x\ep88x.c
15054   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ep88x\Makefile
15055   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ep88x\u-boot.lds
15056   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eric\config.mk
15057   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eric\eric.c
15058   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eric\eric.h
15059   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eric\flash.c
15060   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eric\init.S
15061   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eric\Makefile
15062   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eric\u-boot.lds
15063   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\adciop
15064   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\apc405
15065   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\ar405
15066   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\ash405
15067   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\canbt
15068   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cms700
15069   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\common
15070   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci2dp
15071   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci405
15072   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci440
15073   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci5200
15074   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci750
15075   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpciiser4
15076   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\dasa_sim
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 228 of 285 PageID   #:814
15077   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\dp405
15078   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\du405
15079   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\hh405
15080   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\hub405
15081   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\ocrtc
15082   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\pci405
15083   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\pf5200
15084   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\plu405
15085   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\pmc405
15086   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\tasreg
15087   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\voh405
15088   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\vom405
15089   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\wuh405
15090   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\adciop\adciop.c
15091   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\adciop\adciop.h
15092   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\adciop\config.mk
15093   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\adciop\flash.c
15094   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\adciop\Makefile
15095   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\adciop\u-boot.lds
15096   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\apc405\apc405.c
15097   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\apc405\config.mk
15098   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\apc405\fpgadata.c
15099   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\apc405\logo_640_480_24bpp.c
15100   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\apc405\Makefile
15101   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\apc405\strataflash.c
15102   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\apc405\u-boot.lds
15103   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\ar405\ar405.c
15104   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\ar405\ar405.h
15105   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\ar405\config.mk
15106   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\ar405\flash.c
15107   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\ar405\fpgadata.c
15108   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\ar405\fpgadata_xl30.c
15109   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\ar405\Makefile
15110   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\ar405\u-boot.lds
15111   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\ash405\ash405.c
15112   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\ash405\config.mk
15113   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\ash405\flash.c
15114   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\ash405\fpgadata.c
15115   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\ash405\Makefile
15116   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\ash405\u-boot.lds
15117   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\canbt\canbt.c
15118   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\canbt\canbt.h
15119   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\canbt\config.mk
15120   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\canbt\flash.c
15121   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\canbt\fpgadata.c
15122   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\canbt\Makefile
15123   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\canbt\u-boot.lds
15124   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cms700\cms700.c
15125   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cms700\config.mk
15126   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cms700\flash.c
15127   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cms700\fpgadata.c
15128   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cms700\Makefile
15129   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cms700\u-boot.lds
15130   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\common\auto_update.c
15131   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\common\auto_update.h
15132   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\common\cmd_loadpci.c
15133   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\common\flash.c
15134   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\common\fpga.c
15135   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\common\lcd.c
15136   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\common\lcd.h
15137   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\common\misc.c
15138   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\common\pci.c
15139   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\common\s1d13704_320_240_4bpp.h
15140   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\common\s1d13705_320_240_8bpp.h
15141   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\common\s1d13806_1024_768_8bpp.h
15142   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\common\s1d13806_320_240_4bpp.h
15143   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\common\s1d13806_640_480_16bpp.h
15144   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\common\s1d13806_640_480_8bpp.h
15145   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\common\xilinx_jtag
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 229 of 285 PageID   #:815
15146   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\common\xilinx_jtag\lenval.c
15147   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\common\xilinx_jtag\lenval.h
15148   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\common\xilinx_jtag\micro.c
15149   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\common\xilinx_jtag\micro.h
15150   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\common\xilinx_jtag\ports.c
15151   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\common\xilinx_jtag\ports.h
15152   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci2dp\config.mk
15153   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci2dp\cpci2dp.c
15154   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci2dp\flash.c
15155   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci2dp\Makefile
15156   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci2dp\u-boot.lds
15157   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci405\config.mk
15158   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci405\cpci405.c
15159   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci405\flash.c
15160   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci405\fpgadata_cpci405.c
15161   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci405\fpgadata_cpci4052.c
15162   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci405\fpgadata_cpci405ab.c
15163   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci405\Makefile
15164   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci405\u-boot.lds
15165   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci440\config.mk
15166   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci440\cpci440.c
15167   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci440\init.S
15168   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci440\Makefile
15169   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci440\strataflash.c
15170   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci440\u-boot.lds
15171   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci5200\config.mk
15172   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci5200\cpci5200.c
15173   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci5200\Makefile
15174   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci5200\mt46v16m16-75.h
15175   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci5200\strataflash.c
15176   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci5200\u-boot.lds
15177   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci750\64360.h
15178   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci750\config.mk
15179   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci750\cpci750.c
15180   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci750\eth.h
15181   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci750\i2c.c
15182   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci750\i2c.h
15183   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci750\ide.c
15184   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci750\local.h
15185   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci750\Makefile
15186   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci750\misc.S
15187   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci750\mpsc.c
15188   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci750\mpsc.h
15189   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci750\mv_eth.c
15190   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci750\mv_eth.h
15191   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci750\mv_regs.h
15192   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci750\pci.c
15193   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci750\sdram_init.c
15194   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci750\serial.c
15195   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci750\serial.h
15196   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpci750\u-boot.lds
15197   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpciiser4\config.mk
15198   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpciiser4\cpciiser4.c
15199   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpciiser4\cpciiser4.h
15200   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpciiser4\flash.c
15201   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpciiser4\fpgadata.c
15202   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpciiser4\Makefile
15203   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\cpciiser4\u-boot.lds
15204   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\dasa_sim\cmd_dasa_sim.c
15205   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\dasa_sim\config.mk
15206   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\dasa_sim\dasa_sim.c
15207   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\dasa_sim\dasa_sim.h
15208   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\dasa_sim\eeprom.c
15209   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\dasa_sim\flash.c
15210   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\dasa_sim\fpgadata.c
15211   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\dasa_sim\Makefile
15212   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\dasa_sim\u-boot.lds
15213   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\dp405\config.mk
15214   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\dp405\dp405.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 230 of 285 PageID   #:816
15215   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\dp405\flash.c
15216   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\dp405\fpgadata.c
15217   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\dp405\Makefile
15218   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\dp405\u-boot.lds
15219   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\du405\config.mk
15220   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\du405\du405.c
15221   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\du405\du405.h
15222   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\du405\flash.c
15223   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\du405\fpgadata.c
15224   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\du405\Makefile
15225   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\du405\u-boot.lds
15226   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\hh405\config.mk
15227   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\hh405\flash.c
15228   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\hh405\fpgadata.c
15229   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\hh405\hh405.c
15230   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\hh405\logo_1024_768_8bpp.c
15231   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\hh405\logo_320_240_4bpp.c
15232   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\hh405\logo_320_240_8bpp.c
15233   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\hh405\logo_640_480_24bpp.c
15234   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\hh405\Makefile
15235   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\hh405\u-boot.lds
15236   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\hub405\config.mk
15237   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\hub405\flash.c
15238   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\hub405\hub405.c
15239   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\hub405\Makefile
15240   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\hub405\u-boot.lds
15241   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\ocrtc\cmd_ocrtc.c
15242   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\ocrtc\config.mk
15243   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\ocrtc\flash.c
15244   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\ocrtc\Makefile
15245   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\ocrtc\ocrtc.c
15246   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\ocrtc\ocrtc.h
15247   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\ocrtc\u-boot.lds
15248   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\pci405\cmd_pci405.c
15249   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\pci405\config.mk
15250   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\pci405\flash.c
15251   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\pci405\fpgadata.c
15252   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\pci405\Makefile
15253   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\pci405\pci405.c
15254   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\pci405\pci405.h
15255   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\pci405\u-boot.lds
15256   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\pci405\writeibm.S
15257   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\pf5200\config.mk
15258   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\pf5200\flash.c
15259   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\pf5200\Makefile
15260   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\pf5200\mt46v16m16-75.h
15261   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\pf5200\pf5200.c
15262   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\pf5200\u-boot.lds
15263   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\plu405\config.mk
15264   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\plu405\flash.c
15265   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\plu405\fpgadata.c
15266   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\plu405\Makefile
15267   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\plu405\plu405.c
15268   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\plu405\u-boot.lds
15269   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\pmc405\config.mk
15270   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\pmc405\fpgadata.c
15271   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\pmc405\Makefile
15272   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\pmc405\pmc405.c
15273   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\pmc405\u-boot.lds
15274   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\tasreg\config.mk
15275   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\tasreg\flash.c
15276   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\tasreg\fpgadata.c
15277   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\tasreg\Makefile
15278   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\tasreg\tasreg.c
15279   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\tasreg\u-boot.lds
15280   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\voh405\config.mk
15281   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\voh405\flash.c
15282   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\voh405\fpgadata.c
15283   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\voh405\logo_320_240_4bpp.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 231 of 285 PageID   #:817
15284   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\voh405\logo_640_480_24bpp.c
15285   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\voh405\Makefile
15286   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\voh405\u-boot.lds
15287   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\voh405\voh405.c
15288   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\vom405\config.mk
15289   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\vom405\flash.c
15290   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\vom405\fpgadata.c
15291   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\vom405\Makefile
15292   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\vom405\u-boot.lds
15293   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\vom405\vom405.c
15294   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\wuh405\config.mk
15295   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\wuh405\flash.c
15296   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\wuh405\fpgadata.c
15297   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\wuh405\Makefile
15298   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\wuh405\u-boot.lds
15299   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esd\wuh405\wuh405.c
15300   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esteem192e\config.mk
15301   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esteem192e\esteem192e.c
15302   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esteem192e\flash.c
15303   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esteem192e\Makefile
15304   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\esteem192e\u-boot.lds
15305   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\etin\debris
15306   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\etin\debris\config.mk
15307   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\etin\debris\debris.c
15308   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\etin\debris\flash.c
15309   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\etin\debris\Makefile
15310   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\etin\debris\phantom.c
15311   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\etin\debris\speed.h
15312   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\etin\debris\u-boot.lds
15313   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\etx094\config.mk
15314   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\etx094\etx094.c
15315   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\etx094\flash.c
15316   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\etx094\Makefile
15317   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\etx094\u-boot.lds
15318   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\etx094\u-boot.lds.debug
15319   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb4510\config.mk
15320   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb4510\evb4510.c
15321   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb4510\flash.c
15322   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb4510\lowlevel_init.S
15323   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb4510\Makefile
15324   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb4510\u-boot.lds
15325   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb64260\64260.h
15326   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb64260\bootseq.txt
15327   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb64260\config.mk
15328   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb64260\ecctest.c
15329   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb64260\eth.c
15330   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb64260\eth.h
15331   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb64260\eth_addrtbl.c
15332   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb64260\eth_addrtbl.h
15333   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb64260\evb64260.c
15334   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb64260\flash.c
15335   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb64260\i2c.c
15336   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb64260\i2c.h
15337   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb64260\intel_flash.c
15338   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb64260\intel_flash.h
15339   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb64260\local.h
15340   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb64260\Makefile
15341   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb64260\memory.c
15342   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb64260\misc.S
15343   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb64260\mpsc.c
15344   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb64260\mpsc.h
15345   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb64260\pci.c
15346   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb64260\sdram_init.c
15347   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb64260\serial.c
15348   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb64260\serial.h
15349   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb64260\u-boot.lds
15350   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb64260\zuma_pbb.c
15351   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb64260\zuma_pbb.h
15352   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb64260\zuma_pbb_mbox.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 232 of 285   PageID #:818
15353   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\evb64260\zuma_pbb_mbox.h
15354   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eXalion\config.mk
15355   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eXalion\eXalion.c
15356   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eXalion\eXalion.h
15357   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eXalion\Makefile
15358   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eXalion\piix_pci.h
15359   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\eXalion\u-boot.lds
15360   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\exbitgen\config.mk
15361   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\exbitgen\exbitgen.c
15362   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\exbitgen\exbitgen.h
15363   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\exbitgen\flash.c
15364   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\exbitgen\init.S
15365   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\exbitgen\Makefile
15366   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\exbitgen\u-boot.lds
15367   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ezkit533\config.mk
15368   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ezkit533\ezkit533.c
15369   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ezkit533\flash-defines.h
15370   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ezkit533\flash.c
15371   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ezkit533\Makefile
15372   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ezkit533\psd4256.h
15373   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ezkit533\u-boot.lds
15374   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\fads\config.mk
15375   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\fads\fads.c
15376   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\fads\fads.h
15377   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\fads\flash.c
15378   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\fads\lamp.c
15379   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\fads\Makefile
15380   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\fads\u-boot.lds
15381   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\fads\u-boot.lds.debug
15382   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\flagadm\config.mk
15383   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\flagadm\flagadm.c
15384   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\flagadm\flash.c
15385   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\flagadm\Makefile
15386   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\flagadm\u-boot.lds
15387   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\flagadm\u-boot.lds.debug
15388   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\funkwerk\vovpn-gw
15389   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\funkwerk\vovpn-gw\config.mk
15390   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\funkwerk\vovpn-gw\flash.c
15391   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\funkwerk\vovpn-gw\m88e6060.c
15392   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\funkwerk\vovpn-gw\m88e6060.h
15393   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\funkwerk\vovpn-gw\Makefile
15394   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\funkwerk\vovpn-gw\u-boot.lds
15395   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\funkwerk\vovpn-gw\vovpn-gw.c
15396   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\g2000\config.mk
15397   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\g2000\g2000.c
15398   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\g2000\Makefile
15399   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\g2000\strataflash.c
15400   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\g2000\u-boot.lds
15401   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gcplus\config.mk
15402   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gcplus\flash.c
15403   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gcplus\gcplus.c
15404   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gcplus\lowlevel_init.S
15405   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gcplus\Makefile
15406   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gcplus\u-boot.lds
15407   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gen860t\beeper.c
15408   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gen860t\beeper.h
15409   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gen860t\config.mk
15410   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gen860t\flash.c
15411   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gen860t\fpga.c
15412   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gen860t\fpga.h
15413   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gen860t\gen860t.c
15414   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gen860t\ioport.c
15415   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gen860t\ioport.h
15416   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gen860t\Makefile
15417   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gen860t\README
15418   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gen860t\u-boot-flashenv.lds
15419   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gen860t\u-boot.lds
15420   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\genietv\config.mk
15421   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\genietv\flash.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 233 of 285   PageID #:819
15422   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\genietv\genietv.c
15423   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\genietv\genietv.h
15424   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\genietv\Makefile
15425   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\genietv\u-boot.lds
15426   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\genietv\u-boot.lds.debug
15427   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gth\config.mk
15428   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gth\ee_access.c
15429   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gth\ee_access.h
15430   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gth\ee_dev.h
15431   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gth\flash.c
15432   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gth\gth.c
15433   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gth\Makefile
15434   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gth\README
15435   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gth\u-boot.lds
15436   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gw8260\config.mk
15437   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gw8260\flash.c
15438   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gw8260\gw8260.c
15439   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gw8260\Makefile
15440   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\gw8260\u-boot.lds
15441   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hermes\config.mk
15442   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hermes\flash.c
15443   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hermes\hermes.c
15444   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hermes\Makefile
15445   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hermes\u-boot.lds
15446   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hermes\u-boot.lds.debug
15447   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hidden_dragon\config.mk
15448   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hidden_dragon\early_init.S
15449   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hidden_dragon\flash.c
15450   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hidden_dragon\hidden_dragon.c
15451   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hidden_dragon\Makefile
15452   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hidden_dragon\README
15453   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hidden_dragon\speed.h
15454   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hidden_dragon\u-boot.lds
15455   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hmi1001\config.mk
15456   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hmi1001\hmi1001.c
15457   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hmi1001\Makefile
15458   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hmi1001\u-boot.lds
15459   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hymod\bsp.c
15460   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hymod\config.mk
15461   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hymod\eeprom.c
15462   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hymod\env.c
15463   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hymod\fetch.c
15464   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hymod\flash.c
15465   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hymod\flash.h
15466   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hymod\global_env
15467   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hymod\hymod.c
15468   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hymod\hymod.h
15469   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hymod\input.c
15470   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hymod\Makefile
15471   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hymod\u-boot.lds
15472   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\hymod\u-boot.lds.debug
15473   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\icecube\config.mk
15474   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\icecube\flash.c
15475   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\icecube\icecube.c
15476   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\icecube\Makefile
15477   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\icecube\mt46v16m16-75.h
15478   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\icecube\mt46v32m16.h
15479   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\icecube\mt48lc16m16a2-75.h
15480   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\icecube\u-boot.lds
15481   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\icu862\config.mk
15482   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\icu862\flash.c
15483   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\icu862\icu862.c
15484   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\icu862\Makefile
15485   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\icu862\u-boot.lds
15486   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\icu862\u-boot.lds.debug
15487   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ids8247\config.mk
15488   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ids8247\flash.c
15489   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ids8247\ids8247.c
15490   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ids8247\Makefile
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 234 of 285 PageID   #:820
15491   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ids8247\u-boot.lds
15492   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\impa7\config.mk
15493   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\impa7\flash.c
15494   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\impa7\impa7.c
15495   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\impa7\lowlevel_init.S
15496   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\impa7\Makefile
15497   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\impa7\u-boot.lds
15498   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\incaip\config.mk
15499   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\incaip\flash.c
15500   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\incaip\incaip.c
15501   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\incaip\lowlevel_init.S
15502   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\incaip\Makefile
15503   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\incaip\u-boot.lds
15504   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\inka4x0\config.mk
15505   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\inka4x0\flash.c
15506   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\inka4x0\inka4x0.c
15507   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\inka4x0\Makefile
15508   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\inka4x0\mt46v16m16-75.h
15509   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\inka4x0\mt48lc16m16a2-75.h
15510   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\inka4x0\u-boot.lds
15511   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\innokom\config.mk
15512   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\innokom\flash.c
15513   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\innokom\innokom.c
15514   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\innokom\lowlevel_init.S
15515   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\innokom\Makefile
15516   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\innokom\u-boot.lds
15517   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\integratorap\config.mk
15518   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\integratorap\flash.c
15519   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\integratorap\integratorap.c
15520   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\integratorap\lowlevel_init.S
15521   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\integratorap\Makefile
15522   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\integratorap\memsetup.S
15523   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\integratorap\split_by_variant.sh
15524   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\integratorap\u-boot.lds.template
15525   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\integratorcp\config.mk
15526   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\integratorcp\flash.c
15527   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\integratorcp\integratorcp.c
15528   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\integratorcp\lowlevel_init.S
15529   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\integratorcp\Makefile
15530   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\integratorcp\memsetup.S
15531   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\integratorcp\split_by_variant.sh
15532   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\integratorcp\u-boot.lds.template
15533   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ip860\config.mk
15534   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ip860\flash.c
15535   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ip860\ip860.c
15536   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ip860\Makefile
15537   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ip860\u-boot.lds
15538   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ip860\u-boot.lds.debug
15539   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\iphase4539\config.mk
15540   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\iphase4539\flash.c
15541   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\iphase4539\iphase4539.c
15542   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\iphase4539\Makefile
15543   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\iphase4539\u-boot.lds
15544   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ispan\config.mk
15545   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ispan\ispan.c
15546   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ispan\Makefile
15547   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ispan\u-boot.lds
15548   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ivm\config.mk
15549   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ivm\flash.c
15550   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ivm\ivm.c
15551   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ivm\Makefile
15552   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ivm\u-boot.lds
15553   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ivm\u-boot.lds.debug
15554   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ixdp425\config.mk
15555   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ixdp425\flash.c
15556   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ixdp425\ixdp425.c
15557   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ixdp425\Makefile
15558   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ixdp425\u-boot.lds
15559   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\jse\config.mk
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 235 of 285 PageID   #:821
15560   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\jse\flash.c
15561   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\jse\host_bridge.c
15562   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\jse\init.S
15563   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\jse\jse.c
15564   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\jse\jse_priv.h
15565   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\jse\Makefile
15566   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\jse\README.txt
15567   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\jse\sdram.c
15568   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\jse\u-boot.lds
15569   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\kb9202\config.mk
15570   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\kb9202\kb9202.c
15571   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\kb9202\Makefile
15572   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\kb9202\u-boot.lds
15573   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\kup\common
15574   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\kup\kup4k
15575   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\kup\kup4x
15576   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\kup\Makefile
15577   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\kup\common\flash.c
15578   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\kup\common\kup.c
15579   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\kup\common\kup.h
15580   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\kup\common\load_sernum_ethaddr.c
15581   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\kup\kup4k\config.mk
15582   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\kup\kup4k\kup4k.c
15583   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\kup\kup4k\Makefile
15584   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\kup\kup4k\s1d13706.h
15585   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\kup\kup4k\u-boot.lds
15586   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\kup\kup4k\u-boot.lds.debug
15587   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\kup\kup4x\config.mk
15588   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\kup\kup4x\kup4x.c
15589   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\kup\kup4x\Makefile
15590   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\kup\kup4x\u-boot.lds
15591   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\kup\kup4x\u-boot.lds.debug
15592   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lantec\config.mk
15593   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lantec\flash.c
15594   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lantec\lantec.c
15595   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lantec\Makefile
15596   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lantec\u-boot.lds
15597   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lantec\u-boot.lds.debug
15598   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lart\config.mk
15599   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lart\flash.c
15600   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lart\flashasm.S
15601   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lart\lart.c
15602   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lart\lowlevel_init.S
15603   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lart\Makefile
15604   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lart\u-boot.lds
15605   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\LEOX\elpt860
15606   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\LEOX\elpt860\config.mk
15607   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\LEOX\elpt860\elpt860.c
15608   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\LEOX\elpt860\flash.c
15609   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\LEOX\elpt860\Makefile
15610   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\LEOX\elpt860\README.LEOX
15611   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\LEOX\elpt860\u-boot.lds
15612   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\LEOX\elpt860\u-boot.lds.debug
15613   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\logodl\config.mk
15614   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\logodl\flash.c
15615   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\logodl\logodl.c
15616   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\logodl\lowlevel_init.S
15617   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\logodl\Makefile
15618   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\logodl\u-boot.lds
15619   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lpd7a40x\config.mk
15620   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lpd7a40x\flash.c
15621   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lpd7a40x\lowlevel_init.S
15622   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lpd7a40x\lpd7a40x.c
15623   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lpd7a40x\Makefile
15624   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lpd7a40x\u-boot.lds
15625   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lubbock\config.mk
15626   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lubbock\flash.c
15627   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lubbock\lowlevel_init.S
15628   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lubbock\lubbock.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 236 of 285 PageID #:822
15629   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lubbock\Makefile
15630   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lubbock\u-boot.lds
15631   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lwmon\config.mk
15632   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lwmon\flash.c
15633   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lwmon\lwmon.c
15634   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lwmon\Makefile
15635   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lwmon\README.keybd
15636   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lwmon\u-boot.lds
15637   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\lwmon\u-boot.lds.debug
15638   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\m5272c3\config.mk
15639   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\m5272c3\flash.c
15640   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\m5272c3\m5272c3.c
15641   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\m5272c3\Makefile
15642   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\m5272c3\u-boot.lds
15643   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\m5282evb\config.mk
15644   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\m5282evb\flash.c
15645   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\m5282evb\m5282evb.c
15646   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\m5282evb\Makefile
15647   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\m5282evb\u-boot.lds
15648   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\AmigaOneG3SE
15649   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator
15650   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\menu
15651   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\AmigaOneG3SE\AmigaOneG3SE.c
15652   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\AmigaOneG3SE\articiaS.c
15653   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\AmigaOneG3SE\articiaS.h
15654   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\AmigaOneG3SE\articiaS_pci.c
15655   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\AmigaOneG3SE\board_asm_init.S
15656   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\AmigaOneG3SE\cmd_boota.c
15657   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\AmigaOneG3SE\config.mk
15658   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\AmigaOneG3SE\enet.c
15659   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\AmigaOneG3SE\flash.c
15660   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\AmigaOneG3SE\flash_new.c
15661   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\AmigaOneG3SE\i8259.c
15662   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\AmigaOneG3SE\i8259.h
15663   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\AmigaOneG3SE\interrupts.c
15664   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\AmigaOneG3SE\macros.h
15665   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\AmigaOneG3SE\Makefile
15666   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\AmigaOneG3SE\memio.h
15667   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\AmigaOneG3SE\memio.S
15668   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\AmigaOneG3SE\memory_dump
15669   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\AmigaOneG3SE\nvram.c
15670   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\AmigaOneG3SE\ps2kbd.c
15671   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\AmigaOneG3SE\ps2kbd.h
15672   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\AmigaOneG3SE\serial.c
15673   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\AmigaOneG3SE\short_types.h
15674   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\AmigaOneG3SE\smbus.c
15675   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\AmigaOneG3SE\smbus.h
15676   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\AmigaOneG3SE\start.txt
15677   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\AmigaOneG3SE\todo.txt
15678   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\AmigaOneG3SE\u-boot.lds
15679   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\AmigaOneG3SE\usb_uhci.c
15680   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\AmigaOneG3SE\usb_uhci.h
15681   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\AmigaOneG3SE\via686.c
15682   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\AmigaOneG3SE\via686.h
15683   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\AmigaOneG3SE\video.c
15684   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\bios.c
15685   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\glue.c
15686   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\glue.h
15687   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech
15688   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\x86interface.c
15689   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin
15690   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin-linux
15691   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\include
15692   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\lib
15693   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs
15694   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src
15695   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\bc31-d16.bat
15696   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\bc45-c32.bat
15697   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\bc45-d16.bat
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 237 of 285 PageID #:823
15698   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\bc45-d32.bat
15699   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\bc45-snp.bat
15700   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\bc45-tnt.bat
15701   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\bc45-vxd.bat
15702   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\bc45-w16.bat
15703   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\bc45-w32.bat
15704   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\bc50-c32.bat
15705   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\bc50-d16.bat
15706   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\bc50-d32.bat
15707   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\bc50-smx.bat
15708   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\bc50-snp.bat
15709   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\bc50-tnt.bat
15710   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\bc50-vxd.bat
15711   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\bc50-w16.bat
15712   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\bc50-w32.bat
15713   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\bc50-x11.bat
15714   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\bcb5-c32.bat
15715   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\bcb5-d16.bat
15716   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\bcb5-d32.bat
15717   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\bcb5-smx.bat
15718   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\bcb5-snp.bat
15719   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\bcb5-tnt.bat
15720   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\bcb5-vxd.bat
15721   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\bcb5-w16.bat
15722   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\bcb5-w32.bat
15723   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\bcb5-x11.bat
15724   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\build
15725   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\build.bat
15726   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\build_db.bat
15727   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\build_it.bat
15728   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\cddrv.bat
15729   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\cdit
15730   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\cdit.bat
15731   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\djgpp.env
15732   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\djgpp_db.env
15733   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\findint3.bat
15734   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\gcc-beos.sh
15735   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\gcc-freebsd.sh
15736   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\gcc-linux.sh
15737   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\gcc2-c32.bat
15738   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\gcc2-dos.bat
15739   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\gcc2-linux.bat
15740   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\gcc2-w32.bat
15741   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\makelib.bat
15742   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\meltobjs.sh
15743   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\ntddk.bat
15744   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\qnx4.sh
15745   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\qnxnto.sh
15746   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\set-vars-beos.sh
15747   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\set-vars-freebsd.sh
15748   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\set-vars-linux.sh
15749   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\set-vars-qnx.sh
15750   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\set-vars.bat
15751   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\vc40-c32.bat
15752   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\vc40-d16.bat
15753   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\vc40-drv9x.bat
15754   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\vc40-drvnt.bat
15755   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\vc40-snp.bat
15756   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\vc40-tnt.bat
15757   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\vc40-w16.bat
15758   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\vc40-w32.bat
15759   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\vc40-x11.bat
15760   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\vc50-c32.bat
15761   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\vc50-d16.bat
15762   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\vc50-drv9x.bat
15763   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\vc50-drvnt.bat
15764   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\vc50-rtt.bat
15765   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\vc50-snp.bat
15766   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\vc50-tnt.bat
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 238 of 285 PageID #:824
15767   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\vc50-w16.bat
15768   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\vc50-w32.bat
15769   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\vc50-x11.bat
15770   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\vc60-c32.bat
15771   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\vc60-d16.bat
15772   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\vc60-drv9x.bat
15773   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\vc60-drvnt.bat
15774   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\vc60-drvw2k.bat
15775   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\vc60-snp.bat
15776   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\vc60-tnt.bat
15777   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\vc60-w16.bat
15778   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\vc60-w32.bat
15779   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\vc60-x11.bat
15780   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\w2kddk.bat
15781   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\wc10-c32.bat
15782   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\wc10-d16.bat
15783   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\wc10-d32.bat
15784   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\wc10-o16.bat
15785   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\wc10-o32.bat
15786   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\wc10-p32.bat
15787   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\wc10-qnx.bat
15788   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\wc10-snp.bat
15789   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\wc10-tnt.bat
15790   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\wc10-w16.bat
15791   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\wc10-w32.bat
15792   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\wc10-x11.bat
15793   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\wc10ac32.bat
15794   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\wc10ad16.bat
15795   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\wc10ad32.bat
15796   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\wc10ao16.bat
15797   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\wc10ao32.bat
15798   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\wc10ap32.bat
15799   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\wc10asnp.bat
15800   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\wc10atnt.bat
15801   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\wc10aw16.bat
15802   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\wc10aw32.bat
15803   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\wc11-c32.bat
15804   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\wc11-d16.bat
15805   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\wc11-d32.bat
15806   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\wc11-o16.bat
15807   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\wc11-o32.bat
15808   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\wc11-p32.bat
15809   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\wc11-qnx.bat
15810   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\wc11-snp.bat
15811   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\wc11-tnt.bat
15812   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\wc11-w16.bat
15813   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\wc11-w32.bat
15814   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\wc11-x11.bat
15815   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin\win32sdk.bat
15816   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin-linux\glibc
15817   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin-linux\libc
15818   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin-linux\glibc\dmake
15819   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin-linux\glibc\k_cp
15820   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin-linux\glibc\k_echo
15821   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin-linux\glibc\k_rm
15822   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin-linux\glibc\makedep
15823   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin-linux\glibc\nasm
15824   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin-linux\glibc\ndisasm
15825   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin-linux\glibc\trans
15826   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin-linux\libc\dmake
15827   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin-linux\libc\nasm
15828   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin-linux\libc\ndisasm
15829   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\bin-linux\libc\trans
15830   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\include\biosemu.h
15831   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\include\event.h
15832   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\include\mtrr.h
15833   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\include\pcilib.h
15834   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\include\pmapi.h
15835   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\include\pmimp.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 239 of 285 PageID #:825
15836   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\include\pmint.h
15837   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\include\pm_help.h
15838   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\include\pm_wctl.h
15839   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\include\scitech.h
15840   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\include\scitech.mac
15841   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\include\x86emu
15842   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\include\x86emu.h
15843   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\include\x86emu\fpu_regs.h
15844   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\include\x86emu\regs.h
15845   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\include\x86emu\types.h
15846   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\lib\debug
15847   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\lib\release
15848   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\lib\debug\linux
15849   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\lib\debug\linux\gcc
15850   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\lib\debug\linux\gcc\glibc
15851   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\lib\debug\linux\gcc\libc
15852   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\lib\debug\linux\gcc\glibc\
        readme.txt
15853   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\lib\debug\linux\gcc\libc\r
        eadme.txt
15854   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\lib\release\linux
15855   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\lib\release\linux\gcc
15856   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\lib\release\linux\gcc\glib
        c
15857   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\lib\release\linux\gcc\libc
15858   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\lib\release\linux\gcc\glib
        c\readme.txt
15859   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\lib\release\linux\gcc\libc
        \readme.txt
15860   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\bc16.mk
15861   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\bc3.mk
15862   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\bc32.mk
15863   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\bcos2.mk
15864   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\cl16.mk
15865   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\cl386.mk
15866   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\common.mk
15867   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\emx.mk
15868   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\gcc_beos.mk
15869   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\gcc_dos.mk
15870   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\gcc_freebsd.mk
15871   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\gcc_linux.mk
15872   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\gcc_win32.mk
15873   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\hc32.mk
15874   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\makedefs.prj
15875   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\qnx4.mk
15876   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\qnxnto.mk
15877   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\rules
15878   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\sc16.mk
15879   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\sc32.mk
15880   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\startup.mk
15881   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\va32.mk
15882   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\va365.mk
15883   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\vc16.mk
15884   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\vc32.mk
15885   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\wc16.mk
15886   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\wc32.mk
15887   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\rules\bc16.mk
15888   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\rules\bc3.mk
15889   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\rules\bc32.mk
15890   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\rules\bcos2.mk
15891   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\rules\cl16.mk
15892   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\rules\cl386.mk
15893   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\rules\dj32.mk
15894   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\rules\emx.mk
15895   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\rules\gcc_beos.mk
15896   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\rules\gcc_freebsd
        .mk
15897   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\rules\gcc_linux.m
        k Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 240 of 285 PageID #:826
15898   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\rules\gcc_win32.m
        k
15899   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\rules\hc32.mk
15900   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\rules\qnx4.mk
15901   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\rules\qnxnto.mk
15902   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\rules\sc16.mk
15903   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\rules\sc32.mk
15904   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\rules\va32.mk
15905   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\rules\va365.mk
15906   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\rules\vc16.mk
15907   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\rules\vc32.mk
15908   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\rules\wc16.mk
15909   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\makedefs\rules\wc32.mk
15910   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\biosemu
15911   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\common
15912   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm
15913   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\v86bios
15914   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\x86emu
15915   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\biosemu\besys.c
15916   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\biosemu\bios.c
15917   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\biosemu\biosemu.c
15918   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\biosemu\biosemui.h
15919   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\biosemu\makefile
15920   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\biosemu\makefile.cross
15921   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\biosemu\warmboot.c
15922   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\common\aabeos.c
15923   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\common\aados.c
15924   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\common\aalib.c
15925   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\common\aalinux.c
15926   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\common\aaos2.c
15927   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\common\aaqnx.c
15928   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\common\aartt.c
15929   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\common\aasmx.c
15930   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\common\aavxd.c
15931   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\common\aawin32.c
15932   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\common\agplib.c
15933   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\common\center.c
15934   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\common\cmdline.c
15935   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\common\gabeos.c
15936   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\common\gados.c
15937   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\common\galib.c
15938   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\common\galinux.c
15939   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\common\gantdrv.c
15940   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\common\gaos2.c
15941   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\common\gaqnx.c
15942   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\common\gartt.c
15943   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\common\gasmx.c
15944   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\common\gavxd.c
15945   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\common\gawin32.c
15946   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\common\gtfcalc.c
15947   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\common\libcimp.c
15948   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\common\makefile
15949   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\common\peloader.c
15950   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\common\vesavbe.c
15951   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\common\_aa_imp.asm
15952   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\common\_gatimer.asm
15953   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\common\_ga_imp.asm
15954   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\common\_pm_imp.asm
15955   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\beos
15956   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\codepage
15957   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\common
15958   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\common.c
15959   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\cpuinfo.c
15960   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\debug.c
15961   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\dos
15962   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\event.c
15963   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\linux
15964   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\makefile
15965   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\ntdrv
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 241 of 285 PageID #:827
15966   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\os2
15967   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\os2pm
15968   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\oshdr.h
15969   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\photon
15970   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\pm.vpw
15971   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\pmcommon.vpj
15972   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\pmdos.vpj
15973   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\pmlinux.vpj
15974   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\pmntdrv.vpj
15975   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\pmqnx.vpj
15976   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\pmvxd.vpj
15977   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\pmwin32.vpj
15978   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\qnx
15979   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\rttarget
15980   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\smx
15981   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\stub
15982   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\tests
15983   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\vdd
15984   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\vxd
15985   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\win32
15986   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\x11
15987   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\ztimer.c
15988   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\z_samples.vpj
15989   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\beos\cpuinfo.c
15990   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\beos\event.c
15991   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\beos\oshdr.h
15992   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\beos\pm.c
15993   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\beos\vflat.c
15994   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\beos\ztimer.c
15995   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\codepage\us_eng.c
15996   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\common\agp.c
15997   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\common\keyboard.c
15998   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\common\malloc.c
15999   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\common\mtrr.c
16000   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\common\pcilib.c
16001   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\common\unixio.c
16002   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\common\vgastate.c
16003   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\common\_cpuinfo.asm
16004   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\common\_dma.asm
16005   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\common\_int64.asm
16006   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\common\_joy.asm
16007   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\common\_mtrr.asm
16008   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\common\_pcihelp.asm
16009   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\dos\cpuinfo.c
16010   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\dos\event.c
16011   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\dos\oshdr.h
16012   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\dos\pm.c
16013   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\dos\pmdos.c
16014   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\dos\vflat.c
16015   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\dos\ztimer.c
16016   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\dos\_event.asm
16017   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\dos\_lztimer.asm
16018   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\dos\_pm.asm
16019   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\dos\_pmdos.asm
16020   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\dos\_vflat.asm
16021   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\linux\cpuinfo.c
16022   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\linux\event.c
16023   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\linux\event.svga
16024   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\linux\oshdr.h
16025   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\linux\pm.c
16026   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\linux\vflat.c
16027   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\linux\ztimer.c
16028   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\ntdrv\cpuinfo.c
16029   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\ntdrv\int86.c
16030   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\ntdrv\irq.c
16031   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\ntdrv\mem.c
16032   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\ntdrv\oshdr.h
16033   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\ntdrv\pm.c
16034   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\ntdrv\stdio.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 242 of 285 PageID #:828
16035   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\ntdrv\stdlib.c
16036   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\ntdrv\vflat.c
16037   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\ntdrv\ztimer.c
16038   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\ntdrv\_irq.asm
16039   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\ntdrv\_pm.asm
16040   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\os2\cpuinfo.c
16041   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\os2\dossctl.obj
16042   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\os2\event.c
16043   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\os2\mon.h
16044   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\os2\oshdr.h
16045   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\os2\pm.c
16046   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\os2\vflat.c
16047   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\os2\ztimer.c
16048   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\os2\_pmos2.asm
16049   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\os2pm\event.c
16050   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\os2pm\oshdr.h
16051   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\photon\event.c
16052   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\photon\oshdr.h
16053   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\qnx\cpuinfo.c
16054   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\qnx\event.c
16055   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\qnx\mtrrqnx.c
16056   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\qnx\oshdr.h
16057   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\qnx\pm.c
16058   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\qnx\vflat.c
16059   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\qnx\ztimer.c
16060   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\qnx\_mtrrqnx.asm
16061   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\rttarget\cpuinfo.c
16062   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\rttarget\event.c
16063   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\rttarget\oshdr.h
16064   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\rttarget\pm.c
16065   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\rttarget\vflat.c
16066   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\rttarget\ztimer.c
16067   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\smx\cpuinfo.c
16068   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\smx\event.c
16069   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\smx\oshdr.h
16070   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\smx\pm.c
16071   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\smx\pmsmx.c
16072   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\smx\vflat.c
16073   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\smx\ztimer.c
16074   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\smx\_event.asm
16075   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\smx\_lztimer.asm
16076   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\smx\_pm.asm
16077   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\smx\_pmsmx.asm
16078   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\smx\_vflat.asm
16079   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\stub\cpuinfo.c
16080   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\stub\event.c
16081   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\stub\oshdr.h
16082   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\stub\pm.c
16083   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\stub\vflat.c
16084   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\stub\ztimer.c
16085   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\tests\altbrk.c
16086   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\tests\altcrit.c
16087   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\tests\biosptr.c
16088   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\tests\block.c
16089   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\tests\brk.c
16090   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\tests\callreal.c
16091   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\tests\checks.c
16092   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\tests\cpu.c
16093   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\tests\critical.c
16094   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\tests\getch.c
16095   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\tests\isvesa.c
16096   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\tests\key.c
16097   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\tests\key15.c
16098   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\tests\memtest.c
16099   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\tests\mouse.c
16100   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\tests\restore.c
16101   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\tests\rtc.c
16102   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\tests\save.c
16103   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\tests\showpci.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 243 of 285 PageID #:829
16104   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\tests\tick.c
16105   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\tests\timerc.c
16106   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\tests\timercpp.cpp
16107   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\tests\uswc.c
16108   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\tests\vftest.c
16109   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\tests\video.c
16110   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\vdd\cpuinfo.c
16111   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\vdd\fileio.c
16112   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\vdd\oshdr.h
16113   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\vdd\pm.c
16114   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\vdd\vflat.c
16115   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\vdd\ztimer.c
16116   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\vxd\cpuinfo.c
16117   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\vxd\fileio.c
16118   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\vxd\oshdr.h
16119   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\vxd\pm.c
16120   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\vxd\vflat.c
16121   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\vxd\ztimer.c
16122   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\vxd\_pm.asm
16123   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\win32\cpuinfo.c
16124   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\win32\ddraw.c
16125   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\win32\event.c
16126   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\win32\ntservc.c
16127   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\win32\oshdr.h
16128   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\win32\pm.c
16129   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\win32\vflat.c
16130   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\win32\ztimer.c
16131   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\win32\_pmwin32.asm
16132   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\x11\event.c
16133   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\pm\x11\oshdr.h
16134   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\v86bios\AsmMacros.h
16135   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\v86bios\awk.scr
16136   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\v86bios\cbios.c
16137   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\v86bios\command.c
16138   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\v86bios\console.c
16139   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\v86bios\debug.h
16140   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\v86bios\happy_cards
16141   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\v86bios\hexdump
16142   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\v86bios\int.c
16143   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\v86bios\io.c
16144   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\v86bios\lex.l
16145   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\v86bios\main.c
16146   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\v86bios\makefile.linux
16147   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\v86bios\mem.c
16148   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\v86bios\parser.y
16149   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\v86bios\pci.c
16150   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\v86bios\pci.h
16151   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\v86bios\README
16152   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\v86bios\v86.c
16153   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\v86bios\v86bios.c
16154   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\v86bios\v86bios.h
16155   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\v86bios\working_cards
16156   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\v86bios\x86emu.c
16157   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\x86emu\debug.c
16158   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\x86emu\decode.c
16159   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\x86emu\fpu.c
16160   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\x86emu\LICENSE
16161   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\x86emu\makefile
16162   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\x86emu\makefile.cross
16163   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\x86emu\makefile.linux
16164   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\x86emu\makefile.uboot
16165   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\x86emu\ops.c
16166   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\x86emu\ops2.c
16167   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\x86emu\prim_ops.c
16168   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\x86emu\sys.c
16169   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\x86emu\validate.c
16170   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\x86emu\x86emu
16171   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\x86emu\x86emu\debug.h
16172   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\x86emu\x86emu\decode.h
           Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 244 of 285 PageID #:830
16173   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\x86emu\x86emu\fpu.h
16174   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\x86emu\x86emu\ops.h
16175   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\x86emu\x86emu\prim_asm
        .h
16176   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\x86emu\x86emu\prim_ops
        .h
16177   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\bios_emulator\scitech\src\x86emu\x86emu\x86emui.
        h
16178   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\menu\cmd_menu.c
16179   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\menu\menu.c
16180   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\MAI\menu\menu.h
16181   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\common
16182   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\db64360
16183   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\db64460
16184   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\include
16185   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\common\bootseq.txt
16186   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\common\ecctest.c
16187   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\common\flash.c
16188   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\common\i2c.c
16189   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\common\i2c.h
16190   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\common\intel_flash.c
16191   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\common\intel_flash.h
16192   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\common\memory.c
16193   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\common\misc.S
16194   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\common\ns16550.c
16195   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\common\ns16550.h
16196   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\common\ppc_error_no.h
16197   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\common\serial.c
16198   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\common\serial.h
16199   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\db64360\64360.h
16200   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\db64360\config.mk
16201   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\db64360\db64360.c
16202   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\db64360\eth.h
16203   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\db64360\Makefile
16204   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\db64360\mpsc.c
16205   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\db64360\mpsc.h
16206   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\db64360\mv_eth.c
16207   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\db64360\mv_eth.h
16208   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\db64360\mv_regs.h
16209   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\db64360\pci.c
16210   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\db64360\sdram_init.c
16211   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\db64360\u-boot.lds
16212   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\db64460\64460.h
16213   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\db64460\config.mk
16214   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\db64460\db64460.c
16215   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\db64460\eth.h
16216   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\db64460\Makefile
16217   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\db64460\mpsc.c
16218   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\db64460\mpsc.h
16219   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\db64460\mv_eth.c
16220   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\db64460\mv_eth.h
16221   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\db64460\mv_regs.h
16222   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\db64460\pci.c
16223   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\db64460\sdram_init.c
16224   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\db64460\u-boot.lds
16225   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\include\core.h
16226   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\include\memory.h
16227   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\include\mv_gen_reg.h
16228   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\Marvell\include\pci.h
16229   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mbx8xx\config.mk
16230   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mbx8xx\csr.h
16231   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mbx8xx\dimm.h
16232   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mbx8xx\flash.c
16233   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mbx8xx\Makefile
16234   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mbx8xx\mbx8xx.c
16235   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mbx8xx\u-boot.lds
16236   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mbx8xx\u-boot.lds.debug
16237   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mbx8xx\vpd.c
16238   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mbx8xx\vpd.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 245 of   285 PageID #:831
16239   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mcc200\config.mk
16240   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mcc200\Makefile
16241   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mcc200\mcc200.c
16242   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mcc200\mt46v16m16-75.h
16243   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mcc200\mt48lc16m16a2-75.h
16244   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mcc200\mt48lc8m32b2-6-7.h
16245   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mcc200\u-boot.lds
16246   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ml2\config.mk
16247   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ml2\flash.c
16248   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ml2\init.S
16249   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ml2\Makefile
16250   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ml2\ml2.c
16251   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ml2\serial.c
16252   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ml2\u-boot.lds
16253   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ml2\u-boot.lds.debug
16254   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\modnet50\config.mk
16255   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\modnet50\flash.c
16256   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\modnet50\lowlevel_init.S
16257   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\modnet50\Makefile
16258   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\modnet50\modnet50.c
16259   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\modnet50\u-boot.lds
16260   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mousse\config.mk
16261   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mousse\flash.c
16262   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mousse\flash.h
16263   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mousse\m48t59y.c
16264   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mousse\m48t59y.h
16265   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mousse\Makefile
16266   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mousse\mousse.c
16267   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mousse\mousse.h
16268   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mousse\pci.c
16269   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mousse\README
16270   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mousse\u-boot.lds
16271   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mousse\u-boot.lds.ram
16272   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mousse\u-boot.lds.rom
16273   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mp2usb\config.mk
16274   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mp2usb\flash.c
16275   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mp2usb\Makefile
16276   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mp2usb\mp2usb.c
16277   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mp2usb\u-boot.lds
16278   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8260ads\config.mk
16279   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8260ads\flash.c
16280   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8260ads\Makefile
16281   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8260ads\mpc8260ads.c
16282   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8260ads\u-boot.lds
16283   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8266ads\config.mk
16284   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8266ads\flash.c
16285   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8266ads\Makefile
16286   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8266ads\mpc8266ads.c
16287   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8266ads\u-boot.lds
16288   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8349ads\config.mk
16289   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8349ads\Makefile
16290   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8349ads\mpc8349ads.c
16291   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8349ads\pci.c
16292   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8349ads\u-boot.lds
16293   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8349emds\config.mk
16294   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8349emds\Makefile
16295   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8349emds\mpc8349emds.c
16296   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8349emds\u-boot.lds
16297   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8540ads\config.mk
16298   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8540ads\init.S
16299   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8540ads\Makefile
16300   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8540ads\mpc8540ads.c
16301   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8540ads\u-boot.lds
16302   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8540eval\config.mk
16303   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8540eval\flash.c
16304   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8540eval\init.S
16305   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8540eval\Makefile
16306   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8540eval\mpc8540eval.c
16307   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8540eval\u-boot.lds
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 246 of 285   PageID #:832
16308   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8560ads\config.mk
16309   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8560ads\init.S
16310   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8560ads\Makefile
16311   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8560ads\mpc8560ads.c
16312   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpc8560ads\u-boot.lds
16313   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\common
16314   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\mip405
16315   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\pati
16316   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\pip405
16317   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\vcma9
16318   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\common\common_util.c
16319   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\common\common_util.h
16320   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\common\flash.c
16321   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\common\isa.c
16322   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\common\isa.h
16323   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\common\kbd.c
16324   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\common\kbd.h
16325   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\common\memtst.c
16326   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\common\pci.c
16327   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\common\pci_parts.h
16328   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\common\piix4_pci.h
16329   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\common\usb_uhci.c
16330   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\common\usb_uhci.h
16331   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\mip405\cmd_mip405.c
16332   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\mip405\config.mk
16333   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\mip405\init.S
16334   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\mip405\Makefile
16335   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\mip405\mip405.c
16336   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\mip405\mip405.h
16337   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\mip405\u-boot.lds
16338   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\pati\cmd_pati.c
16339   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\pati\config.mk
16340   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\pati\Makefile
16341   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\pati\pati.c
16342   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\pati\pati.h
16343   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\pati\pci_eeprom.h
16344   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\pati\plx9056.h
16345   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\pati\u-boot.lds
16346   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\pip405\cmd_pip405.c
16347   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\pip405\config.mk
16348   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\pip405\init.S
16349   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\pip405\Makefile
16350   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\pip405\pip405.c
16351   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\pip405\pip405.h
16352   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\pip405\u-boot.lds
16353   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\pip405\u-boot.lds.debug
16354   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\vcma9\cmd_vcma9.c
16355   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\vcma9\config.mk
16356   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\vcma9\flash.c
16357   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\vcma9\lowlevel_init.S
16358   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\vcma9\Makefile
16359   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\vcma9\u-boot.lds
16360   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\vcma9\vcma9.c
16361   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mpl\vcma9\vcma9.h
16362   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\musenki\config.mk
16363   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\musenki\flash.c
16364   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\musenki\Makefile
16365   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\musenki\musenki.c
16366   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\musenki\README
16367   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\musenki\u-boot.lds
16368   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mvblue\config.mk
16369   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mvblue\flash.c
16370   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mvblue\Makefile
16371   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mvblue\mvblue.c
16372   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mvblue\u-boot.lds
16373   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mvs1\config.mk
16374   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mvs1\flash.c
16375   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mvs1\Makefile
16376   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mvs1\mvs1.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 247 of   285 PageID #:833
16377   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mvs1\README
16378   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mvs1\u-boot.lds
16379   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mvs1\u-boot.lds.debug
16380   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mx1ads\config.mk
16381   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mx1ads\lowlevel_init.S
16382   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mx1ads\Makefile
16383   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mx1ads\mx1ads.c
16384   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mx1ads\syncflash.c
16385   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mx1ads\u-boot.lds
16386   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mx1fs2\config.mk
16387   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mx1fs2\flash.c
16388   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mx1fs2\intel.h
16389   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mx1fs2\lowlevel_init.S
16390   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mx1fs2\Makefile
16391   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mx1fs2\mx1fs2.c
16392   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\mx1fs2\u-boot.lds
16393   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\nc650\config.mk
16394   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\nc650\flash.c
16395   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\nc650\Makefile
16396   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\nc650\nc650.c
16397   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\nc650\u-boot.lds
16398   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\nc650\u-boot.lds.debug
16399   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netphone\config.mk
16400   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netphone\flash.c
16401   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netphone\Makefile
16402   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netphone\netphone.c
16403   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netphone\phone_console.c
16404   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netphone\u-boot.lds
16405   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netphone\u-boot.lds.debug
16406   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netstar\config.mk
16407   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netstar\crcek.h
16408   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netstar\crcek.S
16409   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netstar\crcit
16410   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netstar\crcit.c
16411   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netstar\eeprom.c
16412   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netstar\eeprom.lds
16413   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netstar\eeprom_start.S
16414   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netstar\flash.c
16415   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netstar\Makefile
16416   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netstar\nand.c
16417   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netstar\netstar.c
16418   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netstar\setup.S
16419   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netstar\u-boot.lds
16420   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netta\codec.c
16421   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netta\config.mk
16422   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netta\dsp.c
16423   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netta\flash.c
16424   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netta\Makefile
16425   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netta\netta.c
16426   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netta\u-boot.lds
16427   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netta\u-boot.lds.debug
16428   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netta2\config.mk
16429   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netta2\flash.c
16430   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netta2\Makefile
16431   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netta2\netta2.c
16432   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netta2\u-boot.lds
16433   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netta2\u-boot.lds.debug
16434   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netvia\config.mk
16435   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netvia\flash.c
16436   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netvia\Makefile
16437   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netvia\netvia.c
16438   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netvia\u-boot.lds
16439   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\netvia\u-boot.lds.debug
16440   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ns9750dev\config.mk
16441   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ns9750dev\flash.c
16442   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ns9750dev\led.c
16443   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ns9750dev\lowlevel_init.S
16444   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ns9750dev\Makefile
16445   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ns9750dev\ns9750dev.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 248 of 285 PageID   #:834
16446   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ns9750dev\u-boot.lds
16447   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\nx823\config.mk
16448   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\nx823\flash.c
16449   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\nx823\Makefile
16450   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\nx823\nx823.c
16451   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\nx823\u-boot.lds
16452   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\nx823\u-boot.lds.debug
16453   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\o2dnt\config.mk
16454   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\o2dnt\flash.c
16455   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\o2dnt\Makefile
16456   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\o2dnt\o2dnt.c
16457   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\o2dnt\u-boot.lds
16458   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\omap1510inn\config.mk
16459   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\omap1510inn\lowlevel_init.S
16460   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\omap1510inn\Makefile
16461   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\omap1510inn\omap1510innovator.c
16462   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\omap1510inn\u-boot.lds
16463   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\omap1610inn\config.mk
16464   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\omap1610inn\flash.c
16465   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\omap1610inn\lowlevel_init.S
16466   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\omap1610inn\Makefile
16467   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\omap1610inn\omap1610innovator.c
16468   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\omap1610inn\u-boot.lds
16469   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\omap2420h4\config.mk
16470   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\omap2420h4\flash.c
16471   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\omap2420h4\lowlevel_init.S
16472   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\omap2420h4\Makefile
16473   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\omap2420h4\mem.c
16474   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\omap2420h4\omap2420h4.c
16475   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\omap2420h4\sys_info.c
16476   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\omap2420h4\u-boot.lds
16477   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\omap5912osk\config.mk
16478   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\omap5912osk\lowlevel_init.S
16479   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\omap5912osk\Makefile
16480   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\omap5912osk\omap5912osk.c
16481   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\omap5912osk\u-boot.lds
16482   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\omap730p2\config.mk
16483   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\omap730p2\flash.c
16484   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\omap730p2\lowlevel_init.S
16485   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\omap730p2\Makefile
16486   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\omap730p2\omap730p2.c
16487   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\omap730p2\u-boot.lds
16488   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\oxc\config.mk
16489   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\oxc\flash.c
16490   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\oxc\Makefile
16491   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\oxc\oxc.c
16492   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\oxc\u-boot.lds
16493   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pb1x00\config.mk
16494   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pb1x00\flash.c
16495   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pb1x00\Makefile
16496   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pb1x00\memsetup.S
16497   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pb1x00\pb1x00.c
16498   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pb1x00\README
16499   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pb1x00\u-boot.lds
16500   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pcippc2\config.mk
16501   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pcippc2\cpc710.h
16502   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pcippc2\cpc710_init_ram.c
16503   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pcippc2\cpc710_pci.c
16504   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pcippc2\cpc710_pci.h
16505   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pcippc2\flash.c
16506   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pcippc2\fpga_serial.c
16507   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pcippc2\fpga_serial.h
16508   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pcippc2\hardware.h
16509   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pcippc2\i2c.c
16510   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pcippc2\i2c.h
16511   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pcippc2\Makefile
16512   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pcippc2\ns16550.h
16513   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pcippc2\pcippc2.c
16514   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pcippc2\pcippc2.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 249 of 285   PageID #:835
16515   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pcippc2\pcippc2_fpga.c
16516   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pcippc2\pcippc2_fpga.h
16517   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pcippc2\sconsole.c
16518   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pcippc2\sconsole.h
16519   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pcippc2\u-boot.lds
16520   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pleb2\config.mk
16521   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pleb2\flash.c
16522   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pleb2\lowlevel_init.S
16523   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pleb2\Makefile
16524   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pleb2\pleb2.c
16525   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pleb2\u-boot.lds
16526   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pm520\config.mk
16527   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pm520\flash.c
16528   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pm520\Makefile
16529   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pm520\mt46v16m16-75.h
16530   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pm520\mt48lc16m16a2-75.h
16531   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pm520\pm520.c
16532   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pm520\u-boot.lds
16533   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pm826\config.mk
16534   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pm826\flash.c
16535   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pm826\Makefile
16536   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pm826\pm826.c
16537   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pm826\u-boot.lds
16538   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pm828\config.mk
16539   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pm828\flash.c
16540   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pm828\Makefile
16541   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pm828\pm828.c
16542   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pm828\u-boot.lds
16543   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pm854\config.mk
16544   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pm854\init.S
16545   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pm854\Makefile
16546   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pm854\pm854.c
16547   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pm854\u-boot.lds
16548   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pm856\config.mk
16549   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pm856\init.S
16550   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pm856\Makefile
16551   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pm856\pm856.c
16552   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pm856\u-boot.lds
16553   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pn62\cmd_pn62.c
16554   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pn62\config.mk
16555   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pn62\Makefile
16556   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pn62\misc.c
16557   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pn62\pn62.c
16558   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pn62\pn62.h
16559   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pn62\u-boot.lds
16560   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ppmc8260\config.mk
16561   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ppmc8260\Makefile
16562   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ppmc8260\ppmc8260.c
16563   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ppmc8260\strataflash.c
16564   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ppmc8260\u-boot.lds
16565   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\prodrive\p3p440
16566   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\prodrive\p3p440\config.mk
16567   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\prodrive\p3p440\init.S
16568   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\prodrive\p3p440\Makefile
16569   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\prodrive\p3p440\p3p440.c
16570   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\prodrive\p3p440\p3p440.h
16571   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\prodrive\p3p440\u-boot.lds
16572   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\psyent\common
16573   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\psyent\pci5441
16574   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\psyent\pk1c20
16575   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\psyent\common\AMDLV065D.c
16576   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\psyent\pci5441\config.mk
16577   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\psyent\pci5441\Makefile
16578   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\psyent\pci5441\pci5441.c
16579   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\psyent\pci5441\u-boot.lds
16580   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\psyent\pk1c20\config.mk
16581   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\psyent\pk1c20\led.c
16582   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\psyent\pk1c20\Makefile
16583   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\psyent\pk1c20\pk1c20.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 250 of 285   PageID #:836
16584   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\psyent\pk1c20\u-boot.lds
16585   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\purple\config.mk
16586   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\purple\flash.c
16587   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\purple\lowlevel_init.S
16588   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\purple\Makefile
16589   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\purple\purple.c
16590   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\purple\sconsole.c
16591   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\purple\sconsole.h
16592   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\purple\u-boot.lds
16593   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pxa255_idp\config.mk
16594   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pxa255_idp\idp_notes.txt
16595   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pxa255_idp\Makefile
16596   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pxa255_idp\memsetup.S
16597   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pxa255_idp\pxa_idp.c
16598   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pxa255_idp\pxa_reg_calcs.out
16599   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pxa255_idp\pxa_reg_calcs.py
16600   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pxa255_idp\README
16601   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\pxa255_idp\u-boot.lds
16602   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\quantum\config.mk
16603   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\quantum\fpga.c
16604   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\quantum\fpga.h
16605   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\quantum\Makefile
16606   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\quantum\quantum.c
16607   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\quantum\u-boot.lds
16608   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\quantum\u-boot.lds.debug
16609   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\r360mpi\config.mk
16610   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\r360mpi\flash.c
16611   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\r360mpi\Makefile
16612   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\r360mpi\r360mpi.c
16613   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\r360mpi\u-boot.lds
16614   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\rattler\config.mk
16615   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\rattler\Makefile
16616   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\rattler\rattler.c
16617   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\rattler\u-boot.lds
16618   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\rbc823\config.mk
16619   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\rbc823\flash.c
16620   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\rbc823\kbd.c
16621   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\rbc823\Makefile
16622   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\rbc823\rbc823.c
16623   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\rbc823\u-boot.lds
16624   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\rmu\config.mk
16625   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\rmu\flash.c
16626   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\rmu\Makefile
16627   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\rmu\rmu.c
16628   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\rmu\u-boot.lds
16629   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\rmu\u-boot.lds.debug
16630   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\RPXClassic\config.mk
16631   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\RPXClassic\eccx.c
16632   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\RPXClassic\flash.c
16633   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\RPXClassic\Makefile
16634   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\RPXClassic\RPXClassic.c
16635   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\RPXClassic\u-boot.lds
16636   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\RPXClassic\u-boot.lds.debug
16637   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\RPXlite\config.mk
16638   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\RPXlite\flash.c
16639   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\RPXlite\Makefile
16640   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\RPXlite\RPXlite.c
16641   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\RPXlite\u-boot.lds
16642   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\RPXlite\u-boot.lds.debug
16643   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\RPXlite_dw\config.mk
16644   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\RPXlite_dw\flash.c
16645   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\RPXlite_dw\Makefile
16646   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\RPXlite_dw\README
16647   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\RPXlite_dw\RPXlite_dw.c
16648   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\RPXlite_dw\u-boot.lds
16649   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\RPXlite_dw\u-boot.lds.debug
16650   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\rpxsuper\config.mk
16651   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\rpxsuper\flash.c
16652   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\rpxsuper\Makefile
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 251 of 285 PageID #:837
16653   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\rpxsuper\mii_phy.c
16654   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\rpxsuper\readme
16655   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\rpxsuper\rpxsuper.c
16656   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\rpxsuper\rpxsuper.h
16657   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\rpxsuper\u-boot.lds
16658   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\RRvision\config.mk
16659   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\RRvision\flash.c
16660   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\RRvision\Makefile
16661   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\RRvision\RRvision.c
16662   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\RRvision\u-boot.lds
16663   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\RRvision\video_ad7179.h
16664   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\rsdproto\config.mk
16665   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\rsdproto\flash.c
16666   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\rsdproto\flash_asm.S
16667   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\rsdproto\Makefile
16668   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\rsdproto\rsdproto.c
16669   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\rsdproto\u-boot.lds
16670   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sacsng\clkinit.c
16671   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sacsng\clkinit.h
16672   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sacsng\config.mk
16673   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sacsng\flash.c
16674   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sacsng\ioconfig.h
16675   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sacsng\Makefile
16676   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sacsng\sacsng.c
16677   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sacsng\u-boot.lds
16678   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandburst\common
16679   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandburst\karef
16680   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandburst\metrobox
16681   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandburst\common\flash.c
16682   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandburst\common\ppc440gx_i2c.c
16683   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandburst\common\ppc440gx_i2c.h
16684   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandburst\common\sb_common.c
16685   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandburst\common\sb_common.h
16686   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandburst\karef\config.mk
16687   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandburst\karef\hal_ka_of_auto.h
16688   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandburst\karef\hal_ka_sc_auto.h
16689   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandburst\karef\init.S
16690   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandburst\karef\karef.c
16691   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandburst\karef\karef.h
16692   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandburst\karef\karef_version.h
16693   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandburst\karef\Makefile
16694   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandburst\karef\u-boot.lds
16695   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandburst\karef\u-boot.lds.debug
16696   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandburst\metrobox\config.mk
16697   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandburst\metrobox\hal_xc_auto.h
16698   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandburst\metrobox\init.S
16699   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandburst\metrobox\Makefile
16700   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandburst\metrobox\metrobox.c
16701   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandburst\metrobox\metrobox.h
16702   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandburst\metrobox\metrobox_version.h
16703   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandburst\metrobox\u-boot.lds
16704   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandburst\metrobox\u-boot.lds.debug
16705   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandpoint\config.mk
16706   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandpoint\dinkdl
16707   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandpoint\early_init.S
16708   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandpoint\flash.c
16709   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandpoint\Makefile
16710   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandpoint\README
16711   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandpoint\sandpoint.c
16712   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandpoint\speed.h
16713   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sandpoint\u-boot.lds
16714   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sbc405\config.mk
16715   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sbc405\Makefile
16716   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sbc405\sbc405.c
16717   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sbc405\strataflash.c
16718   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sbc405\u-boot.lds
16719   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sbc8240\config.mk
16720   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sbc8240\flash.c
16721   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sbc8240\Makefile
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 252 of 285 PageID   #:838
16722   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sbc8240\README
16723   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sbc8240\sbc8240.c
16724   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sbc8240\u-boot.lds
16725   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sbc8260\config.mk
16726   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sbc8260\flash.c
16727   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sbc8260\Makefile
16728   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sbc8260\sbc8260.c
16729   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sbc8260\u-boot.lds
16730   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sbc8560\config.mk
16731   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sbc8560\init.S
16732   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sbc8560\Makefile
16733   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sbc8560\sbc8560.c
16734   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sbc8560\u-boot.lds
16735   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sc520_cdp\config.mk
16736   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sc520_cdp\flash.c
16737   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sc520_cdp\flash_old.c
16738   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sc520_cdp\Makefile
16739   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sc520_cdp\sc520_cdp.c
16740   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sc520_cdp\sc520_cdp_asm.S
16741   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sc520_cdp\sc520_cdp_asm16.S
16742   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sc520_cdp\u-boot.lds
16743   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sc520_spunk\config.mk
16744   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sc520_spunk\flash.c
16745   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sc520_spunk\Makefile
16746   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sc520_spunk\sc520_spunk.c
16747   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sc520_spunk\sc520_spunk_asm.S
16748   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sc520_spunk\sc520_spunk_asm16.S
16749   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sc520_spunk\u-boot.lds
16750   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\scb9328\config.mk
16751   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\scb9328\flash.c
16752   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\scb9328\intel.h
16753   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\scb9328\lowlevel_init.S
16754   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\scb9328\Makefile
16755   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\scb9328\scb9328.c
16756   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\scb9328\u-boot.lds
16757   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\shannon\config.mk
16758   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\shannon\flash.c
16759   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\shannon\inferno.header
16760   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\shannon\lowlevel_init.S
16761   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\shannon\Makefile
16762   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\shannon\shannon.c
16763   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\shannon\u-boot.lds
16764   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens\CCM
16765   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens\common
16766   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens\IAD210
16767   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens\pcu_e
16768   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens\SCM
16769   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens\CCM\ccm.c
16770   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens\CCM\config.mk
16771   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens\CCM\flash.c
16772   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens\CCM\fpga_ccm.c
16773   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens\CCM\Makefile
16774   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens\CCM\u-boot.lds
16775   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens\CCM\u-boot.lds.debug
16776   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens\common\fpga.c
16777   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens\common\fpga.h
16778   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens\common\README
16779   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens\IAD210\atm.c
16780   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens\IAD210\atm.h
16781   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens\IAD210\config.mk
16782   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens\IAD210\flash.c
16783   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens\IAD210\IAD210.c
16784   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens\IAD210\Makefile
16785   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens\IAD210\u-boot.lds
16786   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens\pcu_e\config.mk
16787   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens\pcu_e\flash.c
16788   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens\pcu_e\Makefile
16789   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens\pcu_e\pcu_e.c
16790   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens\pcu_e\u-boot.lds
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 253 of 285 PageID   #:839
16791   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens\pcu_e\u-boot.lds.debug
16792   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens\SCM\config.mk
16793   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens\SCM\flash.c
16794   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens\SCM\fpga_scm.c
16795   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens\SCM\Makefile
16796   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens\SCM\scm.c
16797   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens\SCM\scm.h
16798   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\siemens\SCM\u-boot.lds
16799   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sixnet\config.mk
16800   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sixnet\flash.c
16801   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sixnet\fpgadata.c
16802   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sixnet\Makefile
16803   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sixnet\sixnet.c
16804   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sixnet\sixnet.h
16805   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sixnet\u-boot.lds
16806   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sl8245\config.mk
16807   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sl8245\flash.c
16808   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sl8245\Makefile
16809   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sl8245\sl8245.c
16810   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sl8245\u-boot.lds
16811   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\smdk2400\config.mk
16812   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\smdk2400\flash.c
16813   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\smdk2400\lowlevel_init.S
16814   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\smdk2400\Makefile
16815   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\smdk2400\smdk2400.c
16816   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\smdk2400\u-boot.lds
16817   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\smdk2410\config.mk
16818   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\smdk2410\flash.c
16819   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\smdk2410\lowlevel_init.S
16820   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\smdk2410\Makefile
16821   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\smdk2410\smdk2410.c
16822   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\smdk2410\u-boot.lds
16823   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\snmc\qs850
16824   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\snmc\qs860t
16825   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\snmc\qs850\config.mk
16826   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\snmc\qs850\flash.c
16827   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\snmc\qs850\Makefile
16828   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\snmc\qs850\qs850.c
16829   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\snmc\qs850\u-boot.lds
16830   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\snmc\qs860t\config.mk
16831   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\snmc\qs860t\flash.c
16832   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\snmc\qs860t\Makefile
16833   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\snmc\qs860t\qs860t.c
16834   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\snmc\qs860t\u-boot.lds
16835   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sorcery\config.mk
16836   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sorcery\Makefile
16837   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sorcery\sorcery.c
16838   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sorcery\u-boot.lds
16839   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\spd8xx\config.mk
16840   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\spd8xx\flash.c
16841   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\spd8xx\Makefile
16842   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\spd8xx\spd8xx.c
16843   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\spd8xx\u-boot.lds
16844   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\spd8xx\u-boot.lds.debug
16845   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ssv\adnpesc1
16846   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ssv\common
16847   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ssv\adnpesc1\adnpesc1.c
16848   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ssv\adnpesc1\config.mk
16849   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ssv\adnpesc1\flash.c
16850   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ssv\adnpesc1\Makefile
16851   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ssv\adnpesc1\misc.c
16852   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ssv\adnpesc1\u-boot.lds
16853   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ssv\adnpesc1\vectors.S
16854   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ssv\common\cmd_sled.c
16855   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ssv\common\flash.c
16856   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ssv\common\post.c
16857   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\ssv\common\wd_pio.c
16858   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\stamp\config.mk
16859   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\stamp\Makefile
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 254 of 285   PageID #:840
16860   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\stamp\stamp.c
16861   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\stamp\stamp.h
16862   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\stamp\u-boot.lds
16863   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\stxgp3\config.mk
16864   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\stxgp3\flash.c
16865   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\stxgp3\init.S
16866   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\stxgp3\Makefile
16867   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\stxgp3\stxgp3.c
16868   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\stxgp3\u-boot.lds
16869   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\stxxtc\config.mk
16870   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\stxxtc\Makefile
16871   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\stxxtc\oftree.dts
16872   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\stxxtc\stxxtc.c
16873   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\stxxtc\u-boot.lds
16874   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\stxxtc\u-boot.lds.debug
16875   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\svm_sc8xx\config.mk
16876   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\svm_sc8xx\flash.c
16877   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\svm_sc8xx\Makefile
16878   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\svm_sc8xx\svm_sc8xx.c
16879   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\svm_sc8xx\u-boot.lds
16880   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\svm_sc8xx\u-boot.lds.debug
16881   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sx1\config.mk
16882   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sx1\lowlevel_init.S
16883   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sx1\Makefile
16884   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sx1\sx1.c
16885   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\sx1\u-boot.lds
16886   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tb0229\config.mk
16887   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tb0229\flash.c
16888   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tb0229\lowlevel_init.S
16889   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tb0229\Makefile
16890   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tb0229\tb0229.c
16891   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tb0229\u-boot.lds
16892   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tb0229\vr4131-pci.c
16893   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\total5200\config.mk
16894   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\total5200\Makefile
16895   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\total5200\mt48lc16m16a2-75.h
16896   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\total5200\mt48lc32m16a2-75.h
16897   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\total5200\sdram.c
16898   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\total5200\sdram.h
16899   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\total5200\total5200.c
16900   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\total5200\u-boot.lds
16901   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tqm5200\cmd_stk52xx.c
16902   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tqm5200\config.mk
16903   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tqm5200\flash.c
16904   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tqm5200\Makefile
16905   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tqm5200\mt48lc16m16a2-75.h
16906   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tqm5200\tqm5200.c
16907   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tqm5200\u-boot.lds
16908   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tqm8260\config.mk
16909   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tqm8260\flash.c
16910   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tqm8260\Makefile
16911   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tqm8260\tqm8260.c
16912   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tqm8260\u-boot.lds
16913   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tqm834x\config.mk
16914   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tqm834x\Makefile
16915   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tqm834x\pci.c
16916   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tqm834x\tqm834x.c
16917   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tqm834x\u-boot.lds
16918   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tqm85xx\config.mk
16919   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tqm85xx\init.S
16920   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tqm85xx\Makefile
16921   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tqm85xx\sdram.c
16922   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tqm85xx\tqm85xx.c
16923   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tqm85xx\u-boot.lds
16924   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tqm8xx\config.mk
16925   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tqm8xx\flash.c
16926   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tqm8xx\load_sernum_ethaddr.c
16927   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tqm8xx\Makefile
16928   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tqm8xx\tqm8xx.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 255 of 285   PageID #:841
16929   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tqm8xx\u-boot.lds
16930   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\tqm8xx\u-boot.lds.debug
16931   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\trab\auto_update.c
16932   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\trab\cmd_trab.c
16933   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\trab\config.mk
16934   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\trab\flash.c
16935   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\trab\lowlevel_init.S
16936   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\trab\Makefile
16937   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\trab\memory.c
16938   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\trab\Pt1000_temp_data.h
16939   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\trab\README.kbd
16940   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\trab\rs485.c
16941   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\trab\rs485.h
16942   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\trab\trab.c
16943   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\trab\trab_fkt.c
16944   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\trab\tsc2000.c
16945   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\trab\tsc2000.h
16946   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\trab\u-boot.lds
16947   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\trab\vfd.c
16948   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\uc100\config.mk
16949   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\uc100\Makefile
16950   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\uc100\u-boot.lds
16951   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\uc100\u-boot.lds.debug
16952   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\uc100\uc100.c
16953   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\utx8245\config.mk
16954   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\utx8245\flash.c
16955   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\utx8245\Makefile
16956   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\utx8245\u-boot.lds
16957   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\utx8245\utx8245.c
16958   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\v37\config.mk
16959   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\v37\flash.c
16960   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\v37\Makefile
16961   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\v37\u-boot.lds
16962   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\v37\v37.c
16963   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\versatile\config.mk
16964   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\versatile\flash.c
16965   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\versatile\lowlevel_init.S
16966   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\versatile\Makefile
16967   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\versatile\split_by_variant.sh
16968   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\versatile\u-boot.lds
16969   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\versatile\versatile.c
16970   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\voiceblue\config.mk
16971   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\voiceblue\eeprom.c
16972   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\voiceblue\eeprom.lds
16973   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\voiceblue\eeprom_start.S
16974   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\voiceblue\Makefile
16975   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\voiceblue\setup.S
16976   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\voiceblue\u-boot.lds
16977   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\voiceblue\voiceblue.c
16978   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\w7o\cmd_vpd.c
16979   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\w7o\config.mk
16980   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\w7o\errors.h
16981   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\w7o\flash.c
16982   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\w7o\fpga.c
16983   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\w7o\fsboot.c
16984   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\w7o\init.S
16985   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\w7o\Makefile
16986   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\w7o\post1.S
16987   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\w7o\post2.c
16988   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\w7o\u-boot.lds
16989   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\w7o\u-boot.lds.debug
16990   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\w7o\vpd.c
16991   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\w7o\vpd.h
16992   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\w7o\w7o.c
16993   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\w7o\w7o.h
16994   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\w7o\watchdog.c
16995   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\wepep250\config.mk
16996   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\wepep250\flash.c
16997   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\wepep250\intel.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 256 of 285 PageID #:842
16998   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\wepep250\lowlevel_init.S
16999   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\wepep250\Makefile
17000   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\wepep250\u-boot.lds
17001   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\wepep250\wepep250.c
17002   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\westel\amx860
17003   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\westel\amx860\amx860.c
17004   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\westel\amx860\config.mk
17005   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\westel\amx860\flash.c
17006   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\westel\amx860\Makefile
17007   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\westel\amx860\u-boot.lds
17008   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\westel\amx860\u-boot.lds.debug
17009   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xaeniax\config.mk
17010   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xaeniax\flash.c
17011   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xaeniax\lowlevel_init.S
17012   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xaeniax\Makefile
17013   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xaeniax\u-boot.lds
17014   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xaeniax\xaeniax.c
17015   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\common
17016   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\ml300
17017   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\xilinx_enet
17018   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\xilinx_iic
17019   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\common\xbasic_types.c
17020   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\common\xbasic_types.h
17021   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\common\xbuf_descriptor.h
17022   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\common\xdma_channel.c
17023   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\common\xdma_channel.h
17024   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\common\xdma_channel_i.h
17025   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\common\xdma_channel_sg.c
17026   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\common\xio.h
17027   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\common\xipif_v1_23_b.c
17028   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\common\xipif_v1_23_b.h
17029   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\common\xpacket_fifo_v1_00_b.c
17030   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\common\xpacket_fifo_v1_00_b.h
17031   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\common\xstatus.h
17032   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\common\xversion.c
17033   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\common\xversion.h
17034   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\ml300\config.mk
17035   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\ml300\init.S
17036   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\ml300\Makefile
17037   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\ml300\ml300.c
17038   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\ml300\serial.c
17039   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\ml300\sw_services
17040   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\ml300\u-boot.lds
17041   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\ml300\u-boot.lds.debug
17042   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\ml300\xparameters.h
17043   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\ml300\sw_services\uboot_v1_00_a
17044   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\ml300\sw_services\uboot_v1_00_a\data
17045   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\ml300\sw_services\uboot_v1_00_a\data\Ltypes
17046   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\ml300\sw_services\uboot_v1_00_a\data\uboot_v2
        _1_0.mld
17047   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\ml300\sw_services\uboot_v1_00_a\data\uboot_v2
        _1_0.tcl
17048   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\xilinx_enet\emac_adapter.c
17049   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\xilinx_enet\xemac.c
17050   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\xilinx_enet\xemac.h
17051   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\xilinx_enet\xemac_g.c
17052   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\xilinx_enet\xemac_i.h
17053   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\xilinx_enet\xemac_intr.c
17054   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\xilinx_enet\xemac_intr_dma.c
17055   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\xilinx_enet\xemac_l.h
17056   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\xilinx_enet\xemac_options.c
17057   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\xilinx_enet\xemac_polled.c
17058   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\xilinx_iic\iic_adapter.c
17059   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\xilinx_iic\xiic_l.c
17060   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xilinx\xilinx_iic\xiic_l.h
17061   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xm250\config.mk
17062   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xm250\flash.c
17063   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xm250\lowlevel_init.S
17064   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xm250\Makefile
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 257 of 285 PageID #:843
17065   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xm250\u-boot.lds
17066   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xm250\xm250.c
17067   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xpedite1k\config.mk
17068   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xpedite1k\flash.c
17069   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xpedite1k\init.S
17070   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xpedite1k\Makefile
17071   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xpedite1k\u-boot.lds
17072   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xpedite1k\u-boot.lds.debug
17073   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xpedite1k\xpedite1k.c
17074   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xsengine\config.mk
17075   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xsengine\flash.c
17076   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xsengine\lowlevel_init.S
17077   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xsengine\Makefile
17078   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xsengine\u-boot.lds
17079   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\xsengine\xsengine.c
17080   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\zpc1900\config.mk
17081   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\zpc1900\Makefile
17082   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\zpc1900\u-boot.lds
17083   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\zpc1900\zpc1900.c
17084   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\zylonite\config.mk
17085   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\zylonite\flash.c
17086   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\zylonite\lowlevel_init.S
17087   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\zylonite\Makefile
17088   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\zylonite\u-boot.lds
17089   GPL.UBNT.v6.1.7\uboot\uboot-xw\board\zylonite\zylonite.c
17090   GPL.UBNT.v6.1.7\uboot\uboot-xw\boot\u-boot
17091   GPL.UBNT.v6.1.7\uboot\uboot-xw\boot\u-boot\board
17092   GPL.UBNT.v6.1.7\uboot\uboot-xw\boot\u-boot\board\ar7240
17093   GPL.UBNT.v6.1.7\uboot\uboot-xw\boot\u-boot\board\ar7240\common
17094   GPL.UBNT.v6.1.7\uboot\uboot-xw\boot\u-boot\board\ar7240\common\athrs_vir_phy.c
17095   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\ACEX1K.c
17096   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\altera.c
17097   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\bedbug.c
17098   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\circbuf.c
17099   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_ace.c
17100   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_autoscript.c
17101   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_bdinfo.c
17102   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_bdr.c
17103   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_bedbug.c
17104   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_bmp.c
17105   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_boot.c
17106   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_bootm.c
17107   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_cache.c
17108   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_console.c
17109   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_date.c
17110   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_dcr.c
17111   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_ddr.c
17112   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_diag.c
17113   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_display.c
17114   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_doc.c
17115   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_dtt.c
17116   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_eeprom.c
17117   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_elf.c
17118   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_ethreg.c
17119   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_ext2.c
17120   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_fat.c
17121   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_fdc.c
17122   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_fdos.c
17123   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_flash.c
17124   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_fpga.c
17125   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_i2c.c
17126   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_ide.c
17127   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_immap.c
17128   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_itest.c
17129   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_jffs2.c
17130   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_load.c
17131   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_log.c
17132   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_mem.c
17133   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_mii.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page   258 of 285 PageID #:844
17134   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_misc.c
17135   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_mmc.c
17136   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_nand.c
17137   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_net.c
17138   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_nvedit.c
17139   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_pci.c
17140   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_pcmcia.c
17141   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_pll.c
17142   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_portio.c
17143   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_reginfo.c
17144   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_reiser.c
17145   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_scsi.c
17146   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_spi.c
17147   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_universe.c
17148   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_usb.c
17149   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_vfd.c
17150   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\cmd_ximg.c
17151   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\command.c
17152   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\console.c
17153   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\crc16.c
17154   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\devices.c
17155   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\dlmalloc.c
17156   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\dlmalloc.src
17157   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\docecc.c
17158   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\environment.c
17159   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\env_common.c
17160   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\env_dataflash.c
17161   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\env_eeprom.c
17162   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\env_flash.c
17163   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\env_nand.c
17164   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\env_nowhere.c
17165   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\env_nvram.c
17166   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\exports.c
17167   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\flash.c
17168   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\fpga.c
17169   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\ft_build.c
17170   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\hush.c
17171   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\kgdb.c
17172   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\lcd.c
17173   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\lists.c
17174   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\lynxkdi.c
17175   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\main.c
17176   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\Makefile
17177   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\memsize.c
17178   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\miiphybb.c
17179   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\miiphyutil.c
17180   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\serial.c
17181   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\soft_i2c.c
17182   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\soft_spi.c
17183   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\spartan2.c
17184   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\spartan3.c
17185   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\s_record.c
17186   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\ubnt_api_calls.c
17187   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\usb.c
17188   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\usb_kbd.c
17189   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\usb_storage.c
17190   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\virtex2.c
17191   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\xilinx.c
17192   GPL.UBNT.v6.1.7\uboot\uboot-xw\common\xyzModem.c
17193   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\74xx_7xx
17194   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm1136
17195   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm720t
17196   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t
17197   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm925t
17198   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm926ejs
17199   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm946es
17200   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm_intcm
17201   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\bf533
17202   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\i386
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 259 of 285 PageID   #:845
17203   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ixp
17204   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\lh7a40x
17205   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mcf52x2
17206   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\microblaze
17207   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips
17208   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc5xx
17209   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc5xxx
17210   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8220
17211   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x
17212   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8260
17213   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc83xx
17214   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc85xx
17215   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8xx
17216   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\nios
17217   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\nios2
17218   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ppc4xx
17219   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\pxa
17220   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\s3c44b0
17221   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\sa1100
17222   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\74xx_7xx\cache.S
17223   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\74xx_7xx\config.mk
17224   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\74xx_7xx\cpu.c
17225   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\74xx_7xx\cpu_init.c
17226   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\74xx_7xx\interrupts.c
17227   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\74xx_7xx\io.S
17228   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\74xx_7xx\kgdb.S
17229   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\74xx_7xx\Makefile
17230   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\74xx_7xx\speed.c
17231   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\74xx_7xx\start.S
17232   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\74xx_7xx\traps.c
17233   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm1136\config.mk
17234   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm1136\cpu.c
17235   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm1136\interrupts.c
17236   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm1136\Makefile
17237   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm1136\start.S
17238   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm720t\config.mk
17239   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm720t\cpu.c
17240   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm720t\interrupts.c
17241   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm720t\Makefile
17242   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm720t\serial.c
17243   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm720t\serial_netarm.c
17244   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm720t\start.S
17245   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\at91rm9200
17246   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\config.mk
17247   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\cpu.c
17248   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\imx
17249   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\interrupts.c
17250   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\ks8695
17251   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\Makefile
17252   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\s3c24x0
17253   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\start.S
17254   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\at91rm9200\bcm5221.c
17255   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\at91rm9200\dm9161.c
17256   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\at91rm9200\ether.c
17257   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\at91rm9200\i2c.c
17258   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\at91rm9200\interrupts.c
17259   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\at91rm9200\lowlevel_init.S
17260   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\at91rm9200\lxt972.c
17261   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\at91rm9200\Makefile
17262   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\at91rm9200\serial.c
17263   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\at91rm9200\usb_ohci.c
17264   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\at91rm9200\usb_ohci.h
17265   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\imx\generic.c
17266   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\imx\interrupts.c
17267   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\imx\Makefile
17268   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\imx\serial.c
17269   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\imx\speed.c
17270   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\ks8695\interrupts.c
17271   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\ks8695\lowlevel_init.S
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 260 of 285   PageID #:846
17272   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\ks8695\Makefile
17273   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\ks8695\serial.c
17274   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\s3c24x0\i2c.c
17275   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\s3c24x0\interrupts.c
17276   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\s3c24x0\Makefile
17277   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\s3c24x0\serial.c
17278   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\s3c24x0\speed.c
17279   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\s3c24x0\usb_ohci.c
17280   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm920t\s3c24x0\usb_ohci.h
17281   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm925t\config.mk
17282   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm925t\cpu.c
17283   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm925t\interrupts.c
17284   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm925t\Makefile
17285   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm925t\omap925.c
17286   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm925t\start.S
17287   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm926ejs\config.mk
17288   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm926ejs\cpu.c
17289   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm926ejs\interrupts.c
17290   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm926ejs\Makefile
17291   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm926ejs\omap
17292   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm926ejs\start.S
17293   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm926ejs\versatile
17294   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm926ejs\omap\Makefile
17295   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm926ejs\omap\reset.S
17296   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm926ejs\omap\timer.c
17297   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm926ejs\versatile\Makefile
17298   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm926ejs\versatile\reset.S
17299   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm926ejs\versatile\timer.c
17300   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm946es\config.mk
17301   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm946es\cpu.c
17302   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm946es\interrupts.c
17303   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm946es\Makefile
17304   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm946es\start.S
17305   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm_intcm\config.mk
17306   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm_intcm\cpu.c
17307   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm_intcm\interrupts.c
17308   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm_intcm\Makefile
17309   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\arm_intcm\start.S
17310   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\bf533\bf533_serial.h
17311   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\bf533\cache.S
17312   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\bf533\config.mk
17313   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\bf533\cplbhdlr.S
17314   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\bf533\cplbmgr.S
17315   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\bf533\cpu.c
17316   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\bf533\cpu.h
17317   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\bf533\flush.S
17318   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\bf533\interrupt.S
17319   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\bf533\interrupts.c
17320   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\bf533\ints.c
17321   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\bf533\Makefile
17322   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\bf533\serial.c
17323   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\bf533\start.S
17324   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\bf533\start1.S
17325   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\bf533\traps.c
17326   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\i386\config.mk
17327   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\i386\cpu.c
17328   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\i386\interrupts.c
17329   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\i386\Makefile
17330   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\i386\reset.S
17331   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\i386\sc520.c
17332   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\i386\sc520_asm.S
17333   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\i386\serial.c
17334   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\i386\start.S
17335   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\i386\start16.S
17336   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\i386\timer.c
17337   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ixp\config.mk
17338   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ixp\cpu.c
17339   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ixp\interrupts.c
17340   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ixp\Makefile
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 261 of 285   PageID #:847
17341   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ixp\pci.c
17342   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ixp\serial.c
17343   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ixp\start.S
17344   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ixp\timer.c
17345   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\lh7a40x\config.mk
17346   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\lh7a40x\cpu.c
17347   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\lh7a40x\interrupts.c
17348   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\lh7a40x\Makefile
17349   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\lh7a40x\serial.c
17350   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\lh7a40x\speed.c
17351   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\lh7a40x\start.S
17352   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mcf52x2\config.mk
17353   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mcf52x2\cpu.c
17354   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mcf52x2\cpu_init.c
17355   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mcf52x2\fec.c
17356   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mcf52x2\interrupts.c
17357   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mcf52x2\Makefile
17358   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mcf52x2\serial.c
17359   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mcf52x2\speed.c
17360   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mcf52x2\start.S
17361   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\microblaze\cpu.c
17362   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\microblaze\interrupts.c
17363   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\microblaze\Makefile
17364   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\microblaze\start.S
17365   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\ar7100
17366   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\ar7240
17367   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\asc_serial.c
17368   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\asc_serial.h
17369   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\au1x00_eth.c
17370   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\au1x00_serial.c
17371   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\au1x00_usb_ohci.c
17372   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\au1x00_usb_ohci.h
17373   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\cache.S
17374   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\config.mk
17375   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\cpu.c
17376   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\incaip_clock.c
17377   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\incaip_wdt.S
17378   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\interrupts.c
17379   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\Makefile
17380   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\Makefile.orig
17381   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\start.S
17382   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\start_bootstrap.S
17383   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\ar7100\ag7100.c
17384   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\ar7100\ag7100.h
17385   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\ar7100\ag7100_phy.h
17386   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\ar7100\ar7100_serial.c
17387   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\ar7100\Makefile
17388   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\ar7100\meminit.c
17389   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\ar7240\ag7240.c
17390   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\ar7240\ag7240.h
17391   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\ar7240\ag7240_phy.h
17392   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\ar7240\ag934x.c
17393   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\ar7240\ag934x.h
17394   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\ar7240\ag934x_phy.h
17395   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\ar7240\ar7240_serial.c
17396   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\ar7240\hornet.h
17397   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\ar7240\hornet_ag7240.c
17398   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\ar7240\hornet_ddr_init.S
17399   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\ar7240\hornet_serial.c
17400   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\ar7240\Makefile
17401   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mips\ar7240\meminit.c
17402   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc5xx\config.mk
17403   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc5xx\cpu.c
17404   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc5xx\cpu_init.c
17405   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc5xx\interrupts.c
17406   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc5xx\Makefile
17407   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc5xx\serial.c
17408   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc5xx\speed.c
17409   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc5xx\spi.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 262 of 285 PageID #:848
17410   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc5xx\start.S
17411   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc5xx\traps.c
17412   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc5xxx\config.mk
17413   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc5xxx\cpu.c
17414   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc5xxx\cpu_init.c
17415   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc5xxx\fec.c
17416   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc5xxx\fec.h
17417   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc5xxx\firmware_sc_task.impl.S
17418   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc5xxx\firmware_sc_task_bestcomm.impl.S
17419   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc5xxx\i2c.c
17420   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc5xxx\ide.c
17421   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc5xxx\interrupts.c
17422   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc5xxx\io.S
17423   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc5xxx\loadtask.c
17424   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc5xxx\Makefile
17425   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc5xxx\pci_mpc5200.c
17426   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc5xxx\sdma.h
17427   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc5xxx\serial.c
17428   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc5xxx\speed.c
17429   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc5xxx\start.S
17430   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc5xxx\traps.c
17431   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc5xxx\usb_ohci.c
17432   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc5xxx\usb_ohci.h
17433   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8220\config.mk
17434   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8220\cpu.c
17435   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8220\cpu_init.c
17436   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8220\dma.h
17437   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8220\dramSetup.c
17438   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8220\dramSetup.h
17439   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8220\fec.c
17440   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8220\fec.h
17441   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8220\fec_dma_tasks.S
17442   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8220\i2c.c
17443   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8220\i2cCore.c
17444   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8220\i2cCore.h
17445   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8220\interrupts.c
17446   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8220\io.S
17447   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8220\loadtask.c
17448   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8220\Makefile
17449   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8220\pci.c
17450   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8220\speed.c
17451   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8220\start.S
17452   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8220\traps.c
17453   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8220\uart.c
17454   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\config.mk
17455   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\cpu.c
17456   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\cpu_init.c
17457   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\drivers
17458   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\interrupts.c
17459   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\Makefile
17460   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\pci.c
17461   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\speed.c
17462   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\start.S
17463   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\traps.c
17464   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\drivers\dma
17465   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\drivers\dma_export.h
17466   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\drivers\epic
17467   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\drivers\epic.h
17468   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\drivers\errors.h
17469   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\drivers\i2c
17470   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\drivers\i2c_export.h
17471   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\drivers\i2o
17472   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\drivers\i2o.h
17473   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\drivers\dma\dma.h
17474   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\drivers\dma\dma1.c
17475   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\drivers\dma\dma2.S
17476   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\drivers\dma\dma_export.h
17477   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\drivers\dma\Makefile
17478   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\drivers\dma\Makefile_pc
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 263 of 285   PageID #:849
17479   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\drivers\dma\README
17480   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\drivers\epic\epic.h
17481   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\drivers\epic\epic1.c
17482   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\drivers\epic\epic2.S
17483   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\drivers\epic\epicutil.S
17484   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\drivers\epic\README
17485   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\drivers\i2c\i2c.c
17486   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\drivers\i2o\i2o.h
17487   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\drivers\i2o\i2o1.c
17488   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\drivers\i2o\i2o2.S
17489   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\drivers\i2o\Makefile
17490   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc824x\drivers\i2o\Makefile_pc
17491   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8260\bedbug_603e.c
17492   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8260\commproc.c
17493   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8260\config.mk
17494   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8260\cpu.c
17495   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8260\cpu_init.c
17496   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8260\ether_fcc.c
17497   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8260\ether_scc.c
17498   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8260\i2c.c
17499   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8260\interrupts.c
17500   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8260\kgdb.S
17501   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8260\Makefile
17502   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8260\pci.c
17503   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8260\serial_scc.c
17504   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8260\serial_smc.c
17505   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8260\speed.c
17506   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8260\speed.h
17507   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8260\spi.c
17508   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8260\start.S
17509   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8260\traps.c
17510   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc83xx\config.mk
17511   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc83xx\cpu.c
17512   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc83xx\cpu_init.c
17513   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc83xx\i2c.c
17514   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc83xx\interrupts.c
17515   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc83xx\Makefile
17516   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc83xx\resetvec.S
17517   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc83xx\spd_sdram.c
17518   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc83xx\speed.c
17519   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc83xx\start.S
17520   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc83xx\traps.c
17521   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc85xx\commproc.c
17522   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc85xx\config.mk
17523   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc85xx\cpu.c
17524   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc85xx\cpu_init.c
17525   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc85xx\ether_fcc.c
17526   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc85xx\i2c.c
17527   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc85xx\interrupts.c
17528   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc85xx\Makefile
17529   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc85xx\pci.c
17530   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc85xx\resetvec.S
17531   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc85xx\serial_scc.c
17532   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc85xx\spd_sdram.c
17533   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc85xx\speed.c
17534   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc85xx\start.S
17535   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc85xx\traps.c
17536   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8xx\bedbug_860.c
17537   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8xx\commproc.c
17538   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8xx\config.mk
17539   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8xx\cpu.c
17540   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8xx\cpu_init.c
17541   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8xx\fec.c
17542   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8xx\fec.h
17543   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8xx\i2c.c
17544   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8xx\interrupts.c
17545   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8xx\kgdb.S
17546   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8xx\lcd.c
17547   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8xx\Makefile
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page   264 of 285 PageID #:850
17548   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8xx\plprcr_write.S
17549   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8xx\scc.c
17550   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8xx\serial.c
17551   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8xx\speed.c
17552   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8xx\spi.c
17553   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8xx\start.S
17554   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8xx\traps.c
17555   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8xx\upatch.c
17556   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8xx\video.c
17557   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\mpc8xx\wlkbd.c
17558   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\nios\asmi.c
17559   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\nios\config.mk
17560   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\nios\cpu.c
17561   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\nios\interrupts.c
17562   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\nios\Makefile
17563   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\nios\serial.c
17564   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\nios\spi.c
17565   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\nios\start.S
17566   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\nios\traps.S
17567   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\nios2\config.mk
17568   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\nios2\cpu.c
17569   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\nios2\epcs.c
17570   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\nios2\exceptions.S
17571   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\nios2\interrupts.c
17572   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\nios2\Makefile
17573   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\nios2\serial.c
17574   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\nios2\start.S
17575   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\nios2\sysid.c
17576   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\nios2\traps.c
17577   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ppc4xx\405gp_pci.c
17578   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ppc4xx\4xx_enet.c
17579   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ppc4xx\bedbug_405.c
17580   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ppc4xx\commproc.c
17581   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ppc4xx\config.mk
17582   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ppc4xx\cpu.c
17583   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ppc4xx\cpu_init.c
17584   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ppc4xx\dcr.S
17585   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ppc4xx\i2c.c
17586   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ppc4xx\interrupts.c
17587   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ppc4xx\kgdb.S
17588   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ppc4xx\Makefile
17589   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ppc4xx\miiphy.c
17590   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ppc4xx\resetvec.S
17591   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ppc4xx\sdram.c
17592   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ppc4xx\sdram.h
17593   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ppc4xx\serial.c
17594   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ppc4xx\spd_sdram.c
17595   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ppc4xx\speed.c
17596   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ppc4xx\start.S
17597   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ppc4xx\traps.c
17598   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ppc4xx\usbdev.c
17599   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ppc4xx\usbdev.h
17600   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ppc4xx\usb_ohci.c
17601   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ppc4xx\usb_ohci.h
17602   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\ppc4xx\vecnum.h
17603   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\pxa\config.mk
17604   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\pxa\cpu.c
17605   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\pxa\i2c.c
17606   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\pxa\interrupts.c
17607   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\pxa\Makefile
17608   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\pxa\mmc.c
17609   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\pxa\pxafb.c
17610   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\pxa\serial.c
17611   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\pxa\start.S
17612   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\s3c44b0\config.mk
17613   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\s3c44b0\cpu.c
17614   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\s3c44b0\interrupts.c
17615   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\s3c44b0\Makefile
17616   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\s3c44b0\serial.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 265 of 285   PageID #:851
17617   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\s3c44b0\start.S
17618   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\sa1100\config.mk
17619   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\sa1100\cpu.c
17620   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\sa1100\interrupts.c
17621   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\sa1100\Makefile
17622   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\sa1100\serial.c
17623   GPL.UBNT.v6.1.7\uboot\uboot-xw\cpu\sa1100\start.S
17624   GPL.UBNT.v6.1.7\uboot\uboot-xw\disk\Makefile
17625   GPL.UBNT.v6.1.7\uboot\uboot-xw\disk\part.c
17626   GPL.UBNT.v6.1.7\uboot\uboot-xw\disk\part_amiga.c
17627   GPL.UBNT.v6.1.7\uboot\uboot-xw\disk\part_amiga.h
17628   GPL.UBNT.v6.1.7\uboot\uboot-xw\disk\part_dos.c
17629   GPL.UBNT.v6.1.7\uboot\uboot-xw\disk\part_dos.h
17630   GPL.UBNT.v6.1.7\uboot\uboot-xw\disk\part_iso.c
17631   GPL.UBNT.v6.1.7\uboot\uboot-xw\disk\part_iso.h
17632   GPL.UBNT.v6.1.7\uboot\uboot-xw\disk\part_mac.c
17633   GPL.UBNT.v6.1.7\uboot\uboot-xw\disk\part_mac.h
17634   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\I2C_Edge_Conditions
17635   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README-i386
17636   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README-integrator
17637   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.adnpesc1
17638   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.adnpesc1_base32
17639   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.alaska8220
17640   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.AMCC-eval-boards-cleanup
17641   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.amigaone
17642   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.ARM-memory-map
17643   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.ARM-SoC
17644   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.autoboot
17645   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.bedbug
17646   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.cmi
17647   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.COBRA5272
17648   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.commands
17649   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.commands.itest
17650   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.console
17651   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.db64360
17652   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.db64460
17653   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.dk1c20
17654   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.dk1c20_std32
17655   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.dk1s10
17656   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.dk1s10_mldk20
17657   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.dk1s10_std32
17658   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.dk1s40_std32
17659   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.dk20k200_std32
17660   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.ebony
17661   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.EVB-64260-750CX
17662   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.evb64260
17663   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.fads
17664   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.IceCube
17665   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.idma2intr
17666   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.INCA-IP
17667   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.IPHASE4539
17668   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.JFFS2
17669   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.JFFS2_NAND
17670   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.lynxkdi
17671   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.m68k
17672   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.MBX
17673   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.ml300
17674   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.Modem
17675   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.modnet50
17676   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.mpc5xx
17677   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.mpc74xx
17678   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.mpc8349emds.ddrecc
17679   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.mpc83xxads
17680   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.mpc85xxads
17681   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.mpc85xxcds
17682   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.MPC866
17683   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.nand
17684   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.ne2000
17685   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.NetConsole
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 266 of 285   PageID #:852
17686   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.nios
17687   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.nios_CFG_NIOS_CPU
17688   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.nios_DK
17689   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.ns9750dev
17690   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.ocotea
17691   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.ocotea-PIBS-to-U-Boot
17692   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.OFT
17693   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.omap730p2
17694   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.OXC
17695   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.PIP405
17696   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.PlanetCore
17697   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.POST
17698   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.ppc440
17699   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.Purple
17700   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.PXA_CF
17701   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.RPXClassic
17702   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.RPXlite
17703   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.Sandpoint8240
17704   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.sbc8560
17705   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.sched
17706   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.serial_multi
17707   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.silent
17708   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.SNTP
17709   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.standalone
17710   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.stxxtc
17711   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.TQM8260
17712   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.usb
17713   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.video
17714   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.VLAN
17715   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\README.xpedite1k
17716   GPL.UBNT.v6.1.7\uboot\uboot-xw\doc\TODO-i386
17717   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\3c589.c
17718   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\3c589.h
17719   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\5701rls.c
17720   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\5701rls.h
17721   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\8390.h
17722   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\ali512x.c
17723   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\bcm570x.c
17724   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\bcm570x_autoneg.c
17725   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\bcm570x_autoneg.h
17726   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\bcm570x_bits.h
17727   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\bcm570x_debug.h
17728   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\bcm570x_lm.h
17729   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\bcm570x_mm.h
17730   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\bcm570x_queue.h
17731   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\cfb_console.c
17732   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\cfi_flash.c
17733   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\cs8900.c
17734   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\cs8900.h
17735   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\ct69000.c
17736   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\dataflash.c
17737   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\dc2114x.c
17738   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\dm9000x.c
17739   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\dm9000x.h
17740   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\ds1722.c
17741   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\e1000.c
17742   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\e1000.h
17743   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\eepro100.c
17744   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\i8042.c
17745   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\i82365.c
17746   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\inca-ip_sw.c
17747   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\keyboard.c
17748   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\ks8695eth.c
17749   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\lan91c96.c
17750   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\lan91c96.h
17751   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\Makefile
17752   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\mw_eeprom.c
17753   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\nand
17754   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\nand_legacy
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 267   of 285 PageID #:853
17755   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\natsemi.c
17756   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\ne2000.c
17757   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\ne2000.h
17758   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\netarm_eth.c
17759   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\netarm_eth.h
17760   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\netconsole.c
17761   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\nicext.h
17762   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\ns16550.c
17763   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\ns7520_eth.c
17764   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\ns8382x.c
17765   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\ns87308.c
17766   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\ns9750_eth.c
17767   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\ns9750_serial.c
17768   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\omap1510_i2c.c
17769   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\omap24xx_i2c.c
17770   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\pci.c
17771   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\pci_auto.c
17772   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\pci_indirect.c
17773   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\pcnet.c
17774   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\pc_keyb.c
17775   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\plb2800_eth.c
17776   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\ps2mult.c
17777   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\ps2ser.c
17778   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\rtl8019.c
17779   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\rtl8019.h
17780   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\rtl8139.c
17781   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\rtl8169.c
17782   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\s3c4510b_eth.c
17783   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\s3c4510b_eth.h
17784   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\s3c4510b_uart.c
17785   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\s3c4510b_uart.h
17786   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sed13806.c
17787   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sed156x.c
17788   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\serial.c
17789   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\serial_max3100.c
17790   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\serial_pl010.c
17791   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\serial_pl011.c
17792   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\serial_pl011.h
17793   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\serial_xuartlite.c
17794   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin
17795   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sl811.h
17796   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sl811_usb.c
17797   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sm501.c
17798   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\smc91111.c
17799   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\smc91111.h
17800   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\smiLynxEM.c
17801   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\status_led.c
17802   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sym53c8xx.c
17803   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\tigon3.c
17804   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\tigon3.h
17805   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\ti_pci1410a.c
17806   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\tsec.c
17807   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\tsec.h
17808   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\usbdcore.c
17809   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\usbdcore_ep0.c
17810   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\usbdcore_omap1510.c
17811   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\usbtty.c
17812   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\usbtty.h
17813   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\videomodes.c
17814   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\videomodes.h
17815   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\w83c553f.c
17816   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\nand\diskonchip.c
17817   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\nand\Makefile
17818   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\nand\nand.c
17819   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\nand\nand_base.c
17820   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\nand\nand_bbt.c
17821   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\nand\nand_ecc.c
17822   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\nand\nand_ids.c
17823   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\nand_legacy\Makefile
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 268 of 285   PageID #:854
17824   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\nand_legacy\nand_legacy.c
17825   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\h
17826   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\Makefile
17827   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\skaddr.c
17828   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\skcsum.c
17829   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\skge.c
17830   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\skgehwt.c
17831   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\skgeinit.c
17832   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\skgemib.c
17833   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\skgepnmi.c
17834   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\skgesirq.c
17835   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\ski2c.c
17836   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\sklm80.c
17837   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\skproc.c
17838   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\skqueue.c
17839   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\skrlmt.c
17840   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\sktimer.c
17841   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\skvpd.c
17842   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\skxmac2.c
17843   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\u-boot_compat.h
17844   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\uboot_drv.c
17845   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\uboot_skb.c
17846   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\h\lm80.h
17847   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\h\skaddr.h
17848   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\h\skcsum.h
17849   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\h\skdebug.h
17850   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\h\skdrv1st.h
17851   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\h\skdrv2nd.h
17852   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\h\skerror.h
17853   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\h\skgedrv.h
17854   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\h\skgehw.h
17855   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\h\skgehwt.h
17856   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\h\skgei2c.h
17857   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\h\skgeinit.h
17858   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\h\skgepnm2.h
17859   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\h\skgepnmi.h
17860   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\h\skgesirq.h
17861   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\h\ski2c.h
17862   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\h\skqueue.h
17863   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\h\skrlmt.h
17864   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\h\sktimer.h
17865   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\h\sktypes.h
17866   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\h\skversion.h
17867   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\h\skvpd.h
17868   GPL.UBNT.v6.1.7\uboot\uboot-xw\drivers\sk98lin\h\xmac_ii.h
17869   GPL.UBNT.v6.1.7\uboot\uboot-xw\dtt\adm1021.c
17870   GPL.UBNT.v6.1.7\uboot\uboot-xw\dtt\ds1621.c
17871   GPL.UBNT.v6.1.7\uboot\uboot-xw\dtt\lm75.c
17872   GPL.UBNT.v6.1.7\uboot\uboot-xw\dtt\Makefile
17873   GPL.UBNT.v6.1.7\uboot\uboot-xw\examples\82559_eeprom.c
17874   GPL.UBNT.v6.1.7\uboot\uboot-xw\examples\eepro100_eeprom.c
17875   GPL.UBNT.v6.1.7\uboot\uboot-xw\examples\hello_world.c
17876   GPL.UBNT.v6.1.7\uboot\uboot-xw\examples\hello_world.s
17877   GPL.UBNT.v6.1.7\uboot\uboot-xw\examples\Makefile
17878   GPL.UBNT.v6.1.7\uboot\uboot-xw\examples\mem_to_mem_idma2intr.c
17879   GPL.UBNT.v6.1.7\uboot\uboot-xw\examples\mips.lds
17880   GPL.UBNT.v6.1.7\uboot\uboot-xw\examples\nios.lds
17881   GPL.UBNT.v6.1.7\uboot\uboot-xw\examples\nios2.lds
17882   GPL.UBNT.v6.1.7\uboot\uboot-xw\examples\ppc_longjmp.S
17883   GPL.UBNT.v6.1.7\uboot\uboot-xw\examples\ppc_setjmp.S
17884   GPL.UBNT.v6.1.7\uboot\uboot-xw\examples\README.smc91111_eeprom
17885   GPL.UBNT.v6.1.7\uboot\uboot-xw\examples\sched.c
17886   GPL.UBNT.v6.1.7\uboot\uboot-xw\examples\smc91111_eeprom.c
17887   GPL.UBNT.v6.1.7\uboot\uboot-xw\examples\stubs.c
17888   GPL.UBNT.v6.1.7\uboot\uboot-xw\examples\test_burst.c
17889   GPL.UBNT.v6.1.7\uboot\uboot-xw\examples\test_burst.h
17890   GPL.UBNT.v6.1.7\uboot\uboot-xw\examples\test_burst_lib.S
17891   GPL.UBNT.v6.1.7\uboot\uboot-xw\examples\timer.c
17892   GPL.UBNT.v6.1.7\uboot\uboot-xw\examples\x86-testapp.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 269 of   285 PageID #:855
17893   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\cramfs
17894   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\ext2
17895   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\fat
17896   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\fdos
17897   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\jffs2
17898   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\Makefile
17899   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\reiserfs
17900   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\cramfs\cramfs.c
17901   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\cramfs\Makefile
17902   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\cramfs\uncompress.c
17903   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\ext2\dev.c
17904   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\ext2\ext2fs.c
17905   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\ext2\Makefile
17906   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\fat\fat.c
17907   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\fat\file.c
17908   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\fat\Makefile
17909   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\fdos\dev.c
17910   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\fdos\dos.h
17911   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\fdos\fat.c
17912   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\fdos\fdos.c
17913   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\fdos\fdos.h
17914   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\fdos\fs.c
17915   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\fdos\Makefile
17916   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\fdos\subdir.c
17917   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\fdos\vfat.c
17918   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\jffs2\compr_lzari.c
17919   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\jffs2\compr_lzo.c
17920   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\jffs2\compr_rtime.c
17921   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\jffs2\compr_rubin.c
17922   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\jffs2\compr_zlib.c
17923   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\jffs2\jffs2_1pass.c
17924   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\jffs2\jffs2_nand_1pass.c
17925   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\jffs2\jffs2_nand_private.h
17926   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\jffs2\jffs2_private.h
17927   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\jffs2\Makefile
17928   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\jffs2\mini_inflate.c
17929   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\reiserfs\dev.c
17930   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\reiserfs\Makefile
17931   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\reiserfs\mode_string.c
17932   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\reiserfs\reiserfs.c
17933   GPL.UBNT.v6.1.7\uboot\uboot-xw\fs\reiserfs\reiserfs_private.h
17934   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\405gp_i2c.h
17935   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\405gp_pci.h
17936   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\405_dimm.h
17937   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\405_mal.h
17938   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\440_i2c.h
17939   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\74xx_7xx.h
17940   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\ACEX1K.h
17941   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\altera.h
17942   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\ar7100_soc.h
17943   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\ar7240_soc.h
17944   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\ar934x_soc.h
17945   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\arm920t.h
17946   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\arm925t.h
17947   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\arm926ejs.h
17948   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\arm946es.h
17949   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\armcoremodule.h
17950   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm
17951   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin
17952   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-i386
17953   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-m68k
17954   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-microblaze
17955   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-mips
17956   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-nios
17957   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-nios2
17958   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc
17959   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\at91rm9200_i2c.h
17960   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\at91rm9200_net.h
17961   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\ata.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page   270 of 285 PageID #:856
17962   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\athversion.h
17963   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\bcm5221.h
17964   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\bedbug
17965   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\bmp_layout.h
17966   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\bmp_logo.h
17967   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\bzlib.h
17968   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\circbuf.h
17969   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\clps7111.h
17970   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\cmd_confdefs.h
17971   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\command.h
17972   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\common.h
17973   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\commproc.h
17974   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs
17975   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\console.h
17976   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\cramfs
17977   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\crc.h
17978   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\da9030.h
17979   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\dataflash.h
17980   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\devices.h
17981   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\dm9161.h
17982   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\dtt.h
17983   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\e500.h
17984   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\elf.h
17985   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\environment.h
17986   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\exports.h
17987   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\ext2fs.h
17988   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\fat.h
17989   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\fdc.h
17990   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\flash.h
17991   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\fpga.h
17992   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\ft_build.h
17993   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\galileo
17994   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\hornet_soc.h
17995   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\hush.h
17996   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\i2c.h
17997   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\i8042.h
17998   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\ide.h
17999   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\image.h
18000   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\ioports.h
18001   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\jffs2
18002   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\keyboard.h
18003   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\kgdb.h
18004   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\lcd.h
18005   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\lcdvideo.h
18006   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\lh7a400.h
18007   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\lh7a404.h
18008   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\lh7a40x.h
18009   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\linux
18010   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\linux_logo.h
18011   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\lists.h
18012   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\logbuff.h
18013   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\lpd7a400_cpld.h
18014   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\lxt971a.h
18015   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\lynxkdi.h
18016   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\LzmaWrapper.h
18017   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\malloc.h
18018   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\miiphy.h
18019   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\mii_phy.h
18020   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\mk48t59.h
18021   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\mmc.h
18022   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\mpc106.h
18023   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\mpc5xx.h
18024   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\mpc5xxx.h
18025   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\mpc8220.h
18026   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\mpc824x.h
18027   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\mpc8260.h
18028   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\mpc8260_irq.h
18029   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\mpc83xx.h
18030   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\mpc85xx.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 271   of 285 PageID #:857
18031   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\mpc8xx.h
18032   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\mpc8xx_irq.h
18033   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\nand.h
18034   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\net.h
18035   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\nios-io.h
18036   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\nios.h
18037   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\nios2-epcs.h
18038   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\nios2-io.h
18039   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\nios2.h
18040   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\ns16550.h
18041   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\ns7520_eth.h
18042   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\ns87308.h
18043   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\ns9750_bbus.h
18044   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\ns9750_eth.h
18045   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\ns9750_mem.h
18046   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\ns9750_ser.h
18047   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\ns9750_sys.h
18048   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\part.h
18049   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\pci.h
18050   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\pci_ids.h
18051   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\pcmcia
18052   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\pcmcia.h
18053   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\pc_keyb.h
18054   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\post.h
18055   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\ppc405.h
18056   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\ppc440.h
18057   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\ppc4xx.h
18058   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\ppc4xx_enet.h
18059   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\ppc_asm.tmpl
18060   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\ppc_defs.h
18061   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\ps2mult.h
18062   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\reiserfs.h
18063   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\rtc.h
18064   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\s3c2400.h
18065   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\s3c2410.h
18066   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\s3c24x0.h
18067   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\SA-1100.h
18068   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\sa1100.h
18069   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\scsi.h
18070   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\sed13806.h
18071   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\sed156x.h
18072   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\serial.h
18073   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\sm501.h
18074   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\smiLynxEM.h
18075   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\spartan2.h
18076   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\spartan3.h
18077   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\spd.h
18078   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\spd_sdram.h
18079   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\spi.h
18080   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\status_led.h
18081   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\sym53c8xx.h
18082   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\systemace.h
18083   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\s_record.h
18084   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\ubnt_api_calls.h
18085   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\universe.h
18086   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\usb.h
18087   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\usbdcore.h
18088   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\usbdcore_ep0.h
18089   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\usbdcore_omap1510.h
18090   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\usbdescriptors.h
18091   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\usb_defs.h
18092   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\version.h
18093   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\vfd_logo.h
18094   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\video.h
18095   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\video_ad7176.h
18096   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\video_ad7177.h
18097   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\video_ad7179.h
18098   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\video_easylogo.h
18099   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\video_fb.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 272 of 285 PageID #:858
18100   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\video_font.h
18101   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\video_logo.h
18102   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\virtex2.h
18103   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\w83c553f.h
18104   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\watchdog.h
18105   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\xilinx.h
18106   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\xyzModem.h
18107   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\zlib.h
18108   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\_exports.h
18109   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-arm1136
18110   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-arm720t
18111   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-arm925t
18112   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-arm926ejs
18113   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-at91rm9200
18114   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-imx
18115   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-ixp
18116   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-ks8695
18117   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-pxa
18118   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-s3c24x0
18119   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-s3c44b0
18120   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-sa1100
18121   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\atomic.h
18122   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\bitops.h
18123   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\byteorder.h
18124   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\errno.h
18125   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\global_data.h
18126   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\hardware.h
18127   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\io.h
18128   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\mach-types.h
18129   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\memory.h
18130   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\posix_types.h
18131   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\proc-armv
18132   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\processor.h
18133   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\ptrace.h
18134   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\setup.h
18135   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\sizes.h
18136   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\string.h
18137   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\types.h
18138   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\u-boot-arm.h
18139   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\u-boot.h
18140   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-arm1136\bits.h
18141   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-arm1136\clocks.h
18142   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-arm1136\i2c.h
18143   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-arm1136\mem.h
18144   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-arm1136\mux.h
18145   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-arm1136\omap2420.h
18146   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-arm1136\sizes.h
18147   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-arm1136\sys_info.h
18148   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-arm1136\sys_proto.h
18149   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-arm720t\hardware.h
18150   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-arm720t\netarm_dma_module.h
18151   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-arm720t\netarm_eni_module.h
18152   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-arm720t\netarm_eth_module.h
18153   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-arm720t\netarm_gen_module.h
18154   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-arm720t\netarm_mem_module.h
18155   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-arm720t\netarm_registers.h
18156   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-arm720t\netarm_ser_module.h
18157   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-arm720t\s3c4510b.h
18158   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-arm925t\sizes.h
18159   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-arm926ejs\sizes.h
18160   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-at91rm9200\AT91RM9200.h
18161   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-at91rm9200\hardware.h
18162   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-imx\imx-regs.h
18163   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-ixp\ixp425.h
18164   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-ixp\ixp425pci.h
18165   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-ks8695\platform.h
18166   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-pxa\bitfield.h
18167   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-pxa\hardware.h
18168   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-pxa\mmc.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 273 of 285 PageID   #:859
18169   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-pxa\pxa-regs.h
18170   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-s3c24x0\memory.h
18171   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-s3c44b0\hardware.h
18172   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\arch-sa1100\bitfield.h
18173   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\proc-armv\domain.h
18174   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\proc-armv\processor.h
18175   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\proc-armv\ptrace.h
18176   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-arm\proc-armv\system.h
18177   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\bitops.h
18178   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\blackfin.h
18179   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\blackfin_defs.h
18180   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\byteorder.h
18181   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\cplb.h
18182   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\cplbtab.h
18183   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\cpu
18184   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\current.h
18185   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\delay.h
18186   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\entry.h
18187   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\errno.h
18188   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\global_data.h
18189   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\hw_irq.h
18190   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\io-kernel.h
18191   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\io.h
18192   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\irq.h
18193   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\linkage.h
18194   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\machdep.h
18195   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\mem_init.h
18196   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\page.h
18197   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\page_offset.h
18198   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\posix_types.h
18199   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\processor.h
18200   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\ptrace.h
18201   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\segment.h
18202   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\setup.h
18203   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\shared_resources.h
18204   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\string.h
18205   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\system.h
18206   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\traps.h
18207   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\types.h
18208   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\u-boot.h
18209   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\uaccess.h
18210   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\virtconvert.h
18211   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\cpu\bf533_irq.h
18212   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\cpu\bf533_rtc.h
18213   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\cpu\bf533_serial.h
18214   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\cpu\cdefBF531.h
18215   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\cpu\cdefBF532.h
18216   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\cpu\cdefBF533.h
18217   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\cpu\cdefBF53x.h
18218   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\cpu\cdef_LPBlackfin.h
18219   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\cpu\defBF531.h
18220   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\cpu\defBF532.h
18221   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\cpu\defBF533.h
18222   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\cpu\defBF533_extn.h
18223   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-blackfin\cpu\def_LPBlackfin.h
18224   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-i386\bitops.h
18225   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-i386\byteorder.h
18226   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-i386\global_data.h
18227   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-i386\i8254.h
18228   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-i386\i8259.h
18229   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-i386\ibmpc.h
18230   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-i386\ic
18231   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-i386\io.h
18232   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-i386\pci.h
18233   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-i386\posix_types.h
18234   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-i386\processor.h
18235   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-i386\ptrace.h
18236   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-i386\realmode.h
18237   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-i386\string.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 274 of 285 PageID #:860
18238   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-i386\types.h
18239   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-i386\u-boot-i386.h
18240   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-i386\u-boot.h
18241   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-i386\zimage.h
18242   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-i386\ic\ali512x.h
18243   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-i386\ic\sc520.h
18244   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-m68k\bitops.h
18245   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-m68k\byteorder.h
18246   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-m68k\fec.h
18247   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-m68k\global_data.h
18248   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-m68k\immap_5249.h
18249   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-m68k\immap_5272.h
18250   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-m68k\immap_5282.h
18251   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-m68k\io.h
18252   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-m68k\m5249.h
18253   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-m68k\m5272.h
18254   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-m68k\m5282.h
18255   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-m68k\mcftimer.h
18256   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-m68k\mcfuart.h
18257   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-m68k\posix_types.h
18258   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-m68k\processor.h
18259   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-m68k\ptrace.h
18260   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-m68k\string.h
18261   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-m68k\types.h
18262   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-m68k\u-boot.h
18263   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-microblaze\arch-microblaze
18264   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-microblaze\bitops.h
18265   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-microblaze\byteorder.h
18266   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-microblaze\global_data.h
18267   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-microblaze\io.h
18268   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-microblaze\platform.h
18269   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-microblaze\posix_types.h
18270   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-microblaze\processor.h
18271   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-microblaze\ptrace.h
18272   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-microblaze\serial_xuartlite.h
18273   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-microblaze\string.h
18274   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-microblaze\suzaku.h
18275   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-microblaze\system.h
18276   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-microblaze\types.h
18277   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-microblaze\u-boot.h
18278   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-microblaze\arch-microblaze\xbasic_types.h
18279   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-microblaze\arch-microblaze\xio.h
18280   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-microblaze\arch-microblaze\xuartlite_l.h
18281   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-mips\addrspace.h
18282   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-mips\au1x00.h
18283   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-mips\bitops.h
18284   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-mips\byteorder.h
18285   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-mips\cachectl.h
18286   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-mips\cacheops.h
18287   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-mips\global_data.h
18288   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-mips\inca-ip.h
18289   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-mips\io.h
18290   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-mips\isadep.h
18291   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-mips\mipsregs.h
18292   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-mips\posix_types.h
18293   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-mips\processor.h
18294   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-mips\ptrace.h
18295   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-mips\reg.h
18296   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-mips\regdef.h
18297   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-mips\sgidefs.h
18298   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-mips\string.h
18299   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-mips\system.h
18300   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-mips\types.h
18301   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-mips\u-boot.h
18302   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-nios\bitops.h
18303   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-nios\byteorder.h
18304   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-nios\cache.h
18305   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-nios\global_data.h
18306   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-nios\io.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 275 of   285 PageID #:861
18307   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-nios\posix_types.h
18308   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-nios\processor.h
18309   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-nios\psr.h
18310   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-nios\ptrace.h
18311   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-nios\status_led.h
18312   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-nios\string.h
18313   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-nios\system.h
18314   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-nios\types.h
18315   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-nios\u-boot.h
18316   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-nios2\bitops.h
18317   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-nios2\byteorder.h
18318   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-nios2\cache.h
18319   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-nios2\global_data.h
18320   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-nios2\io.h
18321   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-nios2\opcodes.h
18322   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-nios2\posix_types.h
18323   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-nios2\processor.h
18324   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-nios2\psr.h
18325   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-nios2\ptrace.h
18326   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-nios2\status_led.h
18327   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-nios2\string.h
18328   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-nios2\system.h
18329   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-nios2\types.h
18330   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-nios2\u-boot.h
18331   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\5xx_immap.h
18332   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\8xx_immap.h
18333   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\atomic.h
18334   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\bitops.h
18335   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\byteorder.h
18336   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\cache.h
18337   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\cpm_8260.h
18338   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\cpm_85xx.h
18339   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\e300.h
18340   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\errno.h
18341   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\global_data.h
18342   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\i2c.h
18343   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\immap_8220.h
18344   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\immap_8260.h
18345   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\immap_83xx.h
18346   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\immap_85xx.h
18347   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\io.h
18348   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\iopin_8260.h
18349   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\iopin_85xx.h
18350   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\iopin_8xx.h
18351   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\m8260_pci.h
18352   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\mc146818rtc.h
18353   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\mmu.h
18354   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\mpc8349_pci.h
18355   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\pci_io.h
18356   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\pnp.h
18357   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\posix_types.h
18358   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\processor.h
18359   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\ptrace.h
18360   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\residual.h
18361   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\sigcontext.h
18362   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\signal.h
18363   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\status_led.h
18364   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\string.h
18365   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\types.h
18366   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\asm-ppc\u-boot.h
18367   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\bedbug\bedbug.h
18368   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\bedbug\ppc.h
18369   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\bedbug\regs.h
18370   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\bedbug\tables.h
18371   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\bedbug\type.h
18372   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\A3000.h
18373   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ADCIOP.h
18374   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\Adder.h
18375   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ADNPESC1.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 276 of 285   PageID #:862
18376   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ADNPESC1_base_32.h
18377   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ADS860.h
18378   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\adsvix.h
18379   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\aev.h
18380   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\Alaska8220.h
18381   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\AmigaOneG3SE.h
18382   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\AMX860.h
18383   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\AP1000.h
18384   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ap101-2.6.31.h
18385   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ap101-small.h
18386   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ap101.h
18387   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ap111-2.6.31.h
18388   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ap111.h
18389   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ap121.h
18390   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ap123.h
18391   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ap81.h
18392   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ap83.h
18393   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ap91-2MB.h
18394   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ap91-2x8.h
18395   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ap91-router.h
18396   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ap91.h
18397   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ap93-hgw.h
18398   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ap93.h
18399   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ap94.h
18400   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ap94min.h
18401   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ap96.h
18402   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ap98.h
18403   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ap99-2.6.31.h
18404   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ap99-hgw.h
18405   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ap99-ivi.h
18406   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ap99-small.h
18407   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ap99.h
18408   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\APC405.h
18409   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\AR405.h
18410   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ar7100.h
18411   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ar7240.h
18412   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ar7240_emu.h
18413   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\armadillo.h
18414   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ASH405.h
18415   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\assabet.h
18416   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\at91rm9200dk.h
18417   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\atc.h
18418   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\B2.h
18419   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\BAB7xx.h
18420   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\bamboo.h
18421   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\barco.h
18422   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\BMW.h
18423   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\bubinga.h
18424   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\c2mon.h
18425   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\CANBT.h
18426   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\canmb.h
18427   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\CATcenter.h
18428   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\CCM.h
18429   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\cerf250.h
18430   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\cm4008.h
18431   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\cm41xx.h
18432   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\cmc_pu2.h
18433   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\cmi_mpc5xx.h
18434   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\CMS700.h
18435   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\cobra5272.h
18436   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\cogent_common.h
18437   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\cogent_mpc8260.h
18438   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\cogent_mpc8xx.h
18439   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\CPC45.h
18440   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\CPCI2DP.h
18441   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\CPCI405.h
18442   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\CPCI4052.h
18443   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\CPCI405AB.h
18444   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\CPCI405DT.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 277 of 285 PageID   #:863
18445   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\CPCI440.h
18446   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\cpci5200.h
18447   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\CPCI750.h
18448   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\CPCIISER4.h
18449   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\CPU86.h
18450   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\CPU87.h
18451   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\cradle.h
18452   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\CRAYL1.h
18453   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\csb226.h
18454   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\csb272.h
18455   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\csb472.h
18456   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\csb637.h
18457   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\CU824.h
18458   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\cus136.h
18459   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\cus97.h
18460   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\DASA_SIM.h
18461   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\db12x.h
18462   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\DB64360.h
18463   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\DB64460.h
18464   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\dbau1x00.h
18465   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\debris.h
18466   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\delta.h
18467   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\DK1C20.h
18468   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\DK1C20_safe_32.h
18469   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\DK1C20_standard_32.h
18470   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\DK1S10.h
18471   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\DK1S10_mtx_ldk_20.h
18472   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\DK1S10_safe_32.h
18473   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\DK1S10_standard_32.h
18474   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\dnp1110.h
18475   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\DP405.h
18476   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\DU405.h
18477   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ebony.h
18478   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ELPPC.h
18479   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ELPT860.h
18480   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ep7312.h
18481   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ep8248.h
18482   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ep8260.h
18483   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\EP88x.h
18484   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ERIC.h
18485   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ESTEEM192E.h
18486   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ETX094.h
18487   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\evb4510.h
18488   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\EVB64260.h
18489   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\eXalion.h
18490   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\EXBITGEN.h
18491   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ezkit533.h
18492   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\FADS823.h
18493   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\FADS850SAR.h
18494   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\FADS860T.h
18495   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\FLAGADM.h
18496   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\FPS850L.h
18497   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\FPS860L.h
18498   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\G2000.h
18499   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\gcplus.h
18500   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\GEN860T.h
18501   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\GENIETV.h
18502   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\GTH.h
18503   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\gw8260.h
18504   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\h2_p2_dbg_board.h
18505   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\hermes.h
18506   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\HH405.h
18507   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\HIDDEN_DRAGON.h
18508   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\HMI10.h
18509   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\hmi1001.h
18510   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\hornet_emu.h
18511   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\HUB405.h
18512   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\hymod.h
18513   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\IAD210.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 278 of 285 PageID   #:864
18514   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\IceCube.h
18515   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ICU862.h
18516   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\IDS8247.h
18517   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\impa7.h
18518   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\incaip.h
18519   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\inka4x0.h
18520   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\innokom.h
18521   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\integratorap.h
18522   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\integratorcp.h
18523   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\IP860.h
18524   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\IPHASE4539.h
18525   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ISPAN.h
18526   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\IVML24.h
18527   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\IVMS8.h
18528   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ixdp425.h
18529   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\JSE.h
18530   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\KAREF.h
18531   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\kb9202.h
18532   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\KUP4K.h
18533   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\KUP4X.h
18534   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\LANTEC.h
18535   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\lart.h
18536   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\logodl.h
18537   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\lpd7a400-10.h
18538   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\lpd7a400.h
18539   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\lpd7a404-10.h
18540   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\lpd7a404.h
18541   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\luan.h
18542   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\lubbock.h
18543   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\lwmon.h
18544   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\M5272C3.h
18545   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\M5282EVB.h
18546   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\MBX.h
18547   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\MBX860T.h
18548   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\mcc200.h
18549   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\METROBOX.h
18550   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\MHPC.h
18551   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\mi93.h
18552   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\MIP405.h
18553   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ML2.h
18554   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ml300.h
18555   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\modnet50.h
18556   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\MOUSSE.h
18557   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\mp2usb.h
18558   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\MPC8260ADS.h
18559   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\MPC8266ADS.h
18560   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\MPC8349ADS.h
18561   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\MPC8349EMDS.h
18562   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\MPC8540ADS.h
18563   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\MPC8540EVAL.h
18564   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\MPC8541CDS.h
18565   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\MPC8548CDS.h
18566   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\MPC8555CDS.h
18567   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\MPC8560ADS.h
18568   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\MPC86xADS.h
18569   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\MPC885ADS.h
18570   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\MUSENKI.h
18571   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\MVBLUE.h
18572   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\MVS1.h
18573   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\mx1ads.h
18574   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\mx1fs2.h
18575   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\nanobridge-ar9342-ar8035.h
18576   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\NC650.h
18577   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\NETPHONE.h
18578   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\netstar.h
18579   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\NETTA.h
18580   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\NETTA2.h
18581   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\NETVIA.h
18582   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ns9750dev.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 279 of 285   PageID #:865
18583   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\NSCU.h
18584   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\NX823.h
18585   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\o2dnt.h
18586   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ocotea.h
18587   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\OCRTC.h
18588   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\omap1510.h
18589   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\omap1510inn.h
18590   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\omap1610h2.h
18591   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\omap1610inn.h
18592   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\omap2420h4.h
18593   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\omap5912osk.h
18594   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\omap730.h
18595   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\omap730p2.h
18596   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ORSG.h
18597   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\OXC.h
18598   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\P3G4.h
18599   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\p3p440.h
18600   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\PATI.h
18601   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\pb1x00.h
18602   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\pb42.h
18603   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\pb44.h
18604   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\pb45.h
18605   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\pb47.h
18606   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\pb90.h
18607   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\pb92.h
18608   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\pb93.h
18609   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\pb9x-2.6.31.h
18610   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\pb9x-2x8.h
18611   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\pb9x.h
18612   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\PCI405.h
18613   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\PCI5441.h
18614   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\PCIPPC2.h
18615   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\PCIPPC6.h
18616   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\pcu_e.h
18617   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\pf5200.h
18618   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\PIP405.h
18619   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\PK1C20.h
18620   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\pleb2.h
18621   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\PLU405.h
18622   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\PM520.h
18623   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\PM826.h
18624   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\PM828.h
18625   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\PM854.h
18626   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\PM856.h
18627   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\PMC405.h
18628   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\PN62.h
18629   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\PPChameleonEVB.h
18630   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ppmc8260.h
18631   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\purple.h
18632   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\pxa255_idp.h
18633   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\QS823.h
18634   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\QS850.h
18635   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\QS860T.h
18636   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\quantum.h
18637   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\R360MPI.h
18638   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\Rattler.h
18639   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\RBC823.h
18640   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\rmu.h
18641   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\RPXClassic.h
18642   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\RPXlite.h
18643   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\RPXlite_DW.h
18644   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\RPXsuper.h
18645   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\RRvision.h
18646   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\rsdproto.h
18647   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\sacsng.h
18648   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\Sandpoint8240.h
18649   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\Sandpoint8245.h
18650   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\sbc405.h
18651   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\sbc8240.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 280 of 285   PageID #:866
18652   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\sbc8260.h
18653   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\SBC8540.h
18654   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\sbc8560.h
18655   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\sc520_cdp.h
18656   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\sc520_spunk.h
18657   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\sc520_spunk_rel.h
18658   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\scb9328.h
18659   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\SCM.h
18660   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\shannon.h
18661   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\SL8245.h
18662   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\SM850.h
18663   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\smdk2400.h
18664   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\smdk2410.h
18665   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\smmaco4.h
18666   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\sorcery.h
18667   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\SPD823TS.h
18668   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\spieval.h
18669   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\stamp.h
18670   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\stxgp3.h
18671   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\stxxtc.h
18672   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\suzaku.h
18673   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\svm_sc8xx.h
18674   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\SX1.h
18675   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\SXNI855T.h
18676   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\TASREG.h
18677   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\tb0229.h
18678   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\tb225.h
18679   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\tb243.h
18680   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\tb327.h
18681   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\TOP5200.h
18682   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\TOP860.h
18683   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\Total5200.h
18684   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\TQM5200.h
18685   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\TQM823L.h
18686   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\TQM823M.h
18687   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\TQM8260.h
18688   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\TQM834x.h
18689   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\TQM850L.h
18690   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\TQM850M.h
18691   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\TQM855L.h
18692   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\TQM855M.h
18693   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\TQM85xx.h
18694   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\TQM860L.h
18695   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\TQM860M.h
18696   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\TQM862L.h
18697   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\TQM862M.h
18698   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\TQM866M.h
18699   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\trab.h
18700   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ubnt-R5X3.h
18701   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\uc100.h
18702   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\utx8245.h
18703   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\v37.h
18704   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\VCMA9.h
18705   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\versatile.h
18706   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\VOH405.h
18707   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\voiceblue.h
18708   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\VOM405.h
18709   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\VoVPN-GW.h
18710   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\W7OLMC.h
18711   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\W7OLMG.h
18712   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\walnut.h
18713   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\wasp_emu.h
18714   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\wepep250.h
18715   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\wrt54g.h
18716   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\WUH405.h
18717   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\xaeniax.h
18718   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\xm250.h
18719   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\XPEDITE1K.h
18720   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\xsengine.h
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 281 of 285 PageID   #:867
18721   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\yellowstone.h
18722   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\yosemite.h
18723   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\Yukon8220.h
18724   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ZPC1900.h
18725   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\ZUMA.h
18726   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\configs\zylonite.h
18727   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\cramfs\cramfs_fs.h
18728   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\cramfs\cramfs_fs_sb.h
18729   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\galileo\core.h
18730   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\galileo\gt64260R.h
18731   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\galileo\memory.h
18732   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\galileo\pci.h
18733   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\jffs2\compr_rubin.h
18734   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\jffs2\jffs2.h
18735   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\jffs2\jffs2_1pass.h
18736   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\jffs2\load_kernel.h
18737   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\jffs2\mini_inflate.h
18738   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\linux\bitops.h
18739   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\linux\byteorder
18740   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\linux\config.h
18741   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\linux\ctype.h
18742   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\linux\list.h
18743   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\linux\mc146818rtc.h
18744   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\linux\mtd
18745   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\linux\posix_types.h
18746   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\linux\stat.h
18747   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\linux\stddef.h
18748   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\linux\string.h
18749   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\linux\time.h
18750   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\linux\types.h
18751   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\linux\byteorder\big_endian.h
18752   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\linux\byteorder\generic.h
18753   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\linux\byteorder\little_endian.h
18754   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\linux\byteorder\swab.h
18755   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\linux\mtd\compat.h
18756   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\linux\mtd\doc2000.h
18757   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\linux\mtd\mtd-abi.h
18758   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\linux\mtd\mtd.h
18759   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\linux\mtd\nand.h
18760   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\linux\mtd\nand_ecc.h
18761   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\linux\mtd\nand_ids.h
18762   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\linux\mtd\nand_legacy.h
18763   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\linux\mtd\nftl.h
18764   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\pcmcia\cirrus.h
18765   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\pcmcia\i82365.h
18766   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\pcmcia\ss.h
18767   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\pcmcia\ti113x.h
18768   GPL.UBNT.v6.1.7\uboot\uboot-xw\include\pcmcia\yenta.h
18769   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_arm\armlinux.c
18770   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_arm\board.c
18771   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_arm\cache.c
18772   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_arm\div0.c
18773   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_arm\Makefile
18774   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_arm\_udivsi3.S
18775   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_arm\_umodsi3.S
18776   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_blackfin\bf533_linux.c
18777   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_blackfin\bf533_string.c
18778   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_blackfin\blackfin_board.h
18779   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_blackfin\board.c
18780   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_blackfin\cache.c
18781   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_blackfin\Makefile
18782   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_blackfin\muldi3.c
18783   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_bootstrap\bootstrap_board.c
18784   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_bootstrap\console.c
18785   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_bootstrap\crc32.c
18786   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_bootstrap\ctype.c
18787   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_bootstrap\devices.c
18788   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_bootstrap\display_options.c
18789   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_bootstrap\lists.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 282 of 285   PageID #:868
18790   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_bootstrap\LzmaDecode.c
18791   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_bootstrap\LzmaDecode.h
18792   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_bootstrap\LzmaTypes.h
18793   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_bootstrap\LzmaWrapper.c
18794   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_bootstrap\Makefile
18795   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_bootstrap\string.c
18796   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_bootstrap\time.c
18797   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_bootstrap\vsprintf.c
18798   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_generic\bzlib.c
18799   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_generic\bzlib_crctable.c
18800   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_generic\bzlib_decompress.c
18801   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_generic\bzlib_huffman.c
18802   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_generic\bzlib_private.h
18803   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_generic\bzlib_randtable.c
18804   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_generic\crc32.c
18805   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_generic\ctype.c
18806   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_generic\display_options.c
18807   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_generic\ldiv.c
18808   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_generic\LzmaDecode.c
18809   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_generic\LzmaDecode.h
18810   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_generic\LzmaTypes.h
18811   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_generic\LzmaWrapper.c
18812   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_generic\Makefile
18813   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_generic\string.c
18814   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_generic\vsprintf.c
18815   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_generic\zlib.c
18816   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_i386\bios.h
18817   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_i386\bios.S
18818   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_i386\bios_pci.S
18819   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_i386\bios_setup.c
18820   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_i386\board.c
18821   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_i386\i386_linux.c
18822   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_i386\Makefile
18823   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_i386\pci.c
18824   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_i386\pci_type1.c
18825   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_i386\realmode.c
18826   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_i386\realmode_switch.S
18827   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_i386\video.c
18828   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_i386\video_bios.c
18829   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_i386\zimage.c
18830   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_m68k\board.c
18831   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_m68k\cache.c
18832   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_m68k\m68k_linux.c
18833   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_m68k\Makefile
18834   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_m68k\time.c
18835   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_m68k\traps.c
18836   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_microblaze\board.c
18837   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_microblaze\cache.c
18838   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_microblaze\Makefile
18839   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_microblaze\microblaze_linux.c
18840   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_microblaze\time.c
18841   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_mips\board.c
18842   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_mips\Makefile
18843   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_mips\mips_linux.c
18844   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_mips\time.c
18845   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_nios\board.c
18846   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_nios\cache.c
18847   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_nios\divmod.c
18848   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_nios\Makefile
18849   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_nios\math.h
18850   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_nios\mult.c
18851   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_nios\nios_linux.c
18852   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_nios\time.c
18853   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_nios2\board.c
18854   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_nios2\cache.S
18855   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_nios2\divmod.c
18856   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_nios2\Makefile
18857   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_nios2\math.h
18858   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_nios2\mult.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page   283 of 285 PageID #:869
18859   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_nios2\nios_linux.c
18860   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_nios2\time.c
18861   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_ppc\bat_rw.c
18862   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_ppc\board.c
18863   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_ppc\cache.c
18864   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_ppc\extable.c
18865   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_ppc\interrupts.c
18866   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_ppc\kgdb.c
18867   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_ppc\Makefile
18868   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_ppc\ppcstring.S
18869   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_ppc\ticks.S
18870   GPL.UBNT.v6.1.7\uboot\uboot-xw\lib_ppc\time.c
18871   GPL.UBNT.v6.1.7\uboot\uboot-xw\net\bootp.c
18872   GPL.UBNT.v6.1.7\uboot\uboot-xw\net\bootp.h
18873   GPL.UBNT.v6.1.7\uboot\uboot-xw\net\eth.c
18874   GPL.UBNT.v6.1.7\uboot\uboot-xw\net\Makefile
18875   GPL.UBNT.v6.1.7\uboot\uboot-xw\net\net.c
18876   GPL.UBNT.v6.1.7\uboot\uboot-xw\net\nfs.c
18877   GPL.UBNT.v6.1.7\uboot\uboot-xw\net\nfs.h
18878   GPL.UBNT.v6.1.7\uboot\uboot-xw\net\rarp.c
18879   GPL.UBNT.v6.1.7\uboot\uboot-xw\net\rarp.h
18880   GPL.UBNT.v6.1.7\uboot\uboot-xw\net\sntp.c
18881   GPL.UBNT.v6.1.7\uboot\uboot-xw\net\sntp.h
18882   GPL.UBNT.v6.1.7\uboot\uboot-xw\net\tftp.c
18883   GPL.UBNT.v6.1.7\uboot\uboot-xw\net\tftp.h
18884   GPL.UBNT.v6.1.7\uboot\uboot-xw\net\tftp_server.c
18885   GPL.UBNT.v6.1.7\uboot\uboot-xw\net\tftp_server.h
18886   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\cache.c
18887   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\cache_8xx.S
18888   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\codec.c
18889   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\cpu
18890   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\cpu.c
18891   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\dsp.c
18892   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\ether.c
18893   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\i2c.c
18894   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\Makefile
18895   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\memory.c
18896   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\post.c
18897   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\rtc.c
18898   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\rules.mk
18899   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\spr.c
18900   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\sysmon.c
18901   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\tests.c
18902   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\uart.c
18903   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\usb.c
18904   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\watchdog.c
18905   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\cpu\andi.c
18906   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\cpu\asm.S
18907   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\cpu\b.c
18908   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\cpu\cmp.c
18909   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\cpu\cmpi.c
18910   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\cpu\complex.c
18911   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\cpu\cpu_asm.h
18912   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\cpu\cr.c
18913   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\cpu\load.c
18914   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\cpu\Makefile
18915   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\cpu\multi.c
18916   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\cpu\rlwimi.c
18917   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\cpu\rlwinm.c
18918   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\cpu\rlwnm.c
18919   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\cpu\srawi.c
18920   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\cpu\store.c
18921   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\cpu\string.c
18922   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\cpu\three.c
18923   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\cpu\threei.c
18924   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\cpu\threex.c
18925   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\cpu\two.c
18926   GPL.UBNT.v6.1.7\uboot\uboot-xw\post\cpu\twox.c
18927   GPL.UBNT.v6.1.7\uboot\uboot-xw\rtc\bf533_rtc.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page 284   of 285 PageID #:870
18928   GPL.UBNT.v6.1.7\uboot\uboot-xw\rtc\date.c
18929   GPL.UBNT.v6.1.7\uboot\uboot-xw\rtc\ds12887.c
18930   GPL.UBNT.v6.1.7\uboot\uboot-xw\rtc\ds1302.c
18931   GPL.UBNT.v6.1.7\uboot\uboot-xw\rtc\ds1306.c
18932   GPL.UBNT.v6.1.7\uboot\uboot-xw\rtc\ds1307.c
18933   GPL.UBNT.v6.1.7\uboot\uboot-xw\rtc\ds1337.c
18934   GPL.UBNT.v6.1.7\uboot\uboot-xw\rtc\ds1374.c
18935   GPL.UBNT.v6.1.7\uboot\uboot-xw\rtc\ds1556.c
18936   GPL.UBNT.v6.1.7\uboot\uboot-xw\rtc\ds164x.c
18937   GPL.UBNT.v6.1.7\uboot\uboot-xw\rtc\ds174x.c
18938   GPL.UBNT.v6.1.7\uboot\uboot-xw\rtc\m41t11.c
18939   GPL.UBNT.v6.1.7\uboot\uboot-xw\rtc\m48t35ax.c
18940   GPL.UBNT.v6.1.7\uboot\uboot-xw\rtc\Makefile
18941   GPL.UBNT.v6.1.7\uboot\uboot-xw\rtc\max6900.c
18942   GPL.UBNT.v6.1.7\uboot\uboot-xw\rtc\mc146818.c
18943   GPL.UBNT.v6.1.7\uboot\uboot-xw\rtc\mk48t59.c
18944   GPL.UBNT.v6.1.7\uboot\uboot-xw\rtc\mpc5xxx.c
18945   GPL.UBNT.v6.1.7\uboot\uboot-xw\rtc\mpc8xx.c
18946   GPL.UBNT.v6.1.7\uboot\uboot-xw\rtc\pcf8563.c
18947   GPL.UBNT.v6.1.7\uboot\uboot-xw\rtc\rs5c372.c
18948   GPL.UBNT.v6.1.7\uboot\uboot-xw\rtc\s3c24x0_rtc.c
18949   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\bddb
18950   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\bmp_logo.c
18951   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\easylogo
18952   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\env
18953   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\envcrc.c
18954   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\gdb
18955   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\gen_eth_addr.c
18956   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\img2brec.sh
18957   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\img2srec.c
18958   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\inca-swap-bytes.c
18959   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\keygen.c
18960   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\logos
18961   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\Makefile
18962   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\Makefile.win32
18963   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\mkimage.c
18964   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\mpc86x_clk.c
18965   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\ncb.c
18966   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\scripts
18967   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\setlocalversion
18968   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\updater
18969   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\bddb\badsubmit.php
18970   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\bddb\bddb.css
18971   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\bddb\brlog.php
18972   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\bddb\browse.php
18973   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\bddb\config.php
18974   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\bddb\create_tables.sql
18975   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\bddb\defs.php
18976   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\bddb\dodelete.php
18977   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\bddb\dodellog.php
18978   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\bddb\doedit.php
18979   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\bddb\doedlog.php
18980   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\bddb\donew.php
18981   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\bddb\donewlog.php
18982   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\bddb\edit.php
18983   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\bddb\edlog.php
18984   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\bddb\execute.php
18985   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\bddb\index.php
18986   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\bddb\new.php
18987   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\bddb\newlog.php
18988   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\bddb\README
18989   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\easylogo\easylogo.c
18990   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\easylogo\linux_logo.tga
18991   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\easylogo\Makefile
18992   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\easylogo\runme.sh
18993   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\env\fw_env.c
18994   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\env\fw_env.config
18995   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\env\fw_env.h
18996   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\env\fw_env_main.c
          Case: 1:18-cv-05369 Document #: 33-3 Filed: 10/15/18 Page   285 of 285 PageID #:871
18997   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\env\Makefile
18998   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\env\README
18999   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\gdb\error.c
19000   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\gdb\error.h
19001   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\gdb\gdbcont.c
19002   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\gdb\gdbsend.c
19003   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\gdb\Makefile
19004   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\gdb\remote.c
19005   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\gdb\remote.h
19006   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\gdb\serial.c
19007   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\gdb\serial.h
19008   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\logos\denx.bmp
19009   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\scripts\dot.kermrc
19010   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\scripts\flash_param
19011   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\scripts\README
19012   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\scripts\send_cmd
19013   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\scripts\send_image
19014   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\updater\cmd_flash.c
19015   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\updater\ctype.c
19016   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\updater\dummy.c
19017   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\updater\flash.c
19018   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\updater\flash_hw.c
19019   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\updater\junk
19020   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\updater\Makefile
19021   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\updater\ppcstring.S
19022   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\updater\string.c
19023   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\updater\update.c
19024   GPL.UBNT.v6.1.7\uboot\uboot-xw\tools\updater\utils.c
19025
